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DŽŶƚŚůǇKƉĞƌĂƚŝŶŐZĞƉŽƌƚ

ĂƐĞEĂŵĞ                    dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
ĂƐĞEƵŵďĞƌ                  ϮϬͲϭϬϴϰϲ




&ŽƌŵƚƚĂĐŚĞĚ                WƌĞǀŝŽƵƐůǇtĂŝǀĞĚ                                ZĞƋƵŝƌĞĚZĞƉŽƌƚƐͬŽĐƵŵĞŶƚƐ

            y                                      ΂΃                     ŽŵƉĂƌĂƚŝǀĞĂůĂŶĐĞ^ŚĞĞƚ;&ŽƌŵϮͲͿ
            y                                      ΂΃                     WƌŽĨŝƚĂŶĚ>ŽƐƐ^ƚĂƚĞŵĞŶƚ;&ŽƌŵϮͲͿ
            y                                      ΂΃                     ĂƐŚZĞĐĞŝƉƚΘŝƐďƵƌƐĞŵĞŶƚƐ^ƚĂƚĞŵĞŶƚ;&ŽƌŵϮͲͿ
            y                                      ΂΃                     YƵĂƌƚĞƌůǇ&ĞĞ;&ŽƌŵϮͲͿ
            y                                      ΂΃                     ^ƵƉƉŽƌƚŝŶŐ^ĐŚĞĚƵůĞƐͲWŐŝŶŐ͕ZŐŝŶŐ͕/ŶƐƵƌĂŶĐĞ;&ŽƌŵϮͲͿ
            y                                      ΂΃                     EĂƌƌĂƚŝǀĞ;&ŽƌŵϮͲ&Ϳ
                                                                              ŽƉŝĞƐŽĨĂŶŬ^ƚĂƚĞŵĞŶƚƐǁŝƚŚ>>ƉĂŐĞƐŽĨƚŚĞ^ƚĂƚĞŵĞŶƚĂŶĚZĞĐŽŶĐŝůŝĂƚŝŽŶƐŽĨĂŶŬ
             y                                       ΂΃                   ĂůĂŶĐĞƚŽŽŽŬĂůĂŶĐĞĨŽƌĂůůĐĐŽƵŶƚƐ͘
hƚŝůŝǌĞĐƌŽďĂƚĚŽďĞďŽŽŬŵĂƌŬŝŶŐĨƵŶĐƚŝŽŶƚŽĞĂƐŝůǇŶĂǀŝŐĂƚĞƚŚĞĚŽĐƵŵĞŶƚ͘

                                   ŶƚŝƚǇ<ĞǇ
EK                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
^>                          ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂů
K>'                          KƵƌ>ĂĚǇŽĨ'ƵĂĚĂůƵƉĞ
K>                          ĐĂĚĞŵǇŽĨKƵƌ>ĂĚǇ
,^                         ƌĐŚďŝƐŚŽƉŚĂƉĞůůĞ,ŝŐŚ^ĐŚŽŽů
,,^                         ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů
Z,^                         ƌĐŚďŝƐŚŽƉZƵŵŵĞů,ŝŐŚ^ĐŚŽŽů
^,^                         ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů
W:W,^                        WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽů
^^                         ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ^ĐŚŽŽů
^D^^                         ^ƚ͘DŝĐŚĂĞůΖƐ^ƉĞĐŝĂů^ĐŚŽŽů
^^                          ^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĂŵǇ
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dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
;ĞďƚŽƌͲŝŶͲƉŽƐƐĞƐƐŝŽŶͿ
ŽŶƐŽůŝĚĂƚĞĚĂůĂŶĐĞ^ŚĞĞƚƐ

                                                                ƉƌŝůϯϬ͕ϮϬϮϬ                DĂǇϯϭ͕ϮϬϮϬ                  :ƵŶĞϯϬ͕ϮϬϮϬ                  :ƵůǇϯϭ͕ϮϬϮϬ
ƐƐĞƚƐ
ĂƐŚĂŶĚĐĂƐŚĞƋƵŝǀĂůĞŶƚƐ                                  ΨϮϮ͕ϬϱϮ͕ϲϳϲ         Ψϯϱ͕ϭϳϭ͕Ϯϵϲ        Ψϱϭ͕ϵϯϱ͕ϳϬϴ         Ψϱϱ͕ϮϭϬ͕Ϯϱϳ
WĞƚƚǇĐĂƐŚ                                                 ϴ͕Ϭϭϰ   ϭϮ͕Ϭϱϳ   ϯ͕Ϯϵϰ   ϯϮ͕ϬϬϲ
'ƌĂŶƚƐƌĞĐĞŝǀĂďůĞ                                          ϭ͕ϱϳϲ͕ϭϲϰ       ϯϬϭ͕Ϯϱϱ     Ϯϵϵ͕ϯϱϬ     ϭϲϰ͕ϴϰϭ
ĐĐŽƵŶƚƐƌĞĐĞŝǀĂďůĞ͕ŶĞƚ                                   ϭϲ͕ϬϬϳ͕ϵϮϲ        ϭϰ͕ϰϵϮ͕ϯϯϲ       ϭϮ͕ϳϵϵ͕ϱϱϰ        ϭϭ͕ϳϳϭ͕ϮϭϮ
ĐĐŽƵŶƚƐƌĞĐĞŝǀĂďůĞͲƚƵŝƚŝŽŶĂŶĚĨĞĞƐ͕ŶĞƚ                 ϭϴ͕ϬϲϬ͕ϴϳϯ        ϮϮ͕ϯϭϱ͕ϬϬϵ       ϲ͕ϱϴϳ͕ϵϮϰ       ϱ͕Ϯϭϴ͕ϮϯϬ
WƌĞƉĂŝĚĞǆƉĞŶƐĞƐ                                           ϭ͕Ϭϲϭ͕ϰϵϵ       ϭ͕Ϭϲϳ͕ϰϬϵ      ϭ͕ϴϰϴ͕ϰϲϰ       ϭ͕ϴϮϰ͕ϭϳϰ
KƚŚĞƌĐƵƌƌĞŶƚĂƐƐĞƚƐ                                       ϰϵ͕ϲϴϬ    ϭϮ͕ϴϯϱ   ϳϯ͕Ϯϭϲ    Ϯϳ͕ϲϵϭ
WůĞĚŐĞƐƌĞĐĞŝǀĂďůĞ͕ŶĞƚ                                    ϱϭϴ͕ϲϲϰ      ϰϳϳ͕ϲϴϱ     ϰϬϴ͕ϲϬϱ     ϯϴϴ͕Ϯϰϱ
>ŽĂŶƐƌĞĐĞŝǀĂďůĞĨƌŽŵĨĨŝůŝĂƚĞƐ͕ŶĞƚ                      ϱϲ͕ϵϱϵ͕ϭϳϮ        ϱϲ͕ϵϰϴ͕ϳϳϳ       ϱϲ͕ϰϳϴ͕ϭϲϱ        ϱϲ͕ϳϬϯ͕ϰϯϱ
/ŶǀĞƐƚŵĞŶƚƐ                                                ϮϳϮ͕ϵϮϭ͕ϬϰϬ         ϮϴϮ͕ϭϰϳ͕ϵϴϳ        Ϯϴϴ͕ϲϵϰ͕Ϭϱϭ         Ϯϵϰ͕ϯϮϵ͕Ϯϲϵ
/ŶǀĞŶƚŽƌǇ                                                  ϮϬϭ͕ϴϰϴ      ϮϬϱ͕ϲϲϳ     ϮϮϵ͕ϴϬϳ     ϮϮϳ͕ϭϯϲ
WƌŽƉĞƌƚǇ͕ƉůĂŶƚ͕ĂŶĚĞƋƵŝƉŵĞŶƚ͕ŶĞƚ                        ϭϯϬ͕ϵϲϯ͕ϯϯϱ         ϭϯϬ͕ϲϬϯ͕ϱϲϵ        ϭϯϬ͕ϯϭϭ͕ϰϰϱ         ϭϮϵ͕ϵϵϰ͕ϰϴϲ
KƚŚĞƌĂƐƐĞƚƐ                                               ϭϮϮ͕ϬϬϬ      ϭϮϮ͕ϬϬϬ     ϭϮϮ͕ϬϬϬ     ϭϮϮ͕ϬϬϬ
ĞŶĞĨŝĐŝĂůŝŶƚĞƌĞƐƚŝŶĐŚĂƌŝƚĂďůĞƌĞŵĂŝŶĚĞƌƚƌƵƐƚ          ϯϴϬ͕ϳϮϭ      ϯϴϬ͕ϳϮϭ     ϰϰϬ͕ϲϱϯ     ϰϰϬ͕ϲϱϯ

             dŽƚĂůĂƐƐĞƚƐ                                     ΨϱϮϬ͕ϴϴϯ͕ϲϭϯ Ψϱϰϰ͕Ϯϱϴ͕ϲϬϮ ΨϱϱϬ͕ϮϯϮ͕Ϯϯϲ Ψϱϱϲ͕ϰϱϯ͕ϲϯϱ

>ŝĂďŝůŝƚŝĞƐĂŶĚEĞƚƐƐĞƚƐ
ĐĐŽƵŶƚƐƉĂǇĂďůĞ;WŽƐƚͲƉĞƚŝƚŝŽŶͿ                           ΨͲ    ΨϳϬϱ͕Ϭϯϭ      Ψϭ͕ϮϯϮ͕ϱϰϴ        Ψϯ͕ϵϭϮ͕ϯϱϮ
ĐĐƌƵĞĚĞǆƉĞŶƐĞƐ                                           ϭϬ͕ϰϯϱ͕ϲϴϵ        ϴ͕ϰϵϯ͕Ϯϭϵ      ϴ͕ϵϯϬ͕ϭϳϮ       ϳ͕ϱϭϴ͕ϱϬϭ
ƵƐƚŽĚŝĂů&ƵŶĚƐ;ĂŐĞŶĐǇƉĂǇĂďůĞƐͿ                          ϭ͕ϮϬϬ͕ϭϬϯ       ϭ͕ϯϬϮ͕ϱϬϴ      ϭ͕Ϯϲϳ͕Ϯϱϲ       ϭ͕Ϯϳϴ͕Ϯϳϭ
ĞĨĞƌƌĞĚƚƵŝƚŝŽŶĂŶĚĨĞĞƐ                                  Ϯϯ͕Ϭϯϭ͕ϰϲϵ        ϯϲ͕Ϯϯϭ͕ϭϭϬ       ϯϳ͕ϰϬϱ͕ϳϭϯ        ϯϱ͕ϵϮϭ͕Ϭϰϴ
>ŝĂďŝůŝƚŝĞƐƐƵďũĞĐƚƚŽĐŽŵƉƌŽŵŝƐĞ;WƌĞͲƉĞƚŝƚŝŽŶͿ
ĐĐŽƵŶƚƐƉĂǇĂďůĞ;WƌĞͲƉĞƚŝƚŝŽŶͿ                          Ϯ͕ϱϬϳ͕ϱϴϯ       Ϯ͕ϯϴϬ͕ϯϴϯ      ϭ͕ϳϯϲ͕ϭϵϯ       ϭ͕ϰϬϱ͕ϭϯϮ
KďůŝŐĂƚŝŽŶƐƵŶĚĞƌĐĂƉŝƚĂůůĞĂƐĞ                          ϵϵϱ͕ϳϬϲ      ϵϵϭ͕ϵϳϱ     ϵϴϵ͕Ϯϰϴ     ϳϰϭ͕ϱϳϲ
ŽŶĚƐƉĂǇĂďůĞ͕ŶĞƚ                                       ϰϬ͕Ϭϳϱ͕Ϯϲϰ        ϰϬ͕ϲϵϬ͕ϱϴϰ       ϰϬ͕ϲϵϬ͕ϱϴϰ        ϰϬ͕ϲϵϬ͕ϱϴϰ
ĐĐƌƵĞĚƉĞŶƐŝŽŶůŝĂďŝůŝƚǇ                                ϰϰ͕ϳϯϮ͕Ϯϵϱ        ϰϰ͕ϴϴϮ͕Ϯϵϱ       ϰϱ͕ϬϯϮ͕Ϯϵϱ        ϰϱ͕ϭϴϮ͕Ϯϵϱ
WWWĂƌĞƐĐƚůŽĂŶ;ĨŽƌŐŝǀĞĂďůĞůŽĂŶͿ                       ϱ͕ϰϴϳ͕Ϯϴϭ       ϱ͕ϰϴϳ͕Ϯϴϭ      ϱ͕ϰϴϳ͕Ϯϴϭ       ϱ͕ϰϴϳ͕Ϯϴϭ
ĐĐƌƵĞĚůŝĂďŝůŝƚǇĨŽƌƐĞůĨͲŝŶƐƵƌĞĚĐůĂŝŵƐ                   ϭϬ͕ϯϳϯ͕ϳϴϱ        ϭϬ͕ϭϵϮ͕ϳϭϰ       ϭϬ͕ϲϴϲ͕ϴϬϰ        ϭϬ͕ϱϵϯ͕Ϯϭϲ
ĞƉŽƐŝƚƐƉĂǇĂďůĞƚŽĂĨĨŝůŝĂƚĞƐ                              ϭϬϱ͕ϰϳϭ͕ϭϭϮ         ϭϭϳ͕ϲϱϲ͕ϵϱϴ        ϭϮϬ͕ϰϰϬ͕ϲϳϴ         ϭϮϭ͕ϵϳϲ͕ϱϮϮ
&ƵŶĚƐŚĞůĚĨŽƌĂĨĨŝůŝĂƚĞƐ                                   ϭϮϱ͕ϮϵϬ͕Ϭϴϵ         ϭϮϮ͕ϰϱϵ͕ϯϬϵ        ϭϮϲ͕ϴϵϮ͕Ϭϳϯ         ϭϮϳ͕ϲϳϴ͕ϰϯϵ

             dŽƚĂůůŝĂďŝůŝƚŝĞƐ                                ϯϲϵ͕ϲϬϬ͕ϯϳϳ ϯϵϭ͕ϰϳϯ͕ϯϲϳ ϰϬϬ͕ϳϵϬ͕ϴϰϱ ϰϬϮ͕ϯϴϱ͕Ϯϭϳ

EĞƚĂƐƐĞƚƐ
tŝƚŚŽƵƚĚŽŶŽƌƌĞƐƚƌŝĐƚŝŽŶƐ                                  ϭϭϵ͕ϬϬϰ͕ϭϳϯ         ϭϭϵ͕ϰϵϬ͕ϮϬϰ        ϭϭϴ͕ϳϰϱ͕ϭϬϬ         ϭϭϲ͕ϱϱϮ͕ϰϳϮ
tŝƚŚĚŽŶŽƌƌĞƐƚƌŝĐƚŝŽŶƐ                                     ϯϮ͕Ϯϳϵ͕Ϭϲϯ        ϯϯ͕Ϯϵϱ͕Ϭϯϭ       ϯϬ͕ϲϵϲ͕Ϯϵϭ        ϯϳ͕ϱϭϱ͕ϵϰϲ
dŽƚĂůŶĞƚĂƐƐĞƚƐ                                              ϭϱϭ͕Ϯϴϯ͕Ϯϯϲ         ϭϱϮ͕ϳϴϱ͕Ϯϯϲ        ϭϰϵ͕ϰϰϭ͕ϯϵϭ         ϭϱϰ͕Ϭϲϴ͕ϰϭϴ
             dŽƚĂůůŝĂďŝůŝƚŝĞƐĂŶĚŶĞƚĂƐƐĞƚƐ                 ΨϱϮϬ͕ϴϴϯ͕ϲϭϯ           Ψϱϰϰ͕Ϯϱϴ͕ϲϬϮ          ΨϱϱϬ͕ϮϯϮ͕Ϯϯϲ          Ψϱϱϲ͕ϰϱϯ͕ϲϯϱ
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dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
;ĞďƚŽƌͲŝŶͲƉŽƐƐĞƐƐŝŽŶͿ
ŽŶƐŽůŝĚĂƚĞĚ/ŶĐŽŵĞ^ƚĂƚĞŵĞŶƚƐ


                                                                      ƉƌŝůϯϬ͕ϮϬϮϬ                    DĂǇϯϭ͕ϮϬϮϬ                     :ƵŶĞϯϬ͕ϮϬϮϬ                   :ƵůǇϯϭ͕ϮϬϮϬ

ZĞǀĞŶƵĞ͕'ĂŝŶƐ͕ĂŶĚKƚŚĞƌ^ƵƉƉŽƌƚ
ƐƐĞƐƐŵĞŶƚƐƚŽĂĨĨŝůŝĂƚĞĚĞŶƚŝƚŝĞƐ
ƌĐŚĚŝŽĐĞƐĂŶƐƵƉƉŽƌƚ                                        Ψϭϵϱ͕ϵϳϰ       ΨϳϮϬ͕ϵϳϱ       Ψϳϵϯ͕ϵϳϰ      Ψϵϲϵ͕Ϭϯϲ
WƌŝĞƐƚŚĞĂůƚŚŝŶƐƵƌĂŶĐĞĂŶĚƌĞƚŝƌĞŵĞŶƚ                      ϮϯϬ͕ϯϬϯ      ϮϯϬ͕ϯϬϰ      ϮϯϬ͕ϯϬϯ     ϯϰϬ͕ϲϳϱ
/ŶƐƵƌĂŶĐĞŝŶĐŽŵĞ                                            Ϯ͕Ϯϵϲ͕ϴϱϰ       Ϯ͕ϳϰϭ͕ϭϲϰ       ϯ͕ϬϭϮ͕ϰϱϯ      ϯ͕ϵϳϱ͕Ϭϭϴ
&ĞĞƌĞǀĞŶƵĞ                                                    ϭϳϲ͕ϰϲϱ      Ϯϰϯ͕ϴϭϴ      ϱϬϬ͕Ϭϯϲ     ϰϱϱ͕ϲϭϵ
ŽŶƚƌŝďƵƚŝŽŶƐĂŶĚŐƌĂŶƚƐ                                       ϯϮϭ͕ϴϮϱ      Ϯϴϴ͕ϰϰϮ      ;ϭϬϭ͕ϱϴϵͿ    ϱϳϭ͕ϯϳϴ
 dƵŝƚŝŽŶĂŶĚ&ĞĞƐ͕ŶĞƚ                                         ;ϮϮ͕ϮϬϵͿ    ϭϬ͕ϲϴϵ    ;ϯϬϯ͕ϰϰϴͿ    ϯ͕ϮϮϭ͕ϰϴϳ
^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                             ϯ͕Ϯϵϳ   Ϯ͕ϰϬϵ   ϭϳ͕ϬϬϲ    ϮϬϬ
^ƚƵĚĞŶƚƐĞƌǀŝĐĞƐŝŶĐŽŵĞ                                        ϱϮ͕ϴϴϭ    ϭϰϰ͕ϳϭϭ      ϯ͕ϱϱϱ   Ϯϯϲ͕ϰϮϴ
ŚƵƌĐŚŝŶĐŽŵĞ                                                  ϱϰ͕Ϯϱϯ    ϲϳ͕Ϯϴϰ    ϳϮ͕ϰϬϮ    ϱϯ͕ϵϲϮ
ZĞŶƚĂůŝŶĐŽŵĞĂŶĚƌŽǇĂůƚŝĞƐ                                    ϴϵ͕ϯϵϳ    ϴϳ͕ϳϰϳ    ϴϭ͕ϰϮϭ    ϴϴ͕ϴϰϮ
&ƵŶĚƌĂŝƐŝŶŐĂŶĚĚĞǀĞůŽƉŵĞŶƚ                                    ϱϬϲ͕ϴϮϲ      Ϯϯϭ͕ϭϬϳ      ϮϯϮ͕ϱϰϵ     ϰϰϬ͕ϳϱϴ
/ŶƚĞƌĞƐƚŝŶĐŽŵĞͲĚĞƉŽƐŝƚĂŶĚůŽĂŶĨƵŶĚ                         ϭϳϰ͕ϱϱϴ      ϭϴϬ͕ϭϵϵ      ϭϳϰ͕ϱϵϴ     ϭϴϭ͕ϭϲϰ
^ƉĞĐŝĂůĞǀĞŶƚƐŝŶĐŽŵĞ                                          ϮϬ͕ϳϲϬ    ϭϰ͕ϮϴϬ    ϭ͕ϲϱϬ   ϭϲ͕ϳϭϬ
/ŶǀĞƐƚŵĞŶƚŝŶĐŽŵĞ͕ŶĞƚ                                         ϯϱϲ͕ϱϭϰ      ϯϱϲ͕ϱϭϰ      ϯϱϲ͕ϱϭϰ     ϯϳϰ͕ϰϱϮ
KƚŚĞƌŝŶĐŽŵĞ                                                   ϰϭϭ͕ϳϭϬ      Ϯϵϳ͕ϴϯϲ      ϯϲϰ͕Ϯϲϯ     ϯϮϱ͕ϮϮϱ
dŽƚĂůŝŶĐŽŵĞ                                                      ϰ͕ϴϲϵ͕ϰϬϳ       ϱ͕ϲϭϳ͕ϰϳϵ       ϱ͕ϰϯϱ͕ϲϴϳ      ϭϭ͕ϮϱϬ͕ϵϱϰ

ǆƉĞŶƐĞƐ
WƌŽŐƌĂŵ͗
DŝŶŝƐƚƌŝĞƐ                                                  ϭ͕ϯϴϮ͕ϯϵϬ       ϭ͕ϯϱϭ͕ϱϴϱ       ϭ͕ϲϬϯ͕ϴϱϲ      ϭ͕ϱϮϴ͕ϱϴϵ
^ƵƉƉŽƌƚŝŶŐƐĞƌǀŝĐĞƚŽƉĂƌŝƐŚĞƐĂŶĚŽƚŚĞƌƌĞůĂƚĞĚĂŐĞŶĐŝĞƐ   ϰ͕ϲϯϲ͕Ϭϲϳ       ϭ͕ϴϰϲ͕ϯϰϳ       ϭ͕ϵϭϮ͕ϲϳϲ      ϯ͕ϲϱϱ͕ϭϯϯ
/ŶƐƚƌƵĐƚŝŽŶĂů                                               ϭ͕ϲϰϬ͕ϯϴϬ       ϭ͕ϳϱϱ͕ϰϴϴ       Ϯ͕ϱϮϱ͕ϲϭϱ      ϭ͕ϭϱϯ͕ϱϮϳ
ƵǆŝůŝĂƌǇƐĞƌǀŝĐĞƐ                                          ϭϲϱ͕ϭϯϳ      ϯϮϲ͕ϳϰϴ      ϰϬϯ͕ϳϵϯ     ϯϱϭ͕ϭϱϬ
^ƵƉƉƉŽƌƚŝŶŐƐĞƌǀŝĐĞƐ͗
ĚŵŝŶŝƐƚƌĂƚŝŽŶ                                              ϭ͕ϭϬϯ͕Ϭϵϳ       ϭ͕ϯϰϳ͕ϱϮϴ       Ϯ͕Ϭϴϱ͕ϴϵϯ      ϭ͕ϰϮϳ͕Ϭϰϱ
ĞǀĞůŽƉŵĞŶƚĂŶĚĨƵŶĚƌĂŝƐŝŶŐ                                 ϭϲϭ͕ϰϰϰ      ϭϱϮ͕ϰϭϴ      ϭϯϴ͕Ϯϱϭ     ϭϭϱ͕Ϭϰϵ
KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                            ϱϮϲ͕ϲϲϮ      ϯϱϭ͕ϭϳϯ      ϲϰϴ͕ϲϰϲ     ϲϬϭ͕ϲϵϰ
KƚŚĞƌ                                                          ϲϱ͕Ϭϭϯ    ϯϴ͕ϳϬϰ    ϭϮϵ͕ϵϱϵ     ϭϬϵ͕ϳϲϵ
ZĞŽƌŐĂŶŝǌĂƚŝŽŶĐŽƐƚƐ                                           ϰϴϯ͕ϬϬϱ      ϲϭϱ͕ϯϭϵ      ϭϰϵ͕ϲϵϰ     ϮϵϮ͕ϲϱϬ
dŽƚĂůĞǆƉĞŶƐĞƐ                                                    ϭϬ͕ϭϲϯ͕ϭϵϲ        ϳ͕ϳϴϱ͕ϯϭϬ       ϵ͕ϱϵϴ͕ϯϴϯ      ϵ͕Ϯϯϰ͕ϲϬϲ

EŽŶͲŽƉĞƌĂƚŝŶŐƌĞǀĞŶƵĞƐ;ĞǆƉĞŶƐĞƐͿ
/ŶǀĞƐƚŵĞŶƚŝŶĐŽŵĞ͕ŶĞƚ                                         ϱ͕ϭϱϵ͕ϵϭϯ ϰ͕ϬϮϲ͕ϯϰϱ Ϯ͕ϭϮϮ͕ϱϱϲ Ϯ͕ϵϴϱ͕ϭϯϭ
>ĞƐƐƐƉĞŶĚŝŶŐĚŝƐƚƌŝďƵƚŝŽŶ                                  ;ϯϱϲ͕ϱϭϰͿ ;ϯϱϲ͕ϱϭϰͿ ;ϯϱϲ͕ϱϭϰͿ ;ϯϳϰ͕ϰϱϮͿ
/ŶǀĞƐƚŵĞŶƚŝŶĐŽŵĞ͕ŶĞƚŽĨƐƉĞŶĚŝŶŐĚŝƐƚƌŝďƵƚŝŽŶ                ϰ͕ϴϬϯ͕ϯϵϵ ϯ͕ϲϲϵ͕ϴϯϭ ϭ͕ϳϲϲ͕ϬϰϮ Ϯ͕ϲϭϬ͕ϲϳϵ

ŚĂŶŐĞŝŶŶĞƚĂƐƐĞƚƐ                                              ;ϰϵϬ͕ϯϵϬͿ ϭ͕ϱϬϮ͕ϬϬϬ ;Ϯ͕ϯϵϲ͕ϲϱϰͿ ϰ͕ϲϮϳ͕ϬϮϳ

EĞƚƐƐĞƚƐ
ĞŐŝŶŶŝŶŐďĂůĂŶĐĞ                                              ϭϱϭ͕ϳϳϯ͕ϲϮϱ ϭϱϭ͕Ϯϴϯ͕Ϯϯϲ ϭϱϭ͕ϴϯϴ͕Ϭϰϱ ϭϰϵ͕ϰϰϭ͕ϯϵϭ
ŶĚŝŶŐďĂůĂŶĐĞ                                                 Ψϭϱϭ͕Ϯϴϯ͕Ϯϯϲ ΨϭϱϮ͕ϳϴϱ͕Ϯϯϱ Ψϭϰϵ͕ϰϰϭ͕ϯϵϭ Ψϭϱϰ͕Ϭϲϴ͕ϰϭϴ

ZĞĐŽŶĐŝůŝĂƚŝŽŶŽĨEĞƚƐƐĞƚƐĨƌŽŵϱͬϯϭͬϮϬƚŽϲͬϭͬϮϬ͗
EĞƚĂƐƐĞƚƐĞŶĚŝŶŐďĂůĂŶĐĞϱͬϯϭͬϮϬ͕ĂƐƌĞƉŽƌƚĞĚ                                                      ΨϭϱϮ͕ϳϴϱ͕Ϯϯϱ
ĚũƵƐƚŵĞŶƚ͗ƚŽƌĞŵŽǀĞ/ŶǀĞƐƚŵĞŶƚƚŚĂƚǁĂƐŝŶĐŽƌƌĞĐƚůǇ
ŝŶĐůƵĚĞĚŽŶ^D^^ƚŚĂƚǁĂƐƐƵďƐĞƋƵĞŶƚůǇĚĞƚĞƌŵŝŶĞĚ
ƚŽďĞĂŶĂƐƐĞƚŽĨƚŚĞĂƚŚŽůŝĐŽŵŵƵŶŝƚǇ&ŽƵŶĚĂƚŝŽŶ                                                 ;ϵϰϳ͕ϭϵϭͿ

EĞƚĂƐƐĞƚƐďĞŐŝŶŶŝŶŐďĂůĂŶĐĞϲͬϭͬϮϬ                                                                 Ψϭϱϭ͕ϴϯϴ͕Ϭϰϱ
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ĂƐŚZĞĐĞŝƉƚƐĂŶĚŝƐďƵƌƐĞŵĞŶƚƐ^ƚĂƚĞŵĞŶƚ

ĂƐĞŶĂŵĞ                                          dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
ĂƐĞŶƵŵďĞƌ                                        ϮϬͲϭϬϴϰϲ

&ŽƌWĞƌŝŽĚ:ƵůǇϭƚŽ:ƵůǇϯϭ͕ϮϬϮϬ

ĂƐŚZĞĐŽŶĐŝůŝĂƚŝŽŶ                                                   ŵŽƵŶƚ
ϭ͘ĞŐŝŶŶŝŶŐĂƐŚĂůĂŶĐĞ                                             Ψϱϭ͕ϵϯϱ͕ϳϬϴ͘ϰϰ

Ϯ͘ĂƐŚZĞĐĞŝƉƚƐ                                                      ΨϮϵ͕ϲϮϴ͕ϰϰϲ͘ϵϳ

ϯ͘ĂƐŚŝƐďƵƌƐĞŵĞŶƚƐ                                                 Ψ;Ϯϲ͕ϯϱϯ͕ϴϵϴ͘ϱϮͿ

ϰ͘EĞƚĂƐŚ&ůŽǁ                                                      Ψϯ͕Ϯϳϰ͕ϱϰϴ͘ϰϱ

ϱ͘ŶĚŝŶŐĂƐŚĂůĂŶĐĞ                                                Ψϱϱ͕ϮϭϬ͕Ϯϱϲ͘ϴϵ

ĂƐŚ^ƵŵŵĂƌǇͲŶĚŝŶŐĂůĂŶĐĞ                     ŶƚŝƚǇ             ŵŽƵŶƚΎ                           &ŝŶĂŶĐŝĂů/ŶƐƚŝƚƵƚŝŽŶ
&ŝĨƚŚŝƐƚƌŝĐƚ^ĂǀŝŶŐƐĂŶŬͲϲϯϰϰ                 K>                Ψϭϳϴ͕ϴϲϰ͘ϲϲ         &ŝĨƚŚŝƐƚƌŝĐƚ^ĂǀŝŶŐƐĂŶŬ
'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚKƉĞƌĂƚŝŶŐͲϭϰϵϮ         K>                Ψϵϵϯ͕ϰϱϮ͘ϬϬ         'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚ
'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚWĂǇƌŽůůͲϳϲϱϰ           K>                ΨͲ    'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚ
'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚdƵŝƚŝŽŶ>ĞŶĚŝŶŐͲϲϬϱϰ   K>                Ψϭ͕Ϯϭϳ͕Ϭϭϯ͘ϲϲ          'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚ
'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚdƵƚŝŽŶZĞƐĞƌǀĞͲϬϬϭϭ    K>                ΨϮ͕Ϭϳϴ͕ϱϬϱ͘ϱϭ          'ƵůĨŽĂƐƚĂŶŬĂŶĚdƌƵƐƚ
ZĞŐŝŽŶƐƵƐŝŶĞƐƐŚĞĐŬŝŶŐͲϲϬϳϯ                    K>                Ψϭϰϱ͕ϲϮϭ͘ϴϯ         ZĞŐŝŽŶƐ
WĂǇƌŽůůĐĐŽƵŶƚͲϮϰϰϬ                              ^,^               ΨϮ͕ϲϬϴ͘ϯϳ      &ŝƌƐƚĂŶŬΘdƌƵƐƚ
ƵƌƌĞŶƚzĞĂƌdƵŝƚŝŽŶͲϯϬϴϱ                         ^,^               Ψϭ͕ϰϱϴ͕Ϭϯϴ͘ϳϵ          &ŝƌƐƚĂŶŬΘdƌƵƐƚ
dƵŝƚŝŽŶ>ŽĂŶƐƵƌƌĞŶƚzĞĂƌͲϬϬϬϳ                   ^,^               Ψϭ͕ϱϬϲ͕ϲϰϵ͘ϴϱ          &ŝƌƐƚĂŶŬΘdƌƵƐƚ
DDͬKƉĞƌĂƚŝŶŐzĞĂƌͲϵϭϲϮ                            ^,^               ΨϳϮϬ͕ϱϬϵ͘ϵϳ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
'ĞŶĞƌĂůKƉĞƌĂƚŝŶŐͲϮϰϮϵ                            ^,^               ΨϭϬϰ͕ϳϴϱ͘ϯϲ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
dƵŝƚŝŽŶZĞƐĞƌǀĞͲϬϰϯϳ                             ^^               ΨϴϭϮ͕ϱϭϲ͘ϭϯ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dKƉĞƌĂƚŝŶŐͲϯϬϲϯ                               ^^               ΨϮ͕ϰϭϵ͕Ϭϭϭ͘ϱϭ          &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&KƉĞƌĂƚŝŶŐͲϬϱϬϮ                               ^^               ΨϯϬϱ͕ϳϱϮ͘ϳϬ         &ŝƌƐƚŵĞƌŝĐĂŶĂŶŬ
WĂǇƌŽůůͲϭϯϳϳ                                     ^^               Ψϵϲ͘Ϭϲ    &ŝƌƐƚŵĞƌŝĐĂŶĂŶŬ
YůƵďͲϳϬϯϲ                                     ^^               ΨϰϬ͕ϱϮϲ͘ϯϭ       &ŝƌƐƚEĂƚŝŽŶĂůĂŶŬh^
WĂǇƌŽůůĂŶĚhƚŝůŝƚŝĞƐͲϱϲϳϴ                       ^^               ΨϲϮ͕ϰϬϴ͘ϳϭ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&DŽŶĞǇDĂƌŬĞƚͲϱϲϱϭ                             ^^               Ψϰϳϭ͕ϱϮϵ͘ϲϵ         &ŝƌƐƚŵĞƌŝĐĂŶĂŶŬ
KƉĞƌĂƚŝŶŐĐĐŽƵŶƚͲϭϱϭϰ                           ,^               Ψϱϲϴ͕ϮϰϬ͘ϵϯ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
dƵŝƚŝŽŶŶĚŽǁŵĞŶƚͲϭϳϰϱ                           ,^               ΨϮϵ͕ϯϰϵ͘Ϯϭ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
KŶůŝŶĞ'ŝǀŝŶŐͲϮϴϬϵ                               ,^               Ψϳϱ͕ϱϴϯ͘ϳϯ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
'ĂŵŝŶŐĐĐƚͲϯϮϵϯ                                 ,^               ΨϬ͘Ϭϴ   &ŝƌƐƚĂŶŬΘdƌƵƐƚ
EĞǆƚzĞĂƌĂƐŚͲϰϵϲϳ                              ,^               Ψϭϳϰ͕ϯϳϵ͘ϳϴ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐͲϬϭϴϰ                 ,^               ΨϮ͕ϰϮϰ͕ϬϰϬ͘ϯϬ          &ŝƌƐƚĂŶŬΘdƌƵƐƚ
WWWͲϱϲϲϳ                                        ,^               Ψϰ͘ϯϲ   &ŝƌƐƚĂŶŬΘdƌƵƐƚ
KƉĞƌĂƚŝŶŐͲϴϱϰϱ                                  ,,^               Ψϳϳϴ͕ϰϬϴ͘Ϭϵ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
dƵŝƚŝŽŶ^ĂǀŝŶŐƐĐĐŽƵŶƚͲϴϴϲϭ                     ,,^               ΨͲ    &ŝƌƐƚĂŶŬΘdƌƵƐƚ
WĂǇƌŽůůͲϴϱϬϭ                                      ,,^               ΨͲ    &ŝƌƐƚĂŶŬΘdƌƵƐƚ
dƵŝƚŝŽŶZĞƐƌĞǀĞĐĐŽƵŶƚͲϬϬϳϵ                      ,,^               Ψϭ͕ϰϯϰ͕ϰϮϴ͘ϰϬ          &ŝƌƐƚĂŶŬΘdƌƵƐƚ
WWWƐĐƌŽǁͲϱϳϬϬ                                   ,,^               ΨͲ    &ŝƌƐƚĂŶŬΘdƌƵƐƚ
KƉĞƌĂƚŝŶŐͲϴϬϱϱ                                    W:W,^              Ψϱϵϳ͕ϵϯϲ͘Ϭϴ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
ZĞƐĞƌǀĞ>ŽĂŶͲϬϮϳϭ                                 W:W,^              ΨϲϬϬ͕ϭϴϵ͘ϯϵ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
^ĂǀŝŶŐƐͲϯϭϵϵ                                      W:W,^              ΨϯϮϮ͕ϯϳϮ͘ϵϯ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
ŚĞĐŬŝŶŐͲϰϮϰϮ                                     W:W,^              Ψϲϰϵ͕ϲϭϯ͘ϵϳ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dĂǇĂŵƉͲϮϴϴϳ                                  Z,^               Ψϲϵ͕ϴϭϵ͘ϳϭ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dDĞƌĐŚĂŶƚĐĐƚͲϮϴϳϲ                           Z,^               Ψϭϴ͕ϵϵϮ͘ϴϭ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dKŶůŝŶĞĚǀĂŶĐĞŵĞŶƚͲϮϴϯϮ                      Z,^               Ψϯϰ͕ϳϱϮ͘ϴϰ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dKŶůŝŶĞĂŶĚͲϮϴϱϰ                             Z,^               ΨϭϬ͕ϲϮϯ͘ϰϵ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐͲϮϴϲϱ                      Z,^               Ψϭ͕ϲϳϳ͘Ϯϳ      &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dKŶůŝŶĞ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐͲϮϴϰϯ                 Z,^               Ψϳ͕Ϭϯϵ͘ϴϱ      &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dKƉĞƌĂƚŝŶŐͲϮϳϵϵ                               Z,^               Ψϵϰ͕ϵϮϬ͘ϱϱ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dKŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐͲϮϳϳϳ                     Z,^               ΨϵϬ͕Ϯϭϯ͘ϳϲ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dWĂǇƌŽůůͲϮϴϮϭ                                 Z,^               ΨϮϭ͕ϳϳϯ͘ϯϯ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&ddƵŝƚŝŽŶZĞƐƚƌŝĐƚĞĚͲϬϰϯϭ                      Z,^               ΨϮ͕ϲϭϯ͕ϰϳϯ͘ϭϮ          &ŝƌƐƚĂŶŬΘdƌƵƐƚ
&dDŽŶĞǇDĂƌŬĞƚͲϮϳϱϱ                            Z,^               ΨϳϬϱ͕ϳϯϱ͘ϱϵ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
KƉĞƌĂƚŝŶŐĐĐŽƵŶƚͲϯϲϵϯ                            ^D^^               Ψϭϰϵ͕ϰϵϴ͘ϱϯ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
WĂǇWĂůͲϭϰϴϭ                                    ^D^^               ΨͲ    &ŝƌƐƚĂŶŬΘdƌƵƐƚ
DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚͲϵϭϮϵ                         ^D^^               Ψϲ͕ϯϳϰ͘Ϯϯ      &ŝƌƐƚĂŶŬΘdƌƵƐƚ
WĂǇƌŽůůĐĐŽƵŶƚͲϵϲϬϮ                              ^D^^               ΨͲ    &ŝƌƐƚĂŶŬΘdƌƵƐƚ
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KƉĞƌĂƚŝŶŐͲϯϰϬϰ                                                                ^D^^             Ψϰϴϵ͕ϳϮϮ͘Ϭϯ        &ŝƌƐƚĂŶŬΘdƌƵƐƚ
ĂƉŝƚĂů&ƵŶĚƐͲϭϱϬϵ                                                            ^D^^             Ψϯϲϲ͕ϰϴϱ͘ϬϬ        'ƵůĨŽĂƐƚĂŶŬΘdƌƵƐƚŽŵƉĂŶǇ
^ƚ^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇŽŵŵĞƌĐŝĂůŚĞĐŬŝŶŐͲϯϭϬϲ                              ^^              ΨͲ   ĂƉŝƚĂůKŶĞ
ZĞŐƵůĂƌŚĞĐŬŝŶŐͲϲϮϭϳ                                                        ^^              ΨͲ   ĂƉŝƚĂůKŶĞ
^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇŽŵŵĞƌĐŝĂůŚĞĐŬŝŶŐͲϰϳϳϲ                             ^^              Ψϭϳϳ͕ϱϯϭ͘ϱϭ        ĂƉŝƚĂůKŶĞ
dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚͲϴϰϱϳ                                           ^^              Ψϯϰϱ͕ϰϬϭ͘ϲϲ        &ŝƌƐƚĂŶŬΘdƌƵƐƚ
ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐͲϬϬϲϳ                            ^^              Ψϭ͕ϭϱϭ͕ϮϮϲ͘ϱϱ         &ŝƌƐƚĂŶŬΘdƌƵƐƚ
KƉĞƌĂƚŝŶŐĨŽƌWͲϯϬϲϱ                                                        ^^              Ψϯ͕ϰϰϰ͕ϳϲϱ͘ϯϳ         ,ŽŵĞĂŶŬ
KƉĞƌĂƚŝŶŐĐĐŽƵŶƚͲϰϯϲϲ                                                       ^^              ΨͲ   &ŝƌƐƚĂŶŬΘdƌƵƐƚ
^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇĐĐŽƵŶƚͲϮϬϱϰ                                         ^^              Ψϰ͕ϴϴϮ͘ϰϭ     ZĂǇŵŽŶĚ:ĂŵĞƐ
KƉĞƌĂƚŝŶŐͲϯϳϯϲ                                                                ^>              Ψϭϭ͕ϴϭϬ͘ϵϯ      ĂƉŝƚĂůKŶĞ
KƉĞƌĂƚŝŶŐͲϵϮϱϬ                                                                ^>              Ψϭϱ͕ϭϯϮ͘ϬϮ      ĂƉŝƚĂůKŶĞ
ĂŵďŽŶͲϯϲϬϰ                                                                   ^>              ΨϮ͕ϬϬϬ͘ϬϬ     ĂƉŝƚĂůKŶĞ
^ƚ͘ŶƚŚŽŶǇ'ĂƌĚĞŶͲϯϳϰϰ                                                       ^>              ΨͲ   ĂƉŝƚĂůKŶĞ
'ŝĨƚ^ŚŽƉͲϯϳϮϴ                                                                ^>              Ψϲ͕ϭϳϭ͘ϭϮ     ĂƉŝƚĂůKŶĞ
KƉĞƌĂƚŝŶŐͲϰϬϴϱ                                                               ^>              Ψϯϵϯ͕ϭϯϰ͘Ϭϯ        tŚŝƚŶĞǇ
KƉĞƌĂƚŝŶŐͲϰϬϲϵ                                                               ^>              Ψϱϴϰ͕ϰϬϬ͘ϵϯ        tŚŝƚŶĞǇ
'ŝĨƚ^ŚŽƉͲϰϬϳϳ                                                               ^>              ΨϭϬ͕ϴϴϳ͘ϵϵ      tŚŝƚŶĞǇ
^ĂǀŝŶŐƐͲϱϲϴϯ                                                                 ^>              ΨϭϬ͕ϬϬϬ͘ϬϬ      tŚŝƚŶĞǇ
KƉĞƌĂƚŝŶŐͲϰϯϭϴ                                                                K>'              Ψϲϴ͕ϲϯϭ͘Ϯϯ      ,ĂŶĐŽĐŬtŚŝƚŶĞǇ
WĂǇƌŽůůͲϵϲϭϰ                                                                  EK              Ψ;ϭ͕Ϯϳϳ͘ϴϰͿ     &ŝƌƐƚĂŶŬΘdƌƵƐƚ
KƉĞƌĂƚŝŶŐͲϮϭϭϴ                                                                EK              ΨϮϭ͕ϴϴϰ͕ϵϮϰ͘Ϯϭ          tŚŝƚŶĞǇ
ŚĞĐŬŝŶŐͲϵϲϴϬ                                                                 EK              Ψϰϰ͕ϵϳϯ͘ϵϯ      &ŝƌƐƚĂŶŬΘdƌƵƐƚ
ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚͲϵϲϮϱ                                                 EK              ΨϮ͕ϬϬϬ͘ϬϬ     &ŝƌƐƚĂŶŬΘdƌƵƐƚ
/ŶƐƵƌĂŶĐĞͲϯϲϲϰ                                                                EK              ΨϮ͕ϲϬϯ͘Ϯϳ     ĂƉŝƚĂůKŶĞ
ĂƌĞΘŽŵƉĂƐƐŝŽŶͲϮϰϬϮ                                                        EK              ΨϮ͕ϳϮϱ͘ϰϰ     ĂƉŝƚĂůKŶĞ
ZĞƚŝƌĞŵĞŶƚͲϮϳϭϴ                                                               EK              ΨϯϱϮ͕Ϭϴϰ͘ϵϬ        tŚŝƚŶĞǇ
^ĂǀŝŶŐƐͲϱϮϰϱ                                                                  EK              Ψϭϭϭ͕ϲϭϲ͘ϵϭ        >ŝďĞƌƚǇĂŶŬ
ŵƉůŽǇĞĞ/ŶƐƵƌĂŶĐĞ&ƵŶĚͲϬϳϲϲ                                                  EK              Ψϭ͕ϮϲϬ͕ϵϵϭ͘ϳϮ         tŚŝƚŶĞǇ
ŵƉůŽǇĞĞŝŶƐƌƵĂŶĐĞͲϴϱϵϳ                                                       EK              ΨϰϳϬ͕Ϭϵϴ͘ϭϯ        DK,ĂƌƌŝƐ

dŽƚĂů                                                                                          Ψϱϱ͕ϮϭϬ͕Ϯϱϲ͘ϴϵ



/ŶƚĞƌͲĐĐŽƵŶƚdƌĂŶƐĨĞƌƐ;ŝƐďƵƌƐĞŵĞŶƚƐͿ                                                         Ψϵ͕ϲϰϵ͕ϭϱϳ͘ϬϮ

ĚũƵƐƚĞĚĂƐŚŝƐďƵƌƐĞŵĞŶƚƐ                                                                     ŵŽƵŶƚΎ
                                                                                                Ψϭϲ͕ϳϬϰ͕ϳϰϭ͘ϱϬ



ΎEŽƚĞ͗dŚŝƐĂŵŽƵŶƚƐŚŽƵůĚďĞƵƐĞĚƚŽĚĞƚĞƌŵŝŶĞh^dƋƵĂƌƚĞƌůǇĨĞĞƐĚƵĞĂŶĚĂŐƌĞĞǁŝƚŚ&ŽƌŵϮͲ
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ĂƐŚZĞĐĞŝƉƚƐ:ŽƵƌŶĂů
ĂƐŚEĂŵĞ                                  dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
ĂƐĞEƵŵďĞƌ                                ϮϬͲϭϬϴϰϲ




ŶƚŝƚǇ<ĞǇ   ĐĐŽƵŶƚEĂŵĞ                  ĐĐŽƵŶƚηŶĚŝŶŐŝŶ   ĂƚĞ          ĞƐĐƌŝƉƚŝŽŶ;^ŽƵƌĐĞͿΎ                                                                                ŵŽƵŶƚ                              /ŶƚĞƌͲĂĐĐŽƵŶƚdƌĂŶƐĨĞƌ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϯϳϯϲ           ϬϳͬϯϭͬϮϬϮϬ    /ŶƚĞƌĞƐƚ                                                                                           ΨϭϬ͘ϵϯ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϯϳϯϲ           ϬϳͬϭϲͬϮϬϮϬ    tĞĚĚŝŶŐƐ͖ƉĂƌŬŝŶŐĐŽŶǀĞŶƚǇĂƌĚ                                                                     Ϯ͕ϱϱϬ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϯϳϯϲ           ϬϳͬϬϵͬϮϬϮϬ    tĞĚĚŝŶŐƐ͖ƉĂƌŬŝŶŐĐŽŶǀĞŶƚǇĂƌĚ͖ĚŽŶĂƚŝŽŶƐ͖ŵƵƐĞƵŵĂĚŵŝƐƐŝŽŶƐ                                       ϴ͕ϮϲϮ͘ϰϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϮϵͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϰϬϬ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϮϴͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϭϬϯ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϮϯͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϱϬϬ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϮϯͬϮϬϮϬ    ŝƉũĂƌ                                                                                             ϰϬϴ͘ϳϰ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϮϮͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϭϬϬ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϮϭͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϭϬϯ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϭϳͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϱ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϭϲͬϮϬϮϬ    tĞĚĚŝŶŐƐ͖ďĂƉƚŝŵƐͬĨƵŶĞƌĂůƐ                                                                         ϯ͕ϯϬϬ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϭϲͬϮϬϮϬ    WĂǇƌŽůůZĞŝŵďƵƌƐĞŵĞŶƚ                                                                              ϭϬ͕ϴϮϳ͘ϳϵ y
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϭϱͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϭ͕ϬϬϮ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϭϰͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϭϳϴ͘ϬϬ
                                                                               tĞĞŬůǇĞŶǀĞůŽƉĞƐ͖ůŽŽƐĞĐŽůůĞĐƚŝŽŶƐ͖ƐĂůĞŽĨǀŽƚŝǀĞƐ͖ĚŽŶĂƚŝŽŶƐ͖ŵĂƐƐƐƚŝƉĞŶĚƐ͖
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϭϮͬϮϬϮϬ    ďĂƉƚŝƐŵƐͬĨƵŶĞƌĂůƐ                                                                                  ϱ͕ϴϵϮ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϬϵͬϮϬϮϬ    WĂǇƌŽůůZĞŝŵďƵƌƐĞŵĞŶƚ                                                                              ϴ͕Ϭϵϵ͘ϳϳ y
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϬϴͬϮϬϮϬ    tĞĚĚŝŶŐƐ                                                                                           ϭϬ͕ϮϱϬ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϬϳͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϭϬϯ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϬϱͬϮϬϮϬ    tĞĞŬůǇĞŶǀĞůŽƉĞƐ͖ůŽŽƐĞĐŽůůĞĐƚŝŽŶƐ͖ƐĂůĞŽĨǀŽƚŝǀĞƐ͖ĚŽŶĂƚŝŽŶƐ͖ŵĂƐƐƐƚŝƉĞŶĚƐ                     ϳ͕ϰϱϰ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϬϳͬϬϮͬϮϬϮϬ    KŶͲůŝŶĞ'ŝǀŝŶŐ                                                                                     ϱϱϬ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϵϮϱϬ           ϳͬϭͬϮϬϮϬ      ŽŶĂƚŝŽŶƐ͕ŵĂƐƐƐƚŝƉĞŶĚƐ                                                                           Ϯ͕ϴϲϰ͘ϭϮ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϯϭͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϳϰ͘ϳϲ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϯϬͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  Ϯϱϱ͘Ϯϴ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϵͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϭϭ͘ϲϴ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϴͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϮϮ͘ϲϮ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϳͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϭ͘ϳϮ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϳͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϰϬ͘ϰϬ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϳͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϬϰ͘ϰϵ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϰͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϴϴ͘ϱϰ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϯͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϰϭ͘ϳϭ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϯͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϵϳ͘ϱϰ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϬͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϬϱ͘ϯϬ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϬͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  Ϯϭϱ͘ϰϳ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϮϬͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  Ϯϵϳ͘Ϭϰ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϭϲͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϮϬϭ͘ϰϬ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϭϱͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϰϲ͘ϰϮ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϭϰͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϭϭϴ͘Ϯϲ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϭϯͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϮϮϯ͘ϰϵ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϭϯͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϮϯϮ͘Ϯϵ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϭϯͬϮϬϮϬ    ƌĞĚŝƚĂƌĚ^ĂůĞƐ                                                                                  ϯϯϱ͘Ϭϵ
^>          'ŝĨƚ^ŚŽƉ                            ϯϳϮϴ           ϬϳͬϭϮͬϮϬϮϬ    ĂƐŚƐĂůĞƐ                                                                                         ϴϮϴ͘ϱϯ
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^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϰϬϴϱ           ϬϳͬϭϳͬϮϬϮϬ    dƌĂŶƐĨĞƌƚŽŽƉĞŶŶĞǁĂĐĐŽƵŶƚ                                                                       ϯϵϯ͕ϯϵϬ͘ϮϬ y
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϰϬϲϵ           ϬϳͬϮϴͬϮϬϮϬ    tĞĞŬůǇĞŶǀĞůŽƉĞƐ͖ůŽŽƐĞĐŽůůĞĐƚŝŽŶƐ͖ƐĂůĞŽĨǀŽƚŝǀĞƐ͖ĚŽŶĂƚŝŽŶƐ͖ŵĂƐƐƐƚŝƉĞŶĚƐ͖ĐĞƌƚŝĨŝĐĂƚĞƌĞƐĞĂƌ ϳ͕ϮϬϳ͘ϬϬ
^>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϰϬϲϵ           ϬϳͬϮϴͬϮϬϮϬ    tĞĞŬůǇĞŶǀĞůŽƉĞƐ͖ůŽŽƐĞĐŽůůĞĐƚŝŽŶƐ͖ƐĂůĞŽĨǀŽƚŝǀĞƐ͖ĚŽŶĂƚŝŽŶƐ͖ŵĂƐƐƐƚŝƉĞŶĚƐ                     ϳ͕ϱϭϳ͘ϬϬ
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^>          ^ĂǀŝŶŐƐ                              ϱϲϴϯ           ϬϳͬϮϬͬϮϬϮϬ    dƌĂŶƐĨĞƌƚŽŶĞǁĂĐĐŽƵŶƚ                                                                            ϭϬ͕ϬϬϬ͘ϬϬ y
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K>          &ŝĨƚŚŝƐƚƌŝĐƚ^ĂǀŝŶŐƐĂŶŬ          ϲϯϰϰ           ϳͬϯϭͬϮϬϮϬ     /ŶƚĞƌĞƐƚŝŶĐŽŵĞ                                                                                     ϱϯ͘ϭϲ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϬϮͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϯϭϱ͘ϴϯ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϬϴͬϮϬϮϬ    ZE^&ĐŽůůĞĐƚŝŽŶĂŶĚKƚŚĞƌ/ŶĐŽŵĞ                                                                 ϰϯϯ͘ϱϬ
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K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϲϭϮ͘ϬϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϲϴϴ͘ϬϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϯϯϭ͘ϱϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϴϯϬ͘ϬϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϵϬϳ͘ϴϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϭ͕ϬϯϬ͘ϮϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϰͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϱϵϬ͘ϬϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϰͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϰ͕ϳϳϴ͘ϬϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϱͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   ϳϱϰ͘ϴϬ
K>          KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                    ϭϰϵϮ           ϬϳͬϭϱͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                                   Ϯ͕Ϯϵϱ͘ϬϬ
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K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϱͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϱ͕ϯϵϰ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϱͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϭϲ͕ϳϱϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϲͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϭ͕Ϯϭϴ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϲͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϭ͕ϯϭϱ͘ϱϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϲͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϭ͕ϲϮϱ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϲͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌͬ^ƚƵĚĞŶƚ^ĞƌǀĐŝĞƐͬ&'ƌĂŶƚ            ϲϬ͕ϴϵϰ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϯϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϵϴ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϭϬϮ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϭϱϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϭϲϱ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϭϴϵ͘ϴϳ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    Ϯϯϱ͘ϬϬ
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K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϱϱϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϱϲϵ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϲϲϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϭ͕Ϯϰϱ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϭ͕ϰϬϯ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϭ͕ϰϮϳ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    Ϯ͕ϭϲϯ͘ϰϮ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                        ϯ͕Ϯϴϰ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   dƵŝƚŝŽŶdƌĂŶƐĨĞƌƐ                                                   ϲ͕ϯϲϵ͘Ϭϴ y
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   dƵŝƚŝŽŶdƌĂŶƐĨĞƌƐ                                                   ϭϬ͕ϭϯϲ͘ϲϮ y
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϭϳͬϮϬϮϬ   dƵŝƚŝŽŶdƌĂŶƐĨĞƌƐ                                                   ϱϭ͕ϳϳϱ͘ϮϬ y
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϮϵͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇWĂǇĂďůĞͲ^ƉŝƌŝƚǁĞĂƌ                        ϰϳ͘ϵϰ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϬͬϮϬϮϬ    &ƵŶĚƌĂŝƐŝŶŐĂŶĚdƵŝƚŝŽŶĂŶĚ&ĞĞƐ;ďŽŽŬĚĂǇͿ                         ϭ͕ϰϭϱ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϭͬϮϬϮϬ    &ƵŶĚƌĂŝƐŝŶŐĂŶĚdƵŝƚŝŽŶĂŶĚ&ĞĞƐ;ďŽŽŬĚĂǇͿ                         ϵϯϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϮͬϮϬϮϬ    &ƵŶĚƌĂŝƐŝŶŐĂŶĚdƵŝƚŝŽŶĂŶĚ&ĞĞƐ;ďŽŽŬĚĂǇͿ                         ϯ͕ϵϳϴ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϮͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϲϵϴ͘ϳϬ
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K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       Ϯϴϭ͘ϲϲ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϭ͕Ϭϭϳ͘ϵϲ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϯϬͬϮϬϮϬ    &ƵŶĚƌĂŝƐŝŶŐĂŶĚdƵŝƚŝŽŶĂŶĚ&ĞĞƐ;ďŽŽŬĚĂǇͿ                         ϲ͕ϰϯϱ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϭ͕ϮϮϰ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϳϰϳ͘ϲϲ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϴͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϯϵϱ͘ϳϲ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϴͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϭ͕ϯϴϲ͘ϲϳ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϴͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϰ͕ϳϯϭ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϵͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϵϯϱ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϴͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϭϲϳ͘ϱϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϯ͕ϮϳϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϵͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       Ϯ͕ϳϱϭ͘ϵϲ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϵͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϰ͕ϴϱϱ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϯϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚKƚŚĞƌ/ŶĐŽŵĞ                                   Ϯ͕ϳϴϰ͘ϲϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϯϬͬϮϬϮϬ    &ƵŶĚƌĂŝƐŝŶŐĂŶĚdƵŝƚŝŽŶĂŶĚ&ĞĞƐ;ďŽŽŬĚĂǇͿ                         ϭ͕ϴϳϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϯϭͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       ϲϮϬ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϯϭͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇWĂǇĂďůĞͲ^ƉŝƌŝƚǁĞĂƌ   ϴ͕ϵϲϲ͘ϬϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚĂƌŶĞĚ                                                     ϰϵϱ͘ϲϯ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                             ϳϱϵ͘ϵϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϯϭͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚďŽŽŬĚĂǇ                                       Ϯ͕ϬϬϮ͘ϱϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϮϯͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                             ϭ͕ϰϰϲ͘ϭϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                             Ϯ͕ϯϬϬ͘ϭϬ
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶdƌĂŶƐĨĞƌ                                                    ϴ͕ϱϴϳ͘ϮϬ y
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶdƌĂŶƐĨĞƌ                                                    ϭϲϭ͕ϲϬϭ͘ϯϯ y
K>    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϰϵϮ   ϳͬϮϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞƐƐĂŶĚŽŽŬĂǇ                                        Ϯϰϰ͘ϴϬ
K>    dƵŝƚŝŽŶ>ĞŶĚŝŶŐĐĐŽƵŶƚ     ϲϬϱϰ   ϳͬϵͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚĞǀĞůŽƉŵĞŶƚ/ŶĐŽŵĞ                              ϭϵ͕ϳϴϳ͘ϱϬ
K>    dƵŝƚŝŽŶ>ĞŶĚŝŶŐĐĐŽƵŶƚ     ϲϬϱϰ   ϳͬϯϭͬϮϬϮϬ    /ŶƚĞƌĞƐƚĂƌŶĞĚ                                                      ϰϬϳ͘ϰϯ
K>    dƵŝƚŝŽŶ>ĞŶĚŝŶŐĐĐŽƵŶƚ     ϲϬϱϰ   ϳͬϮϬͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ/ŶĐŽŵĞĂŶĚdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                              ϭϵ͕ϵϰϱ͘ϭϱ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϳ͕ϴϰϬ͘ϬϬ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϴ͕ϯϵϬ͘ϬϬ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϯ͕ϴϵϬ͘ϬϬ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϬϳͬϬϮͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϯ͕ϴϱϮ͘ϱϬ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϬϳͬϬϴͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϴϳϱ͘ϲϮ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϬϳͬϬϵͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϴ͕ϯϵϬ͘ϬϬ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϬϳͬϭϯͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                    ϴ͕ϰϱϬ͘ϬϬ
K>    dƵŝƚŝŽŶ&ƵŶĚĞĚ             ϬϬϭϭ   ϳͬϯϭͬϮϬϮϬ    /ŶƚĞƌĞƐƚ/ŶĐŽŵĞ                                                     ϱ͕ϲϮϮ͘Ϭϴ
K>    ZĞŐƵůĂƌƵƐŝŶĞƐƐŚĞĐŬŝŶŐ   ϲϬϳϯ   ϳͬϯϭͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐĂŶĚ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                ϵϭϰ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϭͬϮϬϮϬ   ,W>>dd͕,Z͕,/^dWWZ                                       ϴϵϲ͘ϰϭ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϮͬϮϬϮϬ   WZ</E'>͕,W>>dd͕,Z͕,/^dWWZ                        ϱ͕ϲϱϳ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϮͬϮϬϮϬ   ,/W^dZd                                                             ϮϱϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϮͬϮϬϮϬ   ZhDD>;WZΘED/>Ϳ                                        ϱ͕ϮϮϲ͘Ϭϱ z
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϮͬϮϬϮϬ   D^KK<Z&hE                                                       ϲϳϵ͘ϯϵ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϮͬϮϬϮϬ   dh/d/KE                                                               ϱ͕ϴϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϮͬϮϬϮϬ   dh/d/KE                                                               ϵ͕ϴϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϯͬϮϬϮϬ   ,/^dWWZ                                                            ϭ͕ϯϴϭ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϯͬϮϬϮϬ   dh/d/KE                                                               ϭ͕ϬϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϯͬϮϬϮϬ   ,/W^dZd&dZEKKE^</>>^                                            ϭϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϯͬϮϬϮϬ   dh/d/KE                                                               ϯ͕ϰϮϬ͘ϴϰ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϲͬϮϬϮϬ   ,W>>dd͕,/^dWWZ͕,/W^dZd                                    ϴ͕Ϯϲϭ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϳͬϮϬϮϬ   ,W>>dd͕,/^dWWZ͕&/>>                                     ϭ͕ϯϲϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϴͬϮϬϮϬ   ,W>>dd͕,Z>Z͕WZ</E'>͕&/>>                      ϭϰ͕ϭϭϰ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϵͬϮϬϮϬ   ,W>>dd͕,Z͕WZ</E'd'                                      ϱ͕ϱϮϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϬϵͬϮϬϮϬ   dh/d/KE                                                              ϭϲ͕ϰϵϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϬͬϮϬϮϬ   dh/d/KE                                                              ϰ͕ϮϮϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϭͬϮϬϮϬ   ^E'ZͲZ&hEh&KZ'Zhd/KEsEh                            ϳ͕ϰϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ   KK<^dKZ^>^ϳͬϭϯͬϮϬ                                              ϭϱϳ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ   ^dhEdd/s/d/^                                                    ϭϬ͕ϰϯϴ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϰͬϮϬϮϬ   KK<^dKZ^>^ϳͲϭϰͲϮϬ                                               ϭϯϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϰͬϮϬϮϬ   ,/^dWWZ͕WZ</E'>                                             ϰ͕ϱϭϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϰͬϮϬϮϬ   dh/d/KE                                                               ϭϭ͕ϭϮϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϰͬϮϬϮϬ   'ZEWZEd>h;,hd,/^KEͿ                                          ϭϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϰͬϮϬϮϬ   KDDhE/dzK&&ZtZ^                                              ϯϵ͘ϭϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϱͬϮϬϮϬ   KK<^dKZ^>^ϳͲϭϱͲϮϬ                                               ϯϵϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϱͬϮϬϮϬ   KK<^dKZ^>^ϳͬϭϱͬϮϬ                                               ϭϴϲ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϱͬϮϬϮϬ   ,Z͕,/^dWWZ͕WZ</E'>                                      ϱ͕ϬϱϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϲͬϮϬϮϬ   WZ</E'>͕,/W^dZd                                              ϱ͕ϵϵϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϲͬϮϬϮϬ   d,K>/Dhdh>Z/DhZ^DEd                                         Ϯϱ͕ϱϬϯ͘ϰϰ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   ,/^dWWZWzDEd                                                    ϯ͕ϯϴϬ͘ϴϲ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   KK<^dKZ^>^ϳͲϭϳͲϮϬ                                               ϯϲ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ           ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   KK<^dKZ^>^ϳͲϭϳͲϮϬ                                               ϭϱϮ͘ϬϬ
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,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   KK<^dKZ^>^ϳͬϭϳͬϮϬ                                         Ϯϱϭ͘ϱϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   dh/d/KE                                                         ϳ͕ϴϭϮ͘Ϭϭ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   ,/W^dZd                                                       ϱϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   'ZEWZEd>hh^;,W>/EͿ                                ϭϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   dh/d/KE                                                         Ϯ͕ϱϮϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   ,/W^dZd;,WDEͿ                                             ϯϱϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϳͬϮϬϮϬ   dh/d/KE                                                         ϵ͕ϭϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϭͬϮϬϮϬ   dZE^&Zdh/d/KEZ^Zs/EdZ^ddKKWZd/E'ϳ͘ϭ͘ϮϬϮϬ         Ϯ͕ϰϳϬ͘ϲϳ       ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϭͬϮϬϮϬ   dh/d/KE>KE/^hZ^DEdϳ͘ϭ͘ϮϬϮϬ                              ϴϲ͕Ϯϳϯ͘ϬϬ        ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϭͬϮϬϮϬ   dh/d/KE/^hZ^DEdϳ͘Ϯ͘ϮϬϮϬ                                   ϵ͕Ϭϵϴ͘ϳϱ       ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϯͬϮϬϮϬ   dh/d/KE/^hZ^DEdϳ͘ϯ͘ϮϬϮϬ                                   ϵϳ͕ϳϬϲ͘ϵϳ        ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϲͬϮϬϮϬ   dƵŝƚŝŽŶϮϬϮϬͲϮϭƉĂŝĚϳͬϮͬϮϬϮϬ                                   ϯ͕ϬϬϬ͘ϬϬ       ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϴͬϮϬϮϬ   dh/d/KE/^hZ^DEdϳ͘ϴ͘ϮϬϮϬ                                   ϭ͕ϭϳϯ͘ϭϳ       ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϵͬϮϬϮϬ   dh/d/KE/^hZ^DEdϳ͘ϵ͘ϮϬϮϬ                                   ϭ͕ϯϯϲ͘ϵϭ       ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϬͬϮϬϮϬ   dh/d/KEdZE^&Zϳ͘ϭϬ͘ϮϬϮϬ                                      ϵϭϬ͘ϬϬ     ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ   dh/d/KEdZE^&Zϳ͘ϭϯ͘ϮϬϮϬ                                      ϭ͕ϳϮϮ͘ϲϴ       ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϰͬϮϬϮϬ   dh/d/KEdZE^&Zϳ͘ϭϰ͘ϮϬϮϬ                                      ϭ͕ϰϲϰ͘ϱϴ       ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϱͬϮϬϮϬ   dh/d/KEdZE^&Zϳ͘ϭϱ͘ϮϬϮϬ                                      ϭϱϯ͕ϮϯϬ͘ϱϳ         ǆ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϳͬϭϴͬϮϬϮϬ    ƌĂĨƚ&Ăŝƌ                                                      ϲϱϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϬͬϮϬϮϬ   KK<^dKZ^>^ϳͬϮϬͬϮϬ                                         ϯϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϬͬϮϬϮϬ   dKKdDW͕WZ</E'>                                    Ϯϯ͕Ϯϲϵ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϭͬϮϬϮϬ   KK<^dKZ^>^ϳͬϮϭͬϮϬ                                         ϯϭϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϭͬϮϬϮϬ   ,Z͕WZ</E'>                                            ϴ͕ϬϮϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϭͬϮϬϮϬ   ^KZKZ^WKE^KZ;dWϳͬϮϭͬϮϬͿ                               ϰ͕ϬϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϭͬϮϬϮϬ   W/dEzKt^Z&hEK&>d&&ZKD,Wdϭϭ͘                 ϰϬ͘ϱϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϭͬϮϬϮϬ   ,/W^dZdΘ&dZEKKE^</>>^                                   ϯϱϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϭͬϮϬϮϬ   ,/W^dZd&dZEKKE^</>>^                                     ϭϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϮͬϮϬϮϬ   dh/d/KE                                                         ϱ͕ϬϭϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ   KK<^dKZ^>^ϳͲϮϯͲϮϬ                                         ϮϰϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ   dh/d/KE                                                         ϵϭϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ   ,Z͕WZ</E'>͕dh/d/KE                                    ϭϰ͕ϴϴϱ͘ϱϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ   ^KZKZ^WKE^KZ;dWϳͬϮϮͬϮϬͿ                              ϭ͕ϬϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ   dh/d/KE                                                         Ϯ͕ϱϮϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ   ,/W^dZdZD/EZ                                             ϳϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   WZ</E'>͕,/^dWWZ͕dh/d/KE                              ϭϬ͕ϴϱϳ͘ϱϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   KK<^dKZ^>^ϳͬϮϰͬϮϬ                                         ϮϮϳ͘ϱϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   KK<^dKZ^>^ϳͲϮϰͲϮϬ                                         ϭ͕Ϭϲϰ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   dh/d/KE                                                         Ϯ͕ϱϮϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   ,W>>&hE;dWϳͬϮϯͬϮϬͿWZK'Z^^/s                       ϯϱϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   KK<^dKZ^>^                                                 Ϯ͕ϰϴϬ͘ϱϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   dh/d/KE                                                         ϱϴϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϰͬϮϬϮϬ   Z&d&/Z                                                      ϮϴϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϳͬϮϬϮϬ   dh/d/KE                                                         ϯϳ͕ϳϲϰ͘Ϭϯ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϳͬϮϬϮϬ   KK<^dKZ^>^ϳͲϮϳͲϮϬ                                        ϲϬϲ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϳͬϮϬϮϬ   KK<^dKZ^>^                                                 ϮϬϲ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   KK<^dKZ^>^ϳͬϮϴͬϮϬ                                         ϰϭϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   WZ</E'>                                                   Ϯϱ͕ϮϳϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   dƵŝƚŝŽŶ                                                         ϮϱϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   WZKD&^dWZ/Z/DhZ^                                       ϭϱϱ͘ϲϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   ,/W^dZd                                                      ϯϳϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   WZKD&^dWZEd^,/Zd^                                         ϳϮ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   dƵŝƚŝŽŶ                                                         ϮϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ   KK<^dKZ^>^ϳͬϮϵͬϮϬ                                         ϳϱϰ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ   WZ</E'>͕,Z͕,/^dWWZ͕dh/d/KE                       ϭϵ͕ϬϬϮ͘ϱϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ   dƵŝƚŝŽŶ                                                         ϯ͕ϲϯϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ   KK<^dKZ^>^ϳͬϯϬͬϮϬ                                         ϯϰϳ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ   &ĞĞŝůů^                                                       ϱϵ͕Ϭϴϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ   &ĞĞWĂǇŵĞŶƚ                                                     ϱϱϱ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ   ^KZKZ^WKE^KZ                                             Ϯ͕ϬϬϬ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶ                                                         ϭϮϴ͕ϬϬϱ͘Ϯϭ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   KK<^dKZ^>^ϳͬϯϭͬϮϬ                                         ϭϰ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   KK<^dKZ^>^ϳͬϯϭͬϮϬ                                         ϭϲϵ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   KK<^dKZ^>^ϳͬϯϭͬϮϬ                                         ϯϯϰ͘Ϯϱ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   KK<^dKZ^>^                                                 ϭ͕ϮϲϮ͘ϬϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   dh/d/KE                                                         ϭ͕ϰϲϰ͘ϮϮ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   :h>z/EdZ^dKWZd/E'KhEd                                 ϮϮ͘ϯϬ
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϬͬϮϬϮϬ   dh/d/KE/^hZ^DEd                                            Ϯ͕Ϭϳϳ͘ϭϴ       y
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ   dh/d/KE/^hZ^DEd                                            ϰ͕ϭϴϰ͘ϭϬ       y
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϳͬϮϬϮϬ   dh/d/KE/^hZ^DEd                                            ϲϬϬ͘Ϭϲ     y
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϴͬϮϬϮϬ   dh/d/KE/^hZ^DEd                                            Ϯ͕ϳϬϬ͘ϵϯ       y
,^   KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ   dh/d/KE/^hZ^DEd                                            ϳ͕ϵϯϯ͘ϱϳ       y
,^   dƵŝƚŝŽŶŶĚŽǁŵĞŶƚ             ϭϳϰϱ   ϬϳͬϬϭͬϮϬϮϬ   dZE^&Z^dZ/Wd/s/dzϲͬϮϯͬϮϬϮϬͲϲͬϯϬͬϮϬϮϬEKtDEd          ϭ͕ϯϵϱ͘ϬϬ       y
,^   dƵŝƚŝŽŶŶĚŽǁŵĞŶƚ             ϭϳϰϱ   ϬϳͬϭϲͬϮϬϮϬ   ϰϱϭϬEKtDEdWK^/d;dWϳͬϭϰͬϮϬͿ                          Ϯϱ͘ϬϬ
,^   dƵŝƚŝŽŶŶĚŽǁŵĞŶƚ             ϭϳϰϱ   ϬϳͬϭϲͬϮϬϮϬ   ϰϱϭϬEKtDEdWK^/d;dWϳͬϭϰͬϮϬͿ                           ϮϬ͘ϬϬ
,^   dƵŝƚŝŽŶŶĚŽǁŵĞŶƚ             ϭϳϰϱ   ϬϳͬϮϬͬϮϬϮϬ   ^,K>Z^,/W&hE                                                ϰϱϬ͘ϬϬ     y
,^   dƵŝƚŝŽŶŶĚŽǁŵĞŶƚ             ϭϳϰϱ   ϬϳͬϮϰͬϮϬϮϬ   ŶĚŽǁŵĞŶƚĞƉŽƐŝƚ                                               ϮϬ͘ϬϬ    
,^   dƵŝƚŝŽŶŶĚŽǁŵĞŶƚ             ϭϳϰϱ   ϬϳͬϯϭͬϮϬϮϬ   ϰϱϭϬEKtDEdWK^/d;dWϳͬϯϭͬϮϬͿ                           ϮϬ͘ϬϬ    
,^   dƵŝƚŝŽŶŶĚŽǁŵĞŶƚ             ϭϳϰϱ   ϬϳͬϯϭͬϮϬϮϬ   ZKZ/EdZ^dͲdͬ&dͲϳͬϮϬ                               Ϯ͘ϰϰ   
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϬϭͬϮϬϮϬ   ^WKZdDW^                                                    ϳϮ͘ϱϮ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϬϮͬϮϬϮϬ   ^WKZdDW^ͬ>^^ϮϬϭϱͲsZ/Kh^                               ϰϲϰ͘ϱϳ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϬϯͬϮϬϮϬ   ^WKZd^DWͲηϲϭͲηϲϮ                                        ϮϬϴ͘ϭϲ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϬϲͬϮϬϮϬ   ^WKZdDW^ͬ>^^ϮϬϭϱͲsZ/Kh^                               ϯϲϮ͘ϯϭ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϭͬϮϬϮϬ   ^WKZd^DW                                                     ϭϯϱ͘ϲϰ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϮͬϮϬϮϬ   ^WKZd^DWͲηϲϴͲ                                               ϭϯϱ͘ϲϰ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϯͬϮϬϮϬ   ^WKZd^DWͲηϲϵͲηϳϭͲsZ/Kh^                                  Ϯϭϳ͘ϱϲ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϰͬϮϬϮϬ   ^WKZd^DWͲηϳϮͲ                                              ϳϮ͘ϱϮ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϱͬϮϬϮϬ   >^^ϭϵϳϱͲηϭͲηϮͲsZ/Kh^                                     ϮϯϮ͘ϰϰ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϱͬϮϬϮϬ   EKtDEdηϮϱ>^^ϭϵϵϮ                                        ϰϯϲ͘ϲϱ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϲͬϮϬϮϬ   ^WKZd^DWͲdZE^Z/Wd^Ͳ                                        ϭϰϬ͘ϭϵ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϭϴͬϮϬϮϬ   ^WKZdDW                                                      ϭϯϱ͘ϲϰ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϮϮͬϮϬϮϬ   KK<^dKZ                                                       Ϯϭ͘Ϭϲ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϮϰͬϮϬϮϬ   KK<^dKZͲ^dZ/Wd/s/dzͲηϲͲηϭϭ                              ϯϭϲ͘Ϭϭ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϮϱͬϮϬϮϬ   ^dZ/Wd/s/dzͲKK<^dKZηϭϮͲηϯϮͬ^WKZdDWηϳϱͲηϳϲ            ϳϭϵ͘ϵϭ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϮϲͬϮϬϮϬ   ^dZ/Wd/s/dzͲKK<^dKZηϯϰͲηϯϵ                              Ϯϵϴ͘ϭϳ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϮϳͬϮϬϮϬ   ^dZ/Wd/s/dzͲKK<^dKZηϰϬͲηϰϳͬ^WKZd^DWͲηϳϳ           ϰϲϵ͘ϰϵ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϮϴͬϮϬϮϬ   ^dZ/Wd/s/dzͲKK<^dKZͲηϰϵͲηϱϱͬ^WKZdDWηϳϴͲηϳϵ        ϯϱϵ͘ϳϳ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϮϵͬϮϬϮϬ   ^dZ/Wd/s/dzͲKK<^dKZͲηϱϲͲηϲϭ                             ϭϱϴ͘Ϭϱ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϯϬͬϮϬϮϬ   ^dZ/Wd/s/dzͲKK<^dKZͲηϲϰͲηϲϴͬdZE^Z/Wdηϭϵ           Ϯϲϲ͘ϭϴ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϯϭͬϮϬϮϬ   ^dZ/Wd/s/dzͲKK<^dKZͲηϲϵͲηϴϬͬ,W>>&hEηϱ          ϱϵϵ͘ϲϴ
,^   ĂƐŚͲŽŶͲůŝŶĞŐŝǀŝŶŐ           ϮϴϬϵ   ϬϳͬϯϭͬϮϬϮϬ   ZKZ/EdZ^dͲ^,KE>/EͲϳͬϮϬ                            ϯ͘Ϭϲ
,^   EĞǆƚzĞĂƌĂƐŚ                ϰϵϲϳ   ϬϳͬϭϯͬϮϬϮϬ   ZsZ^dZE^&ZKEϳͬϲͬϮϬϮϬ                                    ϯ͕ϬϬϬ͘ϬϬ       y
,^   EĞǆƚzĞĂƌĂƐŚ                ϰϵϲϳ   ϬϳͬϯϭͬϮϬϮϬ   ZKZ/EdZ^d                                                 Ϯϵ͘ϲϴ
,^   dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϰͬϮϬϮϬ   dh/d/KE                                                         ϳ͕ϮϴϬ͘ϬϬ
,^   dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϰͬϮϬϮϬ   E<>KEϯϬZKZdKKWZd/E'd^ͬdh/d/KE>KEd   ϭϲ͕ϰϵϬ͘ϬϬ        ǆ
,^   dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϮϰͬϮϬϮϬ   ĂŶŬ>ŽĂŶ&ƵŶĚŝŶŐ                                               ϭϵ͕ϭϭϬ͘ϬϬ
,^   dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϯϬͬϮϬϮϬ   dƵŝƚŝŽŶ>ŽĂŶWĂǇŵĞŶƚ                                            ϳ͕ϮϴϬ͘ϬϬ
,^   dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϯϭͬϮϬϮϬ   :h>z/EdZ^dͲdh/d/KEZ^Zsd                            ϱ͕ϮϳϬ͘ϰϴ
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,^   dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϯϭͬϮϬϮϬ   ZKZϮϬϮϭͲϮϮZ'/^dZd/KE>/d,WZ/E                                          ϳϬϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                  ϭϭ͕ϵϬϬ͘ϵϲ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                       ϯϵ͕ϵϵϮ͘ϮϮ y
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭͬϮϬϮϬ     dƌĂŶƐĨĞƌ                                                                                ϭ͕ϯϯϳ͘ϰϯ y
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                   ϱ͕ϯϭϲ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮͬϮϬϮϬ     &ƵŶĚƌĂŝƐŝŶŐ                                                                            ϰϲ͘ϭϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮͬϮϬϮϬ     ĞǀĞůŽƉŵĞŶƚ                                                                            ϯϵ͘ϮϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϯͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                       ϱϰ͕ϳϲϱ͘Ϭϰ y
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϲͬϮϬϮϬ     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                        ϲ͕Ϯϴϵ͘Ϭϲ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϲͬϮϬϮϬ     ĞǀĞůŽƉŵĞŶƚ                                                                             ϭ͕ϭϲϲ͘ϭϲ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϳͬϮϬϮϬ     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                       ϯϴ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϳͬϮϬϮϬ     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                        Ϯ͕ϱϯϭ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϳͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                    ϭϬ͕ϱϮϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϴͬϮϬϮϬ     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                      ϲϵϯ͘Ϯϱ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϴͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                   ϱ͕ϳϴϯ͘ϱϭ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϴͬϮϬϮϬ     ĞǀĞůŽƉŵĞŶƚ                                                                             ϭ͕Ϯϰϱ͘ϱϲ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϵͬϮϬϮϬ     ĞǀĞůŽƉŵĞŶƚ                                                                             ϭ͕ϬϬϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϵͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚƐĞƌǀŝĐĞƐͬĚĞǀĞůŽƉŵĞŶƚ                                       ϰ͕ϳϭϯ͘ϲϳ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϵͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                       ϯϱ͘ϬϬ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϬͬϮϬϮϬ    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                      ϰϱϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϬͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ                                                                            ϵϲ͘ϵϰ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬƐƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                   ϭ͕ϱϱϭ͘ϴϯ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                        ϵ͕ϲϴϯ͘ϱϲ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϯͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ                                                                           ϰϴϱ͘ϳϱ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                        ϳ͕ϯϵϱ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϯ͕ϵϰϮ͘ϮϮ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϰͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬƐƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                   ϴ͕Ϭϲϰ͘ϳϱ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚƐĞƌǀŝĐĞƐͬĚĞǀĞůŽƉŵĞŶƚͬƐƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                  Ϯ͕ϯϴϳ͘ϵϲ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬƐƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                  ϭϭ͕ϰϵϳ͘ϰϵ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                       ϴϮ͕Ϯϭϳ͘ϱϮ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϲͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϭ͕ϰϬϮ͘Ϯϰ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϲͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϯ͕ϯϵϱ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϭϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                   ϭ͕ϵϱϳ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                        ϭ͕ϬϬϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϬͬϮϬϮϬ    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                       ϰϰϳ͘ϭϱ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                       ϭϰ͕ϭϴϱ͘ϴϰ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϬͬϮϬϮϬ    KƚŚĞƌͲŝŶƚĞƌĞƐƚĨƌŽŵĐůŽƐĞĚƐĂǀŝŶŐƐ                                                   ϲϯϳ͘ϳϴ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϭͬϮϬϮϬ    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                       ϭϰ͕ϵϳϵ͘Ϭϵ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϭͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬƐƚƵĚĞŶƚƐĞƌǀŝĐĞƐ                                                    ϭϰ͕ϱϭϱ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ                                                                            ϵϳϲ͘ϱϮ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ    KƚŚĞƌͲ^ĞŶŝŽƌdƌŝƉZĞĨƵŶĚ                                                             ϵϴ͕ϲϭϴ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϭͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                       ϳϳϲ͘ϯϯ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϲ͕ϴϵϱ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϳ͕ϴϴϬ͘ϯϱ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                        ϭ͕ϵϳϵ͘ϬϬ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϭ͕ϭϬϮ͘Ϭϲ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϰͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                   ϴ͕Ϭϰϰ͘ϲϭ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϯͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϭ͕ϳϭϵ͘ϬϬ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚ^ƌǀŝĐĞƐ                                                    ϭϭ͕ϬϭϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϰͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϭ͕ϵϵϬ͘ϰϴ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϴͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͬĞǀĞůŽƉŵĞŶƚ                                     Ϯ͕ϬϮϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϴͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                  ϭϯ͕ϯϳϬ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϯϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬƐƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                  Ϯϭ͕ϭϲϮ͘Ϭϵ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϯϬͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ                                                                            ϴϯϯ͘ϴϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐ                                                                        ϭ͕ϬϳϬ͘ϴϮ ǆ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϯϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬƐƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                   Ϯ͕ϲϵϯ͘ϬϬ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϯϭͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚĨĞĞƐͬƐƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                   ϲ͕Ϭϵϰ͘ϲϴ
,,^   KƉĞƌĂƚŝŶŐ                     ϴϱϰϱ   ϳͬϯϭͬϮϬϮϬ    KƚŚĞƌͲŝŶƚĞƌĞƐƚ                                                                       ϰϳ͘Ϯϭ
,,^   dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ       ϬϬϳϵ   ϳͬϭͬϮϬϮϬ     &ƵŶĚŝŶŐϮϬϮϬͲϮϬϮϭ                                                                     ϭϬϲ͕ϭϲϬ͘ϯϱ dƵŝƚŝŽŶůŽĂŶĨƵŶĚŝŶŐ
,,^   dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ       ϬϬϳϵ   ϳͬϭϱͬϮϬϮϬ    &ƵŶĚŝŶŐϮϬϮϬͲϮϬϮϭ                                                                     ϲϰ͕ϮϳϬ͘ϬϬ dƵŝƚŝŽŶůŽĂŶĨƵŶĚŝŶŐ
,,^   dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ       ϬϬϳϵ   ϳͬϯϭͬϮϬϮϬ    KƚŚĞƌͲ/ŶƚĞƌĞƐƚ                                                                      ϯ͕Ϭϵϳ͘ϯϮ
Z,^   ĂǇĂŵƉĐĐŽƵŶƚ              Ϯϴϴϳ   ϳͬϭϳͬϮϬϮϬ    ^ƚƌŝƉĞĂŵƉĞƉŽƐŝƚƐ                                                                  ϯ͕ϭϯϴ͘ϳϮ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϳͬϴͬϮϬϮϬ     dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                     ϱϭϱ͘ϬϬ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϳͬϭϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                     ϰϯϮ͘ϯϯ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϳͬϭϳͬϮϬϮϬ    ^ƵŵŵĞƌĂŵƉ                                                                         ϮϲϬ͘ϬϬ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϳͬϭϳͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                     ϯϳϲ͘ϰϵ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϬϳͬϮϭͬϮϬϮϬ   ZĞĐŽƌĚƌĂƌĚWĂǇŵĞŶƚĨŽƌƉƌŝŽƌǇĞĂƌƚƵŝƚŝŽŶ                                       ϯϬϬ͘ϬϬ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϬϳͬϮϭͬϮϬϮϬ   ZĞŵŽǀĞĚƵƉůŝĐĂƚĞĐƌĞĚŝƚƌĐĂƌĚĨĞĞĐŚĂƌŐĞĚ                                            ϭϱ͘ϬϬ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϬϳͬϮϮͬϮϬϮϬ   ZĞĐŽƌĚƌĂƌĚWĂǇŵĞŶƚĨŽƌƉƌŝŽƌǇĞĂƌƚƵŝƚŝŽŶ                                       ϲϭϴ͘ϬϬ
Z,^   DĞƌĐŚĂŶƚĐĐŽƵŶƚ              Ϯϴϳϲ   ϬϳͬϮϯͬϮϬϮϬ   ƌĞĚŝƚĂƌĚWĂǇŵĞŶƚZĞŐŝƐƚƌĂƚŝŽŶĂŶĚ&ĞĞ                                             ϰϭϮ͘ϬϬ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϳͬϵͬϮϬϮϬ     ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                           ϴϲϮ͘ϱϳ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϬϳͬϮϭͬϮϬϮϬ   ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                           ϭϵϲ͘ϲϬ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϬϳͬϮϭͬϮϬϮϬ   ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                           ϭϰϬ͘ϴϬ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϬϳͬϮϭͬϮϬϮϬ   ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                           ϮϬ͕Ϭϯϱ͘ϭϭ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϬϳͬϮϭͬϮϬϮϬ   ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                           ϱϴ͘Ϭϰ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϬϳͬϮϴͬϮϬϮϬ   ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                           ϰϲ͘ϲϱ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϬϳͬϮϴͬϮϬϮϬ   ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                            ϰ͕ϯϴϭ͘ϰϮ
Z,^   KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ            ϮϴϯϮ   ϬϳͬϮϴͬϮϬϮϬ   ĞǀĞůŽƉŵĞŶƚŶů'ŝǀŝŶŐΘKŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ                                           ϱϵ͘Ϭϴ
Z,^   KŶůŝŶĞĂŶĚ                   Ϯϴϱϰ   ϳͬϭϳͬϮϬϮϬ    KŶůŝŶĞĂŶĚĞƉŽƐŝƚƐ                                                                  ϭ͕ϱϮϬ͘ϯϳ
Z,^   KŶůŝŶĞĂŶĚ                   Ϯϴϱϰ   ϳͬϯϭͬϮϬϮϬ    KŶůŝŶĞĂŶĚĞƉŽƐŝƚƐ                                                                  Ϯ͕Ϯϲϲ͘ϭϭ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϬϭͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϭ͕ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϬϮͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϯϱϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϬϮͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϬϯͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϵϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϭϬͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϱϵϵ͘Ϭϴ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϭϬͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϲϱϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϭϬͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϭϯͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϭϴͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϮϬͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϮϬͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϮϬͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϯϱϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϮϮͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϲ͕ϬϱϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϮϴͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϱϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϯϬͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϰϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚ                                                                            ϯ͘Ϭϵ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϯϭͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϯϬϬ͘ϬϬ
Z,^   KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ           Ϯϳϳϳ   ϬϳͬϯϭͬϮϬϮϬ   KŶůŝŶĞdƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                              ϲϱϬ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϰϯϵϵ͘Ϭϱ^dhEdd/s/dz/EKD͗KƚŚĞƌ^ƚƵĚĞŶƚĐƚŝǀŝƚǇ/ŶĐŽŵĞ͗ĂŶĚͬŚĂƉĞůůĞ/ŶĐŽŵĞ     ϰ͕ϬϬϬ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϮϯϬϬ͘ϮϲŐĞŶĐǇWĂǇĂďůĞƐ͗^ƵŵŵĞƌĂƐĞďĂůů                                                ϯ͕ϲϬϬ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϰϰϯϬ͘Ϭϭ^dhEd^Zs/^/EKD͗ƌŝǀĞƌĚZŽĂĚdĞƐƚ/ŶĐŽŵĞ                            ϭϱϬ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϮϯϬϬ͘ϭϬŐĞŶĐǇWĂǇĂďůĞƐ͗ĂƐĞďĂůů&ƵŶĚƌĂŝƐŝŶŐ                                           ϱ͕ϬϬϬ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϰϰϰϬ^dhEd^Zs/^/EKD͗^ƵŵŵĞƌĂŵƉ/ŶĐŽŵĞ                                        ϭ͕ϭϭϯ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϰϰϲϱ͘Ϭϭ^dhEd^Zs/^/EKD͗&ŽŽĚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞ                                  ϱϬϴ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϰϰϲϱ͘Ϭϭ^dhEd^Zs/^/EKD͗&ŽŽĚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞ                                  ϯϬϲ͘ϬϬ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϰϰϮϭ^dhEd^Zs/^/EKD͗^ƵŵŵĞƌŶƌŝĐŚŵĞŶƚ/ŶĐŽŵĞ                                 ϱϲϴ͘ϳϱ
Z,^   KWZd/E'KhEd             Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ   ϰϰϮϭ^dhEd^Zs/^/EKD͗^ƵŵŵĞƌŶƌŝĐŚŵĞŶƚ/ŶĐŽŵĞ                                 ϯϱϬ͘ϬϬ
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Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϭϱͬϮϬϮϬ   DZdƵŝƚŝŽŶƉĂŝĚĂƚƐĐŚŽŽůďǇǀĂƌŝŽƵƐƉĂƌĞŶƚƐ                                                ϯϯ͕ϱϰϰ͘Ϯϭ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϭϱͬϮϬϮϬ   DZƚƵŝƚŝŽŶĐĂƐŚƉĂǇŵĞŶƚƐƉĂŝĚĂƚƐĐŚŽŽůďǇǀĂƌŝŽƵƐƉĂƌĞŶƚƐ                                  ϭ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϭϱͬϮϬϮϬ   ZĞĐŽƌĚ&d^KŶůŝŶĞƉƉ&ĞĞWĂǇŵĞŶƚƐŽŶ:ƵůǇϮĂŶĚ:ƵůǇϭϯ͕ϮϬϮϬ                             ϮϬ͘ϬϬ
                                                                          sK/ŚĞĐŬϬϲϭϭϬϴƚŚĂƚŝŶĂĚǀĞƌƚĞŶƚůǇƉƌŝŶƚĞĚƚŚĞǀĞŶĚŽƌŶĂŵĞŝŶĐŽƌƌĞĐƚůǇ͖ǀĞŶĚŽƌĨŝůĞ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϭϱͬϮϬϮϬ   ĐŽƌƌĞĐƚĞĚ͘                                                                                   Ϯ͕ϵϳϮ͘ϬϬ
                                                                          sK/ŚĞĐŬϬϲϭϬϬϵƚŽhŵƉŝƌĞĚƵĞƚŽǁĞĂƚŚĞƌƉƌĞǀĞŶƚŝŶŐƌĞƐĐŚĞĚƵůĞŽĨŐĂŵĞƐďĞĨŽƌĞƐĞĂƐŽŶ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϭϱͬϮϬϮϬ   ĞŶĚĞĚ͘ŬƌĞƚĚƚŽĨŝŶĂŶĐĞŽĨĨŝĐĞďǇŽĂĐŚŽŶϳͬϭϱͬϮϬ͘                                      ϭϮϬ͘ϬϬ
                                                                          sK/ŚĞĐŬϬϲϭϬϭϰƚŽhŵƉŝƌĞĚƵĞƚŽǁĞĂƚŚĞƌƉƌĞǀĞŶƚŶŐƌĞƐĐŚĞĚƵůĞŽĨŐĂŵĞƐďĞĨŽƌĞƐĞĂƐŽŶ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϭϱͬϮϬϮϬ   ĞŶĚĞĚ͘ŬƌĞƚĚƚŽĨŝŶĂŶĐĞŽĨĨŝĐĞďǇŽĂĐŚŽŶϳͬϭϱͬϮϬ͘                                      ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                              ϲ͕ϭϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                             ϭϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   &ŽŽĚ^ĞƌǀŝĐĞ^ƵŵŵĞƌ                                                                          ϲϴϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   &ŽŽĚ^ĞƌǀŝĐĞ^ƵŵŵĞƌ                                                                          ϯϱϲ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   ^ƵŵŵĞƌĂǇĂŵƉ                                                                               ϭ͕ϯϱϰ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   &ŝŶĂŶĐŝĂůŝĚĨŽƌŽǀŝĚϭϵĂƐƐŝƐƚĂŶĐĞ                                                         ϳ͕ϲϵϳ͘ϭϳ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   >ŝĐĞŶƐĞWůĂƚĞƐŽŵŵŝƐƐŝŽŶ                                                                    ϳϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   ŚĞĞƌ                                                                                        ϳϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   ĂŶĚŽŶĂƚŝŽŶ                                                                                Ϯ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   ŶŶƵĂů'ŝǀŝŶŐ                                                                                 ϭ͕ϲϵϬ͘ϳϮ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   DĂƚĐŚZĂŝĚĞƌWƌŝĚĞ^ĐŚŽůĂƌƐŚŝƉ                                                                Ϯ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   &ŽŽĚ^ĞƌǀŝĐĞ^ƵŵŵĞƌ                                                                          ϰϰϱ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   ŚĞĞƌ                                                                                         ϴ͕ϴϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ   ŚĞĞƌ                                                                                         ϭ͕ϭϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                             ϴϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                                                             ϭϰ͕ϴϯϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   ^ƚƵĚĞŶƚƐͲϰZŽĂĚ^ŬŝůůƐdĞƐƚ&ĞĞƐ                                                           ϮϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   ^ƵŵŵĞƌ&ŽŽĚ^ĞƌǀŝĐĞ                                                                          ϮϮ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   ^ƵŵŵĞƌ&ŽŽĚ^ĞƌǀŝĐĞ                                                                          ϭϵϳ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   &ŽŽƚďĂůů                                                                                     ϳϭ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   ^ƵŵŵĞƌ^ĐŚŽŽů                                                                               ϭϵϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   ^ƵŵŵĞƌĂǇĂŵƉ                                                                               ϭ͕ϱϮϯ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   WŚŽƚŽŐƌĂƉŚĞƌZĞďĂƚĞĨŝŶĂůƉĂǇϭϵͬϮϬ                                                           ϱ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϮϳͬϮϬϮϬ   hŶŝĨŽƌŵŽŵŵŝƐƐŝŽŶϵͬϭϵͬϭϵͲϲͬϯϬͬϮϬ                                                            ϰ͕ϭϬϴ͘ϲϲ
Z,^    KWZd/E'KhEd                             Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ   ZĞĐŽƌĚ&d/ŶƚĞƌĞƐƚƌĞĚŝƚĨŽƌKƉĞƌĂƚŝŶŐĐĐŽƵŶƚ:ƵůǇ                                         ϵ͘Ϭϳ
Z,^    WĂǇƌŽůůĐĐŽƵŶƚ                               ϮϴϮϭ   ϳͬϭϳͬϮϬϮϬ    dƌĂŶƐĨĞƌĨƌŽŵ&dDŽŶĞǇDĂƌŬĞƚ                                                               ϰϬϬ͕ϬϬϬ͘ϬϬ y
Z,^    WĂǇƌŽůůĐĐŽƵŶƚ                               ϮϴϮϭ   ϬϳͬϭϴͬϮϬϮϬ   Ψϱϲϯϱ͘ϵϱ^ͬΨϱϬϱϬ͘ϱϯ͖ƚŚŝƐƚŽĐŽƌƌĞĐƚ                                                       ϱϴϱ͘ϰϮ
Z,^    WĂǇƌŽůůĐĐŽƵŶƚ                               ϮϴϮϭ   ϬϳͬϭϴͬϮϬϮϬ   ϮϴϬϬϰ͘ϬϬ^ͬϮϳϰϬϲ͘ϲϳ͖ƚŚŝƐƚŽĐŽƌƌĞĐƚ                                                       ϱϵϳ͘ϴϵ
Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶ>ŽĂŶ                                                                                ϭϬ͕ϲϱϬ͘ϬϬ
Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶ>ŽĂŶ                                                                                ϭϬ͕ϮϱϬ͘ϬϬ
Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶ>ŽĂŶ                                                                                ϭϬ͕ϮϱϬ͘ϬϬ
Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶ>ŽĂŶ                                                                                ϭϬ͕ϮϱϬ͘ϬϬ
Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶ>ŽĂŶ                                                                                ϭϬ͕ϲϱϬ͘ϬϬ
Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϬϭͬϮϬϮϬ   dƵŝƚŝŽŶ>ŽĂŶ                                                                                ϭϬ͕ϮϱϬ͘ϬϬ
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Z,^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌ                         Ϯϳϱϱ   ϬϳͬϭϳͬϮϬϮϬ   &ddƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚĨƌŽŵZĞƐĞƌǀĞĐĐƚ                                                   ϭϯϭ͕ϱϬϱ͘ϳϭy
Z,^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌ                         Ϯϳϱϱ   ϬϳͬϮϯͬϮϬϮϬ   &ddƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚĨƌŽŵZĞƐĞƌǀĞĐĐƚ                                                    ϯ͕ϴϰϰ͘ϱϳy
Z,^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌ                         Ϯϳϱϱ   ϬϳͬϮϯͬϮϬϮϬ   &ddƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚĨƌŽŵZĞƐĞƌǀĞĐĐƚ                                                   ϰϳϲ͘ϭϱy
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^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϮϭͬϮϬϮϬ    ĚŵŝŶŝƐƚƌĂƚŝǀĞͲ:ƵŶĞŽƵƌŝĞƌ^ĞƌǀŝĐĞ                                               ϮϬϬ͘ϬϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϮϭͬϮϬϮϬ    &ƵŶĚƌĂŝƐŝŶŐ/ŶĐŽŵĞĂŶĚ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇ&ƵŶĚͲ&ŽŽƚďĂůů                      ϰϬϱ͘ϬϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϮϭͬϮϬϮϬ    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐĂŶĚKƚŚĞƌŝŶĐŽŵĞ                                                   ϲ͕ϳϳϲ͘ϮϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϮϮͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ/ŶĐŽŵĞĂŶĚ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇ&ƵŶĚͲĂƐĞďĂůůͬŚĞĞƌůĞĂĚĞƌƐͬĂŶĚ    ϳ͕ϰϴϵ͘ϰϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϯϭͬϮϬϮϬ    /ŶƚĞƌĞƐƚĂƌŶĞĚ                                                                     Ϯϴϴ͘ϲϭ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϭͬϮϬϮϬ     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐĂŶĚKƚŚĞƌŝŶĐŽŵĞ                                                   ϭ͕ϲϱϯ͘ϬϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϭϬͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ/ŶĐŽŵĞ                                                                  ϯϮ͕ϯϭϬ͘ϬϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϭϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                        ϯ͕ϴϱϬ͘ϬϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϭϬͬϮϬϮϬ    dƵŝƚŝŽŶĂŶĚ&ƵŶĚƌĂŝƐŝŶŐ                                                             ϴϵϴ͘ϬϬ
^,^     KWZd/E'EWzZK>>DD      ϵϭϲϮ   ϳͬϭϬͬϮϬϮϬ    ĞǀĞůŽƉŵĞŶƚ/ŶĐŽŵĞ                                                                  ϭ͕ϱϬϬ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϳͬϲͬϮϬϮϬ     /ŶƐƚƌƵĐƚŝŽŶĂů                                                                       ϲϬ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϮͬϮϬϮϬ   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞͲƐƚŽƉƉĂǇŵĞŶƚŝƐƐƵĞĚŽŶĐŚĞĐŬ                           Ϯ͕ϬϴϬ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϰͬϮϬϮϬ   ^ƚƵĚĞŶƚĐƚŝǀŝƚĞƐͲŐĞŶĐǇ&ƵŶĚͲŝĂŵŽŶĚůƵďŽŶĂƚŝŽŶ                                 ϭ͕ϬϬϬ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲďŽŽŬƐƚŽƌĞ                                                        ϭϲϯ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲďŽŽŬƐƚŽƌĞ                                                        ϯϰϱ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲďŽŽŬƐƚŽƌĞ                                                        ϯϮ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲďŽŽŬƐƚŽƌĞ                                                        ϭϰϬ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲďŽŽŬƐƚŽƌĞ                                                        ϳ͕ϵϰϴ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲďŽŽŬƐƚŽƌĞ                                                        ϯ͕Ϭϱϳ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲďŽŽŬƐƚŽƌĞ                                                        ϭ͕ϰϱϭ͘ϬϬ
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   DŽŶƚŚůǇdƌĂŶƐĨĞƌ                                                                    ϭ͕ϳϬϭ͘ϱϴ y
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   DŽŶƚŚůǇdƌĂŶƐĨĞƌ                                                                    ϮϬϳ͕ϭϳϰ͘ϵϲ y
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϮϳͬϮϬϮϬ   DŽŶƚŚůǇdƌĂŶƐĨĞƌ                                                                    ϭϬϬ͕ϬϬϬ͘ϬϬ y
^,^     KWZd/E'KhEd              ϮϰϮϵ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚĂƌŶĞĚ                                                                     ϲ͘ϳϭ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   ŽŶĂƚŝŽŶ                                                                           ϲϱϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   sŽůůĞǇďĂůů&ƵŶĚƌĂŝƐŝŶŐ                                                              ϭϯϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   dƵŝƚŝŽŶϮϬͲϮϭ                                                                       ϰϮ͕ϯϴϳ͘ϲϳ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   dƵŝƚŝŽŶϭϵͲϮϬ                                                                        ϭ͕ϵϯϳ͘ϯϯ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   ƉƉ&ĞĞƐ                                                                           ϵϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   ŶŶƵĂů'ŝǀŝŶŐƌŝǀĞͲ:'                                                           Ϯ͕ϮϱϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   Wd&ƵŶĚƌĂŝƐĞƌ                                                                      ϰϰϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   Wd&ƵŶĚƌĂŝƐĞƌ                                                                      ϮϭϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   ĂƐŬĞƚďĂůů&ƵŶĚƌĂŝƐĞƌ                                                               ϴϮϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   'ƌĂŶƚZĞĐĞŝǀĂďůĞ                                                                    ϵ͕ϴϲϭ͘ϵϲz
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   Wd&ƵŶĚƌĂŝƐĞƌ                                                                      ϭϬϮ͘ϵϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   ŚĞĞƌůĞĂĚĞƌƐ&ƵŶĚƌĂŝƐĞƌ                                                              ϭ͕ϬϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϰͬϮϬϮϬ   sŽůůĞǇďĂůů&ƵŶĚƌĂŝƐŝŶŐ                                                              ϴϱϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϱͬϮϬϮϬ   dƵŝƚŝŽŶϮϬͬϮϭ^ĐŚŽŽůzĞĂƌ                                                           Ϯϯ͕ϱϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϳͬϮϬϮϬ   ϮϬͬϮϭdƵŝƚŝŽŶ                                                                        ϴ͕ϬϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϭϳͬϮϬϮϬ   ϮϬͬϮϭdƵŝƚŝŽŶ                                                                       ϯϴ͕ϰϴϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϮϯͬϮϬϮϬ   ŬϰϳϬϮϲsŽŝĚĞĚͲďŝůůĞĚůĞƐƐƚŚĂŶƋƵŽƚĞĚ                                          ϯϲϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϮϰͬϮϬϮϬ   sŽůůĞǇďĂůů&ƵŶĚƌĂŝƐŝŶŐ                                                             ϯϴϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϮϰͬϮϬϮϬ   ,ĂƌďŽƌĞŶƚĞƌZĞĨƵŶĚZĞŶƚĂůͲ'ƌĂĚƵĂƚŝŽŶŵŽǀĞĚƚŽĐĂŵƉƵƐ                           Ϯ͕ϰϮϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϮϰͬϮϬϮϬ   dƵŝƚŝŽŶϮϬͬϮϭ^zΨϮϵϯϮϱ                                                            Ϯϵ͕ϯϮϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϮϰͬϮϬϮϬ   dƵŝƚŝŽŶϭϵͬϮϬ^zΨϭϱϬϬ                                                             ϭ͕ϱϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϮϵͬϮϬϮϬ   dƵŝƚŝŽŶWĂǇŵĞŶƚƐͲϮϬͲϮϭ^ĐŚŽŽůzĞĂƌ                                               ϴϯ͕ϯϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐ                      ϴϬϱϱ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶWĂǇŵĞŶƚƐͲϮϬͲϮϭ^ĐŚŽŽůzĞĂƌ                                               ϳϭ͕Ϯϯϯ͘Ϯϱ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ                   ϬϮϳϭ   ϳͬϭͬϮϬϮϬ     &ΘddƵŝƚŝŽŶ>ŽĂŶƐ                                                                  Ϯϲ͕ϯϳϱ͘ϬϬ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ                   ϬϮϳϭ   ϳͬϭϱͬϮϬϮϬ    &ΘddƵŝƚŝŽŶ>ŽĂŶƐ                                                                  ϱϲ͕ϴϳϱ͘ϬϬ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ                   ϬϮϳϭ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚ                                                                            ϭ͕Ϯϳϰ͘ϲϭ
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϭͬϮϬϮϬ     dƌĂŶƐĨ/ŶƚĨƌŽŵZĞƐĞƌǀĞ                                                             ϵϬϬ͘ϵϴy
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϭͬϮϬϮϬ     dƵŝƚŝŽŶΘ&ĞĞƐ                                                                      Ϯϭ͕ϬϬϵ͘ϴϵy
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮͬϮϬϮϬ     dƵŝƚŝŽŶΘ&ĞĞƐ                                                                       ϯ͕ϳϱϬ͘ϬϬ
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϯͬϮϬϮϬ     dƵŝƚŝŽŶΘ&ĞĞƐ                                                                      ϮϬ͕Ϯϭϰ͘Ϭϴy
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϴͬϮϬϮϬ     dƵŝƚŝŽŶΘ&ĞĞƐ                                                                       ϴ͕ϴϲϯ͘ϲϯy
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϭϱͬϮϬϮϬ    dƵŝƚŝŽŶΘ&ĞĞƐ                                                                      ϯϮ͕ϴϱϯ͘Ϭϰy
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮϬͬϮϬϮϬ    dƵŝƚŝŽŶΘ&ĞĞƐ                                                                       Ϯ͕ϲϱϰ͘ϯϴy
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮϭͬϮϬϮϬ    >ŽĂŶĂŶĐĞůůĞĚͲĨĞĞƐŽǁĞĚW:W                                                      ϳϬ͘ϰϳ
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮϯͬϮϬϮϬ    dƵŝƚŝŽŶΘ&ĞĞƐ                                                                       ϱ͕ϮϱϬ͘ϬϬ
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮϰͬϮϬϮϬ    dƵŝƚŝŽŶΘ&ĞĞƐ                                                                      ϵϱϴ͘Ϭϱy
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮϳͬϮϬϮϬ    dƵŝƚŝŽŶΘ&ĞĞƐ                                                                       ϵ͕ϳϱϬ͘ϬϬ
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮϴͬϮϬϮϬ    dƵŝƚŝŽŶΘ&ĞĞƐ                                                                       ϱ͕ϮϱϬ͘ϬϬ
W:W,^    ŚĞĐŬŝŶŐ                       ϰϮϰϮ   ϳͬϮϵͬϮϬϮϬ    dƵŝƚŝŽŶΘ&ĞĞƐ                                                                       ϱ͕ϰϱϬ͘ϬϬ
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^^    KƉĞƌĂƚŝŶŐ                                     ϬϱϬϮ   ϬϳͬϮϳͬϮϬϮϬ   &ƵŶĚƌĂŝƐŝŶŐ                                                   ϲ͕ϮϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐ                                     ϬϱϬϮ   ϬϳͬϮϳͬϮϬϮϬ   &ƵŶĚƌĂŝƐŝŶŐ                                                  ϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐ                                     ϬϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ   dƵŝƚŝŽŶ͕ŐƌĂŶƚŝŶĐŽŵĞ                                        ϮϬ͕ϴϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐ                                     ϬϱϬϮ   ϬϳͬϯϬͬϮϬϮϬ   dƵŝƚŝŽŶ                                                       ϵ͕ϳϭϳ͘ϱϬ
^^    KƉĞƌĂƚŝŶŐ                                     ϬϱϬϮ   ϬϳͬϯϭͬϮϬϮϬ   dŽǀŽŝĚĐŚĞĐŬηϮϱϭϭϲĚƚĚϳͬϭϲͬϮϬ                             ϴϬ͘ϬϬ
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^^    KƉĞƌĂƚŝŶŐ                                     ϬϱϬϮ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚ                                                     Ϯϲ͘Ϯϰ
^^    WĂǇƌŽůůΘhƚŝůŝƚŝĞƐ                           ϭϯϳϳ   ϬϳͬϭϱͬϮϬϮϬ   dƌĂŶƐĨĞƌĨƌŽŵKƉĞƌĂƚŝŶŐĂĐĐƚ͘                              ϭϴϱ͕ϬϬϬ͘ϬϬ y
^^    WĂǇƌŽůůΘhƚŝůŝƚŝĞƐ                           ϭϯϳϳ   ϳͬϭϳͬϮϬϮϬ    dƌĂŶƐĨĞƌĨƌŽŵKƉĞƌĂƚŝŶŐĂĐĐƚ͘                              ϭ͕ϱϬϬ͘ϬϬ y
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^^    WĂǇƌŽůů;WWWͿ                                 ϱϲϳϴ   ϬϳͬϯϭͬϮϬϮϬ   /EdZ^d                                                      ϯ͘ϯϵ
^^    DŽŶĞǇDĂƌŬĞƚ                                  ϱϲϱϭ   ϬϳͬϭϱͬϮϬϮϬ   dƌĂŶƐĨĞƌĨƌŽŵKƉĞƌĂƚŝŶŐĂĐĐƚ͘                              ϰϳϭ͕ϱϯϬ͘ϬϬ y
^^    DŽŶĞǇDĂƌŬĞƚ                                  ϱϲϱϭ   ϬϳͬϯϭͬϮϬϮϬ   /EdZ^d                                                   ϵ͘ϲϵ
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^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                             ϯϲϵϯ   ϬϳͬϭϴͬϮϬϮϬ   ĞŶĞǀŝƚǇ                                                   ϱϬ͘ϬϬ
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^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                             ϯϲϵϯ   ϬϳͬϯϬͬϮϬϮϬ   ĞŶĞǀŝƚǇ                                                   ϭϬϬ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                             ϯϲϵϯ   ϬϳͬϯϭͬϮϬϮϬ   &ŝƌƐƚĂŶŬ                                                 ϳ͘Ϭϯ
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^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                          ϵϭϮϵ   ϬϳͬϬϭͬϮϬϮϬ   ůƵĞZŽƐĞĂůůŽŶĂƚŝŽŶƐ                                   Ϯ͕ϱϬϬ͘ϬϬ
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^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                          ϵϭϮϵ   ϬϳͬϮϵͬϮϬϮϬ   &ĂŝƌƐ&ƵŶĚƌĂŝƐĞƌƐ                                          ϭϬϬ͘ϬϬ
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                          ϵϭϮϵ   ϬϳͬϮϵͬϮϬϮϬ   dƵŝƚŝŽŶWĂǇŵĞŶƚƐ                                           ϱϮϱ͘ϬϬ
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                          ϵϭϮϵ   ϬϳͬϮϵͬϮϬϮϬ   &ĂŝƌƐ&ƵŶĚƌĂŝƐĞƌƐ                                          ϲϮϱ͘ϬϬ
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^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                          ϵϭϮϵ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚĂƌŶĞĚ                                            ϴ͘ϯϵ
^D^^    WĂǇƌŽůůĐĐŽƵŶƚ                               ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ   dƌĂŶƐĨĞƌĨƌŽŵKƉĞƌĂƚŝŶŐ                                    Ϭ͘ϲϬ y
^D^^    WĂǇƌŽůůĐĐŽƵŶƚ                               ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ   dƌĂŶƐĨĞƌĨƌŽŵKƉĞƌĂƚŝŶŐ                                    ϭϲϱ͕ϱϮϰ͘ϭϯ y
^D^^    WĂǇƌŽůůĐĐŽƵŶƚ                               ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ   dƌĂŶƐĨĞƌĨƌŽŵKƉĞƌĂƚŝŶŐ                                    ϭϮϲ͘ϱϲ y
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^D^^    KƉĞƌĂƚŝŶŐ                                     ϯϰϬϰ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                           ϭ͕ϬϮϴ͘ϰϭ
^D^^    KƉĞƌĂƚŝŶŐ                                     ϯϰϬϰ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶĂŶĚ&ĞĞƐ                                           ϱϮ͕ϱϵϮ͘ϯϰ
^D^^    KƉĞƌĂƚŝŶŐ                                     ϯϰϬϰ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚ                                                   ϮϬϬ͘Ϯϯ
^^     ^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇŽŵŵĞƌĐŝĂůŚĞĐŬŝŶŐ   ϰϳϳϲ   ϬϳͬϯϭͬϮϬϮϬ   dǆĨ                                                         ϭϳϳ͕ϱϯϭ͘ϱϭ y
^^     ^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇŽŵŵĞƌĐŝĂůŚĞĐŬŝŶŐ   ϰϳϳϲ   ϬϳͬϯϭͬϮϬϮϬ   ƌĞƐĐWZWƌŽĐĞƐƐŐ&ĞĞƐƌĞǀĞƌƐĞĚ                               ϲϮϱ͘ϱϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϬϵͬϮϬϮϬ   ƚƵŝƚŝŽŶΘĨĞĞƐ                                              ϭϬ͕ϰϰϬ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϭϳͬϮϬϮϬ   ŝŶƚƚƌĂŶƐĨĞƌƚŽDDĂĐĐƚ͕ϭƐƚŽĨDŽ                          ϭ͕Ϭϴϲ͘Ϭϴ y
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϭϳͬϮϬϮϬ   ƚƌĂŶƐĨĞƌdƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚ͕WĂƌĞŶƚ>ŽĂŶWǇŵƚƐ͕ƚŚƌƵϳͬϭϱ    ϭϭϮ͕ϯϬϯ͘ϰϲ ǆ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϭϳͬϮϬϮϬ   ƚǆĨŝŶƚƌĂŶƐŝƚĂƚϳͬϭϳ                                      ϭϲ͕ϱϳϳ͘ϱϬ ǆ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶΘ&ĞĞƐ                                              Ϯ͕ϬϬϬ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶΘ&ĞĞƐ                                              ϴ͕ϳϱϳ͘ϵϮ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶΘ&ĞĞƐ͕ϳͬϯϭ/ŶͲdƌĂŶƐŝƚ                            ϴϳϵ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϯϭͬϮϬϮϬ   dƵŝƚŝŽŶΘ&ĞĞƐ                                              ϵϯϱ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϯϭͬϮϬϮϬ   /ŶƚĞƌĞƐƚ/ŶĐŽŵĞdǆĨ                                         ϴϵ͘Ϯϱ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                            ϭϭ͕ϯϲϱ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                            ϭϬ͕ϵϲϱ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                            ϭϬ͕ϳϵϬ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                            ϭϬ͕ϰϰϬ͘ϬϬ
^^     dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ                 ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                            ϭϬ͕ϰϰϬ͘ϬϬ
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^^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ     ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                                                 ϭϬ͕ϳϵϬ͘ϬϬ
^^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ     ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                                                 ϭϬ͕ϯϳϱ͘ϬϬ
^^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ     ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                                                 ϭϬ͕ϳϵϬ͘ϬϬ
^^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ     ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                                                 ϭϬ͕ϯϳϱ͘ϬϬ
^^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ     ϴϰϱϳ   ϬϳͬϬϭͬϮϬϮϬ   WĂƌĞŶƚ>ŽĂŶWǇŵƚ                                                                 ϰ͕ϬϬϬ͘ϬϬ
^^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌĐĐŽƵŶƚ     ϴϰϱϳ   ϬϳͬϯϭͬϮϬϮϬ   ŝŶƚĞƌĞƐƚŝŶĐ                                                                     Ϯ͕ϱϰϲ͘ϯϯ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ   ůŽƐŝŶŐĂƉKŶĞƚŚůƐƐŽĐĂŶŬĐĐƚ                                                    Ϯϰ͕ϵϮϴ͘ϳϳy
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ   ůŽƐŝŶŐĂƉKŶĞWĂƌĞŶƚůƵďĂŶŬĐĐƚ                                                  ϯϳ͕Ϭϱϱ͘ϰϭy
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ   ůŽƐŝŶŐĂƉKŶĞWĂǇƌŽůůĂŶŬĐĐƚ                                                     ϯϳϱ͕ϯϳϰ͘ϴϯy
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϬϳͬϮϬϮϬ   WĂƌĞŶƚWǇŵƚƐŽĨdƵŝƚŝŽŶΘ&ĞĞƐ͕WĂƌŬŝŶŐdĂŐZĞǀĞŶƵĞΘŽŶĂƚŝŽŶƐ                  ϭϱ͕Ϯϯϯ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϭϰͬϮϬϮϬ   WĂƌĞŶƚWǇŵƚƐŽĨdƵŝƚŝŽŶΘ&ĞĞƐ͕ŽŶĂƚŝŽŶƐΘ^ĂůĞŽĨ^ĐŚŽŽůƵƐ                    ϯϭ͕ϭϬϰ͘Ϭϯ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϭϳͬϮϬϮϬ   'ƌĞĂƚĞƌ'ŝǀŝŶŐ͕ϳͬϭϱŽŶĂƚŝŽŶͲŶŶƵĂů'ŝǀŝŶŐ                                        ϵ͘Ϯϱ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϭϳͬϮϬϮϬ   'ƌĞĂƚĞƌ'ŝǀŝŶŐ͕ŽŶĂƚŝŽŶͲŶŶƵĂů'ŝǀŝŶŐ                                            ϰϵ͘ϭϮ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϭϳͬϮϬϮϬ   ĂŶŬ&ĞĞ͕ϳͬϭϲƌĞǀĞƌƐĂů                                                          ϭϴϳ͘ϲϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϭϳͬϮϬϮϬ   D^͕WĂƌŬŝŶŐdĂŐZĞǀĞŶƵĞϳͬϭͲϳͬϭϳͬϮϬ                                             ϳϱϭ͘ϵϮ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϮϬͬϮϬϮϬ   WĂƌĞŶƚWĂǇƐdƵŝƚŝŽŶΘ&ĞĞƐ                                                       ϯϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϮϬͬϮϬϮϬ   WĂƌĞŶƚWĂǇƐdƵŝƚŝŽŶΘ&ĞĞƐ͕sĞŶĚŝŶŐDĂĐŚŝŶĞƐ                                     ϲϭϰ͘ϰϱ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϮϮͬϮϬϮϬ   WĂƌĞŶƚWĂǇƐdƵŝƚŝŽŶΘ&ĞĞƐ                                                        ϰ͕ϬϬϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϬͬϮϬϮϬ   WĂƌĞŶƚWĂǇƐdƵŝƚŝŽŶΘ&ĞĞƐ                                                        ϭϬ͕ϰϰϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϬͬϮϬϮϬ   WĂƌĞŶƚWĂǇƐdƵŝƚŝŽŶΘ&ĞĞƐ͕ŽŶĂƚŝŽŶƐ                                             ϭϵ͕ϳϵϬ͘ϲϮ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϬͬϮϬϮϬ   dƵŝƚŝŽŶΘ&ĞĞƐ͕ŽŶĂƚŝŽŶƐ͕&ƵŶĚƌĂŝƐŝŶŐ͕^ƵŵŵĞƌĂŵƉ                               ϲϵ͕ϴϰϳ͘ϰϭ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϭͬϮϬϮϬ   D^ĂƌĚ&ĞĞ/ŶĐŽŵĞ                                                              Ϭ͘ϴϳ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϭͬϮϬϮϬ   ϭϱƚŚƌĞƐĐWZWƌŽĐĞƐƐŐ&ĞĞƐƌĞǀĞƌƐĞĚĨƌŽŵĞĂƌůŝĞƌŝŶ:Ƶů                            ϵ͘ϱϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϭͬϮϬϮϬ   D^͕ΨϯϬWĂƌŬŝŶŐWĂƐƐ/ŶĐŽŵĞ;ϳͬϮϲͬϮϬͲϳͬϯϭͬϮϬͿ͕/ŶͲdƌĂŶƐŝƚƚŽƵŐƵƐƚĂŶŬ       ϭϮϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϭͬϮϬϮϬ   D^ƌĂƌĚWƌŽĐĞƐƐŝŶŐĨĞĞŝŶĐŽŵĞ;ϳͬϯϬͬϮϬͿ͕/ŶdƌĂŶƐŝƚƚŽƵŐƵƐƚĂŶŬ           ϯϭϯ͘ϮϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϭͬϮϬϮϬ   ϭϱƚŚƌĞƐĐWZWƌŽĐĞƐƐŐ&ĞĞƐƌĞǀĞƌƐĞĚĨƌŽŵĞĂƌůŝĞƌŝŶ:Ƶů                           ϲϭϲ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW                  ϯϬϲϱ   ϬϳͬϯϭͬϮϬϮϬ   ŽǀĞƐEĞƐƚ^ĂůĞƐ                                                                   ϭ͕ϯϮϴ͘ϯϳ
^^    ^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇĐĐŽƵŶƚ   ϮϬϱϰ   ϬϳͬϯϭͬϮϬ     ŝŶƚĞƌĞƐƚŝŶĐŽŵĞ                                                                   Ϭ͘Ϭϰ
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϮͬϮϬϮϬ     EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                             ϮϮϵ͘ϱϲ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϲͬϮϬϮϬ     EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                             Ϯϰϱ͕Ϯϭϵ͘ϳϯ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϳͬϮϬϮϬ     EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                             ϯϲϰ͘ϵϰ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϭϬͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                              ϯϬ͕ϱϴϳ͘ϯϬ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϭϯͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                             Ϯϰϴ͘ϭϴ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϭϱͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                              ϭ͕ϬϵϬ͘ϬϬ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϮϭͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdŽƌĞĐŽƌĚ&dƉĂǇƌŽůůƚƌĂŶƐĨĞƌĨƌŽŵ&dŽƉĞƌƚŽ&dƉĂǇƌŽůů    Ϯϱϳ͕ϮϬϯ͘ϭϯ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϮϯͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdŽƌĞĐŽƌĚŶĚŽĨ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůůƚƌĂŶƐĨĞƌ          Ϯϵ͕ϱϰϱ͘ϴϱ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϮϳͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdŽƌĞĐŽƌĚƐƉĞĐŝĂůƉĂǇƌŽůůƚƌĂŶƐĨĞƌĨƌŽŵ&dŽƉĞƌ͘ƚŽ&dƉƌ     ϱϰϬ͘ϭϳ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϮϵͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                             ϴϰ͘ϭϰ y
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϮϵͬϮϬϮϬ    ŵƉůŽǇĞĞZĞƚƵƌŶĞĚƉĂǇƌŽůů,                                                     ϭϯϬ͘ϴϲ
EK    WĂǇƌŽůůĐĐŽƵŶƚ                   ϵϲϭϰ   ϳͬϯϬͬϮϬϮϬ    EK&dKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌĨƌŽŵyϵϲϴϬ                                              ϴϯ͕ϱϬϱ͘Ϯϰ y
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭͬϮϬϮϬ     tŚŝƚŶĞǇWŽƌƚĨŽůŝŽYƵĂƌƚĞƌůǇ/ŶǀĞƐƚŵĞŶƚŝƐƚƌŝďƵƚŝŽŶ                              ϭ͕Ϭϲϵ͕ϱϰϮ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϮͬϮϬϮϬ     ŚĂƚĞĂƵĚƵEŽƚƌĞĂŵĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                      ϵϬ͕ϯϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϯͬϮϬϮϬ     sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZĞƚƌĞĂƚĞŶƚĞƌŝŶĐŽŵĞ                      ϵϲ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϯͬϮϬϮϬ     /EdZEd/KE>^,KK>K&>ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                 ϭϬ͕ϬϮϴ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϲͬϮϬϮϬ     WĂǇĞĞdŚƌŽƵŐŚ^ƚĞůůĂDĂƌŝƐĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                  ϭϳ͕ϯϬϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϳͬϮϬϮϬ     WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^ͲEKZd,^,KZ,W>                   ϭϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϳͬϮϬϮϬ     WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^ͲEKZd,^,KZ,W>                   ϮϮϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϳͬϮϬϮϬ     WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^ͲEKZd,^,KZ,W>                   ϯϯϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϵͬϮϬϮϬ     ŚĂƚĞĂƵĚƵEŽƚƌĞĂŵĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                      ϵ͕ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZĞƚƌĞĂƚĞŶƚĞƌŝŶĐŽŵĞ                      ϵϲ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZĞƚƌĞĂƚĞŶƚĞƌŝŶĐŽŵĞ                       ϭ͕ϯϱϳ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                             ϱϴ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞZEdZ/s>^                                    Ϭ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞZEdZ/s>^                                    ϯ͕ϬϬϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ĂƐƚ:ĞĨĨĞƌƐŽŶĞĂŶĞƌǇĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                      ϴ͕ϯϯϱ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                         ϭϲ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                  ϭϵ͕ϱϴϯ͘ϯϰ z
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƐƐƵŵƉƚŝŽŶŽĨKƵƌ>ĂĚǇDŝƐƐŝŽŶ/^,KW^WW>                                     ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚ/^,KW^WW>                                           ϱϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                ϭ͕ϭϯϯ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                  ϭϮ͕ϬϬϯ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                ϱ͕ϰϬϬ͘ϬϬ z
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ŝǀŝŶĞDĞƌĐǇĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                ϭ͕ϯϬϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ĞŶŝůĚĞ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                         ϰϳϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    DĂƌǇYƵĞĞŶŽĨWĞĂĐĞ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                 ϭϭϮ͕ϬϮϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                   ϭ͕ϬϮϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶƐĞůŵŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                           ϰ͕ϵϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                       ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                   ϳϰ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ůĞƚƵƐ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                           ϭϵ͕ϴϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                              ϭϴ͕ϱϮϮ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                              ϭ͕Ϭϱϭ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                             ϯϬϯ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                             ϭϴϱ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    WĞƌŵĂŶĞŶƚŝĂĐŽŶĂƚĞ^/'Ed&hE^/EdZE>                                     ϭϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƌĐŚďŝƐŚŽƉΖƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                         ϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ŝŽĐĞƐĞŽĨ>ĂŬĞŚĂƌůĞƐD/^>>EKh^Z/s>^                                  ϭ͕ϯϱϱ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    d,K>/&KhEd/KEKd,ZZ/s>^Ͳ'hZ/E                                 ϮϬϵ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    d,K>/&KhEd/KEKd,ZZ/s>^ͲDĞĚŝĐĂůŝŶƐƵƌĂŶĐĞ                         ϭ͕Ϭϲϳ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZE>/D^Ͳ>>                   ϯϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ^hDDZWZK'ZD/E^                                      ϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘:ŽƐĞƉŚ^ĞŵŝŶĂƌǇ^>ZzZ/DhZ^DEdƐ                                          ϰ͕ϴϰϳ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿKEd/KE^                                        ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    WƌŽƉĞƌƚǇKĨĨŝĐĞWZKWZdzZEd>/E                                                ϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞŐŽͿWZ/^d^ΘZ>/'/Kh^                   ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    sŝůůĂ^ƚ͘DĂƵƌŝĐĞ>sdKZZ/s>^                                             ϭ͕Ϭϳϱ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽů>sdKZZ/s>^                                  ϳϵϱ͘ϱϲ z
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚZ>/'/Kh^Zd/ZDEd                                     ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚĂƚŚŽůŝĐŚĂƌŝƚŝĞƐŽůůĞĐƚŝŽŶ                ϭϮϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿZ/Kt>K>>d/K                           ϭϬϴ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƐƐƵŵƉƚŝŽŶŽĨKƵƌ>ĂĚǇDŝƐƐŝŽŶ,K>z>EKEd/KE^                                ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚ,K>z>EKEd/KE^                                     ϭ͕ϲϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞƌͿKEd/KE^                               ϭ͕Ϯϰϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƐƐƵŵƉƚŝŽŶŽĨKƵƌ>ĂĚǇDŝƐƐŝŽŶKEd/KE^                                          ϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚKEd/KE^                                               Ϯ͕ϭϲϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚKEd/KE^                                            ϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿD/>/dZzK>>d/KE                                      Ϯ͕Ϭϴϴ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿD/>/dZzK>>d/KE                        ϱϮϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐD/>/dZzK>>d/KE                      ϱϱϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚD/>/dZzK>>d/KE                            ϵϲϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚD/>/dZzK>>d/KE                                       ϰ͕ϭϯϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ŝǀŝŶĞDĞƌĐǇD/>/dZzK>>d/KE                                                   ϭ͕ϮϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚD/>/dZzK>>d/KE                                  ϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞƌͿWdZΖ^WEK>>d/KE               ϭϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐWdZΖ^WEK>>d/KE                 ϲϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ƐƐƵŵƉƚŝŽŶŽĨKƵƌ>ĂĚǇDŝƐƐŝŽŶWdZΖ^WEK>>d/KE                           ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                         Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ    ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWdZΖ^WEK>>d/KE                                 Ϯϴϱ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWdZΖ^WEK>>d/KE                                 ϭ͕ϯϭϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWdZΖ^WEK>>d/KE                                            ϯϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWdZΖ^WEK>>d/KE                            ϭϬϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚWdZΖ^WEK>>d/KE                            ϳϭϭ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿ/^,KW^WW>                                        Ϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿ,K>z>EKEd/KE^                                  ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWdZΖ^WEK>>d/KE                             ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿZ>/'/Kh^Zd/ZDEd                                  ϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿKEd/KE^                                            ϯϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿD/>/dZzK>>d/KE                                  Ϯϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘DĂƌŬŚƵƌĐŚ,K>z>EKEd/KE^                                              ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘DĂƌŬŚƵƌĐŚKEd/KE^                                                         ϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚD/>/dZzK>>d/KE                                             ϭ͕ϭϵϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚKEd/KE^                                                      ϭϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚd,K>/,KDD/^^/KE                                           Ϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                                   ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWdZΖ^WEK>>d/KE                                       ϭϮϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿWdZΖ^WEK>>d/KE                              ϱϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿKEd/KE^                                              ϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿD/>/dZzK>>d/KE                                   ϴϭϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿd,K>/hE/sZ^/dzK&DZ/                         ϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿKEd/KE^                                           ϳϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWdZΖ^WEK>>d/KE                            ϵϮϳ͘ϲϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿD/>/dZzK>>d/KE                                 Ϯϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWdZΖ^WEK>>d/KE                    ϯϴϯ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿĂƚŚŽůŝĐŚĂƌŝƚŝĞƐŽůůĞĐƚŝŽŶ               ϳϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿKEd/KE^                                   ϰϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿ><Θ/E/E,KDD/^^/KE^                ϵϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿZ>/'/Kh^Zd/ZDEd                        ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿĂƚŚŽůŝĐ^ĐŚŽŽůƐŽůůĞĐƚŝŽŶ                 ϯϯϵ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿW^dKZ>^K>/Z/dz&hE&KZ&Z/         ϰϰϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿ/^,KW^WW>                              ϯϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿZ/Kt>K>>d/K                         ϱϮϱ͘Ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿD/>/dZzK>>d/KE                         ϲϭ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿKEd/KE^                                   ϳϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                                      ϳϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚd,K>/,KDD/^^/KE                                             ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ/^,KW^WW>                                                    ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚKEd/KE^                                                         Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWdZΖ^WEK>>d/KE                                          ϭϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚD/>/dZzK>>d/KE                                                Ϯ͕Ϯϵϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĐŚŽŽů&ŽŽĚ^ĞƌǀŝĐĞƐ/EdZEdZ/s>                                         ϮϮ͕ϱϳϭ͘Ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂďƌŝŶŝ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                           ϳ͕ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ŚƌŝƐƚŽƉŚĞƌ,ŽŵĞƐ͕/ŶĐ͘/EdZEdZ/s>                                       ϱ͕ϯϰϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   DĂƚĞƌŽůŽƌŽƐĂƉƚƐ͘/EdZEdZ/s>                                         ϲϱϰ͘ϲϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůŝǌĂďĞƚŚŶŶ^ĞƚŽŶ^ĐŚŽŽů/EdZEdZ/s>                               ϵϵ͕ϮϬϱ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚ/EdZEdZ/s>                                       ϯϱ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚƵĂƌƚ,Ăůů^ĐŚŽŽůƐ/EdZEdZ/s>                                          ϭϲ͕ϵϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉZƵŵŵĞů,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                 ϭ͕ϮϬϬ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞŐŽͿ/EdZEdZ/s>                  ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿ/EdZEdZ/s>                        ϭ͕ϰϱϱ͘ϲϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿ/EdZEdZ/s>                                    ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉZƵŵŵĞů,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                 ϰ͕ϲϰϬ͘Ϯϱ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĞĐĂĚĞŵǇĨŽƌǆĐĞƉƚŝŽŶĂů>ĞĂƌ/EdZEdZ/s>                      ϭ͕ϲϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ZŝƚĂ^ĐŚŽŽů/EdZEdZ/s>                                               ϯ͕ϴϳϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞƚƚĞͿ/EdZEdZ/s>                 ϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                  ϭϱ͘ϬϬ     z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚ/EdZEdZ/s>                                 Ϯϰ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ/EdZEdZ/s>                                               ϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨ>ŽƵƌĚĞƐ^ĐŚŽŽů;^ůŝĚĞůůͿ/EdZEdZ/s>                          ϭ͕ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽů/EdZEdZ/s>                                            ϯ͕ϴϵϰ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇΖƐ'ĂƌĚĞŶƐ/EdZEdZ/s>                                        ϱϲϳ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶŶ^ĐŚŽŽů/EdZEdZ/s>                                               ϱϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚŽĨZŽŵĞ^ĐŚŽŽů/EdZEdZ/s>                                   ϯϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽĂŶŽĨƌĐ^ĐŚŽŽůKhEd/E'^^/^dEZ/s>                          ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚKhEd/E'^^/^dEZ/s>                            ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨWƌŽŵƉƚ^ƵĐĐŽƌ^ĐŚŽŽů;tĞƐƚǁĞŐŽͿKhEd/E'^^/^dEZ/s>     ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿKhEd/E'^^/^dEZ/s>          ϰϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚ/EdZEdZ/s>                                   ϮϬϬ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚKhEd/E'^^/^dEZ/s>                      ϮϬϬ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚKhEd/E'^^/^dEZ/s>                      ϮϬϬ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   zŽƵƌĂƵƐĞ͕>>KEd/KE^                                                        ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐDƵƚƵĂůKŵĂŚĂ/E^hZE>/D^Ͳ>>                                     ϰϱ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   hŶŝƚĞĚ,ĞĂůƚŚĐĂƌĞ/ŶƐ͘DŝƐĐĞůůĂŶĞŽƵƐZĞĐĞŝǀĂďůĞƐͲ/&ΘĂƉƚŝǀĞ                  ϯ͕ϯϳϳ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   d,K>/&KhEd/KEKEd/KE^                                                   ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   d,K>/&KhEd/KE^D/EZ/E^^/^d                                            ϴ͕ϯϰϬ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   :',WĂƚŝĞŶƚZĞĨƵŶĚƐZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               ϭϵ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ^hDDZWZK'ZD/E^                                      ϭ͕ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐƵůƚƵƌĂů,ĞƌŝƚĂŐĞĞŶƚĞƌ^W/>KsZ'^                              Ϯϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚ^W/>KsZ'^                                  ϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽů^W/>KsZ'^                                    ϭϴϳ͘ϱϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞ^ĐŚŽŽů^W/>KsZ'^                                              ϭ͕ϭϰϳ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞŐŽͿWZ/^d^ΘZ>/'/Kh^                  ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚsŽĐĂƚŝŽŶƐ^D/EZ/E^^/^d                               ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚzKd,>d/>'h/EKD                                ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚzKzKhd,/E^hZE/E                                   ϯϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚzKWZKWZdzZEd>/E                                    ϭ͕ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚzK^<d>>dKhZEDEd                                  ϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚĂŵƉďďĞǇDWzͲ^hDDZDW&^                  ϴϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϭϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϮϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϮϯϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϮϯϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϭϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^                                      ϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^ͲKDDhE/dz^Zs/^                  Ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^                                      ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^ͲKDDhE/dz^Zs/^                 ϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^Ͳ,/^WE/,/>ZEΖ^^,K>Z^,/W^   ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚd^/'Ed&hE^/EdZE>                             ϯϱϰ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚd^/'Ed&hE^/EdZE>                             ϵϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^ĂŝŶƚDĂŬĞƌƐ                               ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳs>KWDEd                               ϳϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                    ϮϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                    ϰϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳs>KWDEd                               ϭϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐKhd^/KhE^>/E'                     ϭ͕ϭϮϬ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚƌĐŚŝǀĞƐZ^Z,&^                                ϭϳϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚƌĐŚŝǀĞƐD/^>>EKh^/EKD                         ϭϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĐŚŽŽůŶĚŽǁŵĞŶƚ^,KK>^h^//^KEdZ/hd/KE^                              ϱϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌ^/'Ed&hE^/EdZE>              ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌ'EZ>KEd/KE^                      ϴϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌWZzZEZK>>DEd^                     ϭϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZdZd/EKDͲ^,h>ZdZd^    ϭ͕ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZdZd/EKDͲz^K&WZzZ        ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌWZzZEZK>>DEd^                     ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZdZd/EKDͲz^K&WZzZ        ϱϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                          ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚ/EdZEdZ/s>                        ϭϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚKhEd/E'^^/^dEZ/s>           ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWdZΖ^WEK>>d/KE                   ϲϵϰ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚ,K>z>EKEd/KE^                        ϭϯϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚ/^,KW^WW>                             ϭϲϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚKEd/KE^                                  ϳϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚd,K>/hE/sZ^/dzK&DZ/             Ϯϭϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚD/^>>EKh^Z/s>^                         ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                             Ϯ͕ϴϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿWdZΖ^WEK>>d/KE                          ϱϱϴ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿKEd/KE^                                         ϳϯϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿD/>/dZzK>>d/KE                               ϳϵϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                   Ϯϴ͕ϯϰϭ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                      ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŐŶĞƐŚƵƌĐŚ/EdZEdZ/s>                                          Ϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿKhEd/E'^^/^dEZ/s>        ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚŚƵƌĐŚD/>/dZzK>>d/KE                                      ϰϵϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚD/>/dZzK>>d/KE                                      Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚŚƵƌĐŚD/>/dZzK>>d/KE                                      ϱϰϯ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWdZΖ^WEK>>d/KE                 ϴϳϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶ><Θ/E/E,KDD/^^/KE^        ϱϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶWdZΖ^WEK>>d/KE            ϳϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶ,K>z>EKEd/KE^                 ϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶKEd/KE^                           ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶD/>/dZzK>>d/KE                  ϭ͕ϭϭϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿZ/Kt>K>>d/K                              ϰϰϮ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚKZZ/WZK'ZD                                      ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞŽŶƚŝŶƵĂƚŝŽŶKd,ZZ/s>^                              ϲϴ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;WĂƌĂĚŝƐͿWZ/^,^^^^DEd                      ϭϱϭ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;WĂƌĂĚŝƐͿWZ/^,^^^^DEd                       ϭ͕ϭϬϰ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϲϴϵ͘ϵϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϮϬϱ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  Ϯϳϱ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϭϱϵ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  Ϯϯϵ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϰϴϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϮϮϳ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϭϭϳ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϭϭϳ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϭϮϵ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  Ϯϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   ϭ͕Ϭϯϲ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   ϭ͕Ϭϯϲ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϴϴϵ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϵϭϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϴϰϮ͘ϴϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   ϭ͕ϱϭϬ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϵϳϴ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϰϴϳ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   Ϯ͕Ϯϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   ϰ͕ϴϰϮ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   Ϯ͕ϴϱϰ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   ϭ͕Ϯϴϭ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϵϬϱ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   Ϯ͕ϱϱϯ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   Ϯ͕ϱϱϯ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   ϭ͕Ϭϰϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                   ϭ͕ϬϵϮ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/E^hZEZ/s                  ϲϲϴ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWZ/^,^^^^DEd                                ϭ͕ϵϱϬ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWZ/^,^^^^DEd                        ϴ͕ϲϯϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWZ/^,^^^^DEd                                Ϯ͕ϱϰϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWZ/^,^^^^DEd                                 ϭϰ͕ϮϰϬ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                               Ϯϳ͕ϴϰϳ͘ϬϬ         z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                               ϭϱ͕Ϯϳϱ͘ϯϭ         z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                ϯ͕ϴϬϲ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                ϯ͕ϴϬϲ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                ϯ͕ϴϬϲ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                ϯ͕ϴϬϲ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                ϯ͕ϴϬϲ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                ϯ͕ϴϬϲ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                Ϯ͕ϮϮϳ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                               ϳϰϭ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                                Ϯ͕Ϭϰϭ͘ϯϴ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWZ/^,^^^^DEd                                Ϯ͕ϱϬϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                    ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWZ/^,^^^^DEd                       ϲϰϰ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWZ/^,^^^^DEd            Ϯ͕ϱϱϰ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWZ/^,^^^^DEd            ϭ͕ϲϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWĂƌŝƐŚ^ŚĂƌĞ                 ϳ͕Ϯϲϵ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ      ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ       ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ           ϭϲϭ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉŚĂƉĞůůĞ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s                            Ϯ͕ϴϱϮ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ^ŚĂƌĞ                                        ϰ͕ϵϭϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ^ŚĂƌĞ                                       ϭϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWZ/^,^^^^DEd                                ϭ͕ϰϭϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWZ/^,^^^^DEd                                ϭ͕ϯϬϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWZ/^,^^^^DEd                                Ϯ͕Ϭϳϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWZ/^,^^^^DEd                                Ϯ͕ϵϱϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞƚƚĞͿWZ/^,^^^^DEd                ϱ͕ϲϯϵ͘Ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞƚƚĞͿWZ/^,^^^^DEd               ϰϯϬ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞƚƚĞͿWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ          ϭϲϮ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞƚƚĞͿWZ/^,^^^^DEd               ϱϳϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ^ŚĂƌĞ                                        ϰ͕ϲϮϮ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                            ϮϵϬ͘ϴϯ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                      ϭϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚWZ/^,^^^^DEd                                                  Ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWZ/^,^^^^DEd                                 ϲϰϰ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWZ/^,^^^^DEd                                     ϭ͕ϳϴϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWZ/^,^^^^DEd                                     ϳ͕ϴϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWZ/^,^^^^DEd                                     Ϯ͕ϳϯϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWZ/^,^^^^DEd                                     ϯ͕ϱϱϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWZ/^,^^^^DEd                                     ϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWZ/^,^^^^DEd                                     ϭ͕ϲϱϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWZ/^,^^^^DEd                                           ϭϳ͕ϲϯϳ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                       ϭ͕ϳϳϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                       ϭ͕ϵϱϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                       ϭ͕ϰϮϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                             ϭ͕Ϯϰϯ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                            ϰϳϬ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                             ϭ͕Ϯϳϴ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                             ϭ͕ϲϭϴ͘ϴϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                             ϭ͕ϲϵϳ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                             ϰ͕ϲϬϲ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                                ϱϯϲ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                            ϯϳ͕Ϭϴϲ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWZ/^,^^^^DEd                                           Ϯϰϴ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWZ/^,^^^^DEd                                            ϭ͕ϬϮϯ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘:ŽĂĐŚŝŵŚƵƌĐŚWZ/^,^^^^DEd                                                    ϱ͕ϴϳϳ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐ/E^hZEZ/s                                                     ϮϳϬ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐ/E^hZEZ/s                                                     ϯϭϳ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐ/E^hZEZ/s                                                     Ϯϭϱ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿWZ/^,^^^^DEd                                           ϭϮ͕ϭϭϯ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿ^,KK>sKh,Z^                                             ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                              Ϯϳϵ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ŶŶƵŶĐŝĂƚŝŽŶŚƵƌĐŚWZ/^,^^^^DEd                                                  Ϯϯϲ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĂKĨǀŝůĂŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                               ϱϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĂKĨǀŝůĂŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                               ϱϰϵ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĂKĨǀŝůĂŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                    ϯϲ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                    Ϯ͕ϵϮϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                   ϴϬϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                              ϭ͕ϳϳϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                                       ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                            ϭ͕ϯϬϭ͘ϰϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                           ϭϬ͕ϭϰϬ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϬͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                       ϰ͕ϲϯϭ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϯͬϮϬϮϬ   :ŽŶĞƐ&ƵƐƐĞůů&ƵŶĚ^ƚ͘dĂŵŵĂŶǇĂƚŚŽůŝĐĞŵĞƚĞƌǇ:ŽŶĞƐ&ƵƐƐĞůůŝŶǀŽŝĐĞ                  ϯϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϰͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^ͲEKZd,^,KZ,W>                        ϯϴϭ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϰͬϮϬϮϬ   ŚĂƚĞĂƵĚƵEŽƚƌĞĂŵĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                          ϭϰϰ͕ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϰͬϮϬϮϬ   ^ƚĂƚĞŽĨ>ϴ'ŐƌĂŶƚ,ĚĞƉŽƐŝƚ                                                     Ϯϵϵ͕ϯϰϵ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϰͬϮϬϮϬ   ^ƚĂƚĞŽĨ>ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                    Ϯϭϴ͕ϯϴϴ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϱͬϮϬϮϬ   EKtŚŝƚŶĞǇ/&ĐĐŽƵŶƚdƌĂŶƐĨĞƌĨƵŶĚƐĨƌŽŵĨƵŶĚϰƚŽĨƵŶĚϭĨŽƌ'ĂůůĂŐŚĞƌŽŶƐďŝůů   Ϯϴ͕ϯϵϬ͘ϬϬ         y
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϱͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞ^/'Ed&hE^/EdZE>;ZĞǀĞƌƐĂůͿ                  ;Ϯϱϴ͘ϬϰͿ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϲͬϮϬϮϬ   ŚĂƚĞĂƵĚƵEŽƚƌĞĂŵĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                          ϵϬ͕ϯϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϲͬϮϬϮϬ   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                                ϯϬϴ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϲͬϮϬϮϬ   ĂƚŚŽůŝĐŽŵŵƵŶŝƚǇ&ŽƵŶĚĂƚŝŽŶĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                   ϭϬϴ͕Ϯϱϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                            ϭϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                             Ϯ͕ϲϯϬ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚĂŵƉďďĞǇ^/'Ed&hE^/EdZE>                            ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                     ϰ͕ϴϱϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                       ϲ͕ϲϯϱ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                         ϯ͕ϱϳϮ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                             ϰ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                               ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                       ϳϬϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                       ϰ͕ϱϰϱ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƌŝŐŝĚWĂƌŝƐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƌŝŐŝĚWĂƌŝƐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                               ϱϲ͕ϴϭϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƌŝŐŝĚWĂƌŝƐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                               ϰϳ͕ϯϰϭ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƌŝŐŝĚWĂƌŝƐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                ϵ͕ϰϲϴ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ZĞƐƉĞĐƚ>ŝĨĞ^/'Ed&hE^/EdZE>                                                 ϯϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇ^>ZzZ/DhZ^DEdƐ                                              ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽů>sdKZZ/s>^                                        ϭ͕ϭϵϯ͘ϯϰ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                         ϲ͕ϬϬϰ͘ϱϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽĂŶŽĨƌĐ^ĐŚŽŽů/EdZEdZ/s>                                             ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                         ϰ͕Ϭϲϴ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ĐŚŽŽů&ŽŽĚ^ĞƌǀŝĐĞƐ/EdZEdZ/s>                                               ϭϴϮ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘>ĞŽƚŚĞ'ƌĞĂƚ^ĐŚŽŽů/EdZEdZ/s>                                           ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚKhEd/E'^^/^dEZ/s>                         ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚKhEd/E'^^/^dEZ/s>                          ϮϬϰ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚKhEd/E'^^/^dEZ/s>                                        ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨ>ŽƵƌĚĞƐ^ĐŚŽŽů;^ůŝĚĞůůͿKhEd/E'^^/^dEZ/s>                  ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇ^ĐŚŽŽů;'ƌĞƚŶĂͿKhEd/E'^^/^dEZ/s>                           ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞƌͿKhEd/E'^^/^dEZ/s>            ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚKhEd/E'^^/^dEZ/s>                                ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘dŚŽŵĂƐŚƵƌĐŚKhEd/E'^^/^dEZ/s>                                     ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶŽĨKƵƌ>ĂĚǇDŝƐƐŝŽŶKhEd/E'^^/^dEZ/s>                        ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿKhEd/E'^^/^dEZ/s>                      ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚKhEd/E'^^/^dEZ/s>                                    ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚKhEd/E'^^/^dEZ/s>                  ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚKhEd/E'^^/^dEZ/s>                              ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚKhEd/E'^^/^dEZ/s>                                    ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿKhEd/E'^^/^dEZ/s>                     ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;&ƌĂŶŬůŝŶƚŽŶͿKhEd/E'^^/^dEZ/s>                      ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚKhEd/E'^^/^dEZ/s>                         ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚKhEd/E'^^/^dEZ/s>                         ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚKhEd/E'^^/^dEZ/s>                                  ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚ/^,KW^WW>                                       Ϯϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚKEd/KE^                                             ϭ͕ϭϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚWdZΖ^WEK>>d/KE                             ϳϵϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚD/>/dZzK>>d/KE                                  ϱϲϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWdZΖ^WEK>>d/KE                                              ϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚD/>/dZzK>>d/KE                                                   ϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWdZΖ^WEK>>d/KE                                             ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                                         ϭϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚZ>/'/Kh^Zd/ZDEd                                                 ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWdZΖ^WEK>>d/KE                                 ϭ͕ϭϴϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚD/>/dZzK>>d/KE                                      ϭ͕ϳϯϬ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚKEd/KE^                                               ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚWdZΖ^WEK>>d/KE                                              ϭ͕Ϭϱϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚĂƚŚŽůŝĐŚĂƌŝƚŝĞƐŽůůĞĐƚŝŽŶ                                         ϭ͕ϱϵϬ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚ,K>z>EKEd/KE^                                                  ϱϬ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚd,K>/KDDhE/d/KE                                         Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚZ>/'/Kh^Zd/ZDEd                                            ϱ͕ϱϬϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚKEd/KE^                                                      ϲϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚD/>/dZzK>>d/KE                                             ϭ͕ϰϳϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚWĂǇĂďůĞͲWŽŶƚŝĨŝĐĂůDŝƐƐŝŽŶ^ŽĐŝĞƚǇ                            ϯ͕ϭϵϯ͘ϴϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚW^dKZ>^K>/Z/dz&hE&KZ&Z/                             Ϯ͕ϴϭϵ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                                   ϯϬ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚĂƚŚŽůŝĐ^ĐŚŽŽůƐŽůůĞĐƚŝŽŶ                                    ϯϴ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚ/^,KW^WW>                                                 ϰϭϯ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿKEd/KE^                                       ϳϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWdZΖ^WEK>>d/KE                         Ϯ͕Ϭϱϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿD/>/dZzK>>d/KE                              Ϯ͕ϳϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWdZΖ^WEK>>d/KE                     ϭ͕ϭϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿĂƚŚŽůŝĐŚĂƌŝƚŝĞƐŽůůĞĐƚŝŽŶ               ϭϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿ,K>z>EKEd/KE^                         ϲϬϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿ><Θ/E/E,KDD/^^/KE^                ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿZ>/'/Kh^Zd/ZDEd                        ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿKEd/KE^                                    ϭ͕ϳϳϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿD/>/dZzK>>d/KE                          ϭ͕ϯϵϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿ/^,KW^WW>                              ϰϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇŚƵƌĐŚ,K>z>EKEd/KE^                                      ϭ͕ϬϬϮ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇŚƵƌĐŚ/^,KW^WW>                                          ϲϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇŚƵƌĐŚKEd/KE^                                                ϭ͕ϲϴϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚKEd/KE^                                           Ϯ͕ϰϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚWdZΖ^WEK>>d/KE                                       ϭ͕ϭϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWdZΖ^WEK>>d/KE                            Ϯ͕ϯϬϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚD/>/dZzK>>d/KE                                            Ϯ͕ϱϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚƐ͘WĞƚĞƌŶĚWĂƵůŚƵƌĐŚD/>/dZzK>>d/KE                                   ϰϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇŚƵƌĐŚD/>/dZzK>>d/KE                                      ϭ͕Ϭϰϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚD/>/dZzK>>d/KE                                             ϭ͕ϮϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚ^dZEhZKW                                              ϱϭϳ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚD/>/dZzK>>d/KE                                         ϭϮϱ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚKEd/KE^                                                   ϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚ,K>z>EKEd/KE^                                         ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚ/^,KW^WW>                                              ϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚZ>/'/Kh^Zd/ZDEd                                        ϱϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚWĂǇĂďůĞͲWŽŶƚŝĨŝĐĂůDŝƐƐŝŽŶ^ŽĐŝĞƚǇ                        ϱϭϵ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚWdZΖ^WEK>>d/KE                                    ϭϱϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚZ/Kt>K>>d/K                                         ϭϭϮ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚd,K>/hE/sZ^/dzK&DZ/                              ϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇ^ĐŚŽŽů/EKD^dhEd                                          ϳϳ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚ^W/>KsZ'^                                           ϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   hŶŝƚĞĚ,ĞĂůƚŚĐĂƌĞ/ŶƐ͘DŝƐĐĞůůĂŶĞŽƵƐZĞĐĞŝǀĂďůĞƐͲ/&ΘĂƉƚŝǀĞ                 ϭϯ͕ϴϭϲ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   hŶŝƚĞĚ,ĞĂůƚŚĐĂƌĞ/ŶƐ͘DŝƐĐĞůůĂŶĞŽƵƐZĞĐĞŝǀĂďůĞƐͲ/&ΘĂƉƚŝǀĞ                  ϭ͕ϭϯϵ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞWƌŽŐƌĂŵ,/WĐĐŽƵŶƚKd,ZZ/s>^Ͳ'hZ/E                Ϯϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞWƌŽŐƌĂŵ,/WĐĐŽƵŶƚKd,ZZ/s>^ͲDĞĚŝĐĂůŝŶƐƵƌĂŶĐĞ       ϭϯϭ͘ϳϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚ^>ZzZ/DhZ^DEdƐ                                 Ϯ͕ϰϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϱϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϮϯϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϭϭϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϱϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϮϯϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϭϭϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϯϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                 ϭϭϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚϭƐƚdƌŝďƵŶĂůKEd/KE^                                    ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚKZW/EKD                                           ϰϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚKZW/EKD                                           ϭϵϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^                                      ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^Ͳ,/^WE/,/>ZEΖ^^,K>Z^,/W^    ϰ͕ϬϮϬ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^                                      ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^ͲKDDhE/dz^Zs/^                 ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   WĂǇĞĞdŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞKEd/KE^Ͳ,/^WE/,/>ZEΖ^^,K>Z^,/W^   ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚDĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞWZ/^,&D/>zD/E/^dZz              ϭ͕ϱϱϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚWĂƐƚŽƌĂůWůĂŶŶŝŶŐWZ/EdDddZ^>                     ϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚZĞůŝŐŝŽƵƐWĞƌƐŽŶŶĞůZ>/'/Kh^Zd/ZDEd                  ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚĂŵƉďďĞǇDWzͲ^hDDZDW&^                   Ϯ͕ϮϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚĂŵƉďďĞǇDWzZdZd&^                        ϯϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                    ϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳs>KWDEd                               ϮϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚd^/'Ed&hE^/EdZE>                              ϭ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^ĂŝŶƚDĂŬĞƌƐ                               ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ĂƚŚŽůŝĐDƵƚƵĂů/E^hZE>/D^Ͳ>>                                           ϭϳϴ͘ϲϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŽƐĞŽĨ>ŝŵĂD/^>>EKh^Z/s>^                                       ϰϭϵ͘ϮϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   sŝůůĂ^ƚ͘DĂƵƌŝĐĞ/E^hZE>/D^Ͳ>>                                         ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                       Ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿD/^>>EKh^Z/s>^              ϱϮϳ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                       ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                 ϱ͕ϭϴϯ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚD/^>>EKh^Z/s>^                           ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚD/>/dZzK>>d/KE                                  ϭ͕Ϭϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                         ϱϭ͕ϵϮϰ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                          ϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                          ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ĂŵĞƐDĂũŽƌŚƵƌĐŚ^>ZzZ/DhZ^DEdƐ                                      Ϯ͕ϲϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚ^hDDZWZK'ZD/E^                                             ϰϳϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;WĂƌĂĚŝƐͿWZ/^,^^^^DEd                           ϭ͕ϭϬϰ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;WĂƌĂĚŝƐͿWZ/^,^^^^DEd                          ϭϱϭ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWZ/^,^^^^DEd                            ϳ͕Ϯϱϱ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞƚƚĞͿWZ/^,^^^^DEd                    ϲ͕Ϯϯϭ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇ/E^hZEZ/s                                           ϴϬϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇ/E^hZEZ/s                                            ϴ͕ϴϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇ/E^hZEZ/s                                            ϱ͕Ϯϱϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                             ϭϲ͕ϮϬϳ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                              ϰ͕ϵϭϴ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                              ϱ͕ϴϰϴ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                             ϰϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                             ϲϮϲ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                         ϳ͕Ϭϱϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                              ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                               ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                   ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                  ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                     ϭ͕ϭϬϵ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                    ϯϮϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                    ϯϰϮ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                    Ϯϴϯ͘ϯϰ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                        ϭ͕ϬϯϮ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                             ϭ͕ϰϵϵ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                             ϭ͕ϰϵϵ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                     ϭϮϵ͘ϰϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                      ϯ͕ϮϰϬ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ĂǀĂŶŐDŝƐƐŝŽŶWĂƌŝƐŚ^ŚĂƌĞ                             ϵϯϳ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ĂǀĂŶŐDŝƐƐŝŽŶWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                   Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ĂǀĂŶŐDŝƐƐŝŽŶWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                    ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ĂǀĂŶŐDŝƐƐŝŽŶWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                         ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ĂǀĂŶŐDŝƐƐŝŽŶWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                       ϭϮϰ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWZ/^,^^^^DEd                           ϭ͕ϳϯϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWZ/^,^^^^DEd                          ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWZ/^,^^^^DEd                           ϭ͕ϵϱϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWZ/^,^^^^DEd                           Ϯ͕Ϯϳϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWZ/^,^^^^DEd                          ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                ϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚWZ/^,^^^^DEd                   ϭ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇŚƵƌĐŚWZ/^,^^^^DEd                           ϭ͕ϭϯϳ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇŚƵƌĐŚWZ/^,^^^^DEd                           ϲ͕ϴϮϳ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd         ϯϮ͕ϳϴϭ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd          ϱ͕ϮϴϬ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ           ϯ͕ϰϰϳ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϱϴϮ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϳϳϴ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ          ϴϬϯ͘ϰϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ           ϭ͕ϳϵϯ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ^ŚĂƌĞ               ϲ͕ϴϮϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ        ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWZ/^,^^^^DEd                      ϱϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                      ϯ͕ϮϰϬ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                     ϭϮϵ͘ϰϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             Ϯ͕ϯϭϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd            ϵϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϱ͕ϯϭϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϰ͕ϴϲϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϰ͕Ϭϴϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϯ͕ϳϴϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϯ͕ϲϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϰ͕Ϯϱϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd            ϳϱϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWZ/^,^^^^DEd             ϯ͕ϳϵϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ         Ϯ͕ϱϭϰ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ          ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ               ϭ͕ϭϲϲ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϰ͕ϭϵϬ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϱϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϲϮϭ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϭϳ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                   ϭϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                    ϭ͕ϵϳϯ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                     ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                          ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                        ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                          ϵϵϯ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϭ͕ϭϬϴ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                ϭϮϳ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                ϭϰϵ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                ϮϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                 ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                   ϭ͕ϲϭϭ͘Ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϳϲϬ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϭϲϴ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϭϵϰ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                       ϲ͕Ϯϱϲ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                            ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘DĂƌƚŚĂŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                             ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       ϰ͕ϵϭϰ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      ϲϮϱ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      ϳϭϴ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                          ϮϮ͕ϬϬϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                 ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                      ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                    ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                     ϯ͕ϯϲϴ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                              ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ^ŚĂƌĞ             ϭϮϱ͕ϮϬϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ       ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ    ϭ͕ϬϴϮ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ         Ϯϭϵ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϯ͕ϭϴϳ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ         ϭϰϵ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϭ͕ϬϭϮ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ         ϰϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ       Ϯϭϵ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ       ϱϯϬ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞŐŽͿWZ/^,^^^^DEd        ϲ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                            ϭϴ͕Ϭϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                  Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                   ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                        ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                      ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         ϭ͕ϳϰϬ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϱϰϴ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϲϰϰ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϮϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϱϲϲ͘Ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                         ϭ͕ϵϬϯ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                         ϭ͕ϳϲϰ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                         Ϯ͕Ϭϳϭ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWZ/^,^^^^DEd                      ϳϱϬ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWZ/^,^^^^DEd                      ϳϰϵ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚŚƵƌĐŚWZ/^,^^^^DEd                                ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚŚƵƌĐŚWZ/^,^^^^DEd                                ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚWZ/^,^^^^DEd                 Ϯϴ͕Ϭϴϱ͘ϱϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚWZ/^,^^^^DEd                             ϭ͕ϯϭϵ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   dŚĞsŝƐŝƚĂƚŝŽŶKĨKƵƌ>ĂĚǇŚƵƌĐŚWZ/^,^^^^DEd                            ϱϱϬ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϭϳͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĂKĨǀŝůĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                   ϱϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϬͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                              ϴϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϬͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZĞƚƌĞĂƚŝŶĐŽŵĞ                          ϭ͕ϵϲϱ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϬͬϮϬϮϬ   'ĞŶĞƌĂůŽŶĂƚŝŽŶƐ                                                              ϭ͕Ϯϰϳ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϭͬϮϬϮϬ   d,K>/KDDhE/dz&KhEd/KEZdhZEK&&hE^Ͳs>KWDEdK&&/            ϭϮ͕ϱϮϳ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϭͬϮϬϮϬ   d,K>/KDDhE/dz&KhEd/KEĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                           ϭϴϰ͘ϱϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐDŽƚŚĞƌƐůƵďĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                ϳϴ͕ϯϮϭ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ&ĂƚŚĞƌƐůƵďĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                Ϯϱ͕Ϯϲϰ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ'ƌĂŶĚƉĂƌĞŶƚƐůƵďĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                            ϯ͕ϭϮϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                       ϭ͕Ϭϰϰ͕ϬϱϬ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϮͬϮϬϮϬ   EKWŽƌƚĨŽůŝŽYƵĂƌƚĞƌůǇ/ŶǀĞƐƚŵĞŶƚŝƐƚƌŝďƵƚŝŽŶ                              ϱϯ͕ϴϭϰ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϮͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                      ϴϬϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϮͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                       ϮϬϮ͕ϱϮϱ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŚĂƚĞĂƵĚĞEŽƚƌĞĂŵĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                   ϵ͕ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                      ϱϬϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                     ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                             ϰ͕ϵϭϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶƚŚĞĂƉƚŝƐƚŚƵƌĐŚ;EK>ͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                      ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                           ϵϱ͕ϴϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                        Ϯ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨƚŚĞ>ĂŬĞ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                             ϵϬϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                    ϭϵϭ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                     ϭ͕ϵϬϵ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                     ϳ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉΖƐKĨĨŝĐĞ^/'Ed&hE^/EdZE>                                   ϰ͕ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚ/EdZEdZ/s>                                       ϱϱ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                    ϴϰϵ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                              ϵϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚD/>/dZzK>>d/KE                                       ϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚKEd/KE^                                                 ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ŽĐŝĞƚǇŽĨƚŚĞ,ŽůǇ&ĂŵŝůǇ^>ZzZ/DhZ^DEd^                                ϭ͕ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚ^>ZzZ/DhZ^DEd^                                         Ϯ͕ϰϭϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵ^>ZzZ/DhZ^DEd^                                  ϱ͕ϭϱϱ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ^>ZzZ/DhZ^DEd^                                            Ϯ͕ϰϬϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů^hDDZWZK'ZD/E^                                ϭ͕ϲϴϳ͘ϱϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ^W/>KsZ'^                                    ϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚ/EdZEdZ/s>                       ϰϴ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿ/EdZEdZ/s>                                ϰ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚ/EdZEdZ/s>                              ϭϯϴ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĐĂĚĞŵǇŽĨKƵƌ>ĂĚǇ/EdZEdZ/s>                                         ϱ͕ϭϯϴ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚ/EdZEdZ/s>                                ϭϳϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿ/EdZEdZ/s>                               ϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                               ϱ͕ϱϯϮ͘Ϯϱ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                            ϯ͕ϰϯϮ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞ/EdZEdZ/s>                              ϭ͕ϱϬϱ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŽƌƉƵƐŚƌŝƐƚŝͲƉŝƉŚĂŶǇŚƵƌĐŚ/EdZEdZ/s>                            ϭ͕Ϭϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿ/EdZEdZ/s>                           Ϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚ/EdZEdZ/s>                                       ϭϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŶŶƵŶĐŝĂƚŝŽŶ^ĐŚŽŽů/EdZEdZ/s>                                         ϯ͕ϭϯϱ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚ/EdZEdZ/s>                              ϭϱϰ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚ/EdZEdZ/s>                                   ϭϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚ/EdZEdZ/s>                               Ϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇ^ƚĂƌKĨdŚĞ^ĞĂŚƵƌĐŚKhEd/E'^^/^dEZ/s>               ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŝƵƐy^ĐŚŽŽůKhEd/E'^^/^dEZ/s>                             ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞŽĨ^ŝĞŶĂ^ĐŚŽŽůKhEd/E'^^/^dEZ/s>                 ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĂƚŚŽůŝĐƵůƚƵƌĂů,ĞƌŝƚĂŐĞĞŶƚĞƌKhEd/E'^^/^dEZ/s>             ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚKhEd/E'^^/^dEZ/s>                             ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚKhEd/E'^^/^dEZ/s>                    ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽůKhEd/E'^^/^dEZ/s>                            ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞŶƚĞƌKĨ:ĞƐƵƐdŚĞ>ŽƌĚŚƵƌĐŚKhEd/E'^^/^dEZ/s>               ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚKhEd/E'^^/^dEZ/s>                 ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨWƌŽŵƉƚ^ƵĐĐŽƌ^ĐŚŽŽů;tĞƐƚǁĞŐŽͿKhEd/E'^^/^dEZ/s>   ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚKhEd/E'^^/^dEZ/s>          ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚKhEd/E'^^/^dEZ/s>                             ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞKhEd/E'^^/^dEZ/s>      ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞKhEd/E'^^/^dEZ/s>      ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚKhEd/E'^^/^dEZ/s>                ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚKhEd/E'^^/^dEZ/s>                             ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;&ƌĂŶŬůŝŶƚŽŶͿD/>/dZzK>>d/KE                           ϯϭϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWdZΖ^WEK>>d/KE                  ϲϳϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚKEd/KE^                                 ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚD/>/dZzK>>d/KE                       ϯϱϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚZ/Kt>K>>d/K                       ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚd,K>/,KDD/^^/KE                     ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                           ϭ͕Ϭϱϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                              Ϯϰϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;&ƌĂŶŬůŝŶƚŽŶͿ><Θ/E/E,KDD/^^/KE^                  ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ůƉŚŽŶƐƵƐŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                              ϵϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                       ϱϰϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ZĞƐƵƌƌĞĐƚŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                   ϯϲϬ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚKEd/KE^                                        ϯϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWdZΖ^WEK>>d/KE                         ϴϰϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚD/>/dZzK>>d/KE                              ϰϯϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                     ϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                              ϮϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿ^W/>KsZ'^                                 ϭϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽů>'>Z/s>^                                ϯϮϬ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉŚĂƉĞůůĞ,ŝŐŚ^ĐŚŽŽů>'>Z/s>^                              ϭϭϭ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KĐŚƐŶĞƌ,ĞĂůƚŚ^ǇƐƚĞŵWZ/^d^ΘZ>/'/Kh^                                       Ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĂƚŚŽůŝĐDƵƚƵĂůKŵĂŚĂ&>KK/E^hZE                                          ϭϱϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                              ϮϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                              ϭϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^^,KK>^h^//^KEdZ/hd/KE^                     ϭϬ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐKhd^/KhE^>/E'                  Ϯ͕ϬϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdƵůĂŶĞĂƚŚŽůŝĐĞŶƚĞƌKEd/KE^Ͳ^hEz              ϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƌŚƌŽƵŐŚDĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞDZZ/'WZWZd/KE            ϲϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƌŚƌŽƵŐŚDĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞWZ/^,&D/>zD/E/^dZz          ϭϯ͕ϮϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƌŚƌŽƵŐŚDĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞDZZ/'WZWZd/KE            ϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƌŚƌŽƵŐŚDĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞWZ/^,&D/>zD/E/^dZz           ϱ͕ϰϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞKEd/KE^                           ϮϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞŽŶƚŝŶƵĂƚŝŽŶKd,ZZ/s>^                                ϳϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞZEdZ/s>^                                 Ϭ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵZEdZ/s>^                                      ϭϭ͕ϭϭϱ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵZEdZ/s>^                                      ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽůD/^>>EKh^Z/s>^                          ϰϰϮ͘ϲϮ      z
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ            ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿh/>/E'K&&/&Z͘          ϭϲ͕ϰϵϭ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                ϯ͕ϴϲϰ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚD/^>>EKh^Z/s>^         Ϯ͕ϮϬϯ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEZEdZ/s>^                           ϰ͕ϭϭϭ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEWK^d'Z/s>^                      ϭϴϯ͘ϲϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KE/EdZEdZ/s>                        ϭ͕ϵϳϯ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚD/^>>EKh^Z/s>^               ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉŚĂƉĞůůĞ,ŝŐŚ^ĐŚŽŽůD/^>>EKh^Z/s>^      ϲϵϬ͘ϭϮ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ            ϭϴϵ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽůD/^>>EKh^Z/s>^          ϰϰϮ͘ϲϭ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                 ϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚD/^>>EKh^Z/s>^                   ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚD/^>>EKh^Z/s>^                   ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚD/^>>EKh^Z/s>^                   ϯϳ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿKd,ZZ/s>^                 ϭϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ            ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽůD/^>>EKh^Z/s>^        ϰϰϮ͘ϲϭ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽůD/^>>EKh^Z/s>^     ϰϰϮ͘ϲϭ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚD/^>>EKh^Z/s>^             ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚD/^>>EKh^Z/s>^          ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƌĂĐĞŚƵƌĐŚD/^>>EKh^Z/s>^             ϰϰϮ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŽŶĂƚŝŽŶƐͲ^ƵĐĐĞƐƐŝŽŶKEd/KE^                              ϯϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĞĚŝǀĞƌĞ/ŶƐƵƌĂŶĐĞŽ͘>'>Z/s>^                       ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŚƌŝƐƚdŚĞ<ŝŶŐŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                  ϴϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚ/EdZEdZ/s>                         Ϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝ^ĐŚŽŽůKhEd/E'^^/^dEZ/s>        ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌ^ĐŚŽŽůKhEd/E'^^/^dEZ/s>        ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŐŶĞƐŚƵƌĐŚKhEd/E'^^/^dEZ/s>              ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŚƌŝƐƚdŚĞ<ŝŶŐŚƵƌĐŚD/>/dZzK>>d/KE                     Ϯϰϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^               ϰϲϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŐŶĞƐŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                  ϵϭϬ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϲϮ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                 Ϯ͕Ϯϳϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                 Ϯ͕ϱϭϬ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                 ϯ͕Ϭϯϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϯϳ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϰϭϲ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϭϬϴ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϯϴ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϭϱϰ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϵϴ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                 ϴ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                Ϯϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                Ϯϰϵ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϳϯ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϱϵϵ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                Ϯϰϱ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϯϯϴ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϯϵϯ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϳϰϳ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                Ϯϭ͘ϰϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                ϭϯϲ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϲϵϳ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϰϳϴ͘Ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϰϰϬ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 Ϯϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWZ/^,^^^^DEd                 ϭ͕ϰϬϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                     ϭϳ͕ϵϬϴ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ            ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶĚƌĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                ϳ͕ϭϳϳ͘ϯϯ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                ϰ͕ϴϴϱ͘Ϯϲ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                ϱ͕ϲϰϮ͘ϵϲ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ               ϲϮϬ͘ϴϰ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϰϴϴ͘ϰϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϵϯϴ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϮϵϬ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ           Ϯ͕ϯϴϮ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ               ϲ͕ϴϳϴ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ    ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ     ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ         ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨŝǀŝŶĞWƌŽǀŝĚĞŶĐĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ        ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϯϴϰ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      ϭ͕ϰϲϰ͘ϰϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      ϭ͕ϭϵϰ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      ϭ͕ϵϳϳ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϭϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWZ/^,^^^^DEd                 ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ^ŚĂƌĞ                      ϲϯϲ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϯϯϬ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ             ϳϵ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                 ϭϰϳ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                ϭϱ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϯϱϴ͘ϳϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϱϮ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϲϭ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϯϬ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  Ϯϰϴ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                               ϲ͕ϬϭϬ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                    ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                     ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                         ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                        ϲϮ͘ϱϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      Ϯ͕ϯϵϴ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     Ϯϯϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϯϲϱ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĞŶĞǀŝĞǀĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϭϯ͘ϴϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϰϴϭ͘Ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϱϵϲ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϵϮϲ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                  ϯ͕ϭϵϳ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                 ϯϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                      ϳ͕ϰϲϮ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ            ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂĐŚŝŵŚƵƌĐŚWZ/^,^^^^DEd                       ϱ͕ϴϳϳ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϵϵϱ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϭϮϳ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϭϰϳ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                             ϭ͕ϬϮϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                   ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                       ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘,ƵďĞƌƚŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                      ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϯ͕ϱϰϲ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϴϬϰ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϴϴϳ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                     ϭϰ͕Ϭϲϵ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ            ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇ^ƚĂƌKĨdŚĞ^ĞĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ           Ϯ͕ϱϵϭ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇ^ƚĂƌKĨdŚĞ^ĞĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϭϭϬ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇ^ƚĂƌKĨdŚĞ^ĞĂŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϭϮϴ͘ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇ^ƚĂƌKĨdŚĞ^ĞĂŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ               Ϯ͕ϱϭϮ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇ^ƚĂƌKĨdŚĞ^ĞĂŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ        ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϭϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϯϴϱ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϰϲϰ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϭϵϳ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ůƉŚŽŶƐƵƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                          ϱ͕ϴϭϱ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ůƉŚŽŶƐƵƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                   ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ             Ϯ͕ϴϮϱ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ             ϰ͕ϰϮϳ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ             ϱ͕Ϭϴϯ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            ϯ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd           ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            ϭ͕ϴϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            Ϯ͕ϵϮϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            ϯ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            ϯ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd           ϲϲϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            ϲ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            Ϯ͕ϱϴϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚWZ/^,^^^^DEd            ϯ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĐĂĚĞŵǇŽĨKƵƌ>ĂĚǇEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                  ϭϬ͕Ϭϵϵ͘ϲϬ         z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĐĂĚĞŵǇŽĨKƵƌ>ĂĚǇEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                   ϰ͕Ϯϭϳ͘ϳϭ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĐĂĚĞŵǇŽĨKƵƌ>ĂĚǇEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                   ϰ͕ϵϴϯ͘ϵϰ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĐĂĚĞŵǇŽĨKƵƌ>ĂĚǇEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                   ϭ͕ϭϱϴ͘ϯϰ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                Ϯ͕ϲϱϵ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϳϵϰ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϵϲϬ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                ϭ͕ϰϯϵ͘ϳϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                Ϯ͕ϬϬϴ͘ϰϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                Ϯ͕ϰϮϴ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                   Ϯϱ͕Ϭϰϴ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ         Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ          ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ               ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨWĞĂĐĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ             ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                     ϭϯ͕ϵϯϮ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                     ϭϲ͕ϭϯϳ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   d,K>/&KhEd/KEŐĞŶĐǇƐƐĞƐƐŵĞŶƚ                     ϰ͕ϮϰϬ͘ϮϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KǌĂŶĂŵ/ŶŶŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                               ϯϮ͘Ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KǌĂŶĂŵ/ŶŶŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                ϭ͕ϭϲϲ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KǌĂŶĂŵ/ŶŶŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                ϭ͕ϭϲϲ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KǌĂŶĂŵ/ŶŶŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                               ϵϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ        ϳϮ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWZ/^,^^^^DEd              ϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                   ϱ͕Ϭϱϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ        ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ         ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ             ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ            ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϭ͕ϱϵϬ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ              ϰϵϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ              ϭϰϲ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘<ĂƚŚĂƌŝŶĞƌĞǆĞůŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ               ϭ͕ϴϯϯ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϲϴϰ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϲϭϭ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϱϳϴ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϮϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ           ϭ͕Ϯϳϯ͘ϰϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ           Ϯ͕Ϭϯϲ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ           ϭ͕ϵϮϵ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ               ϴ͕ϰϰϳ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ    Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ     ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ          ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ĚǁĂƌĚdŚĞŽŶĨĞƐƐŽƌŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ        ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                            ϮϬ͕ϭϵϳ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                  Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                   ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                        ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                      ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         Ϯ͕ϯϲϵ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         ϭ͕ϳϬϴ͘ϱϳ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƐĞůŵŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                             ϴϳϲ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ        ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ^ŚĂƌĞ               ϯ͕ϱϲϬ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ    ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ     ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ         ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWZ/^,^^^^DEd          ϯ͕ϰϬϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWZ/^,^^^^DEd         ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWZ/^,^^^^DEd          ϯ͕ϰϬϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWZ/^,^^^^DEd          Ϯ͕Ϭϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ           ϭ͕ϯϵϬ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϭϯϱ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϭϱϳ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWZ/^,^^^^DEd                        ϭ͕Ϯϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                            ϭϭ͕ϭϭϯ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                   ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                       ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                      ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌůĂǀĞƌŚƵƌĐŚWZ/^,^^^^DEd                       ϲ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϭ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ              ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                    Ϯϭ͕Ϯϳϭ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ          Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ           ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 Ϯ͕ϵϲϳ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϱϭϯ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϲϯϴ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ƵŬĞdŚĞǀĂŶŐĞůŝƐƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                ϭϭ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ^ŚĂƌĞ                      ϳϲϴ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϯϯϵ͘ϰϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϯϯϵ͘ϰϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϮϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ             ϳϯ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                 ϭϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                ϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇƐƐĞƐƐŵĞŶƚ      ϯ͕ϰϰϱ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       ϯ͕Ϯϯϰ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      ϱϲϲ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      ϳϬϬ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                          ϭϱ͕ϭϱϱ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                 ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                      ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                    ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                       ϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      ϱϲϳ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                       ϭ͕ϯϯϬ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                       ϭ͕ϲϰϲ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWZ/^,^^^^DEd                    ϭ͕ϵϲϵ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ĞĐŽŶĚ,ĂƌǀĞƐƚ&ŽŽĚĂŶŬKĨ'ƌĞĂƚĞƌEĞǁ/E^hZEZ/s     ϱ͕ϮϮϭ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ĞĐŽŶĚ,ĂƌǀĞƐƚ&ŽŽĚĂŶŬKĨ'ƌĞĂƚĞƌEĞǁ/E^hZEZ/s    ϭϯ͕ϲϳϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ĞĐŽŶĚ,ĂƌǀĞƐƚ&ŽŽĚĂŶŬKĨ'ƌĞĂƚĞƌEĞǁŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϯ͕ϴϱϰ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ĞĐŽŶĚ,ĂƌǀĞƐƚ&ŽŽĚĂŶŬKĨ'ƌĞĂƚĞƌEĞǁŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕ϳϭϵ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                       ϯ͕ϱϯϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWZ/^,^^^^DEd                 ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ^ŚĂƌĞ                      ϲϯϲ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϯϳϱ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϯϲϮ͘ϮϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϯϯϬ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ             ϳϵ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                 ϭϰϳ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                ϭϱ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;>ĂĨŝƚƚĞͿWZ/^,^^^^DEd                  ϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                     ϭϱ͕ϵϭϴ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ            ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϲ͕ϯϭϭ͘ϱϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϰϲϮ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϱϵϮ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWZ/^,^^^^DEd         ϲϰϰ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWZ/^,^^^^DEd         ϲϰϰ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWZ/^,^^^^DEd                    Ϭ͘Ϭϰ   z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ              ϭ͕ϯϮϬ͘ϭϳ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ               ϯϭϵ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                   ϱϵϭ͘ϲϳ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                  ϲϮ͘ϱϬ     z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϰ͕ϱϬϴ͘ϲϰ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϭ͕ϭϰϳ͘ϳϭ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϭ͕ϯϮϵ͘ϱϱ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                    Ϯϴϯ͘ϯϰ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                    ϳϵϱ͘ϲϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϬϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϱϮϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚ^ĐŚŽŽů&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϯϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚ^ĐŚŽŽů&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϯϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   ϯ͕Ϭϵϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      ϭϰ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       ϭ͕ϯϮϮ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       ϭ͕ϱϯϬ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       ϵ͕ϱϮϭ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      Ϯϯ͕ϱϰϵ͘ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      Ϯϭ͕ϮϬϴ͘ϴϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       Ϯ͕ϱϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      ϳϮϲ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       ϴ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      ϳϬϰ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      ϴϭϱ͘ϳϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       Ϯ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       ϳ͕ϱϮϭ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       ϴ͕ϳϱϵ͘ϰϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                       ϳ͕ϱϰϬ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      ϭϭ͕ϵϯϲ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                      ϭϭ͕ϵϱϱ͘ϴϰ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                        ϵϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                         ϯ͕Ϭϵϱ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                        ϭϴ͕ϭϴϮ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                        ϭϱ͕ϱϰϱ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                        Ϯϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞŐĞŶĐǇƐƐĞƐƐŵĞŶƚ                  ϭ͕ϲϭϰ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWZ/^,^^^^DEd            Ϯ͕ϭϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWZ/^,^^^^DEd            Ϯ͕ϴϬϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWZ/^,^^^^DEd            ϭ͕ϳϰϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWĂƌŝƐŚ^ŚĂƌĞ               ϯ͕ϵϭϵ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ   ϵϵϬ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ     Ϯϯϵ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ         ϰϰϯ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ        ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ           Ϯ͕ϵϱϮ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϭϵϴ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϮϮϵ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶŚƵƌĐŚ;DĂƌƌĞƌŽͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          Ϯϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                             ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                    ϯ͕ϭϱϴ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                         ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                          ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                              ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                               ϲϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                               ϱϰϬ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                               ϭϲϴ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                               ϭϵϱ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                   ϲϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϰϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   Ϯ͕ϵϭϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   Ϯ͕ϭϲϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   Ϯ͕ϴϬϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘DĂƌǇDĂŐĚĂůĞŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                  ϵϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWZ/^,^^^^DEd                   ϲϱϬ͘ϴϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWZ/^,^^^^DEd                    Ϯ͕ϱϭϲ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWZ/^,^^^^DEd                   ϵϰϭ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWĂƌŝƐŚ^ŚĂƌĞ                        ϭϲ͕ϲϳϲ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ              Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ               ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                    ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                  ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     Ϯ͕Ϯϱϱ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                    ϱϮϲ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                    ϲϴϳ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                     ϭ͕ϯϴϬ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                     Ϯ͕ϳϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ŽǀŝŶŐƚŽŶͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                     ϯ͕ϱϲϳ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                        ϭϭ͕ϮϮϯ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ              ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ               ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                   ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                  ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϱ͕ϯϯϱ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                    ϰϳϱ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                    ϱϱϭ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ^,KK>sKh,Z^                                   ϲϮϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWZ/^,^^^^DEd                                  ϯ͕ϰϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWZ/^,^^^^DEd                                  ϯ͕ϴϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWZ/^,^^^^DEd                                  Ϯ͕ϭϳϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                             ϭ͕ϵϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                             Ϯ͕ϴϮϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                             Ϯ͕ϲϮϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                             Ϯ͕ϭϱϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                             ϭ͕ϴϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                      ϭϰ͕ϯϳϰ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                            Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                             ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                  ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                   ϭ͕ϱϬϱ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϰϳϲ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϱϰϵ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                   Ϯ͕ϲϱϬ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                   ϰ͕ϭϮϬ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                   ϰ͕ϳϱϵ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                        ϭ͕Ϯϲϲ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ             ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ              ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                  ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                 ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                   ϵϯϭ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                   ϴϳ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                   ϭϬϭ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                   ϲϭ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                     ϭ͕ϳϴϮ͘ϰϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                     ϭ͕ϱϲϵ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                     ϭ͕ϴϭϳ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                     ϭ͕ϱϰϭ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                    Ϯϵϲ͘Ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                    ϯϰϮ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWĂƌŝƐŚ^ŚĂƌĞ                                         ϴ͕ϱϭϲ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                              Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                               ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                    ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                  ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƌĂĐĞŚƵƌĐŚWZ/^,^^^^DEd                        ϱ͕ϯϮϭ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƌĂĐĞŚƵƌĐŚ^,KK>sKh,Z^                         ϳϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWZ/^,^^^^DEd                     ϯ͕ϬϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϲϬϲ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϰϮ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϰϴ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWĂƌŝƐŚ^ŚĂƌĞ                          Ϯ͕ϰϭϲ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ               ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                    ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                   ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWZ/^,^^^^DEd                   ϴϭϮ͘ϱϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWZ/^,^^^^DEd                                       ϱϵϰ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWZ/^,^^^^DEd                                       ϵϱϭ͘ϱϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWZ/^,^^^^DEd                                       ϯϮϳ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWZ/^,^^^^DEd                                       ϵϱϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                        ϵϲϴ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                        ϭϮϬ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                        ϭϰϬ͘Ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                        Ϯϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                         ϭ͕ϱϲϵ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                         ϭ͕ϬϭϬ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                         ϭ͕ϭϳϰ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                             ϳ͕ϱϲϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                                   ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐĐĞŶƐŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                       ϱϵϭ͘ϲϳ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;&ŽůƐŽŵͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                          ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;&ŽůƐŽŵͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                           ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;&ŽůƐŽŵͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                               ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;&ŽůƐŽŵͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                              ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;&ŽůƐŽŵͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϭ͕Ϭϳϯ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;&ŽůƐŽŵͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                ϭϲϳ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;&ŽůƐŽŵͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                ϭϵϯ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                   ϭϮϳ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                   ϮϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                   ϭϲ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                                       ϰϴϱ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                                 ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                   ϰϲϵ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                   ϭϬϵ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĂKĨǀŝůĂŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                  ϱϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWĂƌŝƐŚ^ŚĂƌĞ                                      ϭ͕Ϯϵϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                           ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                            ϯϭϵ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϳϯϮ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϰϴ͘Ϯϭ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞWZ/^,^^^^DEd                                ϭϭ͕ϴϴϮ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϯͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƌĂĐĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                       Ϭ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                        ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚƌĐŚŝǀĞƐD/^>>EKh^/EKD                                 Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐKhd^/KhE^>/E'                       ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞKEd/KE^ͲKDDhE/dz^Zs/^            ϭϵϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZdZd/EKDͲz^K&WZzZ               ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚtŽƌƐŚŝƉdydKK<^^>^                                      ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                        ϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                     ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞKEd/KE^ͲKDDhE/dz^Zs/^            ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞKEd/KE^ͲKDDhE/dz^Zs/^            Ϯϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                        ϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐKhd^/KhE^>/E'                       ϱϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                        ϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                     ϱϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞKEd/KE^ͲKDDhE/dz^Zs/^            Ϯϱϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌ'EZ>KEd/KE^                             ϯϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌD/EdEEKEd/KE^                         ϰϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌKEd/KE^                                     ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐWĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                                     ϱϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   ŵƉůŽǇĞĞŚĞĂůƚŚŝŶƐƵƌĂŶĐĞ                                                          ϭϬϬ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   ŵƉůŽǇĞĞŚĞĂůƚŚŝŶƐƵƌĂŶĐĞ                                                          ϴϴ͘Ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   EKtŚŝƚŶĞǇZĞƚŝƌĞŵĞŶƚĂŶŬdƌĂŶƐĨĞƌĨƌŽŵEKtŚŝƚŶĞǇZĞƚŝƌĞŵĞŶƚ                     ϳϲϮ͘ϱϬ      y
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZĞƚƌĞĂƚŝŶĐŽŵĞ                                ϯ͕ϲϮϱ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   ^ƚ͘dĂŵŵĂŶǇĂƚŚŽůŝĐĞŵĞƚĞƌǇDĂǇΘ:ƵŶĞĂŶŬ&ĞĞƐͲ^d                            ϱϬ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   ƐƉŝƌŝŶŐ^ĐŚŽůĂƌƐDĂǇΘ:ƵŶĞĂŶŬ&ĞĞƐͲƐƉŝƌŝŶŐ^ĐŚŽůĂƌƐ                          ϯϴ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   ,ŽůǇdƌŝŶŝƚǇƌŝǀĞ>ĂŶĚŽƌƉ͘DĂǇΘ:ƵŶĞĂŶŬ&ĞĞƐͲ,ŽůǇdƌŝŶŝƚǇƌŝǀĞ>ĂŶĚŽƌƉ͘   ϱϮ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϳͬϮϬϮϬ   ůĂƌŝŽŶ,ĞƌĂůĚŐĞŶĐǇƐƐĞƐƐŵĞŶƚ͕ŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ͕ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ             ϯ͕ϴϰϭ͘ϴϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϴͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞĚĞƉŽƐŝƚϳͬϮϴͬϮϬϮϬ     Ϯϱϴ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϴͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞĚĞƉŽƐŝƚϳͬϮϴͬϮϬϮϬ     ϯϮϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϴͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚ,ŝƐƉĂŶŝĐƉŽƐŽůĂƚĞ,ŝƐƉĂŶŝĐƉŽƐƚŽůĂƚĞĚĞƉŽƐŝƚϳͬϮϴͬϮϬϮϬ     ϯϰϳ͘ϳϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϴͬϮϬϮϬ   ^ƚ͘ŶŶ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                ϭϮϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϴͬϮϬϮϬ   EKĂƉƚŝǀĞĂƉƚŝǀĞEŽŶͲDĞĚŝĐĂů>ŽƐƐĞƐZĞŝŵďƵƌƐĞŵĞŶƚƉƌŝůͲ:ƵŶĞϮϬϮϬ               ϲϳϴ͕ϳϲϳ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞŽĨ^ŝĞŶĂ^ĐŚŽŽů^hDDZWZK'ZD/E^                                      ϯ͕ϮϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉŚĂƉĞůůĞ,ŝŐŚ^ĐŚŽŽů^hDDZWZK'ZD/E^                                   ϵϭϭ͘Ϯϱ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů>sdKZZ/s>^                                     ϵϴϯ͘ϱϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞ^>ZzZ/DhZ^DEdƐ                        Ϯ͕ϱϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   tǇŶŚŽǀĞŶƉĂƌƚŵĞŶƚƐ/>sdKZZ/s>^                                            ϳ͕ϳϬϭ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĞƚĂŝƌŝĞDĂŶŽƌ/s>sdKZZ/s>^                                               ϰϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĞƚĂŝƌŝĞDĂŶŽƌ///>sdKZZ/s>^                                               ϯ͕ϴϮϮ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĞƚĂŝƌŝĞDĂŶŽƌ>sdKZZ/s>^                                                  ϭϰ͕ϲϰϬ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů>sdKZZ/s>^                                   ϱϵϬ͘ϭϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů>'>Z/s>^                                      ϭϮϬ͘ϯϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWdZΖ^WEK>>d/KE                                   ϭ͕Ϭϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿ><Θ/E/E,KDD/^^/KE^                       ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                              ϲϬϲ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                                   Ϯϴϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                        Ϯϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                                       ϭ͕ϭϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞ><Θ/E/E,KDD/^^/KE^                ϵϱϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ĂǀĂŶŐDŝƐƐŝŽŶ><Θ/E/E,KDD/^^/KE^                              ϭϱϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚW^dKZ>^K>/Z/dz&hE&KZ&Z/                            ϵϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   WůĂĐĞƵďŽƵƌŐ/EdZEdZ/s>                                                    ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞƌŶĂƌĚDĂŶŽƌ/EdZEdZ/s>                                                ϴϴϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵ/EdZEdZ/s>                                         ϱϮ͕ϵϳϱ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŝŽĐĞƐĞŽĨ,ŽƵŵĂ/EdZEdZ/s>                                                  ϲ͕Ϯϱϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŝŽĐĞƐĞŽĨ,ŽƵŵĂ/EdZEdZ/s>                                                  ϯ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐŽĨ&ƌĂŶĐĞ^ĐŚŽŽů/EdZEdZ/s>                                   ϯ͕ϯϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶŶŚƵƌĐŚ/EdZEdZ/s>                                                   ϮϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽů/EdZEdZ/s>                                                ϯ͕ϲϰϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sŝƐŝƚĂƚŝŽŶŽĨKƵƌ>ĂĚǇ^ĐŚŽŽů/EdZEdZ/s>                                     ϯ͕ϬϯϮ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽů/EdZEdZ/s>                                               ϯϯ͕Ϯϲϳ͘ϵϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĞĐĂĚĞŵǇĨŽƌǆĐĞƉƚŝŽŶĂů>ĞĂƌ/EdZEdZ/s>                          ϰ͕ϳϵϵ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇ^ƚĂƌKĨdŚĞ^ĞĂŚƵƌĐŚ/EdZEdZ/s>                                  ϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚ/EdZEdZ/s>                                      ϲ͘ϳϱ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ĞŽƚŚĞ'ƌĞĂƚ^ĐŚŽŽů/EdZEdZ/s>                                  ϴϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;ŚĂůŵĞ/EdZEdZ/s>                  ϭϲϲ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ^ŚĂǁ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                ϯ͕ϬϬϬ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĞƚĞƌ^ĐŚŽŽů;ZĞƐĞƌǀĞͿ/EdZEdZ/s>                                 ϭ͕ϰϳϱ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ/EdZEdZ/s>                                 Ϯϴ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞ/EdZEdZ/s>                   ϰ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐKĨƐƐŝƐŝŚƵƌĐŚ/EdZEdZ/s>                              ϯϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚ/EdZEdZ/s>                            ϭϮϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶ^ĐŚŽŽů;DĂƌƌĞƌŽͿ/EdZEdZ/s>                    ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ZŝƚĂ^ĐŚŽŽů;,ĂƌĂŚĂŶͿ/EdZEdZ/s>                                  ϯ͕ϴϰϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                              ϰ͕Ϭϱϭ͘ϱϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                              ϯ͕ϰϴϲ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ƵŐƵƐƚŝŶĞ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                 ϯϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƵůdŚĞƉŽƐƚůĞŚƵƌĐŚ/EdZEdZ/s>                               ϳϮ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DŝĐŚĂĞů^ƉĞĐŝĂů^ĐŚŽŽů/EdZEdZ/s>                                 ϯ͕ϯϵϯ͘ϳϱ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚ/EdZEdZ/s>                                ϮϬ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DŝĐŚĂĞů^ƉĞĐŝĂů^ĐŚŽŽů/EdZEdZ/s>                                 ϱ͕ϲϳϵ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DĂƌŐĂƌĞƚDĂƌǇ^ĐŚŽŽů/EdZEdZ/s>                                   ϯ͕ϱϯϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚ/EdZEdZ/s>                                         ϰ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚ/EdZEdZ/s>                                 Ϯϵϳ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚ/EdZEdZ/s>                        ϯϮϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚ/EdZEdZ/s>                                        ϲ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇΖƐ'ĂƌĚĞŶƐ/EdZEdZ/s>                                      ϰ͕Ϯϵϴ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŝƵƐy^ĐŚŽŽů/EdZEdZ/s>                                         ϯϱ͕ϵϵϴ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŝƵƐy^ĐŚŽŽů/EdZEdZ/s>                                          ϯ͕ϱϳϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŵĞƐDĂũŽƌŚƵƌĐŚ/EdZEdZ/s>                                     Ϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƚĞƌŽůŽƌŽƐĂŚƵƌĐŚ/EdZEdZ/s>                                     ϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĞƌŵĂŝŶĞWĂƌŝƐŚ/EdZEdZ/s>                                       ϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞ/EdZEdZ/s>                  ϭϲϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁƚŚĞƉŽƐƚůĞ^ĐŚŽŽů/EdZEdZ/s>                             ϯ͕ϰϰϵ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWƌŽŵƉƚ^ƵĐĐŽƌŚƵƌĐŚ;tĞƐƚǁĞ/EdZEdZ/s>                  ϭϲϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ZĞƐƵƌƌĞĐƚŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚ/EdZEdZ/s>                           ϭϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŚƌŝƐƚŝĂŶƌŽƚŚĞƌƐ^ĐŚŽŽů/EdZEdZ/s>                                  ϰ͕ϴϮϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨDĂƌǇŚƵƌĐŚ/EdZEdZ/s>                                  ϯϬ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿ/EdZEdZ/s>                            Ϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚKhEd/E'^^/^dEZ/s>              ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇKhEd/E'^^/^dEZ/s>                          ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚKhEd/E'^^/^dEZ/s>    ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿKhEd/E'^^/^dEZ/s>         ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶŽĨƌĐ^ĐŚŽŽůKhEd/E'^^/^dEZ/s>                       ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DĂƌŝĂ'ŽƌĞƚƚŝŚƵƌĐŚKhEd/E'^^/^dEZ/s>                     ϭϵϱ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŝŶƚĂƐKEdZd^Zs/^                                                    ϵϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,DK>ŽƵŝƐŝĂŶĂDŝƐĐĞůůĂŶĞŽƵƐZĞĐĞŝǀĂďůĞƐͲ/&ΘĂƉƚŝǀĞ                       ϵϲϰ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,DK>ŽƵŝƐŝĂŶĂDŝƐĐĞůůĂŶĞŽƵƐZĞĐĞŝǀĂďůĞƐͲ/&ΘĂƉƚŝǀĞ                       ϲϬϴ͘ϴϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐDƵƚƵĂůKŵĂŚĂWK^d'Z/s>^                                    Ϯϰϯ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dĞǆĂƐWĞƚƌŽůĞƵŵ^Dzd,E>^KE/EKD                                            ϭ͕ϴϰϭ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐDƵƚƵĂů/E^hZE>/D^Ͳ>>                                        ϮϰϮ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   hŶŝƚĞĚ,ĞĂůƚŚĐĂƌĞ/ŶƐ͘DŝƐĐĞůůĂŶĞŽƵƐZĞĐĞŝǀĂďůĞƐͲ/&ΘĂƉƚŝǀĞ               ϯ͕ϳϯϵ͘ϰϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                             ϭϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                             ϮϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                             ϯϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                             ϮϯϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdƵůĂŶĞĂƚŚŽůŝĐĞŶƚĞƌKEd/KE^Ͳ^hEz             ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐKhd^/KhE^>/E'                ϳϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌ'EZ>KEd/KE^                      ϯϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌWZzZEZK>>DEd^                     ϭϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌD/EdEEKEd/KE^                   ϭ͕ϳϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌKEd/KE^                               Ϯ͕Ϭϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZdZd/EKDͲ^,h>ZdZd^    ϳ͕ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚZĞƚƌĞĂƚĞŶƚĞƌZdZd/EKDͲ,K^W/d>/dz          ϯϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚzKzKhd,/E^hZE/E                                ϴϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚzKWZKWZdzZEd>/E                                ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚzKzKhd,/E^hZE/E                                ϱϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚzKd,>d/>'h/EKD                             ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƌŚƌŽƵŐŚDĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞWZ/^,&D/>zD/E/^dZz          ϭ͕ϲϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŽŶĂƚŝŽŶƐKEd/KE^                                                           ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŽŶĂƚŝŽŶƐKEd/KE^                                                           ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚKhEd/E'^^/^dEZ/s>           ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿh/>/E'K&&/&Z͘                      Ϯ͕ϯϲϯ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿD/^>>EKh^Z/s>^                          ϴϰ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚD/^>>EKh^Z/s>^                                   ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞZŽƐĂƌǇŚƵƌĐŚD/^>>EKh^Z/s>^                       ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿh/>/E'K&&/&Z͘                  Ϯ͕ϬϬϱ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚD/^>>EKh^Z/s>^           ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚůĞĂƌŝŶŐ                                           ϭ͕ϱϲϱ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐŽƌƌŽŵĞŽŚƵƌĐŚh/>/E'K&&/&Z͘                           ϳ͕Ϭϳϲ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚKhEd/E'^^/^dEZ/s>            ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚ/EdZEdZ/s>                         ϭϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚůĞĂƌŝŶŐ                                         ϯ͕ϴϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚD/^>>EKh^Z/s>^                                ϰϰϮ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   'ŽŽĚ^ŚĞƉŚĞƌĚŚƵƌĐŚD/^>>EKh^Z/s>^                                ϱϬϵ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                               ϭϱ͕ϭϰϰ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                               ϳϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                ϳ͕Ϯϲϯ͘ϳϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŶŶƵŶĐŝĂƚŝŽŶŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                              ϰϵϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĂKĨǀŝůĂŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                      Ϯϯϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                          ϭ͕ϱϳϭ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ>ĂŬĞŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                       ϭ͕ϳϴϵ͘ϰϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                                ϭϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶKĨDĂƌǇWĂƌŝƐŚ͕ǀŽŶĚĂůĞ/EdZEdZ/s>                        ϲ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DŽƐƚ,ŽůǇdƌŝŶŝƚǇŚƵƌĐŚ/EdZEdZ/s>                                  ϱϵϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ZĞƐƵƌƌĞĐƚŝŽŶKĨKƵƌ>ŽƌĚŚƵƌĐŚ/EdZEdZ/s>                           ϲϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨƚŚĞ>ĂŬĞ^ĐŚŽŽů/EdZEdZ/s>                                ϯ͕ϱϱϲ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌ^ĐŚŽŽů/EdZEdZ/s>                                     ϯ͕ϲϬϮ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŐŶĞƐŚƵƌĐŚ/EdZEdZ/s>                                          ϭϲϱ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŚƌŝƐƚdŚĞ<ŝŶŐŚƵƌĐŚ/EdZEdZ/s>                                    ϭϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĞƚĞƌ^ĐŚŽŽů;ŽǀŝŶŐƚŽŶͿ/EdZEdZ/s>                               ϯ͕ϲϯϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĞƚĞƌ^ĐŚŽŽů;ŽǀŝŶŐƚŽŶͿKhEd/E'^^/^dEZ/s>                 ϵϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇƌŽƐƐ^ĐŚŽŽů/EKD^dhEd                                               ϭ͕Ϯϯϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐDƵƚƵĂů/E^hZE>/D^Ͳ>>                                        ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞŽŶƚŝŶƵĂƚŝŽŶKd,ZZ/s>^                               ϲϲϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                            ϯ͕Ϯϲϵ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ZĂǇŵŽŶĚWĂƌŝƐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                      ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                      ϭϯϯ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                          Ϯ͕ϱϴϳ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                         ϯϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                         ϱϰ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ               ϴϳϵ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ               ϭϳϬ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                ϭ͕ϭϵϳ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ               ϯϱϮ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚĚŝŽĐĞƐĂŶĞŵĞƚĞƌŝĞƐKĨĨŝĐĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ               ϭϭ͕ϴϯϮ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                   Ϯϱ͘ϬϬ   z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚ/E^hZE>/D^Ͳ>>             ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ŚƌŝƐƚŽƉŚĞƌ,ŽŵĞƐ͕/ŶĐ͘ŐĞŶĐǇƐƐĞƐƐŵĞŶƚ                           ϭϮ͕ϱϵϴ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   EŽƚƌĞĂŵĞ,ĞĂůƚŚ^ǇƐƚĞŵŐĞŶĐǇ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                      ϯ͕ϴϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                   ϯ͕ϭϭϬ͘ϱϬ     z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                   Ϯ͕ϯϵϳ͘Ϭϭ     z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                   Ϯ͕ϴϭϬ͘Ϯϰ     z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                   ϭ͕ϴϯϯ͘ϯϰ     z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞƌͿWZ/^,^^^^DEd        ϯϬϲ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞƌͿWZ/^,^^^^DEd        ϲϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞƌͿWZ/^,^^^^DEd        ϮϮϬ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;<ĞŶŶĞƌͿWZ/^,^^^^DEd        ϯϭϳ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                        ϭ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                              ϳ͕ϴϰϰ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                   Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                    ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                         ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                       ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                          ϭ͕ϭϭϮ͘ϴϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         ϯϲϮ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         ϯϮϴ͘ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         ϰϯϲ͘ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                           ϭϬ͕ϴϴϬ͘ϰϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                 ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                  ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                      ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                     ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        Ϯ͕ϮϬϵ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       Ϯϭϭ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       Ϯϰϰ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƌǇYƵĞĞŶKĨsŝĞƚŶĂŵŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       ϮϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                      Ϯ͕ϴϬϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ           ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ            ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϯϴϱ͘ϰϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϭϳϲ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϮϬϰ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϳϵ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWZ/^,^^^^DEd                ϴϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚWZ/^,^^^^DEd                 ϭ͕Ϭϴϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWZ/^,^^^^DEd                         ϭϴϱ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWZ/^,^^^^DEd                         Ϯϵϲ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWZ/^,^^^^DEd                         ϭϮϮ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         ϭ͕ϭϵϱ͘ϴϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϯϮϰ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        ϯϳϲ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϵϬϱ͘ϴϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϭϱϬ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϭϴϲ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϮϰϮ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϴϵϵ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                  Ϯ͕ϯϰϬ͘ϳϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                      Ϯ͕ϰϵϰ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                           ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                            ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ĞŶŝůĚĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĞĐĂĚĞŵǇĨŽƌǆĐĞƉƚŝŽŶĂů>ĞĂƌŶĞƌƐEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ    ϭ͕ϭϵϮ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĞĐĂĚĞŵǇĨŽƌǆĐĞƉƚŝŽŶĂů>ĞĂƌŶĞƌƐEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ    ϭ͕ϯϴϬ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĞĐĂĚĞŵǇĨŽƌǆĐĞƉƚŝŽŶĂů>ĞĂƌŶĞƌƐEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ   ϯϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚdƌŝŶŝƚǇWZ/^,^^^^DEd                                   ϭϱ͕ϯϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚdƌŝŶŝƚǇWĂƌŝƐŚ^ŚĂƌĞ                                         Ϯ͕ϲϲϱ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚdƌŝŶŝƚǇWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                              ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚdƌŝŶŝƚǇWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                               ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚdƌŝŶŝƚǇWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                   ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚdƌŝŶŝƚǇWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                  ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                    ϭ͕ϰϲϳ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ        ϲϲϬ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ          ϭϱϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ              Ϯϵϱ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ&ƌĂŶĐŝƐyĂǀŝĞƌ^ĞĞůŽƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ             ϯϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿWZ/^,^^^^DEd                        Ϯϴϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿWZ/^,^^^^DEd                        ϮϳϬ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿWZ/^,^^^^DEd                        ϴϴϲ͘ϰϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿWZ/^,^^^^DEd                         Ϯ͕ϭϭϱ͘ϳϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;'ƌĞƚŶĂͿWZ/^,^^^^DEd                        Ϯϰϱ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWĂƌŝƐŚ^ŚĂƌĞ                             ϭ͕ϲϳϲ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                 ϲϲϬ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                   ϭϱϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                       Ϯϵϱ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                      ϯϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                       ϱ͕ϭϵϮ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                            ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϵϬϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                             ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                  ϯϳϬ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                 ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                  ϲϱϰ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWZ/^,^^^^DEd                       ϯϴϱ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWZ/^,^^^^DEd                        ϭ͕ϵϬϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϵϮϯ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  Ϯϲϲ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϯϯϲ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                  ϴϴϲ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                   ϭ͕ϴϮϱ͘ϳϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                   Ϯ͕ϯϬϱ͘ϴϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                              ϭ͕ϮϱϮ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                             ϰϯϱ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                             ϱϮϰ͘ϰϴ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        Ϯϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                         Ϯ͕ϳϴϬ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                         Ϯ͕Ϭϱϯ͘ϰϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                         Ϯ͕ϰϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                        ϲϯ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿWZ/^,^^^^DEd          ϯ͕ϳϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                         ϭϮ͕ϳϮϬ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                   ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ          Ϯ͕ϱϬϰ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ   ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ      ϭ͕ϱϬϬ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ     ϮϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ     ϰϭϲ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ     ϰϵϲ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ     ϱϳϱ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůĞƐƐĞĚ^ĂĐƌĂŵĞŶƚͲ^ƚ:ŽĂŶKĨƌĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ     Ϯϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿWĂƌŝƐŚ^ŚĂƌĞ                  ϭ͕ϵϰϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ       ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ        ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ            ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;WŽƌƚ^ƵůƉŚƵƌͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ           ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      ϭ͕ϲϬϵ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϮϮϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                     ϴϬ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      Ϯ͕ϰϳϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      ϯ͕ϱϭϱ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      ϰ͕Ϭϳϰ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇEĂŵĞKĨ:ĞƐƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                     Ϯϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϴϳ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϭ͕ϳϯϳ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕Ϭϭϲ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϱ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      Ϯϰϵ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϯϭϴ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϳϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϰϵ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϰϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϬϵ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϭ͘Ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϱ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϱ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϰ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϯϱϵ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϰϭϲ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϵϵ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϭ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϳϯ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϮϬϬ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϭ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϭ͘ϲϵ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϭϵ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϴϱ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      Ϯϭϱ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϲϯ͘ϳϱ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕ϱϰϵ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϴ͕ϳϰϯ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϴ͕ϵϴϳ͘ϱϬ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϭ͘ϲϱ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕ϴϮϰ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϯ͕ϴϭϵ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϭ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϵϭ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϬϱ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      Ϯϭ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕ϬϮϳ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕Ϯϭϳ͘ϭϱ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϭ͘ϳϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϲϯ͘ϱϴ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϭϰϱ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϮϬ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      Ϯϵϭ͘ϳϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϯϯϳ͘ϴϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϲϲϭ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕ϴϮϵ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϰ͕ϭϬϳ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϭ͕ϯϬϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϳϯϮ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϮϴϮ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϯϮϳ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϱϱ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϯϲϮ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϲϳϵ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϭ͕ϲϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϳϲϲ͘ϴϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϯ͕ϰϳϲ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϯ͕ϯϴϮ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       ϭ͕ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ       Ϭ͘ϴϱ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϯϳϴ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϰϯϳ͘ϴϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϯϭ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϯϵϮ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϰϱϰ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      ϰ͘ϰϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϮϳϮ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϯϭϳ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϰϯ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϭϳϲ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϮϬϰ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ      Ϯ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϱϮϵ͘ϲϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϲϭϯ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ     ϰϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϲϴϱ͘ϰϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϭϬϭ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϵϳ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                  ϱϳϲ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                  ϴϯϳ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                  ϵϲϵ͘ϵϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ         ϯ͕ϬϬϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ         Ϯ͕ϮϬϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ         ϭ͕ϵϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWZ/^,^^^^DEd             ϮϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ               ϭ͕ϱϲϭ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ              Ϯϵϯ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ              Ϯϰϴ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWZ/^,^^^^DEd              ϭ͕Ϭϱϭ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                   ϯ͕ϳϴϱ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ        Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ         ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ              ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ            ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ              ϵϮϲ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ               Ϯ͕ϳϵϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐ<ŝŶŐKĨ&ƌĂŶĐĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ               Ϯ͕ϯϳϱ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWĂƌŝƐŚ^ŚĂƌĞ                       ϯ͕ϯϳϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ            ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ             ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                   ϵ͕ϴϵϴ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                 ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϰϬϬ͘ϮϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   dƌĂŶƐĨŝŐƵƌĂƚŝŽŶKĨdŚĞ>ŽƌĚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϰϲϯ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s               ϯ͕ϮϱϬ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s               ϯ͕ϮϱϬ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s               ϭ͕ϯϬϵ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů/E^hZEZ/s               Ϭ͘ϴϱ   z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                 ϲϮϰ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ      ϲϮϰ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ        ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘'ĂďƌŝĞůdŚĞƌĐŚĂŶŐĞůŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ            ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                         Ϯ͕ϯϯϵ͘ϰϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        Ϯϭϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        Ϯϰϳ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        Ϯϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                             ϲ͕ϯϯϱ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘:ŽŚŶŽƐĐŽŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                      ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWĂƌŝƐŚ^ŚĂƌĞ               Ϯ͕ϭϱϱ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ    ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ     ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ         ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ        ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϲϲϰ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϳϴ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ          ϵϬ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ           ϲ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWĂƌŝƐŚ^ŚĂƌĞ                       ϲ͕ϳϭϯ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ            ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ             ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                 ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                           ϭϲ͕ϮϲϮ͘ϴϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                 ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                  ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                      ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                     ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                        Ϯ͕ϭϰϮ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       ϯϬϰ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘WŚŝůŝƉEĞƌŝŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       ϲϴϱ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   DĂƚĞƌŽůŽƌŽƐĂŚƵƌĐŚWZ/^,^^^^DEd                       ϭϴ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                     ϭϭ͕ϰϱϰ͘ϱϴ         z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ               ϭϮϱ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                  ϭ͕ϲϴϳ͘ϭϮ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϰϵϱ͘ϰϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϱϳϯ͘ϱϱ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ'ƵĂĚĂůƵƉĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϲϯ͘ϳϱ     z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWZ/^,^^^^DEd                 ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ&ĂŵŝůǇŚƵƌĐŚ;>ƵůŝŶŐͿWZ/^,^^^^DEd                 ϱϵϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                           ϵϳϭ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                 ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                  ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                      ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                     ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                 Ϯ͕ϴϭϭ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ      ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ       ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ           ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ          ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ             Ϯ͕ϰϬϰ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ            ϭϲϰ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ            ϭϵϬ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ             ϭ͕ϴϳϴ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ             ϯ͕ϭϯϲ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŚƌŝƐƚŽƉŚĞƌdŚĞDĂƌƚǇƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ             ϯ͕ϲϰϯ͘ϱϲ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                           ϭ͕ϬϵϬ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWZ/^,^^^^DEd                                     ϯϴϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ůĞƚƵƐŚƵƌĐŚWZ/^,^^^^DEd                                     Ϯϳϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϭ͕Ϭϲϲ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϭϬϬ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ^ƚ͘ŽŶĂǀĞŶƚƵƌĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                 ϭϭϱ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                   ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                          ϭ͕ϵϭϯ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                               ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                                ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                    ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                     ϵϵϯ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                     ϭϬϳ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ,ŽůǇ^ƉŝƌŝƚŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                     ϭϮϰ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϮϵͬϮϬϮϬ   ůů^ĂŝŶƚƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                           Ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϬͬϮϬϮϬ   ŚĂƚĞĂƵĚĞEŽƚƌĞĂŵĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                           ϵϬ͕ϯϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   tŚŝƚŶĞǇĂŶŬtŚŝƚŶĞǇĂŶŬ/ŶƚĞƌĞƐƚ/ŶĐŽŵĞ                               ϭϴϮ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ŚĂƚĞĂƵĚĞEŽƚƌĞĂŵĞĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                           ϮϬ͕ϱϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   EKtŚŝƚŶĞǇ/&&ƵŶĚϰďĂůĂŶĐĞĚƵĞƚŽ&ƵŶĚϭƚƌĂŶƐĨĞƌ                   ϵϬϬ͕ϬϬϬ͘ϬϬ          y
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘dŚĞƌĞƐĞĐĂĚĞŵǇĨŽƌǆĐĞƉƚŝŽŶĂů>ĞĂƌŶĞƌƐ/EKD^dhEd              ϯ͕ϵϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚKd,Z&hE^KEW                           Ϯϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽůEKd^Θ>KE^                          Ϯϱ͕ϬϬϬ͘ϬϬ         z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽůEKd^Θ>KE^                           Ϯ͕ϭϯϰ͘ϯϵ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇEKd^Θ>KE^                                               ϭ͕ϱϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚKd,Z&hE^KEW                         ϴ͕Ϯϲϰ͘Ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ĂƚŚĞƌŝŶĞKĨ^ŝĞŶĂŚƵƌĐŚKd,Z&hE^KEW                         ϯ͕ϱϰϭ͘ϴϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚKd,Z&hE^KEW                               ϭϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚKd,Z&hE^KEW                          ϭ͕ϰϮϴ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚKd,Z&hE^KEW                                     ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿEKd^Θ>KE^                                 Ϯ͕ϳϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿEKd^Θ>KE^                                 ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿ><Θ/E/E,KDD/^^/KE^                 ϰϴϬ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘WĞƚĞƌŚƵƌĐŚ;ZĞƐĞƌǀĞͿKhEd/E'^^/^dEZ/s>             ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŐŶĞƐŚƵƌĐŚKd,Z&hE^KEW                                      ϴ͕ϯϯϯ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŐŶĞƐŚƵƌĐŚKd,Z&hE^KEW                                     ϴϬϱ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŐŶĞƐŚƵƌĐŚKd,Z&hE^KEW                                      ϯ͕ϱϴϯ͘ϵϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽů>'>Z/s>^                      ϭϭϱ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   EŽƚƌĞĂŵĞ^ĞŵŝŶĂƌǇWZKWZdzZEd>/E                                 ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿ^>ZzZ/DhZ^DEd^               Ϯ͕ϰϬϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ^>ZzZ/DhZ^DEd^                          Ϯ͕ϰϬϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶŽĨKƵƌ>ĂĚǇDŝƐƐŝŽŶD/>/dZzK>>d/KE                      Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿd,K>/hE/sZ^/dzK&DZ/                ϱϵϮ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿWdZΖ^WEK>>d/KE                      ϵϴϯ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                      ϭ͕ϯϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚD/>/dZzK>>d/KE                              ϭϴϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽĂŶKĨƌĐŚƵƌĐŚKEd/KE^                                        ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚWdZΖ^WEK>>d/KE                   ϮϬϳ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^               ϯϲ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚKEd/KE^                                  ϰϲ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚdŚĞtŽƌŬĞƌŚƵƌĐŚD/>/dZzK>>d/KE                        ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿKEd/KE^                                   Ϯϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿd,K>/,KDD/^^/KE                       ϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿZ>/'/Kh^Zd/ZDEd                        ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿD/>/dZzK>>d/KE                         ϱϱϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿWdZΖ^WEK>>d/KE                    Ϯϲϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇŚƵƌĐŚ;'ƌĞƚŶĂͿ/^,KW^WW>                              Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞĂƚŚŽůŝĐ^ĐŚŽŽůƐŽůůĞĐƚŝŽŶ     ϭ͕ϰϲϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞ/^,KW^WW>                 Ϯϭϳ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞ,K>z>EKEd/KE^            ϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞWdZΖ^WEK>>d/KE       Ϯϱϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞD/>/dZzK>>d/KE            ϰϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞZ>/'/Kh^Zd/ZDEd            ϭ͕ϲϬϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞ><Θ/E/E,KDD/^^/KE^   ϰϴϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                 ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞ,ŽůǇZŽƐĂƌǇŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^         ϵϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚƐ͘WĞƚĞƌŶĚWĂƵůŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                 ϰϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ĞƌŽŵĞŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                           ϭ͕ϰϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ZĂǇŵŽŶĚΘ^ƚ͘>ĞŽdŚĞ'ƌĞĂƚWĂƌŝƐŚ><Θ/E/E,KDD/^^/KE^     ϳϰϭ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƌŬŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                            ϭϲϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘dŚŽŵĂƐŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                          ϯϱϱ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ƐƐƵŵƉƚŝŽŶŽĨKƵƌ>ĂĚǇDŝƐƐŝŽŶ><Θ/E/E,KDD/^^/KE^             ϭϭϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽƐĞƉŚŚƵƌĐŚ;ůŐŝĞƌƐͿ><Θ/E/E,KDD/^^/KE^                ϲϳϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨdŚĞŶŐĞůƐŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^              ϮϮϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘dĂŵŵĂŶǇDĂŶŽƌ/EdZEdZ/s>                                    ϭ͕ϵϳϬ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   :ĞƐƵŝƚ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                                   ϰ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿ/EdZEdZ/s>                ϭϮϲ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚƐ͘WĞƚĞƌŶĚWĂƵůŚƵƌĐŚ/EdZEdZ/s>                          ϭϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽĂŶŽĨƌĐ^ĐŚŽŽů/EdZEdZ/s>                               ϯ͕ϯϱϵ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚ/EdZEdZ/s>                          ϲϰϳ͘ϱϬ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐ/EdZEdZ/s>                                     ϵϮϵ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ZŝƚĂŚƵƌĐŚ;,ĂƌĂŚĂŶͿ/EdZEdZ/s>                           ϭϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                          ϰ͕ϬϵϬ͘Ϯϱ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽů/EdZEdZ/s>                     ϯ͕ϰϯϴ͘ϳϱ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇ^ĐŚŽŽů;'ƌĞƚŶĂͿ/EdZEdZ/s>                          ϭ͕ϲϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶŐĞůĂDĞƌŝĐŝ^ĐŚŽŽů/EdZEdZ/s>                             ϰ͕ϲϲϯ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌ^ĐŚŽŽů/EdZEdZ/s>                            ϯ͕Ϯϳϳ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ƐĐĞŶƐŝŽŶŽĨKƵƌ>ŽƌĚ^ĐŚŽŽů/EdZEdZ/s>                         ϯ͕ϭϵϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐ/EdZEdZ/s>            ϯϱ͕Ϯϯϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘WŝƵƐyŚƵƌĐŚ/EdZEdZ/s>                                   ϰϭϱ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿ/EdZEdZ/s>                     ϲ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ĂŶĞĞŚĂŶƚĂůŚƵƌĐŚKhEd/E'^^/^dEZ/s>             ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;>ƵůŝŶŐͿKhEd/E'^^/^dEZ/s>   ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ŝǀŝŶĞDĞƌĐǇKhEd/E'^^/^dEZ/s>                           ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůŝǌĂďĞƚŚŶŶ^ĞƚŽŶ^ĐŚŽŽůKhEd/E'^^/^dEZ/s>         ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿKhEd/E'^^/^dEZ/s>   ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿKhEd/E'^^/^dEZ/s>   ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐWZW//E^hZE              ϭϮϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐWZW//E^hZE              ϲϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ĞƌŶĂƌĚDĂŶŽƌWZW//E^hZE                                     ϴϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚDĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞDZZ/'WZWZd/KE      ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚK^&/E'ZWZ/Ed/E'/EKD                       ϰϲϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚKZW/EKD                                  ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ŚƌŝƐƚŽƉŚĞƌ,ŽŵĞƐ͕/ŶĐ͘ZEdZ/s>^                                 ϯ͕ϲϴϵ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ŚƌŝƐƚŽƉŚĞƌ,ŽŵĞƐ͕/ŶĐ͘ZEdZ/s>^                                 ϯ͕ϲϴϵ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚKd,Z&hE^KEW                                   ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚKd,Z&hE^KEW                         ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚD/^>>EKh^Z/s>^                     ϰϰϮ͘ϲϭ
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EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚh/>/E'K&&/&Z͘                          ϭ͕ϴϴϰ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐZEdZ/s>^                  ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐ/EdZEdZ/s>                                   ϰ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐ><Θ/E/E,KDD/^^/KE^                         Ϯϴϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   dŚĞ'ĂƚŚĞƌŝŶŐͲ^ƚ͘>ŽƵŝƐĞĚĞDĂƌŝůůĂĐKd,Z&hE^KEW                  ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨWĞƌƉĞƚƵĂů,ĞůƉ^ĐŚŽŽů;<ĞŶŶĞƌͿ/EdZEdZ/s>              ϭ͕ϲϴϱ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇŽĨWĞƌƉĞƚƵĂů,ĞůƉ^ĐŚŽŽů;<ĞŶŶĞƌͿ/EdZEdZ/s>             ϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                           ϰϲϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                 ϭϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ĞŶĞĚŝĐƚŚƵƌĐŚ><Θ/E/E,KDD/^^/KE^                           ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ><Θ/E/E,KDD/^^/KE^                                              ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ZŽƐĂůŝĞŚƵƌĐŚWdZΖ^WEK>>d/KE                                ϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ZŽǇĂůsĞŶĚŝŶŐsE/E'D,/E/E                                          ϳϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ZŽǇĂůsĞŶĚŝŶŐsE/E'D,/E/E                                          ϱϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ZŽǇĂůsĞŶĚŝŶŐsE/E'D,/E/E                                          ϭϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ZŽǇĂůsĞŶĚŝŶŐsE/E'D,/E/E                                          ϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ZŽǇĂůsĞŶĚŝŶŐsE/E'D,/E/E                                          ϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ZŽǇĂůsĞŶĚŝŶŐsE/E'D,/E/E                                          ϴϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                    ϭϲ͕ϴϲϴ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                          Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                           ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                              ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ůĞŵĞŶƚKĨZŽŵĞŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                           ϭ͕ϲϬϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                         ϳ͕ϳϯϮ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                        ϴϬϰ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                         ϭ͕Ϭϭϯ͘Ϯϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                         Ϯ͕ϲϮϭ͘ϳϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                         ϯ͕ϯϮϰ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                         ϰ͕ϭϴϵ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                        ϯϱϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                            Ϯϯ͕ϯϯϱ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŽŵŝŶŝĐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                      ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ͕ƌĐŚ͘KĨEĞǁKƌůĞĂŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                   ϭ͕ϵϳϮ͘ϳϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 Ϯϱϵ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϱϴϮ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                 ϳϳϴ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                 ϴϬϯ͘ϰϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                  ϭ͕ϳϵϯ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ^ŚĂƌĞ                      ϲ͕ϴϮϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇKĨWĂĚƵĂŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                 ϯ͕ϯϭϮ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϰ͕ϭϳϰ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϯϴϯ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϭϲϭ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϰϯϰ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                  Ϯ͕ϳϳϬ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                                  Ϯ͕ϯϮϲ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                     ϭϮ͕ϵϲϴ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                           Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                            ϲϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                 ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                               ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                           ϲϰϬ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘&ƌĂŶĐŝƐyĂǀŝĞƌŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                           ϯϭϳ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ƵĚĞŽŵŵƵŶŝƚǇĞŶƚĞƌWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                  ϭ͕ϰϱϰ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ƵĚĞŽŵŵƵŶŝƚǇĞŶƚĞƌ/E^hZEZ/s                                Ϯ͕ϱϱϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                               ϭ͕ϵϰϵ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                              Ϯϱϱ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                              ϯϭϴ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                   ϰ͕Ϭϳϭ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                        ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                         ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                             ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                            ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ĂĐƌĞĚ,ĞĂƌƚKĨ:ĞƐƵƐŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                               Ϯ͕ϲϭϭ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;sŝŽůĞƚͿ^,KK>sKh,Z^                        ϳϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                            ϯ͕ϬϮϬ͘ϭϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                            ϯ͕ϱϲϳ͘Ϭϴ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                            ϰ͕ϳϬϴ͘ϳϴ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘^ĐŚŽůĂƐƚŝĐĂ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                            Ϯ͕ϬϬϬ͘ϬϬ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                       ϲ͕ϮϰϬ͘ϰϴ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                       ϯ͕ϳϵϵ͘Ϭϯ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                       ϯ͕Ϯϯϵ͘Ϭϵ       z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽůEK^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                      ϯϱϴ͘ϯϰ      z
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                       ϯ͕ϬϮϲ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      ϭϴϱ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      Ϯϭϰ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                      ϭϮϲ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶdŚĞĂƉƚŝƐƚŚƵƌĐŚ;ĚŐĂƌĚͿWZ/^,^^^^DEd                     ϭϲϳ͘Ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWĂƌŝƐŚ^ŚĂƌĞ                                          Ϯ͕Ϭϭϴ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                               ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                                ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                    ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                   ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                      ϭ͕ϱϵϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                     ϭϴϯ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                     ϮϭϮ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘:ŽŚŶKĨdŚĞƌŽƐƐWZ/^,^^^^DEd                                    ϭϵ͕Ϭϳϯ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨ>ŽƵƌĚĞƐŚƵƌĐŚ;^ůŝĚĞůůͿWZ/^,^^^^DEd                      ϱ͕ϳϳϬ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐŐĞŶĐǇƐƐĞƐƐŵĞŶƚ                                          ϭϱϵ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇΖƐ'ĂƌĚĞŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                     ϭϰ͕ϰϱϳ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇΖƐ'ĂƌĚĞŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                      ϲ͕ϬϳϮ͘Ϭϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇΖƐ'ĂƌĚĞŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                      ϵ͕ϭϲϯ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘ŶƚŚŽŶǇΖƐ'ĂƌĚĞŶƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                     ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                           ϳϴϵ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                            ϭ͕ϭϵϯ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                            ϭ͕ϰϬϳ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   WƌŽũĞĐƚ>ĂǌĂƌƵƐŐĞŶĐǇ/ŶƐƵƌĂŶĐĞ                                           ϱϳϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                  ϭ͕ϰϰϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                           ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ   ϵϯ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                             ϭ͕ϳϬϳ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                             Ϯ͕ϱϱϴ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚ^ĐŚŽŽů/ŶƐƵƌĂŶĐĞ                             Ϯ͕Ϯϵϰ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                ϭϯ͕ϭϲϮ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                      Ϯ͕ϲϰϬ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ              Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ   ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                       ϲϯϴ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                                   ϭ͕ϭϴϯ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                                 ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                    Ϯ͕ϭϵϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                   ϴϱϰ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                   ϳϲϲ͘ϰϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƚƚŚĞǁdŚĞƉŽƐƚůĞŚƵƌĐŚWZ/^,^^^^DEd                                                   Ϯ͕ϱϮϴ͘Ϭϱ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                    Ϯϳϳ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                     ϭ͕ϵϮϮ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌǇKĨdŚĞŶŐĞůƐŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                    Ϯϯϵ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                               ϭ͕ϴϳϱ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                              ϭϬϴ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                              ϭϮϱ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                              ϭϮϰ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                                                   ϭ͕ϭϭϱ͘ϵϮ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                                        ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                                                         ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                                             ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘'ĞƌƚƌƵĚĞŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                                            ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         KƵƌ>ĂĚǇKĨWĞƌƉĞƚƵĂů,ĞůƉŚƵƌĐŚ;ĞůůĞŚĂƐƐĞͿWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                           ϭ͕ϬϬϬ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                                  ϳϴϭ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                                  ϭϭ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                                   ϲ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                                                      ϵϮϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                                            ϭ͕ϯϮϬ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWƌŝĞƐƚƵƚŽ/ŶƐƵƌĂŶĐĞ                                                             ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWƌŝĞƐƚZĞƚŝƌĞŵĞŶƚ                                                                 ϱϵϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                                                ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                                            Ϯϱϳ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                                            ϲϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                                            Ϯϱϳ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                                            ϲϭ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘DĂƌŬŚƵƌĐŚWZ/^,^^^^DEd                                                                 ϭϯϳ͘Ϯϰ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ^ŚĂƌĞ                                                     ϭϬ͕ϳϳϭ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWƌŝĞƐƚŽŶǀŽĐĂƚŝŽŶ                                               ϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                  Ϯ͕ϱϮϮ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                 Ϯϭϵ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                 ϯϵϰ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘WĂƚƌŝĐŬŚƵƌĐŚ;EĞǁKƌůĞĂŶƐͿWZ/^,^^^^DEd                                                ϰϵϭ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘:ŽŚŶƚŚĞĂƉƚŝƐƚŚƵƌĐŚ;EK>ͿWĂƌŝƐŚ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ                                         ϯϭϳ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘:ŽŚŶƚŚĞĂƉƚŝƐƚŚƵƌĐŚ;EK>ͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                               ϭϱϯ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘:ŽŚŶƚŚĞĂƉƚŝƐƚŚƵƌĐŚ;EK>ͿWĂƌŝƐŚ/ŶƐƵƌĂŶĐĞ                                                ϭ͕ϳϲϲ͘ϰϳ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘:ŽŚŶƚŚĞĂƉƚŝƐƚŚƵƌĐŚ;EK>ͿWĂƌŝƐŚ^ŚĂƌĞ                                                   Ϯϵϳ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ĂĐƌĞĚ,ĞĂƌƚŚƵƌĐŚWĂƌŝƐŚ^ŚĂƌĞ                                                                   Ϯ͕ϭϰϴ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ĂĐƌĞĚ,ĞĂƌƚŚƵƌĐŚWZ/^,^^^^DEd                                                             ϰϭϴ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘dŚĞƌĞƐĂKĨǀŝůĂŚƵƌĐŚWƌŝĞƐƚ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                               ϱϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐKhd^/KhE^>/E'                                     ϭϮϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdKEd/KE^Ͳ^hEz                                                     ϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚhEKEĞǁŵĂŶĞŶƚĞƌKEd/KE^                                                Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐKhd^/KhE^>/E'                                     Ϯϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         ^ƚ͘,ƵďĞƌƚŚƵƌĐŚĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚͲ>ŽĂŶWĂǇŵĞŶƚ                                            ϴϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         WŽƉĞ:ŽŚŶWĂƵů//,ŝŐŚ^ĐŚŽŽůĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚͲ>ŽĂŶWĂǇŵĞŶƚ                                ϱϲϭ͘ϰϰ      z
EK    KƉĞƌĂƚŝŶŐ                    Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ         KƵƌ>ĂĚǇŽĨWƌŽŵƉƚ^ƵĐĐŽƌtĞƐƚǁĞŐŽĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚͲ>ŽĂŶWĂǇŵĞŶƚ                           ϲϱϬ͘ϬϬ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭͬϮϬϮϬ          EK&dWĂǇƌŽůůĐĐŽƵŶƚ&dWĂǇƌŽůůƚŽKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌ                                         ϭϮϰ͘ϴϲ      y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮͬϮϬϮϬ          EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐĐĐŽƵŶƚϳ͘Ϯ͘ϮϬ&ddƌĂŶƐĨĞƌĨƌŽŵtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐ                          ϮϱϬ͕ϬϬϬ͘ϬϬ          y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϲͬϮϬϮϬ          dƵůĂŶĞĂƚŚŽůŝĐĞŶƚĞƌĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚdĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐϳ͘ϭͲϳ͘ϲ     Ϯ͕ϰϴϬ͘ϬϬ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϳͬϮϬϮϬ          DĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚ&ĂŵŝůǇ>ŝĨĞtĞWĂǇĚĞƉŽƐŝƚϳ͘ϳ͘ϮϬϮϬ    ϲϰϬ͘ϴϭ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϴͬϮϬϮϬ          EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐĐĐŽƵŶƚϳ͘ϴ͘ϮϬ&ddƌĂŶƐĨĞƌ                                                 ϭϬ͕ϬϬϬ͘ϬϬ         y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϴͬϮϬϮϬ          EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐĐĐŽƵŶƚϳ͘ϴ͘ϮϬ&dtŝƌĞĨƌŽŵtŚŝƚKƉ                                        ϯϬ͕ϱϬϬ͘ϬϬ         y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭϮͬϮϬϮϬ         dƵůĂŶĞĂƚŚŽůŝĐĞŶƚĞƌĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚdĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐϳ͘ϳͲϳ͘ϭϮ     ϲϲϬ͘ϬϬ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭϰͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐĐĐŽƵŶƚϳ͘ϭϰ͘ϮϬ,dƌĂŶƐĨĞƌͲ&dĨƌŽŵtŚŝƚKƉ                             ϰϮ͕ϬϬϬ͘ϬϬ         y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭϰͬϮϬϮϬ         DĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚ&ĂŵŝůǇ>ŝĨĞtĞWĂǇĚĞƉŽƐŝƚϳ͘ϭϰ͘ϮϬϮϬ    ϯ͕ϬϬϴ͘ϳϭ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭϰͬϮϬϮϬ         ŵƉůŽǇĞĞdŽƌĞĐŽƌĚƌĞƚƵƌŶĞĚĚŝƌĞĐƚĚĞƉŽƐŝƚĨŽƌ^D                                                  ϭ͕ϱϯϱ͘Ϯϲ       y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭϱͬϮϬϮϬ         zKĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚzKƉĂǇƉĂůĚĞƉŽƐŝƚ                                       ϱϴ͘Ϯϲ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭϳͬϮϬϮϬ         ĂƉƚŝǀĞ;,ĂŶĐŽĐŬtŚŝƚŶĞǇEKͲĐĐŽƵŶƚǆϯϬϱϴͿdŽƌĞĐŽƌĚKƚƌĂŶƐĨĞƌƚŽ&d                    Ϯϴ͕ϮϬϰ͘ϰϲ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϭϳͬϮϬϮϬ         dƵůĂŶĞĂƚŚŽůŝĐĞŶƚĞƌĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚdĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐϳ͘ϭϯͲϳ͘ϭϳ     ϭ͕ϰϲϴ͘ϬϬ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮϭͬϮϬϮϬ         DĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚ&ĂŵŝůǇ>ŝĨĞtĞWĂǇĚĞƉŽƐŝƚ             ϭϳϮ͘ϲϱ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮϭͬϮϬϮϬ         zKWĂǇƉĂůĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚzKWĂǇWĂůĚĞƉŽƐŝƚ                                                  ϰϭϵ͘ϯϴ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮϭͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐĐĐŽƵŶƚtŚŝƚKƉ͘ƚŽ&ddƌĂŶƐĨĞƌϳ͘Ϯϭ͘ϮϬ                                    Ϯϱϲ͕ϬϬϬ͘ϬϬ          y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮϮͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐĐĐŽƵŶƚϳ͘ϮϮ͘ϮϬtŚŝƚKƉƚŽ&ddƌĂŶƐĨĞƌ                                     ϯϬ͕ϬϬϬ͘ϬϬ         y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮϰͬϮϬϮϬ         sĂƌŝŽƵƐƉĂǇĞĞƐƚŚƌŽƵŐŚdƵůĂŶĞĂƚŚŽůŝĐĞŶƚĞƌKEd/KE^                                         ϭ͕ϲϵϮ͘ϬϬ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮϴͬϮϬϮϬ         DĂƌƌŝĂŐĞΘ&ĂŵŝůǇ>ŝĨĞĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚ&ĂŵŝůǇ>ŝĨĞtĞWĂǇĚĞƉŽƐŝƚ              ϲ͕Ϭϴϱ͘ϯϳ
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϮϵͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐĐĐŽƵŶƚϳ͘Ϯϵ͘ϮϬ,&ddƌĂŶƐĨĞƌ                                            ϴϬ͕ϬϬϬ͘ϬϬ         y
EK    ŚĞĐŬŝŶŐ                     ϵϲϴϬ   ϳͬϯϭͬϮϬϮϬ         dƵůĂŶĞĂƚŚŽůŝĐĞŶƚĞƌĚĞƉƚ͘ĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐdŽƌĞĐŽƌĚdĐƌĞĚŝƚĐĂƌĚĚĞƉŽƐŝƚƐϳ͘ϮϱͲϳ͘ϯϭ    ϰϯϭ͘ϬϬ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ     ϵϲϮϱ   ϳͬϯϭͬϮϬϮϬ         EK&dKƉĞƌĂƚŝŶŐĐĐŽƵŶƚZĞƉůĞŶŝƐŚŵĞŶƚ                                                        ϭ͕Ϭϰϭ͘Ϯϱ       y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯͬϮϬϮϬ          EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϭϱ͕ϰϭϳ͘ϰϵ         y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϬͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϰϭ͕ϰϬϮ͘ϵϴ         y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϱͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                            ϵ͕ϬϯϬ͘ϲϬ       y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϳͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϰϭ͕ϲϭϱ͘ϯϱ         y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϮͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϱϭ͕ϵϵϬ͘ϭϵ         y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϰͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϲϮ͕ϲϱϱ͘ϯϰ         y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϵͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϭϬϱ͕ϵϰϱ͘ϯϴ          y
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϭͬϮϬϮϬ         EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϭϯ͕ϰϭϱ͘ϲϳ         y
EK    ZΘKDW^^/KEKhEd   ϮϰϬϮ        ϬϳͬϮϵͬϮϬϮϬ   EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐͲĐĐŽƵŶƚ&ƵŶĚŝŶŐ                                                           ϳϲ͘ϰϰ     y
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϭͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϴϭ͘ϰϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϭͬϮϬϮϬ   ,K>z^W/Z/dŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϭϲϮ͘ϲϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϭͬϮϬϮϬ   ^d͘DZz^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϳ͕Ϯϯϵ͘Ϯϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   ^/Ed,hZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     ϰϬϳ͘ϲϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     ϰϭϱ͘ϱϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   Z,/^,KWZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     ϭϵϲ͘ϵϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   ^d:K,EK^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     ϭϭϵ͘ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϭϰϬ͘Ϯϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   EϭϱϲKhZ>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     ϵϱϲ͘ϱϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   KED/EEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                        ϰ͕ϴϬϬ͘ϭϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   ^/EdW/h^yŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     ϭϱ͕ϵϭϮ͘ϱϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   d,K>/KDŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϭ͕ϳϵϬ͘ϬϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   ^Khd,ZEKDŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϭ͕ϱϯϲ͘ϭϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϮͬϮϬϮϬ   ^/EdW/h^yŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϭ͕ϲϱϭ͘ϳϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϯͬϮϬϮϬ   ^d͘WdZ/<ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϮϱϬ͘ϲϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϯͬϮϬϮϬ   EtKZ>E^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                       ϱ͕ϱϴϭ͘ϴϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϳͬϮϬϮϬ   d,^K/dzŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                       ϭ͕ϱϵϯ͘ϲϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϳͬϮϬϮϬ   ZKDEd,K>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     Ϯϲ͕ϳϱϯ͘ϯϬ         y
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϴͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      Ϯϰϵ͘ϰϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ          ϳͬϵͬϮϬϮϬ   WZK:d>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϭ͕ϰϬϱ͘Ϭϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ         ϳͬϭϬͬϮϬϮϬ   ^d͘'Z/>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϯϵϳ͘ϳϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ         ϳͬϭϬͬϮϬϮϬ   Z,/^,KWZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                     ϭϵϲ͘ϵϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ         ϳͬϭϬͬϮϬϮϬ   ^d͘Ed,KEzŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϯϮ͘ϭϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ         ϳͬϭϬͬϮϬϮϬ   ZKDEd,K>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                                      ϭ͕ϭϱϲ͘ϵϴ
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EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϬͬϮϬϮϬ   ^KE,ZsŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϲ͕ϳϬϲ͘ϳϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϬͬϮϬϮϬ   ^d͘Ed,KEz͛ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϴ͕ϮϬϬ͘ϯϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϬͬϮϬϮϬ   ZKDEd,K>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϲ͕ϵϲϴ͘ϮϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϰͬϮϬϮϬ   ^d͘E/>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϵ͕ϳϮϭ͘ϯϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘DZz^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϳ͕ϭϬϳ͘ϵϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   EKdZKD^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϲ͕ϲϰϮ͘Ϭϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ,Z/^dKW,ZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϵ͕Ϭϲϯ͘ϳϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   WKW:K,EWŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϳ͕ϯϳϭ͘ϱϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘KD/E/ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϲ͕ϰϵϳ͘ϰϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘DZzD'ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϱ͕ϭϵϰ͘ϳϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϰ͕ϱϮϲ͘ϵϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d>dh^^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϲ͕ϬϮϰ͘ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘EZtŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϱ͕ϯϱϳ͘Ϭϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^dDZ'ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϵ͕ϮϲϬ͘ϴϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭϵ͕Ϭϯϳ͘ϰϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘Ddd,tŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭϯ͕ϵϮϴ͘ϯϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   Z,/^,KWZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϳ͕ϰϬϲ͘ϲϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘WdZ^^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϯ͕ϯϴϮ͘ϱϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘&ZE/^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭϯ͕ϲϮϮ͘ϴϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   Z,/^,KW^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϵ͕ϴϵϮ͘ϵϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d^,K>^d/ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϵ͕ϯϵϲ͘ϮϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ,Z/^dKW,ZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭϭ͕Ϭϲϱ͘ϲϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘h'h^d/EŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϬ͕ϰϵϯ͘ϴϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   >Z/KE,ZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϯ͕ϱϱϬ͘ϱϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘E/>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϰϰϱ͘ϮϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   EKdZKD^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϰϬϲ͘ϲϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^dDZ'ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϯϴϲ͘ϵϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϰϱϳ͘ϳϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘DZd,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϱϳϭ͘ϱϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   >Kh/^/EKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϱϱϯ͘ϰϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϱϬϯ͘ϭϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϯϳϳ͘Ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^Z,ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϯϯ͘Ϭϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   DZzYhEKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϮϯ͘ϴϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϴϭ͘ϰϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ,K>z^W/Z/dŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭϰϱ͘ϴϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘'Es/sŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϯϳϯ͘ϰϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘DZzK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϮϮϮ͘ϵϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   dZE^&/'hZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϳϭ͘ϱϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   DK^d,K>zdZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϱϵϬ͘ϭϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   <E/',d^K&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϭϴϵ͘ϱϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^dDZ'ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϭ͕ϭϲϵ͘ϬϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   DZzYhEKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕Ϭϵϯ͘ϱϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϮϮϲ͘Ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘Ddd,tŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϯ͕Ϭϴϳ͘ϲϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘&ZE/^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     Ϯ͕Ϭϭϱ͘ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   KZWh^,Z/^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϱϳϭ͘ϰϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘Z/ddŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕Ϭϰϲ͘ϯϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d>h<d,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϲϰϭ͘ϯϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘:EŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϲϯϵ͘ϯϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘E^>DŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϲϮϰ͘ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^d͘DZzD'ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϲϱϴ͘ϱϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   d,K>/,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϳϯϰ͘ϯϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   DZzYhEKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϲϴϳ͘ϲϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϱͬϮϬϮϬ   ^E^/KEK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϲϴϱ͘ϱϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϲͬϮϬϮϬ   ^d͘h'h^d/EŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϯϵ͘ϬϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϲͬϮϬϮϬ   ^Khd,ZEKDŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϱϯϲ͘ϭϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϲͬϮϬϮϬ   KED/EEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ      ϰ͕ϲϯϬ͘ϯϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϳͬϮϬϮϬ   Z,/^,KWZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϵϲ͘ϵϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϳͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭϱϬ͘ϳϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϳͬϮϬϮϬ   ^d:K,EK^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϭϵ͘ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϳͬϮϬϮϬ   ^d͘WdZ/<ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    Ϯϯϯ͘ϯϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϳͬϮϬϮϬ   EtKZ>E^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϲ͕ϯϱϱ͘ϳϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϳͬϮϬϮϬ   EϭϱϲKhZ>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϵϱϲ͘ϱϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϭϳͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϰϭϱ͘ϱϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϬͬϮϬϮϬ   ^d͘&ZE/^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    Ϯϳ͘Ϭϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϬͬϮϬϮϬ   EϭϱϳKhZ>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϮϲϬ͘Ϯϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϬͬϮϬϮϬ   ^/EdW/h^yŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϴϴ͘ϰϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϬͬϮϬϮϬ   d,K>/KDŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϳϴϳ͘ϵϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϬͬϮϬϮϬ   ^/EdW/h^yŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϵϯϳ͘ϭϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϬͬϮϬϮϬ   ^d͘,Z>^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    Ϯϭ͕ϴϵϰ͘ϬϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϮͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϴϭ͘ϰϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϮͬϮϬϮϬ   d,^K/dzŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϭ͕ϱϵϯ͘ϲϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϮͬϮϬϮϬ   ZKDEd,K>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϲ͕ϱϵϳ͘Ϭϴ y
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϯͬϮϬϮϬ   WZK:d>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϰϮϯ͘ϴϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   Z,/^,KWZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϵϲ͘ϵϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϰϮϯ͘ϰϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   ^d͘Z/dΖ^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϲϲϭ͘ϲϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   ^d͘'Z/>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϳϲϬ͘ϰϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   ^d͘&ZE/^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϭ͕ϭϭϭ͘ϱϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   EϭϱϳKhZ>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϱϳϵ͘ϱϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   ^d>Kh/^dŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϯ͕ϵϬϰ͘ϵϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   ^d͘Ed,KEzΖŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϳ͕ϳϯϴ͘ϳϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   EϭϱϳKhZ>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϵ͕ϮϱϮ͘ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϰͬϮϬϮϬ   ^KE,ZsŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϳ͕ϯϲϬ͘ϯϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϳͬϮϬϮϬ   ^d^WdZΘŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     Ϯ͕ϭϳϮ͘ϳϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϴͬϮϬϮϬ   KE'K&>>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭϰϭ͘ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϮϵͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    Ϯϰϵ͘ϰϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^d͘h'h^d/EŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϯϵ͘ϬϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ,K>z&D/>zŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    Ϯϰϵ͘ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^d͘:K,Ed,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϳϯ͘ϳϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϯϯϵ͘Ϭϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϰϭϬ͘ϳϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^d:K^W,,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϰϮϬ͘Ϭϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^d>h<d,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϱϬϱ͘ϵϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^Z,ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϴϰϰ͘ϭϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^Khd,ZEKDŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϭ͕ϱϯϲ͘ϭϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϭ͕ϱϵϱ͘ϰϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^d͘Ddd,tŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϭ͕ϳϲϮ͘Ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   DZzYhEKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    Ϯ͕ϴϮϵ͘ϳϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   KED/EEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ      ϰ͕ϲϵϴ͘ϮϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^d͘:KEK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ     ϵ͕ϰϲϰ͘ϳϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ^d͘h'h^d/EŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   ϭϬ͕ϱϴϴ͘ϭϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   ZKDEd,K>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϭ͕ϰϱϮ͘ϳϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   /DDh>dŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϭ͕ϵϱϮ͘ϴϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ   Z,/^,KWŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ   Ϯϵ͕ϭϱϮ͘Ϯϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ     Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KE'K&^d͘ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ    ϯϳ͘ϱϬ
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EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘:K,/DŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϱϵ͘ϴϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d:K,EK^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϭϵ͘ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϰϱ͘ϱϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,K>z^W/Z/dŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭϱϰ͘ϰϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘DZzK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭϱϴ͘ϯϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   dZE^&/'hZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϳϭ͘ϱϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘:K,Ed,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϴϯ͘Ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   Z,/^,KWZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϵϲ͘ϵϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘DZzD'ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϮϭϬ͘ϰϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,hZ,^d,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 Ϯϭϭ͘Ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,K>zEDK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 Ϯϲϰ͘ϯϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘Ed,KEzŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  Ϯϴϲ͘ϮϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^dDZ'ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  Ϯϴϴ͘ϳϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϯϭϰ͘ϲϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   DdZK>KZKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϯϱϱ͘ϰϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^dDZ'ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϯϴϴ͘ϲϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d>Kh/^</EŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϯϴϴ͘ϳϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϰϭϱ͘ϱϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   EKdZKD^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϰϳϵ͘ϲϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘WdZ/<ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϰϵϰ͘ϱϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   /DDh>dŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϱϮϴ͘ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   >Kh/^/EKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϱϱϯ͘ϰϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϱϱϰ͘Ϯϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϱϳϮ͘ϱϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϱϴϭ͘ϳϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   s/^/dd/KEKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϲϬϴ͘Ϭϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^dZEZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϲϭϰ͘ϰϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘E/dŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϳϭϭ͘ϲϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^Z,ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϳϯϮ͘ϰϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^dWdZ/<ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϳϯϮ͘ϱϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   d,K>/,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϳϯϰ͘ϯϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   DK^d,K>zdZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϳϱϵ͘ϮϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘Z/dΖ^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϴϲϮ͘Ϯϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,K>zEDK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϴϳϳ͘ϭϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   EϭϱϲKhZ>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕Ϭϭϭ͘ϱϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϭ͕ϬϮϮ͘ϵϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^dDZ'ZdŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϭ͕ϮϮϬ͘ϰϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϯϱϭ͘ϳϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϯϳϳ͘Ϯϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   <E/',d^K&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϰϳϯ͘ϴϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘E^>DŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϰϴϵ͘Ϯϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d>dh^^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϱϯϵ͘ϰϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘'E^ZKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϱϱϲ͘ϲϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   DZzYhEKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϱϲϳ͘ϰϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KZWh^,Z/^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϱϳϭ͘ϰϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   EϮϳϱ'KK^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭ͕ϴϳϵ͘ϳϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   >Z/KE,ZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϯ͕ϱϱϬ͘ϱϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^dZ/d^,KŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϯ͕ϲϭϱ͘ϬϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϰ͕ϭϱϮ͘ϱϱ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘ZK^>/ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϰ͕Ϯϲϳ͘ϳϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘EZtŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϱ͕Ϯϵϳ͘ϭϯ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ZKDEd,K>ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϱ͕ϰϱϰ͘ϭϰ       y
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   EtKZ>E^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϱ͕ϲϭϳ͘Ϭϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d>dh^^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϲ͕Ϭϳϭ͘ϰϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KhZ>zK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϲ͕Ϭϵϳ͘ϯϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   EKdZKD^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϲ͕ϰϱϬ͘Ϭϭ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘KD/E/ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϲ͕ϰϵϳ͘ϰϵ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   KE'Z'd/KEŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϲ͕ϴϱϴ͘ϮϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘DZz^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϳ͕ϭϬϳ͘ϵϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   WKW:K,EWŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϳ͕ϯϬϭ͘ϵϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d͘d,Z^ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϴ͕ϰϱϲ͘ϳϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,Z/^dKW,ZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                   ϵ͕Ϯϱϰ͘ϯϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d^,K>^d/ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϵ͕ϯϵϲ͘ϮϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^dE'>DŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϭ͕ϭϱϰ͘ϮϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,Z/^dKW,ZŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                  ϭϭ͕ϱϲϵ͘ϰϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   s/^/dd/KEKŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϮ͕ϵϲϳ͘ϯϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ^d>Kh/^</EŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϰ͕ϭϰϭ͘ϳϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,K>zEDK&ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϱ͕ϯϮϲ͘ϵϴ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   ,hZ,^d,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 ϭϳ͕Ϭϵϴ͘ϱϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ        Ϯϳϭϴ   ϳͬϯϭͬϮϬϮϬ   Z,/^,KW,ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                                 Ϯϭ͕ϴϵϰ͘Ϯϵ
EK    ^ĂǀŝŶŐƐ                   ϱϮϰϱ   ϳͬϯϭͬϮϬϮϬ   >ŝďĞƌƚǇĂŶŬͲ/ŶƚĞƌĞƐƚ/ŶĐŽŵĞ                                                ϭϰ͘ϮϮ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ    ϳͬϯͬϮϬϮϬ   sĂƌŝŽƵƐϳ͘ϯ͘ϮϬ/&WƌĞŵŝƵŵĞƉŽƐŝƚ                                            ϰϳϴ͕Ϭϳϱ͘Ϯϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ   sĂƌŝŽƵƐϳ͘ϭϬ͘ϮϬ/&WƌĞŵŝƵŵĞƉŽƐŝƚ                                           ϰϴϭ͕ϱϬϳ͘ϵϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϯͬϮϬϮϬ   tŚŝƚŶĞǇKƉĞƌĂƚŝŶŐϳ͘ϭϯ͘ϮϬ&ƵŶĚϭ>ŽĂŶƚŽ/&&ƵŶĚϰ                           ϱϬϬ͕ϬϬϬ͘ϬϬ          y
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϬͬϮϬϮϬ   sĂƌŝŽƵƐϳ͘ϭϳ͘ϮϬ/&WƌĞŵŝƵŵĞƉŽƐŝƚ                                           ϱϴϴ͕ϴϯϬ͘ϴϵ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ   sĂƌŝŽƵƐϳ͘Ϯϰ͘ϮϬ/&WƌĞŵŝƵŵĞƉŽƐŝƚ                                           ϭϯϮ͕ϭϱϭ͘ϯϱ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϳͬϮϬϮϬ   tŚŝƚŶĞǇKƉĞƌĂƚŝŶŐϳ͘Ϯϳ͘ϮϬtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌƚŽ/&ƚŽĐŽǀĞƌĐůĂŝŵƐ   ϳϱϬ͕ϬϬϬ͘ϬϬ          y
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϳͬϮϬϮϬ   tŚŝƚŶĞǇKƉĞƌĂƚŝŶŐϳ͘Ϯϳ͘ϮϬtŚŝƚŶĞǇKƉdƌĂŶƐĨĞƌƚŽ/&ͲdƌƵƐƚĞĞ&ĞĞYϰϮϬϮϬ    ϮϱϬ͕ϬϬϬ͘ϬϬ          y
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϴͬϮϬϮϬ   EKĂƉƚŝǀĞĂƉƚŝǀĞDĞĚŝĐĂůD^>ϭϬͲϯϬϬZĞŝŵďƵƌƐĞŵĞŶƚ:ƵŶĞϮϬϮϬ                 ϭ͕ϵϭϬ͕ϴϯϯ͘ϯϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ   sĂƌŝŽƵƐϳ͘ϯϭ͘ϮϬ/&WƌĞŵŝƵŵĞƉŽƐŝƚ                                           ϭϬϮ͕ϲϰϯ͘ϲϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ   tŚŝƚŶĞǇĂŶŬ/ŶƚĞƌĞƐƚĂƌŶĞĚ                                                   ϲ͘ϱϳ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ    ϳͬϭͬϮϬϮϬ   hDZhDZƌĞĚŝƚƚŽŽĨĨƐĞƚĐůĂŝŵƐ                                               ϵϲϲ͘ϱϮ

                                                                                                                                  ΨϮϵ͕ϲϮϴ͕ϰϰϲ͘ϵϳ
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ĂƐŚŝƐďƵƌƐĞŵĞŶƚƐ:ŽƵƌŶĂů
ĂƐŚEĂŵĞ         dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
ĂƐĞEƵŵďĞƌ       ϮϬͲϭϬϴϰϲ

ŶƚŝƚǇ<ĞǇ        ĐĐŽƵŶƚEĂŵĞ                                                  ĐĐŽƵŶƚηŶĚŝŶŐŝŶ   ĂƚĞ            ŚĞĐŬEŽ͘ͬZĞĨEŽ͘   WĂǇĞĞ                                                           ĞƐĐƌŝƉƚŝŽŶ;WƵƌƉŽƐĞͿΎ͕ΎΎ                                                           ŵŽƵŶƚ                                 /ŶƚĞƌͲĂĐĐŽƵŶƚdƌĂŶƐĨĞƌ   /ŶƐŝĚĞƌ͍
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϯϭͬϮϬϮϬ                 ϮϬϵ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 WƌĞƉĞƚŝƚŝŽŶ>ŝĂďŝůŝƚǇ                                                                ΨϮϬϬ͘ϬϬ          zΎ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϳͬϮϬϮϬ                 ϱϱϭϲ            ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůĂƚŚŽůŝĐƵůƚƵƌĂů,ĞƌŝƚĂŐĞĞŶƚĞƌ   dƌĂŶƐĨĞƌƚŽŶĞǁďĂŶŬĂĐĐŽƵŶƚ                                                         ϯϵϯ͕ϯϵϬ͘ϮϬ             y
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϭϱ            ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůĂƚŚŽůŝĐƵůƚƵƌĂů,ĞƌŝƚĂŐĞĞŶƚĞƌ   sŽŝĚĞĚͲdƌĂŶƐĨĞƌƚŽŶĞǁĂĐĐŽƵŶƚ                                                     Ͳ   y
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϭϰ                           ^ŽƵƚŚĞƌŶ^ĞƌǀŝĐĞƐ͕>>                   >ĂǁŶΘŐĂƌĚĞŶ                                                                        ϴϬϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϭϯ                                    KƌŬŝŶ                           WĞƐƚŽŶƚƌŽů                                                                         ϮϬϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϭϬ                                   ŶƚĞƌŐǇ                          ůĞĐƚƌŝĐ                                                                             ϭϳ͘ϱϴ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϬϵ                                  ^ĂŵΖƐůƵď                        &ŽŽĚΘŽŶƐƵŵĂďůĞƐ͖:ĂŶŝƚŽƌŝĂů^ƵƉƉůŝĞƐ                                              ϲϬϳ͘ϲϳ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϬϳ                                  Θ>^ĂůĞƐ                       :ĂŶŝƚŽƌŝĂů^ƵƉƉůŝĞƐ                                                                  Ϯϵϲ͘ϲϯ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϬϲ                         ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 KĨĨŝĐĞŽŶƚƌĂĐƚƐ                                                                     ϮϬϬ͘ϬϬ         z
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϬϱ                                   ŶƚĞƌŐǇ                          ůĞĐƚƌŝĐ                                                                             ϭ͕ϰϴϵ͘ϭϴ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϲͬϮϬϮϬ                 ϱϱϬϰ                                   ŶƚĞƌŐǇ                          ůĞĐƚƌŝĐ                                                                             ϭϳϴ͘ϰϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϭϱͬϮϬϮϬ                 ϱϱϬϯ                              ĂƉŝƚĂůKŶĞE͘͘                      ZĞƉĂŝƌƐ                                                                              Ϯϰϭ͘ϴϮ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϬϵͬϮϬϮϬ                 ϱϱϬϮ                             ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂů                    :ƵŶĞWĂǇƌŽůůZĞŝŵďƵƌƐĞŵĞŶƚ                                                           ϭϬ͕ϴϮϳ͘ϳϵ           y
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϬϵͬϮϬϮϬ                 ϱϱϬϭ                 ^ĞǁĞƌĂŐĞĂŶĚtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ            tĂƚĞƌ                                                                                ϭϳϬ͘Ϯϲ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϬϵͬϮϬϮϬ                 ϱϱϬϬ                                ,ƵŶƚdĞůĞĐŽŵ                        dĞůĞƉŚŽŶĞ                                                                            ϳϱϬ͘ϯϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϬϳͬϮϬϮϬ                 ϱϰϵϵ                                   ^ŽŶŝƚƌŽů                         ŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐ                                                                  ϭϱϯ͘Ϯϴ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϬϳͬϮϬϮϬ                 ϱϰϵϴ                             <ĞŶƚǁŽŽĚ^ƉƌŝŶŐƐ                       DŝƐĐĞůůĂŶĞŽƵƐ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                                     ϮϬϳ͘ϭϯ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϬϳͬϮϬϮϬ                 ϱϰϵϲ                 ^ĞǁĞƌĂŐĞĂŶĚtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ            ǁĂƚĞƌ                                                                                ϱϮ͘ϯϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϯϳϯϲ                     ϬϳͬϬϳͬϮϬϮϬ                 ϱϰϵϱ                 ^ĞǁĞƌĂŐĞĂŶĚtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ            ǁĂƚĞƌ                                                                                ϰϲ͘ϳϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϯϭͬϮϬϮϬ                 ϵϬϮ                                                                     ĂŶŬĨĞĞƐ                                                                            ϭϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϯϭͬϮϬϮϬ                 ϵϬϮ                                                                     ĂŶŬĨĞĞƐ                                                                            ϱϱ͘ϰϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϮϴͬϮϬϮϬ                 ϵϬϯ                         ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                  WƌĞƉĞƚŝƚŝŽŶ>ŝĂďŝůŝƚǇ                                                                ϮϬϬ͘ϬϬ         zΎ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϳͬϮϬϮϬ                ϯϯϯϯϵ                            ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂů                     dƌĂŶƐĨĞƌƚŽŶĞǁďĂŶŬĂĐĐŽƵŶƚ                                                         ϰϮϴ͕Ϯϯϰ͘ϲϯ             y
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϳͬϮϬϮϬ                ϯϯϯϯϳ                            ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂů                     sŽŝĚ                                                                                 Ͳ   y
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ               ^s,Z'                                                                   ĂŶŬĨĞĞƐ                                                                            ϱϱ͘Ϭϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϯϴ                       'ƵůĨŽĂƐƚKĨĨŝĐĞWƌŽĚƵĐƚƐ                   KĨĨŝĐĞŽŶƚƌĂĐƚƐ                                                                     ϱϮ͘ϱϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϯϱ                          EĂƚĂůǇ^ĐŚĞƵĞƌŵĂŶŶ                        ^ĂůĂƌǇͲďƵƐŝŶĞƐƐΘĐŽŵŵƵŶŝĐĂƚŝŽŶĚŝƌĞĐƚŽƌ                                           ϮϳϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϯϰ                      tĞŶĚǇD͘ůĞŵĂŶͲDĂŶǌĂŶĂƌĞƐ                    :ĂŶŝƚŽƌŝĂů^ĞƌǀŝĐĞƐ                                                                  ϯϳϱ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϯϯ                                                                    >ŝŶĞŶΘůĂƵŶĚƌǇ                                                                      ϭϲ͘ϭϮ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϯϮ                            :͘WƌĞƐƚĞƐΘŽ͕͘/ŶĐ͘                  ^ĂŶĐƚƵƌĂǇƐƵƉƉůŝĞƐ͖ĨůŽǁĞƌƐ͖ĂůƚĂƌďƌĞĂĚ                                             ϯϰϵ͘ϰϴ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϯϭ                                   ŶƚĞƌŐǇ                          ůĞĐƚƌŝĐ                                                                             ϰϱ͘ϭϰ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϯϬ                                   ŶƚĞƌŐǇ                          ůĞĐƚƌŝĐ                                                                             Ϯϵϵ͘ϳϲ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϮϵ                                   ŶƚĞƌŐǇ                          ůĞĐƚƌŝĐ                                                                             ϭϵ͘ϵϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϮϴ                          KƵƌ^ƵŶĚĂǇsŝƐŝƚŽƌ͕/ŶĐ͘                  ŽůůĞĐƚŝŽŶĞŶǀĞůŽƉĞƐ                                                                 ϭϳϭ͘ϱϵ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϮϳ                                   >ŽŽŵŝƐ                           KĨĨŝĐĞŽŶƚƌĂĐƚƐ                                                                     ϯϬϳ͘ϭϲ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϲͬϮϬϮϬ                ϯϯϯϮϲ                        ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                  DŽŶƚŚůǇƐƐĞƐƐŵĞŶƚ                                                                   ϭϬ͕ϯϱϴ͘ϮϮ           z
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϱͬϮϬϮϬ                ϯϯϯϮϱ                              DŝĐŚĂĞůDĂƌĐĞůůŽ                      &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϭϲϮ͘ϯϴ
                                                                                                                                                                                                            ^ĂŶĐƚƵĂƌǇƐƵƉƉůŝĞƐ͖ŽĨĨŝĐĞƐƵƉƉůŝĞƐ͖ĨŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ͖ůŝŶĞŶΘ
                                                                                                                                                                                                            ůĂƵŶĚƌǇ͖ŚŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ͖ĐĂďůĞ͖ũĂŶŝƚŽƌŝĂůƐƵƉƉůŝĞƐ͖ůĂŶĚƐĐĂƉĞ͖ĂƵƚŽΘďƵƐŝŶĞƐƐ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϱͬϮϬϮϬ               ϯϯϯϮϰ                                  ĂƉŝƚĂůKŶĞ͕E͘                   ĞǆƉĞŶƐĞƐ͖ƌĞƉĂŝƌƐ͖/dĞǆƉĞŶƐĞ͖ŵĞŵďĞƌƐŚŝƉƐ                                           Ϯ͕ϲϳϲ͘ϴϴ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϬͬϮϬϮϬ               ϯϯϯϮϯ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϳϬ͘ϯϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϬͬϮϬϮϬ               ϯϯϯϮϮ                                    DĂƌŝĂƵŶŝŐĂ                     DŝƐĐĞůůĂŶĞŽƵƐ,ŽƵƐĞŚŽůĚĞǆƉĞƐŶĞƐ                                                     ϭϳ͘ϴϲ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϬͬϮϬϮϬ               ϯϯϯϮϭ                               EĂƚĂůǇ^ĐŚĞƵĞƌŵĂŶŶ                    ^ĂůĂƌǇͲďƵƐŝŶĞƐƐΘĐŽŵŵƵŶŝĐĂƚŝŽŶĚŝƌĞĐƚŽƌ                                           ϮϳϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϭϬͬϮϬϮϬ               ϯϯϯϮϬ                        tĞŶĚǇD͘ůĞŵĂŶͲDĂŶǌĂŶĂƌĞƐ                   :ĂŶŝƚŽƌŝĂů^ĞƌǀŝĐĞƐ                                                                  ϯϳϱ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϵ                        tĂƐƚĞŽŶŶĞĐƚŝŽŶƐĂǇŽƵ͕/E                 ŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐͲhŶŝĨŝƌƐƚ                                                       ϲϭϭ͘ϵϯ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϴ                                 EĂƐŚǀŝůůĞŚĞŵŝĐĂů                  ŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐͲhŶŝĨŝƌƐƚ                                                       Ϯϭϲ͘Ϯϰ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϳ                                        ŶƚĞƌŐǇ                      ůĞĐƚƌŝĐ                                                                             ϴϲϭ͘ϲϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϲ                                        ŶƚĞƌŐǇ                      ůĞĐƚƌŝĐ                                                                             ϯ͕ϬϬϰ͘Ϭϯ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϯ                            'ƵůĨŽĂƐƚKĨĨŝĐĞWƌŽĚƵĐƚƐ               KĨĨŝĐĞŽŶƚƌĂĐƚƐ                                                                     ϱϮ͘Ϯϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϮ                                    <ĞŝƚŚ<ŽƚŽƐŬŝ                    ŚƵƌĐŚ^ĞĐƵƌŝƚǇͲŵĂƐƐĞƐ                                                             ϭϬϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϭ                                     ĂǀŝĚĞĂŶ                      ŚƵƌĐŚ^ĞĐƵƌŝƚǇͲŵĂƐƐĞƐ                                                             ϭϬϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϭϬ                             DĂƵƌĞĞŶ^ĐŚĞƵĞƌŵĂŶŶ                     KĨĨŝĐĞƐƵƉƉůŝĞƐ͖ũĂŶŝƚŽƌŝĂůƐƵƉƉůŝĞƐ                                                 ϭϬϳ͘ϱϵ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϯϯϬϵ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϴϰ͘ϱϲ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϳͬϮϬϮϬ               ϯϯϯϬϴ                   ^ĞǁĞƌĂŐĞΘtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ             ǁĂƚĞƌ                                                                                ϰϳ͘ϱϮ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϳͬϮϬϮϬ               ϯϯϯϬϳ                   ^ĞǁĞƌĂŐĞΘtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ             ǁĂƚĞƌ                                                                                ϭϭϳ͘ϱϵ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϳͬϮϬϮϬ               ϯϯϯϬϱ                   ^ĞǁĞƌĂŐĞΘtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ             ǁĂƚĞƌ                                                                                ϮϮϴ͘ϱϱ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϳͬϮϬϮϬ               ϯϯϯϬϰ               dŚĞ'ƵĂƌĚŝĂŶ>ŝĨĞ/ŶƐƵƌĂŶĐĞŽŵƉĂŶǇŽĨŵĞƌŝĐĂ        ĞŵƉůŽǇĞĞďĞŶĞĨŝƚƐ                                                                    Ϯϴϱ͘ϭϮ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϳͬϮϬϮϬ               ϯϯϯϬϯ                                        h^ĂŶŬ                      KĨĨŝĐĞŽŶƚƌĂĐƚƐ                                                                     Ϯϱϵ͘ϵϵ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϳͬϮϬϮϬ               ϯϯϯϬϮ                             DĂƵƌĞĞŶ^ĐŚĞƵĞƌŵĂŶŶ                     >ŝŶĞŶĞΘůĂƵŶĚƌǇ͖ŵŝƐĐĞůůĂŶĞŽƵƐŚŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                   ϰϭ͘ϳϮ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϳͬϮϬϮϬ               ϯϯϯϬϭ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϲϬ͘ϱϳ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϮͬϮϬϮϬ               ϯϯϯϬϬ                          ::ŽƌƚĞǌŽŶƚƌĂĐƚŝŶŐ͕/ŶĐ͘              ^ĂŶĐƚƵĂƌǇƐƵƉƉůŝĞƐ                                                                 ϰ͕ϭϭϲ͘Ϯϭ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϮͬϮϬϮϬ               ϯϯϮϵϵ                               WƌŝŽƌŝƚǇ^ǇƐƚĞŵƐ͕/ŶĐ͘                ůĂƌŵŵŽŶŝƚŽƌŝŶŐ                                                                     ϭϴϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϮͬϮϬϮϬ               ϯϯϮϵϴ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϭϬϲ͘ϯϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϭͬϮϬϮϬ               ϯϯϮϵϳ                              :ŽƐĞƉŚŝƚĞŽŵŵƵŶŝƚǇ                    ŽŶƚƌĂĐƚ>ĂďŽƌͲĞǆƚƌĂƉƌŝĞƐƚƐ                                                       ϭϱϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϭͬϮϬϮϬ               ϯϯϮϵϲ                                   &ƌ͘,ĞŶƌǇĂǀŝƐ                   ŽŶƚƌĂĐƚ>ĂďŽƌͲĞǆƚƌĂƉƌŝĞƐƚƐ                                                       ϮϬϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϭͬϮϬϮϬ               ϯϯϮϵϱ                                     WŚŝůŝƉůǀŝĂƌ                   ŽŶƚƌĂĐƚ>ĂďŽƌͲƉĂƌƚƚŝŵĞƐĂĐƌŝƐƚĂŶ                                                 ϰϰϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϭͬϮϬϮϬ               ϯϯϮϵϰ                           <ĂƚŚƌǇŶůĂǀĞƌŝĞDĂƚŚĞƌŶĞ                 DƵƐŝĐǆƉĞŶƐĞƐͲĂŵďŽŶƐĞĐƚŝŽŶůĞĂĚĞƌƐ                                              ϭϮϱ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϭͬϮϬϮϬ               ϯϯϮϵϯ                         ^ĂƌĂŚ:ĂŶĞDĐDĂŚŽŶƌŝƐĐŽĞ                  DƵƐŝĐǆƉĞŶƐĞƐͲĂŵďŽŶƐĞĐƚŝŽŶůĞĂĚĞƌƐ                                              ϭϳϱ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϵϮϱϬ                     ϬϳͬϬϭͬϮϬϮϬ               ϯϯϮϵϮ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϳϲ͘ϯϱ
^>               ĂŵďŽŶĞĐĐŽƵŶƚ                                               ϯϲϬϰ                     ϬϳͬϭϳͬϮϬϮϬ               ϯϮϲϰ                     ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůKƉĞƌĂƚŝŶŐĐĐŽƵŶƚ            dƌĂŶƐĨĞƌƚŽŶĞǁďĂŶŬĂĐĐŽƵŶƚ                                                         ϰϲ͕ϯϲϲ͘ϰϭ           y
^>               ĂŵďŽŶĞĐĐŽƵŶƚ                                               ϯϲϬϰ                     ϬϳͬϬϵͬϮϬϮϬ               ϯϮϲϮ                                  ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂů                 :ƵŶĞWĂǇƌŽůůZĞŝŵďƵƌƐĞŵĞŶƚ                                                           ϴ͕Ϭϵϵ͘ϳϳ          y
^>               ^ƚ͘ŶƚŚŽŶǇ'ĂƌĚĞŶĐĐŽƵŶƚ                                    ϯϳϰϰ                     ϬϳͬϭϳͬϮϬϮϬ               ϭϮϰϱ                     ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůKƉĞƌĂƚŝŶŐĐĐŽƵŶƚ            dƌĂŶƐĨĞƌƚŽŶĞǁďĂŶŬĂĐĐŽƵŶƚ                                                         ϭϲϬ͕Ϯϱϭ͘ϲϳ             y
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϭϳͬϮϬϮϬ               ϰϲϵϴ                       ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůͲ^ŽƵǀĞŶŝƌ^ŚŽƉ            dƌĂŶƐĨĞƌƚŽŶĞǁďĂŶŬĂĐĐŽƵŶƚ                                                         ϭϬ͕ϬϬϬ͘ϬϬ           y
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϰϲϵϳ                                ,D,ZĞůŝŐŝŽƵƐD&'                     WƌŽĚƵĐƚWƵƌĐŚĂƐĞƐ                                                                    ϲϯ͘ϬϬ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϰϲϵϲ                       >ŽƵŝƐŝĂŶĂĞƉĂƌƚŵĞŶƚŽĨZĞǀĞŶƵĞ                ^ĂůĞƐƚĂǆ                                                                            ϭϰϴ͘ϬϬ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϰϲϵϱ                  ŝƚǇŽĨEĞǁKƌůĞĂŶƐĞƉĂƌƚŵĞŶƚŽĨ&ŝŶĂŶĐĞ           ^ĂůĞƐƚĂǆ                                                                            ϭϲϱ͘ϬϬ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϳͬϮϬϮϬ                                               DĞƌĐƵƌǇWĂǇŵĞŶƚ^ǇƐƚĞŵƐ                   ĂŶŬĐŚĂƌŐĞƐ                                                                         ϮϬϱ͘ϲϱ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϳͬϮϬϮϬ                                               DĞƌĐƵƌǇWĂǇŵĞŶƚ^ǇƐƚĞŵƐ                   ĂŶŬĐŚĂƌŐĞƐ                                                                         ϭϱϴ͘Ϯϵ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϳͬϮϬϮϬ               ϰϲϵϰ                      ůƉŚĂtŝŶĚŽǁŝƌŽŶĚŝƚŝŽŶŝŶŐ>>               ͬΘ,ĞĂƚŝŶŐZĞƉĂŝƌƐ                                                                ϭϵϰ͘ϬϬ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϲͬϮϬϮϬ               ϰϲϵϯ                                     ůŝƐƐDĨŐ͘Ž͘                   WƌŽĚƵĐƚWƵƌĐŚĂƐĞƐ                                                                    Ϯϭϲ͘Ϭϴ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϲͬϮϬϮϬ               ϰϲϵϮ                                   ŚƌŝƐƚŝĂŶƌĂŶĚƐ                   WƌŽĚƵĐƚWƵƌĐŚĂƐĞƐ                                                                    ϭϴϬ͘ϲϴ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϲͬϮϬϮϬ               ϰϲϵϭ                                       DĐsĂŶ͕/ŶĐ                     WƌŽĚƵĐƚWƵƌĐŚĂƐĞƐ                                                                    ϱϴϬ͘ϰϭ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϲͬϮϬϮϬ               ϰϲϵϬ                                      ƉƌŝŽŶƐ͘͘                    ZĞƉůĂĐĞŵĞŶƚŽĨƋƵŝƉŵĞŶƚ                                                             ϭ͕Ϯϴϳ͘ϰϲ
^>               'ŝĨƚ^ŚŽƉ                                                     ϯϳϮϴ                     ϬϳͬϬϲͬϮϬϮϬ               ϰϲϴϵ                                   ĂƉŝƚĂůKŶĞĂŶŬ                   WŽƐƚĂŐĞ                                                                              ϴ͘ϯϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϴϱ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϳϬϯ                  ^ĞǁĞƌĂŐĞĂŶĚtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ             ǁĂƚĞƌ                                                                                ϱϰ͘ϵϳ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϴϱ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϳϬϮ                  ^ĞǁĞƌĂŐĞĂŶĚtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ             ǁĂƚĞƌ                                                                                ϭϭϳ͘Ϭϭ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϯϭͬϮϬϮϬ               ϯϯϯϲϲ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϵϵ͘Ϯϰ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϯϭͬϮϬϮϬ               ϯϯϯϲϰ                              ĞĂĐŽŶZŝĐŚĂƌĚƌĂĚǇ                   ƵƚŽĞǆƉĞŶƐĞ                                                                         Ϯϳϱ͘ϬϬ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϯϭͬϮϬϮϬ               ϯϯϯϲϭ                               EĂƚĂůǇ^ĐŚĞƵĞƌŵĂŶŶ                    ^ĂůĂƌǇͲƵƐŝŶĞƐƐΘŽŵŵƵŶŝĐĂƚŝŽŶƐŝƌĞĐƚŽƌ                                          ϯϭϱ͘ϬϬ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϯϭͬϮϬϮϬ                ϴϵϳ                                       :ƵůǇWĂǇƌŽůů                   :ƵůǇWĂǇƌŽůů                                                                         Ϯϰ͕ϴϰϲ͘Ϭϰ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϯϭͬϮϬϮϬ                ϴϵϳ                                       :ƵůǇWĂǇƌŽůů                   :ƵůǇWĂǇƌŽůů                                                                         ϵ͕ϯϬϳ͘ϭϯ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϲϬ                             DĂƵƌĞĞŶ^ĐŚĞƵĞƌŵĂŶŶ                     ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ͖ůŝŶĞŶΘůĂƵŶĚƌǇ͖ƌĞƉĂŝƌƐ͖ƉŽƐƚĂŐĞ͖ůĂŶĚƐĐĂƉĞ                     ϭϯϮ͘ϵϰ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϱϴ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϮϬϬ͘ϲϭ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϱϰ                                   ŵǇWĨƌŝŵŵĞƌ                      ŽŶƚƌĂĐƚ>ĂďŽƌͲŽƚŚĞƌƐ͗ŽƌŐĂŶŝƐƚ͕ĐŚŽŝƌ͕ŵƵƐŝĐŝĂŶƐ                                   ϮϱϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϱϯ                                  KĨĨŝĐĞĞƉŽƚ͕/ŶĐ                  ŽĨĨŝĐĞƐƵƉƉůŝĞƐ                                                                      Ϯϱϰ͘ϵϭ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϱϮ                                   dΘdDŽďŝůŝƚǇ                     ƚĞůĞƉŚŽŶĞ                                                                            ϯϰϰ͘ϴϳ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϰϵ                   ^ĞǁĞƌĂŐĞΘtĂƚĞƌŽĂƌĚŽĨEĞǁKƌůĞĂŶƐ             ǁĂƚĞƌ                                                                                ϰϳ͘ϱϮ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϰϱ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 /ŶƚĞƌŶĞƚ͖/dǆƉĞŶƐ                                                                  ϲϰϳ͘ϱϬ         z
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϰϯ                            'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞ                ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                                                     ϲ͕ϯϲϬ͘ϴϳ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϰϮ                                    <ĞŝƚŚ<ŽƚŽƐŬŝ                    ŚƵƌĐŚ^ĞĐƵƌŝƚǇͲDĂƐƐ                                                                ϭϬϬ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϴͬϮϬϮϬ               ϯϯϯϰϭ                                   :ĞĨĨƌĞǇKŶƐƚŽƚƚ                   ŚƵƌĐŚ^ĞĐƵƌŝƚǇͲDĂƐƐ                                                                ϭϬϬ͘ϬϬ
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^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϰͬϮϬϮϬ              ŽƵŶƚĞƌ                                DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         ϭϯϵ͘ϵϵ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϮͬϮϬϮϬ             KhEdZ                               EĂƚĂůǇ^ĐŚĞƵĞƌŵĂŶŶ                    ^ĂůĂƌǇͲƵƐŝŶĞƐƐΘŽŵŵƵŶŝĐĂƚŝŽŶƐŝƌĞĐƚŽƌ                                          ϯϭϱ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϮͬϮϬϮϬ             KhEdZ                                 DŝĐŚĂĞůDĂƌĐĞůůŽ                    &ŽŽĚΘŚŽƵƐĞŚŽůĚĐŽŶƐƵŵĂďůĞƐ                                                         Ϯϴϰ͘ϵϵ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϮͬϮϬϮϬ             KhEdZ                        tĞŶĚǇD͘ůĞŵĂŶͲDĂŶǌĂŶĂƌĞƐ                   :ĂŶŝƚŽƌŝĂů^ĞƌǀŝĐĞƐ                                                                  ϯϳϱ͘ϬϬ
^>               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϬϲϵ                     ϬϳͬϮϬͬϮϬϮϬ                                                     ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂů                 KƉĞŶƐĂǀŝŶŐƐĂĐĐŽƵŶƚ                                                                 ϭϬ͕ϬϬϬ͘ϬϬ           y
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϴ                                  ĂƌŽŶDĂƚƚŚĞǁƐ                     WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϭϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϱϰ                                  ĂƌŽŶDĂƚƚŚĞǁƐ                     WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϮϱ                                 ŵĞƌŝĐĂŶǆƉƌĞƐƐ                    KĨĨŝĐĞͬ'ĞŶĞƌĂůĚŵŝŶŝƐƚƌĂƚŝǀĞǆƉĞŶƐĞƐ                                               ϭϯϵ͘ϭϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϳͬϮϬϮϬ               ϱϯϰϴϵ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 ƐƐĞƐƐŵĞŶƌ>ŽĂŶWĂǇŵĞŶƚ                                                              ϱ͕ϰϬϬ͘ϬϬ          z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϳͬϮϬϮϬ               ϱϯϰϵϬ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 ǆƚƌĂͲŝŽĐĞƐĂŶWĂǇŵĞŶƚƐ͗ŽůůĞĐƚŝŽŶĨŽƌƚŚĞ,ŽůǇ&ĂƚŚĞƌͲ                             ϳϭϭ͘ϬϬ         z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϮϳ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 ƵƌƌĞŶƚĂƐƐĞƐŵĞŶƚ                                                                   ϭϭ͕ϱϳϵ͘ϱϴ           z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϮϲ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 /ŶƐƵƌĂŶĐĞĞǆƉĞŶƐĞ                                                                    Ϯ͕ϴϭϵ͘ϴϮ          z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϰϯ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 /ŶƐƵƌĂŶĐĞĞŶƚĞƌ                                                                   ϭ͕ϰϱϰ͘ϰϲ          z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϰϮ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                 ŶŶƵĂů/ŶƐƵƌĂŶĐĞͬ&ůŽŽĚƉĂǇŵĞŶƚ                                                     Ϯ͕ϱϱϵ͘ϬϬ          z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϰϭ             ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ/ŶĨŽƌŵĂƚŝŽŶdĞĐŚŶŽůŽŐǇ     KĨĨŝĐĞͬ'ĞŶĞƌĂůĚŵŝŶŝƐƚƌĂƚŝǀĞǆƉĞŶƐĞƐ                                               Ϯ͘Ϯϱ       z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϵ                                   ƌƚŚƵƌDŝƚĐŚĞůů                   WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϴϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϱϱ                                   ƌƚŚƵƌDŝƚĐŚĞůů                   WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϴϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϵ                                        dΘd                       ĂďůĞŝůů                                                                           ϭϲ͘ϵϵ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϳ                                   ĂƚŚŽůŝĐZĂĚŝŽ                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗ŚƵƌĐŚKĨĨŝĐĞŽƐƚƐ͗ĚǀĞƌƚŝƐŝŶŐͬWƌŽŵŽƚŝŽŶĂů                   ϭϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϮϴ                               ŚƵƌĐŚ^ƵƉƉůǇ,ŽƵƐĞ                   ^ĂŶĐƚƵĂƌǇǆƉĞŶƐĞ                                                                    ϭϰϬ͘ϵϯ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϳͬϮϬϮϬ               ϱϯϰϵϭ                                   ůĂƌŝŽŶ,ĞƌĂůĚ                    ŝŽĐĞƐĂŶƐƐĞƐƐŵĞŶƚͲůĂƌŝŽŶ,ĞƌĂůĚ                                                 ϲϱϭ͘ϴϯ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϱϲ                                   ůĂƌŬ<ŶŝŐŚƚĞŶ                    WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϰϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϬ                                       ŽĐƵDĂƌƚ                      KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗sŽƚŝǀĞƐ͕ZĞůŝŐŝŽƵƐ'ŽŽĚƐ͗^ƵƉƉůŝĞƐΘDĂƚĞƌŝĂůƐ                  ϭϱϴ͘ϯϰ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϮϵ                                        ŶƚĞƌŐǇ                      hƚŝůŝƚŝĞƐǆƉĞŶƐĞͲhƚŝůŝƚŝĞƐůĞĐƚƌŝĐŝƚǇ                                            Ϯϰ͘ϭϯ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϬ                                        ŶƚĞƌŐǇ                      hƚŝůŝƚŝĞƐǆƉĞŶƐĞͲhƚŝůŝƚŝĞƐůĞĐƚƌŝĐŝƚǇ                                            ϭ͕ϮϮϭ͘ϰϮ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϭ                                        ŶƚĞƌŐǇ                      hƚŝůŝƚŝĞƐǆƉĞŶƐĞͲhƚŝůŝƚŝĞƐůĞĐƚƌŝĐŝƚǇ                                            ϭϬϭ͘ϯϰ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϵͬϮϬϮϬ               ϱϯϰϵϴ                               &ŝƌƐƚĂŶŬŶĚdƌƵƐƚ                  ŵŝƐĐĞǆƉĞŶƐĞsŽƵĐŚĞƌƐ                                                                ϯϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϲͬϮϬϮϬ               ϱϯϰϴϴ                             &ƌ͘ŶƚŚŽŶǇZŝŐŽůŝK͘D͘/͘               KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                             ϮϱϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϯͬϮϬϮϬ               ϱϯϰϵϵ                             &ƌ͘ŶƚŚŽŶǇZŝŐŽůŝK͘D͘/͘               KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                             ϮϮϮ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϬͬϮϬϮϬ               ϱϯϱϮϯ                             &ƌ͘ŶƚŚŽŶǇZŝŐŽůŝK͘D͘/͘               KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                             Ϯϱϴ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϳͬϮϬϮϬ               ϱϯϱϰϬ                             &ƌ͘ŶƚŚŽŶǇZŝŐŽůŝK͘D͘/͘               KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                             ϮϯϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϭ                             &ƌ͘ŽŶDĐDĂŚŽŶ͕KD/                   KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                             ϮϳϮ͘Ϯϲ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϰϰ                             &ƌ͘ŽŶDĐDĂŚŽŶ͕KD/                   KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                             Ϯϱϴ͘ϯϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϰϱ                                       'ĂůůĂŐŚĞƌ                     WĞƌƐŽŶŶĞůŽƐƚƐ͗,ĞĂůƚŚĂƌĞŽƐƚƐ                                                    Ϯ͕ϲϱϵ͘ϯϲ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϳͬϮϬϮϬ               ϱϯϰϵϮ                                       'ƵĂƌĚŝĂŶ                      WĞƌƐŽŶŶĞůŽƐƚƐ͗,ĞĂůƚŚĂƌĞŽƐƚƐ                                                    ϭϬϵ͘Ϭϴ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϰϲ                                       'ƵĂƌĚŝĂŶ                      WĞƌƐŽŶŶĞůŽƐƚƐ͗,ĞĂůƚŚĂƌĞŽƐƚƐ                                                    ϭϬϵ͘Ϭϴ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϬ                                 :ĞƌƌǇĚĞƚƚĞ:ŽƐĞƉŚ                   WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϭϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϱϳ                                 :ĞƌƌǇĚĞƚƚĞ:ŽƐĞƉŚ                   WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϭϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϮϬ                                 <ĞŶƚǁŽŽĚ^ƉƌŝŶŐƐ                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗sŽƚŝǀĞƐ͕ZĞůŝŐŝŽƵƐ'ŽŽĚƐ͗^ƵƉƉůŝĞƐΘDĂƚĞƌŝĂůƐ                  ϭϵ͘ϯϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϭ                                    <ĞƐŚĂDĐ<ĞǇ                      WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϭϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϱϴ                                    <ĞƐŚĂDĐ<ĞǇ                      WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϭϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϬͬϮϬϮϬ               ϱϯϱϮϰ                                     <ĞǀŝŶůďĞƌƚ                    WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϰϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϮ                                      <ŝŶŐZŽǁĞ                      WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϭϬϬ͘ϬϬ
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K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϳͬϮϬϮϬ               ϱϯϰϵϯ                             DĂƌŝĂŶŝƚĞƐŽĨ,ŽůǇƌŽƐƐ                DŝƐĐĞůůĂŶĞŽƵƐǆƉĞŶƐĞ͗ŽŵŵƵŶŝƚǇĞŶƚĞƌ                                               ϱϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϮ                             DĂƌŝĂŶŝƚĞƐŽĨ,ŽůǇƌŽƐƐ                DŝƐĐĞůůĂŶĞŽƵƐǆƉĞŶƐĞ͗ŽŵŵƵŶŝƚǇĞŶƚĞƌ                                               ϱϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϰϳ                             DĂƌŝĂŶŝƚĞƐŽĨ,ŽůǇƌŽƐƐ                DŝƐĐĞůůĂŶĞŽƵƐǆƉĞŶƐĞ͗ŽŵŵƵŶŝƚǇĞŶƚĞƌ                                               ϱϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϯ                       DĞƌĐŝĞƌZĞĂůƚǇΘ/ŶǀĞƐƚŵĞŶƚŽ͘               KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗DŝƐĐĞůůĂŶĞŽƵƐǆƉĞŶƐĞ͗dĂǆĞƐWĂŝĚ                               ϭ͕ϬϬϬ͘ϳϲ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϰ                       DĞƌĐŝĞƌZĞĂůƚǇΘ/ŶǀĞƐƚŵĞŶƚŽ͘               DŝƐĐǆƉĞŶƐĞƐͲDŝƐĐͲZĞŶƚ                                                          ϭ͕ϱϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϰͬϮϬϮϬ               ϱϯϱϯϵ                              Dƌ͘ŽŶĂůĚŽZ͘ĂƚŝƐƚĞ                 ^ŽĐŝĂůWƌŽŐƌĂŵǆƉĞŶƐĞ                                                               ϯϭϱ͘ϰϳ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϰͬϮϬϮϬ                                                  Dƌ͘ŽŶĂůĚŽZ͘ĂƚŝƐƚĞ                 sŽŝĚĞĚ                                                                               Ͳ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϯϭͬϮϬϮϬ               ϱϯϱϲϲ                       KďůĂƚĞƐŽĨDĂƌǇƚŚĞ/ŵŵĂĐƵůĂƚĞ                WƌŝĞƐƚĞǆƉĞŶƐĞ                                                                       ϯ͕ϬϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϬϳͬϮϬϮϬ               ϱϯϰϵϰ                                 KƌŬŝŶWĞƐƚŽŶƚƌŽů                  WĞƌƐŽŶŶĞůŽƐƚƐ͗ŽŶƚƌĂĐƚ>ĂďŽƌͲKƚŚĞƌƐ͗ŽŶƚƌĂĐƚ^ĞƌǀŝĐĞƐ                            Ϯϰϰ͘ϲϮ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϮϭ                                 KƵƌ^ƵŶĚĂǇsŝƐŝƚŽƌ                  ŚƵƌĐŚKĨĨŝĐĞŽƐƚƐ͗ŶǀĞůŽƉĞDĂŝůKƵƚ                                                ϲϳϬ͘ϴϲ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϯ                                   WĞƌĐǇtŝůůŝĂŵƐ                    WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϴϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϲϭ                                   WĞƌĐǇtŝůůŝĂŵƐ                    WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϴϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϰ                        WƌŽĨĞƐƐŝŽŶĂůDƵƐŝĐ^ĞƌǀŝĐĞƐ͕/ŶĐ             WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϳϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϲϬ                        WƌŽĨĞƐƐŝŽŶĂůDƵƐŝĐ^ĞƌǀŝĐĞƐ͕/ŶĐ             WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϲϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϱ                                ZŽďĞƌƚŽDĂƚƚŚĞǁƐ                     WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϲϮ                                ZŽďĞƌƚŽDĂƚƚŚĞǁƐ                     WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϮ                                 ZŽǇĂůWĂƉĞƌΘŽǆ                   sŽƚŝǀĞƐ͕ZĞůŝŐŝŽƵƐ'ŽŽĚƐ͗^ƵƉƉůŝĞƐΘDĂƚĞƌŝĂůƐ                                        ϮϮϴ͘ϳϱ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϯ                           ^ĞǁĞƌĂŐĞĂŶĚtĂƚĞƌŽĂƌĚ                  KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗hƚŝůŝƚŝĞƐǆƉĞŶƐĞ͗hƚŝůŝƚŝĞƐͲtĂƚĞƌ                           ϭϬ͘ϴϳ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϰ                           ^ĞǁĞƌĂŐĞĂŶĚtĂƚĞƌŽĂƌĚ                  KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗hƚŝůŝƚŝĞƐǆƉĞŶƐĞ͗hƚŝůŝƚŝĞƐͲtĂƚĞƌ                           ϭϭϳ͘Ϭϭ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϱ                                      ^ŝƌ^ƉĞĞĚǇ                     ŚƵƌĐŚKĨĨŝĐĞŽƐƚƐ                                                                  Ͳ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϳ                                      ^ŝƌ^ƉĞĞĚǇ                     ŚƵƌĐŚKĨĨŝĐĞŽƐƚƐ                                                                  ϯϯϴ͘ϱϳ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϲ                                ^ƚ͘:ŽƐĞƉŚΖƐŚƵƌĐŚ                  WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲǆƚƌĂWƌŝĞƐƚƐ                                                 ϭϬϬ͘ϬϬ         z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϲϯ                                ^ƚ͘:ŽƐĞƉŚΖƐŚƵƌĐŚ                  WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲǆƚƌĂWƌŝĞƐƚƐ                                                 ϭϬϬ͘ϬϬ         z
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϱ                             ^ƚĂƌ>ŽĐŬΘ<ĞǇŽ͕͘/ŶĐ                KƚŚĞƌĐŽŶƚƌĂĐƚƐĞƌǀŝĐĞƐ                                                              ϵϵ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϭϳ                                     ^ƚĞƉŚĞŶ>ĞĞ                     WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϮϬϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϴͬϮϬϮϬ               ϱϯϱϲϰ                                     ^ƚĞƉŚĞŶ>ĞĞ                     WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                     ϯϱϬ͘ϬϬ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϭϰͬϮϬϮϬ               ϱϯϱϬϲ                                dĐŚŽƵƉŝƚŽƵůĂƐ^ĂůĞƐ                  KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗^ŽĐŝĂůWƌŽŐƌĂŵǆƉĞŶƐĞ͗^ƵƉƉůŝĞƐΘDĂƚĞƌŝĂůƐ                    ϭ͕ϭϴϴ͘ϲϯ
K>'               KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                                             ϰϯϭϴ                     ϬϳͬϮϭͬϮϬϮϬ               ϱϯϱϯϲ                                dĐŚŽƵƉŝƚŽƵůĂƐ^ĂůĞƐ                  KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗^ŽĐŝĂůWƌŽŐƌĂŵǆƉĞŶƐĞ͗^ƵƉƉůŝĞƐΘDĂƚĞƌŝĂůƐ                    ϯ͕ϵϮϮ͘ϰϱ
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K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϴͬϮϬϮϬ              ϱϯϱϰϴ                                           dĐŚŽƵƉŝƚŽƵůĂƐ^ĂůĞƐ                  KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗^ŽĐŝĂůWƌŽŐƌĂŵǆƉĞŶƐĞ͗^ƵƉƉůŝĞƐΘDĂƚĞƌŝĂůƐ                ϭ͕ϭϴϴ͘ϲϯ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϬϳͬϮϬϮϬ              ϱϯϰϵϱ                                          dŚĞ,ŽŵĞĞƉŽƚWƌŽ                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗:ĂŶŝƚŽƌŝĂů^ƵƉƉůŝĞƐ                                        Ϯϵϳ͘ϭϭ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϴͬϮϬϮϬ              ϱϯϱϰϵ                                          dŚĞ,ŽŵĞĞƉŽƚWƌŽ                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗:ĂŶŝƚŽƌŝĂů^ƵƉƉůŝĞƐ                                        ϰϬϰ͘ϱϭ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϴͬϮϬϮϬ              ϱϯϱϱϬ                                          dŚĞ,ŽŵĞĞƉŽƚWƌŽ                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗:ĂŶŝƚŽƌŝĂů^ƵƉƉůŝĞƐ                                        ϭϭϴ͘Ϭϳ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϬϳͬϮϬϮϬ              ϱϯϰϵϲ                                          dŚĞdŝŵĞƐͲWŝĐĂǇƵŶĞ                  ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞ                                                                ϲϲ͘ϳϬ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϴͬϮϬϮϬ              ϱϯϱϱϭ                                           dŚĞtŽƌĚŵŽŶŐhƐ                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗^ŽĐŝĂůWƌŽŐƌĂŵǆƉĞŶƐĞ͗^ƵƉƉůŝĞƐΘDĂƚĞƌŝĂůƐ                ϭϭϭ͘ϱϬ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϭͬϮϬϮϬ              ϱϯϱϯϴ                                                     hůŝŶĞ                      KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗:ĂŶŝƚŽƌŝĂů^ƵƉƉůŝĞƐ                                        Ϯϲϲ͘ϱϰ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϴͬϮϬϮϬ              ϱϯϱϱϮ                                                 sĞǆƵƐ&ŝďĞƌ                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗hƚŝůŝƚŝĞƐǆƉĞŶƐĞ͗hƚŝůŝƚŝĞƐͲWŚŽŶĞŝůů                   ϱϭϵ͘ϱϳ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϬϳͬϮϬϮϬ              ϱϯϰϵϳ                                    tĂƐƚĞŽŶŶĞĐƚŝŽŶƐĂǇŽƵ͘/E                WĞƌƐŽŶŶĞůŽƐƚƐ͗ŽŶƚƌĂĐƚ>ĂďŽƌͲKƚŚĞƌƐ͗ŽŶƚƌĂĐƚ^ĞƌǀŝĐĞƐ                        ϰϯϬ͘Ϯϴ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϭϰͬϮϬϮϬ              ϱϯϱϭϴ                                           tŝůůŝĂŵtŝůůŽƵŐŚďǇ                   WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                 ϭϱϬ͘ϬϬ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϴͬϮϬϮϬ              ϱϯϱϲϱ                                           tŝůůŝĂŵtŝůůŽƵŐŚďǇ                   WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                                 ϮϬϬ͘ϬϬ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϭϰͬϮϬϮϬ              ϱϯϱϮϮ                                                 yĞƌŽǆŽƌƉ͘                    KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗ŚƵƌĐŚKĨĨŝĐĞŽƐƚƐ͗KĨĨŝĐĞͬ'ĞŶĞƌĂůĚŵŝŶŝƐƚƌĂƚŝǀĞǆƉĞŶƐĞƐ ϭϭϵ͘ϲϱ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϮϴͬϮϬϮϬ              ϱϯϱϱϯ                                       zĞĂƌZŽƵŶĚ,ĞĂƚŝŶŐΘͬ                 &ƵƌŶŝƚƵƌĞ͕&ŝǆƚƵƌĞƐ͕ΘƋƵŝƉŵĞŶƚ͗&͕&ΘͲŚƵƌĐŚ                                   ϳϱϭ͘Ϭϲ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϯϭͬϮϬϮϬ            ^s,Z'                                           ĂŶŬ^ĞƌǀŝĐĞŚĂƌŐĞ                  ^ĞƌǀŝĐĞŚĂƌŐĞ                                                                   Ͳ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϬϮͬϮϬϮϬ               ϯϱϬ                                               WĂǇƌŽůůϳϮϮϬϮϬ                  WĂǇƌŽůůϳϮϮϬϮϬ                                                                 ϭϰϰ͘ϬϬ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϬϮͬϮϬϮϬ               ϯϱϬ                                               WĂǇƌŽůůϳϮϮϬϮϬ                  WĂǇƌŽůůϳϮϮϬϮϬ                                                                 ϭ͕ϬϮϲ͘Ϭϴ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϬϮͬϮϬϮϬ               ϯϱϬ                                               WĂǇƌŽůůϳϮϮϬϮϬ                  WĂǇƌŽůůϳϮϮϬϮϬ                                                                 Ϯ͕ϵϵϲ͘ϭϱ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϬϮͬϮϬϮϬ               ϯϱϬ                                               WĂǇƌŽůůϳϮϮϬϮϬ                  WĂǇƌŽůůϳϮϮϬϮϬ                                                                 ϭ͕Ϭϱϯ͘ϵϴ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϭϱͬϮϬϮϬ               ϯϱϰ                                          dŽƌĞĐŽƌĚďĂŶŬĐŚĂƌŐĞ                  dŽƌĞĐŽƌĚďĂŶŬĐŚĂƌŐĞ                                                            ϭϵϮ͘Ϭϯ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϭϳͬϮϬϮϬ               ϯϱϯ                                              dŽƌĞĐŽƌĚƉĂǇƌŽůů                  dŽƌĞĐŽƌĚƉĂǇƌŽůů                                                                ϭ͕ϬϮϲ͘Ϭϴ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϭϳͬϮϬϮϬ               ϯϱϯ                                              dŽƌĞĐŽƌĚƉĂǇƌŽůů                  dŽƌĞĐŽƌĚƉĂǇƌŽůů                                                                Ϯ͕ϵϵϲ͘ϭϯ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϭϳͬϮϬϮϬ               ϯϱϯ                                              dŽƌĞĐŽƌĚƉĂǇƌŽůů                  dŽƌĞĐŽƌĚƉĂǇƌŽůů                                                                ϭ͕Ϭϱϰ͘ϬϮ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϯϭͬϮϬϮϬ               ϯϱϱ                                                WĂǇƌŽůůϳ͘ϯϭ͘ϮϬ                  WĂǇƌŽůůϳ͘ϯϭ͘ϮϬ                                                                  ϭ͕Ϭϴϵ͘Ϭϴ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϯϭͬϮϬϮϬ               ϯϱϱ                                                WĂǇƌŽůůϳ͘ϯϭ͘ϮϬ                  WĂǇƌŽůůϳ͘ϯϭ͘ϮϬ                                                                  ϭ͕ϭϬϳ͘ϱϰ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϯϭͬϮϬϮϬ               ϯϱϱ                                                WĂǇƌŽůůϳ͘ϯϭ͘ϮϬ                  WĂǇƌŽůůϳ͘ϯϭ͘ϮϬ                                                                  Ϯ͕ϵϭϴ͘ϴϭ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϯϭͬϮϬϮϬ               ϯϱϲ                            ĞƉŽƐŝƚĐŽƌƌĞĐƚŝŽŶĨŽƌĐŚƵƌĐŚůŽŽƐĞĐŽůůĞĐƚŝŽŶƐ      ĚĞƉŽƐŝƚĐŽƌƌĞĐƚŝŽŶ                                                               ϭϭϬ͘ϬϬ
K>'     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϰϯϭϴ     ϬϳͬϯϭͬϮϬϮϬ               ϯϱϲ                     ĞƉŽƐŝƚĐŽƌƌĞĐƚŝŽŶĨŽƌDŝƐĐĞůůĂŶĞŽƵƐ/ŶĐŽŵĞ͗^ŽůĞŵŶEŽǀĞŶĂ   ĚĞƉŽƐŝƚĐŽƌƌĞĐƚŝŽŶ                                                               Ϯ͕ϳϭϯ͘ϱϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϳϵϯϲ                                           >ĂŝůĂEŝĐŽůĞDĂƌĐŽƚƚĞ                 ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϴϴϯ͘ϰϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϳϵϯϱ                               sŝĐƚŽƌŝĂůĞũĂŶĚƌĂƌŐƵĞůůŽͲƵƐƚĂŵĂŶƚĞ            ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϴϴϱ͘Ϭϱ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϳϵϯϰ                                         ŵǇŝĂΖǇŵŽŶĚ,ŽǁĂƌĚ                    ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϴϴϱ͘Ϭϱ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϳϵϯϯ                                           Ζ:ĂůĞǆĂŶĚƌĂDĂŐĞĞ                  ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϴϵϭ͘ϮϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϳϵϯϮ                                               ůĂĐŝǇƌĂzŽƵŶŐ                  ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϴϳϱ͘ϲϮ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϳϵϯϭ                                           ŶŐĞůŝŶĂDĂƌŝĞ'ŝŶĚǇ                  ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϰϲϳ͘ϱϯ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϭϴϴϳϯ                                       ZƵŵďĞůŽǁŽŶƐƵůƚŝŶŐ͕>>                 ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                  ϱϲϱ͘ϱϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϭϴϴϳϮ                                               ZŽďďŝŶDƵƌƌĂǇ                    ^ĞŶŝŽƌWƌŽŵͲŐĞŶĐǇWĂǇĂďůĞ                                                    ϵϲ͘ϰϯ               Ύ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϭͬϮϬϮϬ              ϭϴϴϳϬ                                             :ĂŵĞƐDĞĂƌŝŵĂŶ                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                 ϮϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϮͬϮϬϮϬ              ϳϵϯϳ                                             ǀĂƌŝĞŝĂƌĂzŽƵŶŐ                  ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϴϳϱ͘ϲϮ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϲͬϮϬϮϬ           ϮϵϳͲϮϵϳϵͲϮϬ                             ZĞŐŝŽŶƐĂƌĚWĂǇŵĞŶƚϮϵϳͲϮϵϳϵͲϮϬ                ƌĞĚŝƚĂƌĚWĂǇŵĞŶƚ                                                              ϱ͕ϰϯϱ͘ϵϰ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϲϯ                        tDŽƌƉŽƌĂƚĞ^ĞƌǀŝĐĞƐ͕/ŶĐ͘ͲtĂƐƚĞDĂŶĂŐĞŵĞŶƚ          KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϵϳ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϲϮ                                         h͘^͘ŽƉǇ/ŶĐŽƌƉŽƌĂƚĞĚ                 ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϵϲ͘ϭϳ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϲϭ                                            dƵũĂǇƐ^ĞƌǀŝĐĞƐ/ŶĐ͘                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϱ͕ϭϭϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϲϬ                                              ^ƚĂƌ^ĞƌǀŝĐĞ͕/ŶĐ͘                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϳ͕ϯϳϰ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϱϵ                               WĂŶͲŵĞƌŝĐĂŶ>ŝĨĞ/ŶƐƵƌĂŶĐĞŽŵƉĂŶǇ              KƚŚĞƌƉĂǇƌŽůůĚĞĚƵĐƚŝŽŶƐͲŝŶƐƵƌĂŶĐĞ                                             ϱϯ͘ϯϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϱϴ                                     EƵͲůŝƚĞůĞĐƚƌŝĐĂůtŚŽůĞƐĂůĞƌƐ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϲϯ͘ϯϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϱϳ                                         &ƌĂŶĐŽƚǇƉͲWŽƐƚĂůŝĂ͕/ŶĐ͘               ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϭϮϲ͘Ϯϲ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϱϲ                                              &ŽůĞǇDĂƌŬĞƚŝŶŐ                   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ^ƉŝƌŝƚǁĞĂƌŐĞŶĐǇWĂǇĂďůĞ                                     ϯ͕ϳϯϯ͘ϱϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϬϵͬϮϬϮϬ              ϭϵϮϱϱ                                        ƌƌŽǁ&ĞŶĐĞĂŶĚ^ƵƉƉůǇ                  KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϭϬϴ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϰͬϮϬϮϬ              ϭϵϮϳϬ                                         <ĂǇůĂDĂƌŝĞŽƵĚƌĞĂƵǆ                  dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                          Ϯ͕ϰϮϱ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϱͬϮϬϮϬ              ϳϵϰϵ                                         DŝƌĂĐůĞ^ĂŶĂŝDĐ<ŝŶŶŝĞƐ                 ŽǀŝĚϭϵ^ĐŚŽŽůŝĚ                                                              ϱϯϴ͘ϭϲ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϳϯ                                  ^ƵƉĞƌŝŽƌWĂƌŬŝŶŐ>Žƚ^ĞƌǀŝĐĞƐ͕>>            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              Ϯ͕ϵϳϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϳϮ                                           ^ĂůĞƐŝĂŶ^ŝƐƚĞƌƐͲϬϬϭ                 ĚŵŝŶŝƐƚƌĂƚŝǀĞĂŶĚ/ŶƐƚƌƵĐƚŝŽŶĂů                                                 ϲ͕ϰϱϰ͘Ϯϰ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϳϭ                                 >ŽďďΖƐ,ŽƌƚŝĐƵůƚƵƌĂů^ƉƌĂǇĂƐƚ͕/ŶĐ͘          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐƚŚůĞƚŝĐƐ                                                     ϰϬϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϲϵ                                        &ĞƌĚŝĞƐΖƐWƌŝŶƚŝŶŐ^ĞƌǀŝĐĞ              ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϲϯ͘ϯϰ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϲϴ                                                K'E/͕/ŶĐ͘                    ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϭ͕ϮϬϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϲϳ                                                    dΘd                        KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϵϵ͘ϲϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϲϲ                       ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ/ŶĨŽƌŵĂƚŝŽŶdĞĐŚŶŽůŽŐǇ      WƌĞƉĞƚŝƚŝŽŶ>ŝĂďŝůŝƚǇͲ/ŶƚĞƌŶĞƚ                                                 ϱ͕ϭϯϴ͘ϬϬ                 z
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϲϱ                                      ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                KƚŚĞƌŽƐƚƐͲŝŶƐƵƌĂŶĐĞ                                                          ϮϬ͕ϰϱϵ͘ϱϵ                  z
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϲͬϮϬϮϬ              ϭϵϮϲϰ                                               ĐŵĞ>ŽĐŬŽ͘                    KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϭϲϰ͘ϱϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               ϯϰ                                                       '                        ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϰϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               ϯϰ                                                       '                        ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϭϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϱ                                                ,ƵŶƚdĞůĞĐŽŵŵ                     KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϴϭϯ͘ϯϯ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϯ                                                 ,ĂƌůĂŶĚůĂƌŬĞ                   ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϯϵϰ͘ϭϴ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϭ                                             &ŝƌƐƚĂŶŬDĞƌĐŚĂŶƚ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϳϴ͘ϳϲ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϭ                                             &ŝƌƐƚĂŶŬDĞƌĐŚĂŶƚ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϭϰ͘ϵϱ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϭ                                             &ŝƌƐƚĂŶŬDĞƌĐŚĂŶƚ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϯϯ͘Ϯϲ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϭ                                             &ŝƌƐƚĂŶŬDĞƌĐŚĂŶƚ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   Ϯϭ͘Ϯϭ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϭ                                             &ŝƌƐƚĂŶŬDĞƌĐŚĂŶƚ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϭϮ͘ϲϮ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϭ                                             &ŝƌƐƚĂŶŬDĞƌĐŚĂŶƚ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϭ͘ϱϭ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               Ϯϭ                                             &ŝƌƐƚĂŶŬDĞƌĐŚĂŶƚ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   Ϯ͘ϲϲ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               ϭϳ                                                       &'>                       ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   Ϯϯ͘ϵϲ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               ϭϲ                                      :ĞĨĨĞƌƐŽŶWĂƌŝƐŚĞƉƚ͘ŽĨtĂƚĞƌ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϯϬϰ͘ϯϮ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ               ϭϲ                                      :ĞĨĨĞƌƐŽŶWĂƌŝƐŚĞƉƚ͘ŽĨtĂƚĞƌ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϯϮ͘ϲϭ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϭϳͬϮϬϮϬ                ϯ                                                 ƚŵŽƐŶĞƌŐǇ                     KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              Ϯϳ͘ϱϯ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϮϬͬϮϬϮϬ                                                                      ZĞŐŝŽŶƐ                      WĂǇŵĞŶƚ                                                                       ϭϰ͕Ϭϱϳ͘ϭϱ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϵ                                        >ŽǁĞΖƐƵƐŝŶĞƐƐĐĐŽƵŶƚ                 KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϭ͕ϭϮϱ͘ϯϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϴ                                    ĚǀĂŶƚĂŐĞ&ŝƌĞ^ƉĞĐŝĂůŝƐƚƐ͕>>             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              Ϯ͕Ϭϰϱ͘ϳϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϳ                                                'ĞŶŝĂZŽƉĞƌ                     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇWĂǇĂďůĞͲ^ƚƵĚĞŶƚŽƵŶĐŝů                                ϮϭϮ͘ϯϴ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϲ                                   ŽůƵŵďŝĂ^ĐŚŽůĂƐƚŝĐWƌĞƐƐƐƐŽĐ͘             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                               Ϯϳϵ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϰ                                      ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                sK/                                                                             Ͳ          z
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϯ                                      ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                KƚŚĞƌŽƐƚƐͲ/ŶƐƵƌĂŶĐĞ                                                          ϭ͕ϭϯϱ͘ϬϬ                 z
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϮ                        tDŽƌƉŽƌĂƚĞ^ĞƌǀŝĐĞƐ͕/ŶĐ͘ͲtĂƐƚĞDĂŶĂŐĞŵĞŶƚ          KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϵϳ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϭ                                                  dĞƌŵŝŶŝǆ                      KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϭϵϱ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϵϬ                                              ^ƚĂƌ^ĞƌǀŝĐĞ͕/ŶĐ͘                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϭ͕ϯϴϲ͘ϬϮ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϵ                                                   ^ŬŽďĞůΖƐ                     ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   ϯϰϬ͘ϱϵ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϴ                                          ZĞĚŝŬĞƌ^ŽĨƚǁĂƌĞ/ŶĐ͘                 /ŶƐƚƌƵĐƚŝŽŶĂů                                                                    ϳ͕ϭϬϲ͘ϰϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϳ                                   WĞůŝĐĂŶKƵƚĚŽŽƌĚǀĞƌƚŝƐŝŶŐ/ŶĐ              ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                                        Ϯ͕ϲϭϱ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϲ                               WĂŶͲŵĞƌŝĐĂŶ>ŝĨĞ/ŶƐƵƌĂŶĐĞŽŵƉĂŶǇ              WĂǇƌŽůů>ŝĂďŝůŝƚŝĞƐ                                                              ϱϯ͘ϯϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϱ                                     EƵͲůŝƚĞůĞĐƚƌŝĐĂůtŚŽůĞƐĂůĞƌƐ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              Ϯϭ͘ϭϱ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϰ                                 >ŽďďΖƐ,ŽƌƚŝĐƵůƚƵƌĂů^ƉƌĂǇĂƐƚ͕/ŶĐ͘          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                               ϮϱϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϯ                                                /y>>ĞĂƌŶŝŶŐ                    /ŶƐƚƌƵĐƚŝŽŶĂů                                                                    ϭϬ͕ϵϴϲ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϮ                                    /ŵŵĂĐƵůĂƚĞŽŶĐĞƉƚŝŽŶ^ĐŚŽŽů                WĂǇƌŽůů>ŝĂďŝůŝƚŝĞƐ                                                              ϭ͕Ϯϴϴ͘Ϯϲ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϭ                                                'ĞŶŝĂZŽƉĞƌ                     sK/                                                                             Ͳ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϴϬ                                       'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞƐ               ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                                                 ϯϬ͕ϭϬϮ͘ϱϯ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϳϵ                                              &ŽůĞǇDĂƌŬĞƚŝŶŐ                   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇWĂǇĂďůĞͲ^ƉŝƌŝƚǁĞĂƌ                                     ϭϬ͕ϯϮϴ͘ϴϱ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϳϴ                                   ŽůƵŵďŝĂ^ĐŚŽůĂƐƚŝĐWƌĞƐƐƐƐŽĐ͘             sK/                                                                             Ͳ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϳϳ                                               ůĂƌŝŽŶ,ĞƌĂůĚ                   ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                                        ϰϴϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϳϲ                       ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ/ŶĨŽƌŵĂƚŝŽŶdĞĐŚŶŽůŽŐǇ      /ŶƐƚƌƵĐƚŝŽŶĂů                                                                    ϱ͕ϮϬϯ͘ϱϬ                 z
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϳϱ                                      ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                sK/                                                                             Ͳ          z
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϬͬϮϬϮϬ              ϭϵϮϳϰ                                  ŵĞƌŝƉƌŝƐĞ&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ͕/ŶĐ͘           WĂǇƌŽůů>ŝĂďŝůŝƚŝĞƐ                                                              ϭϬϬ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϭͬϮϬϮϬ                                                                      ZĞŐŝŽŶƐ                      WĂǇŵĞŶƚ                                                                       Ϯ͕ϲϮϬ͘ϲϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϭͬϮϬϮϬ                ϯϳ                                              sĞƌŝǌŽŶtŝƌĞůĞƐƐ                   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϵϬ͘ϵϮ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϭͬϮϬϮϬ                ϯϰ                                                     ͲŽƌƉ                     ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                   Ϯϱ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϭͬϮϬϮϬ                ϭϲ                                     :ĞĨĨĞƌƐŽŶWĂƌŝƐŚĞƉƚ͘ŽĨtĂƚĞƌ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϯϴϭ͘Ϭϯ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϬϳͬϯϭͬϮϬϮϬ                ϭϱ                                                    ŶƚĞƌŐǇ                      KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                              ϴ͕ϭϴϵ͘ϳϭ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϳͬϯϭͬϮϬϮϬ                 ϳ                                                ƌĞƐĐĞŶƚWĂǇƌŽůů                  WĂǇƌŽůů>ŝĂďŝůŝƚŝĞƐ                                                              ϮϮϱ͘ϬϬ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϳͬϯϭͬϮϬϮϬ                 ϳ                                                ƌĞƐĐĞŶƚWĂǇƌŽůů                  WĂǇƌŽůů                                                                         Ϯϱ͕ϱϬϬ͘ϴϯ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϳͬϯϭͬϮϬϮϬ                 ϳ                                                ƌĞƐĐĞŶƚWĂǇƌŽůů                  WĂǇƌŽůů                                                                         ϲϮ͕ϱϳϬ͘ϴϯ
K>     KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϰϵϮ     ϳͬϯϭͬϮϬϮϬ                 ϳ                                                ƌĞƐĐĞŶƚWĂǇƌŽůů                  WĂǇƌŽůů                                                                         ϭϲϬ͕Ϭϴϱ͘ϬϮ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϬϭͬϮϬϮϬ               ϳϵϰϴ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϰ͕ϮϰϬ͘Ϯϭ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϬϭͬϮϬϮϬ               ϳϵϰϳ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϯ͕ϵϰϬ͘Ϯϭ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϯͬϮϬϮϬ               ϳϵϰϱ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϴ͕ϰϱϬ͘ϲϮ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϯͬϮϬϮϬ               ϳϵϰϰ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϰ͕ϱϬϬ͘ϬϬ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϯͬϮϬϮϬ               ϳϵϰϯ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϱϬϬ͘ϬϬ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϯͬϮϬϮϬ               ϳϵϰϮ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϱϬϬ͘ϬϬ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϲͬϮϬϮϬ               ϳϵϰϭ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                Ϯϯϱ͘ϬϬ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϳͬϮϬϮϬ                ϭ                                       dƵŝƚŝŽŶƚƌĂŶƐĨĞƌƐĨŽƌ:ƵůǇϭͲϭϳ            dƵŝƚŝŽŶƚƌĂŶƐĨĞƌƐĨŽƌ:ƵůǇϭͲϭϳ                                                  ϲ͕ϯϲϵ͘Ϭϴ                 y
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϳͬϮϬϮϬ                ϭ                                       dƵŝƚŝŽŶƚƌĂŶƐĨĞƌƐĨŽƌ:ƵůǇϭͲϭϳ            dƵŝƚŝŽŶƚƌĂŶƐĨĞƌƐĨŽƌ:ƵůǇϭͲϭϳ                                                  ϱϭ͕ϳϳϱ͘ϮϬ                  y
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϬϳͬϭϳͬϮϬϮϬ                ϭ                                       dƵŝƚŝŽŶƚƌĂŶƐĨĞƌƐĨŽƌ:ƵůǇϭͲϭϳ            dƵŝƚŝŽŶƚƌĂŶƐĨĞƌƐĨŽƌ:ƵůǇϭͲϭϳ                                                  ϭϬ͕ϭϯϲ͘ϲϮ                  y
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϳͬϯϬͬϮϬϮϬ                ϳϵϱϰ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϭ͕ϬϬϬ͘ϬϬ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϳͬϯϬͬϮϬϮϬ                ϳϵϱϱ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϲ͕ϵϮϬ͘ϯϱ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϳͬϯϭͬϮϬϮϬ                ϳϵϱϲ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϰ͕ϱϬϬ͘ϬϬ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϳͬϯϭͬϮϬϮϬ                 ϭ                                  dƵŝƚŝŽŶdƌĂŶƐĨĞƌƐďĞƚǁĞĞŶ:ƵůǇϭϴͲϯϭ            dƵŝƚŝŽŶdƌĂŶƐĨĞƌƐďĞƚǁĞĞŶ:ƵůǇϭϴͲϯϭ                                             ϭϲϭ͕ϲϬϭ͘ϯϯ                    y
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϳͬϯϭͬϮϬϮϬ                 ϭ                                  dƵŝƚŝŽŶdƌĂŶƐĨĞƌƐďĞƚǁĞĞŶ:ƵůǇϭϴͲϯϭ            dƵŝƚŝŽŶdƌĂŶƐĨĞƌƐďĞƚǁĞĞŶ:ƵůǇϭϴͲϯϭ                                             ϴ͕ϱϴϳ͘ϮϬ                 y
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϳͬϯϭͬϮϬϮϬ                ϳϵϱϳ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϰ͕ϮϬϬ͘ϬϬ
K>     dƵŝƚŝŽŶ&ƵŶĚĞĚ     ϬϬϭϭ     ϳͬϯϭͬϮϬϮϬ                ϳϵϰϴ                                       'ƵůĨŽĂƐƚĂŶŬZĞĚƵĐƚŝŽŶ                dƵŝƚŝŽŶĂŶĚ&ĞĞƐͲůŽĂŶƌĞĚƵĐƚŝŽŶ                                                ϴϬϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϬϯ                                             Ͳϭ^Zs/͕/E͘                  Zh'^&KZ'zD                                                                     ϳϳϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϬϰ                 >ZD͕dd/KEE^hWWZ^^/KE^z^dD^KEdZdKZ^͕>>      EEh>&/Z>ZD^z^dDDKE/dKZ/E'&                                          ϯϲϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϬϱ                                       DZ/E>>^dZ͕>>                   EDWK^d                                                                  ϴ͕ϭϲϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϬϲ                                             Dz,EE^^z                      KZEDW^hWW>/^                                                              ϭϳϮ͘ϴϲ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϬϳ                                      Yhd/^W/>d/^͕/E͘                 YhZ/hDD/EdEE                                                             ϭϵϯ͘ϲϳ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϬϴ                               Z,/^,KWZhDD>,/',^,KK>                    EWZK'ZD                                                                     ϰ͕ϬϬϬ͘ϬϬ                 z
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϬϵ                                                    dΘd                        d>W,KE                                                                        ϭϱϱ͘Ϯϳ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϬ                                              ZEW/                     WZ^/Ed/>^Zs/tZ^                                                      ϲϮ͘ϭϮ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϭ                             KͲK>Kdd>/E'KDWEzhE/d                  K<KZZ                                                                       ϳϬ͘Ϯϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϮ                                          KEE/Ed'EE                      WW>DKK<sEDEdWd                                                   ϭ͕ϯϭϬ͘ϯϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϯ                                             ŽŶƚƌŽů^ĐĂŶ͕/ŶĐ͘                  ^K&dtZ                                                                         Ϯϰϵ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϰ                                                 /^/E&y/E                    DKEd,>z/^/E&d                                                                ϱϳϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϱ                                                KhDZd                        ,/W^dZdd/s/dzKK<^                                                         ϭϱϳ͘ϳϲ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϲ                                             KEE>DEd                      >hD/Ehd/KE^hWW>/^                                                          Ϯϰϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϳ                                         ^zWZD/dWK^d'                     WK^d'                                                                          ϭ͕ϮϬϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϴ                                               Z/:͘DzZ                    DKEd,>z'ZKhE^D/EdEE                                                      ϯ͕ϲϵϵ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϭϵ                                           &ZE/^KW>/K                    W/Ed/E'                                                                         Ϯ͕ϱϰϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϬ                                             'W/Zd͕/E͘                   K&&/^hWW>/^                                                                  ϭϱϳ͘ϭϭ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϭ                                                 'hZ/E                       Ed>͕s/^/KE͕>/&:h>z                                                        Ϯ͕ϯϲϱ͘ϱϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϮ                                  :KE^^,KK>^hWW>zKDWEz                   ,ZW/E^EtZ^                                                            ϲϰ͘ϵϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϯ                                        >/ZZz/EdZ/KZ^͕/E͘                  &^,/>^&KZd,Z^                                                         ϯϱϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϰ                                     WEͲDZ/E>/&/E^͘K͘                 ^d&&W/>/&/E^hZE                                                        ϰϰ͘ϵϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϱ                                              Wh>^K/>h                     KK</^&KZEK&zZEYhdͲ,/^dWWZ^                                      ϱϱϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϲ                                          WEEEd^,KW͕/E͘                    tZ^                                                                           ϭϯϭ͘Ϭϰ
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,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϴ                                           ZhDD>&KKd>>                      sZd/^/E'                                                                      ϭϳϱ͘ϬϬ                z
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϮϵ                                              ^h^E&Z/Z                     WZKD&^dWZ/^                                                                 ϭϱϮ͘ϭϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϯϬ                                            d/&&EzdZhy/>>K                    >hD/Ehd/KE^hWW>/^                                                          ϮϰϬ͘ϭϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ             ϯϬϬϬϯϭ                              sZE/Z^K&dtZEd,EK>K'z                   W,z^/^>DEh>                                                               ϱϱ͘ϬϬ
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,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϮͬϮϬϮϬ             ϯϬϬϬϬϮ                                           &ZE/^KW>/K                    W/Ed/E'                                                                         Ϯ͕ϬϱϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϯϯ                                                    dΘd                        d>W,KE                                                                        ϳϳ͘ϲϰ
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,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϯϱ                                           &ZE/^KW>/K                    W/Ed/E'                                                                         ϭ͕ϭϭϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϯϲ                                           &ZE/^KW>/K                    W/Ed/E'                                                                         ϭ͕ϭϭϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϯϳ                                          ͘͘^W/>d/^͕/E͘                KK<^dKZ/EsEdKZz                                                              ϵϳϭ͘ϭϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϯϴ                                             D^K>hd/KE^                     WK^/dKE&/EZd^&>KKtKZ<                                                  ϯ͕ϯϵϱ͘ϵϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϯϵ                                               Z/:͘DzZ                    dZdZ/DD/E'                                                                    ϰ͕ϯϬϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϬ                                   &dKZz^Zs/'Ez͕/E͘                 ,sD/EdEE                                                                 ϲ͕ϴϮϱ͘ϴϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϭ                                             'W/Zd͕/E͘                   ^hWW>/^                                                                         ϴϱ͘ϭϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϮ                                    ,KDWKdZ/d^Zs/^                  D/EdEE^hWW>/^                                                             ϭ͕Ϯϯϯ͘ϵϲ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϯ                                 ,hEdd>KDDhE/d/KE^͕>>                   d>W,KE                                                                        ϭϳϱ͘ϴϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϰ                                                  :K^dE^                       d,>d/tZ^                                                                   Ϯϵϴ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϱ                                             <^zW>/EK                     ,ZWZdz                                                                      ϭϬϯ͘ϴϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϲ                                   KEͲd/DZ/E>E/E'>>͘                  W>hD/E'ZW/Z^                                                                 ϰϭϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϳ                                       Kd/^>sdKZKDWEz                    >sdKZZW/Z&>KKD'                                                     ϵ͕Ϭϯϳ͘ϵϯ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϴ                                                W,/>/W:KE^                    <zKZ                                                                         ϭϮϵ͘ϵϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϰϵ                         W/dEzKt^'>K>&/EE/>^Zs/^>>             YhZdZ>zWK^d'D,/E                                                        ϳϳϲ͘ϰϭ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϱϬ                                   ^DΖ^>hͬ^zE,ZKEzE<                    sZ/Kh^yWE^^                                                                 Ϯ͕ϲϰϬ͘ϭϲ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϱϭ                                             dDDz>ĂKhZ                       sK>>z>>^hWW>/^                                                              ϭϬϮ͘ϵϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϵͬϮϬϮϬ             ϯϬϬϬϱϮ                              sZE/Z^K&dtZEd,EK>K'z                   W,z^/^>^^ZKKD^hWW>/^                                                       ϱ͕ϳϭϴ͘ϭϭ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϱϰ                          Z,/K^K&EtKZ>E^ͲKhEd/E'                 D/EdEE                                                                      ϲϵϬ͘ϭϮ                z
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϱϱ                                             Θ>^>^͕/E͘                  ^hWW>/^                                                                         ϰϱ͘ϴϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϱϲ                          Z,/K^K&EtKZ>E^ͲKhEd/E'                 ddKZEz&t/EKtWZK:d                                                      ϭϭϭ͘ϬϬ                zΎ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϱϳ                                                K'E//E͘                     DDZ^,/W&                                                                   ϭ͕ϮϬϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϱϴ                                   h&&tdZWZKK&/E'K͕/E͘                  ZW/Z^ED/EdEE                                                          ϯϴϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϱϵ                               &sKZ/d^WZKDKd/KE>WZKhd^                   ^dhEdd/s/d/^Ͳ,/W^dZd                                                  ϭ͕ϵϳϯ͘ϯϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϬ                                          &/Z^dE<ΘdZh^d                    Z/dZWzDEd                                                              ϵ͕ϵϬϵ͘ϯϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϭ                                             'W/Zd͕/E͘                   K&&/^hWW>/^                                                                  ϯϲϰ͘Ϭϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϮ                                        ,>DW/Ed^ͲDd/Z/                  W/Ed^hWW>/^                                                                   ϮϭϮ͘ϴϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϯ                                 E>Edh^/E^^^K>hd/KE^͕/E                 ^K&dtZ                                                                         ϱϳϯ͘ϵϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϰ                             Z/,ZZD^dZKW,zΘtZ^>>                 ^dhEdd/s/d^                                                                ϳϲϬ͘Ϭϯ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϱ                                            ^hZ/dz/ZKEK͘                   &EZW/Z                                                                     ϭ͕ϬϱϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϲ                                           ^dztKKtZ                       ^dhEdd/s/d/^Ͳ,/^dWWZ^                                                ϭϵϭ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϳ                                              ^h^E&Z/Z                     ^dhEdd/s/d/^ͲWZKD&^d                                                   ϯϭϴ͘ϱϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϴ                                             dDDz>ĂKhZ                       d,>d/^                                                                        Ϯϰϰ͘ϲϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϲϵ                                                 tyE<                       '^K>/E                                                                         ϲϱ͘ϯϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϭϲͬϮϬϮϬ             ϯϬϬϬϱϯ                                         sK/ͲsĞŶĚŽƌŽŶƚƌŽů                  sK/Ͳ<ηϯϬϬϬϱϯͲEKdh^                                                     Ͳ
                                                  ,ͲWŽƐƚĂŐĞƵĞƚŽŚĂƉƚĞƌϭϭ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϭϱϭϰ     ϬϳͬϬϭͬϮϬϮϬ         ǁĞŵƵƐƚƉƌĞƉĂǇ                     W/dEzKt^'>K>&/EE/>^Zs/^>>             WK^d'Z&/>>ϳͬϭͬϮϬϮϬ                                                                       ϱϬϬ͘ϬϬ
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                                                          ,ͲWŽƐƚĂŐĞƵĞƚŽŚĂƉƚĞƌϭϭ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϭͬϮϬϮϬ         ǁĞŵƵƐƚƉƌĞƉĂǇ                      W/dEzKt^'>K>&/EE/>^Zs/^>>                     WK^d'Z&/>>ϳͬϭͬϮϬϮϬ                                                ϱϬϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϲͬϮϬϮϬ          ,ͲEdZ'z                                         EdZ'z                                     hd/>/dz                                                                ϭϱ͕ϱϮϵ͘ϰϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϬϳͬϮϬϮϬ          ,Ͳ:h>z/>>                            '>>',ZE&/d^Zs/^                             :h>zD/>WZD/hD                                                   ϰϳ͕ϵϵϮ͘Ϯϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ           ,ͲdDK^                                      dDK^EZ'z                                    '^/>>                                                               ϯ͕Ϯϲϱ͘ϳϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϲͬϮϬϮϬ         ,ͲWĞƚƚǇĂƐŚ                                    Wddz^,                                    Wddz^,ͲWZKD&^d>>KKEZKW                                     ϰϬϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ            ϮϬͲϬϳͲϬϬϲ                                          &ŝƌƐƚsŝĞǁ                                   ZKZ&/Z^ds/tE<,Z'ͲϳͬϮͬϮϬ                                  ϭϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ            ϮϬͲϬϳͲϬϬϳ                                    &/Z^dE<ΘdZh^d                                 ZKZs/^E<,Z'^ͲϳͬϯͬϮϬ                                      ϰϮϮ͘ϳϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ            ϮϬͲϬϳͲϬϬϴ                                          WĂƌĞŶƚE^&                                   E^&ͲdKKdDWͲ/EKdddE                                    Ϯϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ            ϮϬͲϬϳͲϬϬϴ                                          WĂƌĞŶƚE^&                                   E^&,/W^dZd                                                          ϯϱϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϰͬϮϬϮϬ            ϮϬͲϬϳͲϬϭϯ                                ĞƉŽƐŝƚƚŽǁƌŽŶŐĐĂƐŚĂĐĐŽƵŶƚ                          E<>KEϯϬZKZdKKWZd/E'd^ͬdh/d/KE>KEd          ϭϲ͕ϰϵϬ͘ϬϬ y
                                                                                                                                                                   ZsZ^dZE^&ZKEϳͬϲͬϮϬϮϬWK^/ddKEydzZ^,^,Kh>,s
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϭϯͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                 ĞƉŽƐŝƚƚŽǁƌŽŶŐĐĂƐŚĂĐĐŽƵŶƚ                         WK^/ddKKWZd/E'                                                 ϯ͕ϬϬϬ͘ϬϬ y
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϬ                                       ͘͘^W/>d/^͕/E͘                            KK<^dKZ                                                              ϭ͕ϲϲϰ͘ϴϴ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϭ                                         D^K>hd/KE^                                  h/>/E't>>^dtE>^^ZKKD^                                      ϰ͕ϯϮϵ͘ϱϮ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϮ                                 Z,/K^K&E͘K͘Ͳ/E^͘K&&/                       DW/E^hZE                                                         ϵϭϭ͘Ϯϱ z
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϯ                                         >Z/KE,Z>                                  sZd/^/E'                                                            ϰϳϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϰ                                  Z^Ed>^W/>/^d͕/E͘                        ZWZ</E'd'^                                                       ϴϬϱ͘ϯϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϱ                           />KE&ZE<>zEEW^dKEdZK>K͕͘/E͘                     W^dKEdZK>                                                           ϯϵϯ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϲ                                >sdKZd,E/>^Zs/^͕/E͘                        >sdKZ/E^Wd/KE                                                    ϮϰϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϳ                                         D/>zZ>/&&                                 ,/W^dZd^hWW>/^                                                     ϭϳϴ͘ϭϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϴ                                   &dKZz^Zs/'Ez͕/E͘                          ,sZW/Z^                                                           Ϯ͕ϱϱϭ͘ϳϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϳϵ                                      &K>zDZ<d/E'͕/E                               ^hDDZDW^hWW>/^                                                   Ϯ͕ϲϴϮ͘ϴϳ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϬ                                         'W/Zd͕/E͘                                >^^ZKDD^hWW>/^                                                     Ϯϴϳ͘ϵϮ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϭ                                               ,h>                                      d,>d/^hWW>/^                                                      ϭ͕ϯϱϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϮ                                         :K,E^dKEΖ^/E͘                                 KEhd^,/W^dZd                                                       ϭϬϰ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϯ                                            <d/<>>z                                  ,/W^dZd^hWW>/^                                                    ϱϭϬ͘ϳϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϰ                                          >^/'E^͕>>                                ,/^dWWZ^,/Zd^                                                      ϭ͕ϰϲϴ͘ϵϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϱ                                               >,^                                     h^                                                                   ϵϲϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϲ                                          D/,>>^d>>                                 &/E'ZWZ/Ed/E'                                                         ϱϴ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϳ                                            W,/>/W:KE^                                 /Z^ΘWZ/EdZ                                                     ϭ͕ϰϲϮ͘ϳϭ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϴ                                          Z/K,h^͕/E                                 KWzD,/EK^d^                                                     Ϯϰϵ͘ϴϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ             ϯϬϬϬϴϵ                                          ^h^E&Z/Z                                  WZKD&^dWZ/^                                                       ϳϵϵ͘ϵϵ
                                                                                                                                                                   ^hDDZDWΘ,/W^dZd^hWW>/^͕:E/dKZ/>^hWW>/^͕KDWhdZ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϯͬϮϬϮϬ              ϯϬϬϬϵϬ                                             ^zEͬDKE                               Yh/WDEd͕WZKD&^dWZ/^͕,K^W/d>/dzΘK&&/^hWW>/^              ϯ͕Ϭϳϯ͘ϭϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϭ                         Z,/K^K&EtKZ>E^ͲKhEd/E'                          DŽŶƚŚůǇŝŶƐƵƌĂŶĐĞďŝůů                                                 Ϯϭ͕ϭϴϵ͘ϴϬ           z
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϮ                                          &ZE/^KW>/K                             WĂŝŶƚŝŶŐ                                                               ϭ͕ϭϬϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϯ                                             Θ>^>^͕/E͘                          DĂŝŶƚĞŶĂŶĐĞƐƵƉƉůŝĞƐ                                                   Ϯϯϵ͘ϱϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϰ                                            Ed,KEzZh                               ĂŶĚ/ŶƐƚƌƵŵĞŶƚ                                                        ϱϬϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϱ                         Z,/K^K&EtKZ>E^ͲKhEd/E'                          h/>/E'K&&/ϭй&/>>/E'                                         ϰϭ͘ϱϭ        z
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϲ                                                      dΘd                              dĞůĞƉŚŽŶĞďŝůů                                                         ϭϱϱ͘Ϯϳ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϳ                                   >&KhZEtKZ>E^͕>>                             'ƌĂĚƵĂƚŝŽŶĚŝƉůŽŵĂƐ                                                    ϰ͕ϬϲϮ͘ϳϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϴ                                                zZ͕/E                             ^ƚƵĚĞŶƚWůĂŶŶĞƌƐ                                                       ϯ͕ϳϬϯ͘Ϯϲ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϬϵϵ                                      >>WZKhd/KE^͕>>                            'ƌĂĚƵĂƚŝŽŶǆƉĞŶƐĞ                                                     ϮϱϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϬ                                             ><h͕/E                             ĚǀĂŶĐĞŵĞŶƚƐŽĨƚǁĂƌĞ                                                   ϱ͕ϰϯϰ͘ϴϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϭ                                            Z/E,ZdDE                               dƵŝƚŝŽŶƌĞĨƵŶĚ                                                         ϵ͕ϮϭϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϮ                                               ,Zz>W>>                             ŚĂƉĞůůĞƚƚĞĞǆƉĞŶƐĞ                                                    ϭϭϱ͘Ϯϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϯ                                         KEE/Ed'EE                               ^ƚƵĚĞŶƚŽƵŶĐŝůǆƉĞŶƐĞ                                                ϳϵ͘ϱϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϰ                                                 /^/E&y/E                            DŽŶƚŚůǇĚŝƐŝŶĨĞĐƚŝŶŐ                                                   ϱϳϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϱ                                  &dKZz^Zs/'Ez͕/E͘                          ͬZĞƉĂŝƌ                                                             ϳϳϬ͘ϱϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϲ                                        &K>zDZ<d/E'͕/E                            ŽŽŬƐƚŽƌĞWƵƌĐŚĂƐĞƐ                                                    ϭ͕ϯϱϲ͘Ϯϲ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϳ                                          &ZE/^KW>/K                             WĂŝŶƚŝŶŐ                                                               ϭ͕ϭϬϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϴ                                             'W/Zd͕/E͘                           ^ƵƉƉůŝĞƐ                                                               Ϯϱϳ͘ϭϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϬϵ                                    /Ed'Z/dzZWd^>^/E                          &ůŽŽƌƐŝŶŐǇŵ                                                          ϰ͕Ϭϴϭ͘ϭϵ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϬ                                            :EE/&ZWZd                             ŚĂƉĞůůĞƚƚĞĞǆƉĞŶƐĞ                                                    ϰϳϲ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϭ                                                 <d/<>>z                            ŚŝƉ^ƚĂƌƚĞǆƉĞŶƐĞƐ                                                    ϵϰ͘ϵϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϮ                                             >^/'E^͕>>                            ŝďƐ͕ƚͲƐŚŝƌƚƐ͕                                                        Ϯ͕ϰϳϳ͘ϯϳ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϯ                                              D^dZzWZW                              dŽŽƚĐĂŵƉĐŽƐƚ                                                      ϲϯϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϰ                                              WD<EEz                               ŚĞĐŬ/ŶĚĂǇƐƵƉƉůŝĞƐ                                                  Ϯϲϱ͘ϭϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϱ                                                W,/>/W:KE^                            ŚƌŽŵĞďŽŽŬĐŚĂƌŐĞƌĐĂƐĞ                                                ϵϬ͘ϲϯ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϲ                            Z/,ZZD^dZKW,zΘtZ^>>                          ^ĞŶŝŽƌĂǁĂƌĚƐ                                                          Ϯ͕ϭϴϱ͘ϭϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϳ                                              ZK,K,K͕/E                             W/ǌǌĂĂŵƉĂŶĚŚŝƉƐƚĂƌƚ                                               ϱϮϴ͘Ϭϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϴ                                             ^>d/KE͘KD                              ĂĐŬŐƌŽƵŶĚĐŚĞĐŬƐ                                                      ϱϳ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϭϵ                            ^Zs/D^dZ>/d>E/E'^Zs/^                       ĂƌƉĞƚĂŶĚĨůŽŽƌĐůĞĂŶŝŶŐ                                              ϴ͕Ϯϳϰ͘Ϯϰ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϮϬ                                      ^,//EdZEd/KE>KZW͘                           ůĂƐƐƌŽŽŵƐŽĨƚǁĂƌĞ                                                     Ϯ͕ϳϴϳ͘ϯϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϮϭ                                              ^h^E&Z/Z                             WƌŽŵ&ĞƐƚWƌŝǌĞƐ                                                       Ϯ͕Ϯϰϱ͘ϰϲ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ              ϯϬϬϭϮϮ                        t>>^&Z'KsEKZ&/EE/>^Zs/^͕>>                      ŽƉŝĞƌǆƉĞŶƐĞ                                                         ϱϯϳ͘ϭϱ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ          ,Ͳ:WtdZ                           :&&Z^KEWZ/^,Wd͘K&tdZ                          ZKZ:&&WZ/^,tdZWϳͬϮϵͬϮϬϮϬ;DdZdϲͬϭϱͬϮϬϮϬ            ϮϬϴ͘ϲϳ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ        ,Ͳ'ĂƌŶŝƐŚŵĞŶƚ                           WZdDEdK&^K/>^Zs/^                           ŵƉůŽǇĞĞηϬϬϬϱϴϭϱϵϰͲϬϰ                                                 ϯϭϳ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ    ,ͲWZK^d^ͲWZϳͬϯϬͬϮϬ                      Z^EdWzZK>>^K>hd/KE^/E                          WzZK>>K^d^ͲWZϳ͘ϯϬ͘ϮϬϮϬ                                           ϯϭϱ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ             ǆƉĞŶƐĞ                                                 Wddz^,                             Wddz^,Ͳ,</EzͲϴͬϲͬϮϬ                                     Ϯ͕ϬϬϴ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϬͬϮϬϮϬ             ǆƉĞŶƐĞ                                                 Wddz^,                             WZEd^>hͲd,ZKZd/KE                                       Ϯ͕ϯϱϬ͘ϬϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ            ϮϬͲϬϳͲϬϮϳ                               Z^EdWzZK>>^K>hd/KE^/E                          ZKZWZͲϳͬϯϬͬϮϬ                                                    ϭϴϵ͕Ϭϭϰ͘ϭϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ            ϮϬͲϬϳͲϬϮϴ                               Z^EdWzZK>>^K>hd/KE^/E                          ZKZWZdy^ͲWZϳͬϯϬͬϮϬ                                           ϲϲ͕ϴϱϱ͘ϮϬ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϮϵͬϮϬϮϬ            ϮϬͲϬϳͲϬϮϵ                               Z^EdWzZK>>^K>hd/KE^/E                          ZKZϰϬϭ;ŬͿͲWZϳͬϯϬͬϮϬ                                             ϯϰ͕ϬϴϮ͘ϳϭ
,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϭϱϭϰ   ϬϳͬϯϭͬϮϬϮϬ            ϮϬͲϬϳͲϬϯϵ                                         &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ                          D/EdEE,Z'ͲKWZd/E'd:h>z                               Ϯϱ͘ϬϬ
,^    KŶůŝŶĞ'ŝǀŝŶŐ                 ϮϴϬϵ   ϬϳͬϭϰͬϮϬϮϬ            ϮϬͲϬϳͲϬϭϬ                                         &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ                          ZKZE<,Z'^Ͳ^,KE>/EͲϳͬϯͬϮϬ                             Ϯϰ͘ϵϱ        
,^    KŶůŝŶĞ'ŝǀŝŶŐ                 ϮϴϬϵ   ϬϳͬϭϰͬϮϬϮϬ      ǆƉĞŶƐĞŝŶƋƵŝĐŬďŽŽŬƐ                                             WĂƌĞŶƚ                             ^WKZd^DWͲZ&hEͲ                                                  Ϯϭϱ͘ϬϬ
,^    KŶůŝŶĞ'ŝǀŝŶŐ                 ϮϴϬϵ   ϬϳͬϬϭͬϮϬϮϬ            ϮϬͲϬϳͲϬϬϭ                                                    WĂƌĞŶƚ                             dZE^&Z^dZ/Wd/s/dzϲͬϮϯͬϮϬϮϬͲϲͬϯϬͬϮϬϮϬƚŽŶĚŽǁŵĞŶƚ              ϭ͕ϯϵϱ͘ϬϬ          y
,^    KŶůŝŶĞ'ŝǀŝŶŐ                 ϮϴϬϵ   ϬϳͬϮϴͬϮϬϮϬ      ǆƉĞŶƐĞ/ŶYƵŝĐŬďŽŽŬƐ                                              WĂƌĞŶƚ                             ^WKZd^DWͲZ&hEͲηϳϴ;^/DDKE^Ϳ                                     ϳϱ͘ϬϬ
,^    KŶůŝŶĞ'ŝǀŝŶŐ                 ϮϴϬϵ   ϬϳͬϯϭͬϮϬϮϬ      ǆƉĞŶƐĞ/ŶYƵŝĐŬďŽŽŬƐ                                              WĂƌĞŶƚ                             ^WKZd^DWͲZ&hEͲηϭϱ;Z/Ϳ                                        ϭϰϬ͘ϬϬ
,^    KŶůŝŶĞ'ŝǀŝŶŐ                 ϮϴϬϵ   ϬϳͬϮϬͬϮϬϮϬ       dƌĂŶƐĨĞƌŝŶYƵŝĐďŽŽŬƐ                                             WĂƌĞŶƚ                             ^,K>Z^,/W&hE                                                       ϰϱϬ͘ϬϬ         y
,^    EĞǆƚzĞĂƌĂƐŚ                ϰϵϲϳ   ϬϳͬϬϲͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                   dƌĂŶƐĨĞƌ                            dƵŝƚŝŽŶϮϬϮϬͲϮϭƉĂŝĚϳͬϮͬϮϬϮϬ                                          ϯ͕ϬϬϬ͘ϬϬ          y
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϬϭͬϮϬϮϬ              ϰϱϰϲϮ                                                      WĂƌĞŶƚ                             ZĞĚƵĐĞdƵŝƚŝŽŶ>ŽĂŶƚĂŶŬ                                            ϰ͕ϮϬϬ͘ϬϬ          
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϯͬϮϬϮϬ              ϰϱϰϲϰ                                                      WĂƌĞŶƚ                             ĂŶĐĞůĂŶŬ>ŽĂŶ                                                       ϵ͕ϭϬϬ͘ϬϬ          
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϯͬϮϬϮϬ              ϰϱϰϲϯ                                                      WĂƌĞŶƚ                             ĂŶĐĞůĂŶŬ>ŽĂŶ                                                       ϵ͕ϭϬϬ͘ϬϬ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϬϭͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dZE^&Zdh/d/KEZ^Zs/EdZ^ddKKWZd/E'ϳ͘ϭ͘ϮϬϮϬ                Ϯ͕ϰϳϬ͘ϲϳ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϬϭͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE>KE/^hZ^DEdϳ͘ϭ͘ϮϬϮϬ                                     ϴϲ͕Ϯϳϯ͘ϬϬ           ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϬϭͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEdϳ͘Ϯ͘ϮϬϮϬ                                          ϵ͕Ϭϵϴ͘ϳϱ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϬϯͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEdϳ͘ϯ͘ϮϬϮϬ                                          ϵϳ͕ϳϬϲ͘ϵϳ           ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϯͬϮϬϮϬ            ϮϬͲϬϳͲϬϭϭ                                                    WĂƌĞŶƚ                             ZKZ,Z'KE>KE                                                  ϵϳ͘ϯϮ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϰͬϮϬϮϬ            ϮϬͲϬϳͲϬϭϮ                                                    WĂƌĞŶƚ                             ZKZ&^KEE>>/E'>KE                                        ϱϬ͘ϰϮ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϬϴͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEdϳ͘ϴ͘ϮϬϮϬ                                          ϭ͕ϭϳϯ͘ϭϳ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϬϵͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEdϳ͘ϵ͘ϮϬϮϬ                                          ϭ͕ϯϯϲ͘ϵϭ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϬͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KEdZE^&Zϳ͘ϭϬ͘ϮϬϮϬ                                             ϵϭϬ͘ϬϬ         ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϯͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KEdZE^&Zϳ͘ϭϯ͘ϮϬϮϬ                                             ϭ͕ϳϮϮ͘ϲϴ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϰͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KEdZE^&Zϳ͘ϭϰ͘ϮϬϮϬ                                             ϭ͕ϰϲϰ͘ϱϴ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϭϱͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KEdZE^&Zϳ͘ϭϱ͘ϮϬϮϬ                                             ϭϱϯ͕ϮϯϬ͘ϱϳ             ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϮϮͬϮϬϮϬ              ϰϱϰϴϯ                                                      WĂƌĞŶƚ                             ĂŶĐĞůĂŶŬ>ŽĂŶ                                                       ϵ͕ϭϬϬ͘ϬϬ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϮϮͬϮϬϮϬ            ϮϬͲϬϳͲϬϭϳ                                                    WĂƌĞŶƚ                             ZKZ&^E>>KE                                               ϳϱ͘ϲϯ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϮϬͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEd                                                   Ϯ͕Ϭϳϳ͘ϭϴ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϮϯͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEd                                                   ϰ͕ϭϴϰ͘ϭϬ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϮϳͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEd                                                   ϲϬϬ͘Ϭϲ         ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϮϴͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KE/^hZ^DEd                                                   Ϯ͕ϳϬϬ͘ϵϯ          ǆ
,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   Ϭϭϴϰ   ϬϳͬϯϭͬϮϬϮϬ             dƌĂŶƐĨĞƌ                                                    WĂƌĞŶƚ                             dh/d/KEdZE^&Z                                                       ϳ͕ϵϯϯ͘ϱϳ          ǆ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϭͬϮϬϮϬ             ,Ğďŝƚ                                            <WƌŽĐĞƐƐŝŶŐ                            ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϱϲ͘ϭϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϭͬϮϬϮϬ               Ϯϯϴϭϱ                                     ĐƚŝǀĞ/ŶƚĞƌŶĞƚdĞĐŚŶŽůŽŐŝĞƐ                        /ŶƐƚƌƵĐƚŝŽŶĂů                                                          Ϯϰ͕ϬϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϭͬϮϬϮϬ               Ϯϯϴϭϲ                                       tĞůůƐ&ĂƌŐŽ&ŝŶĂŶĐŝĂů^Ğƌǀ                        /ŶƐƚƌƵĐƚŝŽŶĂů                                                          Ϯϰϰ͕ϵϰϳ͘ϰϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϲͬϮϬϮϬ               ϮϯϴϮϭ                                                ^ƚĞǀĞŶ^ŽƉĞƌ                             KƉĞƌĂƚŝŽŶƐ                                                             ϱϭϮ͘Ϯϯ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϲͬϮϬϮϬ               ϮϯϴϮϮ                                                 :ĂƐŽŶDŽƌĂŶ                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϱϳ͘ϬϬ        Ύ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϲͬϮϬϮϬ               ϮϯϴϮϯ                                                    :ŝůů,ŽŐĂŶ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϳϰ͘ϭϮ        Ύ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϮϰ                                      sĂůĞŶƚŝ͕dŽŶǇΘ^ƚĂĐǇсǀĂ                        ZĞĨƵŶĚƌĞĚŝƚĂůĂŶĐĞ                                                  ϰϳϰ͘ϵϬ         Ύ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϮϱ                 &ĞƌŶĂŶĚĞǌ͕sŝĐƚŽƌΘĚƌŝĂŶĂсsŝĐƚŽƌ;ϭϮͿс/ŐŶĂĐŝŽ;ϭϬͿсsŝĐƚŽƌŝĂ;ϭϬͿ   ZĞĨƵŶĚĐƌĞĚŝƚďĂůĂŶĐĞ                                                  ϭϴϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϮϲ                                             <ĞŶƚǁŽŽĚ^ƉƌŝŶŐƐ                            ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϳϵ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϮϳ                                            WŽŶĚ^ŽůƵƚŝŽŶƐ͕>>                          KƉĞƌĂƚŝŽŶƐ                                                             ϭϭϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϮϴ                                         s/ŽŵŵƵŶŝĐĂƚŝŽŶƐ/ŶĐ͘                          /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϱϲϰ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϮϵ                                         ĂǀŝƐWƌŽĚƵĐƚƐŽŐĂůƵƐĂ                         KƉĞƌĂƚŝŽŶƐ                                                             ϱϳ͘ϱϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϯϬ                                             ^^ǇƐƚĞŵƐ͕>>                            KƉĞƌĂƚŝŽŶƐ                                                             ϭ͕ϯϮϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϭ                                                ůĂŬĞĂŶŝĞůƐ                            ^ƚƵĚĞŶƚĐƚŝǀƚŝĞƐ                                                      ϮϮϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϯϮ                                               ůĂŝƌĞWůĂŝƐĂŶĐĞ                          ĞǀĞůŽƉŵĞŶƚ                                                            ϭ͕ϬϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϯ                                                 ƌŝŬDŽƌĂůĞƐ                            ^ƚƵĚĞŶƚĐƚŝǀƚŝĞƐ                                                      ϮϮϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϰ                                                 ,<sK/                              sK/,<                                                           Ͳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϱ                                               ZĞĞůtŽƌůĚ/ŶĐ͘                           KƉĞƌĂƚŝŽŶƐ                                                             ϳϴϲ͘Ϯϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϲ                                               ^ŚĂƌŽŶ^ŵŽĚĞ                              ^ƚƵĚĞŶƚĐƚŝǀƚŝĞƐ                                                      ϮϱϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϳ                                                 ǇƌŽŶEŝŚĂƌƚ                            ^ƚƵĚĞŶƚĐƚŝǀƚŝĞƐ                                                      ϭϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϴ                                             'ĞŽƌŐĞ^ĐŚĞĂĨĨĞƌ                            ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϭϳϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϯϵ                                                  :ĂŵĞƐ>ĂŶĞ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϱϵϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϰϬ                                                ZŽďĞƌƚZĂŝŶĞƐ                            ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϭϳϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϭ                                               ^ƚĂŶůĞǇ>ĞďůĂŶĐ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϭϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϰϮ                                           tĂƐƚĞDĂŶĂŐĞŵĞŶƚ                              KƉĞƌĂƚŝŽŶƐ                                                             ϯϱϱ͘ϱϭ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϯ                              ŽĐĂͲŽůĂŽƚƚůŝŶŐŽŵƉĂŶǇhŶŝƚĞĚ͕/ŶĐ͘                    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                       ϵϰ͘Ϯϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϰ                                    ^ŚĞƌǁŝŶͲtŝůůŝĂŵƐͲŽǀŝŶŐƚŽŶ                         KƉĞƌĂƚŝŽŶƐ                                                             ϯϴϱ͘Ϭϴ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϱ                                                   tĞǆĂŶŬ                              KƉĞƌĂƚŝŽŶƐ                                                             Ϯϯ͘ϳϯ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϲ                               ǆƚĞƌŵŝŶĂƚŝŶŐŽĨ^ƚ͘dĂŵŵĂŶǇ͕/ŶĐ͘                     KƉĞƌĂƚŝŽŶƐ                                                             Ϯϲϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϳ                                                DĞůĞWƌŝŶƚŝŶŐ                            ĞǀĞůŽƉŵĞŶƚ                                                            ϴϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϴ                                        ĂǀŝƐWƌŽĚƵĐƚƐŽǀŝŶŐƚŽŶ                         KƉĞƌĂƚŝŽŶƐ                                                             ϰϱϮ͘ϯϳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϰϵ                                        WƌŽũĞĐƚ>ĞĂĚƚŚĞtĂǇ/ŶĐ͘                        /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϳ͕ϳϮϮ͘ϱϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϱϬ                                         ZŽƚŽůŽŽŶƐƵůƚĂŶƚƐ͕/ŶĐ͘                        KƉĞƌĂƚŝŽŶƐ                                                             Ϯ͕ϰϬϳ͘ϱϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϱϭ                                                  /ŶƚƵŝƚŝĐ͕/ŶĐ͘                         /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϭ͕ϭϱϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               ϮϯϴϱϮ                                    ^ŚĞƌǁŝŶͲtŝůůŝĂŵƐͲDĂŶĚĞǀŝůůĞ                        KƉĞƌĂƚŝŽŶƐ                                                             ϲϲ͘ϭϴ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϱϯ                                      ĞƌƚŝĨŝĞĚdĞĐŚŶŝĐĂů^ƵƉƉŽƌƚ                        KƉĞƌĂƚŝŽŶƐ                                                             ϯ͕ϱϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϱϰ                                                 dƵƌŶŝƚŝŶ͕>>                           /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϯ͕ϯϰϮ͘ϳϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϱϱ                                      &ŝƌƐƚĂŶŬŶĚdƌƵƐƚ;ϯϬϮϬϳͿ                       :ƵůǇĐƌĞĚŝƚĐĂƌĚĐŚĂƌŐĞƐ                                               Ϯ͕ϯϲϯ͘ϯϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϴͬϮϬϮϬ               Ϯϯϴϱϲ                                           'ƵĂƌĚŝĂŶͲƉƉůĞƚŽŶ                           ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         Ϯ͕ϱϲϰ͘ϱϮ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ    ϳͬϵͬϮϬϮϬ             ,/d                                            '>^Z/WEdZ                            ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϯ͕ϬϳϬ͘Ϭϲ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϬͬϮϬϮϬ             ,/d                                               ůĞĂƌĂŶƚ>>                            ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϴϲ͘ϱϭ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϱϳ                             WŝƚŶĞǇŽǁĞƐ'ůŽďĂů&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ>>                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϯϮ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϱϴ                                      tĞůůƐ&ĂƌŐŽsĞŶĚŽƌ&ŝŶ^Ğƌǀ                        /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϭ͕ϴϬϮ͘ϲϰ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϱϵ                                                       ZEK                              KƉĞƌĂƚŝŽŶƐ                                                             ϱϵϬ͘ϭϬ         zΎ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               ϮϯϴϲϬ                                        ZEKͲĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ                         KƉĞƌĂƚŝŽŶƐ                                                             ϭϮϬ͘ϯϬ         zΎ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϭ                                   ZEKͲ/ŶĨŽƌŵĂƚŝŽŶdĞĐŚŶŽůŽŐǇ                         /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϰ͕Ϭϱϭ͘ϱϬ          zΎ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               ϮϯϴϲϮ                                               sK/,<                              sK/,<                                                           Ͳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϯ                                   ,ƵŶƚdĞůĞĐŽŵŵƵŶŝĐĂƚŝŽŶƐ͕>>                          KƉĞƌĂƚŝŽŶƐ                                                             ϭ͕Ϭϱϯ͘ϲϲ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϰ                                   DĞƐĂůĂŝŶŽŶƐƵůƚŝŶŐ'ƌŽƵƉ͕>>                        KƉĞƌĂƚŝŽŶƐ                                                             ϰ͕ϳϵϳ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϱ                                     ƵƚŚĞŶƚŝĐǆƚĞƌŵŝŶĂƚŝŶŐ͕/ŶĐ͘                       KƉĞƌĂƚŝŽŶƐ                                                             ϮϮϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϲ                                           tĂƐƚĞDĂŶĂŐĞŵĞŶƚ                              KƉĞƌĂƚŝŽŶƐ                                                             Ϯϲϯ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϳ                          zKzŽƵƚŚKĨĨŝĐĞͲĂŵƉďďĞǇZĞƚƌĞĂƚĞŶƚĞƌ                   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϭ͕ϬϬϬ͘ϬϬ          zΎ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϴ                                   ZEKͲ^ƉĞĐŝĂůǀĞŶƚƐŽǀĞƌĂŐĞ                        ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                       ϭ͕ϲϴϳ͘ϱϬ          z
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϲϵ                                             ĞĞƌĞƌĞĚŝƚ͕/ŶĐ͘                          KƉĞƌĂƚŝŽŶƐ                                                             ϯϵϭ͘Ϯϰ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               ϮϯϴϳϬ                                             dĂŵŵĂŶǇhƚŝůŝƚŝĞƐ                           KƉĞƌĂƚŝŽŶƐ                                                             ϭ͕ϰϭϳ͘Ϭϲ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϭ                                      ,ŽŵĞĞƉŽƚƌĞĚŝƚ^ĞƌǀŝĐĞƐ                         KƉĞƌĂƚŝŽŶƐ                                                             ϰϬϮ͘ϵϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               ϮϯϴϳϮ                                          sĂƌƐŝƚǇ^Ɖŝƌŝƚ&ĂƐŚŝŽŶƐ                        ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϱϮ͕ϳϵϯ͘Ϭϯ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϯ                                                       dΘd                              KƉĞƌĂƚŝŽŶƐ                                                             ϭϵϬ͘Ϭϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϰ                                   'ƵůĨŽĂƐƚKĨĨŝĐĞWƌŽĚƵĐƚƐ͕/ŶĐ͘                      /ŶƐƚƌƵĐƚŝŽŶĂů                                                          Ϯϴϲ͘Ϭϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϱ                                              ^ƚĂƌ^ĞƌǀŝĐĞ͕/ŶĐ͘                         KƉĞƌĂƚŝŽŶƐ                                                             ϰ͕Ϭϴϯ͘ϯϯ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϲ                                                      /sŝůůĞ                            ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                       Ϯ͕Ϯϱϲ͘ϯϳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϳ                                                        >&                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϯϮϮ͘ϭϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϴ                                      ^Ƶŵŵŝƚ/ŶƚĞŐƌĂƚŝŽŶ^ǇƐƚĞŵƐ                         /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϳ͕ϭϰϭ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϳϵ                                        ĂůĨŽƵƌEĞǁKƌůĞĂŶƐ͕>>                         ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϯϳ͘ϰϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               ϮϯϴϴϬ                                             >KWŽǁĞƌ>>                             KƉĞƌĂƚŝŽŶƐ                                                             Ϯ͕ϲϰϴ͘ϰϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϴϭ                                                   ^ĂŵΖƐůƵď                            ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                       ϭ͕ϰϰϰ͘ϳϳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               ϮϯϴϴϮ                                           ZEKͲĂƐƵĂůƚǇ/ŶƐ                           KƚŚĞƌͲ/ŶƐƵƌĂŶĐĞ                                                      ϳ͕ϴϬϵ͘ϴϱ          z
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϴϯ                                        WƌŽũĞĐƚ>ĞĂĚƚŚĞtĂǇ/ŶĐ͘                        /ŶƐƚƌƵĐƚŝŽŶĂů                                                          ϭϬϰ͘ϳϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϴϰ                                   ^ŝƚĞKŶĞ>ĂŶĚƐĐĂƉĞ^ƵƉƉůǇ͕>>                         KƉĞƌĂƚŝŽŶƐ                                                             ϯϱϰ͘ϰϮ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϴϱ                            ĞĨĂůƵ͕ĂǀŝĚΘ^ŚĞƌǇůсĂƌůǇͲŶŽƚƌĞƚƵƌŶŝŶŐ               ZĞĨƵŶĚƌĞĚŝƚĂůĂŶĐĞ                                                  ϭ͕ϱϱϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϱͬϮϬϮϬ               Ϯϯϴϴϲ                       dĂǇůŽƌ͕:ŽŚŶΘ^ŚĞůůĞǇс:ŽŚŶсƐŚůĞǇͲŶŽƚƌĞƚƵƌŶŝŶŐ            ZĞĨƵŶĚĐƌĞĚŝƚďĂůĂŶĐĞ                                                  ϲ͕ϰϳϮ͘ϴϳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϲͬϮϬϮϬ               Ϯϯϴϴϳ                                           ƐŚůĞĞ&ƌŝƚƐĐŚĞƌzŽƌŬ                         ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϮϮϳ͘ϱϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϲͬϮϬϮϬ               Ϯϯϴϴϴ                                         'ĂƌǇŽŶĂŶŶŽĂƚĞƌŝŶŐ                           ^ƚƵĚĞŶƚƚŝǀŝƚŝĞƐ                                                     ϯ͕ϭϬϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϲͬϮϬϮϬ               Ϯϯϴϴϵ                                       ,ŽŶĞǇΖƐĂǇŽƵ<ŝƚĐŚĞŶ>>                         ^ƚƵĚĞŶƚƚŝǀŝƚŝĞƐ                                                     ϯϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϭϲͬϮϬϮϬ               ϮϯϴϵϬ                                                dŚĞdĞŶƚDĂŶ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     Ϯ͕Ϯϵϴ͘Ϭϰ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϬͬϮϬϮϬ               Ϯϯϴϵϭ                                                ƌĞĂƚŝǀĞdĞĞƐ                            ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϯϴ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϬͬϮϬϮϬ               ϮϯϴϵϮ                                       ,ŽŶĞǇΖƐĂǇŽƵ<ŝƚĐŚĞŶ>>                         ^ƚƵĚĞŶƚĐƚŝǀƚŝĞƐ                                                      ϭϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               Ϯϯϴϵϯ                                          ƚƚĂǁĂǇǁĂƌĚĞŶƚĞƌ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     Ϯϱϵ͘ϭϰ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               Ϯϯϴϵϰ                                          WĞǇƚŽǀĞŶWƌŽĚƵĐƚŝŽŶƐ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϰϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               Ϯϯϴϵϱ                                                  :ĂŵĞƐ>ĂŶĞ                             KƉĞƌĂƚŝŽŶƐ                                                             ϭϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               Ϯϯϴϵϲ                                         ĂǀŝƐWƌŽĚƵĐƚƐŽŐĂůƵƐĂ                         KƉĞƌĂƚŝŽŶƐ                                                             ϲϳϰ͘ϬϮ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               Ϯϯϴϵϳ                                              :ĂŶĞƚ,ĞƵŵĂŶŶ                              ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϮϮϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               Ϯϯϴϵϴ                                                :ĞŶŶŝĨĞƌDŝůĞƐ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϮϮϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               Ϯϯϴϵϵ                                              :ŽŶĂƚŚĂŶ>ĂŶƚĞƌ                            ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϱϰ͘Ϯϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               ϮϯϵϬϬ                                               :ŽǇĐĞ<ĞŶŶĞĚǇ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϮϮϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               ϮϯϵϬϭ                                              DĂĚĂůǇŶDĂƌĞƐ                              ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϱϰ͘Ϯϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               ϮϯϵϬϮ                                               ^ŚĂƌŽŶ^ŵŽĚĞ                              ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϮϱϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϮͬϮϬϮϬ               ϮϯϵϬϯ                                           'ƵĂƌĚŝĂŶͲƉƉůĞƚŽŶ                           ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         Ϯ͕ϲϴϱ͘ϰϰ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϯͬϮϬϮϬ               ϮϯϵϬϰ                                            :ĂŵĞƐƐƚŽƉŝŶĂů͕:ƌ                          ^ƚƵĚĞŶƚĐƚŝǀƚŝĞƐ                                                      ϴϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϯͬϮϬϮϬ               ϮϯϵϬϱ                                                ƌĞĂƚŝǀĞdĞĞƐ                            ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϭ͕Ϯϱϰ͘ϲϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ             ϴϱϰϱ   ϳͬϮϯͬϮϬϮϬ               ϮϯϵϬϲ                                                 :ƵůŝĞŽǇƚŽŶ                            ^ƚƵĚĞŶƚĐƚŝǀƚŝĞƐ                                                      ϭϱϮ͘ϬϬ
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,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϯͬϮϬϮϬ                   ϮϯϵϬϳ                                          ^ĐŽƚƚDĞǇĞƌ                                ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                           ϭϱϮ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϳͬϮϬϮϬ                   ϮϯϵϬϴ                                     &ŝƌƐƚĂŶŬŶĚdƌƵƐƚ                           :ƵůǇĐƌĞĚŝƚĐĂƌĚĐŚĂƌŐĞƐ                                     ϭ͕ϯϭϳ͘ϯϭ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϳͬϮϬϮϬ                   ϮϯϵϬϵ                                              ǀŽŝĚ                                   ǀŽŝĚ                                                         Ͳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϳͬϮϬϮϬ                   ϮϯϵϭϬ                                     &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ                            :ƵůǇĐƌĞĚŝƚĐĂƌĚĐŚĂƌŐĞƐ                                     ϭϬ͕ϯϬϬ͘ϱϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϭ                                   ZŽƚŽůŽŽŶƐƵůƚĂŶƚƐ͕/ŶĐ͘                          KƉĞƌĂƚŝŽŶƐ                                                   ϳϳϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   ϮϯϵϭϮ                                  WƌŽũĞĐƚ>ĞĂĚƚŚĞtĂǇ/ŶĐ͘                          ŝŶƐƚƌƵĐƚŝŽŶĂů                                                Ϯ͕ϰϬϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϯ                                  ĂǀŝƐWƌŽĚƵĐƚƐŽǀŝŶŐƚŽŶ                           KƉĞƌĂƚŝŽŶƐ                                                   ϱϵ͘ϵϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϰ                                              ǀŽŝĚ                                   ǀŽŝĚ                                                         Ͳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϱ                                        :ĞƌĞŵǇ^ƚƌŝŶŐĞƌ                              ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                           ϱϱϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϲ                                          DĂĚĞůǇŶ>ĞĞ                                ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                               ϱϰ͘Ϯϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϳ                                         ZŽƵŐĞ,ĞůŵĞƌ                                ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                               ϱϲ͘ϵϭ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϴ                                         ůĂƌŝŽŶ,ĞƌĂůĚ                              ĞǀĞůŽƉŵĞŶƚ                                                  ϰϬϰ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   Ϯϯϵϭϵ                                  'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞƐ                         ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                               ϰϯ͕ϯϰϱ͘ϯϵ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   ϮϯϵϮϬ                                   ^ĐŽƚƚKƚƚƌĞĂƚŝǀĞ͕/ŶĐ͘                          ĞǀĞůŽƉŵĞŶƚ                                                  ϭϮϱ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   ϮϯϵϮϭ                                   DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                              ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                           ϲ͕ϮϬϬ͘ϯϳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   ϮϯϵϮϮ                                         ƚŵŽƐŶĞƌŐǇ                                KƉĞƌĂƚŝŽŶƐ                                                   ϭϲϭ͘ϴϴ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϮϵͬϮϬϮϬ                   ϮϯϵϮϯ                                       >ĂŶŝĞƌDƵƐŝĐ>>                              /ŶƐƚƌƵĐƚŝŽŶĂů                                                ϱ͕ϯϴϬ͘ϲϱ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϯϭͬϮϬϮϬ                 ,ĚĞďŝƚ                                     ƌĞƐĐĞŶƚWĂǇƌŽůů                              WĂǇƌŽůůĞǆƉĞŶƐĞƐ;ĚŝƌĞĐƚĚĞƉŽƐŝƚƐͿ                           ϮϬϲ͕ϭϭϵ͘ϵϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϯϭͬϮϬϮϬ                 ,ĚĞďŝƚ                                     ƌĞƐĐĞŶƚWĂǇƌŽůů                              WĂǇƌŽůůǆƉĞŶƐĞƐ;&/dĂǆĞƐͿ                                ϲϵ͕Ϯϯϯ͘ϭϳ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϯϭͬϮϬϮϬ                 ,ĚĞďŝƚ                                     ƌĞƐĐĞŶƚWĂǇƌŽůů                              WĂǇƌŽůůǆƉĞŶƐĞƐ;ϰϬϭ;ŬͿĞǆƉĞŶƐĞƐͿ                           Ϯϲ͕ϰϲϬ͘ϰϲ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϯϭͬϮϬϮϬ                 ,ĚĞďŝƚ                                     ƌĞƐĐĞŶƚWĂǇƌŽůů                              ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                               ϱϭϬ͘ϬϬ
,,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ         ϴϱϰϱ   ϳͬϯϭͬϮϬϮϬ                ,Ğďŝƚ                                    &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ                            ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                               Ϯϱ͘ϬϬ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϭͬϮϬϮϬ                   dƌĂŶƐĨĞƌ                                          dƌĂŶƐĨĞƌ                                 dƌĂŶƐĨĞƌ                                                     ϯϵ͕ϵϵϮ͘ϮϮ           y
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϭͬϮϬϮϬ                   dƌĂŶƐĨĞƌ                                          dƌĂŶƐĨĞƌ                                 dƌĂŶƐĨĞƌ                                                    ϭ͕ϯϯϳ͘ϰϯ          y
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϯͬϮϬϮϬ                   dƌĂŶƐĨĞƌ                                          dƌĂŶƐĨĞƌ                                 dƌĂŶƐĨĞƌ                                                    ϱϰ͕ϳϲϱ͘Ϭϰ           y
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϵͬϮϬϮϬ                   dƌĂŶƐĨĞƌ                                          dƌĂŶƐĨĞƌ                                 dƌĂŶƐĨĞƌ                                                    ϯϱ͘ϬϬ        ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϭϬͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                          dƌĂŶƐĨĞƌ                                 dƌĂŶƐĨĞƌ                                                     ϵ͕ϲϴϯ͘ϱϲ          ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϭϯͬϮϬϮϬ                   Zh                                                                                     ZĞĚƵĐĞůŽĂŶĂŵŽƵŶƚͲĚŽŶŽƌĨƵŶĚĞĚƐĐŚŽůĂƌƐŚŝƉ                ϭ͕ϬϬϬ͘ϬϬ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϭϰͬϮϬϮϬ                   Zh                                                                                     ZĞĚƵĐĞůŽĂŶĂŵŽƵŶƚͲƐƚƵĚĞŶƚǁŝƚŚĚƌĂǁĂů                      ϵ͕ϯϳϯ͘ϳϯ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϭϯͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                         dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ                                                     ϯ͕ϵϰϮ͘ϮϮ          ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϭϱͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                         dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ                                                     ϴϮ͕Ϯϭϳ͘ϱϮ           ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϮϬͬϮϬϮϬ                   Zh                                                                                     ZĚƵĐĞůŽĂŶĂŵŽƵŶƚͲƐƚƵĚĞŶƚǁŝƚŚĚƌĂǁĂů                      ϭ͕ϭϮϰ͘ϰϰ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϮϭͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                         dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ                                                     ϳϳϲ͘ϯϯ         ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϮϮͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                         dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ                                                     ϭ͕ϵϳϵ͘ϬϬ          ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϮϯͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                         dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ                                                     ϭ͕ϳϭϵ͘ϬϬ          ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϮϰͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                         dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ                                                     ϭ͕ϵϵϬ͘ϰϴ          ǆ
,,^    dƵŝƚŝŽŶZĞƐĞƌǀĞĐĐŽƵŶƚ   ϬϬϳϵ   ϳͬϮϵͬϮϬϮϬ                  dƌĂŶƐĨĞƌ                                         dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ                                                     ϭ͕ϬϳϬ͘ϴϮ          ǆ
                                                          ^ƚƌŝƉĞKŶůŝŶĞZĞĨƵŶĚƐͲ^dͲ
Z,^    ĂǇĂŵƉĐĐŽƵŶƚ          Ϯϴϴϳ   ϳͬϭϳͬϮϬϮϬ    ϭZϴzϴsϮ,ϬZϵͬ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                  DƵůƚŝƉůĞ                                  ZĞĨƵŶĚƐͲKs/ĂŶĚĚĂƚĞĐŚĂŶŐĞƐ                              ϰϳϮ͘ϲϲ
                                                          ^ƚƌŝƉĞKŶůŝŶĞZĞĨƵŶĚƐͲ^dͲ
                                                          WϳEϱDϰϴZϬϬϮĂŶĚ^dͲ
Z,^    ĂǇĂŵƉĐĐŽƵŶƚ          Ϯϴϴϳ   ϳͬϭϳͬϮϬϮϬ    ^ϰsϴϰϯhϱ/ϴͬ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                  DƵůƚŝƉůĞ                                  ZĞĨƵŶĚƐͲKs/ĂŶĚĚĂƚĞĐŚĂŶŐĞƐ                              ϭϲ͕ϲϴϱ͘ϯϮ
                                                          ^ƚƌŝƉĞKŶůŝŶĞZĞĨƵŶĚƐͲ^dͲ
Z,^    ĂǇĂŵƉĐĐŽƵŶƚ          Ϯϴϴϳ   ϳͬϮϰͬϮϬϮϬ    Wϳ^Ϯ&ϱϭϭ>ϭͬ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                  DƵůƚŝƉůĞ                                  ZĞĨƵŶĚƐͲKs/ĂŶĚĚĂƚĞĐŚĂŶŐĞƐ                              ϭϮ͕ϱϮϲ͘ϬϬ
Z,^    DĞƌĐŚĂŶƚĐĐŽƵŶƚ          Ϯϴϳϲ   ϳͬϭϳͬϮϬϮϬ               yyyyyyϱϱϬϲ                                           &d                                      DĞƌĐŚĂŶƚ^ĞƌǀŝĐĞ&ĞĞ                                         ϱϳϱ͘Ϯϯ
Z,^    DĞƌĐŚĂŶƚĐĐŽƵŶƚ          Ϯϴϳϲ   ϳͬϭϳͬϮϬϮϬ               yyyyyyϱϲϳϬ                                           &d                                      DĞƌĐŚĂŶƚ^ĞƌǀŝĐĞ&ĞĞ                                         ϰϮ͘ϱϬ
Z,^    DĞƌĐŚĂŶƚĐĐŽƵŶƚ          Ϯϴϳϲ   ϳͬϭϳͬϮϬϮϬ               yyyyyyϱϱϴϵ                                           &d                                      DĞƌĐŚĂŶƚ^ĞƌǀŝĐĞ&ĞĞ                                         ϰϮ͘ϱϬ
Z,^    KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ        ϮϴϯϮ   ϳͬϭϳͬϮϬϮϬ               yyyyyyϴϲϳϱ                                           &d                                      DĞƌĐŚĂŶƚ^ĞƌǀŝĐĞ&ĞĞ                                         ϰϮ͘ϱϬ
Z,^    KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ        ϮϴϯϮ   ϳͬϭϳͬϮϬϮϬ                yyyyyϭϰϮϯ                                           &d                                      ƵƚŚŶĞƚ'ĂƚĞǁĂǇŝůůŝŶŐ                                      ϴ͘ϬϬ
                                                         ĞǀĞůĨŽƌZĞƵŶŝŽŶƐKŶůŝŶĞ
                                                       &ƵŶĚƌĂŝƐŝŶŐ&ĞĞƐͬZĞĨƵŶĚƐEĞŽŶ
Z,^    KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ        ϮϴϯϮ   ϬϳͬϮϭͬϮϬϮϬ                   WĂǇ                                               &d                                    ĞǀĞůŽƉŵĞŶƚ                                                  ϳϮϬ͘ϳϱ
                                                         ĞǀĞůĨŽƌZĞƵŶŝŽŶƐKŶůŝŶĞ
                                                       &ƵŶĚƌĂŝƐŝŶŐ&ĞĞƐͬZĞĨƵŶĚƐEĞŽŶ
Z,^    KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ        ϮϴϯϮ   ϬϳͬϮϭͬϮϬϮϬ                   WĂǇ                                               &d                                    ĞǀĞůŽƉŵĞŶƚ                                                  ϯϭϱ͘Ϯϱ
                                                         ĞǀĞůĨŽƌZĞƵŶŝŽŶƐKŶůŝŶĞ
                                                       &ƵŶĚƌĂŝƐŝŶŐ&ĞĞƐͬZĞĨƵŶĚƐEĞŽŶ
Z,^    KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ        ϮϴϯϮ   ϬϳͬϮϴͬϮϬϮϬ                   WĂǇ                                               &d                                    ĞǀĞůŽƉŵĞŶƚ                                                  ϭϰϭ͘ϳϰ
                                                         ĞǀĞůĨŽƌZĞƵŶŝŽŶƐKŶůŝŶĞ
                                                       &ƵŶĚƌĂŝƐŝŶŐ&ĞĞƐͬZĞĨƵŶĚƐEĞŽŶ
Z,^    KŶůŝŶĞĚǀĂŶĐĞŵĞŶƚ        ϮϴϯϮ   ϬϳͬϮϴͬϮϬϮϬ                   WĂǇ                                                  &d                                 ĞǀĞůŽƉŵĞŶƚ                                                  ϵϵϴ͘ϵϬ
Z,^    KŶůŝŶĞ&ƵŶĚƌĂŝƐŝŶŐ        Ϯϴϲϱ    ϳͬϮͬϮϬϮϬ       ĂŶŬĐĂƌĚDƚŚůǇ&ĞĞƐϱϮϵϮ                                          &d                                 ĂŶŬĐĂƌĚDƚŚůǇ&ĞĞƐ                                         ϭϬ͘ϬϬ
Z,^    KŶůŝŶĞdƵŝƚŝŽŶͬ&ĞĞƐ       Ϯϳϳϳ   ϬϳͬϮϬͬϮϬϮϬ                  ϭϱϯϳϰ                                               ^ƚƵĚĞŶƚ                               dƵŝƚŝŽŶΘ&ĞĞƐ                                              ϰϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϲϵ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ&ŝŶŐĞƌƉƌŝŶƚƐ                  ĚŵŝŶͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                         ϱϴ͘ϬϬ        z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϳϳ                                          Θ>^ĂůĞƐ͕/ŶĐ͘                          DĂŝŶƚĞŶĂŶĐĞƐƵƉƉůŝĞƐ                                         Ϯϯϭ͘ϴϴ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϳϴ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ/ŶĨŽƌŵĂƚŝŽŶdĞĐŚŶŽůŽŐǇ               /ŶƐƚƌƵĐƚŝŽŶĂůͲ/ŶƚĞƌŶĞƚ^ĞƌǀŝĐĞƐ                              ϰ͕ϲϰϬ͘Ϯϱ          z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϳϵ                                          ƵĨŽƌĚ͕DĞůǀŝŶ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲĂƐĞďĂůůhŵƉŝƌĞ                           ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϬ                                             ƵƌŶƐ͕dŝŵ                              ^ƚƵ^ĞƌǀŝĐĞƐͲ&ŽŽĚ^ĞƌǀŝĐĞƐͲZĞŝŵďƵƌƐĞ                      ϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϭ                                             ŝŝΖƐηϯϳϴ                             ^ƚƵ^ĞƌǀŝĐĞƐͲ&ŽŽĚ^ĞƌǀŝĐĞƐ                                   Ϯϴϵ͘ϯϴ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϮ                                               ŶƚĞƌŐǇ                               DĂŝŶƚĞŶĂŶĐĞhƚŝůŝƚŝĞƐ                                        ϲϰϴ͘ϵϳ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϯ                                            ǆǆŽŶDŽďŝů                              ^ƚƵ^ĞƌǀŝĐĞƐͲƌŝǀĞƌĚƵĐĂƚŝŽŶ                                ϳϳ͘ϭϲ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϰ                                            &ŝƌƐƚdĞĞ>>                            ^ƚƵ^ĞƌǀŝĐĞƐͲĂŵƉdͲ^ŚŝƌƚƐ                                   ϭ͕Ϭϴϲ͘ϱϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϱ                                            ,ŽůůĞǇ͕dƌŽǇ                             ^ƚƵ^ĞƌǀŝĐĞƐͲdƌĂŶƐƉŽƌƚĂƚŝŽŶƌĂŬĞdĂŐ                        ϯϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϲ                                        <ĞŶŶĞĚǇ͕DŝĐŚĂĞů                             ^ƚƵ^ĞƌǀŝĐĞƐͲ^ƵŵŵĞƌĂŵƉ^ƵƉƉůŝĞƐ                            Ϯϵ͘Ϯϵ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϳ                                           EŝŚĂƌƚ͕ǇƌŽŶ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲĂƐĞďĂůůhŵƉŝƌĞ                           ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϴ                                         ^ĐŚŵŝĚƚ͕ĞŶŝƐĞ                             ĞǀĞůŽƉŵĞŶƚͲ^ƵƉƉůǇZĞŝŵďƵƌƐĞ                                 ϯϱ͘ϱϴ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϮͬϮϬϮϬ                  ϲϭϬϴϵ                                           sŝůůĞƌĞΖƐ&ůŽƌŝƐƚ                         ĞǀĞůŽƉŵĞŶƚͲWƵďůŝĐZĞůĂƚŝŽŶƐ                                 ϲϮ͘ϵϵ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϳͬϮϬϮϬ        &dKƉĞƌ'ĂůůĂŐŚĞƌ:ƵůǇ                                        'ĂůůĂŐŚĞƌ                              ŵƉůŽǇĞĞDĞĚŝĐĂůWƌĞŵŝƵŵƐͲ:ƵůǇtŬůǇ                          ϭ͕ϵϵϰ͘ϱϭ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϳͬϮϬϮϬ        &dKƉĞƌ'ĂůůĂŐŚĞƌ:ƵůǇ                                        'ĂůůĂŐŚĞƌ                              ŵƉůŽǇĞĞDĞĚŝĐĂůWƌĞŵŝƵŵƐͲ:ƵůǇDŽŶƚŚůǇ                       ϰϱ͕ϱϬϯ͘ϵϲ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϴͬϮϬϮϬ                  ϲϭϬϵϬ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ&ŝŶŐĞƌƉƌŝŶƚƐ                  ĚŵŝŶŝƐƚƌĂƚŝŽŶͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                ϱϴ͘ϬϬ        z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϴͬϮϬϮϬ                  ϲϭϬϵϭ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ&ŝŶŐĞƌƉƌŝŶƚƐ                  ĚŵŝŶŝƐƚƌĂƚŝŽŶͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                ϱϴ͘ϬϬ        z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϴͬϮϬϮϬ                  ϲϭϬϵϮ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ&ŝŶŐĞƌƉƌŝŶƚƐ                  ĚŵŝŶŝƐƚƌĂƚŝŽŶͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                ϱϴ͘ϬϬ        z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϴͬϮϬϮϬ                  ϲϭϬϵϯ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ&ŝŶŐĞƌƉƌŝŶƚƐ                  ĚŵŝŶŝƐƚƌĂƚŝŽŶͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                ϱϴ͘ϬϬ        z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϬϴͬϮϬϮϬ                  ϲϭϬϵϰ                          ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ&ŝŶŐĞƌƉƌŝŶƚƐ                  ĚŵŝŶŝƐƚƌĂƚŝŽŶͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                ϱϴ͘ϬϬ        z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϬϵϱ                                           ůů^ƉŽƌƚ^ĂůĞƐ                           ^ƚƵĚĐŝǀŝƚŝĞƐͲ^ƚƵŶĐů^ĞŶŝŽƌ^ǁĞĂƚƐŚŝƌƚƐ                   ϰ͕Ϯϭϱ͘ϴϯ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϬϵϲ                                          ĂƌƌŝŐĞĞ͕<ĞǀŝŶ                            ^ƚƵ^ĞƌǀŝĐĞƐͲ^ƵŵŵĞƌĂŵƉ^ƵƉƉůŝĞƐ                            ϰϯϯ͘Ϯϳ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϬϵϳ                                             ŝŝΖƐηϯϳϴ                             ^ƚƵ^ĞƌǀŝĐĞƐͲ&ŽŽĚ^ĞƌǀŝĐĞƐ                                   ϭϰϳ͘ϰϮ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϬϵϴ                                           ŽůůĞŐĞŽĂƌĚ                             /ŶƐƚƌƵĐƚŝŽŶĂůͲdĞƐƚŝŶŐ                                        ϭϰ͕ϮϴϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϬϵϵ                                      ŽǆŽŵŵƵŶŝĐĂƚŝŽŶƐ                             /ŶƐƚƌƵĐƚŝŽŶĂůͲ>ŝďƌĂƌǇ                                        ϭϰϱ͘ϰϵ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϬ                                               ŶƚĞƌŐǇ                               DĂŝŶƚĞŶĂŶĐĞͲhƚŝůŝƚŝĞƐ                                        Ϯ͕ϱϱϳ͘Ϯϵ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϭ                                       'ƌĞĞŶŬĞĞƉĞƌΖƐ͕/ŶĐ͘                           DĂŝŶƚĞŶĂŶĐĞͲ>ĂǁŶĂƌĞ                                        ϯ͕ϱϴϰ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϮ                                             /ŶƐƚƌƵĐƚƵƌĞ                             /ŶƐƚƌƵĐƚŝŽŶĂůͲ^ŽĨƚǁĂƌĞ                                       ϭϬ͕ϰϱϲ͘ϲϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϯ                            :ĞĨĨĞƌƐŽŶWĂƌŝƐŚĞƉĂƌƚŵĞŶƚŽĨtĂƚĞƌ                     DĂŝŶƚĞŶĂŶĐĞͲhƚŝůŝƚŝĞƐ                                        ϭϲϱ͘ϴϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϰ                                         DŽŶŝĐĂ͕EŝĐŚŽůĂƐ                            ^ƚƵĐƚŝǀŝƚŝĞƐͲƚŚůĞƚŝĐƐZĞŝŵďƵƌƐĞ                           Ϯϲϱ͘ϲϭ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϱ                                           DŽƌŐĂŶ͕<ĞǀŝŶ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲĂƐĞďĂůůhŵƉŝƌĞ                           ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϲ                              EĞůŶĞƚƵƐŝŶĞƐƐ^ŽůƵƚŝŽŶƐͲ&d^                      /ŶƐƚƌƵĐƚŝŽŶĂůͲDŽŶƚŚůǇĂƚĂďĂƐĞDŐƚ                           Ϯ͕ϮϬϭ͘ϭϲ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϳ                                         WƌŝƚĐŚĞƚƚ͕WĂƚƌŝĐŬ                          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲĂƐĞďĂůůhŵƉŝƌĞ                           ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϴ                                          ^ĐŚŽŽůWůĂŶŶĞƌ                             ŚĞĐŬǁĂƐǀŽŝĚĞĚ͖ƉƌŝŶƚŝŶŐĞƌƌŽƌ͖ƌĞŝƐƐƵĞĚ                    Ϯ͕ϵϳϮ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϬͬϮϬϮϬ                  ϲϭϭϬϵ                                       tĞďϰƵŽƌƉŽƌĂƚŝŽŶ                             ĚŵŝƐƐŝŽŶƐͲZĞŶĞǁĂů                                           ϵϰϴ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϱͬϮϬϮϬ         &dKƉĞƌ:ƵůǇ'ƵĂƌĚŝĂŶ                                        'ƵĂƌĚŝĂŶ                               ŵƉůŽǇĞĞĞŶƚĂů͕sŝƐŝŽŶ͕ĞƚĐ͘WƌĞŵŝƵŵƐͲ:ůǇ                    Ϯ͕Ϯϱϯ͘ϲϮ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϬ                                          Θ>^ĂůĞƐ͕/ŶĐ͘                          DĂŝŶƚĞŶĂŶĐĞͲ^ƵƉƉůŝĞƐ                                         ϱϮϯ͘Ϭϳ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϭ                                           dΘdDŽďŝůŝƚǇ                             DĂŝŶƚĞŶĂŶĐĞͲdĞůĞƉŚŽŶĞ                                        ϴϵϯ͘ϰϭ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϮ                                   ƵƐƚŝŶ&ŝƌĞ^ǇƐƚĞŵƐ͕>͘>͘͘                       DĂŝŶƚĞŶĂŶĐĞͲŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐ                              ϭ͕ϴϯϭ͘ϱϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϯ                                             ƵƌŶƐ͕dŝŵ                              ^ƚƵ^ĞƌǀŝĐĞƐͲ&ŽŽĚ^ĞƌǀŝĐĞƐͲZĞŝŵďƵƌƐĞ                      ϰϵϯ͘ϱϭ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϰ                                             ŝŝΖƐηϯϳϴ                             ^ƚƵ^ĞƌǀŝĐĞƐͲ&ŽŽĚ^ĞƌǀŝĐĞƐ                                   ϰϯϭ͘ϯϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϱ                                              ŽŐŶŝĂ/ŶĐ                             ĚŵŝŶŝƐƚƌĂƚŝŽŶͲƵĞƐĂŶĚ^ƵďƐĐƌŝƉƚŝŽŶƐ                        Ϯ͕ϰϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϲ                                               ŶƚĞƌŐǇ                               DĂŝŶƚĞŶĂŶĐĞͲhƚŝůŝƚŝĞƐ                                        ϳ͕ϴϱϮ͘ϰϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϳ                                ,ƵŶƚdĞůĞĐŽŵŵƵŶŝĐĂƚŝŽŶƐ͕>>                         DĂŝŶƚĞŶĂŶĐĞͲdĞůĞƉŚŽŶĞhƚŝůŝƚŝĞƐ                              ϯϮϳ͘ϳϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϴ                                /ŶƚĞƌĨĂĐĞ^ĞĐƵƌŝƚǇ^ǇƐƚĞŵƐ͕>>                      DĂŝŶƚĞŶĂŶĐĞͲ^ĐŚŽŽů^ĞĐƵƌŝƚǇ                                  ϭ͕ϬϮϭ͘ϭϭ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϭϵ                                   :ĞĨĨĞƌƐŽŶĂƚƚĞƌǇŽ͕͘/ŶĐ͘                       DĂŝŶƚĞŶĂŶĐĞͲ^ƵƉƉůŝĞƐ                                         ϭϯ͘ϲϱ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϬ                                        <ĞŶƚǁŽŽĚ^ƉƌŝŶŐƐ                             ĚŵŝŶŝƐƚƌĂƚŝŽŶͲ,ŽƐƉŝƚĂůŝƚǇ                                   Ϯϭϳ͘ϵϯ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϭ                                         >ĞďůĂŶĐ͕^ƚĂŶůĞǇ                            ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲĂƐĞďĂůůhŵƉŝƌĞ                           ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϮ                                             >ƵĐĂƐ͕ŶĂ                              ^ƚƵ^ĞƌǀŝĐĞƐͲ^ƵŵŵĞƌĂŵƉZĞĨƵŶĚ                              ϭ͕ϱϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϯ                                         WŽŵĞƐ͕DŝĐŚĞůůĞ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲWƌŽũĞĐƚWƌŽŵ                             ϱϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϰ                                               WƌĞƐƚŽͲy                              DĂŝŶƚĞŶĂŶĐĞͲŽŶƚƌĐƚĞĚ^ĞƌǀŝĐĞƐ                               ϯϲϴ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϱ                                           ZĂŝŶĞƐ͕ZŽďĞƌƚ                            ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲĂƐĞďĂůůhŵƉŝƌĞ                           ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϲ                                              ZŽƚŚ͕:ĂǇ                              ^ƚƵĐƚŝǀŝƚŝĞƐͲƚŚůĞƚŝĐƐZĞŝŵďƵƌƐĞ                           ϮϵϬ͘ϰϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϳ                                   ^ĐŚŝůůŝŶŐ'ƌĞĞŶŚŽƵƐĞƐ͕/ŶĐ͘                       ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲ'ƌĂĚƵĂƚŝŽŶ^ƵƉƉůŝĞƐ                       Ϯϱϱ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϴ                                          ^ĐŚŽŽůWůĂŶŶĞƌ                             ^ƚƵ^ĞƌǀŝĐĞƐͲŽŽŬƐƚŽƌĞ                                       Ϯ͕ϵϳϮ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϮϵ                                           ^ŵŝƚŚ͕ƌŶĞƐƚ                             ^ƚƵ^ĞƌǀŝĐĞƐͲ^ƵŵŵĞƌĂŵƉZĞĨƵŶĚ                              ϵϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϯϬ                                          ^ƚĂƌ^ĞƌǀŝĐĞ/ŶĐ͘                          DĂŝŶƚĞŶĂŶĐĞͲŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐ                              Ϯ͕ϴϴϲ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϯϭ                                     dŚŽŵƉƐŽŶ͕:ƌ͘^ĐŽƚƚ͘                          ^ƚƵ^ĞƌǀŝĐĞƐͲĂƐŬĞƚďĂůůĂŵƉ^ƵƉƉůŝĞƐ                        ϯϲϲ͘ϴϳ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϭϳͬϮϬϮϬ                  ϲϭϭϯϮ                                 tĂƐƚĞŽŶŶĞĐƚŝŽŶƐĂǇŽƵ͕/ŶĐ                        DĂŝŶƚĞŶĂŶĐĞͲŽŶƚƌĐƚĞĚ^ĞƌǀŝĐĞƐ                               ϲϱϰ͘Ϭϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ                  ϲϭϭϯϯ                                    Z,^^ƚƵĚĞŶƚ'ƌĂĚƵĂƚĞ                            ZĂŝĚĞƌWƌŝĚĞ^ĐŚŽůĂƌƐŚŝƉ                                     ϭ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ                  ϲϭϭϯϰ                                    Z,^^ƚƵĚĞŶƚ'ƌĂĚƵĂƚĞ                            ZĂŝĚĞƌWƌŝĨĞ^ĐŚŽůĂƌƐŚŝƉ                                     ϭ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ                  ϲϭϭϯϱ                                              'ƵĂƌĚŝĂŶ                               ŵƉůŽǇĞĞsŽůƵŶƚĂƌǇWƌĞŵŝƵŵƐ                                  ϭϰϰ͘ϬϮ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ                  ϲϭϭϯϲ                                    Z,^^ƚƵĚĞŶƚ'ƌĂĚƵĂƚĞ                            ZĂŝĚĞƌWƌŝĚĞ^ĐŚŽůĂƌƐŚŝƉ                                     ϭ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ                  ϲϭϭϯϳ                                          Z,^ŵƉůŽǇĞĞ                              ZĞŝŵďƵƌƐĞŵĞŶƚĨŽƌ^ƵƉƉůŝĞƐĨŽƌ'ƌĂĚƵĂƚŝŽŶ                    ϭϭϳ͘ϵϯ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϭͬϮϬϮϬ                  ϲϭϭϯϴ                            ^ƚ͘ĂƚŚĞƌŝŶĞŽĨ^ŝĞŶĂĂƚŚŽůŝĐŚƵƌĐŚ                   ŽŶĂƚƌŝŽŶĨŽƌƵƐĞŽĨĨĂĐŝůŝƚǇ                                ϭ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϯϵ                                          Θ>^ĂůĞƐ͕/ŶĐ͘                          ƵƐƚŽĚŝĂůůĞĂŶŝŶŐ^ƵƉƉůŝĞƐ                                  ϵϮϵ͘ϰϭ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϬ                              ŵĞƌŝĐĂŶƌĞƐĐĞŶƚůĞǀĂƚŽƌŽƌƉ͘                       ŽŶƚƌĂĐƚǁŽƌŬ                                                ϭϮϱ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϭ                                         ǁĂƌĚƐďǇDĂƌŬ                              ^ĞũŶŝŽƌWůĂƋƵĞƐ                                              Ϯ͕ϴϰϳ͘ϴϱ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϮ                                          ^ĞĐƵƌŝƚǇKĨĨŝĐĞƌ                           ^ĞĐƵƌŝƚǇĨŽƌ'ƌĂĚƵĂƚŝŽŶ                                      ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϯ                                           ĂŵƉŝƌĞĐƚŽƌ                             ĂŵƉŝƌĞĐƚŽƌZĞŝŵďƵƌƐĞŵĞŶƚ                                  ϮϮϭ͘ϭϱ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϰ                                          ^ĞĐƵƌŝƚǇKĨĨŝĐĞƌ                           ^ĞĐƵƌŝƚǇĨŽƌ'ƌĂĚƵĂƚŝŽŶ                                      ϭϮϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϱ                                             ŝŝΖƐηϯϳϴ                             ^ƵŵŵĞƌĂŵƉWŝǌǌĂ                                            ϲϵϴ͘ϴϴ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϲ                                       ŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐ                           ŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐĨŽƌĞǀĞůŽƉŵĞŶƚ                          Ϯ͕Ϭϴϯ͘ϯϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϳ                                                ŝƐŝŶĨǆ                              ŝƐŝŶĨĞĐƚŝŶŐ^ĞƌǀŝĐĞƐĨŽƌ^ĐŚŽŽů                             ϭ͕ϬϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϴ                                              DƵƐŝĐŝĂŶ                               'ƌĂĚƵĂƚŝŽŶDƵƐŝĐŝĂŶ                                          ϱϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϰϵ                                       &ŝƌƐƚĂŶŬΘdƌƵƐƚͲ                         dĞĐŚŶŽůŽŐǇƋƵŝƉŵĞŶƚƉƵƌĐŚĂƐĞƐ                               ϲϴϵ͘ϱϲ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϬ                                        &ŝƌƐƚĂŶŬΘdƌƵƐƚͲ                          ĚŵŝŶŝƐƚƌĂƚŝŽŶĂŶŬŚĂƌŐĞ>ĂƚĞ&ĞĞ                          ϯϱ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϭ                               &ŝƌƐƚĂŶŬΘdƌƵƐƚͲĞǀĞůŽƉŵĞŶƚ                        DŝƐĐĞůůĂŶĞŽƵƐĐŽŵŵƵŶŝƚǇƌĞůĂƚŝŽŶƐĞǆƉĞŶƐĞƐ                   ϮϮϬ͘ϳϲ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϮ                                &ŝƌƐƚĂŶŬΘdƌƵƐƚͲ&ĂĐƵůƚǇ^ƚĂĨĨ                     DŝƐĐĞůůĂŶĞŽƵƐĨĂĐƵůƚǇĞǆƉĞŶƐĞƐ                               ϭ͕Ϯϳϴ͘ϳϲ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϯ                                        &ŝƌƐƚĂŶŬΘdƌƵƐƚͲ                          ĞǀĞůŽƉŵĞŶƚŝƌĞĐƚŽƌĞǆƉĞŶƐĞƐ                                ϭϬϭ͘ϲϱ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϰ                                            &ŝƌƐƚdĞĞ>>                            ƚŚůĞƚŝĐĂŵƉdĞĞƐ                                           ϴϭϯ͘ϱϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϱ                             &ŝǀĞͲ^ƚĂƌdĞĐŚŶŽůŽŐǇ^ŽůƵƚŝŽŶƐ͕>>                     dĞĐŚŶŽůŽŐǇĞǆƉĞŶƐĞ                                           ϭ͕ϲϴϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϲ                                         ŝEƉƌŝŶƚ^ŽůƵƚŝŽŶƐ                           WƌŝŶƚŝŶŐ                                                     ϱϳϰ͘ϯϵ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϳ                                /ŶƚĞƌĨĂĐĞ^ĞĐƵƌŝƚǇ^ǇƐƚĞŵƐ͕>>                      ^ĐŚŽŽůƐĞĐƵƌŝƚǇ                                              ϭϲϯ͘ϴϭ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϴ                                            /y>>ĞĂƌŶŝŶŐ                             /ŶƐƚƌƵĐƚŝŽŶĂůŶŶƵĂů>ŝĐĞŶƐŝŶŐ͕ĞƚĐ͘                         ϭϯ͕ϴϳϭ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϱϵ                               :ĞĨĨĞƌƐŽŶŚĂŵďĞƌŽĨŽŵŵĞƌĐĞ                         ŶŶƵĂůDĞŵďĞƌƐŚŝƉZĞŶĞǁĂů                                    ϯϱϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϲϬ                                               WĞƌƌĞƚΖƐ                              ŽŽŬƐƚŽƌĞŝŶǀĞŶƚŽƌǇŝƚĞŵƐ                                    ϭϯ͕ϭϲϰ͘Ϭϲ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϲϭ                                             dĞĐŚŶŝĐŝĂŶ                              >ŝǀĞ^ƚƌĞĂŵŽĨ'ƌĂĚƵĂƚŝŽŶĞƌĞŵŽŶǇ                           ϮϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϲϮ                                 ^ĐƌĞĞŶWƌŝŶƚŝŶŐhŶůŝŵŝƚĞĚ>>                       ^ƵƉƉůŝĞƐ                                                     ϯϵ͘ϰϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϲϯ                                              DƵƐŝĐŝĂŶ                               ,ĂƌƉŝƐƚĨŽƌ'ƌĂĚƵĂƚŝŽŶĞƌĞŵŽŶǇ                              ϰϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϲϰ                                              ^ŬǇŽĂĐŚ                               &ŽŽƚďĂůůĞƋƵŝƉŵĞŶƚ                                           ϱϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϲϱ                                            ^ƉŽƌƚĚĞĐĂůƐ                              ĂƚŚůĞƚŝĐƐƵƉƉůŝĞƐ                                            Ϯϵϭ͘ϲϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϮϰͬϮϬϮϬ                  ϲϭϭϲϲ                                               ^ƵďǁĂǇ                                ŶƌŝĐŚŵĞŶƚůƵŶĐŚĞƐ                                           ϭ͕Ϯϴϱ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϴϵ                                          Θ>^ĂůĞƐ͕/ŶĐ͘                          ƵƐƚŽĚŝĂů^ƵƉƉůŝĞƐ                                           ϯϬϰ͘ϭϴ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϬ                                  ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                         DŽŶƚŚůǇĂƐƵĂůƚǇ/ŶƐƵƌĂŶĐĞWƌĞŵŝƵŵƐ                          Ϯϴ͕ϳϬϲ͘ϭϲ           z
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϭ                                                WĂƌĞŶƚ                               ZĞŐŝƐƚƌĂƚŝŽŶZĞĨƵŶĚ                                          ϰϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϮ                                          ^E^ƉŽƌƚƐ͕>>                            &ŽŽƚďĂůů:ĞƌƐĞǇ&ŝůů/ŶƐ                                     ϲ͕ϭϲϳ͘ϯϴ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϯ                                                ^                                WĂƌĞŶƚůƵďŶŶƵĂůƵĞƐ                                      ϲϱ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϰ                                      'ůŽďĞdŝĐŬĞƚΘ>ĂďĞů                           &ŽŽƚďĂůůdŝĐŬĞƚƐĨŽƌ^ĞĂƐŽŶ                                  ϱϬϱ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϱ                                                ƉĂƌĞŶƚ                               ZĞŐŝƐƚƌĂƚŝŽŶZĞĨƵŶĚ                                          ϰϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϲ                                              ŵƉůŽǇĞĞ                               ^ƚƵĐƚŝǀŝƚŝĞƐ&ŽŽĚďĂůůͲƌĞŝŵďƵƌƐĞŵĞŶƚĨŝĞůĚƉĂŝŶƚͬƐƵƉƉůŝĞƐ   ϴϭϳ͘ϱϮ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϳ                                  DƵƐŝĐdŚĞĂƚƌĞ/ŶƚĞƌŶĂƚŝŽŶĂů                        'ĞŶĞƐŝĂŶƐ&Ăůů^ŚŽǁǆƉĞŶƐĞƐ                                 ϴϴϮ͘ϱϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϴ                                   KĐŚƐŶĞƌůŝŶŝĐ&ŽƵŶĚĂƚŝŽŶ                         &ŽŽƚďĂůůĐŽŶĚŝƚŝŽŶŝŶŐƐĞƌǀŝĐĞƐ                               ϰ͕ϱϵϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϭϵϵ                                                WĂƌĞŶƚ                               dƵŝƚŝŽŶƌĞĨƵŶĚĨŽƌŽǀĞƌƉĂǇŵĞŶƚĂĨƚĞƌĐƌĞĚŝƚ                  Ϯ͕ϬϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϮϬϬ                                                ůƵŵŶŝ                               ZĞƵŶŝŽŶƌĞĨƵŶĚ                                               ϭϬϬ͘ϬϬ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϮϬϭ                                                WĂƌĞŶƚ                               WƌŽũĞĐƚWƌŽŵZĞŝŵďƵƌƐĞŵĞŶƚ                                   ϭ͕ϰϬϬ͘ϯϰ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϮϬϮ                                          ZĞĐŽŐŶŝƚŝŽŶŽ                             ǁĂƌĚWĂƚĐŚĞƐĨŽƌ:ĂĐŬĞƚƐ                                    ϭϬϭ͘ϵϳ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϮϬϯ                                      ^Θ^tŽƌůĚǁŝĚĞ͕/ŶĐ͘                          ĂǇĂŵƉƋƵŝƉŵĞŶƚ                                           ϭϲϱ͘ϭϵ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϮϬϰ                                                ůƵŵŶŝ                               ZĞƵŶŝŽŶZĞĨƵŶĚ                                               ϯϱ͘ϬϬ
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Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ                  ϲϭϮϬϲ                                 ĂŶŽŶ&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ͕/ŶĐ͘                      ŽƉŝĞƌ>ĞĂƐĞĂŶĚDĞƚĞƌhƐĂŐĞ                                 Ϯ͕ϲϯϴ͘Ϯϯ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ        &dKƉĞƌĂƚŝŶŐ:ƵůǇϮϬϮϬ        ZĞĐŽƌĚKŶůŝŶĞWĂǇŵĞŶƚƚŽƚŵŽƐĨŽƌ:ƵůǇ'ĂƐŝůůĨŽƌtƌĞƐƚůŝŶŐůĚŐ͘   'ĂƐhƚŝůŝƚǇWĂǇŵĞŶƚ                                          ϱϴ͘ϭϯ
Z,^    KWZd/E'KhEd         Ϯϳϵϵ   ϬϳͬϯϭͬϮϬϮϬ        &dKƉĞƌĂƚŝŶŐ:ƵůǇϮϬϮϬ                ZĞĐŽƌĚ&d^ĞƌǀŝĐĞŚŐĨŽƌKƉĞƌĂƚŝŶŐĐĐŽƵŶƚ:ƵůǇ              :ƵůǇKƉĞƌĂƚŝŶŐĐĐƚ^ĞƌǀŝĐĞŚĂƌŐĞ&d                       ϱϬ͘ϬϬ
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Z,^    WĂǇƌŽůůĐĐŽƵŶƚ           ϮϴϮϭ   ϬϳͬϭϱͬϮϬϮϬ        ƌĐŚZƵŵŵĞůWZEϭϬϵ                                       ƌĞƐĐĞŶƚWZ                              WĂǇƌŽůůͲ:ƵůǇϮϬϮϬ                                            ϱ͕ϲϯϱ͘ϵϱ
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Z,^    WĂǇƌŽůůĐĐŽƵŶƚ           ϮϴϮϭ   ϬϳͬϭϱͬϮϬϮϬ        ƌĐŚZƵŵŵĞůWZEϭϬϵ                                       ƌĞƐĐĞŶƚWZ                              WĂǇƌŽůůͲ:ƵůǇϮϬϮϬ                                            ϴϭ͕ϵϯϱ͘ϴϬ
Z,^    WĂǇƌŽůůĐĐŽƵŶƚ           ϮϴϮϭ   ϳͬϭϳͬϮϬϮϬ         ƌĐŚZƵŵŵĞůWZEϭϬϵ                                       ƌĞƐĐĞŶƚWZ                              WĂǇƌŽůůͲ:ƵůǇϮϬϮϬ                                            ϭ͕ϯϱϮ͘ϯϲ
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Z,^    WĂǇƌŽůůĐĐŽƵŶƚ                               ϮϴϮϭ   ϳͬϭϳͬϮϬϮϬ        ƌĐŚZƵŵŵĞůWZEϭϬϵ                                  ƌĞƐĐĞŶƚWZ                              WĂǇƌŽůůͲ:ƵůǇϮϬϮϬ                                                                   Ϯ͕Ϭϭϵ͘ϳϱ
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Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϮϮͬϮϬϮϬ                ϭϱϯϲϬ                                            &d>ŽĂŶƐ                            /ƉĂĚƉĂŝĚƐƚƵĚĞŶƚΖƐďƌŽƚŚĞƌ                                                         Ϯ͕ϯϬϬ͘ϬϬ
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Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϮϳͬϮϬϮϬ                ϭϱϯϲϮ                                            &d>ŽĂŶƐ                            ĞĐƌĞĂƐĞ&ŝƌƐƚĂŶŬΘdƌƵƐƚ>ŽĂŶtŽƌŬ^ƚƵĚǇ                                         ϭ͕ϳϱϬ͘ϬϬ
Z,^    dƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐZĞƐĞƌǀĞĐĐŽƵŶƚ   Ϭϰϯϭ   ϬϳͬϯϭͬϮϬϮϬ          &ddƵŝƚDD:ƵůǇ                                       &d>ŽĂŶƐ                            dƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚƚŽdƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌϳͬϮϰͬϮϬ                               ϰ͕ϭϬϰ͘Ϯϴ          y
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Z,^    dƵŝƚŝŽŶDŽŶĞǇDĂŶĂŐĞƌ                         Ϯϳϱϱ   ϳͬϭϱͬϮϬϮϬ       &ddƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚ                                  &dWĂǇƌŽůů                           dƌĂŶƐĨĞƌƚŽWĂǇƌŽůůĨŽƌĂƐŚ&ůŽǁ                                                   ϰϬϬ͕ϬϬϬ͘ϬϬ             y
^,^    WĂǇƌŽůůĐĐŽƵŶƚ                              ϮϰϰϬ   ϳͬϮϬͬϮϬϮϬ                ϭϱͲϮϬϱϬ                                       ƌĞƐĐĞŶƚWĂǇƌŽůů                         WĂǇƌŽůů                                                                             ϭϭϭ͕ϭϳϱ͘ϱϳ
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^,^    WĂǇƌŽůůĐĐŽƵŶƚ                              ϮϰϰϬ   ϳͬϮϵͬϮϬϮϬ                ϭϱͲϮϬϱϲ                                       ƌĞƐĐĞŶƚWĂǇƌŽůů                         WĂǇƌŽůů                                                                             ϭϭϮ͕Ϯϭϲ͘ϵϯ
^,^    EydzZΖ^dh/d/KEE&^                  ϯϬϴϱ    ϳͬϮͬϮϬϮϬ                ϭϱͲϮϬϲϯ                                          <ŝůĂƐ&ƌĂŶĐŝƐ                         dƵŝƚŝŽŶZĞƚƵƌŶ                                                                      ϲϬϬ͘ϬϬ
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^,^    KWZd/E'EWzZK>>DD                     ϵϭϲϮ   ϳͬϮϳͬϮϬϮϬ                ϭϱͲϮϬϲϬ                                       ƌĞƐĐĞŶƚWĂǇƌŽůů                         DŽŶƚŚůǇdƌĂŶƐĨĞƌ                                                                    ϭϬϬ͕ϬϬϬ͘ϬϬ             y
^,^    KWZd/E'KhEd                             ϮϰϮϵ   ϬϳͬϬϭͬϮϬϮϬ                ϮϬϱϲϴ                                  ZƵŵďĞůŽǁŽŶƐƵůƚŝŶŐ͕>>                       ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϲϱ͘Ϯϱ
^,^    KWZd/E'KhEd                             ϮϰϯϬ   ϬϳͬϬϭͬϮϬϮϬ                ϮϬϱϲϳ                                 'ĂůůĂŐŚĞƌĞŶĞĨŝƚƐ^ĞƌǀŝĐĞƐ                     ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞ                                                                    Ϯϴ͕ϰϰϲ͘ϰϳ
^,^    KWZd/E'KhEd                             Ϯϰϯϭ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϳ                                        tŽŽĚŶ^ŝƉƐƚĐ͘                         ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                    Ϯ͕ϬϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             ϮϰϯϮ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϲ                                 tDŽƌƉŽƌĂƚĞ^ĞƌǀŝĐĞƐ͕/ŶĐ                      KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϮϮϳ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϯϯ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϱ                                       ^ŚĞƌǁŝŶtŝůůŝĂŵƐ                          KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 Ϯϰϯ͘ϯϴ
^,^    KWZd/E'KhEd                             Ϯϰϯϰ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϰ                                       WĂŶŵĞƌŝĐĂŶ>ŝĨĞ                         KƚŚĞƌWĂǇƌŽůůĞĚƵĐƚŝŽŶƐ>ŝĨĞ/ŶƐƵƌĂŶĐĞ                                             Ϯϴ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϯϱ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϯ                               :ĞĨĨĞƌƐŽŶWĂƌŝƐŚĞƉƚ͘ŽĨtĂƚĞƌ                   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϭ͕ϰϴϰ͘Ϭϭ
^,^    KWZd/E'KhEd                             Ϯϰϯϲ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϮ                                            'ƵĂƌĚŝĂŶ                             KƚŚĞƌWĂǇƌŽůůĞĚƵĐƚŝŽŶƐĞŶƚĂůͬsŝƐŝŽŶ/ŶƐƵƌĂŶĐĞ                                    Ϯ͕ϬϴϮ͘ϰϰ
^,^    KWZd/E'KhEd                             Ϯϰϯϳ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϭ                                    ŚƌŽŵĞďŽŽŬƉĂƌƚƐ͘ĐŽŵ                          /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                               Ϯϴ͕ϰϳϭ͘ϲϮ
^,^    KWZd/E'KhEd                             Ϯϰϯϴ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϳϬ                                       ůŝĐŬƌƚDĂƚĞƌŝĂůƐ                       /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                               ϭϭ͘ϮϮ
^,^    KWZd/E'KhEd                             Ϯϰϯϵ   ϬϳͬϬϲͬϮϬϮϬ                ϮϬϱϲϵ                                  ůĂƌŵWƌŽƚĞĐƚŝŽŶ^ĞƌǀŝĐĞƐ                      KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 Ϯϳϲ͘ϬϬ
^,^    KWZd/E'KhEd                             ϮϰϰϬ   ϬϳͬϬϳͬϮϬϮϬ                ϱϴϲϴ                                            KůŝǀŝĞƌ͕ƌŽĐ                         dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                             ϳϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϰϭ   ϬϳͬϬϳͬϮϬϮϬ                ϮϬϱϴϲ                                            :ŽŚŶŽƌď                            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϭϵ͘ϵϯ
^,^    KWZd/E'KhEd                             ϮϰϰϮ   ϬϳͬϬϳͬϮϬϮϬ                ϮϬϱϴϱ                                      dƵũĂǇƐ^ĞƌǀŝĐĞƐ/ŶĐ͘                       KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϰ͕ϵϵϵ͘ϳϱ
^,^    KWZd/E'KhEd                             Ϯϰϰϯ   ϬϳͬϬϳͬϮϬϮϬ                ϮϬϱϴϰ                                      dƵũĂǇƐ^ĞƌǀŝĐĞƐ/ŶĐ͘                       KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϰ͕ϵϵϵ͘ϳϱ
^,^    KWZd/E'KhEd                             Ϯϰϰϰ   ϬϳͬϬϳͬϮϬϮϬ                ϮϬϱϴϯ                                      dƵũĂǇƐ^ĞƌǀŝĐĞƐ/ŶĐ͘                       sK/                                                                                Ͳ
^,^    KWZd/E'KhEd                             Ϯϰϰϱ   ϬϳͬϬϳͬϮϬϮϬ                ϮϬϱϴϮ                                       <ĞŶƚǁŽŽĚ^ƉƌŝŶŐƐ                          ^'KĂŶĚŵĞŶŝƚŝĞƐŐĞŶĐǇWĂǇĂďůĞ                                                    ϳ͘ϲϰ
^,^    KWZd/E'KhEd                             Ϯϰϰϲ   ϬϳͬϬϳͬϮϬϮϬ                ϮϬϱϴϭ                                    'ƌƵŶĚŵĂŶŶΖƐƚŚ͘Ž͘                         ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐhŶŝĨŽƌŵƐŐĞŶĐǇWĂǇĂďůĞ                                          ϭ͕Ϭϵϲ͘ϲϮ
^,^    KWZd/E'KhEd                             Ϯϰϰϳ   ϬϳͬϬϳͬϮϬϮϬ                ϮϬϱϴϬ                                      ĞůƵǆĞWĞƐƚŽŶƚƌŽů                        ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                  ϭϯϯ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϰϴ   ϬϳͬϬϵͬϮϬϮϬ                ϮϬϱϵϭ                                         ZŝĐŚĂƌĚƌĞĂƵǆ                          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                  ϭϮϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϰϵ   ϬϳͬϬϵͬϮϬϮϬ                ϮϬϱϵϬ                                         >ĞǆŝƌĂĚďĞƌƌǇ                          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                  ϭϮϬ͘ϬϬ
^,^    KWZd/E'KhEd                             ϮϰϱϬ   ϬϳͬϬϵͬϮϬϮϬ                ϮϬϱϴϵ                                            ƌŝĐ>ĞŶƚǌ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                  ϭϮϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϱϭ   ϬϳͬϬϵͬϮϬϮϬ                ϮϬϱϴϴ                                              ŶƚĞƌŐǇ                            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϵ͕ϬϬϭ͘ϯϬ
^,^    KWZd/E'KhEd                             ϮϰϱϮ   ϬϳͬϬϵͬϮϬϮϬ                ϮϬϱϴϳ                                          ĞǀŝŶZŽŐĞƌƐ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                  ϭϮϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϱϯ   ϳͬϭϬͬϮϬϮϬ                ϭϱͲϮϬϲϮ                                               sŝƐĂ                             ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϭϲϬ͘ϱϱ
^,^    KWZd/E'KhEd                             Ϯϰϱϰ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϲϬϮ                                  ,ŽŵĞĞƉŽƚƌĞĚŝƚ^ĞƌǀŝĐ                       KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϳϱϲ͘ϱϮ
^,^    KWZd/E'KhEd                             Ϯϰϱϱ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϲϬϭ                                      ŽǁŶƚŽǁŶĞůŝǀĞƌǇ                          ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϮϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϱϲ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϲϬϬ                                       ĂĐŚĂƌǇŽƌĚĞůŽŶ                          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                 ϭϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϱϳ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϵ                                       DƐ͘DĂũŬĞŶWƵŶĐŚ                          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                 ϯϭϮ͘ϱϬ
^,^    KWZd/E'KhEd                             Ϯϰϱϴ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϴ                                                ,ƵĚů                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                 ϭ͕ϲϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϱϵ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϳ                                     &ŽůĞǇDĂƌŬĞƚŝŶŐ͕/ŶĐ͘                       ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                    ϯϬ͕ϭϯϱ͘ϳϭ
^,^    KWZd/E'KhEd                             ϮϰϲϬ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϲ                                   &ĞƌĚŝĞΖƐWƌŝŶƚŝŶŐ^ĞƌǀŝĐĞ                     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                 ϵϬϰ͘ϭϴ
^,^    KWZd/E'KhEd                             Ϯϰϲϭ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϱ                                         ŵŝůǇĂůůĞŐĂŶ                          ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                 ϯϭϮ͘ϱϬ
^,^    KWZd/E'KhEd                             ϮϰϲϮ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϰ                                     ĞŶŐĂŐĞ>ĞĂƌŶŝŶŐ/ŶĐ                        /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                               ϭ͕ϴϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϲϯ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϯ                       ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ              WƌĞƉĞƚŝƚŝŽŶ>ŝĂďŝůŝƚŝĞƐͲ/ŶƚĞƌŶĞƚ                                                  ϲ͕ϬϬϰ͘ϱϬ          zΎ
^,^    KWZd/E'KhEd                             Ϯϰϲϰ   ϬϳͬϭϬͬϮϬϮϬ                ϮϬϱϵϮ                                         ĂƌŽŶĂƵůĨŝĞůĚ                         ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                  ϭϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϲϱ   ϬϳͬϭϯͬϮϬϮϬ                ϮϬϲϬϰ                                         ƚŵŽƐŶƚĞƌŐǇ                           KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϭϵϴ͘Ϯϲ
^,^    KWZd/E'KhEd                             Ϯϰϲϲ   ϬϳͬϭϯͬϮϬϮϬ                ϮϬϲϬϯ                                                sŝƐĂ                             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚĂŶĚĚŵŝŶŝƐƚƌĂƚŝǀĞ                              ϯϯϰ͘ϲϵ
^,^    KWZd/E'KhEd                             Ϯϰϲϳ   ϬϳͬϭϲͬϮϬϮϬ                ϮϬϲϬϴ                                         >ĞĞdƌĂĐƚŽƌŽ͘                         KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϰϯ͘Ϯϴ
^,^    KWZd/E'KhEd                             Ϯϰϲϴ   ϬϳͬϭϲͬϮϬϮϬ                ϮϬϲϬϳ                                                sŝƐĂ                             ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϯϳ͘ϯϯ
^,^    KWZd/E'KhEd                             Ϯϰϲϵ   ϬϳͬϭϲͬϮϬϮϬ                ϮϬϲϬϲ                                         ZŝĐŽŚh^͕/ŶĐ                          /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                               ϰϱ͘ϰϴ
^,^    KWZd/E'KhEd                             ϮϰϳϬ   ϬϳͬϭϲͬϮϬϮϬ                ϮϬϲϬϱ                                       <ĞŶƚǁŽŽĚ^ƉƌŝŶŐƐ                          ^'KĂŶĚŵĞŶŝƚŝĞƐŐĞŶĐǇWĂǇĂďůĞ                                                    ϳ͘ϲϰ
^,^    KWZd/E'KhEd                             Ϯϰϳϭ   ϬϳͬϮϬͬϮϬϮϬ               ϭϱͲϮϬϱϬ                                       ƌĞƐĐĞŶƚWĂǇƌŽůů                         WĂǇƌŽůů                                                                             Ϯϭϳ͘ϱϬ
^,^    KWZd/E'KhEd                             ϮϰϳϮ   ϬϳͬϮϬͬϮϬϮϬ                ϱϵϯϳ                                    ůĂƌŬ͕:ĞƌĞŵŝĂŚŶƚŚŽŶǇ                       dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                             Ϯϯϰ͘ϰϰ
^,^    KWZd/E'KhEd                             Ϯϰϳϯ   ϬϳͬϮϬͬϮϬϮϬ                ϱϵϰϯ                                           dƌĂŶ͕ĂĐŚĂƌǇ                          dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                             ϱϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϳϰ   ϬϳͬϮϬͬϮϬϮϬ                ϱϵϯϴ                                          ,ĞďĞƌƚ͕ZŽďĞƌƚ                          dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                             ϲϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϳϱ   ϬϳͬϮϬͬϮϬϮϬ               ϭϱͲϮϬϱϮ                                     &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ                       WĂǇƌŽůůdƌĂŶƐĨĞƌ                                                                    ϭϬ͕ϬϬϬ͘ϬϬ           y
^,^    KWZd/E'KhEd                             Ϯϰϳϲ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϭϮ                                    ƵŚŽŶ>ŽĐŬΘ^ĞĐƵƌŝƚǇ                        KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 Ϯϭ͘ϴϰ
^,^    KWZd/E'KhEd                             Ϯϰϳϳ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϬϵ                                   ^ĐƌĞĞŶƐΘ'ůĂƐƐ/ŶĐ͘                       KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϱϵ͘ϯϮ
^,^    KWZd/E'KhEd                             Ϯϰϳϴ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϮϭ                                                sŝƐĂ                             ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐĂŶĚĚŵŝŶŝƐƚƌĂƚŝǀĞ                                        ϳϰ͘ϭϳ
^,^    KWZd/E'KhEd                             Ϯϰϳϵ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϭϴ                                                sŝƐĂ                             ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϵϳ͘ϰϭ
^,^    KWZd/E'KhEd                             ϮϰϴϬ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϭϭ                                 ĞůĐŽŽŵŵƵŶŝĐĂƚŝŽŶƐ/ŶĐ͘                       KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϭϭϱ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϴϭ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϭϱ                           WŝƚŶĞǇŽǁĞƐ'ůŽďĂů&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ                ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϭϰϭ͘ϱϮ
^,^    KWZd/E'KhEd                             ϮϰϴϮ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϮϱ                       ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ              KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϰϰϮ͘ϲϮ         z
^,^    KWZd/E'KhEd                             Ϯϰϴϯ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϮϬ                                           tŝŶĚƐƚƌĞĂŵ                            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϲϳϱ͘ϱϳ
^,^    KWZd/E'KhEd                             Ϯϰϴϰ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϮϯ              ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ;ŬƚŽƚĂůƐΨϵϴϯ͘ϱϬͿ   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϱϵϬ͘ϭϬ         zΎ
^,^    KWZd/E'KhEd                             Ϯϰϴϱ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϮϯ              ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ;ŬƚŽƚĂůƐΨϵϴϯ͘ϱϬͿ   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϯϵϯ͘ϰϬ         z
^,^    KWZd/E'KhEd                             Ϯϰϴϲ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϭϲ                                      dĞĂĐŚĞƌΖƐŝƐĐŽǀĞƌǇ                        /ŶƐƚƌƵĐƚŝŽŶĂů                                                                       ϵϵϴ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϴϳ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϭϵ                                        sŽĐĂďƵůĂƌǇ͘ĐŽŵ                           /ŶƐƚƌƵĐƚŝŽŶĂů                                                                       ϭ͕ϲϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϴϴ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϮϲ                                     ƌĐŚŽĨE͘K͘/dĞƉƚ͘                       /ŶƐƚƌƵĐƚŝŽŶĂů                                                                       ϯ͕ϬϬϬ͘ϬϬ          z
^,^    KWZd/E'KhEd                             Ϯϰϴϵ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϭϯ                                Θ:>ĂǁŶĂƌĞĂŶĚDĂŝŶƚ͘>>                     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇWĂǇĂďůĞͲŝĂŵŽŶĚůƵď;ĂƐĞďĂůůͿ                           ϰ͕ϵϬϬ͘ϬϬ
^,^    KWZd/E'KhEd                             ϮϰϵϬ   ϬϳͬϮϭͬϮϬϮϬ                ϮϬϲϮϰ                                 ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                      KƚŚĞƌŽƐƚƐͲ/ŶƐƵƌĂŶĐĞ                                                             ϭϴ͕ϯϮϲ͘ϯϵ           z
^,^    KWZd/E'KhEd                             Ϯϰϵϭ   ϬϳͬϮϮͬϮϬϮϬ                ϮϬϲϯϬ                                         DĂƌŬtŝůůŝĂŵƐ                           ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϰϯ͘ϱϴ
^,^    KWZd/E'KhEd                             ϮϰϵϮ   ϬϳͬϮϮͬϮϬϮϬ                ϮϬϲϯϭ                                          KƌĂůĞĂ&ƌƵŐĞΖ                          ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                    ϭϱϲ͘ϵϯ
^,^    KWZd/E'KhEd                             Ϯϰϵϯ   ϬϳͬϮϮͬϮϬϮϬ                ϮϬϲϮϳ                                                sŝƐĂ                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                                       ϯϬϬ͘ϵϵ
^,^    KWZd/E'KhEd                             Ϯϰϵϰ   ϬϳͬϮϮͬϮϬϮϬ                ϮϬϲϮϴ                                        Θ>^ĂůĞƐ͕/ŶĐ͘                        KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϱϲϴ͘ϵϯ
^,^    KWZd/E'KhEd                             Ϯϰϵϱ   ϬϳͬϮϮͬϮϬϮϬ                ϮϬϲϮϵ                                 ,ĞƌŝƚĂŐĞůĞĐƚƌŝĐĂůŽ͕͘/ŶĐ͘                   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 Ϯ͕ϬϴϬ͘ϬϬ
^,^    KWZd/E'KhEd                             Ϯϰϵϲ   ϬϳͬϮϳͬϮϬϮϬ                ϮϬϲϯϳ                                            :ŽŚŶŽƌď                            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚĂŶĚĚŵŝŶŝƐƚƌĂƚŝǀĞ                              ϴϰ͘ϱϳ
^,^    KWZd/E'KhEd                             Ϯϰϵϳ   ϬϳͬϮϳͬϮϬϮϬ                ϱϵϱϬ                                            DŝůůĞƌ͕ZǇĂŶ                          dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                             ϵϭϱ͘Ϭϴ
^,^    KWZd/E'KhEd                             Ϯϰϵϴ   ϬϳͬϮϳͬϮϬϮϬ                ϮϬϲϯϴ                                            ŝŐ'ĂŵĞ                             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                  ϵϮϯ͘ϵϬ
^,^    KWZd/E'KhEd                             Ϯϰϵϵ   ϬϳͬϮϳͬϮϬϮϬ                ϮϬϲϯϱ                                     &ŽůĞǇDĂƌŬĞƚŝŶŐ͕/ŶĐ͘                       ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇWĂǇĂďůĞͲŚĞĞƌůĞĂĚĞƌƐ                                  ϭ͕ϭϱϲ͘Ϭϯ
^,^    KWZd/E'KhEd                             ϮϱϬϬ   ϬϳͬϮϳͬϮϬϮϬ                ϮϬϲϯϰ                                    ŚƌŽŵĞďŽŽŬƉĂƌƚƐ͘ĐŽŵ                          /ŶƐƚƌƵĐƚŝŽŶĂů                                                                       ϭ͕ϯϯϵ͘ϱϬ
^,^    KWZd/E'KhEd                             ϮϱϬϭ   ϬϳͬϮϳͬϮϬϮϬ                ϮϬϲϯϲ                                 'ĞŶĞƌĂůtŽƌŬWƌŽĚƵĐƚƐ͕>>                      KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϭ͕ϳϰϳ͘ϮϬ
^,^    KWZd/E'KhEd                             ϮϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ                ϮϬϲϯϵ                                         <ŝƌƐĐŚtŝůďĞƌŐ                          KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                 ϵϱ͘ϬϬ
^,^    KWZd/E'KhEd                             ϮϱϬϯ   ϬϳͬϮϴͬϮϬϮϬ                ϱϵϱϲ                                           ZŝĐŽƌĚ͕>ƵĐĂƐ                          dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                             ϭ͕ϭϲϴ͘ϰϮ
^,^    KWZd/E'KhEd                             ϮϱϬϰ   ϬϳͬϮϵͬϮϬϮϬ               ϭϱͲϮϬϱϲ                                    >Ă͘^ƚĂƚĞĞƉĂƌƚŵĞŶƚ                        WĂǇƌŽůů                                                                             Ϯϭϳ͘ϱϬ
^,^    KWZd/E'KhEd                             ϮϱϬϱ   ϬϳͬϯϬͬϮϬϮϬ                ϮϬϲϰϭ                                  KĨĨŝĐĞŽĨĂƚŚŽůŝĐ^ĐŚŽŽůƐ                     ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                      ϭϬ͘ϬϬ
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^,^     KWZd/E'KhEd   ϮϱϬϲ     ϬϳͬϯϬͬϮϬϮϬ           ϱϵϲϯ                           'ŽŶǌĂůĞǌͲZƵďŝŽ͕zŽĂŶƐůǇ               dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                              ϳϬϬ͘ϬϬ
^,^     KWZd/E'KhEd   ϮϱϬϳ     ϬϳͬϯϬͬϮϬϮϬ          ϮϬϲϰϮ                                 dŽŵŵǇŽŶŶŽƌƐ                   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŐĞŶĐǇWĂǇĂďůĞͲ&ŽŽƚďĂůů                                       ϯ͕ϳϬϬ͘ϬϬ
^,^     KWZd/E'KhEd   ϮϱϬϴ     ϬϳͬϯϭͬϮϬϮϬ           ϱϵϳϲ                                   ŝĐŬ͕tŝůůŝĂŵ                 dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                              ϳϬϬ͘ϬϬ
^,^     KWZd/E'KhEd   ϮϱϬϵ     ϬϳͬϯϭͬϮϬϮϬ           ϱϵϲϲ                                 :ŽŶĂƚŚĂŶ>ĞǁŝƐ                  dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                              ϭ͕ϰϵϳ͘ϲϬ
^,^     KWZd/E'KhEd   ϮϱϭϬ     ϬϳͬϯϭͬϮϬϮϬ           ϱϵϳϰ                                    WĂƚĞů͕sĞĞƚ                  dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĨƵŶĚ                                                              ϭϬ͕ϬϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϬϮͬϮϬϮϬ     ,WƌŽĐ&ĞĞ                        WĂǇŵĞŶƚĞĐŚŚĂƐĞ                 ĚŵŝŶŝƐƚƌĂƚŝǀĞǆƉĞŶƐĞ                                                               Ϯϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϬϲͬϮϬϮϬ      ,ĂŶŬ&ĞĞ                             :WDŽƌŐĂŶŚĂƐĞ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞǆƉĞŶƐĞ                                                               ϱϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϱϰ                                  tĞƐƚĞƌŶ͕^ĐŽƚƚ                 KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  Ϯ͕ϴϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϱϯ                   tĂƐƚĞDĂŶĂŐĞŵĞŶƚŽĨ^ƚdĂŵŵĂŶǇ                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϭϱϲ͘ϳϲ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϱϮ                     tĂƐŚͲ^ƚdĂŵŵĂŶǇůĞĐƚƌŝĐŽ/ŶĐ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ;ĞůĞĐƚƌŝĐͿ                                       ϲ͕ϯϰϬ͘Ϯϯ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϱϭ                                  sĞŶƵĞƚŝǌĞ͕>>                 ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϭϴϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϱϬ                                  ^ĂƚƚĞƌůĞĞ͕dŝŵ                 ZĞŝŵďĞǆƉĞŶƐĞ;DĞŶΖƐůƵďͿ                                                           ϱϮ͘ϭϰ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϵ                      WĂŶŵĞƌŝĐĂŶ>ŝĨĞ/ŶƐƵƌĂŶĐĞŽ             ^ƚĂĨĨĞŶĞĨŝƚƐͲ/ŶƐƵƌĂŶĐĞ                                                           ϭϬϭ͘ϲϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϴ                                 EŽƌƚŚ^ŚŽƌĞĐĞ                 KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϵϵ͘ϭϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϳ                                 <ŝůƌŽǇ͕<ŝŵďĞƌůǇ                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϲϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϲ                                   <ĞĂƚůĞǇ͕Ăƌů                 KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϭϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϱ                      /ddƌƵĐŬ^ĂůĞƐĂŶĚ^ĞƌǀŝĐĞƐ>>           DĂŝŶƚĞŶĂŶĐĞŽĨsĞŚŝĐůĞ                                                               ϯ͕ϴϳϲ͘ϳϱ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϰ                                    /ŶĨŝŶŝͲƚĞĞΖƐ                 ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϭ͕Ϯϭϴ͘Ϯϯ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϯ                       ,ƵŶƚdĞůĞĐŽŵŵƵŶŝĐĂƚŝŽŶƐ͕>>              KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ;ƉŚŽŶĞͿ                                          Ϯϳϱ͘ϭϳ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϮ                     ,ŝĐŬŽƌǇdƌƵĐŬΘƵƚŽZĞƉĂŝƌ͕>>            DĂŝŶƚĞŶĂŶĐĞŽĨsĞŚŝĐůĞ                                                               ϭ͕Ϭϵϯ͘ϳϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϭ                                     'ƵĂƌĚŝĂŶ                    ^ƚĂĨĨĞŶĞĨŝƚƐͲ/ŶƐƵƌĂŶĐĞ                                                           Ϯ͕ϬϭϮ͘ϳϳ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϰϬ                             'ĞĂƵǆWƌĞĂƵǆWƌŝŶƚŝŶŐ               ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     Ϯϰϳ͘ϴϰ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϵ                          'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞƐ             ^ƚĂĨĨĞŶĞĨŝƚƐͲ/ŶƐƵƌĂŶĐĞ                                                           Ϯϰ͕ϵϲϮ͘ϯϳ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϴ                 ĂƐƚ^ƚdĂŵŵĂŶǇŚĂŵďĞƌŽĨŽŵŵĞƌĐĞ             ĚŵŝŶŝƐƚƌĂƚŝŽŶ                                                                      ϮϱϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϳ                          ĂĚƐ͕DĞůĂŶŝĞ'͘W͕W              ĚŵŝŶŝƐƚƌĂƚŝŽŶͲĐĐŽƵŶƚŝŶŐ^ĞƌǀŝĐĞƐ                                                 ϭϵϮ͘ϱϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϲ                             ƵĚůĞǇ^ŵŝƚŚWƌŝŶƚŝŶŐ               ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϮϬ͘ϲϳ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϱ                            ĂǀŝƐWƌŽĚƵĐƚƐŽ͕͘/ŶĐ              WůĂŶƚhƉŬĞĞƉ                                                                         ϯ͕Ϭϯϴ͘ϭϴ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϰ                 ŽĂƐƚĂůŶǀŝƌŽŶŵĞŶƚĂů^ĞƌǀŝĐĞƐŽĨ>>>        WůĂŶƚhƉŬĞĞƉ                                                                         ϰϮϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϯ                                   ŝƚǇŽĨ^ůŝĚĞůů               KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ;ǁĂƚĞƌͿ                                          ϭϯϭ͘ϱϵ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϮ                        ŚĂƐĞĂƌĚŵĞŵďĞƌ^ĞƌǀŝĐĞƐ                ĂĚŵŝŶŝƐƚƌĂƚŝŽŶ                                                                       ϴϮ͘ϭϲ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϭ                         ĂŶŽŶ&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ/ŶĐ            ĂĚŵŝŶŝƐƚƌĂƚŝŽŶ                                                                       ϲϮϰ͘ϮϮ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϯϬ                                ĞŶĞĨŝƚ^ƚƌĂƚĞŐŝĞƐ               ^ƚĂĨĨĞŶĞĨŝƚƐ                                                                       ϮϳϬ͘ϱϭ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϮϵ                       dDK^ŶĞƌŐǇ>ŽƵŝƐŝĂŶĂͲ>'^              KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ;ŐĂƐͿ                                            ϭϭϳ͘ϲϵ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϰͬϮϬϮϬ          ϰϳϬϮϴ                                       ^                      ĂĚŵŝŶŝƐƚƌĂƚŝŽŶ                                                                       ϴϵ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϱͬϮϬϮϬ    Ϭϳͬϭϱ,WZǆƉ                            ƌĞƐĐĞŶƚWĂǇƌŽůů                ĚŵŝŶŝƐƚƌĂƚŝŽŶͲWĂǇƌŽůů^ĞƌǀŝĐĞ                                                     ϯϳϵ͘Ϯϱ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϱͬϮϬϮϬ    ϮϭͲϯ:ŽƵƌŶĂůŶƚƌǇ                          ƌĞƐĐĞŶƚWĂǇƌŽůů                ĚŵŝŶŝƐƚƌĂƚŝŽŶͲWĞŶƐŝŽŶͬĞŶdƌƵƐƚ                                                   ϴ͕ϱϳϵ͘ϰϭ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϱͬϮϬϮϬ    ϮϭͲϮ:ŽƵƌŶĂůŶƚƌǇ                          ƌĞƐĐĞŶƚWĂǇƌŽůů                ĚŵŝŶŝƐƚƌĂƚŝŽŶͲWZƚĂǆ                                                              ϭϴ͕ϱϱϲ͘Ϭϲ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϭϱͬϮϬϮϬ    ϮϭͲϭ:ŽƵƌŶĂůŶƚƌǇ                          ƌĞƐĐĞŶƚWĂǇƌŽůů                ĚŵŝŶŝƐƚƌĂƚŝŽŶͲWZ                                                                  ϱϬ͕ϯϮϵ͘ϲϭ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϮ                                      ƐǇŶĐƐ                     ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                                            ϵϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϵ                           KĨĨŝĐĞĞƉŽƚƌĞĚŝƚWůĂŶ              ĚŵŝŶƐŝƚƌĂƚŝǀĞǆƉĞŶƐĞ                                                               ϵϳ͘ϴϲ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϳϭ                                     tyĂŶŬ                    KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϭϮϴ͘Ϭϲ    ΎΎ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϱϵ                                ĞŶĞĨŝƚ^ƚƌĂƚĞŐŝĞƐ               ^ƚĂĨĨĞŶĞĨŝƚƐ                                                                       ϭϱϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϲ                               EĂƐŚǀŝůůĞŚĞŵŝĐĂů                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϮϬϳ͘ϴϱ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϱϳ                ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ&ŝŶĂŶĐŝĂů^Ğƌǀ        ĚŵŝŶŝƐƚƌĂƚŝǀĞǆƉĞŶƐĞ;ƌĞŝŵďĂƚƚŽƌŶĞǇĨĞĞͿ                                          ϯϮϬ͘ϬϬ    zΎ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϬ                    ůĂƌŝŽŶ,ĞƌĂůĚWƵďůŝƐŚŝŶŐŽŵƉĂŶǇ            ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                                            ϯϴϯ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϱϱ                                  ĐĞ,ĂƌĚǁĂƌĞ͘                  KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϰϬϯ͘ϯϯ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϱϲ                         ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ              KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ;ƌĞŝŵďƵŝůĚŝŶŐ&ĞĞƐͿ                            ϰϰϮ͘ϲϭ    z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϴ                          EĞůŶĞƚƵƐŝŶĞƐƐ^ŽůƵƚŝŽŶƐ              /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϱϬϳ͘ϴϯ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϱ                        >ŽďďΖƐ,ŽƌƚŝĐƵůƚƵƌĂů^ƉƌĂǇ/ŶĐ           KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϭ͕ϭϳϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϭ                      ŽŐŶŝĂ/ŶĐ;ĨŽƌŵĞƌůǇĚǀĂŶĐͿ             /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϭ͕ϮϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϯ                            &ŽůůĞƚƚ^ĐŚŽŽů^ŽůƵƚŝŽŶƐ             /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϭ͕ϱϱϵ͘ϰϮ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϳϬ                                ZƵďŝĐŽŶtĞƐƚ>>                 /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                Ϯ͕ϯϮϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϳ                                   EĂǀŝĂŶĐĞ͕/ŶĐ                 /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϯ͕ϴϴϴ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϲϰ                         ,ŽƵŐŚƚŽŶDŝĨĨůŝŶŽŵƉĂŶǇ                /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϰ͕ϴϮϳ͘ϳϳ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϬͬϮϬϮϬ          ϰϳϬϱϴ                ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ/ŶƚĞƌŶĞƚ^Ğƌǀ         /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϱ͕ϱϯϮ͘Ϯϱ     zΎ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϴ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐK^              ĚŵŝŶƐŝƚƌĂƚŝǀĞͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                                      ϭϬ͘ϬϬ   z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϲ                                 DĂŶŐĂŶŽ͕ZŽďŝŶ                  ĚŵŝŶŝƐƚĂƚŝǀĞǆƉĞŶƐĞ                                                                ϮϬ͘ϯϳ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϯ                                 >ŝƐŽƚƚĂ͕WĂŵĞůĂ                 ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϯϱ͘ϴϱ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϳ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐK^              ĚŵŝŶƐŝƚƌĂƚŝǀĞͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                                      ϱϴ͘ϬϬ   z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϲ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐK^              ĚŵŝŶƐŝƚƌĂƚŝǀĞͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                                      ϱϴ͘ϬϬ   z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϱ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐK^              ĚŵŝŶƐŝƚƌĂƚŝǀĞͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                                      ϱϴ͘ϬϬ   z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϱ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐK^              ĚŵŝŶƐŝƚƌĂƚŝǀĞͲ&ŝŶŐĞƌƉƌŝŶƚŝŶŐ                                                      ϱϴ͘ϬϬ   z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϴ                            ĂǀŝƐWƌŽĚƵĐƚƐŽ͕͘/ŶĐ              KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϭϭϭ͘Ϭϯ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϭϬϬ                                   KΖEĞŝů͕<ĞǀŝŶ                 ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϭϮϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϮ           dŚĞĚǀŽĐĂƚĞ;^ƚdĂŵŵĂŶǇ&ĂƌŵĞƌůŽĐĂůƉĂƉĞƌŶĂŵĞͿ     ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                                            Ϯϵϳ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϱ                                   >ŽƵ͕ŵĂŶĚĂ                   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϯϲϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϳ               EŽƌƚŚ^ŚŽƌĞƌŽĂĚĐĂƐƚŝŶŐ/ŶĐ;ĚŐĞŽĨ>ĂŬĞͿ       ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                                            ϱϱϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϰ                               t:^ŶƚĞƌƉƌŝƐĞƐ/ŶĐ               ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϲϱϮ͘ϵϭ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϰ                        >ŽďďΖƐ,ŽƌƚŝĐƵůƚƵƌĂů^ƉƌĂǇ/ŶĐ           KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϳϬϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϮ                               :͘^͘WĂůƵĐŚŽ͕͘/ŶĐ͘             ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                                            ϴϳϲ͘ϳϮ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϳ                               ůŝĐŬƌƚDĂƚĞƌŝĂůƐ               /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϭ͕ϰϲϮ͘ϱϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϭ                       ^ƚdĂŵŵĂŶǇDĂŝŶƚĞŶĂŶĐĞ/ŶĐ                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϭ͕ϰϵϵ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϵ          ^ĂǀǀĂƐ>ĞĂƌŶŝŶŐŽŵƉĂŶǇ;ĨŽƌŵĞƌůǇWĞĂƌƐŽŶĚƵĐĂƚŝŽŶͿ   /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϭ͕ϲϮϳ͘ϳϲ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϭ                     ,ŝĐŬŽƌǇdƌƵĐŬΘƵƚŽZĞƉĂŝƌ͕>>            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                                  ϭ͕ϲϴϱ͘ϮϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϲ                                  ĞŶĚŝŶŐĞƌ/ŶĐ                  ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     Ϯ͕ϯϰϵ͘ϰϵ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϯ           ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐͲ/ŶĨŽƌŵĂƚŝŽŶdĞĐŚŶŽůŽŐǇ   /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϯ͕ϰϴϲ͘ϬϬ     z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϯ                 dWZĚƵĐĂƚŝŽŶ>>ͬdŚĞWƌŝŶĐĞƚŽŶZĞǀŝĞǁ         /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϯ͕ϵϲϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϬ                          ^ŵŝƚŚ^ƉŽƌƚŝŶŐ'ŽŽĚƐ>>               ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϰ͕ϱϬϲ͘ϰϮ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϵ                       ĞǀĞůŽƉŵĞŶƚ/ŶŶŽǀĂƚŝŽŶƐϯϲϬ               ĚŵŝŶŝƐƚĂƚŝǀĞǆƉĞŶƐĞ                                                                ϰ͕ϲϭϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϵϵ                    ZŽǇůǇŶĞ&ĂƐƵůůŽ͕&KW:WĂƐŚŽǆ           ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϳ͕ϭϱϬ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϮ                                     ƉƉůĞ/ŶĐ͘                  /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                                                ϴ͕ϴϬϴ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϳϰ                  ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ/ŶƐƵƌĂŶĐĞ           ĚŵŝŶŝƐƚƌĂƚŝǀĞǆƉĞŶƐĞ                                                               ϭϬ͕ϭϱϭ͘Ϭϵ      z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϴ                                WĂůŵĞƌ͕DŝĐŚĞůůĞ                 ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                                                     ϭϭ͕ϴϳϱ͘ϬϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϮϳͬϮϬϮϬ          ϰϳϬϴϬ                          'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞƐ             ^ƚĂĨĨĞŶĞĨŝƚƐ                                                                       Ϯϴ͕ϳϱϭ͘ϴϳ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϯϭͬϮϬϮϬ       ,Ϭϳ͘ϯϭ               ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ&ŝŶĂŶĐŝĂů^Ğƌǀ        ZEK/ŶƚĞƌĞƐƚϳͬϯϭͬϮϬϮϬ                                                              ϱϲϭ͘ϰϰ    z
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϯϭͬϮϬϮϬ           ϮϭͲϲ                           ƌĞƐĐĞŶƚWĂǇƌŽůů^ĞƌǀŝĐĞƐ             ĚŵŝŶŝƐƚƌĂƚŝŽŶͲWĞŶƐŝŽŶͬĞŶdƌƵƐƚ                                                   ϴ͕ϰϵϭ͘Ϯϲ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϯϭͬϮϬϮϬ           ϮϭͲϱ                           ƌĞƐĐĞŶƚWĂǇƌŽůů^ĞƌǀŝĐĞƐ             ĚŵŝŶŝƐƚƌĂƚŝŽŶͲWZƚĂǆ                                                              ϭϴ͕ϯϵϭ͘Ϭϭ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϯϭͬϮϬϮϬ           ϮϭͲϰ                           ƌĞƐĐĞŶƚWĂǇƌŽůů^ĞƌǀŝĐĞƐ             ĚŵŝŶŝƐƚƌĂƚŝŽŶͲWZ                                                                  ϱϬ͕ϬϱϬ͘ϰϬ
W:W,^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ   ϴϬϱϱ     ϬϳͬϯϭͬϮϬϮϬ        ,ϳ͘ϯϭ                              /ŶƚƵŝƚͲYƵŝĐŬďŽŽŬƐ               ĚŵŝŶŝƐƚƌĂƚŝŽŶͲŚĞĐŬƐ                                                              Ϯϰϲ͘Ϭϴ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϬϭͬϮϬϮϬ         ƚƌĂŶƐĨĞƌ                              &ŝƌƐƚĂŶŬΘdƌƵƐƚ               /ŶƚĞƌĞƐƚdƌĂŶƐĨĞƌĨƌŽŵZĞƐĞƌǀĞ                                                       ϵϬϬ͘ϵϴ    y
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϬϭͬϮϬϮϬ         ƚƌĂŶƐĨĞƌ                              &ŝƌƐƚĂŶŬΘdƌƵƐƚ               dƵŝƚŝŽŶŝƐƚƌŝďƵƚŝŽŶ                                                                 Ϯϭ͕ϬϬϵ͘ϴϵ      y
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϬϯͬϮϬϮϬ         ƚƌĂŶƐĨĞƌ                              &ŝƌƐƚĂŶŬΘdƌƵƐƚ               dƵŝƚŝŽŶŝƐƚƌŝďƵƚŝŽŶ                                                                 ϮϬ͕Ϯϭϰ͘Ϭϴ      y
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϬϴͬϮϬϮϬ         ƚƌĂŶƐĨĞƌ                              &ŝƌƐƚĂŶŬΘdƌƵƐƚ               dƵŝƚŝŽŶŝƐƚƌŝďƵƚŝŽŶ                                                                 ϴ͕ϴϲϯ͘ϲϯ     y
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϭϬͬϮϬϮϬ   ĚũƵƐƚŵĞŶƚϳ͘ϭϬ͘ϮϬ                       ƐƚƵĚĞŶƚŶĂŵĞƌĞŵŽǀĞ                 ZĞĚƵĐĞĚŵŽƚŚĞƌƐƉŽƌƚŝŽŶͲŐƌĂŶĚƉĂƌĞŶƚĞŶƚĞƌĞĚǁƌŽŶŐĂŵƚŽŶ&důŽĂŶƉŽƌƚĂů           ϰϰϮ͘ϱϬ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϭϱͬϮϬϮϬ   ĚũƵƐƚŵĞŶƚϳ͘ϭϱ͘ϮϬ                       ƐƚƵĚĞŶƚŶĂŵĞƌĞŵŽǀĞ                 ZĞĚƵĐĞůŽĂŶĂƐĨŝŶĂŶĐŝĂůĂƐƐŝƐƚĂŶĐĞǁĂƐĂǁĂƌĚĞĚ                                      ϭ͕ϱϬϬ͘ϬϬ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϭϱͬϮϬϮϬ         ƚƌĂŶƐĨĞƌ                              &ŝƌƐƚĂŶŬΘdƌƵƐƚ               dƵŝƚŝŽŶŝƐƚƌŝďƵƚŝŽŶ                                                                 ϯϮ͕ϴϱϯ͘Ϭϰ      y
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϭϲͬϮϬϮϬ   ĚũƵƐƚŵĞŶƚϳ͘ϭϲ͘ϮϬ                       ƐƚƵĚĞŶƚŶĂŵĞƌĞŵŽǀĞ                 ^ƚƵĚĞŶƚǁͬĚŵŝĚͲ:ƵůǇͲůŽĂŶĐĂŶĐĞůůĞĚͲďĂŶŬƚŽƐĞŶĚƌĞĨƵŶĚƚŽƉĂƌĞŶƚǀŝĂ,        ϵ͕ϯϮϬ͘ϯϱ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϮϬͬϮϬϮϬ         ƚƌĂŶƐĨĞƌ                              &ŝƌƐƚĂŶŬΘdƌƵƐƚ               ƚƌĂŶƐĨĞƌ                                                                             Ϯ͕ϲϱϰ͘ϯϴ     y
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϮϰͬϮϬϮϬ         ƚƌĂŶƐĨĞƌ                              &ŝƌƐƚĂŶŬΘdƌƵƐƚ               ƚƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϵϱϴ͘Ϭϱ    y
                                                                                                                                ZĞĐΖĚĐŚĞĐŬĚŝƌĞĐƚƚŽW:WĨŽƌƐƚƵĚĞŶƚĂĨƚĞƌůŽĂŶĐŽŵƉůĞƚĞĚĂƚ&dͲƌĞĚƵĐĞĚůŽĂŶŽŶ
W:W,^    ZĞƐĞƌǀĞ>ŽĂŶ        ϬϮϳϭ     ϬϳͬϮϰͬϮϬϮϬ   ĚũƵƐƚŵĞŶƚϳ͘Ϯϰ͘ϮϬ                     ƐƚƵĚĞŶƚŶĂŵĞƌĞŵŽǀĞ                   &dƐŝƚĞ                                                                             Ϯ͕ϬϬϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 Ϯϭ͕ϯϭϬ͘ϬϬ      y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                ĞĂŶ͕ƌŝƚƚĞŶ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϰ͕ϵϲϯ͘ϱϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                             ^ĂŶŶĚƌĞƐ͕ZǇůĞĞ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯϭ͘ϱϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                WĞƌŽ͕DŽƌŐĂŶ                     dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                 ĂŝůĞǇ͕ǀĞƌǇ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                 dŽĚĚ͕:ĂĐŽď                     dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                             ZĞŵŽŶĚĞƚ͕ĂůĞŝŐŚ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯϵϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϱϲϲ͘ϲϴ    y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                              ĂƐŝůŝĚĞƐ͕:ĞƐƐŝĐĂ                 dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϳϭϮ͘ϱϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                              ĚĂŵƐ͕ĂŶŝĞůůĞ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϳϭϮ͘ϱϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                             tŚŝƚĞ͕ŚƌŝƐƚŽƉŚĞƌ                  dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϴϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                               ĂŶƚŝŶ͕ŶƌŝƋƵĞ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϴϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                >ĂĐǇ͕:ĂƐŵŝŶĞ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϵϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                  Ğǁ͕ůĂŶŝ                     dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϵϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                             DĂƌƐŚĂůů͕ƌŝƚƚĂŶǇ                  dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϭ͕ϬϬϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                ^ĐŽƚƚ͕ĂƌůĂǇĂ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϰ͕ϰϭϮ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                &ŽƐƚĞƌ͕<ĂĚĞŶ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϭ͕ϴϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                ƌŽǁŶ͕<ĂǇůĞĞ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϭ͕ϴϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                 ƌŽǁŶ͕DǇĂ                      dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϭ͕ϲϴϯ͘ϯϯ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϭͬϮϬϮϬ        ǆƉĞŶƐĞ                                :ŽŶĞƐ͕<ĂŝĚĞŶ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϭ͕ϯϱϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϯͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϮϬ͕ϯϯϯ͘ϵϰ      y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϲͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϱ͕ϲϴϳ͘ϮϬ     y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϲͬϮϬϮϬ        ǆƉĞŶƐĞ                                ^ŵŝƚŚ͕ƌŽŽŬĞ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯϭ͘ϱϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϲͬϮϬϮϬ        ǆƉĞŶƐĞ                              ZŽďŝŶƐŽŶ͕dĂǇůŽƌ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯϭ͘ϱϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϲͬϮϬϮϬ        ǆƉĞŶƐĞ                             ZĞŵŽŶĚĞƚ͕ĂůĞŝŐŚ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϭ͕ϬϬϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϲͬϮϬϮϬ        ǆƉĞŶƐĞ                         YƵŝŶŽŶĞƐͲsĞůĞǌ͕ĚƌŝĂŶŝƐ                dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϱ͕ϯϭϯ͘ϱϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϳͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϭ͕ϯϬϲ͘ϭϴ     y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϴͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 Ϯ͕ϭϱϬ͘ϬϬ     y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϬϵͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϭϯ͕ϲϰϵ͘ϯϮ      y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϭϬͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϰ͕ϭϳϯ͘ϳϳ     y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϭϱͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 Ϯϲ͕ϵϬϲ͘ϭϲ      y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϭϲͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϭϰ͕ϱϴϵ͘ϯϮ      y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϭϳͬϮϬϮϬ        ǆƉĞŶƐĞ                               ĞĐĂƌĚŝ͕ůďĞƌƚ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϰ͕ϮϬϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϭϳͬϮϬϮϬ        ǆƉĞŶƐĞ                             ZĞŵŽŶĚĞƚ͕ĂůĞŝŐŚ                   dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϯ͕ϴϭϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϬϳͬϭϳͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϵϮϭ͘ϰϵ    y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϳͬϮϴͬϮϬϮϬ         dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϭ͕ϱϬϰ͘ϳϳ     y
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϳͬϮϵͬϮϬϮϬ         ǆƉĞŶƐĞ                               WŽƌƚŝůůŽ͕/ƐĂďĞůůĂ                dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϳϳϱ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϳͬϮϵͬϮϬϮϬ         ǆƉĞŶƐĞ                              WŽƌƚŝůůŽ͕'ĂďƌŝĞůůĂ                dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϳϳϱ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϳͬϮϵͬϮϬϮϬ         ǆƉĞŶƐĞ                                ŝǆŽŶ͕ĚƌŝĞŶ                    dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϭ͕ϬϬϬ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϳͬϮϵͬϮϬϮϬ         ǆƉĞŶƐĞ                               WŽƌƚŝůůŽ͕:ƵůŝĂŶĂ                 dƵŝƚŝŽŶůŽĂŶƌĞĚƵĐƚŝŽŶ                                                               ϳϳϱ͘ϬϬ
^^     dƵŝƚŝŽŶZĞƐĞƌǀĞ     Ϭϰϯϳ     ϳͬϯϬͬϮϬϮϬ         dƌĂŶƐĨĞƌ                                     ^                        dƵŝƚŝŽŶĚŝƐďƵƌƐĞŵĞŶƚ                                                                 ϱϮϵ͘ϵϲ    y
^^     KƉĞƌĂƚŝŶŐ           ϯϬϲϯ     ϬϳͬϬϮͬϮϬϮϬ          ,                                      ůĞǀŽŶ                       ƌĞĚŝƚĐĂƌĚŵĞƌĐŚĂŶƚĨĞĞ                                                             ϭϱ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ      ϳͬϮͬϮϬϮϬ           ,                                      ůĞǀŽŶ                       &ƵŶĚƌĂŝƐŝŶŐ                                                                          ϴϳ͘ϮϮ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϬ                                 >^hŐĞŶƚĞƌ                     'ƌŽƵŶĚƐƵƉŬĞĞƉ                                                                       ϴϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϭ                                  <ĞƌŝůĞŵĞŶƚ                    ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                                   ϱϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϮ                              ƉƉůĞ͕/ŶĐ͘ϴϲϰϮϭϰ                  /ŶƐƚƌƵĐƚŝŽŶĂůdĞĐŚŶŽůŽŐǇǆƉĞŶƐĞƐ                                                    ϰϵ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϯ                       Z,EKͲĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ                WůĂŶƚƵƉŬĞĞƉ                                                                         ϰϰϮ͘ϲϭ    z
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϰ                              Z,EKͲ/dKĨĨŝĐĞ                  /ŶƚĞƌŶĞƚĐŽƐƚƐ                                                                       ϯ͕ϰϯϮ͘ϬϬ     z
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϱ                                   ŽŐŶŝĂ͕/ŶĐ͘                   ƵĞƐΘƐƵďƐĐƌŝƉƚŝŽŶƐ                                                                 ϭ͕ϮϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϲ                   ĐŽŶŽŵŝĐĂů:ĂŶŝƚŽƌŝĂůΘWĂƉĞƌ^ƵƉƉůŝĞƐ         ƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                                                                   ϮϯϮ͘ϭϯ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϳ                           &ĂƐƚƐŝŐŶƐŽĨ^ƚ͘ŚĂƌůĞƐ               ĞǀĞůŽƉŵĞŶƚΘDĂƌŬĞƚŝŶŐ                                                              ϭ͕ϱϳϯ͘ϴϭ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϴ                            DĂĚĞƌĞsĞŶƚƵƌĞƐ͕>>                  /ŶƐƚƌƵĐƚŝŽŶĂůdĞĐŚŶŽůŽŐǇǆƉĞŶƐĞƐ                                                    Ϯ͕ϳϴϭ͘ϳϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϬϵϵ                       DĂĚĞƌĞsĞŶƚƵƌĞƐ͕>>ͲKƚŚĞƌ               /ŶƐƚƌƵĐƚŝŽŶĂůdĞĐŚŶŽůŽŐǇǆƉĞŶƐĞƐ                                                    ϰϰ͘ϵϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϬ                                 EĞǆƚĞůͲ^ƉƌŝŶƚ                  hƚŝůŝƚŝĞƐͲƉŚŽŶĞ                                                                    ϭϭϲ͘ϱϰ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϭ                                  KĨĨŝĐĞĞƉŽƚ                    ĚŵŝŶŝƐƚƌĂƚŝŽŶǆƉĞŶƐĞƐ                                                              ϱϬ͘ϲϯ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϮ                WŝƚŶĞǇŽǁĞƐ'ůŽďĂů&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ͕>>       ĚŵŝŶŝƐƚƌĂƚŝŽŶǆƉĞŶƐĞƐ                                                              Ϯϴϵ͘ϱϵ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϯ                                    WƌŽĨŽƌŵĂ                      ĞǀĞůŽƉŵĞŶƚΘDĂƌŬĞƚŝŶŐ                                                              ϯϱϴ͘ϴϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϰ                                ZĞĚ^ƚŝĐŬ^ƉŽƌƚƐ                  ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                                   ϰϲϲ͘Ϯϳ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϲ                        ^ƵƉĞƌŝŽƌKĨĨŝĐĞWƌŽĚƵĐƚƐ/ŶĐ              ĚŵŝŶŝƐƚƌĂƚŝŽŶͬ/ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞƐ                                               Ϯϰϰ͘ϭϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϳ                              dŚĞĞĐŽƌ^ŚŽƉƉĞ                    ƵŝůĚŝŶŐΘ/ŵƉƌŽǀĞŵĞŶƚƐ                                                              Ϯ͕ϴϲϭ͘ϱϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϴ                   tĂƐƚĞDĂŶĂŐĞŵĞŶƚŽĨ>ŽƵŝƐŝĂŶĂ͕>>             WůĂŶƚƵƉŬĞĞƉ                                                                         ϵϳ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϬϵ                           yĞƌŽǆ&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ               ĚŵŝŶŝƐƚƌĂƚŝŽŶͬ/ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞƐ                                               ϭ͕ϯϳϬ͘ϭϱ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϭϬ                  ĞƌŝŶŐƵĞΖƐWůƵŵďŝŶŐΘDĞĐŚĂŶŝĐĂů͕/ŶĐ͘          ZĞƉĂŝƌƐΘŵĂŝŶƚĞŶĂŶĐĞ                                                                ϵϱϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         Ϯϱϭϭϭ                            ŵĞƌŝĐĂŶůůͲ^ƚĂƌ͕>>                ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                                   ϯ͕ϴϳϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         ϮϱϭϭϮ                  <ĞŶƚDŝƚĐŚĞůůƵƐ^ĂůĞƐΘ^ĞƌǀŝĐĞ͕>͘>͘͘       ZĞƉĂŝƌƐΘŵĂŝŶƚĞŶĂŶĐĞ                                                                Ϯ͕ϱϴϴ͘ϳϰ     Ύ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         Ϯϱϭϭϯ                              ^ƚ͘ŚĂƌůĞƐWƌŝŶƚŝŶŐ                ĞǀĞůŽƉŵĞŶƚΘDĂƌŬĞƚŝŶŐ                                                              ϭϵϱ͘Ϯϳ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         Ϯϱϭϭϰ                  yĞƌŽǆŽƌƉŽƌĂƚŝŽŶͲdĞĂĐŚ>ŽƵŶŐĞηϭϱϲ           /ŶƐƚƌƵĐƚŝŽŶĂůĞǆƉĞŶƐĞ                                                                ϰϵϬ͘ϲϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ         Ϯϱϭϭϱ                      ^ƚ͘ŚĂƌůĞƐĂƚŚŽůŝĐ,ŝŐŚ^ĐŚŽŽů            dƌĂŶƐĨĞƌƚŽDŽŶĞǇDĂƌŬĞƚ                                                             ϰϳϭ͕ϱϯϬ͘ϬϬ        y
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϱͬϮϬϮϬ        dƌĂŶƐĨĞƌ                                ^ͲWĂǇƌŽůů                   dƌĂŶƐĨĞƌƚŽWĂǇƌŽůůĂĐĐƚ͘                                                            ϭϴϱ͕ϬϬϬ͘ϬϬ        y
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϭϲͬϮϬϮϬ         Ϯϱϭϭϲ                                 >^hŐĞŶƚĞƌ                     'ƌŽƵŶĚƐƵƉŬĞĞƉ                                                                       ϴϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϳͬϭϳͬϮϬϮϬ         dƌĂŶƐĨĞƌ                                ^ͲWĂǇƌŽůů                   dƌĂŶƐĨĞƌƚŽWĂǇƌŽůůĂĐĐƚ͘                                                            ϭ͕ϱϬϬ͘ϬϬ     y
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϵ                                >ĂƵƌǇŶDĂĚĞƌĞ                     dĞĐŚŶŽůŽŐǇƐĞƌǀŝĐĞƐ                                                                  ϱϲϳ͘ϵϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϯϬ                       ZĞƐĞƌǀĞdĞůĞĐŽŵŵƵŶŝĐĂƚŝŽŶƐ                 hƵƚŝůŝƚŝĞƐ                                                                           ϮϵϮ͘ϭϲ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         Ϯϱϭϯϭ                              ^ŚĂƌĞŽƌƉŽƌĂƚŝŽŶ                   ƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                                                                   ϲϲϮ͘ϵϰ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϯϮ                                ^ŚĂǁŶDĂĚĞƌĞ                      /ŶƐƚƌƵĐƚŝŽŶĂů                                                                        ϭϲϰ͘ϯϳ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         Ϯϱϭϯϯ                          ^ƚ͘ŚĂƌůĞƐ,ĞƌĂůĚͲ'ƵŝĚĞ                ĚǀĞƌƚŝƐŝŶŐ                                                                          ϱϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         Ϯϱϭϯϰ                            sĂƌƐŝƚǇ^Ɖŝƌŝƚ&ĂƐŚŝŽŶƐ               ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                                                   ϭ͕ϲϱϳ͘ϱϯ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         Ϯϱϭϯϱ                  ĞƌŝŶŐƵĞΖƐWůƵŵďŝŶŐΘDĞĐŚĂŶŝĐĂů͕/ŶĐ͘          ZĞƉĂŝƌƐΘDĂŝŶƚĞŶĂŶĐĞ                                                                ϭ͕ϳϯϯ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϲ                                KĐŵŽŶĚ͕ůĚĞŶ                     ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϲϰϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϭ                                ůĞŵĞŶƚ͕<ƌǇƐƚĂ                   ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϯ͕ϮϳϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϮ                               &ƵƌŐĞƐŽŶ͕ƌǇŶŶ                    ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϯϱϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϯ                                'ƵǌŵĂŶ͕ŵŵĂ                      ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϰϮϱ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϰ                                  KŶĐĂůĞ͕DŝĂ                     ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϯϱϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϱ                                   WĂǌ͕ŝĚĞŶ                     ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϳϱ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         Ϯϱϭϭϳ                                       s/^                       ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                       Ϯ͕ϯϱϵ͘ϮϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         Ϯϱϭϭϴ                                ďĂĚŝĞ͕EĂƚŚĂŶ                    ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϯϱϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         Ϯϱϭϭϵ                          ŶŶĂůŽƌŽͲ:ŽƐĞƉŚ͕,ĂŝĚǇŶ                 ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϰϯϯ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϬ                                 ŽƌĚĞůŽŶ͕>ŝůůǇ                  ZĞĨƵŶĚͲϮϬϮϬͲϮϭdƵŝƚŝŽŶ                                                             ϲϰϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϳ                                 ĚĚŝĞtĞƚǌĞů                     dĞĐŚŶŽůŽŐǇƐĞƌǀŝĐĞƐ                                                                  ϭϲϮ͘ϮϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϭͬϮϬϮϬ         ϮϱϭϮϴ                                   ĂƌůǇ&ůǇŶŶ                    /ŶƐƚƌƵĐƚŝŽŶĂů                                                                        ϵϵ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϴͬϮϬϮϬ         Ϯϱϭϯϳ                          Z,EKͲ/ŶƐƵƌĂŶĐĞKĨĨ͘                /ŶƐƵƌĂŶĐĞ                                                                            ϭϯ͕ϲϯϲ͘ϵϰ      z
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϴͬϮϬϮϬ         Ϯϱϭϯϴ                              Z,EKͲ/dKĨĨŝĐĞ                  /ŶƚĞƌŶĞƚ                                                                             ϯ͕ϰϯϴ͘ϳϱ     z
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϴͬϮϬϮϬ         Ϯϱϭϯϲ                              ƉƉůĞ͕/ŶĐ͘ϲϰϵϰϰϲ                  dĞĐŚŶŽůŽŐǇĞƋƵŝƉŵĞŶƚ                                                                 ϵ͕ϲϮϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϴͬϮϬϮϬ         Ϯϱϭϰϲ                                 Z,EKͲ&K                     ZĞƉĂǇŵĞŶƚηϳͲ^ƚĂĚŝƵŵ>ŽĂŶϯϮϰ͘ϰ                                                  Ϯ͕ϭϯϰ͘ϯϵ     z
^^     KƉĞƌĂƚŝŶŐ           ϬϱϬϮ     ϬϳͬϮϴͬϮϬϮϬ         Ϯϱϭϰϱ                       Z,EKͲĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ                ŽŶƐƚƌƵĐƚŝŽŶ>ŽĂŶηϭƉĂǇŵĞŶƚ:ƵůǇϮϬϮϬ                                             Ϯϱ͕ϬϬϬ͘ϬϬ      z
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^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ                Ϯϱϭϰϰ                                tĂǇŶĞ^ƚĞŝŶ:ƌ͘              ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϯ͕ϰϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ                Ϯϱϭϯϵ                                 &ŝƐƐĞ'ƌĂƉŚŝĐƐ              ^ƚƵĚĞŶƚƐĞƌǀŝŝĐĞƐ                                           Ϯ͕ϯϬϬ͘ϵϭ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ                ϮϱϭϰϬ                                   KĨĨŝĐĞĞƉŽƚ              ĚŵŝŶƐƵƉƉůŝĞƐ                                              ϭϱϱ͘ϰϬ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ                Ϯϱϭϰϭ                        WŝƚŶĞǇŽǁĞƐWƵƌĐŚĂƐĞWŽǁĞƌ          ƉŽƐƚĂŐĞ                                                     ϭϯ͘ϱϬ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ                ϮϱϭϰϮ                                ZĞĚ^ƚŝĐŬ^ƉŽƌƚƐ             ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϭ͕ϴϰϱ͘Ϯϴ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϮϴͬϮϬϮϬ                Ϯϱϭϰϯ                     hŶŝǀĞƌƐĂůŚĞĞƌůĞĂĚĞƌƐƐƐŽĐŝĂƚŝŽŶ      ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          Ϯ͕Ϯϵϰ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϯϬͬϮϬϮϬ                Ϯϱϭϰϵ                        Z,EKͲĐĐŽƵŶƚŝŶŐKĨĨŝĐĞ          >ĞŐĂů                                                       ϭϭϱ͘ϬϬ         z
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϯϬͬϮϬϮϬ                Ϯϱϭϱϭ                               ƚŵŽƐŶĞƌŐǇϱϭ               hƚŝůŝƚŝĞƐ                                                   ϴϳ͘ϵϵ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϯϬͬϮϬϮϬ                ϮϱϭϱϬ                               ƚŵŽƐŶĞƌŐǇϯϱ               hƚŝůŝƚŝĞƐ                                                   ϱϯ͘ϳϬ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϯϬͬϮϬϮϬ                Ϯϱϭϰϴ                                EƵĐĐŝŽ͕DŽƌŐĂŶ               dƵŝƚŝŽŶZĞĨƵŶĚͲϮϬϮϬͲϮϭ                                    ϯϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐ                                      ϬϱϬϮ   ϬϳͬϯϬͬϮϬϮϬ                Ϯϱϭϰϳ                                   ƌĂĚǇ͕ǀĂŶͺ              dƵŝƚŝŽŶƌĞĨƵŶĚĨŽƌϮϬϮϬͲϮϭ                                  ϱϬϬ͘ϬϬ
^^    WĂǇƌŽůůΘhƚŝůŝƚŝĞƐ                            ϭϯϳϳ   ϬϳͬϮϬͬϮϬϮϬ                 ,                                  ^ĞŵƉůŽǇĞĞƐ               DŽŶƚŚůǇWĂǇƌŽůůͲEĞƚ,ŝƌĞĐƚĞƉŽƐŝƚ                    ϭϭϱ͕ϲϳϮ͘ϭϲ
^^    WĂǇƌŽůůΘhƚŝůŝƚŝĞƐ                            ϭϯϳϳ   ϬϳͬϮϬͬϮϬϮϬ                 ,                                 ƌĞƐĐĞŶƚWĂǇƌŽůů             DŽŶƚŚůǇWĂǇƌŽůůͲǁͬŚƉĂŝĚ                                 ϰϱ͕ϱϭϵ͘ϭϬ
^^    WĂǇƌŽůůΘhƚŝůŝƚŝĞƐ                            ϭϯϳϳ   ϬϳͬϮϬͬϮϬϮϬ                 ,                                 ƌĞƐĐĞŶƚWĂǇƌŽůů             DŽŶƚŚůǇWĂǇƌŽůůͲϰϬϭ<нĞŶĞĨŝƚdƌƵƐƚǁͬŚΘĞǆƉĞŶƐĞƉĂŝĚ   Ϯϱ͕Ϭϳϴ͘ϯϮ
^^    WĂǇƌŽůůΘhƚŝůŝƚŝĞƐ                            ϭϯϳϳ   ϬϳͬϮϬͬϮϬϮϬ                 ,                                 ƌĞƐĐĞŶƚWĂǇƌŽůů             DŽŶƚŚůǇWĂǇƌŽůůͲWͬZƉƌŽĐĞƐƐŝŶŐĨĞĞ                        Ϯϭϴ͘ϱϬ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϬϮͬϮϬϮϬ                ϰϱϭϰ                                 ŽďďǇ>ŽĚƌŝŐƵĞƐ              ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϳ͕ϱϬϬ͘ϬϬ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϬϮͬϮϬϮϬ                ϰϱϭϯ                        'ƵŝĚƌǇΖƐ/ŶĚƵƐƚƌŝĂů^ĞƌǀŝĐĞƐ͕/ŶĐ͘    ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϭ͕Ϯϲϲ͘ϬϬ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϬϴͬϮϬϮϬ                ϰϱϭϴ                                    :ĞĞƉĂƌƌŝŽƐ              ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϱ͕ϬϬϬ͘ϬϬ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϬϴͬϮϬϮϬ                ϰϱϭϲ                               ^ĂŵŵŵǇĐĐĂƌĚŽ                 ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϯϮϮ͘ϯϲ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϬϴͬϮϬϮϬ                ϰϱϭϱ                                    :ĞĞƉĂƌƌŝŽƐ              ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϯϭϱ͘ϴϭ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϬϵͬϮϬϮϬ                ϰϱϭϳ                                  ŽŽůŽŶĐĞƉƚƐ               ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          Ϯ͕Ϭϭϰ͘Ϭϵ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϭϬͬϮϬϮϬ                ϰϱϮϬ                        ZŝǀĞƌůĂŶĚƐ'ŽůĨΘŽƵŶƚƌǇůƵď        ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϭ͕ϳϰϯ͘ϵϱ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϭϮͬϮϬϮϬ                ϰϱϭϵ                                  ŽŽůŽŶĐĞƉƚƐ               ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          Ϯϭ͘ϵϰ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϮϯͬϮϬϮϬ                ϰϱϮϮ                                      WƌŽĨŽƌŵĂ                ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϭ͕ϯϯϭ͘Ϯϯ
^^    YůƵď                                        ϳϬϯϲ   ϬϳͬϮϯͬϮϬϮϬ                ϰϱϮϭ                                 ĂĚĚǇΖƐ,ŝĚĞŽƵƚ              ^ƚƵĚĞŶƚĂĐƚŝǀŝƚŝĞƐ                                          ϭ͕ϰϴϳ͘ϱϬ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϬϭͬϮϬϮϬ                ϭϬϰϰ                           'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞƐ         WĂǇƌŽůůĐŽƐƚƐͲ/ŶƐƵƌĂŶĐĞ                                   Ϯϰ͕ϭϵϰ͘ϱϱ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϬϭͬϮϬϮϬ                ϭϬϰϱ                                      'ƵĂƌĚŝĂŶ                WĂǇƌŽůůĐŽƐƚƐͲ/ŶƐƵƌĂŶĐĞ                                   ϭ͕ϰϲϬ͘ϯϲ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϬϭͬϮϬϮϬ                ϭϬϰϲ                           WĂŶŵĞƌŝĐĂŶ>ŝĨĞ/ŶƐ͘Ž͘         WĂǇƌŽůůĐŽƐƚƐͲ/ŶƐƵƌĂŶĐĞ                                   ϭϮϳ͘ϴϬ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϭϱͬϮϬϮϬ                ϭϬϮϴ                                ƚŵŽƐŶĞƌŐǇϯϱ               hƚŝůŝƚŝĞƐͲ'ĂƐ                                             ϯϵ͘Ϭϯ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϭϱͬϮϬϮϬ                ϭϬϮϵ                                ƚŵŽƐŶĞƌŐǇϱϭ               hƚŝůŝƚŝĞƐͲ'ĂƐ                                             ϴϮ͘Ϯϭ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϭϱͬϮϬϮϬ                ϭϬϯϬ                                       ŶƚĞƌŐǇ                hƚŝůŝƚŝĞƐͲůĞĐƚƌŝĐŝƚǇ                                       ϲ͕ϲϬϴ͘ϱϰ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϭϱͬϮϬϮϬ                ϭϬϯϭ                      ^ƚ͘:ŽŚŶƚŚĞĂƉƚŝƐƚWĂƌŝƐŚhƚŝůŝƚŝĞƐ   hƚŝůŝƚŝĞƐͲtĂƚĞƌ͕ƐĞǁĂŐĞ                                   Ϯϯϱ͘ϯϴ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϭϴͬϮϬϮϬ    :ͲϬϳϮϬͲWZͲDW>Ͳ&/;,Ϳ                      ƌĞƐĐĞŶƚWĂǇƌŽůů             WͬZƉƌŽĐĞƐƐŝŶŐĨĞĞ                                          ϮϬ͘ϬϬ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϭϴͬϮϬϮϬ    :ͲϬϳϮϬͲWZͲDW>Ͳ&/;,Ϳ                      ƌĞƐĐĞŶƚWĂǇƌŽůů             ŵƉůŽǇĞƌ&/ƉĂǇĂďůĞŽŶƉƌŝŽƌǁĂŐĞƐ                        ϯϭϮ͘ϴϴ
^^    WĂǇƌŽůů                                        ϱϲϳϴ   ϬϳͬϯϭͬϮϬϮϬ             ĂŶŬĚĞďŝƚ                             &ŝƌƐƚĂŶŬΘdƌƵƐƚ            ^Zs/,Z'                                              ϭ͘Ϭϲ
^^    DŽŶĞǇDĂƌŬĞƚ                                   ϱϲϱϭ   ϬϳͬϯϭͬϮϬϮϬ             ďĂŶŬĚĞďŝƚ                               &ŝƌƐƚŵĞƌŝĐĂŶ              ^ĞƌǀŝĐĞŚĂƌŐĞ                                              ϭϬ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϯϭ                      'h/>>KZz^,dDd>tKZ<^             WůĂŶƚDŝŶŽƌDĂŝŶƚ                                           ϭϳϱ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϯϬ                        ^tZ'ΘtdZKZ               sŽŝĚĞĚ                                                      Ͳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϵ                        Z/sZWZ/^,/^WK^>͕/E͘          WůĂŶƚhƉŬĞĞƉdƌĂƐŚ                                          ϰϱϯ͘ϱϰ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϴ                       Z>/^dZ>/&/E^hZEK͘          /ŶƐƚƌƵĐƚŝŽŶKƚŚĞƌ/ŶƐƵƌĂŶĐĞ                                 Ϯϱ͘ϵϲ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϳ                           WZ/KZ/dz^z^dD^͕/E͘            KƚŚĞƌWůĂŶƚhƉŬĞĞƉ                                         ϭϴϬ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϲ                                  :ĂŶDĂŶƐĨŝĞůĚ              dƵŝƚŝŽŶWĂǇŵĞŶƚZĞĨƵŶĚƐ                                     ϱ͕ϴϱϬ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϱ                                 ,ƵŶƚdĞůĞĐŽŵ                hƚŝůŝƚŝĞƐdĞůĞƉŚŽŶĞ                                         ϲϳ͘ϴϰ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϰ                                    'hZ/E                 WƌĞƉĂŝĚŚĞĂůƚŚŝŶƐƵƌĂŶĐĞ                                    ϭ͕ϱϲϴ͘ϯϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϯ                                     'ĂůůĂŐŚĞƌ               WƌĞƉĂŝĚŚĞĂůƚŚŝŶƐƵƌĂŶĐĞ                                    ϮϮ͕ϭϵϲ͘ϲϳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϮ                           KyKDDhE/d/KE^                KƚŚĞƌĂƵĚŝŽŶǀŝƐƵĂůĞǆƉĞŶƐĞ                                 ϮϮ͘ϱϵ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϭ                                        dΘd                 hƚŝůŝƚŝĞƐdĞůĞƉŚŽŶĞ                                         ϭϮϮ͘ϳϵ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϮϬ                       'h>&K^dK&&/WZKhd^            ůĂƐƐƌŽŽŵƐƵƉƉůŝĞƐ                                          ϭ͕Ϭϱϴ͘ϯϲ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϲͬϮϬϮϬ                ϱϳϱϭϵ                            ^/^ŝŐŶĂŐĞ/ŶŶŽǀĂƚŝŽŶƐ          ƵŝůĚŝŶŐŝŵƉƌŽǀĞŵĞŶƚƐ                                       ϵϳϱ͘Ϯϯ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϬϵͬϮϬϮϬ                ϱϳϱϯϮ                                     EdZ'z                 hƚŝůŝƚŝĞƐůĞĐƚƌŝĐ                                          ϯ͕ϭϲϱ͘ϯϮ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϯͬϮϬϮϬ                ϱϳϱϯϯ                  >^h,^,hDEs>KWDEdEdZ           ǆƉůŽƌĂƚŝŽŶĐĂĚĞŵǇ                                         ϰϬϬ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϰϯ                                  WĂƌĂdĞĐŚ>>               ŽŵƉƵƚĞƌ,ĂƌĚǁĂƌĞ                                           ϯ͕ϭϰϰ͘ϵϱ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϰϮ                     EĞůŶĞƚƵƐŝŶĞƐƐ^ŽůƵƚŝŽŶƐͲ&d^       ŽŵƉƵƚĞƌƐŽĨƚǁĂƌĞ                                           ϵϲϱ͘Ϯϱ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϰϭ                        ^ĂĨĞǁĂǇhƐĞĚKŝůĂŶĚ'ƌĞĂƐĞ          sŽŝĚĞĚ                                                      Ͳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϰϬ                    >Ă&ŽƌŐĞ͕ůŝǌĂďĞƚŚͲZĞŝŵďƵƌƐĞŵĞŶƚ       DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           ϯ͕ϱϮϵ͘ϳϲ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϯϵ                           :ĂŶŝͲ<ŝŶŐŽĨEĞǁKƌůĞĂŶƐ          sŽŝĚĞĚ                                                      Ͳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϯϴ                      ,/''/E^͕EEͲͲZĞŝŵďƵƌƐĞŵĞŶƚ           ƵƐƚŽĚŝĂůƐƵďĐŽŶƚƌĂĐƚŽƌ                                     ϴϴ͘ϭϮ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϯϳ                           ,hZ,^hWW>z,Kh^               'ƌĂĚƵĂƚŝŽŶ                                                  ϭϮϰ͘ϭϮ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϯϲ                 Z,/K^K&E͘K͘/EdZEd^Zs/        /ŶƚĞƌŶĞƚƐĞƌǀŝĐĞ                                            ϯ͕ϯϵϯ͘ϳϱ          zΎ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϯϱ                                Θ>^>^͕/E͘              ƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                                          ϯϱ͘ϴϳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϭϳͬϮϬϮϬ                ϱϳϱϯϰ                                  hdKs                WůĂŶƚƵƉŬĞĞƉŐĂƌĚĞŶĞƌ                                       ϰϮϱ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϮͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϵ                                   ůĞĂƌĂŶƚ               ĂŶŬ&ĞĞƐ                                                   ϭϱϯ͘Ϭϵ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϮͬϮϬϮϬ                ϱϳϱϰϴ                   ^dZK,DzZ͕WDͲͲZĞŝŵďƵƌƐĞŵĞŶƚ          ^ƵŵŵĞƌĐĂŵƉƐƵƉƉůŝĞƐ                                        ϮϳϮ͘ϱϱ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϮͬϮϬϮϬ                ϱϳϱϰϳ                             ZĞǀ͘ĂƌŽŶDĞƐǌĂƌŽƐ             'ƌĂĚƵĂƚŝŽŶ                                                  ϱϬ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϮͬϮϬϮϬ                ϱϳϱϰϲ                  ĂƐƐĂŶĚƌĂWƌƵĚŚŽŵŵĞ͕ZĞŝŵďƵƌƐĞŵĞŶƚ         WŽƐƚĂŐĞĂŶĚĐƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                              ϱϴϭ͘ϰϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϯͬϮϬϮϬ                ϱϳϱϱϮ                          ^EKy^/'EKDWEz               ƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                                          ϯ͕ϬϮϳ͘ϭϳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϯͬϮϬϮϬ                ϱϳϱϱϭ                               E/>hDW</E                sŽŝĚĞĚ                                                      Ͳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϯͬϮϬϮϬ                ϱϳϱϱϬ                            tZ/dKE^dd/KEZz              'ƌĂĚƵĂƚŝŽŶ                                                  ϯϮϮ͘Ϯϱ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϯͬϮϬϮϬ                ϱϳϱϰϵ                     ,ZZd^͘,/>>ZKZWKZd/KE           KƚŚĞƌWůĂŶƚhƉŬĞĞƉ                                         ϭ͕Ϭϲϱ͘Ϯϱ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϴͬϮϬϮϬ                ϱϳϱϱϯ                              DƐ͘ĞŶŝĐĞ>ƵŶŬŝŶ              ZĞĨƵŶĚƚƵŝƚŝŽŶƉĂǇŵĞŶƚƐ                                     ϮϱϬ͘ϬϬ         ΎΎ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϳϰ                  ĂƐƐĂŶĚƌĂWƌƵĚŚŽŵŵĞ͕ZĞŝŵďƵƌƐĞŵĞŶƚ         WŽƐƚĂŐĞ                                                     ϴϯ͘ϴϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϳϯ                        zZZKhE,d/E'Θͬ             DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           ϮϭϮ͘ϳϯ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϳϮ                        ^tZ'ΘtdZKZ               hƚŝůŝƚŝĞƐtĂƚĞƌĂŶĚŐĂƐ                                     Ϯ͕Ϭϯϲ͘ϵϱ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϳϭ                       Z>/^dZ>/&/E^hZEK͘          /ŶƐƚƌƵĐƚŝŽŶKƚŚĞƌ/ŶƐƵƌĂŶĐĞ                                 Ϯϱ͘ϵϲ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϳϬ                       W>h,>dZ/^Zs//E          DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           ϭϰϰ͘Ϯϱ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϵ                    >Ă&ŽƌŐĞ͕ůŝǌĂďĞƚŚͲZĞŝŵďƵƌƐĞŵĞŶƚ       KƚŚĞƌŝŶƐƚƌƵĐŝŽŶĂůĞǆƉĞŶƐĞ                                  ϰϱ͘ϵϲ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϴ                     ,ZZd^͘,/>>ZKZWKZd/KE           KƚŚĞƌWůĂŶƚhƉŬĞĞƉ                                         ϭ͕Ϭϲϱ͘Ϯϲ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϳ                 'h>&K^dE<ΘdZh^dD^dZZ          KƚŚĞƌŝŶƐƚƌƵĐŝŽŶĂůĞǆƉĞŶƐĞ                                  Ϯ͕ϮϰϬ͘ϰϴ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϲ                      'h/>>KZz^,dDd>tKZ<^             DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           Ϯϰϭ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϱ                                    'hZ/E                 WƌĞƉĂŝĚŚĞĂůƚŚŝŶƐƵƌĂŶĐĞ                                    ϭ͕ϱϲϴ͘ϯϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϰ                                     'ĂůůĂŐŚĞƌ               WƌĞƉĂŝĚŚĞĂůƚŚŝŶƐƵƌĂŶĐĞ                                    ϮϮ͕ϭϵϲ͘ϲϳ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϯ                       ůĞǀĂƚŽƌdĞĐŚŶŝĐĂů^ĞƌǀŝĐĞƐ/ŶĐ͘      DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           ϭϮϬ͘ϬϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϮ                          KE>W>DZK͕͘/E͘            :ŽǇĞŶƚĞƌ                                                  ϯ͕Ϯϳϲ͘ϰϮ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϭ                  ĂƐƐĂŶĚƌĂWƌƵĚŚŽŵŵĞ͕ZĞŝŵďƵƌƐĞŵĞŶƚ         DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           ϭϮ͘ϱϮ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϲϬ                                        dΘd                 hƚŝůŝƚŝĞƐdĞůĞƉŚŽŶĞ                                         ϭϮϴ͘ϳϲ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϱϵ                      Z,/K^K&EtKZ>E^             DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           ϰϰϮ͘ϲϭ         z
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϱϴ                 Z,/K^K&E͘K͘/EdZEd^Zs/        /ŶƚĞƌŶĞƚƐĞƌǀŝĐĞ                                            ϯ͕ϯϱϬ͘ϱϬ          z
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϱϳ                Z,/K^K&E͘K͘ͲKhEd/E'K&&/      DŝŶŽƌŵĂŝŶƚĞŶĂŶĐĞƉůĂŶƚĞƋƵŝƉŵĞŶƚ                           ϯϳϱ͘ϲϴ         z
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϱϲ                      Z,/K^K&E͘K͘/ŶƐƵƌĂŶĐĞ         ĂƐƵĂƚůǇŝŶƐƵƌĂŶĐĞ                                          ϴ͕ϱϴϱ͘Ϯϰ          z
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϱϱ                                   ůŝŶĞWĞƌŬŝŶƐ             dƵŝƚŝŽŶWĂǇŵĞŶƚZĞĨƵŶĚƐ                                     ϭ͕Ϯϭϴ͘ϮϬ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϮϵͬϮϬϮϬ                ϱϳϱϱϰ                                Θ>^>^͕/E͘              ƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                                          ϲϬϳ͘ϯϭ
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                      /K/                 WĂǇƌŽůůWƌŽĐĞƐƐŝŶŐ&ĞĞ                                      ϭϮϲ͘ϱϲ         y
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                      /K/                 WĂǇƌŽůůWƌŽĐĞƐƐŝŶŐ&ĞĞ                                      Ϭ͘ϲϬ       y
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                      /K/                 WĂǇƌŽůůƉĂǇŵĞŶƚƐĂŶĚƚĂǆĞƐ                                  ϭϲϱ͕ϱϮϰ͘ϭϯ             y
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                  &ŝƌƐƚĂŶŬ              ^ĞƌǀŝĐĞŚĂƌŐĞ                                              ϱ͘ϬϬ       y
^D^^    KƉĞƌĂƚŝŶŐĐĐŽƵŶƚ                              ϯϲϵϯ   ϬϳͬϯϭͬϮϬϮϬ              ^s,Z'                                     &ŝƌƐƚĂŶŬ              ^ĞƌǀŝĐĞŚĂƌŐĞ                                              ϭϯ͘ϲϱ
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                           ϵϭϮϵ   ϬϳͬϬϲͬϮϬϮϬ           ϳ͘ϲ͘ϮϬŚĞĐŬƐ                                 ^ƚ͘DŝĐŚĂĞů              dƌĂŶƐĨĞƌƚŽKƉĞƌĂƚŝŶŐ                                       ϯϰ͕ϬϬϬ͘ϬϬ           y
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                           ϵϭϮϵ   ϬϳͬϭϴͬϮϬϮϬ           ϳ͘ϭϴ͘ϮϬŚĞĐŬƐ                                ^ƚ͘DŝĐŚĂĞů              dƌĂŶƐĨĞƌƚŽKƉĞƌĂƚŝŶŐ                                       ϮϮ͕ϬϱϬ͘ϬϬ           y
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                           ϵϭϮϵ   ϬϳͬϮϲͬϮϬϮϬ              WĂǇƌŽůůϭ                                  ^ƚ͘DŝĐŚĂĞů              dƌĂŶƐĨĞƌƚŽKƉĞƌĂƚŝŶŐ                                       ϭϯϴ͕ϬϬϬ͘ϬϬ             y
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                           ϵϭϮϵ   ϬϳͬϮϴͬϮϬϮϬ              WĂǇƌŽůůϮ                                  ^ƚ͘DŝĐŚĂĞů              dƌĂŶƐĨĞƌƚŽKƉĞƌĂƚŝŶŐ                                       Ϯϳ͕ϱϮϱ͘ϬϬ           y
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                           ϵϭϮϵ   ϬϳͬϮϵͬϮϬϮϬ           ŚĞĐŬƐϳ͘Ϯϵ͘ϮϬ                                ^ƚ͘DŝĐŚĂĞů              dƌĂŶƐĨĞƌƚŽKƉĞƌĂƚŝŶŐ                                       ϰϴ͕ϬϬϬ͘ϬϬ           y
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                           ϵϭϮϵ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϱ                                 KŶĞĂƵƐĞ                ĂŶŬ&ĞĞƐ                                                   ϭϬ͘ϬϬ
^D^^    DŽŶĞǇDĂƌŬĞƚĐĐŽƵŶƚ                           ϵϭϮϵ   ϬϳͬϯϭͬϮϬϮϬ              ^s,Z'                                     &ŝƌƐƚĂŶŬ              ĂŶŬ&ĞĞƐ                                                   ϰϴ͘ϭϵ
^D^^    WĂǇƌŽůůĐŽƵŶƚ                                 ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                  WƌŝŵĞƉĂǇ                WĂǇƌŽůůƉƌŽĐĞƐƐŝŶŐĞĞ                                       ϭϮϳ͘ϭϲ
^D^^    WĂǇƌŽůůĐŽƵŶƚ                                 ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                   ĞŶƚƌƵƐƚ               ĞŶƚƌƵƐƚ                                                    Ϯ͕ϳϬϰ͘ϵϰ
^D^^    WĂǇƌŽůůĐŽƵŶƚ                                 ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                  WƌŝŵĞƉĂǇ                ϰϬϭ;<Ϳ                                                      ϭϯ͕ϱϯϯ͘ϰϮ
^D^^    WĂǇƌŽůůĐŽƵŶƚ                                 ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                  WƌŝŵĞƉĂǇ                ŵƉůŽǇĞƌĂŶĚŵƉůŽǇĞĞdĂǆĞƐ                                 ϯϵ͕ϴϴϵ͘ϭϲ
^D^^    WĂǇƌŽůůĐŽƵŶƚ                                 ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ            :ϮϬϭϳͲϭϲϱϰ                                  WƌŝŵĞƉĂǇ                EĞƚWĂǇƌŽůůĞƉŽƐŝƚƐ                                        ϭϬϵ͕ϯϵϲ͘ϲϭ
^D^^    WĂǇƌŽůůĐŽƵŶƚ                                 ϵϲϬϮ   ϬϳͬϯϭͬϮϬϮϬ              ^s,Z'                                     &ŝƌƐƚĂŶŬ              ĂŶŬŚĂƌŐĞƐ                                                ϱ͘ϬϬ
^D^^    ĂƉŝƚĂů&ƵŶĚƐ                                  ϭϱϬϵ   ϳͬϯϭͬϮϬϮϬ                                                            tŚŝƚŶĞǇ                ƐĞƌǀŝĐĞĐŚĂƌŐĞƐ                                             ϯ͘ϬϬ
^^     ^ƚ^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇŽŵŵĞƌĐŝĂůŚĞĐŬŝŶŐ     ϯϭϬϲ    ϳͬϮͬϮϬϮϬ                   ϰϬϱϱ                                        ^^                 ƚĨǆƚŽĐůŽƐĞďĂŶŬĂĐĐƚ                                      Ϯϰ͕ϵϮϴ͘ϳϳ           y
^^     ZĞŐƵůĂƌŚĞĐŬŝŶŐ                               ϲϮϭϳ    ϳͬϮͬϮϬϮϬ                   ϰϬϮϴ                                        ^^                 ƚĨǆƚŽĐůŽƐĞďĂŶŬĂĐĐƚ                                      ϯϳ͕Ϭϱϱ͘ϰϭ           y
^^     ^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇŽŵŵĞƌĐŝĂůŚĞĐŬŝŶŐ    ϰϳϳϲ    ϳͬϮͬϮϬϮϬ                  ϰϲϮϳϰ                                        ^^                 ƚĨǆƚŽĐůŽƐĞďĂŶŬĂĐĐƚ                                      ϯϳϱ͕ϯϳϰ͘ϴϯ             y
^^     ^ƚ͘^ĐŚŽůĂƐƚŝĐĂĐĂĚĞŵǇŽŵŵĞƌĐŝĂůŚĞĐŬŝŶŐ    ϰϳϳϲ   ϳͬϭϰͬϮϬϮϬ         WZWƌŽǀŝĚĞƌ,ĚƌĂĨƚ                        ƌĞƐĐĞŶƚWĂǇƌŽůů             WƌŽĨĞƐƐŝŽŶĂů&ĞĞƐĚƌĂĨƚĞĚĨƌŽŵǁƌŽŶŐĂĐĐƚ                   ϲϮϱ͘ϱϬ
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϬϵͬϮϬϮϬ        ŽŶůŝŶĞůŽĂŶĂĚũƵƐƚŵĞŶƚ                              WĂƌĞŶƚ                ůŽĂŶĂŵŽƵŶƚƌĞĚƵĐƚŝŽŶ                                       ϵϯϱ͘ϬϬ
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϬϵͬϮϬϮϬ        ŽŶůŝŶĞůŽĂŶĂĚũƵƐƚŵĞŶƚ                              WĂƌĞŶƚ                ůŽĂŶĂŵŽƵŶƚƌĞĚƵĐƚŝŽŶ                                       ϱϬϬ͘ϬϬ
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϭϳͬϮϬϮϬ                dƌĂŶƐĨĞƌ                                  dƌĂŶƐĨĞƌ              ŝŶƚƚƌĂŶƐĨĞƌƚŽDDĂĐĐƚ͕ϭƐƚŽĨDŽ                          ϭ͕Ϭϴϲ͘Ϭϴ          y
                                                                                         dƵŝƚŝŽŶ
                                                                           ŝƐďƵƌƐĞŵĞŶƚ͕WĂƌĞŶƚ>ŽĂŶWǇŵƚƐ͕
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϭϳͬϮϬϮϬ               ƚŚƌƵϳͬϭϱ                                 ƚǆĨ                      ƚǆĨƚŽŵŽǀĞĨƵŶĚƐ                                           ϭϭϮ͕ϯϬϯ͘ϰϲ y
                                                                           KŶůŝŶĞWĂƌĞŶƚ>ŽĂŶWǇŵƚƐ͕ϳͬϭϲΘ
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϭϳͬϮϬϮϬ                  ϳͬϭϳ                                 ƚǆĨŝŶƚƌĂŶƐŝƚ             ƚǆĨŝŶƚƌĂŶƐŝƚĂƚϳͬϭϳ                                      ϭϲ͕ϱϳϳ͘ϱϬ           y
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϯϭͬϮϬϮϬ           ŽŶůŝŶĞůŽĂŶƉǇŵƚ                                  ƚǆĨ                  dƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚ͕WĂƌĞŶƚ>ŽĂŶWǇŵƚƐ                     ϴ͕ϳϱϳ͘ϵϮ
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϯϭͬϮϬϮϬ           ŽŶůŝŶĞůŽĂŶƉǇŵƚ                                  ƚǆĨ                  dƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚ/ŶͲdƌĂŶƐŝƚϳͬϯϭ͕WĂƌĞŶƚ>ŽĂŶWǇŵƚƐ     ϴϳϵ͘ϬϬ
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϯϭͬϮϬϮϬ           ŽŶůŝŶĞůŽĂŶƉǇŵƚ                                  ƚǆĨ                  dƵŝƚŝŽŶŝƐďƵƌƐĞŵĞŶƚ͕WĂƌĞŶƚ>ŽĂŶWǇŵƚƐ                     ϵϯϱ͘ϬϬ
^^     ƐƵƐƚŽĚŝĂŶĨŽƌdƵŝƚŝŽŶŽƌƌŽǁĞƌ>ŽĂŶ&ƵŶĚƐ   ϬϬϲϳ   ϬϳͬϯϭͬϮϬϮϬ        ŽŶůŝŶĞůŽĂŶĂĚũƵƐƚŵĞŶƚ                             WĂƌĞŶƚ                 ůŽĂŶĂŵŽƵŶƚƌĞĚƵĐƚŝŽŶ                                       Ϯ͕ϭϮϱ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϮϯ                               ͬ^ƵƉƉůǇ/ŶĐ               KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϮϮϳ͘ϰϰ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ                 ϭϲϲϱϰ                                   ƉƉůĞ/ŶĐ                /ŶƐƚƌƵĐƚŝŽŶĂůdĞĐŚŶŽůŽŐǇ                                    ϱϰϵ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϬ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ;ϳͿ        KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϭ͕ϭϵϯ͘ϯϰ          z͕Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϭ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϰ΃         ϮϭϮϬWƌĞͲWĞƚŝƚŝŽŶ>ŝĂďŝůŝƚǇ                                 ϰ͕Ϭϲϴ͘ϬϬ          z͕Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϮϰ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϱ΃         KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϰϰϮ͘ϲϭ         z
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϮ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϴ΃         ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ;ƌĞŝƐƐƵĞĐŬƐϭϱϵϰϵΘϭϱϲϳϮͿ            ϵϲ͘ϬϬ        z͕Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϮϱ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϴ΃         ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕ĨŝŶŐĞƌƉƌŝŶƚŝŶŐ                              ϱϴ͘ϬϬ        z
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϱϬ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϴ΃         ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕ĨŝŶŐĞƌƉƌŝŶƚŝŶŐ                              ϱϴ͘ϬϬ        z
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϯ                        ƌƚŵĂƐƚĞƌƐ^ĐƌĞĞŶWƌŝŶƚŝŶŐ          ŐĞŶĐǇ͕WƌŝŶƚŝŶŐ                                            ϱϮϵ͘ϵϭ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϮϲ                                     ƵƚŽŵ                  ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                          ϯϮ͘Ϯϭ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϮϳ                        ůŽƐƐŵĂŶKŝůŽŵƉĂŶǇ/ŶĐ            ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ͕KƚŚĞƌ                                     ϭϰϯ͘ϲϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϮϴ                       ĂŶŽŶ^ŽůƵƚŝŽŶƐŵĞƌŝĐĂ/ŶĐ          /ŶƐƚƌƵĐƚŝŽŶĂůŽƉǇDĂĐŚŝŶĞ                                  Ϯϭ͘ϭϵ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϮϵ                              ŚƌŝƐƚŝŶĞ>ĂƌƐŽŶ              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ                 ϭϲϲϱϱ                                     ůĞĐŽ                  WůĂŶƚhƚŝůŝƚŝĞƐ                                             ϯ͕ϰϭϬ͘Ϯϴ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϬ                                     ůĞĐŽ                  WůĂŶƚhƚŝůŝƚŝĞƐ                                             ϮϱϬ͘ϲϳ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϰ                ŽĂƐƚĂůŶǀŝƌŽŶŵĞŶƚĂů^ĞƌǀŝĐĞƐŽĨ>͕>>   WůĂŶƚhƚŝůŝƚŝĞƐ                                             ϱϰ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϱ                           ŽƵƌƚŶĞǇŽŵŝŶŝƋƵĞ               dƵŝƚŝŽŶZĞĨƵŶĚ                                              Ϯ͕ϬϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϲ                              ĞŶŝƐĞ>ĞŵŽŝŶĞ                ZĞŝŵďƵƌƐĞŵĞŶƚ͕hƚŝůƚŝĞƐ͕ĞůůWŚ                         ϳϱ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϳ                               ůŝƐĞŶŐĞůĞƚƚĞ              ^ƵŵŵĞƌĂŵƉZĞĨƵŶĚ                                          ϲϵ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϴ                                ƌŝĐƌĞǁƐƚĞƌ               dƵŝƚŝŽŶZĞĨƵŶĚ                                              ϱϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϭ                                    ǆĐĞů>                WůĂŶƚhƚŝůŝƚŝĞƐ                                             ϯϲ͘ϱϵ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϮ                                 &ĂǇĞĞŶŶŝƐ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϯ                             &ƌĂŶĐĞƐŚĂďƌĞĐŬ               ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϰ                             &ƌĂŶĐĞƐtĞƌƚŚĞƌ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϱ                         'ĂůůĂƌĚŽ^ŝŐŶƐΘWƌŝŶƚŝŶŐ          KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϭϵϭ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϬϵ                                   'ƵĂƌĚŝĂŶ                 :ƵůWZĞŶĞĨŝƚƐƉƌĞŵŝƵŵƐ                                    ϯ͕Ϭϰϵ͘ϭϲ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϲ                        'ƵůĨŽĂƐƚKĨĨŝĐĞWƌŽĚƵĐƚƐ          /ŶƐƚƌƵĐƚŝŽŶĂůŽƉǇDĂĐŚŝŶĞ                                  ϱϮ͘ϱϲ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϳ                                ,ĞŝŶƚǌ͕ĂǀŝĚ               ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ͕EŽŶͲƚŚůĞƚŝĐ                            ϭϱϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϴ                        ,ŝdŽƵĐŚƵƐŝŶĞƐƐ^ĞƌǀŝĐĞƐ           ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                       ϭ͕ϬϴϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ                 ϭϲϲϱϲ                              ,ŽŵĞĂŶŬ͕E                 ǀŝƐĂ͕ŵŝƐĐ/ŶƐƚƌƵĐƚŝŽŶĂůǆƉΘ^ƵƉƉůŝĞƐ                     ϵ͕ϰϮϴ͘ϴϲ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϯϵ                                :ĂŶĞ'ƌŝĨĨŝƚŚƐ              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ                 ϭϲϲϱϳ                              :ĞŶŶŝĨĞƌ'ƌŝŵůĞǇ              ZĞŝŵďƵƌƐĞŵĞŶƚ͕hƚŝůƚŝĞƐ͕ĞůůWŚ                         ϳϱ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϬ                             :ĞŶŶŝĨĞƌWĂĐŝŽŶĞ               ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ͕^ƵŵŵĞƌĂŵƉZĞĨƵŶĚ                        ϵϮ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϭ                         <ĞŶƚǁŽŽĚ^ƉƌŝŶŐtĂƚĞƌ              ĞǀĞůŽƉŵĞŶƚǆƉ͕KĨĨŝĐĞ^ƵƉƉůŝĞƐ                            ϯϬ͘ϵϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϬ                    >ĞƉƚŽĨŶǀŝƌŽŶŵĞŶƚĂůYƵĂůŝƚǇ        KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϭϯϬ͘ϴϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϮ                           >ĂƌƌǇΖƐ,ĂƌĚǁĂƌĞ/ŶĐ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϲϰ͘ϵϮ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϯ                                      >&                  /ŶƐƚƌƵĐƚŝŽŶĂůŽƉǇDĂĐŚŝŶĞ                                  ϰϵϱ͘ϬϮ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϭ                    >ŽƵŝƐŝĂŶĂƐƐŽĐŝĂƚŝŽŶŽĨWƌŝŶĐŝƉĂůƐ     ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                       ϭϳϱ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϮ                     >ŽƵŝƐŝĂŶĂĞƉĂƌƚŵĞŶƚŽĨ,ĞĂůƚŚ         KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϭϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϯ                   >ŽƵŝƐŝĂŶĂ>ĂŶĚƐĐĂƉĞ^ƉĞĐŝĂůƚǇ͕/ŶĐ͘      KƉĞƌĂƚŝŽŶƐĂŶĚWůĂŶƚ͕ŽŶƚƌĂĐƚĞĚ                            ϭ͕ϵϵϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϰ                           DĂƌŝĞ^ĐŚĞƵĞƌŵĂŶŶ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                ϱϬ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϱ                         DĂƌǇƌŝĚŐĞƚƚĞŽŶŶŽůůǇ            ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϰ                              DĂƐƐĞǇ^ĞƌǀŝĐĞƐ               KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϰ͕ϯϴϵ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϲ                            DĞůĞWƌŝŶƚŝŶŐ͕/ŶĐ͘             ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                       ϭϯϬ͘ϰϰ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϱ                     DĞƐĂůĂŝŶŽŶƐƵůƚŝŶŐ'ƌŽƵƉ͕>>         KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϭ͕ϬϯϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϲ                           KƵƌ>ĂĚǇŽĨƚŚĞ>ĂŬĞ             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ͕'ƌĂĚƵĂƚŝŽŶ                              ϭ͕ϬϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϳ                     WĂŶͲŵĞƌŝĐĂŶ>ŝĨĞ/ŶƐŽŵƉĂŶǇ          WZĞŶĞĨŝƚƐ                                                 ϭϰ͘ϴϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϳ                            WĂƵůŝŶĞĂůĚĞƌŽŶĞ               ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ                 ϭϲϲϱϴ                                WŽŽůĞ>ƵŵďĞƌ                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϭϵϭ͘ϯϭ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϴ                          ZĞǀ͘DƐŐƌ͘&ƌĂŶŬ'ŝƌŽŝƌ           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ͕'ƌĂĚƵĂƚŝŽŶ                              ϮϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ                 ϭϲϲϱϵ                           ^ĐŚŽŽů^ƉĞĐŝĂůƚǇ/ŶĐ             /ŶƐƚƌƵĐƚŝŽŶĂůǆƉ͕ƐŽŵĞĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ               ϯ͕ϬϬϴ͘ϰϱ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϴ                               ^ŚĞůůĞǇdŽůƐŽŶ               ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϭϵ                  ^ƉĞĞĚǁĂǇWƌŝŶƚŝŶŐΘŽƉǇĞŶƚĞƌ͕/ŶĐ      ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                       ϮϯϬ͘ϰϮ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϮϬ                        dŚĞŚƵƌĐŚ^ƵƉƉůǇ,ŽƵƐĞ             ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ͕EŽŶͲƚŚůĞƚŝĐ                            ϭϲϮ͘ϳϴ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϮϭ                dŚĞ^ŽůŽŵŽŶƉŝƐĐŽƉĂůŽŶĨĞƌĞŶĐĞĞŶƚĞƌ     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ͕EŽŶͲƚŚůĞƚŝĐ                            Ϯ͕ϬϵϮ͘ϱϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϮͬϮϬϮϬ                 ϭϲϲϲϬ                        tĂŐŶĞƌΖƐ>ĂŶĚƐĐĂƉŝŶŐ>>            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϲϬϬ͘ϬϬ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϬϵͬϮϬϮϬ                 ϭϳϱϮϮ                    tĞƐĐŽ'ĂƐΘtĞůĚŝŶŐ^ƵƉƉůǇ͕/ŶĐ         ĞǀĞůŽƉŵĞŶƚǆƉ͕&ƵŶĚƌĂŝƐŝŶŐ                                ϭϵ͘ϰϰ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϲͬϮϬϮϬ                 ϭϳϱϰϵ                                 ƵůĂůĂŝƌĂŝŶ              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϬϬ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϱͬϮϬϮϬ                  ,                               ƌĞƐĐĞŶƚWĂǇƌŽůů              ƉĂǇƌŽůů                                                     ϭϭ͕ϭϵϭ͘ϴϰ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϬϳͬϭϱͬϮϬϮϬ                  ,                               ƌĞƐĐĞŶƚWĂǇƌŽůů              ƉĂǇƌŽůů                                                     ϴϬ͕ϴϬϵ͘ϲϲ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                       ^ƚĞƉŚĂŶŝĞdƌŝƉůĞƚƚ              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                      EĂƚŚĂůŝĞD>ĂǀĞƌŐŶĞ              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                ϳϳ͘ϯϭ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                         ,ĞĂƚŚĞƌ'ƌŝŵŵ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                          <ĂƌĞŶ^͘ZŝĞĐŬĞ              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                             ŬŝŵƌĞĂŐĂŶ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                         ůŝǌĂďĞƚŚ^ƚŽŬĞƐ              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                       <ĂƚŚůĞĞŶ^ĐŚŵŝĚƚ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                          >ŝƐĂDƵŐŐĞƌ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                          ůŝĐŝĂŽƌŶǁĞůů              ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
^^     KƉĞƌĂƚŝŶŐĨŽƌW                               ϯϬϲϱ   ϳͬϭϱͬϮϬϮϬ          D^ŽŶůŝŶĞƌĞĨƵŶĚ                           ŵĞŐǁŝůůŝĂŵƐ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                Ϯϱ͘ϳϳ        Ύ
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^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                          <ĂƚŚǇ^ĞǇů                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                        ĂƚŚůĞĞŶ,ƵǀĂů                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                     DĞůŝƐƐĂ>ĞĞ^ŵŝƚŚ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                        ůŝǌĂďĞƚŚ>ǇŽŶ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                         /ƌŵĂ͘ĞĂƌŝĞ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                         ƌŽŽŬĞWĂƵůŝŶ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                           WŽůůǇƵƌƌĂůů                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                        ůŝǌĂďĞƚŚƵƐƚŝƐ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                       ƌĞŶĚĂ^>ĂŶŝĞƌ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ               ĂƌŽůŝŶĞsŽĞůŬĞůŽƵĚƌĞĂƵǆ               ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                     DĞƌĞĚŝƚŚů͘ZĂŵŬĞ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                   ŵŵĞůŝŶĞ^ĞƌĂŶŐƵĞ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                   ŵŵĞůŝŶĞ^ĞƌĂŶŐƵĞ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
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^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                 <ŝŵďĞƌůǇDtŝƚŚĞƌƐƉŽŽŶ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                          ^ǇĚŶĞǇ>ǇŽŶ                   ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               ϳϳ͘ϯϭ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                     DĂƌǇďďĂƌŬĞƌĚŝŶŐ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                        ƐŚĞůůǇƐĐŽŐŐŝŶƐ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                         WĂƚƌŝĐŝĂŵŽƐ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                   ƐŚůĞǇƵůŝĐĐŚŝĂĂƐŚ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                    ŽƌĂdƌĞƉƉĞŶĚĂŚů                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                         >ĂŵǇWĂŶƐĂŶŽ                   ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                        :ĂŶŝŶĞ͘'ĂƌĞƐ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                       >ƵǌĞƚƚĞĂƌĞŶĚĞƌ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                         <ƌŝƐƚŝŶ͘>ƵƐŬ                ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϱͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                          EŝĐŽůĞ^ŝǀĞƌĚ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϲͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                         ůŝǌĂďĞƚŚdĞĞƐ                 ^ƵŵŵĞƌĂŵƉZĞĨƵŶĚ                                                         ϭϳϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϬͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                    :ĞŶŶŝĨĞƌDĐŶŝĐŚŽůĂƐ                 ^ƵŵŵĞƌĂŵƉZĞĨƵŶĚ                                                         ϭϳϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                       ƐŚĂŶĚĂƌĞĚŵŽŶ                    yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                            ƌŝĐDŝůůĞƌ                 yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϯϲ͘Ϭϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                    dĂďŝƚŚĂ'ĂŶĚĞďĂƚ                  yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϯϬ͘ϵϮ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                      :ĞĨĨƌĞǇW͘'ĞƌŶŽŶ                 yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         Ϯϭϲ͘ϰϴ     Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                          ŵǇWĂĚĚŽĐŬ                   yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϲϭ͘ϴϱ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                           ƌŝĚŐŝĚůŝŶĞƌ                yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϯϬ͘ϵϮ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                     EŝĐŽůĞDŽƌŝŐŶĂĐ                  yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϮϬϲ͘ϮϬ     Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                   ƐƚŚĞƌsŝĐŬŶĂŝƌ^ŽƵůĞ                yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϯϲ͘Ϭϴ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                      DĂƌǇŽŶĂĚŝĞƵ                   yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϭϬ͘ϯϭ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                      WĂƵůĞƚƚĞ>ůĂƌŽƐ                 yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϯϬ͘ϵϯ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                      WĂƚƌŝĐŝĂdŚŽŵƐŽŶ                  yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϮϬ͘ϲϮ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                             ŵǇEĞĂů                   yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϮϬ͘ϲϮ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϳͬϭϯͬϮϬϮϬ     D^ŽŶůŝŶĞƌĞĨƵŶĚ                    'ĞŽƌŐĞĂǌĞŶĂǀĞƚƚĞ                  yĂŶĂĚƵWůĂǇZĞĨƵŶĚ                                                         ϲϳ͘ϬϬ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϭϳͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ƉĂǇƌŽůů                                                                    Ϯϳ͕ϳϴϰ͘ϬϮ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϭϳͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ĂĚŵŝŶ͕ƉƌŽĨĞƐƐŝŽŶĂůĨĞĞƐ                                                   ϵ͘ϱϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϭϳͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ĂĚŵŝŶ͕ƉƌŽĨĞƐƐŝŽŶĂůĨĞĞƐ                                                   ϲϭϲ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϬͬϮϬϮϬ         ϭϳϱϱϭ                    ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϴ΃              ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕ĨŝŶŐĞƌƉƌŝŶƚŝŶŐ                                             ϱϴ͘ϬϬ    z
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                          DŝŬĂĞůĂ&ŽƌĚ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                    ŽŶŶĂDĂŵƉďĞůů                    ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                   WĂƚƌŝĐŝĂůĞƌĐ:ĂĐŬƐŽŶ               ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                       'Ăŝů'ƌĞĞŶǁŽŽĚ                   ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                     <ĂƚŚĞƌŝŶĞ^͘ŵĞƌǇ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                      ǀĞůǇŶ>^ĐŚƌĞŵƐ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                     ůĂƵĚŝĂ^ĞůŝŐŵĂŶ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                          ĂŝƚůŝŶWŝĐŽƵ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                       :ĂŶ>,ĞƌƌŝŶŐƚŽŶ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                      :ŽůŝĞ,ĂŝŬ<ŚŽƵƌǇ                 ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                        DĂƌǇŶŶĂŝŶ                   ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                            :ŽĂŶŽǆ                  ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                       W''z>K>>K                    ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                    ,Z/^d/EK>K^                   ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                        EĂŶĐǇDŝŶǇĂƌĚ                   ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϭͬϮϬϮϬ   D^ŽŶůŝŶĞƌĞĨƵŶĚ                       ƚŚĞƌĞƐĂŵƵƌƉŚǇ                   ŐĞŶĐǇ͕ůƵŵ>ƵŶĐŚĞŽŶZĞĨƵŶĚ                                               Ϯϱ͘ϳϳ    Ύ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϮ                                 Θ>^ĂůĞƐ͕/ŶĐ                 KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                        ϰϯϮ͘Ϭϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϯ                     ĐĂĚŝĂŶ&ůŽŽƌŝŶŐĞƐŝŐŶĞŶƚĞƌ             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚΘƵŝůĚŝŶŐ/ŵƉƌŽǀĞŵ                    ϭϭ͕ϴϰϮ͘ϯϳ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϰ                     ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ;ϵͿ             ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ͕/ŶƐƵƌĂŶĐĞ͕^ƵŵŵĞƌĂŵƉ                                   ϮϮϬ͘ϬϬ     z
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϱ                    ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϰ΃              /ŶƐƚƌƵĐƚŝŽŶĂů͕dĞĐŚŶŽůŽŐǇ                                                  ϰ͕ϬϵϬ͘Ϯϱ      z
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϲ                    ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ΂ϴ΃              KƚŚĞƌ/ŶƐƵƌĂŶĐĞ͕>ŝĂďΘsĞŚŝĐůĞ                                            ϭϯ͕Ϯϵϱ͘ϵϲ       z
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϳ                        ƌƚŵĂƐƚĞƌƐ^ĐƌĞĞŶWƌŝŶƚŝŶŐ              ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ͕KƚŚĞƌ                                                    ϯϵϳ͘ϯϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϴ                                       dΘd                     WůĂŶƚhƚŝůŝƚŝĞƐ                                                            ϳϲϬ͘ϳϳ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϱϵ                       ƚŵŽƐŶĞƌŐǇ>ŽƵŝƐŝĂŶĂ>'^               WůĂŶƚhƚŝůŝƚŝĞƐ                                                            Ϯϭϭ͘ϱϭ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϬ                              ŝƚǇKĨŽǀŝŶŐƚŽŶ                 WůĂŶƚhƚŝůŝƚŝĞƐ                                                            Ϯϯϯ͘ϵϭ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϭ                                       ůĞĐŽ                    WůĂŶƚhƚŝůŝƚŝĞƐ                                                            ϮϬϭ͘ϭϲ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϮ                      ĂǀŝƐWƌŽĚƵĐƚƐŽŵƉĂŶǇ͕/ŶĐ               KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                        ϲϵϴ͘ϱϴ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϯ                             ůŝƚĞzĂƌĚ^ĞƌǀŝĐĞƐ                KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                        ϵϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϰ                       'ŝůďƌŝĚĞΖƐƋƵĂ^ĞƌǀŝĐĞ>>              KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                        ϯϭϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϱ                                     'ƵĂƌĚŝĂŶ                   WZĞŶĞĨŝƚƐƉƌĞŵŝƵŵƐ                                                       ϯ͕ϬϬϮ͘Ϭϴ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϲ                          :ŽŚŶtŝůĞǇΘ^ŽŶƐ͕/ŶĐ                /ŶƐƚƌƵĐƚŝŽŶĂů͕KƚŚĞƌ                                                       ϴϬ͘ϳϰ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϳ                                    :ƵůŝĞƵƚŝŶ                 ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ͕KƚŚĞƌ                                                    ϰϭϲ͘ϵϱ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϴ                             >ĂƵƌĞůů^ǌĐǌĞƉĂŶƐŬŝ                ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ͕KƚŚĞƌ                                                    Ϯϱ͘ϱϴ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϲϵ                        >>^ͲDŝƐƐŝƐƐŝƉƉŝͬ>ŽƵŝƐŝĂŶĂ             ŐĞŶĐǇ͕ĐŚĂƌŝƚǇĚŽŶĂƚŝŽŶ                                                   ϭϲϴ͘Ϭϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϬ                               EŽZĞĚ/ŶŬŽƌƉ͘                   /ŶƐƚƌƵĐƚŝŽŶĂů͕dĞĐŚŶŽůŽŐǇ                                                  ϱ͕ϮϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϭ                      ^ĂǀǀĂƐ>ĞĂƌŶŝŶŐŽŵƉĂŶǇ>>               /ŶƐƚƌƵĐƚŝŽŶĂů͕KƚŚĞƌ                                                       ϰϲϳ͘Ϯϳ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϮ                            ^ĐŚŽŽů^ƉĞĐŝĂůƚǇ/ŶĐ                /ŶƐƚƌƵĐƚŝŽŶĂů͕KƚŚĞƌ                                                       ϭ͕ϴϲϴ͘Ϯϯ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϯ                      ^ĐŝĞŶƚŝĨŝĐEŽƚĞďŽŽŬŽŵƉĂŶǇ               /ŶƐƚƌƵĐƚŝŽŶĂů͕KƚŚĞƌ                                                       ϵϬ͘ϰϮ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϰ                                 ^ĞůĞĐƚŝŽŶ͘ĐŽŵ                  ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                                      ϭϵ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϱ                        ƌƚŵĂƐƚĞƌƐ^ĐƌĞĞŶWƌŝŶƚŝŶŐ              ĞǀĞůŽƉŵĞŶƚΘDŬƚǆƉ                                                      ϯϰϳ͘ϯϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϲ                                ŽŶŶĂtĂůůĂĐĞ                   ZĞŝŵďƵƌƐĞŵĞŶƚ͕hƚŝůƚŝĞƐ͕ĞůůWŚ                                        ϳϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϳ                              <ŝƐŵĞƚŽƐŵĞƚŝĐƐ                  ŐĞŶĐǇ͕ƌĞŝŵďƵƌƐĞŵĞŶƚƐ                                                     ϱϯϮ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϴ                             DĞůĞWƌŝŶƚŝŶŐ͕/ŶĐ͘                ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                                      ϯϳϮ͘ϴϰ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϳϵ                      hŶŝĨŽƌŵdĞĞ^ĐŚŽŽůƉƉĂƌĞů              ŐĞŶĐǇ͕ƐŚŽƌƚƐ                                                             ϭ͕ϴϱϭ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϯͬϮϬϮϬ         ϭϳϱϴϬ               EŽƌƚŚƐŚŽƌĞWĂŝŶƚŝŶŐΘ,ŽŵĞ/ŵƉƌŽǀĞŵĞŶƚ           KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                        ϭ͕ϭϱϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϰͬϮϬϮϬ         ϭϳϱϴϭ                                 WĂƚƌŝĐŬ&ƌĂŶĐŝƐ                ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ͕ŐƌĂĚƵĂƚŝŽŶ                                             ϳϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϮϵͬϮϬϮϬ         ϭϳϱϴϮ                            ŝƚǇŽĨŽǀŝŶŐƚŽŶ;ϮͿ               WůĂŶƚhƚŝůŝƚŝĞƐ                                                            Ϯϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϴϯ                                 ͬ^ƵƉƉůǇ/ŶĐ                 KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                        ϭϲ͘ϵϭ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϴϰ                                       ^                     ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                                      ϱϵ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϴϱ                       ƚŵŽƐŶĞƌŐǇ>ŽƵŝƐŝĂŶĂ>'^               WůĂŶƚhƚŝůŝƚŝĞƐ                                                            ϯϰ͘Ϯϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϴϲ                              ŝƚǇKĨŽǀŝŶŐƚŽŶ                 WůĂŶƚhƚŝůŝƚŝĞƐ                                                            ϰϯϵ͘ϳϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϴϳ                                       ůĞĐŽ                    WůĂŶƚhƚŝůŝƚŝĞƐ                                                            ϯ͕ϴϲϰ͘ϰϲ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϴϴ                                 ŝůĞĞŶĞƉƌĞŽ                  ZĞŝŵďƵƌƐĞŵĞŶƚ͕hƚŝůƚŝĞƐ͕ĞůůWŚ                                        ϳϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϴϵ                        'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞƐ              WZĞŶĞĨŝƚƐƉƌĞŵŝƵŵƐ                                                       ϰϬ͕Ϯϯϯ͘ϮϮ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϬ                          ,ŽŽĚŽŽ/ĐĞƌĞĂŵ͕>>                 ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƚŚĞƌ                                                      ϮϬϬ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϭ                                    :ƵůŝĞƵƚŝŶ                 /ŶƐƚƌƵĐƚŽƌ͕^ƵŵŵĞƌĂŵƉ                                                    ϭ͕ϴϴϱ͘Ϭϰ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϮ                           DĂĚĞůǇŶWĂƚĞƌŶŽƐƚƌŽ                  /ŶƐƚƌƵĐƚŽƌ͕^ƵŵŵĞƌĂŵƉ                                                    ϭ͕ϰϯϭ͘Ϭϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϯ                                DŽƌŐĂŶtŝůƐŽŶ                   /ŶƐƚƌƵĐƚŽƌ͕^ƵŵŵĞƌĂŵƉ                                                    ϵϱϰ͘Ϭϲ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϰ                       KĨĨŝĐĞĞƉŽƚƵƐŝŶĞƐƐƌĞĚŝƚ             ĚŵŝŶŝƐƚƌĂƚŝǀĞKĨĨŝĐĞ^ƵƉƉůŝĞƐ                                             ϯϰ͘ϴϳ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϱ                    WĂŶͲŵĞƌŝĐĂŶ>ŝĨĞ/ŶƐŽŵƉĂŶǇ               WZĞŶĞĨŝƚƐ                                                                ϭϰ͘ϴϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϲ                  WǇƌĂŵŝĚůĞĂŶŝŶŐΘZĞƐƚŽƌĂƚŝŽŶ͕/ŶĐ           KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                        ϵϬϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϳ                   ^ŽƵƚŚĞĂƐƚĞƌŶ>ŽƵŝƐŝĂŶĂhŶŝǀĞƌƐŝƚǇ            /ŶƐƚƌƵĐƚŝŽŶĂů͕KƚŚĞƌ                                                       ϰϴϴ͘ϱϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϴ                                  ^ƚ^ƚĂŶŝƐůĂƵƐ                 ŐĞŶĐǇ͕/ŶƐƚƌƵĐƚŝŽŶĂůtŽƌŬƐŚŽƉ                                             ϵϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϱϵϵ                           ^ƚdĂŵŵĂŶǇdƌŽƉŚŝĞƐ                  ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ͕ĂǁĂƌĚƐ                                                 ϭϰϯ͘ϲϳ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϲϬϬ                               dŚŽŵĂƐŝĞƌďŽ                   dƵŝƚŝŽŶZĞĨƵŶĚ                                                             ϲ͕ϮϮϱ͘ϬϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϲϬϭ                  tĂƐƚĞDĂŶĂŐĞŵĞŶƚŽĨ^ƚdĂŵŵĂŶǇ                WůĂŶƚhƚŝůŝƚŝĞƐ                                                            ϭϱϮ͘ϵϭ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϬͬϮϬϮϬ         ϭϳϲϬϮ                            tŝůůŝĂŵ,^ĂĚůŝĞƌ/ŶĐ               /ŶƐƚƌƵĐƚŝŽŶĂů͕KƚŚĞƌ                                                       ϭϭϯ͘ϰϯ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϭͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ƉĂǇƌŽůů                                                                    ϲϭϲ͘ϱϬ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϭͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ƉĂǇƌŽůů                                                                    ϭϭ͕ϭϴϰ͘ϵϯ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϭͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ƉĂǇƌŽůů                                                                    Ϯϲ͕ϱϲϰ͘Ϯϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϭͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ƉĂǇƌŽůů                                                                    ϳϰ͕ϴϯϲ͘ϱϵ
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϭͬϮϬϮϬ          ,                                ƌĞƐĐĞŶƚWĂǇƌŽůů                 ƚǆĨĨƌ,ŽŵĞĂŶŬKƉĞƌĂƚŝŶŐ                                                  ϭϳϳ͕ϱϯϭ͘ϱϭ         y
^^    KƉĞƌĂƚŝŶŐĨŽƌW   ϯϬϲϱ      ϬϳͬϯϭͬϮϬϮϬ      D^ŽŶůŝŶĞ                                    D^                     D^ĂƌĚ&ĞĞǆƉ;ϳͬϮϲͲϳͬϯϭͬϮϬͿ/ŶͲdƌĂŶƐŝƚƚŽƵŐƵƐƚͲĂŶŬ                 ϰ͘ϭϲ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϭͬϮϬϮϬ           Eͬ                                         EK                     dƌĂŶƐĨĞƌƚŽ&dKƉĞƌĂƚŝŶŐ                                                  ϭϮϰ͘ϴϲ     y
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϭͬϮϬϮϬ           Eͬ                                      WƌŝŵĞWĂǇ                   dŽƌĞĐŽƌĚ/K/ƉĂǇƌŽůůŝŶǀŽŝĐĞ                                              ϰϱϮ͘ϱϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲŐƌŽƐƐǁĂŐĞƐ                      ϭϱϭ͕ϰϬϴ͘ϳϭ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲŐƌŽƐƐǁĂŐĞƐ;ŶƚǁŝƐůĞͿ           ϯ͕ϮϴϬ͘ϲϮ          zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲƚĂǆĞƐ                            ϱϴ͕ϰϮϱ͘ϴϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲƚĂǆĞƐ;ŶƚǁŝƐůĞͿ                 ϭ͕ϯϰϵ͘ϵϯ          zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                          EKZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ                 dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲϰϬϭŬ                             Ϯϱ͕ϱϴϱ͘ϱϴ       y
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                          EKZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ                 dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲϰϬϭŬ;ŶƚǁŝƐůĞͿ                  ϭ͕ϭϲϳ͘ϳϮ      y   zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                              EKĞŶĞĨŝƚdƌƵƐƚ                  dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲĞŶdƌƵƐƚ                          ϯ͕ϴϴϭ͘ϰϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ       ϳͬϲͬϮϬϮϬ           Eͬ                              EKĞŶĞĨŝƚdƌƵƐƚ                  dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůͲĞŶdƌƵƐƚ;ŶƚǁŝƐůĞͿ               ϭϭϵ͘ϵϳ         zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϭϬͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚDŝĚͲ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůůͲ'ƌŽƐƐ                        Ϯϯ͕Ϭϯϱ͘Ϭϭ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϭϬͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚDŝĚͲ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůůͲdĂǆĞƐ                        ϳ͕ϱϯϮ͘Ϯϵ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϭϬͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚDŝĚͲ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůůŝŶǀŽŝĐĞ                        ϮϬ͘ϬϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϭϰͬϮϬϮϬ           Eͬ                                     ŵƉůŽǇĞĞ                    dŽƌĞĐŽƌĚƌĞƚƵƌŶĞĚĚŝƌĞĐƚĚĞƉŽƐŝƚĨŽƌ^D                                   ϭ͕ϱϯϱ͘Ϯϲ      y
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϭϰͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚDŝĚͲ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůůŝŶǀŽŝĐĞ                        ϮϬ͘ϬϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϭϰͬϮϬϮϬ           Eͬ                                     ŵƉůŽǇĞĞ                    dŽƌĞĐŽƌĚƌĞƚƵƌŶĞĚĚŝƌĞĐƚĚĞƉŽƐŝƚĨŽƌ^D                                   ;ϭ͕ϱϱϱ͘ϮϲͿ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϭϱͬϮϬϮϬ           Eͬ                                      WƌŝŵĞWĂǇ                   dŽƌĞĐŽƌĚ/K/ƉĂǇƌŽůůŝŶǀŽŝĐĞ                                              ϭ͕ϬϵϬ͘ϬϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              WĂǇƉĞƌŝŽĚϳ͘ϭ͘ϮϬϮϬͲϳ͘ϭϱ͘ϮϬϮϬ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ>ĂǇWĂǇƌŽů               ϭϱϲ͕ϱϬϳ͘ϴϳ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              WĂǇƉĞƌŝŽĚϳ͘ϭ͘ϮϬϮϬͲϳ͘ϭϱ͘ϮϬϮϬ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ>ĂǇWĂǇƌŽůů;ŶƚǁŝƐůĞͿ   ϯ͕ϮϳϮ͘ϯϴ          zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϭ͘ϮϬͲϳ͘ϭϱ͘ϮϬ>ĂǇƉĂǇƌŽůůƚĂǆ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ                       ϱϵ͕ϴϯϯ͘ϵϮ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϭ͘ϮϬͲϳ͘ϭϱ͘ϮϬ>ĂǇƉĂǇƌŽůůƚĂǆ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ;ŶƚǁŝƐůĞͿ            ϭ͕ϯϰϴ͘ϭϳ          zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϭ͘ϮϬͲϳ͘ϭϱ͘ϮϬ>ĂǇƉĂǇƌŽůůϰϬϭŬ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ                      Ϯϱ͕ϰϮϵ͘ϯϲ       y
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϭ͘ϮϬͲϳ͘ϭϱ͘ϮϬ>ĂǇƉĂǇƌŽůůϰϬϭŬ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ;ŶƚǁŝƐůĞͿ           ϭ͕ϭϲϳ͘ϳϮ      y   zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϭ͘ϮϬͲϳ͘ϭϱ͘ϮϬ>ĂǇƉĂǇƌŽůůĞŶdƌƵƐƚ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ                  ϯ͕ϵϴϰ͘ϴϭ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϭ͘ϮϬͲϳ͘ϭϱ͘ϮϬ>ĂǇƉĂǇƌŽůůĞŶdƌƵƐƚ͖ƉĂǇĚĂƚĞϳ͘ϮϮ͘ϮϬϮϬ;ŶƚǁŝƐůĞͿ       ϭϭϵ͘ϵϳ         zĞƐͲŶƚǁŝƐůĞ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚŝ^ŽůǀĞĚůĂǇƉĂǇƌŽůůŝŶǀŽŝĐĞͲ:ƵůǇϮϬϮϬ                          ϰ͕ϯϭϰ͘Ϯϱ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϯͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚŶĚŽĨ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůů                             ϱ͕ϵϴϬ͘ϱϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϯͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚŶĚŽĨ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůů                             ϮϬ͕ϭϯϱ͘ϯϱ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϯͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚŶĚŽĨ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůůŝŶǀŽŝĐĞ                     Ϯ͕ϬϰϬ͘ϬϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϯͬϮϬϮϬ           Eͬ                                      WƌŝŵĞWĂǇ                   dŽƌĞĐŽƌĚ/K/ƉĂǇƌŽůůŝŶǀŽŝĐĞ                                              ϭ͕ϯϵϬ͘ϬϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϳͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚĂĚĚŝƚŝŽŶĂůƉĂǇƌŽůů                                               ϰϱϰ͘ϰϰ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϳͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚĂĚĚŝƚŝŽŶĂůƉĂǇƌŽůů                                               ϴϱ͘ϳϯ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϮϵͬϮϬϮϬ           Eͬ                                      WƌŝŵĞWĂǇ                   dŽƌĞĐŽƌĚ/K/ƉĂǇƌŽůůŝŶǀŽŝĐĞ                                              Ϯϭϱ͘ϬϬ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϬͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              dŽƌĞĐŽƌĚŝ^ŽůǀĞĚĐůĞƌŐǇƉĂǇƌŽůůŝŶǀŽŝĐĞͲ:ƵůǇϮϬϮϬ                       ϭ͕ϮϬϯ͘ϳϱ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůů                                                   ϲϯ͕Ϯϲϭ͘ϲϮ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůů;ǇŵŽŶĚͿ                                          ϭ͕ϲϱϱ͘ϮϮ          zĞƐͲǇŵŽŶĚ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůů;ŬƉŽŐŚŝƌĂŶͿ                                      ϭ͕ϳϳϲ͘ϲϰ          zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůů;ŚĞƌŝͿ                                           ϭ͕ϱϮϭ͘ϳϱ          zĞƐͲŚĞƌŝ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůůdĂǆ                                               ϳ͕ϯϯϰ͘ϴϯ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůůdĂǆ;ǇŵŽŶĚͿ                                      ϰϯϮ͘ϳϴ         zĞƐͲǇŵŽŶĚ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůůdĂǆ;ŬƉŽŐŚŝƌĂŶͿ                                  ϮϬϬ͘ϬϬ         zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇWĂǇƌŽůůdĂǆ;ŚĞƌŝͿ                                       ϱϰϲ͘Ϭϵ         zĞƐͲŚĞƌŝ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                              EKĞŶĞĨŝƚdƌƵƐƚ                  ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇĞŶdƌƵƐƚWĂǇƌŽůů                                          ϭϭϴ͘ϰϮ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇϰϬϭŬWĂǇƌŽůů                                              ϱ͕ϭϵϴ͘ϲϮ      y
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇϰϬϭŬWĂǇƌŽůů;ǇŵŽŶĚͿ                                     ϴϳ͘ϬϬ    y   zĞƐͲǇŵŽŶĚ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇϰϬϭŬWĂǇƌŽůů;ŬƉŽŐŚŝƌĂŶͿ                                 ϴϮ͘ϯϲ    y   zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    WĂǇƌŽůůĐĐŽƵŶƚ    ϵϲϭϰ      ϳͬϯϭͬϮϬϮϬ           Eͬ                         ƌĞƐĐĞŶƚWĂǇƌŽůů^ŽůƵƚŝŽŶƐ              ϳ͘ϯϭ͘ϮϬϮϬůĞƌŐǇϰϬϭŬWĂǇƌŽůů;ŚĞƌŝͿ                                      ϴϲ͘ϭϲ    y   zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϭͬϮϬϮϬ           Eͬ                          WΘD/E/^dZd/s                  &>yKhEd                                                              ϯϬϴ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϭͬϮϬϮϬ           Eͬ                          WΘD/E/^dZd/s                  ZsͲWΘD/E/^dZd/s                                                   ;ϯϬϴ͘ϯϰͿ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϭͬϮϬϮϬ           Eͬ                                   ŚĞĐŬĞƌƌŽƌ                 фZĞǀхdŽƌĞĐŽƌĚĐŚĞĐŬĚĞƉŽƐŝƚĞƌƌŽƌͲĐŚĞĐŬηϴϵϵϯϳ                         ϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϭͬϮϬϮϬ           Eͬ                                    E^&ĐŚĞĐŬ                  dŽDŽǀĞĂƚŚŽůŝĐŽƵŶƐĞůŝŶŐZĞƚƵƌŶĞĚŚĞĐŬ                                 ϭϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϮͬϮϬϮϬ           Eͬ           KƵƌ>ĂĚǇŽĨƚŚĞDŽƐƚ,ŽůǇZŽƐĂƌǇĞŵĞƚĞƌǇ^ƵƌƉůƵƐ   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                     ϮϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϮͬϮϬϮϬ           Eͬ                            &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ               dƌĂŶƐĨĞƌƚŽ&dŽƉĞƌĂƚŝŶŐĂĐĐŽƵŶƚ                                         ϮϱϬ͕ϬϬϬ͘ϬϬ         y
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϮͬϮϬϮϬ           Eͬ                          W/dEzKt^'>K>                   WK^d'                                                                   ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϯͬϮϬϮϬ           Eͬ                           ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ               ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                                     ϭϱ͕ϰϭϳ͘ϰϵ       y
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϲͬϮϬϮϬ           Eͬ                          ^ŽůƵƚŝŽŶƐΛD&>>Ě                  ŽŶƐƚƌƵĐƚŝŽŶŝŶWƌŽŐƌĞƐƐ                                                   Ϯϯ͕ϵϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϲͬϮϬϮϬ           Eͬ                                 tŚŝƚŶĞǇĂŶŬ                   ^ƚĂŶĚďǇ>ĞƚƚĞƌŽĨƌĞĚŝƚĨĞĞ                                               ϲ͕Ϯϴϯ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                            &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ               dƌĂŶƐĨĞƌƚŽ&dŽƉĞƌĂƚŝŶŐĂĐĐŽƵŶƚ                                         ϭϬ͕ϬϬϬ͘ϬϬ       y
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                       WΘĚŵŝŶŝƐƚƌĂƚŝǀĞ'ƌŽƵƉ               &>yKhEd                                                              ϭϬϱ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                                                                ,>d,z&D/>z                                                            ϵϭϲ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                          &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ                 dƌĂŶƐĨĞƌƚŽ&dŽƉĞƌĂƚŝŶŐĂĐĐŽƵŶƚ                                         ϯϬ͕ϱϬϬ͘ϬϬ       y
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                      ^ƚ͘WĞƚĞƌ^ĐŚŽŽůŽǀŝŶŐƚŽŶ                ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                     ϭϮϰ͕ϯϰϬ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                        'ŽŽĚ^ŚĞƉŚĞƌĚWĂƌŝƐŚ                    ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                     Ϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                      ^ƚ͘WĞƚĞƌWĂƌŝƐŚŽǀŝŶŐƚŽŶ                ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                     ϮϳϮ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϴͬϮϬϮϬ           Eͬ                     DĂƌǇYƵĞĞŶŽĨWĞĂĐĞ^ĐŚŽŽů                 ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                     ϭϱϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ          ϵϬϮϯϵ                                                                ,Kh^,K>yWE^^͕WK^d'͕ZEd͕KK<^Θ^h^Z/Wd/KE^                   ϰϴϳ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ          ϵϬϮϱϮ                                                                hdKDK/>yWE^                                                         ϵϬ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ          ϵϬϮϮϲ                       ,dhEKdZD                     ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                              ϭϴ͕ϰϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ          ϵϬϮϮϵ                                                                d>W,KEyWE^                                                          ϳϯ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ          ϵϬϮϰϴ                                                                sZd/^/E'                                                                ϯϵϵ͘ϬϬ
                                                                                                                            hdKDK/>yWE^͕^hWW>/^Ͳ^hDDZDW͕</d,E&KKͲ^hDDZ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ           ϵϬϮϱϯ                                                               DW͕sZd/^/E'                                                          ϲ͕ϯϬϴ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ           ϵϬϮϰϲ                                                               ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                            ϱϴϬ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ           ϵϬϮϰϮ                      KhZ>zK&t/^KD,                     ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                              ϭ͕ϳϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ           ϵϬϮϰϯ                      KhZ>zK&t/^KD,                     ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                              ϭϲ͕ϬϬϰ͘Ϭϲ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ           ϵϬϮϰϬ                      >Kh/^/EWZdDEd                     dy^                                                                      ϲ͕ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ           ϵϬϮϮϰ                                                               dZs>͕D>^ΘEdZd/EDEd                                              ϵϭ͘ϳϰ        zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ          Ϯϭϭϴ       ϳͬϵͬϮϬϮϬ           ϵϬϮϮϯ                                                               d>W,KEyWE^͕hdKDK/>yWE^                                      ϭϯϮ͘ϰϯ
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EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϱϭ      h^WZdDEdK&,K         >'>&^                                                       ϰϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϴ      >tK&&/K&D>sZ         >'>&^Ͳ/ŵŵŝŐƌĂƚŝŽŶ                                         ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϰϱ                                   ,Kh^/E'K^d^ͲWZ/^d^                                          ϭϮϲ͘ϭϮ         zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϰϵ                                   K&&/^hWW>/^                                                  ϯϵ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϮϴ                                   DZZ/'WZWZd/KE                                             ϲϱ͘ϳϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϮϱ     ,dhEKdZD          ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                    ϳ͕ϭϰϰ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϰϳ                                   hdKDK/>yWE^                                               ϮϮ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϰϰ                                   ,Kh^/E'K^d^ͲWZ/                                             ϲϮ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϱ                                   /dYh/WDEd͕ZW/Z^ΘD/EdEE͕^d&&s>KWDEd           ϯ͕ϳϱϯ͘Ϭϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϰ                                   WZ/EdDddZK^d^͕KK<^Θ^h^Z/Wd/KE^                      ϭϰϮ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϮϮ                                   hdKDK/>yWE^                                               ϮϵϮ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϰϭ                                   /dYh/WDEd                                                     ϲϳϴ͘ϭϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϭ      &ZD/EΖW>Θ'>>         K&&/^hWW>/^                                                  Ϯϱϴ͘ϴϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϯ                                   h^Θ^^^^DEd^͕^d&&s>KWDEd                            ϱϴϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϲ                                   </d,E&KK                                                     ϭϯϮ͘ϱϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϳ                                   DW>KzZ/DhZ^DEd                                           ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϮ      'hZ/EDW>Kz         Kd,ZZ/s>^Ͳ'hZ/E                                     ϱ͕ϳϲϱ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϯϬ                                   hdKDK/>yWE^                                               ϴϳ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϮϳ                                   d>W,KEyWE^                                                ϴϮ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ    ϵϬϮϱϬ        dƌŝŶŝƚǇWƐǇĐŚŽůŽŐŝĐĂ       &/EE/>^^/^dEdKs/d/D^                                  ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ     Eͬ                                   dŽƌĞĐŽƌĚƌĞƚƵƌŶĞĚĐŚĞĐŬͲϭϬϬ͘ϱϮͲϱϭϬϬ͘ϱϮ͘ϱ                      ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϵͬϮϬϮϬ     Eͬ       WΘD/E/^dZd/s        &>yKhEd                                                    ϭϭϱ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϬͬϮϬϮϬ    Eͬ        ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ     ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                           ϰϭ͕ϰϬϮ͘ϵϴ       y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϬͬϮϬϮϬ    Eͬ   ĂƚŚŽůŝĐŽŵŵƵŶŝƚǇ&ŽƵŶĚĂƚŝŽŶ   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                           ϭϴϬ͕ϲϱϱ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϯͬϮϬϮϬ    Eͬ      ŵƉůŽǇĞĞ/ŶƐƵƌĂŶĐĞ&ƵŶĚ     &ƵŶĚϭ>ŽĂŶƚŽ/&&ƵŶĚϰ                                        ϱϬϬ͕ϬϬϬ͘ϬϬ         y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ    Eͬ         &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ     dƌĂŶƐĨĞƌƚŽ&dŽƉĞƌĂƚŝŶŐĂĐĐŽƵŶƚ                               ϰϮ͕ϬϬϬ͘ϬϬ       y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ    Eͬ          WŽŶƚŝĨŝĐĂůDŝƐƐŝŽŶ       ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                           ϳ͕ϯϱϳ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϱϰ      DdZKWK>/dE'^dZK         ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                    ϯϱ͘ϬϬ    Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϱϲ       dZKz>WddZ^KE        ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                  ϭ͕ϳϴϮ͘ϬϬ      Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϱϱ       ^dZEZWZ/^,,K        ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                    ϭ͕ϭϯϬ͘ϰϵ      Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϵ      'ZzZ>dZ/KD         /dYh/WDEd                                                     ϳϯϰ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϭ        :KE^&h^^>>>͘>͘W͘       >'>&^                                                       ϰϬϮ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϲ       s/^WZKhd^K/E        ^hWW>/^Ͳ^hDDZDW                                           ϯϳϮ͘ϴϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϬ                                   KEdZd^Zs/                                               ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϮ                                   DZZ/'WZWZd/KE                                             ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϰ       ZWh>/^Zs/^ηϴ        KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>                         ϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϯ       <EdtKK^WZ/E'^            K&&Θ^K&dZ/E<                                              ϯϯ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϰ       <EdtKK^WZ/E'^            ,Kh^,K>yWE^^                                               ϲϵ͘Ϭϰ        zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϱ       <EdtKK^WZ/E'^            K&&Θ^K&dZ/E<yWE^                                      ϴϰ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϲ       <EdtKK^WZ/E'^            K&&Θ^K&dZ/E<yWE^                                      ϯϰ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϳ       <EdtKK^WZ/E'^            K&&Θ^K&dZ/E<                                              ϭϮ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϰ         ,KDWKdWZK            ,Kh^,K>yWE^^                                               ϴϴϬ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϰ                                   KEdZd^Zs/                                               ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϮ           EdZ'z                 ,Kh^,K>hd/>/d/^                                              ϭϵ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϳ     ^tZ'ΘtdZK          ,Kh^,K>hd/>/d/^                                              ϯϯϭ͘ϱϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϴ     ^tZ'ΘtdZK          ,Kh^,K>hd/>/d/^                                              ϭϲϴ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϵ     ^tZ'ΘtdZK          hd/>/d/^                                                        ϭ͕ϴϯϬ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϬ            dΘd                   d>W,KEyWE^͕D/^>>EKh^Z/s>^                     Ϯϳϰ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϭ            dΘd                   d>W,KEyWE^͕D/^>>EKh^Z/s>^                     ϯϯϬ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϵ                                   ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                    ϲϬϵ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϲ        /ZKEDKhEd/E              ZKZ^/^WK^/d/KE                                              ϯϬϲ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϮ           dZD/E/y                KEdZd^Zs/                                               ϴϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϱ     t^dDE'DEdK&          ,Kh^,K>hd/>/d/^                                              ϭ͕Ϭϳϲ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϮ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϭϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϯ         dΘdDK/>/dz             d>W,KEyWE^                                                ϲϮ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϬ      ^,Zt/Et/>>/D^K          ZĞƉĂŝƌƐΘDĂŝŶƚĞŶĂŶĐĞͲ^ƵƉƉůŝĞƐ                                 ϱϳ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϳ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϯϵϰ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϲ      ^d'Es/s,hZ,          WZ/EdDddZK^d^                                             ϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϳ      :&&Z^KEWZ/^,W         ,Kh^,K>hd/>/d/^                                              ϲϰ͘ϱϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϴ      :&&Z^KEWZ/^,W         ,Kh^,K>hd/>/d/^                                              ϭϵϵ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϯ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϭϮϲ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϰ        hd/>/d/^/E͘K&>K       ZW/Z^ΘD/EdEE                                            ϭϳϳ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϰ          dΘdDK/>/dz            d>W,KEyWE^                                                ϰ͕ϯϬϰ͘ϴϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϬ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϳϮϰ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϬ                                   KE^h>dEd&^                                                  ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϱ         Z/K,h^/E             KEdZd^Zs/͕yZKyKW/^                                 ϱϲϬ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϵ          >/EZ/E              ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϳ͘ϭϱ       zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϳ      >>DZ<d/E'>͘W͘         /dYh/WDEd                                                     ϵϬϴ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϱ     ,hEdd>KDDhE/d/          d>W,KEyWE^                                                ϳ͕ϲϬϲ͘ϰϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϴ                                   /E^hZE>/D^Ͳ>>                                           ϴϮ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϵ           ůĂĐŬďĂƵĚ͕/ŶĐ͘         KEdZd^Zs/                                               ϭϬ͕ϰϴϮ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϯ      ,KDWKdZ/d^         ZĞƉĂŝƌƐΘDĂŝŶƚĞŶĂŶĐĞͲ^ƵƉƉůŝĞƐ                                 ϴ͘ϭϵ       zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϯ      ,KDWKdZ/d^         ZĞƉĂŝƌƐΘDĂŝŶƚĞŶĂŶĐĞͲ^ƵƉƉůŝĞƐ                                 Ϯϭϯ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϳ      ^ddDDEzWZ/^,,K         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϱϳ          ϭ^Zs//E͘         KEdZd^Zs/                                               ϱϰ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϳ                                   WZ/^dsd/KEs/>>                                            ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϱ      hZd/^Es/ZKEDEd>         ,Kh^,K>hd/>/d/^                                              ϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϬ       ^d:&&Z^KE'EZ        ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                    ϭϭϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϴ      WZdDEdK&Wh>/         &/E'ZWZ/Ed/E'yWE^                                           ϳϴ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϭ         ,Z>^^,K&^         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                  ϯϭϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϯ      KZsh^K&EtKZ>E         KEdZd^Zs/                                               Ϯϲϵ͘ϰϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϮ       'h>&^Khd,W^dKEd        KEdZd^Zs/                                               ϯϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϮ      ^KE/dZK>K&EtKZ>         ZW/Z^ΘD/EdEE                                            ϵϮϯ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϮ       K,^EZ,>d,^z^d        ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϯϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϱ      dDK^EZ'z>Kh/^/         ,Kh^,K>hd/>/d/^                                              Ϯϳ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϲ      dDK^EZ'z>Kh/^/         hd/>/d/^͕D/^>>EKh^Z/s>^                             ϮϬ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϳ      dDK^EZ'z>Kh/^/         ,Kh^,K>hd/>/d/^                                              ϯϬ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϴ      dDK^EZ'z>Kh/^/         hd/>/d/^                                                        ϯϳϭ͘ϵϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϭ     >/d,dZKE>^     ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                  ϭϮϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϴ        <'>Z/KdZKW/>        sZd/^/E'͕^/'Ed&hE^/EdZE>                           ϭ͕ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϬ        ^z^K&KK^Zs/^       </d,E&KKͲ^hDDZDW                                       ϲ͕ϭϬϱ͘Ϯϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϭ        ^z^K&KK^Zs/^       </d,E&KKͲ^hDDZDW                                       ϳ͕ϲϵϳ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϲ                                   ,Kh^/E'K^d^ͲWZ/                                             ϰϭϲ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϯ      ^Khd,ZE>dZϬE/^         ZW/Z^ΘD/EdEE                                            ϭϲϬ͘ϴϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϯ            EdZ'z                ,Kh^,K>hd/>/d/^                                              ϯ͕ϭϯϯ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϰ            EdZ'z                ,Kh^,K>hd/>/d/^                                              ϲϯϱ͘Ϯϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϱ            EdZ'z                hd/>/d/^                                                        Ϯ͕ϱϯϳ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϲ            EdZ'z                hd/>/d/^                                                        ϭϵ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϮ                                   EdhZ>&D/>zW>EE/E'                                          ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϱϵ     WK'D'ZKhW>Kh          ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                    ϭ͕ϴϴϮ͘ϴϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϳ      zKhE'Ζ^Zz>E/E'          ,Kh^,K>yWE^^                                               ϴϯ͘ϵϵ        zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϰ      KyKDDhE/d/KE^           ,Kh^,K>yWE^^                                               Ϯϴϵ͘ϳϲ         zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϭ             ^,ZD                  h^Θ^^^^DEd^                                               ϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϭ     EtKZ>E^W^dDE          ZW/Z^ΘD/EdEE͕KEdZd^Zs/                        ϲϬ͘ϬϬ        zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϭ     EtKZ>E^W^dDE          ZW/Z^ΘD/EdEE͕KEdZd^Zs/                        ϲϬ͘ϬϬ        zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϭ     EtKZ>E^W^dDE          ZW/Z^ΘD/EdEE͕KEdZd^Zs/                        ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϱ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϭϭϰ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϵ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϮϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϯ                                   KEdZd^Zs/                                               ϰϭϭ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϱϴ                /                /dYh/WDEd                                                     ϭ͕ϲϴϴ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϲ            t&EKD                ^/'Ed&hE^/EdZE>                                        ϳϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϲϮ               dΘd                /dYh/WDEd                                                     ϯ͕Ϭϱϭ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϲ       ^Θ^>tE^Zs/          ZW/Z^ΘD/EdEE͕D/^>>EKh^Z/s>^                 ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϵϭ     'Z'KZzW'hZZ͕          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                  ϯϴϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϵ     Z:K^W,dZDKEdE          KE^h>dEd&^                                                  ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϰ     ^Khd,ZEEdtKZ</E'          /dYh/WDEd                                                     ϭ͕ϯϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϮϭ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϯϴ͘ϳϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϴ       ^tddKKd,Ed>          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                  ϯϮϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϬϬ      :K,E^KEKEdZK>^&/Z         ZW/Z^ΘD/EdEEͲh/>/E'                                 ϲϭϬ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϱ            ^WZ<>/',d             /dYh/WDEd                                                     ϭϯϬ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϴϴ       '>>',ZE&/d^        /&ŽŶƐƵůƚŝŶŐ&ĞĞƐ                                              Ϯϴ͕ϯϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϯϵ         ^tz&dKEEd             /dYh/WDEd                                                     ϮϲϮ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϭϯ          WƌŽsĞƌŝƚĂƚĞ͕>>        ^/'Ed&hE^/EdZE>                                        ϵϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϮϳϬ        ĂŵďĂƐůĞĐƚƌŝĐ/ŶĐ͘       ZW/Z^ΘD/EdEE                                            ϭ͕ϮϭϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϴ           D>K<K            ZW/Z^ΘD/EdEEͲh/>/E'                                 ϰϴϵ͘ϮϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϯ                                   d>W,KEyWE^͕hdKDK/>yWE^                            Ϯϱϴ͘Ϭϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϰϵ        >>^/Ed^,hZ,          ^/'Ed&hE^/EdZE>                                        ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϲ      'h/>>KZz^,dDd>         ZW/Z^ΘD/EdEEͲh/>/E'                                 ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϴ      ,/d/Ed,K>/D/E         ^/'Ed&hE^/EdZE>                                        Ϯ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϳ       ^d<d,Z/EZy>        ^/'Ed&hE^/EdZE>                                        ϯ͕ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϴ                                   DZZ/'WZWZd/KE                                             ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϵ                                   ZW/Z^ΘD/EdEE                                            ϰϴ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϴ      ^Khd,t^dE'/EZ^         KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>                         ϮϬϳ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϬ      >^^^ZDEdͬ^d         ^/'Ed&hE^/EdZE>                                        ϭ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϵ      ,hZ,^hWW>z,Kh^          >/dhZ'/>^hWW>/^                                              Ϯϯ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϮ         ^ds/,hZ,           ^/'Ed&hE^/EdZE>                                        ϭ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϳ          <KE/D/EK>d           yZKyKW/^                                                     ϰϳϯ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϰ      ^d:D^D:KZ,hZ         ^/'Ed&hE^/EdZE>                                        ϭ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϰ        <EdtKK^WZ/E'^           K&&Θ^K&dZ/E<                                              ϳ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϱ        <EdtKK^WZ/E'^           K&&Θ^K&dZ/E<yWE^                                      ϭϱ͘ϭϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϬ               &y               WK^d'                                                          ϯϵ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϴ      ^dDZzK&d,E'>         ^/'Ed&hE^/EdZE>                                        ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϲ                                   KEdZd^Zs/                                               ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϰ             EdZ'z               ,Kh^,K>hd/>/d/^                                              ϯ͕Ϭϰϯ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϱ             EdZ'z               ,Kh^,K>yWE^^                                               ϰϰϯ͘ϱϰ         zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϲ             EdZ'z               ,Kh^,K>hd/>/d/^                                              Ϯϴ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϳ             EdZ'z               ,Kh^,K>hd/>/d/^                                              ϭ͕Ϭϯϭ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϬ      KhZ>zK&'h>hW         ^/'Ed&hE^/EdZE>                                        ϱϬϬ͘ϬϬ     z
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϭ       KhZ>z^dZK&d,        ^/'Ed&hE^/EdZE>                                        ϴϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϵ       ^dWh>d,WK^d>        ^/'Ed&hE^/EdZE>                                        ϭ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϭ       ^dZzDKEΘ^d>K        ^/'Ed&hE^/EdZE>                                        ϭ͕ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϯ      ^Z,Zd,hZ,         ^/'Ed&hE^/EdZE>͕h^Θ^^^^DEd^͕KE^h>dEd&^   ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϰ           D/<Wd/E>>          ^/'Ed&hE^/EdZE>                                        ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϭ               dΘd                d>W,KEyWE^                                                ϰϵ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϮ               dΘd                d>W,KEyWE^                                                ϭϯϰ͘ϴϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϯ               dΘd                d>W,KEyWE^                                                ϱϰ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϰ               dΘd                ,Kh^,K>yWE^^                                               ϮϬϱ͘Ϭϲ         zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϭ                                   ZW/Z^ΘD/EdEE                                            ϭ͕ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϮ       :K^&/'hZKD           ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                  ϭϯϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϲ     d,K>/Dhdh>'ZKh          /E^WZD/hD^Ͳ^W/>                                             ϯϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϬ      ^dh'h^d/E,/',^         ^/'Ed&hE^/EdZE>                                        ϭϯ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϲ             E&>D                h^Θ^^^^DEd^                                               ϭϰϲ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϳ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϭϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϲ           dΘdDK/>/dz           ,Kh^/E'K^d^ͲWZ/^d^                                          ϲϵ͘Ϭϭ        zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϴ       />>/KdW^dKEdZK>        KEdZd^Zs/                                               ϰϯϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϯ       ^d'Es/s,hZ,         ^/'Ed&hE^/EdZE>                                        Ϯ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϬ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                  ϭϰϬ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϳ       ^/^dZ^K&d,,K>z        ^/'Ed&hE^/EdZE>                                        ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϱ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϵ͘ϱϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϯ       KZWh^,Z/^d/W/W,        ^/'Ed&hE^/EdZE>                                        ϭ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϮ       Z/sZWZ/^,/^WK^        KEdZd^Zs/                                               ϳϬϴ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϬ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                ϱ͕ϲϴϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϭ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                ϭϰ͕ϭϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϮ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                Ϯ͕ϮϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϯ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                ϯ͕ϴϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϰ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                ϳϰϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϱ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                ϴ͕ϳϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϲ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                ϰ͕ϯϬϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϳϳ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                Ϯϳ͕ϰϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϭ       ^d,Z>^d,K>/        ^/'Ed&hE^/EdZE>                                        Ϯ͕ϳϱϬ͘ϬϬ      z
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϭ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϴϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϰ         Wh,/E&Z/Z^           dDWKZZz,>WͲWZ^EdZ^                                      ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϱ              dΘd                 d>W,KEyWE^                                                ϯ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϴ      >Kh/^/EK&&/WZK         yZKyKW/^͕K&&/^hWW>/^                                    ϲϱϳ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϱ      DKKz^/Es^dKZ^^         KEdZd^Zs/                                               ϳ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϵ      ^dh'h^d/E,hZ,          ^/'Ed&hE^/EdZE>                                        ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϵ                                   dZs>͕D>^ΘEdZd/EDEd                                    ϭϱϳ͘ϴϰ         zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϱ         Kyh^/E^^              /dYh/WDEd                                                     Ϯϱϱ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϵ     ,hEdd>KDDhE/d/          d>W,KEyWE^                                                ϳ͕ϯϰϵ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϬ      ZKtEK&&^Zs/         K&&Θ^K&dZ/E<yWE^                                      Ϯϰϯ͘ϰϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϯ         dy^h^/E͘            KEdZd^Zs/                                               ϱ͕ϱϰϮ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϱ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϭϴϬ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϬ      ^dWdZ>sZ,hZ         ^/'Ed&hE^/EdZE>                                        ϭ͕ϳϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϬ                                   h^Θ^^^^DEd^                                               Ϯϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϮ       Dzhy^ͬΘ,d/        ZW/Z^ΘD/EdEE                                            Ϯϰϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϯ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                  ϰϱ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϲ       ^d<d,Z/EZy>        ^/'Ed&hE^/EdZE>                                                           ϭ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϰ      '>EE>Kh&D^t         WZ/^dd,ZWz                                                                      ϭ͕ϲϴϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϳ      hE/d^dd^KE&Z         h^Θ^^^^DEd^                                                                  Ϯϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϬ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϱϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϱ      dZKz>WddZ^KE         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭϯϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϲ                                   /E^hZE>/D^Ͳ>>                                                              ϵϱ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϭ      DZ/hZD^dZ^          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϮϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϵ                                   ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϯϲ͘ϯϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϰ                                   ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϱϲϮ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϴ                                   ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϲϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϯ                                   K&&/^hWW>/^                                                                     ϭϴϴ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϰ     KZsh^K&EtKZ>E          ,Kh^,K>yWE^^                                                                  ϭ͕ϭϯϴ͘ϬϬ
                                                                                        ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ͕ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϴ     KDE/ZK&EtKZ>          DĞĚŝĐĂůŽͲWĂǇƐ                                                                     Ϯϰϯ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϴ                                   dDWKZZz,>WͲWZ^EdZ^                                                         ϵϱϰ͘ϬϬ
                                                                                        ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDŝƐĐĞůůĂŶĞŽƵƐ͕ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϭ       :t/^,&D/>z^Zs/        DŝƐĐĞůůĂŶĞŽƵƐ                                                                       ϭϬϭ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϮ            KhDZd               ^dd/KEZzΘWZ/Ed/E'                                                               ϭ͕ϵϱϱ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϵ            KZ</E/E͘             KEdZd^Zs/                                                                  ϯϮϭ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϮ       ^z^K&KK^Zs/^        </d,E&KK͕</d,E^hWW>/^                                                      ϭ͕ϴϲϲ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϰ                                   ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϯϱ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϯ                                   /dYh/WDEd͕ZW/Z^ΘD/EdEE                                                 ϭ͕Ϯϲϭ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϲ       </DsE'&&EW,         KE^h>dEd&^                                                                     ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϴ              EdZ'z              ,Kh^,K>hd/>/d/^                                                                 ϭϵϯ͘ϯϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϭ        >^^dZ/E/dzWZ/       ^/'Ed&hE^/EdZE>                                                           ϭ͕ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϬ       /dzK&EtKZ>E^         dy^                                                                               Ϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϵ                                   KEdZd^Zs/                                                                  ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϭ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϭϰϮ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϵ     KyKDDhE/d/KE^            ,Kh^/E'K^d^ͲWZ/^d^                                                             ϮϵϮ͘ϭϳ         zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϯ     >hΖ^Kdd'd          DZZ/'WZWZd/KE                                                                ϯϵϱ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϮ      Wh>/^dKZ'ϮϱϳϰϬ         ZKZ^/^WK^/d/KE                                                                 ϭ͕Ϭϳϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϳ     EtKZ>E^W^dDE          KEdZd^Zs/                                                                  ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϮ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϳϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϮ       hΖ^WZKhK          </d,E&KK                                                                        ϮϴϮ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϲ      ^,W,ZK&d,KZ         WZ/^,&D/>zD/E/^dZz                                                              ϯϲ͕ϱϬϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϱϱ      ^d:K^W,d,tKZ<Z         ^/'Ed&hE^/EdZE>                                                           ϭ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϴ     h^KDDhE/d/KE^          KK<^Θ^h^Z/Wd/KE^                                                               ϭϭϮ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϱ                                   K&&/^hWW>/^                                                                     Ϯϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϵ              &>                 h^Θ^^^^DEd^                                                                  ϭ͕ϭϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϳ       'h>&K^dK&&/WZ        yZKyKW/^                                                                        ϳϴ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϯ       D/,>^D/d,^         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϰϬϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϬ                                   hdKDK/>yWE^                                                                  ϭϰϯ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϯϳ                                   KEdZd^Zs/                                                                  ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϲ         Kyh^/E^^              d>W,KEyWE^                                                                   ϮϯϬ͘ϵϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϳ         Kyh^/E^^              ,Kh^,K>hd/>/d/^                                                                 Ϯϭϴ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϴ         Kyh^/E^^              d>W,KEyWE^                                                                   ϭϬϰ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϰ       dZD^dZ^/E           ZW/Z^ΘD/EdEEͲh/>/E'                                                    ϭϰϭ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϱ      ZDDZ^Zs/           d>W,KEyWE^͕hdKDK/>yWE^                                               ϳϴ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϱϳ          ϰd/D͕/E             KEdZd^Zs/                                                                  ϰϮϰ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϱ      'Z'Ζ^>tE^Zs/͕         ZW/Z^ΘD/EdEE                                                               ϭ͕ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϴϭ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     Ϯϭϯ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϭϬ     DE/yKDWhd/E'^Zs          KE^h>dEd&^                                                                     ϯϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϮ     KEhEd/D'^K>hd          ZKZ^^dKZ'                                                                     ϰϰ͘Ϯϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϬϵ      >h>/E'&D/>zEd/^         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭϱϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϳϭ     K^d>Es/ZKEDEd          ZW/Z^ΘD/EdEE                                                               ϲϴ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϮϯ        Z>zK^>^/E           K&&/^hWW>/^                                                                     Ϯϰϰ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϲϳ      ,Z/^>Zd/'h͕D>         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDŝƐĐĞůůĂŶĞŽƵƐ                                       ϰϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϯϵϮ                                   ,>d,z&D/>z                                                                      ϯϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϲϲ       h/ƌǀŝŶĞ,ĞĂůƚŚ^K        ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϰͬϮϬϮϬ   ϵϬϰϰϰ           ^ĞůĞĐƚŝŽŶ͘ĐŽŵ           h^Θ^^^^DEd^͕KE^h>dEd&^                                                 Ϯ͕ϳϳϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϱͬϮϬϮϬ    Eͬ             ^ƚ͘ŐŶĞƐ            ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭ͕ϰϯϱ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϱͬϮϬϮϬ    Eͬ        ŚƌŝƐƚŽƉŚĞƌ,ŽŵĞƐ         ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭϬϯ͕ϳϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϱͬϮϬϮϬ    Eͬ       ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ      ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                                              ϵ͕ϬϯϬ͘ϲϬ      y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϱͬϮϬϮϬ   ϵϬϰϳϵ       s/^h>,E'^/E͘         WZ/^dsd/KEs/>>                                                               ϭϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϱͬϮϬϮϬ   ϵϬϰϳϴ                                   ĂŵƉďďĞǇWĂǇƌŽůů                                                                  ϭ͕ϱϱϱ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϱͬϮϬϮϬ    Eͬ            tŚŝƚŶĞǇĂŶŬ           DŽŶƚŚůǇďĂŶŬĨĞĞƐ                                                                  Ϯ͕Ϯϳϭ͘ϴϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϲͬϮϬϮϬ    Eͬ    DĂƌǇYƵĞĞŶŽĨWĞĂĐĞ^ĐŚŽŽů     ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭϱϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϲͬϮϬϮϬ    Eͬ             ůŽŽŵĞƌĂŶŐ           K&&/^hWW>/^                                                                     ϭ͕ϴϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϲͬϮϬϮϬ    Eͬ          WŽŶƚŝĨŝĐĂůDŝƐƐŝŽŶ       ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭϲ͕Ϭϴϵ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϭϳͬϮϬϮϬ    Eͬ       ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ      ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                                              ϰϭ͕ϲϭϱ͘ϯϱ       y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϭͬϮϬϮϬ    Eͬ   ĂƚŚŽůŝĐŽŵŵƵŶŝƚǇ&ŽƵŶĚĂƚŝŽŶ   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϭͬϮϬϮϬ    Eͬ         &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ     dƌĂŶƐĨĞƌƚŽ&dŽƉĞƌĂƚŝŶŐĂĐĐŽƵŶƚ                                                  Ϯϱϲ͕ϬϬϬ͘ϬϬ         y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϭͬϮϬϮϬ    Eͬ                                   WZ/^d^ΘZ>/'/Kh^hE^^/'E                                                      ϭ͕ϳϴϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϭͬϮϬϮϬ    Eͬ        ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽů         ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭϬϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϭͬϮϬϮϬ    Eͬ         ^ƚ͘:ĂŵĞƐDĂũŽƌ           ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϬ       ϮϴϳϴƵŝůĚŝŶŐƐƐŽĐŝ        ,>d,z&D/>z                                                                      ϮϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϭ         ϭ^Zs//E͘          KEdZd^Zs/͕ZW/Z^ΘD/EdEE                                           ϭϭϮ͘Ϭϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϭ         ϭ^Zs//E͘          ZW/Z^ΘD/EdEE                                                               ϯϮ͘ϱϱ        zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϮ         ϭ^Zs//E͘          KEdZd^Zs/                                                                  ϱϰ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϯ                /                ZW/Z^ΘD/EdEE                                                               ϯϵϴ͘ϱϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϰ       >>&y^W/>d/^/        K&&/^hWW>/^                                                                     Ϯϳϲ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϱ            >W,d,             sZd/^/E'                                                                         ϯϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϲ                                   WZ/^,&D/>zD/E/^dZz                                                              ϭ͕ϴϭϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ    Eͬ       ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ      ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                                              ϱϭ͕ϵϵϬ͘ϭϵ       y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϳ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϯϰϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϴ               dΘd                d>W,KEyWE^                                                                   ϭϵϵ͘ϰϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϴϵ               dΘd                hd/>/d/^                                                                           ϱϭϴ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϬ               dΘd                d>W,KEyWE^                                                                   ϵϬ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϭ               dΘd                WZ/^dsd/KEs/>>                                                               ϯϯ͘ϭϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϮ               dΘd                ,Kh^,K>hd/>/d/^                                                                 ϵϭ͘ϰϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϯ                                   dZs>͕D>^ΘEdZd/EDEd                                                       Ϯϯ͘Ϯϳ        zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϰ        >/EtzE/E'Z            WZ/^,&D/>zD/E/^dZz                                                              ϯϲϰ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϱ                                   WZ/^,&D/>zD/E/^dZz                                                              ϭ͕ϲϯϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϲ                                   WZ/^,&D/>zD/E/^dZz                                                              ϭ͕ϲϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϳ                                   WZ/^,&D/>zD/E/^dZz                                                              ϭ͕ϵϴϯ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϴ       hΖ^WZKhK          </d,E&KK                                                                        ϭϱϳ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϰϵϵ        DWKEd/^dZz            ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭϵϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϬ      ZDDZ^Zs/           d>W,KEyWE^                                                                   Ϯϵ͘ϰϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϭ      d,K>/:KhZEz^͘K         ^D/EZ/E^^/^d                                                                   ϳϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϮ          ,D^Z,               ZW/Z^ΘD/EdEE                                                               ϯϯϰ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϯ      ,hZ,^hWW>z,Kh^          >/dhZ'/>^hWW>/^                                                                 ϭϮϮ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϰ         >Z/KE,Z>            sZd/^/E'                                                                         ϴϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϱ     KZsh^K&EtKZ>E          ZW/Z^ΘD/EdEE                                                               ϭ͕ϲϵϮ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϲ          Kyh^/E^^             /dYh/WDEd                                                                        ϭϳϬ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϳ          Kyh^/E^^             d>W,KEyWE^                                                                   ϭϳϱ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϴ      KyKDDhE/d/KE^           ,Kh^,K>hd/>/d/^                                                                 ϭϳϰ͘ϰϮ         zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϬϵ     hZd/^Es/ZKEDEd>          ,Kh^,K>hd/>/d/^                                                                 ϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϬ        ydZD/Ed/E'           KEdZd^Zs/                                                                  ϭϱϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϭ                                   ^/'Ed&hE^/EdZE>                                                           ϯϱ͘ϵϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϮ      s/^WZKhd^K/E         ^hWW>/^Ͳ^hDDZDW                                                              Ϯϳ͘ϱϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϯ       >>DZ<d/E'>͘W͘        /dYh/WDEd                                                                        ϰ͕ϰϱϯ͘Ϯϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϰ             KhDZd              ^dd/KEZzΘWZ/Ed/E'                                                               ϰϮϭ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϱ      Z͘KZE>/h^^,hdd         WZ/^dd,ZWz                                                                      ϭϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϲ         hK^hZ/dz͕/E         /dYh/WDEd                                                                        ϭϵϮ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϳ                d>              /dYh/WDEd                                                                        ϱϭ͘Ϯϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϴ              EdZ'z              ,Kh^,K>hd/>/d/^                                                                 ϭ͕ϱϭϱ͘ϲϴ          zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϭϵ              EdZ'z              ,Kh^/E'K^d^ͲWZ/^d^                                                             ϭϱϬ͘ϰϯ         zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϬ        &/Zyd/E'h/^,Z          ZW/Z^ΘD/EdEE                                                               ϭϬϱ͘Ϭϱ         zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ    Eͬ        &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ      dƌĂŶƐĨĞƌƚŽ&dŽƉĞƌĂƚŝŶŐĂĐĐŽƵŶƚ                                                  ϯϬ͕ϬϬϬ͘ϬϬ       y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϭ      &>KhZ/^,KhE^>/E'         &/EE/>^^/^dEdKs/d/D^                                                     ϯϱϬ͘ϬϬ     Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϮ       '/>Zd<>>zΘKhd        KEdZd^Zs/                                                                  ϭ͕ϭϮϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϯ      'ZzZ>dZ/KD         /dYh/WDEd                                                                        Ϯ͕ϲϱϭ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϰ      'h/>>KZz^,dDd>         KEdZd^Zs/͕ZW/Z^ΘD/EdEEͲh/>/E'͕yZKyKW/^                  ϭ͕ϰϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϱ       'h>&K^dK&&/WZ        yZKyKW/^                                                                        Ϯ͕Ϭϱϴ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϲ       ,^hWW>z&/>/d/^        ZW/Z^ΘD/EdEEͲh/>/E'                                                    ϯϬϲ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϳ          ,>EZE>z            h^Θ^^^^DEd^͕^d&&s>KWDEd                                               ϲϵϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϴ       ,Z/d'>dZ/>        ZW/Z^ΘD/EdEE                                                               ϲϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϮϵ       :Θ:ydZD/Ed/E'        ZW/Z^ΘD/EdEE                                                               ϭϮϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϬ      :<WddzDZ<d/E'         >Z^,/WtZ^                                                                   ϭ͕ϴϱϱ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϭ                                   WZ/^,&D/>zD/E/^dZz                                                              ϲϵϳ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϮ                                   WZ/^,&D/>zD/E/^dZz                                                              ϭ͕Ϯϯϯ͘ϭϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϯ                                   ^D/EZ/E^^/^d                                                                   ϰϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϰ      :K,E^KEKEdZK>^&/Z         ZW/Z^ΘD/EdEEͲh/>/E'                                                    ϭϭϰ͘ϲϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϱ                                   /dYh/WDEd͕ZW/Z^ΘD/EdEE͕,Kh^,K>^hWW>/^                             ϳ͕ϱϴϯ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϲ       <͘͘Z͘:E/dKZ/>^h        ,Kh^,K>^hWW>/^                                                                  ϯϬϲ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϳ                                   ^D/EZ/E^^/^d                                                                   Ϯϱϭ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϴ     >KZWK&DZ/,          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϲϭ͘ϮϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϯϵ     >'E/WW>hE,KEd          Dd/E'^                                                                            ϭϵϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϬ      >W^dKZ>^Zs/^         ^/'Ed&hE^/EdZE>                                                           ϰϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϭ      >KK^>&>d/KEZ         KK<^Θ^h^Z/Wd/KE                                                                ϭϮϰ͘ϵϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϮ     >Kh/^/EWZdDEd          D/^>>EKh^yWE^                                                               ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϯ      >Kh/^/EK&&/WZK         K&&/^hWW>/^                                                                     Ϯϯϯ͘ϱϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϰ                                   dDWKZZz,>WͲ                                                                    ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϱ       D/,>^D/d,^         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭ͕ϱϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϲ                                   ^D/EZ/E^^/^d                                                                   Ϯϯϰ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϳ        D/,>>^dZE^           dDWKZZz,>WͲ                                                                    ϭϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϴ      E^,s/>>,D/>Θ         ZW/Z^ΘD/EdEE                                                               ϯϮϴ͘ϯϱ         zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϰϵ      K,^EZ,>d,^z^d         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϭϴϭ͘ϳϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϬ      WEDZ/E>/&/E         &Z/E'E&/dK^d^                                                                Ϯϳ͘ϭϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϭ       W/EE>>sdKZ           ZW/Z^ΘD/EdEE                                                               ϵϬϬ͘ϬϬ         zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϮ                                   K&&/^hWW>/^                                                                     ϯϱϰ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϯ                                   DWz                                                                          ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϰ                                   dDWKZZz,>WͲWZ^EdZ^                                                         ϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϱ                                   KEdZd^Zs/͕,Kh^/E'K^d^ͲWZ/^d^                                         ϴϯ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϲ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϭϭϱ͘ϴϱ     Ύ
                                                                                        ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ͕ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϳ                                   DĞĚŝĐĂůŽͲWĂǇƐ                                                                     ϯϱϮ͘ϳϯ Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϴ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϱϵ͘ϲϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϱϵ                                   ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϲϯϬ͘ϵϯ Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϬ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϴϮ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϭ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϮϬϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϮ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϯ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϯϴ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϰ                                   KEdZd^Zs/                                                                  ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϱ                                   KEdZd^Zs/                                                                  ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϲ         Z/K,h^/E             yZKyKW/^                                                                        ϭ͕ϳϱϬ͘ϴϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϳ      ^KddZKd,Z^W,          WZ/^dd,ZWz                                                                      ϮϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϴ        ^DEd/<K^>>             ^/'Ed&hE^/EdZE>                                                           ϮϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϲϵ      ^Zs/<>E:E/dKZ/         KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>                                            ϱϴϲ͘ϲϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϬ     ^tZ'ΘtdZK          ,Kh^,K>hd/>/d/^                                                                 ϭ͕ϭϭϲ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϭ     ^tZ'ΘtdZK          hd/>/d/^                                                                           ϴϵ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϮ     ^tZ'ΘtdZK          ,Kh^,K>hd/>/d/^                                                                 ϭϰϮ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϯ                                   K&&Θ^K&dZ/E<                                                                 Ϯϭ͘ϱϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϰ      ^Khd,ZE>dZϬE/^         ZW/Z^ΘD/EdEE                                                               ϰϰ͘ϰϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϱ     ^Khd,ZEEdtKZ</E'          /dYh/WDEd                                                                        ϭ͕ϯϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϲ        ^WdZhDh^/E^^          d>W,KEyWE^                                                                   Ϯϴϲ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϳ         ^d,Z>^WZ/^,         ,Kh^,K>hd/>/d/^                                                                 Ϯϱ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϴ         ^d:K,/DWZ/^,         >sdKZZ/s>^                                                                ϭϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϳϵ       ^dD/,>^W/>^        >sdKZZ/s>^                                                                ϭϭϱ͘ϬϬ z
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ    Eͬ     ^ƚ͘WĞƚĞƌ^ĐŚŽŽůŽǀŝŶŐƚŽŶ    ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭϵϮ͕ϯϵϯ͘ϯϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϬ                                   K&&/^hWW>/^                                                                     ϲϰ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϭ          ^ƚĂƚĞŽĨ>Y          D/^>>EKh^yWE^                                                               ϯϰϵ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϮ       ^tddKKd,Ed>          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϮϬϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϯ       ^z^K&KK^Zs/^        </d,E&KKͲ^hDDZDW                                                          ϭ͕ϯϯϮ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϰ       ^z^K&KK^Zs/^        </d,E&KKͲ^hDDZDW                                                          ϳ͕ϲϵϳ͘ϰϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϱ       dZD/E/y^Zs/K        ZW/Z^ΘD/EdEE                                                               ϰϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϲ       dZD/E/y^Zs/K        WZ/^dsd/KEs/>>                                                               ϰϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϳ       dZZz^h/Z&Z/E        hdKDK/>yWE^                                                                  ϱϴ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϴ      d,DEZzKDWEz          KE^h>dEd&^                                                                     ϰϮ͕ϲϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϴϵ                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭϮϴ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϲϬϲ                                   ^hWW>/^Ͳ^hDDZDW                                                              Ϯ͕ϬϬϯ͘ϱϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϵϬ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                                   ϭϯ͕ϯϳϴ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϵϭ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                                   ϭ͕ϯϬϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϵϮ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                                   ϯ͕ϭϱϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϵϯ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                                   ϭ͕ϲϲϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϱϵϰ      tZ/',dEd/KE>&>KK         WZW//E^hZE                                                                   ϯ͕ϭϮϱ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϱϵϱ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϭϲ͕ϳϲϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϱϵϲ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϴ͕ϯϱϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϱϵϳ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϭϭ͕ϬϭϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϱϵϴ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϭϲ͕ϴϰϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϱϵϵ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϳϳ͕ϴϴϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϲϬϬ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   Ϯ͕ϯϲϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϲϬϭ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϭ͕ϲϵϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϲϬϮ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϴϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϲϬϯ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϴϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϲϬϰ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϲ͕ϮϬϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ      ϵϬϲϬϱ                 tZ/',dEd/KE>&>KK               WZW//E^hZE                                                                   ϱ͕ϴϲϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϴϵϬϲϲ;sŽŝĚͿ                      sŽŝĚ                      sŽŝĚ                                                                                ;ϭ͕ϰϰϬ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϴϵϴϳϴ;sŽŝĚͿ                      sŽŝĚ                      sŽŝĚ                                                                                ;Ϯϰϱ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϴϵϵϯϬ;sŽŝĚͿ                      sŽŝĚ                      sŽŝĚ                                                                                ;ϳϱ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϮͬϮϬϮϬ   ϵϬϮϱϲ;sŽŝĚͿ                      sŽŝĚ                      sŽŝĚ                                                                                ;ϭ͕ϳϴϮ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϯͬϮϬϮϬ   ϴϵϴϳϵ;sŽŝĚͿ                      sŽŝĚ                      sŽŝĚ                                                                                ;ϱϯϴ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϯͬϮϬϮϬ       Eͬ                    ^ƚ͘WĂƚƌŝĐŬEK>               ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              Ϯ͕ϱϭϰ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ   ϵϬϯϭϵ;sŽŝĚͿ                                                sŽŝĚ                                                                                ;ϮϮϬ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ   ϴϵϵϯϭ;sŽŝĚͿ                        sŽŝĚ                    sŽŝĚ                                                                                ;ϳϱ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ   ϴϵϵϭϰ;sŽŝĚͿ                        sŽŝĚ                    sŽŝĚ                                                                                ;ϳϱ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ   ϴϵϵϮϯ;sŽŝĚͿ                        sŽŝĚ                    sŽŝĚ                                                                                ;ϳϱ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ   ϵϬϭϰϬ;sŽŝĚͿ                        sŽŝĚ                    sŽŝĚ                                                                                ;ϮϱϬ͘ϬϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ       Eͬ                   ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ           ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                                              ϲϮ͕ϲϱϱ͘ϯϰ      y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ       Eͬ                  ,ͲZKhYhdd>K'               ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϰͬϮϬϮϬ       Eͬ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϮϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϳͬϮϬϮϬ       Eͬ                 ŵƉůŽǇĞĞ/ŶƐƵƌĂŶĐĞ&ƵŶĚ           tŚŝƚŶĞǇKƉdƌĂŶƐĨĞƌƚŽ/&ͲdƌƵƐƚĞĞ&ĞĞYϰϮϬϮϬ                                    ϮϱϬ͕ϬϬϬ͘ϬϬ        y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϳͬϮϬϮϬ       Eͬ                 ŵƉůŽǇĞĞ/ŶƐƵƌĂŶĐĞ&ƵŶĚ           tŚŝƚŶĞǇKƉĞƌĂƚŝŶŐdƌĂŶƐĨĞƌƚŽ/&ƚŽĐŽǀĞƌĐůĂŝŵƐ                                   ϳϱϬ͕ϬϬϬ͘ϬϬ        y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϳͬϮϬϮϬ       Eͬ                     K>W^ŚĂůŵĞƚƚĞ                ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϲ͕ϰϱϵ͘Ϭϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϳͬϮϬϮϬ       Eͬ                      tŚŝƚŶĞǇďĂŶŬ                  ^'ĚĞďƚƉĂǇŵĞŶƚ                                                                    ϰϬϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϳͬϮϬϮϬ       Eͬ                      tŚŝƚŶĞǇďĂŶŬ                  ƵĞƐΘƐƐĞƐƐŵĞŶƚƐ͖ŽŽŬƐΘ^ƵďƐĐƌŝƉƚŝŽŶƐ                                           ϰ͕ϭϵϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϬϴ                     D>K<K                   ZW/Z^ΘD/EdEE                                                                 ϭϱϬ͘ϬϬ        zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϬϴ                     D>K<K                   ZW/Z^ΘD/EdEE                                                                 ϯϲ͘Ϭϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϬϴ                     D>K<K                   ZW/Z^ΘD/EdEE                                                                 ϭϳϴ͘ϯϮ        zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϬϳ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϭϯϮ͘ϮϮ    Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϬϵ                                                    ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                       Ϯ͕ϵϱϯ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϬ                        dΘd                        d>W,KEyWE^                                                                   ϭϭϭ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϭ                        dΘd                        ,Kh^,K>hd/>/d/^                                                                 ϴϳ͘ϰϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϮ                 dDK^EZ'z>Kh/^/               ,Kh^/E'K^d^ͲWZ/^d^                                                             ϭϭ͘ϴϳ       zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϯ                 dDK^EZ'z>Kh/^/               ,Kh^,K>hd/>/d/^                                                                 ϲϭ͘ϴϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϰ                                                    ^D/EZ/E^^/^d                                                                   ϭϰϱ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϱ                         Z>z^                   KK<^Θ^h^Z/Wd/KE͕K&&/^hWW>/^                                               ϭϭϬ͘ϵϬ        zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϲ                    ŝŐĂƐǇWŽĚŝĂƚƌǇ͕>            ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϭϰϵ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϳ                                                    ^D/EZ/E^^/^d                                                                   ϲϰ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϴ                 hZsEd&D/>zEd/               ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭϱϭ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϭϵ                 d,K>/Et^^Zs/               KK<^Θ^h^Z/Wd/KE                                                                ϭϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϬ                 t'KsZEDEd/E                 /dYh/WDEd                                                                        ϳ͕ϳϰϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϭ                 t'KsZEDEd/E                 /dYh/WDEd                                                                        ϭϱ͕ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϮ                 t'KsZEDEd/E                 /dYh/WDEd                                                                        ϱ͕ϭϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϯ                  Zd/&/hZhK&              ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       Ϯϲϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϰ                     ,D^Z,                     ZW/Z^ΘD/EdEE                                                               ϭ͕ϭϮϲ͘ϴϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϱ                                                    ^d&&s>KWDEd                                                                   ϰϭϴ͘ϬϬ
                                                                                                            ,Kh^,K>hd/>/d/^͕hd/>/d/^͕h^Θ^^^^DEd^͕ZW/Z^Θ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϲ                    >KWKtZ>>                 D/EdEE͕^d&&s>KWDEd                                                      ϭ͕ϰϭϭ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϳ                                                    ^d&&s>KWDEd                                                                   ϱϭϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϴ                 KZsh^K&EtKZ>E               ZW/Z^ED/EdEE                                                            ϰ͕ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϮϵ                     Kyh^/E^^                   d>W,KEyWE^                                                                   ϮϵϬ͘ϭϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϬ                                                    ^D/EZ/E^^/^d                                                                   ϯϰϮ͘ϭϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϭ                                                    DZZ/'WZWZd/KE                                                                ϲϵ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϮ                                                    ^D/EZ/E^^/^d                                                                   Ϯϴϳ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϯ                  >>DZ<d/E'>͘W͘              /dYh/WDEd                                                                        Ϯ͕ϭϭϮ͘ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϰ                 /K^E^^^^DEd                h^Ͳh^                                                                        Ϯϯ͕ϭϮϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϱ                   /Zdz>hEZz>>                ,Kh^,K>yWE^^                                                                  ϯϬϲ͘ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϲ                 >sdKZd,E/>^               ZW/Z^ΘD/EdEE                                                               ϯϲϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϳ                        EdZ'z                     ,Kh^,K>hd/>/d/^                                                                 ϯϭϰ͘ϵϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϴ                        EdZ'z                     D/^>>EKh^Z/s>^͕^h^/z͕hd/>/d/^                                       Ϯ͕ϰϴϱ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϯϵ                        EdZ'z                     hd/>/d/^                                                                           ϭϵ͘ϵϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϬ                     &y>K'/͕>>                  /dYh/WDEd                                                                        ϭ͕ϱϯϳ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϭ                                                    >Z^,/WtZ^                                                                   ϴϳϱ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϮ                                                    ZW/Z^ΘD/EdEE                                                               ϭ͕ϭϱϬ͘ϬϬ
                                                                                                            ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞWƌĞŵŝƵŵƐ͕^>Zz
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϯ                  '>>',ZE&/d^              Z/DhZ^DEd^                                                                      ϭϯϯ͕ϲϱϲ͘ϳϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϰ                  '>>',ZE&/d^              &Z/E'E&/dK^d^                                                                ϳϴ͕ϳϵϱ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϱ                 'hZ/EDW>Kz               Kd,ZZ/s>^Ͳ/E^hZE                                                      ϰ͕ϳϮϬ͘ϴϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϲ                  'h>&K^dK&&/WZ              K&&/^hWW>/^                                                                     ϭϯϱ͘ϳϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϳ                 /E^/',d<EKt>'D               >dZKE/ZKZ^                                                                  ϵϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϴ                                                    ^D/EZ/E^^/^d                                                                   ϭϲϯ͘ϲϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϰϵ                  :&&Z^KEWZ/^,W              hd/>/d/^                                                                           Ϯϲ͘ϭϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϬ                  :&&Z^KEWZ/^,W              D/^>>EKh^Z/s>^͕^h^/z͕hd/>/d/^                                       ϯ͕ϲϳϰ͘ϭϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϭ                                                    ^D/EZ/E^^/^d                                                                   ϭϯϯ͘ϯϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϮ                                                    /dYh/WDEd                                                                        ϱ͕Ϭϭϳ͘ϵϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϯ                   <͘͘Z͘:E/dKZ/>^h             ,Kh^,K>^hWW>/^                                                                  ϳϭ͘Ϯϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϰ                   <EdtKK^WZ/E'^                 K&&Θ^K&dZ/E<                                                                 ϭϭϬ͘ϲϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϱ                   <EdtKK^WZ/E'^                 K&&Θ^K&dZ/E<yWE^͕,Kh^,K>yWE^^                                     ϲϵ͘Ϭϰ       zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϱ                   <EdtKK^WZ/E'^                 K&&Θ^K&dZ/E<yWE^͕,Kh^,K>yWE^^                                     ϮϳϮ͘ϱϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϲ                 ><s/tZ'/KE>D               ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϯϱϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϳ                  >Kh/^/EK&&/WZK              K&&/^hWW>/^͕yZKyKW/^                                                       ϲϴϲ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϴ                  DZzYhEK&W              ϰϬϭ;ŬͿZĞŵŝƚƚĂŶĐĞZĞƚƵƌŶ                                                            ϱϴϴ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϱϵ                EtKZ>E^Z,/K                Kd,Z&hE^KEW                                                                  ϰ͕ϲϴϵ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϬ       EtKZ>E^Z,/K^EDdZ/^dZh^d   ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϲϬϴ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϭ                           E&zD                    KEsEd/KEyWE^                                                                  ϳϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϮ                 K,^EZ,>d,^z^d               ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϯϱ͘ϬϬ       zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϯ                K,^EZ,KDD/>                ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDŝƐĐĞůůĂŶĞŽƵƐ                                       ϭϰ͘ϰϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϰ                  KhZ>zK&>KhZ^              ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞWƌĞŵŝƵŵƐ                           ϯ͕ϯϬϲ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ   ϵϬϲϲϰ;sŽŝĚͿ              KhZ>zK&>KhZ^              ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞWƌĞŵŝƵŵƐ                           ;ϯ͕ϯϬϲ͘ϱϬͿ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϱ                 WZ/'D,>d,^z^d               ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϯϱ͘ϬϬ Ύ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϲ                                                    K&&/^hWW>/^                                                                     ϵϲ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϳ                  W/dEzKt^'>K>               WK^d'                                                                             ϴϰϱ͘ϳϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϴ                                                    K&&/^hWW>/^                                                                     ϲϭ͘Ϭϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϲϵ                       ZĞƚŝƌĞĞ&ŝƌƐƚ                WZW//E^hZE                                                                   ϭϲ͕Ϯϭϯ͘ϵϱ
                                                                                                            ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ͕ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϬ                                                    DĞĚŝĐĂůŽͲWĂǇƐ                                                                     ϰϱϳ͘ϭϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϭ                                                    ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϯϯ͘ϮϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϮ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϮϬϲ͘ϳϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϯ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϵϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϰ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϰϴ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϱ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                     ϰϬϱ͘Ϭϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϲ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϱϮϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϳ                     Z/K,h^/E                  yZKyKW/^                                                                        Ϯϱϱ͘ϱϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϴ                  ^Zs/<>E:E/dKZ/              KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>                                            ϮϮϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϳϵ                 ^tZ'ΘtdZK               ,Kh^,K>yWE^^                                                                  ϭϮϴ͘ϴϭ        zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϬ                 ^tZ'ΘtdZK               ,Kh^,K>hd/>/d/^                                                                 Ϯϰ͘ϲϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϭ                 ^tZ'ΘtdZK               hd/>/d/^                                                                           Ϯ͕ϲϱϳ͘ϰϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϮ                 ^tZ'ΘtdZK               hd/>/d/^                                                                           ϴϵ͘ϲϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϯ                 ^tZ'ΘtdZK               ,Kh^,K>hd/>/d/^                                                                 ϱϮϵ͘ϭϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϰ                 ^tZ'ΘtdZK               ,Kh^,K>hd/>/d/^                                                                 Ϯϯϱ͘ϳϵ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϱ                                                    K&&Θ^K&dZ/E<                                                                 ϭϳ͘ϯϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϲ                         ^,ZD                       h^Θ^^^^DEd^                                                                  Ϯϭϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϳ                   ^WdZhDh^/E^^                d>W,KEyWE^                                                                   ϯϮϰ͘ϵϳ
                                                                                                            hdKDK/>yWE^͕KK<^Θ^h^Z/Wd/KE^͕KEdZd^Zs/͕K&&/
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϴ                   ^dEd,KEzWZ/KZz                ^hWW>/^                                                                            ϯ͕ϵϴϬ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϴϵ                 ^dEd,KEzΖ^'ZE^               ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϭϰ͕ϱϭϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϬ                 ^dEd,KEzΖ^'ZE^               ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                                       ϱ͕ϰϱϯ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϭ                  ^dh'h^d/E,/',^              ϰϬϭ;ŬͿZĞŵŝƚƚĂŶĐĞZĞƚƵƌŶ                                                            ϭϰϳ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϮ                  ^d:K^W,,hZ,;'Z              ϰϬϭ;ŬͿZĞŵŝƚƚĂŶĐĞZĞƚƵƌŶ                                                            Ϯϲ͘Ϯϱ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϯ                  ^z^K&KK^Zs/^              </d,E&KK͕</d,E^hWW>/^                                                      ϰϬϬ͘ϳϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϰ                                                    ^D/EZ/E^^/^d                                                                   Ϯϭϵ͘ϯϭ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϱ                 s/KDDhE/d/KE^/E               /dYh/WDEd                                                                        Ϯϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϲ                  s/^h>,E'^/E͘               WZ/^dsd/KEs/>>                                                               ϭϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϳ                                                    ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭϱϲ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϴ                                                    </d,E&KKͲ^hDDZDW͕^hWW>/^Ͳ^hDDZDW                                  ϵϳϮ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϲϵϵ                 t/>>/^dKtZ^td^KE               KEdZd^Zs/ͲĐƚƵĂƌǇ                                                        ϭϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϬ                   t:^EdZWZ/^^/E              yZKyKW/^                                                                        ϱϬϴ͘ϬϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϭ                zK>Et/>>/D^͕^             ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ                                     ϭϭϬ͘ϬϬ        zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϮ                   >^^&ZE/^ys/             ZEd                                                                                ϲϴϵ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϯ                  d,K>/KK<^dKZ               hd/>/d/^                                                                           Ϯϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϰ                 d,K>/Dhdh>'ZKh               KEdZd^Zs/                                                                  ϲϵ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϱ                     >Z/KE,Z>                 >zDW>Kz^^>Zz                                                                ϳϳϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϲ                  >Kh/^/E/EdZ,hZ              h^Ͳ>/EdZ,hZ,KE&ZE                                                    Ϯ͕ϭϲϳ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϳ                 DdZK>KZK^WZd               ,Kh^/E'K^d^ͲWZ/^d^                                                             ϭ͕ϵϮϰ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϴ                                                    WZ/^d^WE^/KEyWE^                                                             ϭ͕ϲϭϱ͘ϮϮ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϬϵ                 ^Khd,ZEKD/E/EW               &Z/E'E&/dK^d^Ͳ>z                                                          ϭ͕ϭϲϲ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϭϬ                 ^Khd,ZEKD/E/EW               &Z/E'E&/dK^d^Ͳ>z                                                          ϱϴϯ͘ϯϰ
                                                                                                            &Z/E'E&/dK^d^Ͳ>z͕WZ/^d^ΘZ>/'/Kh^͕,Kh^/E'K^d^ͲWZ/^d^͕
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϭϭ                    ^dEd,KEzWZ/KZz               hE/dtzt/d,,K>/E'                                                              ϰ͕ϱϴϭ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϭϮ                   ^dW/h^y,hZ,;E             &Z/E'E&/dK^d^Ͳ>z͕WZ/^d^ΘZ>/'/Kh^                                     ϭ͕ϰϵϮ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϭϯ                   ^d͘Ed,KEzWZ/KZz               WZ/^d^ΘZ>/'/Kh^                                                                 ϰ͕Ϭϵϴ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ      ϵϬϳϭϰ                  dZE^&/'hZd/KEK&d              ZEd                                                                                Ϯ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ       Eͬ                         EKĂƉƚŝǀĞ                ĂƉƚŝǀĞEŽŶͲDĞĚŝĐĂůWΘWƌĞŵŝƵŵƉƌŝůͲ:ƵŶĞϮϬϮϬ                                   ϭ͕ϯϭϰ͕ϲϯϳ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ       Eͬ               EKdZD,>d,^z^dD             ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭ͕ϭϳϳ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ       Eͬ                          ^ƚ͘ŐŶĞƐ                ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϰ͕ϭϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϴͬϮϬϮϬ       Eͬ                     ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽů             ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϮϭϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϬͬϮϬϮϬ       Eͬ                     ^ƚ͘ŽŵŝŶŝĐ^ĐŚŽŽů             ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϲϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ              ĂƚŚŽůŝĐŽŵŵƵŶŝƚǇ&ŽƵŶĚĂƚŝŽŶ         ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              Ϯϯ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                ,ŽůǇEĂŵĞŽĨ:ĞƐƵƐ^ĐŚŽŽů           ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϮϬϬ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ      ϵϬϳϭϱ                                                    dZs>͕D>^ΘEdZd/EDEd                                                       ϵϳ͘ϰϭ       zĞƐͲŚĞƌŝ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ      ϵϬϳϭϵ           >Kh/^/EWZdDEdK&ZsEh          dĂǆĞƐ                                                                               ϱ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ      ϵϬϳϭϳ                      KhDZd                      ,>d,z&D/>z                                                                      ϯϬϱ͘ϯϳ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ      ϵϬϳϭϴ                       EdZ'z                      ,Kh^,K>hd/>/d/^                                                                 ϭ͕ϭϭϯ͘ϴϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ      ϵϬϳϭϲ              >hΖ^Kdd'dZ/E'             DZZ/'WZWZd/KE                                                                ϱϬϰ͘ϱϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ       Eͬ                                                    ^/'Ed&hE^/EdZE>                                                           ϵϭϲ͘ϱϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ       Eͬ                  WΘD/E/^dZd/s              &>yKhEd                                                                       ϴϵ͘ϳϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ       Eͬ                      ^ƚ͘ŶŐĞůĂDĞƌŝĐŝ             ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϭϳϬ͕Ϭϭϰ͘Ϯϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ       Eͬ              ĂƉŝƚĂůKŶĞĂƌĞΘŽŵƉĂƐƐŝŽŶ         W/d>KEZΘKDW^^/KE                                                       ϳϲ͘ϰϰ y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ       Eͬ                   ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ           ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                                              ϭϬϱ͕ϵϰϱ͘ϯϴ y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϮϵͬϮϬϮϬ       Eͬ                    &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ           dƌĂŶƐĨĞƌƚŽ&dŽƉĞƌĂƚŝŶŐĂĐĐŽƵŶƚ                                                  ϴϬ͕ϬϬϬ͘ϬϬ y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϬͬϮϬϮϬ       Eͬ                d,K>/Dhdh>'ZKhW               &>KK/E^hZE͕'EZ>>//>/dz͕WZ/^d^hdK                                    ϱϰϲ͕ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                           ^ƚ͘ŐŶĞƐ                ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϯϮ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                   ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ           ĂƉŝƚĂůKŶĞ/ŶƐƵƌĂŶĐĞ                                                              ϭϯ͕ϰϭϱ͘ϲϳ y
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                 ĞŶƚĞƌŽĨ:ĞƐƵƐƚŚĞ>ŽƌĚ           ĞƉŽƐŝƚĂŶĚ>ŽĂŶ&ƵŶĚ                                                              ϱ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ               DZ/E/d^K&,K>zZK^^             WZ/^d^ΘZ>/'/Kh^                                                                 ϭ͕ϱϯϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ               ^/^dZ^K&DKhEdZD>              WZ/^d^ΘZ>/'/Kh^͕&Z/E'E&/dK^d^ͲZ>/'/Kh^                               ϱ͕Ϯϴϰ͘Ϭϲ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ               ^/^dZ^K&DKhEdZD>              WZ/^d^ΘZ>/'/Kh^͕&Z/E'E&/dK^d^Ͳ>z                                     ϱ͕ϯϭϭ͘ϲϴ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ             ^Khd,ZEKD/E/EWZKs/E            WZ/^d^ΘZ>/'/Kh^͕&Z/E'E&/dK^d^Ͳ>z                                     ϰ͕Ϯϱϱ͘ϯϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ             ^Khd,ZEKD/E/EWZKs/E            WZ/^d^ΘZ>/'/Kh^͕&Z/E'E&/dK^d^Ͳ>z                                     Ϯ͕ϴϴϳ͘ϳϰ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ,Kh^/E'K^d^ͲWZ/^d                                                              ϱϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ,Kh^/E'K^d^ͲWZ/^d                                                              ϭ͕ϬϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ^D/EZ/E^^/^d                                                                   ϳϮϯ͘ϵϯ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^ͲZ>/'/Kh^                                                    ϲϬϬ͘ϬϬ        zĞƐͲǇŵŽŶĚ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ^>ZzZ/DhZ^DEd^                                                               ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϯϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ^>ZzZ/DhZ^DEd^                                                               ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ^>ZzZ/DhZ^DEd^                                                               ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ        zĞƐͲŬƉŽŐŚŝƌĂŶ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ^>ZzZ/DhZ^DEd^                                                               ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    &Z/E'E&/dK^d^                                                                ϲϬϬ͘ϬϬ
EK    KƉĞƌĂƚŝŶŐ     Ϯϭϭϴ           ϳͬϯϭͬϮϬϮϬ       Eͬ                                                    ^>ZzZ/DhZ^DEd^                                                               ϲϬϬ͘ϬϬ
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EK    KƉĞƌĂƚŝŶŐ                  Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ    Eͬ                             WZ/^d^WE^/KEyWE^                                                       Ϯ͕ϳϯϯ͘ϲϮ
EK    KƉĞƌĂƚŝŶŐ                  Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ    Eͬ                             WZ/^d^WE^/KEyWE^                                                       Ϯ͕ϴϱϭ͘ϵϴ
EK    KƉĞƌĂƚŝŶŐ                  Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ    Eͬ                             WZ/^d^WE^/KEyWE^                                                       Ϯ͕ϱϯϵ͘ϭϳ
EK    KƉĞƌĂƚŝŶŐ                  Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ    Eͬ                             WZ/^d^WE^/KEyWE^                                                       Ϯ͕ϳϴϲ͘Ϭϳ
EK    KƉĞƌĂƚŝŶŐ                  Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ    Eͬ                             WZ/^d^WE^/KEyWE^                                                       Ϯ͕ϰϵϳ͘Ϭϭ
EK    KƉĞƌĂƚŝŶŐ                  Ϯϭϭϴ   ϳͬϯϭͬϮϬϮϬ    Eͬ                             WZ/^d^WE^/KEyWE^                                                       Ϯ͕ϮϮϵ͘Ϭϵ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮͬϮϬϮϬ     Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇZĞĨƵŶĚƐ;ϳ͘Ϯ͘ϮϬͲϳ͘ϲ͘ϮϬͿ                                          ϯ͕ϴϰϰ͘ϬϬ      Ύ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮͬϮϬϮϬ     Eͬ      ĞĂƚŚŽůŝĐ;ůƵĞWĂǇͿ     dƵůĂŶĞĂƚŚŽůŝĐĐƌĞĚŝƚĐĂƌĚĨĞĞƐ                                              ϭϳϱ͘ϭϮ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮͬϮϬϮϬ     Eͬ      ĞĂƚŚŽůŝĐ;ůƵĞWĂǇͿ     dƵůĂŶĞĂƚŚŽůŝĐĐƌĞĚŝƚĐĂƌĚĨĞĞƐ                                              ϳϭ͘ϴϲ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮͬϮϬϮϬ     Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚŵĂŶƵĂůƉĂǇƌŽůůĐŚĞĐŬĐůĞĂƌŝŶŐͲĐŚĞĐŬϭϬϬϬϭ                         ϮϮϵ͘ϱϲ     y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϯͬϮϬϮϬ     Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇZĞĨƵŶĚƐ;ϳ͘Ϯ͘ϮϬͲϳ͘ϲ͘ϮϬͿ                                          ϯ͕ϵϭϵ͘ϬϬ      Ύ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϲͬϮϬϮϬ     Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚϲ͘ϭϲ͘ϮϬͲϲ͘ϯϬ͘ϮϬϮϬƉĂǇƌŽůůƚƌĂŶƐĨĞƌ                                Ϯϰϱ͕Ϯϭϵ͘ϳϯ         y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϲͬϮϬϮϬ     Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇZĞĨƵŶĚƐ;ϳ͘Ϯ͘ϮϬͲϳ͘ϲ͘ϮϬͿ                                          ϭϴ͕ϬϬϴ͘ϬϬ       Ύ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϳͬϮϬϮϬ     Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚŵĂŶƵĂůƉĂǇƌŽůůĐŚĞĐŬƐĐůĞĂƌŝŶŐͲηϭϬϬϬϰ                             ϯϲϰ͘ϵϰ     y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϵͬϮϬϮϬ     Eͬ      ĞĂƚŚŽůŝĐ;ůƵĞWĂǇͿ     dƵůĂŶĞĂƚŚŽůŝĐĐƌĞĚŝƚĐĂƌĚĨĞĞƐ                                              ϱ͘ϵϱ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϭϬͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚDŝĚͲ:ƵůǇĂŵƉďďĞǇƉĂǇƌŽůůƚƌĂŶƐĨĞƌĨƌŽŵ&dŽƉĞƌ͘ƚŽ&dƉĂǇƌŽů   ϯϬ͕ϱϴϳ͘ϯϬ       y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϭϯͬϮϬϮϬ    Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇƌĞĨƵŶĚƐϳ͘ϭϯ͘ϮϬϮϬ                                                  ϭϬ͕ϲϱϮ͘ϬϬ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϭϯͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚŵĂŶƵĂůƉĂǇƌŽůůĐŚĞĐŬƐĐůĞĂƌŝŶŐͲηϭϬϬϬϱ                             Ϯϰϴ͘ϭϴ     y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϭϱͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚ/K/ƉĂǇƌŽůůŝŶǀŽŝĐĞ                                                 ϭ͕ϬϵϬ͘ϬϬ      y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϭϳͬϮϬϮϬ    Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇƌĞĨƵŶĚƐϳ͘ϭϳ͘ϮϬϮϬ                                                  Ϯϭ͕ϭϭϭ͘ϬϬ       Ύ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮϬͬϮϬϮϬ    Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇƌĞĨƵŶĚƐϳ͘ϮϬ͘ϮϬϮϬ                                                  ϴ͕ϬϮϴ͘ϬϬ      Ύ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮϭͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚ&dƉĂǇƌŽůůƚƌĂŶƐĨĞƌĨƌŽŵ&dŽƉĞƌƚŽ&dƉĂǇƌŽůů                  Ϯϱϳ͕ϮϬϯ͘ϭϯ         y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮϯͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚŶĚŽĨ:ƵůǇ'ŝƌůƐĂŵƉďďĞǇƉĂǇƌŽůůƚƌĂŶƐĨĞƌ                       Ϯϵ͕ϱϰϱ͘ϴϱ       y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮϰͬϮϬϮϬ    Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇƌĞĨƵŶĚƐϳ͘Ϯϰ͘ϮϬϮϬ                                                  ϭϭ͕Ϭϵϳ͘ϬϬ       Ύ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮϳͬϮϬϮϬ    Eͬ       sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ    ĂŵƉďďĞǇƌĞĨƵŶĚƐϳ͘Ϯϳ͘ϮϬϮϬ                                                  ϭϱ͕ϵϳϱ͘ϬϬ       Ύ
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮϳͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   dŽƌĞĐŽƌĚƐƉĞĐŝĂůƉĂǇƌŽůůƚƌĂŶƐĨĞƌĨƌŽŵ&dŽƉĞƌ͘ƚŽ&dƉƌ                   ϱϰϬ͘ϭϳ     y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϮϵͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   &dKƉĞƌĂƚŝŶŐƚŽWĂǇƌŽůůdƌĂŶƐĨĞƌƐKD                                        ϴϰ͘ϭϰ    y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϯϬͬϮϬϮϬ    Eͬ    EK&dWĂǇƌŽůůĐĐŽƵŶƚ   &dKƉĞƌĂƚŝŶŐƚŽWĂǇƌŽůůdƌĂŶƐĨĞƌƐKD                                        ϴϯ͕ϱϬϱ͘Ϯϰ       y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϯϭͬϮϬϮϬ    Eͬ     EK&dĐĐŽƵŶƚ      :ƵůǇϮϬϮϬZĞƉůĞŶŝƐŚdƌĂŶƐĨĞƌ                                              ϭ͕Ϭϰϭ͘Ϯϱ      y
EK    ŚĞĐŬŝŶŐ                   ϵϲϴϬ   ϳͬϯϭͬϮϬϮϬ    Eͬ       &ŝƌƐƚĂŶŬΘdƌƵƐƚ     &Θd^ĞƌǀŝĐĞĐŚĂƌŐĞΘ&ĞĞ                                                     ϴϯ͘ϱϭ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭͬϮϬϮϬ     Eͬ            tĂůŵĂƌƚ           ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϳ͘ϯϳ       zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮͬϮϬϮϬ     Eͬ               ^ŚĞůů          ƌĐŚďŝƐŚŽƉƵƚŽŵŽďŝůĞĞǆƉĞŶƐĞƐ                                                ϮϮ͘ϴϳ        zĞƐͲǇŵŽŶĚ
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EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϲͬϮϬϮϬ     Eͬ            tĂůŵĂƌƚ           ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϮϮ͘ϭϭ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϳͬϮϬϮϬ     Eͬ        hƉƚŽǁŶĞůŝǀĞƌǇ       ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂů                                                         ϳ͘ϬϬ       zĞƐͲǇŵŽŶĚ
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EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϴͬϮϬϮϬ     Eͬ           tĂůŐƌĞĞŶƐ          sŝĐĂƌ'ĞŶĞƌĂů,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                              ϱ͘Ϯϰ       zĞƐͲŚĞƌŝ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϵͬϮϬϮϬ     Eͬ            tĂůŵĂƌƚ           ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϲ͘ϬϬ       zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϯͬϮϬϮϬ    Eͬ           tŝŶŶŝǆŝĞ          ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϰϱ͘ϬϬ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϰͬϮϬϮϬ    Eͬ        ĂƐƚďĂŶŬǇĐůĞƌǇ      >ĂǁŶDĂŝŶƚĞŶĂŶĐĞĞǆƉĞŶƐĞƐ                                                     ϯϭϬ͘Ϯϱ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϰͬϮϬϮϬ    Eͬ             ŚĞǀƌŽŶ          >ĂǁŶDĂŝŶƚĞŶĂŶĐĞĞǆƉĞŶƐĞƐ                                                     Ϯϵ͘ϱϯ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϰͬϮϬϮϬ    Eͬ            tĂůŵĂƌƚ           ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       Ϯϳ͘Ϯϰ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϰͬϮϬϮϬ    Eͬ            tĂůŵĂƌƚ           sŝĐĂƌ'ĞŶĞƌĂů,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                              ϲ͘ϯϯ       zĞƐͲŚĞƌŝ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϱͬϮϬϮϬ    Eͬ              ZŽƵƐĞƐ          ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϭϭ͘ϯϲ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϲͬϮϬϮϬ    Eͬ            tĂůŵĂƌƚ           ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϲϮ͘Ϯϳ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϲͬϮϬϮϬ    Eͬ     WĞůŝĐĂŶWŽŝŶƚĂƌtĂƐŚ   ƌĐŚďŝƐŚŽƉƵƚŽŵŽďŝůĞĞǆƉĞŶƐĞƐ                                                ϭϵ͘ϬϬ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϭϲͬϮϬϮϬ    Eͬ               ^ŚĞůů          ƌĐŚďŝƐŚŽƉƵƚŽŵŽďŝůĞĞǆƉĞŶƐĞƐ                                                ϵ͘Ϭϲ       zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϬͬϮϬϮϬ    Eͬ             ŚĞǀƌŽŶ          >ĂǁŶDĂŝŶƚĞŶĂŶĐĞĞǆƉĞŶƐĞƐ                                                     ϯϮ͘ϴϬ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϭͬϮϬϮϬ    Eͬ            ĞůƚƐ^ŽĚ         >ĂǁŶDĂŝŶƚĞŶĂŶĐĞĞǆƉĞŶƐĞƐ                                                     ϲϱ͘ϱϮ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϭͬϮϬϮϬ    Eͬ          ŽůůĂƌ'ĞŶĞƌĂů      ƌĐŚďŝƐŚŽƉƵƚŽŵŽďŝůĞĞǆƉĞŶƐĞƐ                                                ϯϴ͘ϮϮ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϰͬϮϬϮϬ    Eͬ             ŚĞǀƌŽŶ          >ĂǁŶDĂŝŶƚĞŶĂŶĐĞĞǆƉĞŶƐĞƐ                                                     ϰϲ͘ϳϯ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϳͬϮϬϮϬ    Eͬ            tĂůŵĂƌƚ           ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       Ϯϰ͘ϱϲ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϳͬϮϬϮϬ    Eͬ            tĂůŵĂƌƚ           ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϭϵ͘ϵϵ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϴͬϮϬϮϬ    Eͬ              ZŽƵƐĞƐ          sŝĐĂƌ'ĞŶĞƌĂů,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                              ϰ͘ϴϱ       zĞƐͲŚĞƌŝ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϴͬϮϬϮϬ    Eͬ              ZŽƵƐĞƐ          ƌĐŚďŝƐŚŽƉZĞƐŝĚĞŶĐĞ,ŽƵƐĞŚŽůĚĞǆƉĞŶƐĞƐ                                       ϯ͘ϭϬ       zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϮϵͬϮϬϮϬ    Eͬ             ŚĞǀƌŽŶ          >ĂǁŶDĂŝŶƚĞŶĂŶĐĞĞǆƉĞŶƐĞƐ                                                     Ϯϯ͘ϳϵ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϯϬͬϮϬϮϬ    Eͬ        ƵƚŽŵŽƚŝǀĞdŝƌĞƐ      ƌĐŚďŝƐŚŽƉƵƚŽŵŽďŝůĞĞǆƉĞŶƐĞƐ                                                ϭϳ͘ϲϵ        zĞƐͲǇŵŽŶĚ
EK    ƵƐŝŶĞƐƐŚĞĐŬĂƌĚĐĐƚ   ϵϲϮϱ   ϳͬϯϬͬϮϬϮϬ    Eͬ         ƐĂĨĂƌŝĐĂƌǁĂƐŚ      ƌĐŚďŝƐŚŽƉƵƚŽŵŽďŝůĞĞǆƉĞŶƐĞƐ                                                Ϯϴ͘ϵϱ        zĞƐͲǇŵŽŶĚ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϴϳ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϲ͕ϲϭϰ͘Ϯϱ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϴϴ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϯ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϴϵ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϯ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϬ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϰϬ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϭ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϳϮϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϮ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭ͕Ϯϰϴ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϯ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϯϬϬ͘ϲϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϰ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϳϮ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϱ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϲϴ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϲ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϱϵ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϳ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϱϰ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϴ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭ͕ϬϬϬ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϰϵϵ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϳϯ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϱϬϬ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϱϮϮ͘ϵϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϱϬϭ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϬϱ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϱϬϮ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϰϭϬ͘ϮϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϱϬϯ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭ͕ϲϴϬ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϱϬϰ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϳϰϯ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϮͬϮϬϮϬ    ϵϱϱϬϱ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϰϮϴ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϯϮ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϱϬϭ͘Ϯϯ
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EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϰϲ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϮϮ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϰϳ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϱϯ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϰϴ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϰϰϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϰϵ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϱϱϴ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϱϬ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϬϱ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϱϭ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϱϰϯ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϱϮ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϳϴϰ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϱϯ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   Ϯ͕ϲϮϬ͘ϴϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϱϰ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϵϱ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϱϱ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϵϱ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϵͬϮϬϮϬ    ϵϱϱϱϲ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϵϱ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ   ϵϱϱϱϳ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϯϴϬ͘ϯϬ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ   ϵϱϱϱϴ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭ͕ϬϬϯ͘ϱϲ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ   ϵϱϱϱϵ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϭϵϭ͘Ϯϯ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ   ϵϱϱϲϬ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϯϲ͘ϰϴ
EK    /ŶƐƵƌĂŶĐĞ                  ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ   ϵϱϱϲϭ           ZĞĚĂĐƚĞĚ          EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ                                   ϮϬ͘Ϯϴ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϮ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϰϯ͘ϲϴ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϯ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϮϮϮ͘ϯϮ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϰ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       Ϯϲ͘ϲϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϱ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϲ͘ϯϱ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϲ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϰϱϭ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϱϲ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϴ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       Ϯϵϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϲϵ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϰϵ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϳϬ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϲϲ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϳϭ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       Ϯϰϰ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϳϮ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϴϮ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϳϯ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϬϱ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϳϴ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϴϮ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϴϰ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϴϮ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϴϱ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϬϱ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϴϲ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϰϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϴϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϱϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϰͬϮϬϮϬ          ϵϱϱϴϴ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϮϮϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϴϵ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϴϲϬ͘ϲϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϬ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϱ͕ϬϬϬ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϭ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϴϬ͘ϱϵ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϮ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϲϱϯ͘ϯϲ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϯ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϱϵϮ͘ϭϰ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϰ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϯϴ͘ϭϰ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϱ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϱϭϭ͘Ϯϰ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϲ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϱϬ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϴϰϴ͘ϴϴ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϴ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭ͕ϬϬϯ͘ϱϲ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϱϵϵ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϴϬϳ͘ϱϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϲϬϬ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϲϰϭ͘ϲϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϲϬϭ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;WƌĞͲĂƉƚŝǀĞͿ   ϯϬ͘ϰϳ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ          ϵϱϲϬϮ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;WƌĞͲĂƉƚŝǀĞͿ   ϵϳ͘Ϯϳ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϬϯ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;WƌĞͲĂƉƚŝǀĞͿ   ϰϵϮ͘ϯϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϬϰ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;WƌĞͲĂƉƚŝǀĞͿ   ϲϴ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϬϱ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϱ͕Ϭϴϵ͘ϰϮ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϬϲ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϮϱ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϬϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       Ϯϲ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϬϴ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϭ͕ϯϴϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϬϵ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϳϬ͘ϵϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϬ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϮϴ͘ϵϯ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϭ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯ͕ϮϬϰ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϮ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϳϵ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϯ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϲϳ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϰ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϲϴ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϱ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       Ϯϵϴ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϲ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       Ϯϯϵ͘ϬϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϬϴ͘ϴϮ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϭϴ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭ͕ϯϱϲ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϮϰ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϲϴ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϭͬϮϬϮϬ          ϵϱϲϮϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϯϲ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϴͬϮϬϮϬ          ϵϱϲϱϬ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;WƌĞͲĂƉƚŝǀĞͿ   ϯϳϱ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϮϴͬϮϬϮϬ          ϵϱϲϲϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϯϴϴ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϲϵϮ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭϳϯ͘ϬϬ
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EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϳϬϰ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϮϮϮ͘ϯϮ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϳϬϱ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϲϵϵ͘ϭϲ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϳϬϲ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϴϬϳ͘ϱϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϳϬϳ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϲϱϵ͘ϲϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϳϬϴ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϱϵϮ͘ϭϰ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϳϬϵ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϭ͕ϬϬϯ͘ϱϲ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϯϬͬϮϬϮϬ          ϵϱϳϭϬ               ZĞĚĂĐƚĞĚ        EŽŶͲDĞĚŝĐĂů^ĞůĨͲ/ŶƐƵƌĂŶĐĞůĂŝŵƐ;ĂƉƚŝǀĞͿ       ϲϰϭ͘ϲϬ
EK    /ŶƐƵƌĂŶĐĞ                    ϯϲϲϰ   ϳͬϭϲͬϮϬϮϬ           Eͬ              ĂƉŝƚĂůKŶĞ       ĂŶŬ&ĞĞƐ                                         ϰϰϮ͘ϳϬ
EK    ZΘKDW^^/KEKhEd   ϮϰϬϮ   ϳͬϮϵͬϮϬϮϬ          ϭϮϬϮ                ZĞĚĂĐƚĞĚ        ĂƌĞΘŽŵƉĂƐƐŝŽŶ/ŶƐƵƌĂŶĐĞWĂǇŵĞŶƚ               ϳϲ͘ϰϰ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ   ϳͬϭͬϮϬϮϬ        EͬͲtŝƌĞ               sŽǇĂ          ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                  ϴϬ͕ϵϬϰ͘ϵϲ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ   ϳͬϭϲͬϮϬϮϬ       EͬͲtŝƌĞ               sŽǇĂ          ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                  ϯϮϴ͕ϲϭϳ͘ϲϳ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ   ϳͬϭϲͬϮϬϮϬ       EͬͲtŝƌĞ               sŽǇĂ          ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                  ϲϯ͕ϲϲϬ͘ϲϮ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ   ϳͬϮϯͬϮϬϮϬ       EͬͲtŝƌĞ               sŽǇĂ          ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                  Ϯϱϰ͕ϲϮϰ͘ϬϬ
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ   ϳͬϮϳͬϮϬϮϬ   EͬͲĂŶŬdƌĂŶƐĨĞƌ    EKKƉĞƌĂƚŝŶŐ       ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞZĞĨƵŶĚ           ϳϲϮ͘ϱϬ y
EK    ZĞƚŝƌĞŵĞŶƚĐĐŽƵŶƚ           Ϯϳϭϴ   ϳͬϯϬͬϮϬϮϬ       EͬͲtŝƌĞ               sŽǇĂ          ŵƉůŽǇĞĞĞŶĞĨŝƚWůĂŶZĞŵŝƚƚĂŶĐĞ                  ϭϬϬ͕ϬϮϮ͘ϴϭ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϳϵ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϭϭ͘ϵϯ
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EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϴϳ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϰϳ͘ϭϲ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϴϴ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϳϵ͘ϱϵ
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EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϵϬ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϱϰ͘Ϭϰ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϵϭ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϱϮ͘ϴϬ
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EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϵϯ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϳϵ͘Ϭϯ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϵϰ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϵϰ͘Ϯϭ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϵϱ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϭϱϵ͘ϭϴ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ           ϱϬϭϵϲ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       Ϯϳϴ͘ϴϵ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ      EͬͲ&dƌĂĨƚ     sĂƌŝŽƵƐ;ZĞĚĂĐƚĞĚͿ   ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϭϰϰ͕ϰϯϰ͘ϲϯ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϮͬϮϬϮϬ      EͬͲ&dƌĂĨƚ     sĂƌŝŽƵƐ;ZĞĚĂĐƚĞĚͿ   ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       Ϯ͕ϮϱϮ͘ϮϬ
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EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϴͬϮϬϮϬ           ϱϬϭϵϳ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϱϯϯ͘Ϭϰ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϴͬϮϬϮϬ           ϱϬϭϵϴ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϱϵϯ͘ϵϲ
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EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϬ              KƉƚƵŵZy         ^ĞůĨͲ/ŶƐƵƌĞĚZyůĂŝŵƐ                            ϰϰϬ͕ϭϵϱ͘ϵϲ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϭ              KƉƚƵŵZy         ^ĞůĨͲ/ŶƐƵƌĞĚZyůĂŝŵƐ                            ϭϳ͘ϱϬ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϮ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϭϴϱ͘ϬϬ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϯ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϮϱϮ͘ϯϵ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϰ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϭ͘ϬϬ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϱ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϳϵϴ͘ϬϮ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϲ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϭϵϰ͘ϯϭ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϳ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϭϱ͘ϰϬ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϴ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϰϱ͘ϰϰ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϬϵ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϯϵ͘ϲϱ
EK    DW>Kz/E^hZE&hE      Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ          ϱϬϮϭϬ               ZĞĚĂĐƚĞĚ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                       ϴϰ͘ϱϳ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϰϴ͘ϯϵ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϱϴ͘ϯϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭ͕ϯϬϵ͘ϱϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϰ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϳ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϭ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϮ͕ϯϮϰ͘ϲϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϮϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϵ͘ϱϵ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϭϵ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϳϴ͘ϯϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϬ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϴ͘ϳϴ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳ͘ϴϯ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϱϵ͘ϭϴ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϵ͘ϱϵ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϴ͘ϱϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϵϰ͘Ϯϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϱ͘ϭϯ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϮϵ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱ͕ϵϭϯ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϯϬ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϰ͘ϳϮ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ                ϱϬϮϯϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯ͘ϴϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϬͬϮϬϮϬ            EͬͲ&dƌĂĨƚ               sĂƌŝŽƵƐ;ZĞĚĂĐƚĞĚͿ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϰϵ͕Ϯϭϭ͘ϯϵ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϱͬϮϬϮϬ                 Eͬ                       EKKƉĞƌĂƚŝŶŐ            dƌĂŶƐĨĞƌƚŽEKKƉĞƌĂƚŝŶŐĨŽƌ'ĂůůĂŐŚĞƌŽŶƐƵůƚŝŶŐŝůů   Ϯϴ͕ϯϵϬ͘ϬϬ y
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϱͬϮϬϮϬ                ϱϬϮϯϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭ͕ϯϲϱ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϱͬϮϬϮϬ                ϱϬϮϯϰ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭ͕ϯϰϴ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϯϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϬϴ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϯϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϱ͘ϰϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϯϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϮϰϬ͘ϳϳ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϯϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭ͕Ϯϰϯ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϯϵ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϯ͘Ϭϭ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϴϬ͘ϭϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϴϵ͘ϱϵ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϰ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               Ϯ͕ϬϮϬ͘ϲϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϭϳ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϵϴ͘Ϯϯ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϰ͘ϵϱ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϭϲ͘ϯϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϰϵ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϰϯ͘ϱϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϱϬ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϮ͘Ϯϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϱϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϵ͘ϱϵ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϱϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϭ͘ϵϴ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϱϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϴ͘ϯϴ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϱϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϵ͘ϱϬ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϭϳͬϮϬϮϬ                ϱϬϮϱϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϴϮ͘ϱϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϬͬϮϬϮϬ            EͬͲ&dƌĂĨƚ               sĂƌŝŽƵƐ;ZĞĚĂĐƚĞĚͿ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϱϯ͕ϱϭϳ͘ϲϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϬͬϮϬϮϬ            EͬͲ&dƌĂĨƚ               sĂƌŝŽƵƐ;ZĞĚĂĐƚĞĚͿ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱ͕ϳϬϲ͘ϭϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϬͬϮϬϮϬ                ϱϬϮϱϵ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϴ͕ϵϲϲ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϭͬϮϬϮϬ                ϱϬϮϲϬ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϬϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϭͬϮϬϮϬ                ϱϬϮϲϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϬϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϭͬϮϬϮϬ                ϱϬϮϲϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϵϬ͘ϭϯ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϮͬϮϬϮϬ                 Eͬ                             hDZ                :ƵůǇhDZ^ƚŽƉ>ŽƐƐĂŶĚdW&ĞĞƐ                           ϭϳϰ͕ϭϲϰ͘Ϭϳ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϯͬϮϬϮϬ                ϱϬϮϲϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰ͕ϲϭϮ͘ϱϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϲϰ                         KƉƚƵŵZy              ^ĞůĨͲ/ŶƐƵƌĞĚZyůĂŝŵƐ                                    ϯϲϱ͕ϰϮϲ͘ϴϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϲϱ                         KƉƚƵŵZy              ^ĞůĨͲ/ŶƐƵƌĞĚZyůĂŝŵƐ                                    ϳ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϲϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϰϱ͘Ϭϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϲϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭ͕Ϯϭϴ͘ϬϬ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϴϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϵ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϴϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϮϵϮ͘ϲϯ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϴϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϵϴ͘Ϯϴ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϴϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϵ͘ϱϯ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϴϵ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϵϰ͘ϴϴ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϵϬ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϯ͘Ϭϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϵϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϵ͘ϱϰ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ                ϱϬϮϵϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰ͕Ϯϰϵ͘ϯϯ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ            EͬͲ&dƌĂĨƚ               sĂƌŝŽƵƐ;ZĞĚĂĐƚĞĚͿ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϰϯ͕ϴϱϴ͘ϯϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϰͬϮϬϮϬ            EͬͲ&dƌĂĨƚ               sĂƌŝŽƵƐ;ZĞĚĂĐƚĞĚͿ        ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳ͕ϬϬϬ͘Ϭϴ
                                                    dƌƵƐƚĞĞ&ĞĞYϰϮϬϮϬ;ƉĂŝĚŽƵƚŽĨ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϵͬϮϬϮϬ                  /&Ϳ                        h^dƌƵƐƚĞĞ            h^dƌƵƐƚĞĞYƵĂƌƚĞƌůǇ&ĞĞ;DĂǇͲ:ƵŶĞϮϬϮϬͿ                ϮϱϬ͕ϬϬϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϮϵͬϮϬϮϬ              EͬͲ,                'ĂůůĂŐŚĞƌĞŶĞĨŝƚ^ĞƌǀŝĐĞƐ   /&ŽŶƐƵůƚŝŶŐ&ĞĞ                                        Ϯϴ͕ϯϵϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ         EͬͲďĂŶŬƚƌĂŶƐĨĞƌ            EKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐ       EKtŚŝƚŶĞǇ/&ƚƌĂŶƐĨĞƌƚŽEKtŚŝƚŶĞǇKƉĞƌĂƚŝŶŐ         ϵϬϬ͕ϬϬϬ͘ϬϬ y
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϮϵϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϮϬϵ͘ϴϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϮϵϰ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϱ͘ϮϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϮϵϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϵϱ͘ϲϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϮϵϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϰϴ͘ϵϰ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϮϵϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϭϲ͘ϵϴ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϮϵϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϴϵ͘ϱϵ
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EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϴ͘ϯϮ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϲϯϭ͘ϵϰ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϰ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϯϵϯ͘ϱϰ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϭ͘ϭϱ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϱϵ͘ϭϴ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϲϲ͘ϵϲ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϴ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϭϯϯ͘ϵϳ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϬϵ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϵ͘ϱϵ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϬ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               Ϯϯϴ͘ϳϳ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϭ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϴ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϮ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϵϰ͘Ϯϭ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϯ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϱϮϭ͘ϲϮ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϰ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϮϳϬ͘ϬϬ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϱ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               Ϯϯϳ͘ϰϮ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϲ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϰϵ͘ϴϳ
EK    DW>Kz/E^hZE&hE   Ϭϳϲϲ   ϳͬϯϭͬϮϬϮϬ                ϱϬϯϭϳ                          ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ϳϯ͘ϴϴ
EK    ŵƉůŽǇĞĞ/ŶƐƵƌĂŶĐĞ        ϴϱϵϳ   ϳͬϮϳͬϮϬϮϬ             Eͬ;sŽŝĚƐͿ                       ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ;ϳϵ͘ϴϳͿ
EK    ŵƉůŽǇĞĞ/ŶƐƵƌĂŶĐĞ        ϴϱϵϳ   ϳͬϯϭͬϮϬϮϬ             Eͬ;sŽŝĚƐͿ                       ZĞĚĂĐƚĞĚ             ^ĞůĨͲ/ŶƐƵƌĞĚDĞĚŝĐĂůůĂŝŵƐ                               ;ϭϴ͘ϮϲͿ

                                                                                                                                                                                ΨϮϲ͕ϯϱϯ͕ϴϵϴ͘ϱϮ
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YƵĂƌƚĞƌůǇ&ĞĞ^ƵŵŵĂƌǇ

ĂƐĞŶĂŵĞ                                   dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
ĂƐĞŶƵŵďĞƌ                                 ϮϬͲϭϬϴϰϲ

DŽŶƚŚĞŶĚĞĚ͗                                :ƵůǇϯϭ͕ϮϬϮϬ

WĂǇŵĞŶƚĚĂƚĞ                                ĂƐŚŝƐďƵƌƐĞŵĞŶƚƐΎ            YƵĂƌƚĞƌůǇ&ĞĞƵĞ           WĂǇŵĞŶƚ/          ĂƚĞ
:ĂŶƵĂƌǇ
&ĞďƌƵĂƌǇ
DĂƌĐŚ
dŽƚĂůϭƐƚYƵĂƌƚĞƌ

Ɖƌŝů
DĂǇ                                          Ψϴ͕ϴϵϵ͕ϳϬϱ͘ϵϯ       Ψϴϴ͕ϵϵϳ͘Ϭϲ
:ƵŶĞ                                         Ψϭϲ͕ϲϵϴ͕ϱϮϭ͘ϵϱ        Ψϭϲϲ͕ϵϴϱ͘ϮϮ
dŽƚĂůϮŶĚYƵĂƌƚĞƌ                            ΨϮϱ͕ϱϵϴ͕ϮϮϳ͘ϴϴ        ΨϮϱϬ͕ϬϬϬ͘ϬϬ фх   ϮϲW'ϵs&Ϭ            ϳͬϮϵͬϮϬϮϬ

:ƵůǇ                                         Ψϭϲ͕ϳϬϰ͕ϳϰϭ͘ϱϬ        Ψϭϲϳ͕Ϭϰϳ͘ϰϮ
ƵŐƵƐƚ
^ĞƉƚĞŵďĞƌ
dŽƚĂůϯƌĚYƵĂƌƚĞƌ

KĐƚŽďĞƌ
EŽǀĞŵďĞƌ
ĞĐĞŵďĞƌ
dŽƚĂůϰƚŚYƵĂƌƚĞƌ
                                                                           фхdŽƚĂůYƵĂƌƚĞƌůǇ&ĞĞĚƵĞĨŽƌ
                                                                           ĚŝƐďƵƌƐĞŵĞŶƚƐΨϭ͕ϬϬϬ͕ϬϬϬŽƌŵŽƌĞ
ŝƐďƵƌƐĞŵĞŶƚĂƚĞŐŽƌǇ                       YƵĂƌƚĞƌůǇ&ĞĞƵĞ              ĐĂƚĞŐŽƌǇĞǆĐĞĞĚĞĚΨϮϱϬ͕ϬϬϬ
ΨϬƚŽΨϭϰ͕ϵϵϵ͘ϵϵ                             ΨϯϮϱ
Ψϭϱ͕ϬϬϬƚŽΨϳϰ͕ϵϵϵ͘ϵϵ                        ΨϲϱϬ
Ψϳϱ͕ϬϬϬƚŽΨϭϰϵ͕ϵϵϵ͘ϵϵ                       Ψϵϳϱ
ΨϭϱϬ͕ϬϬϬƚŽΨϮϮϰ͕ϵϵϵ͘ϵϵ                      Ψϭ͕ϲϮϱ
ΨϮϮϱ͕ϬϬϬƚŽΨϮϵϵ͕ϵϵϵ͘ϵϵ                      Ψϭ͕ϵϱϬ
ΨϯϬϬ͕ϬϬϬƚŽΨϵϵϵ͕ϵϵϵ͘ϵϵ                      Ψϰ͕ϴϳϱ
Ψϭ͕ϬϬϬ͕ϬϬϬŽƌŵŽƌĞ                          ϭйŽĨƋƵĂƌƚĞƌůǇĚŝƐďƵƌƐĞŵĞŶƚƐŽƌΨϮϱϬ͕ϬϬϬ͕ǁŚŝĐŚĞǀĞƌŝƐůĞƐƐ


EŽƚĞƚŚĂƚĂŵŝŶŝŵƵŵƉĂǇŵĞŶƚŽĨΨϯϮϱŝƐĚƵĞĞĂĐŚƋƵĂƌƚĞƌĞǀĞŶŝĨŶŽĚŝƐďƵƌƐĞŵĞŶƚƐĂƌĞŵĂĚĞŝŶƚŚĞĐĂƐĞĚƵƌŝŶŐƚŚĞƉĞƌŝŽĚ͘
ΎEŽƚĞ͗ƐŚŽƵůĚĂŐƌĞĞǁŝƚŚΗĂĚũƵƐƚĞĚĐĂƐŚ
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         WŐŝŶŐ
         WŐŝŶŐ
         ĂƐĞŶĂŵĞ                            dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
         ĂƐĞŶƵŵďĞƌ                          ϮϬͲϭϬϴϰϲ

         &ŽƌWĞƌŝŽĚ:ƵůǇϭƚŽ:ƵůǇϯϭ͕ϮϬϮϬ

                                                                                                                        WŽƐƚͲWĞƚŝƚŝŽŶĐĐŽƵŶƚƐWĂǇĂďůĞŐŝŶŐZĞƉŽƌƚ

ŶƚŝƚǇ   dǇƉĞ                                 ĂƚĞ/ŶĐƵƌƌĞĚ                                   ĂǇƐKƵƚƐƚĂŶĚŝŶŐ                                   sĞŶĚŽƌ                ĞƐĐƌŝƉƚŝŽŶ                                                          ŵŽƵŶƚ
K>'      ŝůů                                 ϬϱͬϬϳͬϮϬϮϬ                                             ϲϬͲϵϬ        WƌŽĨĞƐƐŝŽŶĂůDƵƐŝĐ^ĞƌǀŝĐĞƐ͕/ŶĐ                      WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                      ΨϭϱϬ͘ϬϬ
K>'      ŝůů                                 ϬϱͬϬϳͬϮϬϮϬ                                             ϲϬͲϵϬ        /ŶŐƌŝĚ,ĞƌŶĂŶĚĞǌ                                      WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                      ϭϬϬ͘ϬϬ
K>'      ŝůů                                 ϬϱͬϬϳͬϮϬϮϬ                                             ϲϬͲϵϬ        WĞƌĐǇtŝůůŝĂŵƐ                                        WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                      ϳϬ͘ϬϬ
K>'      ŝůů                                 ϬϱͬϬϳͬϮϬϮϬ                                             ϲϬͲϵϬ        tŝůůŝĂŵtŝůůŽƵŐŚďǇ                                    WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                      ϱϬ͘ϬϬ
K>'      ŝůů                                 ϬϱͬϬϳͬϮϬϮϬ                                             ϲϬͲϵϬ        :ĞƌƌǇĚĞƚƚĞ:ŽƐĞƉŚ                                     WĞƌƐŽŶŶĞůŽƐƚƐ͗^ĂůĂƌǇͲDƵƐŝĐŝĂŶƐ                                      Ϯϱ͘ϬϬ
K>'      ŝůů                                 ϬϱͬϭϰͬϮϬϮϬ                                             ϲϬͲϵϬ        WŝƚŶĞǇŽǁĞƐ                                          KƚŚĞƌWĂƌŝƐŚǆƉĞŶƐĞƐ͗ŚƵƌĐŚKĨĨŝĐĞŽƐƚƐ͗WŽƐƚĂŐĞ                     ϴϮϬ͘ϵϵ
K>      dƌĂĚĞƉĂǇĂďůĞ                        ϳͬϯϬͬϮϬϮϬ                                               ϬͲϯϬ        ůĂƌŵĞƚĞĐƚŝŽŶĂŶĚ^ƵƉƉƌĞƐƐŝŽŶ                       KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞ                                             ϭϯϱ͘ϬϬ
K>      dƌĂĚĞƉĂǇĂďůĞ                        ϳͬϮϳͬϮϬϮϬ                                               ϬͲϯϬ        ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ                            ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϭϭϲ͘ϬϬ
K>      dƌĂĚĞƉĂǇĂďůĞ                        ϳͬϯϬͬϮϬϮϬ                                               ϬͲϯϬ        ůĂƌŝŽŶ,ĞƌĂůĚ                                        ĞǀĞůŽƉŵĞŶƚĂŶĚDĂƌŬĞƚŝŶŐ                                              ;ϰϴϬ͘ϬϬͿ
K>      dƌĂĚĞƉĂǇĂďůĞ                        ϳͬϭϳͬϮϬϮϬ                                               ϬͲϯϬ        &ĞƌĚŝĞƐΖƐWƌŝŶƚŝŶŐ^ĞƌǀŝĐĞ                            ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϰϬϭ͘ϯϭ
K>      dƌĂĚĞƉĂǇĂďůĞ                        ϳͬϯϭͬϮϬϮϬ                                               ϬͲϯϬ        &ƌ͘>ŽƵDŽůŝŶĞůůŝ                                     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                     ϭϬϬ͘ϬϬ
K>      dƌĂĚĞƉĂǇĂďůĞ                        ϳͬϯϭͬϮϬϮϬ                                               ϬͲϯϬ        ZƵŵďĞůŽǁŽŶƐƵůƚŝŶŐ͕>>                              ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                         ϭ͕ϰϯϱ͘ϱϬ
K>      dƌĂĚĞƉĂǇĂďůĞ                        KůĚŝƐƐƵĞǁŝƚŚƐƵďůĞĚŐĞƌĂŐƌĞĞŝŶŐƚŽďĂůĂŶĐĞƐŚĞĞƚ                 KůĚŝƐƐƵĞǁŝƚŚƐƵďůĞĚŐĞƌĂŐƌĞĞŝŶŐƚŽďĂůĂŶĐĞƐŚĞĞƚ   KůĚŝƐƐƵĞǁŝƚŚƐƵďůĞĚŐĞƌĂŐƌĞĞŝŶŐƚŽďĂůĂŶĐĞƐŚĞĞƚ                    ϵϴ͘ϳϬ
,^     dƌĂĚĞ                                ϬϳͬϬϮͬϮϬϮϬ                                             ϬͲϯϬ         ^EdZKEKZWKZd/KE                                  ^/EͲ^EdZKE&KZD^;ϭϬϬϬͿ                                        ϭϵϭ͘Ϭϳ
,^     dƌĂĚĞ                                ϬϳͬϬϳͬϮϬϮϬ                                             ϬͲϯϬ         >/<ZdDdZ/>^                                   ZdͲ^hWW>/^;sZ/Kh^Ϳ                                               ϲ͕ϮϬϬ͘ϬϬ
,^     dƌĂĚĞ                                ϬϳͬϬϴͬϮϬϮϬ                                             ϬͲϯϬ         >/<ZdDdZ/>^                                   WWZWZ^^                                                           ϯϱϳ͘ϮϮ
,^     dƌĂĚĞ                                ϬϳͬϭϬͬϮϬϮϬ                                             ϬͲϯϬ         >/<ZdDdZ/>^                                   ZdͲEs^;ϮϰͿΘK>KZWE/>^;ϭϳͿ                               ϱϮϬ͘ϵϯ
,^     dƌĂĚĞ                                ϬϳͬϭϳͬϮϬϮϬ                                             ϬͲϯϬ         >/<ZdDdZ/>^                                   ZdͲ^hWW>/^                                                         Ϯϴϲ͘ϯϰ
,^     dƌĂĚĞ                                ϬϳͬϮϬͬϮϬϮϬ                                             ϬͲϯϬ         KhDZd                                              ϲϲϵϵ͘ϬϰͲ,/W^dZdd/s/dzKK<^;ydZϭϬͿ                         ϰϬ͘Ϭϰ
,^     dƌĂĚĞ                                ϬϳͬϮϭͬϮϬϮϬ                                             ϬͲϯϬ         E,EΖ^KZd/E'                                 ^Z͘yWE^^Ͳ&>KtZ^Ͳ>hZdD^^ͬ'Zhd/KE                  ϲϴϯ͘ϱϬ
,^     dƌĂĚĞ                                ϬϳͬϮϰͬϮϬϮϬ                                             ϬͲϯϬ         &sKZ/d^WZKDKd/KE>WZKhd^                        ,/W^dZdͲdZ/>K'z,/',>/',dZ^dz>h^WE;ϮϱϬͿ                       ϭ͕Ϯϭϴ͘ϳϴ
,^     dƌĂĚĞ                                ϬϳͬϮϰͬϮϬϮϬ                                             ϬͲϯϬ         'Z/E'Z                                              'zDWZd/d/KEYh/WDEd͗,Et/E,͕>͕t/ZZKW>/W             ϰϲϮ͘ϱϭ
,^     dƌĂĚĞ                                ϬϳͬϮϰͬϮϬϮϬ                                             ϬͲϯϬ         >/<ZdDdZ/>^                                   ZdͲK>KZWE/>^                                                   ϯϰϲ͘ϲϴ
,^     dƌĂĚĞ                                ϬϳͬϮϰͬϮϬϮϬ                                             ϬͲϯϬ         'Z/E'Z                                              'zDWZd/d/KEYh/WDEd͗Wh>>z>K<͕t/ZZKW                      ϯϬ͘ϵϲ
,^     dƌĂĚĞ                                ϬϳͬϮϳͬϮϬϮϬ                                             ϬͲϯϬ         ,KEKZ&                                        ^dhEdd/s/dzyWE^͗^dhEdd/s/d/^ͲEKEd,>d/͗^E/KZ ϯϭϭ͘ϬϬ
,^     dƌĂĚĞ                                ϬϳͬϮϴͬϮϬϮϬ                                             ϬͲϯϬ         &K>zDZ<d/E'͕/E                                  ^WKZdDW^ͲsK>>z>>dͲ^,/Zd^;ϱϲͿ                                 ϯϰϱ͘ϱϭ
,^     dƌĂĚĞ                                ϬϳͬϮϵͬϮϬϮϬ                                             ϬͲϯϬ         D^K>hd/KE^                                        D/Eh/>/E't>>^;>EhͿ                                    ϭϮ͕ϵϴϴ͘ϱϲ
,^     dƌĂĚĞ                                ϬϳͬϮϵͬϮϬϮϬ                                             ϬͲϯϬ         D^K>hd/KE^                                        D/Eh/>/E't>>^;>EhͿ                                    ϭϬ͕ϭϴϳ͘ϲϵ
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,,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                          ϬϳͬϯϬͬϮϬϮϬ      :ƵƐƚŝŶDŽƵůĞĚŽƵƐ                                      ĞǀĞůŽƉŵĞŶƚ                                                          ϭ͕ϬϬϬ͘ϬϬ
,,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                          ϬϳͬϯϬͬϮϬϮϬ      DŽƌŐĂŶKΖŽŶŶĞůů                                      ĞǀĞůŽƉŵĞŶƚ                                                          ϭ͕ϬϬϬ͘ϬϬ
,,^     ŝůů                                 ϬϳͬϬϭͬϮϬϮϬ                                          ϬϳͬϯϭͬϮϬϮϬ      ZEKͲ/ŶĨŽƌŵĂƚŝŽŶdĞĐŚŶŽůŽŐǇ                         /ŶƐƚƌƵĐƚŝŽŶĂů                                                        ϰ͕Ϭϳϭ͘ϳϱ
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,,^     ŝůů                                 ϬϳͬϬϴͬϮϬϮϬ                                          ϬϴͬϬϳͬϮϬϮϬ      sŝĚĞŽ^ƉĞĐŝĂůƚŝĞƐ                                     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                   ϭ͕ϮϮϮ͘ϴϴ
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,,^     ŝůů                                 ϬϳͬϭϳͬϮϬϮϬ                                          ϬϴͬϭϲͬϮϬϮϬ      DĞůĞWƌŝŶƚŝŶŐ                                         ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                    ϭϮϰ͘ϬϬ
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,,^     ŝůů                                 ϬϳͬϭϳͬϮϬϮϬ                                          ϬϴͬϭϲͬϮϬϮϬ      ZǇĚŝŶĞĐĂů                                           ƐƚƵĚĞŶƚƐĞƌǀŝĐĞƐ                                                      ϳϱϵ͘ϴϱ
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,,^     ŝůů                                 ϬϳͬϮϴͬϮϬϮϬ                                          ϬϴͬϭϳͬϮϬϮϬ      dĂŵŵĂŶǇhƚŝůŝƚŝĞƐ                                     KƉĞƌĂƚŝŽŶƐ                                                            ϳϱϳ͘ϯϵ
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,,^     ŝůů                                 ϬϳͬϮϭͬϮϬϮϬ                                          ϬϴͬϮϬͬϮϬϮϬ      DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϭϯϭ͘ϯϬ
,,^     ŝůů                                 ϬϳͬϮϭͬϮϬϮϬ                                          ϬϴͬϮϬͬϮϬϮϬ      WĞƌŵĂͲŽƵŶĚŽŽŬƐ                                     /ŶƐƚƌƵĐƚŝŽŶĂů                                                        Ϯ͕ϳϭϱ͘ϬϬ
,,^     ŝůů                                 ϬϳͬϮϭͬϮϬϮϬ                                          ϬϴͬϮϬͬϮϬϮϬ      tĂƐƚĞDĂŶĂŐĞŵĞŶƚ                                      KƉĞƌĂƚŝŽŶƐ                                                            ϯϲϰ͘ϰϬ
,,^     ŝůů                                 ϬϳͬϮϱͬϮϬϮϬ                                          ϬϴͬϮϬͬϮϬϮϬ      tĞůůƐ&ĂƌŐŽsĞŶĚŽƌ&ŝŶ^Ğƌǀ                           /ŶƐƚƌƵĐƚŝŽŶĂů                                                        ϭ͕ϱϲϮ͘ϯϯ
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,,^     ŝůů                                 ϬϳͬϮϮͬϮϬϮϬ                                          ϬϴͬϮϭͬϮϬϮϬ      sĂƌƐŝƚǇ^Ɖŝƌŝƚ&ĂƐŚŝŽŶƐ                               ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                    Ϯϵϰ͘Ϭϯ
,,^     ŝůů                                 ϬϳͬϮϮͬϮϬϮϬ                                          ϬϴͬϮϭͬϮϬϮϬ      dŚǇƐƐĞŶŬƌƵƉƉůĞǀĂƚŽƌŽƌƉŽƌĂƚŝŽŶ                     KƉĞƌĂƚŝŽŶƐ                                                            Ϯϯϳ͘ϱϬ
,,^     ŝůů                                 ϬϳͬϮϯͬϮϬϮϬ                                          ϬϴͬϮϮͬϮϬϮϬ      tŽŽĚǁŝŶĚΘƌĂƐƐǁŝŶĚ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                        Ϯ͕ϵϵϰ͘ϲϵ
,,^     ŝůů                                 ϬϳͬϮϯͬϮϬϮϬ                                          ϬϴͬϮϮͬϮϬϮϬ      KĨĨŝĐĞĞƉŽƚͲĐĐŽƵŶƚηϰϲϲϳϯϭϱϰ                     ĂĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                        ϴϳ͘ϯϰ
,,^     ŝůů                                 ϬϳͬϮϯͬϮϬϮϬ                                          ϬϴͬϮϮͬϮϬϮϬ      KĨĨŝĐĞĞƉŽƚͲĐĐŽƵŶƚηϰϲϲϳϯϭϱϰ                     ĂĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                        ϭϭ͘ϮϬ
,,^     ŝůů                                 ϬϳͬϮϰͬϮϬϮϬ                                          ϬϴͬϮϯͬϮϬϮϬ      DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϲϰ͘ϲϭ
,,^     ŝůů                                 ϬϳͬϮϳͬϮϬϮϬ                                          ϬϴͬϮϲͬϮϬϮϬ      DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϭϭϬ͘ϭϲ
,,^     ŝůů                                 ϬϳͬϮϵͬϮϬϮϬ                                          ϬϴͬϮϴͬϮϬϮϬ      ^E^ƉŽƌƚƐ>>                                        ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                   ϵ͕ϭϬϲ͘ϮϬ
,,^     ŝůů                                 ϬϳͬϮϵͬϮϬϮϬ                                          ϬϴͬϮϴͬϮϬϮϬ      DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϳ͘ϵϲ
,,^     ŝůů                                 ϬϳͬϮϵͬϮϬϮϬ                                          ϬϴͬϮϴͬϮϬϮϬ      KĨĨŝĐĞĞƉŽƚͲĐĐŽƵŶƚηϰϲϲϳϯϭϱϰ                     ĂĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                        ϱϭϬ͘ϭϬ
,,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                          ϬϴͬϮϵͬϮϬϮϬ      DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϲ͘ϴϬ
,,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                          ϬϴͬϮϵͬϮϬϮϬ      ZŽƚŽůŽŽŶƐƵůƚĂŶƚƐ͕/ŶĐ͘                              KƉĞƌĂƚŝŽŶƐ                                                           Ϯ͕ϰϬϳ͘ϱϬ
,,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                          ϬϴͬϮϵͬϮϬϮϬ      DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϲ͘ϴϬ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      DĞůĞWƌŝŶƚŝŶŐ                                         ĂĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                        ϯϵϳ͘ϬϬ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      DĞůĞWƌŝŶƚŝŶŐ                                         ĞǀĞůŽƉŵĞŶƚ                                                           ϭ͕ϴϱϱ͘Ϯϱ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      DĞƐĂůĂŝŶŽŶƐƵůƚŝŶŐ'ƌŽƵƉ͕>>                        KƉĞƌĂƚŝŽŶƐ                                                           ϭ͕ϬϲϬ͘ϬϬ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      DĞĚĐŽ^ƵƉƉůǇŽŵƉĂŶǇ                                  /ŶƐƚƌƵĐƚŝŽŶĂů                                                        ϭ͕ϰϳϴ͘Ϭϴ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      WƌŽũĞĐƚ>ĞĂĚƚŚĞtĂǇ/ŶĐ͘                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϭ͕ϳϱϬ͘Ϯϱ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      WƌŽũĞĐƚ>ĞĂĚƚŚĞtĂǇ/ŶĐ͘                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                         Ϯ͕ϮϬϳ͘ϯϱ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      WƌŽũĞĐƚ>ĞĂĚƚŚĞtĂǇ/ŶĐ͘                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϯ͕ϯϮϮ͘ϬϬ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      WƌŽũĞĐƚ>ĞĂĚƚŚĞtĂǇ/ŶĐ͘                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϰϲϴ͘ϳϱ
,,^     ŝůů                                 ϬϳͬϯϭͬϮϬϮϬ                                          ϬϴͬϯϬͬϮϬϮϬ      ,ŝdŽƵĐŚƵƐŝŶĞƐƐ^ĞƌǀŝĐĞƐ>>                         /ŶƐƚƌƵĐƚŝŽŶĂů                                                         ϲϯϵ͘ϴϬ
Z,^     ŝůů                                 ϳͬϭͬϮϬϮϬ                                               ϯϬͲϲϬ        ^ĐŚŵŝĚƚ͕ĞŶŝƐĞ                                       ĞǀĞůŽƉŵĞŶƚƐƵƉƉůŝĞƐĨƌŽŵ^ĂŵͬƐĐůƵď                                  ϯϯ͘ϵϵ
Z,^     ŝůů                                 ϳͬϰͬϮϬϮϬ                                               ϬͲϯϬ         t͘͘^ĐŽƚƚ'ƌŽƵƉ                                     DĂŝŶƚĞŶĂŶĐĞƉƌĞƉǁŽƌŬƚŽƌĞƉůĂĐĞ                                   ϯ͕ϳϮϯ͘ϬϬ
Z,^     ŝůů                                 ϳͬϵͬϮϬϮϬ                                               ϬͲϯϬ         ͘d͘dƌĂŝŶĂ                                          WůƵŵďŝŶŐŵĂŝŶƚĞŶĂŶĐĞǁŝŽƌŬ                                            ϱϵϱ͘ϬϬ
Z,^     ŝůů                                 ϳͬϭϭͬϮϬϮϬ                                              ϬͲϯϬ         ^Θ^tŽƌůĚǁŝĚĞ                                       ĂǇĂŵƉ^ƵƉƉůŝĞƐ                                                     ϱϰ͘Ϯϰ
Z,^     ŝůů                                 ϬϳͬϭϰͬϮϬϮϬ                                             ϬͲϯϬ         'ĞŶĞƌĂůtŽƌŬWƌŽĚƵĐƚƐ                                 ^ĂŶŝƚŝǌŝŶŐ^ƵƉƉůŝĞƐ                                                   ϰϳϱ͘ϬϮ
Z,^     ŝůů                                 ϬϳͬϭϱͬϮϬϮϬ                                             ϬͲϯϬ         DĐĂƌĚůĞ͕^ƚĞǀĞŶ                                      DƵƐŝĐŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐĨŽƌŽŵƉŽƐŝƚŝŽŶ                             Ϯ͕ϬϬϬ͘ϬϬ
Z,^     ŝůů                                 ϬϳͬϭϲͬϮϬϮϬ                                             ϬͲϯϬ         ƉƉůĞ/ŶĐ͘                                            dĞĐŚŶŽůŽŐǇĞƋƵŝŵĞŶƚ                                                  ϳ͕ϭϱϱ͘ϬϬ
Z,^     ŝůů                                 ϬϳͬϭϲͬϮϬϮϬ                                             ϬͲϯϬ         WƌĞƐƚŽͲy                                              DĂŝŶƚĞŶĂŶĐĞĐŽŶƚƌĂĐƚĞĚƐĞƌǀŝĐĞƐ                                       ϯϲϴ͘ϬϬ
Z,^     ŝůů                                 ϬϳͬϮϭͬϮϬϮϬ                                             ϬͲϯϬ         'ĞŶĞƌĂůtŽƌŬWƌŽĚƵĐƚƐ                                 &ĂĐĞ^ŚŝĞůĚƐĂŶĚ^ĂŶŝƚŝǌŝŶŐ^ƵƉƉůŝĞƐ                                 ϭ͕ϵϲϱ͘ϲϬ
Z,^     ŝůů                                 ϬϳͬϮϮͬϮϬϮϬ                                             ϬͲϯϬ         WŝƚŶĞǇŽǁĞƐWƵƌĐŚĂƐĞWŽǁĞƌ                           WŽƐƚĂŐĞ                                                               ϭ͕ϬϬϬ͘ϬϬ
Z,^     ŝůů                                 ϬϳͬϮϳͬϮϬϮϬ                                             ϬͲϯϬ         'ŝůďĞƌƚ͕ZǇĂŶ                                         ZdƵŝƚŝŽŶZĞĨƵŶĚ                                                    ϭ͕Ϭϴϰ͘ϴϭ
Z,^     ŝůů                                 ϬϳͬϮϳͬϮϬϮϬ                                             ϬͲϯϬ         ^ĞůůƐ͕DŝĐŚĂĞů                                        ZdƵŝƚŝŽŶZĞĨƵŶĚ                                                     ϴϴϱ͘Ϯϰ
Z,^     ŝůů                                 ϬϳͬϮϳͬϮϬϮϬ                                             ϬͲϯϬ         ŶƚĞƌŐǇ                                               hƚŝůŝƚŝĞƐ                                                             ϭϳ͘ϭϬ
Z,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                             ϬͲϯϬ         >ĂŐŶŝĂƉƉĞ>ƵŶĐŚĞŽŶĞƚƚĞ                                ZEĞǁdĞĂĐŚĞƌƌĞĂŬĨĂƐƚ                                              ϴϴ͘ϮϬ
Z,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                             ϬͲϯϬ         ^ĞƌŝŽ͕:ŽƐĞƉŚ                                         Z>ƵŶĐŚ^ƵƉƉůŝĞƐͲ,ŽƐƉŝƚĂůŝƚǇ                                         ϳϮ͘ϮϬ
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Z,^     ŝůů                                 ϬϳͬϭϱͬϮϬϮϬ                                             ϬͲϯϬ         'ƌĞĞŶŬĞĞƉĞƌΖƐ͕/ŶĐ͘                                   >ĂǁŶĐĂƌĞŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐ                                          ϯ͕ϱϴϰ͘ϬϬ
Z,^     ŝůů                                 ϬϳͬϮϬͬϮϬϮϬ                                             ϬͲϯϬ         ^ƚĂƌ^ĞƌǀŝĐĞ/ŶĐ͘                                     Θ,ĞĂƚŝŶŐŽŶƚƌĂĐƚĞĚ^ĞƌǀŝĐĞƐ                                      Ϯ͕ϴϴϲ͘ϬϬ
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Z,^     ŝůů                                 ϬϳͬϮϰͬϮϬϮϬ                                             ϬͲϯϬ         EĞǁƐĞůĂ/ŶĐ͘                                          dĞĐŚŶŽůŽŐǇ^ƵďƐĐƌŝƉƚŝŽŶĨŽƌ^ƚƵĚĞŶƚhƐĞ                              ϲ͕ϱϱϰ͘ϬϬ
Z,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                             ϬͲϯϬ         ůĂǀĞƌŝĞ͕<ĞůůǇ                                       ĞǀĞůŽƉŵĞŶƚĐŽŶƚƌĂĐƚĞĚƐĞƌǀŝĐĞƐ                                       Ϯ͕Ϭϴϯ͘ϯϰ
Z,^     ŝůů                                 ϬϳͬϮϰͬϮϬϮϬ                                             ϬͲϯϬ         WĞů,ƵŐŚĞƐWƌŝŶƚŝŶŐ                                   WƌŝŶƚŝŶŐŽĨ'ƌĂĚƵĂƚŝŽŶWƌŽŐƌĂŵƐ                                      Ϯ͕ϱϴϮ͘Ϭϳ
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Z,^     ŝůů                                 ϬϳͬϮϵͬϮϬϮϬ                                             ϬͲϯϬ         ZĞĐŽŐŶŝƚŝŽŶŽ                                        ^ƚƵĚĞŶƚƌ:ĂĐŬĞƚƐĂŶĚͬŽƌǁĂƌĚ>ĞƚƚĞƌƐ                                 ϮϬϲ͘ϵϳ
Z,^     ŝůů                                 ϬϳͬϮϵͬϮϬϮϬ                                             ϬͲϯϬ         ŚƵƌĐŚ^ƵƉƉůǇ,ŽƵƐĞ                                   ůƚĂƌďƌĞĂĚ͖ĐĂŶĚůĞƐ                                                  ϵϯ͘ϴϮ
Z,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                             ϬͲϯϬ         ŝƐŝŶĨǆ                                               ƵƐƚŽĚŝĂŶŝƐŝŶĨĞĐƚŝŶŐŽĨůĚŐ                                        ϳϬϬ͘ϬϬ
Z,^     ŝůů                                 ϬϳͬϯϬͬϮϬϮϬ                                             ϬͲϯϬ         dŝŵĞůŽĐŬWůƵƐ͕>>                                  dŝŵĞŬĞĞƉŝŶŐƐŽĨƚǁĂƌĞ                                                  ϲϴϯ͘ϬϬ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϯϭͬϮϬϮϬ                                              ϬͲϯϬ         ĂƌŽŶĂƵůĨŝĞůĚ                                       ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲ&ŽŽƚďĂůů                                           ϳϱ͘ϬϬ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϮϯͬϮϬϮϬ                                              ϬͲϯϬ         ůĂƌŵWƌŽƚĞĐƚŝŽŶ^ĞƌǀŝĐĞƐ                             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                   ϭϯϱ͘ϬϬ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϮϵͬϮϬϮϬ                                              ϬͲϯϬ         ĞůƵǆĞWĞƐƚŽŶƚƌŽů                                   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                   ϭϯϯ͘ϬϬ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϮϭͬϮϬϮϬ                                              ϬͲϯϬ         ŶƚĞƌŐǇ                                               KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                  ϭϭ͕Ϭϴϳ͘Ϭϰ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϮϭͬϮϬϮϬ                                              ϬͲϯϬ         'ƵŝůůŽƌǇ^ŚĞĞƚDĞƚĂůtŽƌŬƐ                            KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                   ϮϱϬ͘ϬϬ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϮϰͬϮϬϮϬ                                              ϬͲϯϬ         ,ŽŵĞĞƉŽƚƌĞĚŝƚ^ĞƌǀŝĐĞ                             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                   ϮϳϮ͘ϱϬ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϮϴͬϮϬϮϬ                                              ϬͲϯϬ         >ĞĞdƌĂĐƚŽƌŽ͘                                       KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                                   ϳϵ͘ϬϮ
^,^     dƌĂĚĞWĂǇĂďůĞ                        ϳͬϭϮͬϮϬϮϬ                                              ϬͲϯϬ         >ŽďďΖƐ,ŽƌƚŝĐƵůƚƵƌĂů^ƌĂǇ                             KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚĂŶĚ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲĂƐĞďĂůů ϭ͕ϳϮϬ͘ϬϬ
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^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϯϬͬϮϬϮϬ    ϬͲϯϬ    >ŽǁĞƐƵƐŝŶĞƐƐĐĐŽƵŶƚ                     KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϯϮϬ͘ϲϱ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϭϱͬϮϬϮϬ    ϬͲϯϬ    ZĞĚ,ĂǁŬ&ŝƌĞΘ^ĞĐƵƌŝƚǇ                   KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϯϱϲ͘ϬϬ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϭϱͬϮϬϮϬ    ϬͲϯϬ    ZĞƚŝĨKŝůΘ&ƵĞů                           KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         ϰϮ͘ϱϬ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ZƵŵďĞůŽǁŽŶƐƵůƚŝŶŐ͕>>                   ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                              ϲϱ͘Ϯϱ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϮϮͬϮϬϮϬ    ϬͲϯϬ    ^ĂŵΖƐůƵď                                 /ŶƐƚƌƵĐƚŝŽŶĂůǆƉĞŶƐĞ                                       Ϯ͕ϲϭϲ͘ϰϯ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ    ^ŚĞƌǁŝŶtŝůůŝĂŵƐ                           KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ                         Ϯϲϵ͘ϯϵ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    ^ƉŽƌƚ^ĐŽƉĞ/ŶĐ͘                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲƚŚůĞƚŝĐƐ                                ϰϵϵ͘ϬϬ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϮϬͬϮϬϮϬ    ϬͲϯϬ    dƌĂŶĞh^/ŶĐ͘                              WƌŽƉĞƌƚǇĂŶĚƋƵŝƉŵĞŶƚͲ^,ŽŵƉƌĞƐƐŽƌƐ                      ϮϬ͕ϭϲϵ͘ϲϳ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    sĂƌƐŝƚǇ^Ɖŝƌŝƚ&ĂƐŚŝŽŶƐ                    ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲŚĞĞƌůĞĂĚĞƌƐ                            ϭϯ͕ϱϯϱ͘ϴϮ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϮͬϮϬϮϬ     ϬͲϯϬ    sŝƐĂ                                       ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐĂŶĚĚŵŝŶŝƐƚƌĂƚŝǀĞ                         ϱϯϴ͘ϭϱ
^,^    dƌĂĚĞWĂǇĂďůĞ      ϳͬϮͬϮϬϮϬ     ϬͲϯϬ    tŽŽĚŶ^ŝƉƐƚĐ͘                           ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                            Ϯ͕ϯϲϴ͘ϬϬ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    Ͳϭ^ĞƌǀŝĐĞ                                KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                             ϱϯ͘ϬϮ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    ĐĞ,ĂƌĚǁĂƌĞ                               KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                             ϱϴ͘ϱϱ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϬͬϮϬϮϬ    ϬͲϯϬ    ĐĞ,ĂƌĚǁĂƌĞ                               KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                             ϵϳ͘ϯϳ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    dDK^ŶĞƌŐǇ                               WůĂŶƚKƉĞƌĂƚŝŽŶƐ                                               ϭϰϳ͘ϯϴ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϭϲͬϮϬϮϬ    ϬͲϯϬ    ZĂĐŚĞůĂƚƚŝƐƚĞůůĂ                         ZĞŝŵďƵĞƐ                                                   ϴϱ͘ϬϬ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϯϬͬϮϬϮϬ    ϬͲϯϬ    ĞŶĞĨŝƚ^ƚƌĂƚĞŐŝĞƐ                         ŵƉůŽǇĞĞĞŶĞĨŝƚƐ                                            ϲϵ͘ϳϵ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϬͬϮϬϮϬ    ϬͲϯϬ    ĂǀŝƐWƌŽĚƵĐƚƐ                             WůĂŶƚKƉĞƌĂƚŝŽŶƐ                                               Ϯϭϴ͘ϴϬ
W:W,^   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ   ϳͬϮϭͬϮϬϮϬ    ϬͲϯϬ    /ŶĨŝŶŝͲƚĞĞΖƐ                               &ƵŶĚƌĂŝƐĞƌ                                                     ϴϰϵ͘ϰϳ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϬͬϮϬϮϬ    ϬͲϯϬ    WĂŵĞůĂ>ŝƐŽƚƚĂ                             ZĞŝŵďWůĂŶƚKƉĞƌĂƚŝŽŶƐ                                       ϲϵ͘ϴϯ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    WĂŝŶƚĞƌƐtŽƌůĚ/ŶĐ                         WůĂŶƚKƉĞƌĂƚŝŽŶƐ                                               ϯϰϳ͘ϯϬ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    tyĂŶŬ                                   WůĂŶƚKƉĞƌĂƚŝŽŶƐ                                             ϳϳ͘ϰϬ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    EK/ŶƐƵƌĂŶĐĞ                              WůĂŶƚKƉĞƌĂƚŝŽŶƐ                                              ϯ͕ϴϬϲ͘ϬϬ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐK^             ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                              ϭϬ͘ϬϬ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐK^             ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                              ϱϴ͘ϬϬ
W:W,^   /ŶƐƚƌƵĐƚŝŽŶĂů      ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    t:^ŶƚĞƌƉƌŝƐĞ                             /ŶƐƚƌƵĐƚŝŽŶĂů                                                 Ϯϳϰ͘ϬϬ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϮϰͬϮϬϮϬ    ϬͲϯϬ    tĂƐƚĞDĂŶĂŐĞŵĞŶƚ                           WůĂŶƚKƉĞƌĂƚŝŽŶƐ                                               ϭϲϴ͘ϯϱ
W:W,^   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ   ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    ƚƚĂǁĂǇΖƐǁĂƌĚĞŶƚĞƌ                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                             ϳϱ͘ϬϬ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϮϮͬϮϬϮϬ    ϬͲϯϬ    ĞŶĞĐŽŵdĞĐŚŶŽůŽŐŝĞƐ                       WůĂŶƚKƉĞƌĂƚŝŽŶƐ                                              Ϯ͕ϳϱϱ͘ϬϬ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϮϯͬϮϬϮϬ    ϬͲϯϬ    ĞŶĞĨŝƚ^ƚƌĂƚĞŐŝĞƐ                         ŵƉůŽǇĞĞĞŶĞĨŝƚƐ                                              ϭϬϴ͘ϭϬ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϮϯͬϮϬϮϬ    ϬͲϯϬ    ĂƌĚŵĞŵďĞƌ^ĞƌǀŝĐĞƐ                        ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                               ϳ͕ϭϬϭ͘Ϯϰ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ŝƚǇŽĨ^ůŝĚĞůů                            KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                            ϭϭϱ͘Ϯϵ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ŝƚǇŽĨ^ůŝĚĞůů                            KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                            ϭϲϰ͘ϱϴ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ŽĂƐƚĂůŶǀŝƌŽŶŵĞŶƚƐĂů^ĞƌǀŝĐĞƐ            KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                               ϳϬϬ͘ϬϬ
W:W,^   ĚŵŝŶŝƐƚƌĂƚŝǀĞ     ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    DĞůĂŶŝĞĂĚƐW                           ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                ϴϱϮ͘ϱϬ
W:W,^   ĚŵŝŶŝƐƚƌĂƚŝǀĞ     ϳͬϭϳͬϮϬϮϬ    ϬͲϯϬ    WĂŶŵĞƌŝĐĂŶ>ŝĨĞ/ŶƐƵƌĂŶĐĞ                ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                ϭϬϭ͘ϲϬ
W:W,^   /ŶƐƚƌƵĐƚŝŽŶĂů      ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ůŝĐŬƌƚDĂƚĞƌŝĂů                         /ŶƐƚƌƵĐƚŝŽŶĂů                                                 Ϯϯϯ͘Ϯϱ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϮϬͬϮϬϮϬ    ϬͲϯϬ    ĂƌŶŝĞWĂƵůŚŝĂƐƐŽŶ                       ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                              ϭϵ͘ϬϬ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϵͬϮϬϮϬ     ϬͲϯϬ    &ůŽŽƌǁŽƌŬƐΘůŝŶĚƐ                        KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                               ϰϴϰ͘ϬϬ
W:W,^   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ   ϳͬϭͬϮϬϮϬ     ϬͲϯϬ    'ƌĞĂƵǆWƌĞĂƵǆWƌŝŶƚŝŶŐ                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                               ϭϯϬ͘ϰϰ
W:W,^   ĚŵŝŶŝƐƚĂƚŝǀĞ      ϳͬϭϳͬϮϬϮϬ    ϬͲϯϬ    'ƵĂƌĚŝĂŶ                                   ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                               Ϯ͕ϭϱϭ͘ϭϳ
W:W,^   WůĂŶƚKƉĞƌĂƚŝŽŶ    ϳͬϭϯͬϮϬϮϬ    ϬͲϯϬ    DĞŐĂŝƌ/ŶĐ                               KƉĞƌĂƚŝŽŶƐDĂŝŶƚ                                               ϲϬϵ͘ϬϬ
W:W,^   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ   ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    DŽƐǇůĞŽƌƉ                                ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                              ϭ͕ϱϲϳ͘ϱϬ
W:W,^   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ   ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    ŵEŐƵǇĞŶ                                  ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                              ϰ͕ϱϬϬ͘ϬϬ
W:W,^   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ   ϳͬϵͬϮϬϮϬ     ϬͲϯϬ    dŽŵŵǇ^ƚůĂŝƌĞƐŝŐŶƐ                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                              ϭ͕Ϭϭϵ͘ϲϬ
W:W,^   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ   ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    tĂŶĚĂdŽƵĐŚĞƚƚĞ                            ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                              ϰ͕ϱϬϬ͘ϬϬ
^^    dƌĂĚĞ              ϬϳͬϬϭͬϮϬϮϬ   ϬͲϯϬ   ĐŽŶŽŵŝĐĂů:ĂŶŝƚŽƌŝĂůΘWĂƉĞƌ^ƵƉƉůŝĞƐ     &ůŽŽƌĨŝŶŝƐŚ                                                Ϯϳϲ͘ϳϭ
^^    dƌĂĚĞ              ϬϳͬϬϭͬϮϬϮϬ   ϬͲϯϬ   DĂƚŚĞƌŶĞΖƐ^ƵƉĞƌŵĂƌŬĞƚ                     &ŽŽĚĨŽƌĐƵƐƚŽĚŝĂŶǁŽƌŬĞƌƐ                                   Ϯϵ͘Ϯϭ
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^^    dƌĂĚĞ              ϬϳͬϭϱͬϮϬϮϬ   ϬͲϯϬ   ZĞůŝĂƐƚĂƌ>ŝĨĞ/ŶƐƵƌĂŶĐĞŽ͘ŽĨEĞǁzŽƌŬ   ,ŽƌŝǌŽŶ'ůŽďĂů                                              ϯϬ͘ϭϮ
^^    dƌĂĚĞ              ϬϳͬϭϲͬϮϬϮϬ   ϬͲϯϬ   &ŝƐƐĞ'ƌĂƉŚŝĐƐ                             ZĞƚƌĞĂƚdĞĂŵdͲƐŚŝƌƚƐ                                       ϯϳϵ͘ϱϮ
^^    dƌĂĚĞ              ϬϳͬϭϳͬϮϬϮϬ   ϬͲϯϬ   KĨĨŝĐĞĞƉŽƚ                               >ĂďĞůƐ͕ƉƌŝŶƚĞƌŝŶŬ                                         ϭϮϯ͘ϳϰ
^^    dƌĂĚĞ              ϬϳͬϮϭͬϮϬϮϬ   ϬͲϯϬ   >ĞĞdƌĂĐƚŽƌŽ͕͘/ŶĐ͘                      WĂƌƚƐĨŽƌƚƌĂĐƚŽƌ                                            ϰϲ͘ϴϵ
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^^    dƌĂĚĞ              ϬϳͬϮϮͬϮϬϮϬ   ϬͲϯϬ   EĞǆƚĞůͲ^ƉƌŝŶƚ                            ĞůůƉŚŽŶĞ                                                  ϭϭϳ͘ϬϬ
^^    dƌĂĚĞ              ϬϳͬϮϮͬϮϬϮϬ   ϬͲϯϬ   ^ƚ͘:ŽŚŶƚŚĞĂƉƚŝƐƚWĂƌŝƐŚhƚŝůŝƚŝĞƐ      tĂƚĞƌ                                                       Ϯ͕ϬϬϮ͘Ϭϭ
^^    dƌĂĚĞ              ϬϳͬϮϯͬϮϬϮϬ   ϬͲϯϬ   DĂƚŚĞƌŶĞΖƐ^ƵƉĞƌŵĂƌŬĞƚ                     EĞǁƚĞĂĐŚĞƌŽƌŝĞŶƚĂƚŝŽŶůƵŶĐŚ                                ϱϵ͘ϴϬ
^^    dƌĂĚĞ              ϬϳͬϮϯͬϮϬϮϬ   ϬͲϯϬ   WŝƚŶĞǇŽǁĞƐWƵƌĐŚĂƐĞWŽǁĞƌ                WŽƐƚĂŐĞ                                                     ϯϬϭ͘ϱϬ
^^    dƌĂĚĞ              ϬϳͬϮϯͬϮϬϮϬ   ϬͲϯϬ   dƌŝͲWĂƌŝƐŚdƌŽƉŚŝĞƐ                        EĂŵĞƚĂŐƐ                                                    ϳϮϬ͘Ϯϭ
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^^    dƌĂĚĞ              ϬϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ   ^ĞƌƵŶƚŝŶĞZĞĨƌŝŐĞƌĂƚŝŽŶ^ĞƌǀŝĐĞ͕/ŶĐ       ^ĞƌǀŝĐĞĨŽƌŽƵƚĚŽŽƌĐŚŝůůĞƌ                                 ϲ͕ϳϬϮ͘ϱϬ
^^    dƌĂĚĞ              ϬϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ   tĂƐƚĞDĂŶĂŐĞŵĞŶƚŽĨ>ŽƵŝƐŝĂŶĂ͕>>         ƵŵƉƐƚĞƌ^ĞƌǀŝĐĞ                                            ϵϳ͘ϬϬ
^^    dƌĂĚĞ              ϬϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ   ĂƌůǇ&ůǇŶŶ                                ZĞŝŵďƵƌƐĞŵĞŶƚĨŽƌǁĂƚĞƌďŽƚƚůĞƐĨŽƌŽƌŝĞŶƚĂƚŝŽŶ             ϭ͕Ϯϵϲ͘ϭϱ
^^    dƌĂĚĞ              ϬϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ   &ŝƐŚĞƌΖƐĐĞ,ĂƌĚǁĂƌĞ͕/ŶĐ͘                'ĂƌďĂŐĞĐĂŶƐ                                                ϮϭϬ͘ϯϲ
^^    dƌĂĚĞ              ϬϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ   DĂƚŚĞƌŶĞΖƐ^ƵƉĞƌŵĂƌŬĞƚ                     ZĞĨƌƐŚĨŽƌƚĞĂĐŚĞƌƉƌŽĨ͘ĚĞǀ͘                                ϰϵ͘ϵϳ
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^^    dƌĂĚĞ              ϬϳͬϮϴͬϮϬϮϬ   ϬͲϯϬ   DĂƌǇ,ĂǇĚĞů                                ZĞŝŵďƵƌƐĞŵĞŶƚĨŽƌƐƵƉƉůŝĞƐĨŽƌǇĞůůŽǁĐĂƌĚƐƚŽĐŬ             Ϯϴ͘ϰϯ
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^^    dƌĂĚĞ              ϬϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ   KĨĨŝĐĞĞƉŽƚ                               ƐƵƉƉůŝĞƐ                                                    ϱϯϲ͘Ϭϵ
^^    dƌĂĚĞ              ϬϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ   ŽĐĂŽůĂŽƚƚůŝŶŐŽŵƉĂŶǇhŶŝƚĞĚϮϳϬϮ     ĞǀĞƌĂŐĞƐĨŽƌŶĞǁƐƚƵĚĞŶƚŽƌŝĞŶƚĂƚŝŽŶ͕ƐƚƵĚĞŶƚƌĞƚƌĞĂƚƐ     ϭϲϵ͘ϵϮ
^^    dƌĂĚĞ              ϬϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ   ƉƉůĞ͕/ŶĐ͘ϲϰϵϰϰϲ                         ĚĂƉƚĞƌƐĂŶĚĐĂďůĞƐ                                         Ϯ͕ϭϮϲ͘ϬϬ
^^    dƌĂĚĞ              ϬϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ   &ŝƐŚĞƌΖƐĐĞ,ĂƌĚǁĂƌĞ͕/ŶĐ͘                ^ƉƌĂǇďŽƚƚůĞƐ                                                Ϯϳ͘ϱϱ
^^    dƌĂĚĞ              ϬϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ   DŝƐƐŝƐƐŝƉƉŝ&                            ŝďůĞƐĨŽƌǀŝƌƚƵĂůĐĂŵƉ                                     ϮϭϮ͘ϵϭ
^^    dƌĂĚĞ              ϬϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ   dŚĞƌǇůƐŬŝŽŵƉĂŶǇ                        WƵďůŝĐƌĞůĂƚŝŽŶƐĞƌǀŝĐĞƐ                                    ϯϱϬ͘ϬϬ
^^    dƌĂĚĞ              ϬϲͬϬϱͬϮϬϮϬ   ϭͲϯϬ    &ŝƐŚĞƌΖƐĐĞ,ĂƌĚǁĂƌĞ͕/ŶĐ͘                ůĞĂĐŚ                                                       Ϯϰ͘ϰϭ
^^    dƌĂĚĞ              ϬϲͬϯϬͬϮϬϭϱ    ϵϬн    &ŽůůĞƚƚĚƵĐĂƚŝŽŶĂů^ĞƌǀŝĐĞƐ               ƌĞĚŝƚĨƌŽŵƚĞǆďŽŽŬŽƌĚĞƌ                                 ;ϯϱ͘ϮϯͿ
^^    dƌĂĚĞ              ϬϲͬϯϬͬϮϬϭϱ    ϵϬн    ^                                       ƌĞĚŝƚĨŽƌĐĂŶĐĞůůĞĚŵĞŵďĞƌƐŚŝƉ                            ;ϭϯϬ͘ϬϬͿ
^^    dƌĂĚĞ              ϬϰͬϬϯͬϮϬϭϳ    ϵϬн    dƌŝƵŵƉŚ>ĞĂƌŶŝŶŐ                           ƌĞĚŝƚĨŽƌŽǀĞƌƉĂǇŵĞŶƚŽŶϰͲϱͲϮϬϭϲŬηϭϵϳϯϴ                ;ϭϰϬ͘ϭϯͿ
^^     dƌĂĚĞƉĂǇĂďůĞƐ     ϬϲͬϯϬͬϮϬϭϲ    ϵϬн    ĂƵĚŝƚǀĞŶĚŽƌ                               KƚŚĞƌĚŵŝŶŝƐƚƌĂƚŝǀĞ                                      ;ϳϰ͘ϵϲͿ
^^     dƌĂĚĞƉĂǇĂďůĞƐ     ϭϭͬϬϭͬϮϬϭϴ    ϵϬн    'ĂƌǇdŚŽŵĂƐ                                ŐĞŶĐǇůƵďƌĞŝŵďƵƌƐĞŵĞŶƚƐ                                  ϭϬϳ͘ϯϰ
^^     dƌĂĚĞƉĂǇĂďůĞƐ     ϬϱͬϯϬͬϮϬϭϵ    ϵϬн    tĂƐƚĞŽŶŶĞĐƚŝŽŶƐĂǇŽƵ͕/ŶĐ               KƉĞƌĂƚŝŽŶƐΘDĂŝŶƚĞŶĂŶĐĞWůĂŶƚ                             ;Ϯϳϳ͘ϮϬͿ
^^     dƌĂĚĞƉĂǇĂďůĞƐ     ϬϭͬϭϲͬϮϬϮϬ    ϵϬн    ^E^ƉŽƌƚƐ                                 ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                        ;ϴ͘ϬϬͿ
^^     dƌĂĚĞƉĂǇĂďůĞƐ     ϬϮͬϬϲͬϮϬϮϬ    ϵϬн    ŚĂƌůĞƐZŝĐŚĂƌĚ                            ƌĞŝŵďƵƌƐĞŵĞŶƚ                                          ;Ϭ͘ϲϬͿ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    EKĂƉƚŝǀĞ                                ĂƉƚŝǀĞWƌĞŵŝƵŵ:ƵůǇϮϬϮϬ                                  ϰϯϴ͕ϮϭϮ͘ϯϯ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    WΘĚŵŝŶ͘                               &>yKhEd                                               ;ϭ͕ϵϵϳ͘ϵϮͿ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭϲͬϮϬϮϬ    ϬͲϯϬ    ϭ&/ZΘ^&dz/E                      KEdZd^Zs/                                          Ϯϲϱ͘ϱϲ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϬͬϮϬϮϬ    ϬͲϯϬ    ͬ^hWW>z/E                             ZW/Z^ΘD/EdEEͲDW                                ϭϲϭ͘Ϯϱ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    DzK&KhZ>z^,KK>                 K^ZYh/Z^Zs/^                                       Ϯϲ͕ϵϵϮ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    DzK&d,^Z,Zd                K^ZYh/Z^Zs/^                                       ϱϵ͕ϮϬϮ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϲͬϮϬϮϬ     ϬͲϯϬ    ĐĞůůƵƐĚƵĐĂƚŝŽŶĞŶƚĞƌ                   Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                         ϰ͕ϮϮϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ    /                                        /dYh/WDEd                                                Ϯϯϵ͘ϲϴ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭϰͬϮϬϮϬ    ϬͲϯϬ    ^^z^dD^>>                            ŽŶƐƚƌƵĐƚŝŽŶŝŶWƌŽŐƌĞƐƐ                                    ϭϲ͕ϬϬϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^D/EZ/E^^/^dͲKd,Z                                   ϭϲϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^/'Ed&hE^/EdZE>                                   ϮϬϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    <dEs/ZKEDEd>^Zs/^/E͘            ZW/Z^ΘD/EdEEͲh/>/E'                            ϮϬϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               hdKDK/>yWE^                                          ϯϯϭ͘ϴϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^d:K^W,^D/EZz                                          ϭϲϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ                                               hdKDK/>yWE^                                           ϰϮ͘ϱϱ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ                                               d>W,KEyWE^                                            ϴϱ͘Ϯϴ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^D/EZ/E^^/^dͲKd,Z                                   ϭϲϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ                                               ^D/EZ/E^^/^dͲKd,Z                                   ϮϬϴ͘ϲϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    EEhE/d/KE^,KK>                        K^ZYh/Z^Zs/^                                       ϭϰ͕Ϯϭϰ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭϱͬϮϬϮϬ    ϬͲϯϬ    Ed,KEzdZEdK^d^                    ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ               ϭϱϯ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    Z,/^,KW,EEE,/',^,KK>              K^ZYh/Z^Zs/^                                       Ϯϱ͕ϴϭϴ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    Z,/^,KWZhDD>,/',^,KK>              K^ZYh/Z^Zs/^                                       ϯϱ͕ϰϳϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    Z,/^,KW^,t,/',^,KK>                K^ZYh/Z^Zs/^                                       ϮϮ͕ϮϮϵ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭϳͬϮϬϮϬ    ϬͲϯϬ    Z,/>>D>,Z/s>>                 ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ             ϭ͕ϲϵϱ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ^E^/KEK&KhZ>KZ^,KK>               K^ZYh/Z^Zs/^                                       ϭϲ͕ϵϯϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϯͬϮϬϮϬ    ϬͲϯϬ    dΘd                                       d>W,KEyWE^                                            ϰϴ͘ϵϵ
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EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭϯͬϮϬϮϬ    ϬͲϯϬ    ƵĚŝŽKƉƚŝĐĂů^ǇƐƚĞŵƐŽĨƵƐƚŝŶ͕/ŶĐ͘      Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                         ϭϭ͕ϯϬϬ͘ϬϬ
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EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ    /EEd>Z>>                      ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ             ϭϱϭ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϴͬϮϬϮϬ     ϬͲϯϬ    ZZDd                             K&&/^hWW>/^                                              Ϯϳ͘Ϯϵ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϱͬϮϬϮϬ    ϬͲϯϬ    ^^/>Ζ^,ZtZ                     ZĞƉĂŝƌƐΘDĂŝŶƚĞŶĂŶĐĞͲ^ƵƉƉůŝĞƐ                             ϵϰ͘Ϭϱ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭϬͬϮϬϮϬ    ϬͲϯϬ    K>>/E'Z^W/>dz'ZKhW                  ^dhEd/Ed                                            ϭ͕ϱϴϴ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭϬͬϮϬϮϬ    ϬͲϯϬ    K>>/E'Z^W/>dz'ZKhW                  ^dhEd/Ed                                            ϲ͕Ϯϰϳ͘ϬϬ
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EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭͬϮϬϮϬ     ϬͲϯϬ    K>>/E'Z^W/>dz'ZKhW                  WZW//E^hZE                                           ϰϯ͕ϵϬϲ͘ϱϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϭͬϮϬϮϬ     ϬͲϯϬ    K>>/E'Z^W/>dz'ZKhW                  ^dhEd/Ed                                            ϯ͕ϵϵϭ͘ϱϬ
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EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϬͬϮϬϮϬ    ϬͲϯϬ    EdhZz>/E<                                d>W,KEyWE^                                            ϮϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϭͬϮϬϮϬ    ϬͲϯϬ    ,Z>^^,K&^                          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ             ϯ͕ϮϬϮ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϭͬϮϬϮϬ    ϬͲϯϬ    ,Z>^^,K&^                          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ             Ϯϳϳ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    ,Z>^^,K&^                          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ             ϯϵϮ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    ,D^Z,                                 ZW/Z^ΘD/EdEE                                       ϯϯϰ͘Ϯϲ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ,Z/^>Zd/'h͕D>>                     ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDŝƐĐĞůůĂŶĞŽƵƐ               ϭϰϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ    ,Z/^d/EZKd,Z^^,KK>                  K^ZYh/Z^Zs/^                                       ϴϱ͕ϳϯϭ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϭͬϮϬϮϬ    ϬͲϯϬ    ,hZ,^hWW>z,Kh^                        >/dhZ'/>^hWW>/^                                          ϲϰ͘Ϭϲ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϬͬϮϬϮϬ    ϬͲϯϬ    /d/E^&KZhd/KE>,K/            K^ZYh/Z^Zs/^                                       ϯϱ͕ϬϬϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^D/EZ/E^^/^dͲKd,Z                                   ϭϲϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    Kt>zEd>Z>>                     ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ             ϱϱϮ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϱͬϮϬϮϬ    ϬͲϯϬ    Kyh^/E^^                               KEdZd^Zs/                                           ϰϭ͘ϲϰ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    KyKDDhE/d/KE^                         ,Kh^,K>yWE^^                                          ϭϴϲ͘ϯϵ zĞƐͲŚĞƌŝ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϳͬϮϬϮϬ    ϬͲϯϬ    ZKtEK&&^Zs//E                   K&&Θ^K&dZ/E<                                         ϭϱϲ͘ϱϰ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^d:K^W,^D/EZz                                          ϭϲϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ    hZZ/h>hD^^K/d^>>                  Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                         ϵϰϭ͘Ϯϱ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϴͬϮϬϮϬ    ϬͲϯϬ    hZd/^Es/ZKEDEd>^Zs/^/E          ,Kh^,K>hd/>/d/^                                         ϭϱϱ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^D/EZ/E^^/^dͲKd,Z                                   ϭϲϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^D/EZ/E^^/^dͲKd,Z                                   ϭϲϬ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϱͬϮϬϮϬ    ϬͲϯϬ                                               d>W,KEyWE^                                            ϳϯ͘ϵϵ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϯϭͬϮϬϮϬ    ϬͲϯϬ                                               ^D/EZ/E^^/^dͲKd,Z                                   ϭϴϱ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϱͬϮϬϮϬ    ϬͲϯϬ                                               hdKDK/>yWE^                                           ϵϱ͘ϰϱ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    >>DZ<d/E'>͘W͘                       /dYh/WDEd                                                ϯ͕ϯϴϲ͘ϬϬ
EK     dƌĂĚĞƉĂǇĂďůĞƐ     ϳͬϮϵͬϮϬϮϬ    ϬͲϯϬ    >>DZ<d/E'>͘W͘                       /dYh/WDEd                                                ϭϴϴ͘ϯϯ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϲͬϯϬͬϮϬϮϬ   ϯϭͲϲϬ   E,hΘE,h>>                     ZhǆƉ                                                  ϱϬ͕ϬϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϲͬϮϬϮϬ   ϬͲϯϬ    WZdDEdK&Wh>/^&dz                   &/E'ZWZ/Ed/E'yWE^                                       Ϯ͕ϰϯϯ͘ϱϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϬͬϮϬϮϬ   ϬͲϯϬ    /Zdz>hEZz>>                             KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>                      ϭϲϴ͘ϯϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ    /s/EDZzWZ/^,                           >Z^,/WtZ^                                             ϯϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϱͬϭϴͬϮϬϮϬ   ϲϭͲϵϬ   KhDZd                                      ^dd/KEZzΘWZ/Ed/E'                                         ϰϮϯ͘ϲϯ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ    Z:K^W,dZDKEdE͕W,                     KE^h>dEd&^                                               ϰϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ    hZD/E                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDŝƐĐĞůůĂŶĞŽƵƐ                 ϯϯ͘ϭϲ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϭϴϵ͘ϴϳ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϱͬϮϬϮϬ   ϬͲϯϬ    '>^hZ/dz^z^dD^/E                    ,Kh^,K>yWE^^                                            ϭϮ͘ϬϬ    zĞƐͲŚĞƌŝ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ    ^D/d,^dE/>tKZ<^>d                    ^dd/KEZzΘWZ/Ed/E'                                         ϭϬ͘ϵϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϱͬϮϬϮϬ   ϬͲϯϬ                                                  d>W,KEyWE^                                             ϭϭϬ͘Ϯϴ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϭϰϮ͘Ϭϯ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ    EdZ'z                                       ,Kh^,K>hd/>/d/^                                           Ϯϴ͘ϴϰ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ    EdZ'z                                       ,Kh^,K>hd/>/d/^                                           ϱϮϮ͘ϳϳ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ    EdZ'z                                       ,Kh^,K>yWE^^                                            ϱϳϭ͘ϯϳ     zĞƐͲŚĞƌŝ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϭͬϮϬϮϬ   ϬͲϯϬ    &>KhZ/^,KhE^>/E'Θt>>E^^EdZ         &/EE/>^^/^dEdKs/d/D^                               ϭϳϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϭͬϮϬϮϬ   ϬͲϯϬ    &ZE/^'DZd>>K^                        ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ               ϭϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ                                                  WZ/^dsd/KEs/>>                                         ϰϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϳͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲhd/KE                                 ϱϴϰ͘ϲϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϮͬϮϬϮϬ   ϬͲϯϬ    'EKs^dZdKZ^Zs/>>                  KEdZd^Zs/                                            ϭϮϱ͘ϬϬ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    '>EE>Kh&D^t>^t                  WZ/^dd,ZWz                                                ϰϴϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    'KK^,W,ZEd/s/dz^,KK>                 K^ZYh/Z^Zs/^                                        ϭϮ͕Ϭϴϰ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    'ZdD/E^>>                               'ZEdyWE^^Ͳ&                                         Ϯ͕ϳϮϰ͘ϯϰ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϳͬϮϬϮϬ   ϬͲϯϬ                                                  KE^h>dEd&^                                               ϳϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭͬϮϬϮϬ    ϬͲϯϬ    'Z'Ζ^>tE^Zs/͕>>                      ZW/Z^ΘD/EdEE                                        ϭ͕ϭϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ,K>zZK^^^,KK>                             K^ZYh/Z^Zs/^                                        ϱϴ͕ϲϬϭ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ,K>zEDK&:^h^^,KK>                     K^ZYh/Z^Zs/^                                        ϯϯ͕ϵϯϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϴͬϮϬϮϬ   ϬͲϯϬ    ,KDWKdZ/d^Zs/^                    ZW/Z^ΘD/EdEE                                           ϲϮ͘ϲϯ    zĞƐͲŚĞƌŝ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮͬϮϬϮϬ    ϬͲϯϬ    ,hEdd>KDDhE/d/KE^>>                   /dYh/WDEd                                                ;ϵϵ͘ϬϬͿ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    /y>>ĞĂƌŶŝŶŐ                                  Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          ϭ͕ϴϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    :<WddzDZ<d/E'ΘWZKDKd/KE^             K&&/^hWW>/^                                               Ϯϭ͘ϳϵ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ    :&&Z^KEWZ/^,^,Z/&&Ζ^K&&/             KK<^dKZyWE^^                                            Ϭ͘ϱϳ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ    :EWKEZ^͕>>                        ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ               ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    :^h/d,/',^,KK>                            K^ZYh/Z^Zs/^                                        ϳϭ͕ϴϴϳ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϮͬϮϬϮϬ   ϬͲϯϬ                                                  ZW/Z^ΘD/EdEEͲDW                                  Ϯϭ͘ϴϯ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^d:K^W,^D/EZz                                            ϭϵϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϭϵϮ͘ϲϯ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϬͬϮϬϮϬ   ϬͲϯϬ    <͘͘Z͘:E/dKZ/>^hWW>/^/E                K&&Θ^K&dZ/E<                                           ϳϱ͘ϵϭ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϴͬϮϬϮϬ    ϬͲϯϬ    <͘͘Z͘:E/dKZ/>^hWW>/^/E                ,Kh^,K>^hWW>/^                                            ϱϮϰ͘ϲϭ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϳͬϮϬϮϬ    ϬͲϯϬ    <dZKDE>^KE                          >Z^,/WtZ^                                             ϭϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϭϮϲ͘ϱϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ    </d,:&Z:Z^                          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲĞŶƚĂůΘsŝƐŝŽŶ               ϭϰϳ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    <EdtKK^WZ/E'^                              K&&Θ^K&dZ/E<                                           ϳ͘ϲϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϲͬϮϬϮϬ   ϬͲϯϬ    <EdtKK^WZ/E'^                              K&&Θ^K&dZ/E<yWE^                                   ϭϰϭ͘ϵϯ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϲͬϮϬϮϬ   ϬͲϯϬ    <EdtKK^WZ/E'^                              ,Kh^,K>yWE^^                                            ϯϭ͘ϬϮ    zĞƐͲǇŵŽŶĚ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϲͬϮϬϮϬ   ϬͲϯϬ    <EdtKK^WZ/E'^                              K&&Θ^K&dZ/E<yWE^                                   ϲϬ͘ϲϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ    <EdtKK^WZ/E'^                              K&&Θ^K&dZ/E<yWE^                                   ϯϵ͘ϯϵ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    <'>Z/KdZKW/>                           sZd/^/E'                                                   ϲϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  dDWKZZz,>WͲ                                              ϭϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϳͬϮϬϮϬ   ϬͲϯϬ    >ĞĂƌŶŝůůŝŽŶ͕/ŶĐ͘                            Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          ϯ͕ϴϵϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    >EE/EZ/KZZKzK                           ^D/EZ/E^^/^dͲKd,Z                                     ϭϵϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϬͬϮϬϮϬ   ϬͲϯϬ    >y/>ZE/E'^z^dD^                        Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          ϱϬ͕ϭϬϳ͘ϱϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϬͬϮϬϮϬ   ϬͲϯϬ    >/EZ/E                                   ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               ϭϰ͘ϯϬ    zĞƐͲŚĞƌŝ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ                                                  ZEd                                                          ϯϰϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ                                                  KK<^Θ^h^Z/Wd/KE^                                         ϭϮ͘ϵϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ                                                  dZs>͕D>^ΘEdZd/EDEd                                 ϯϱ͘ϯϰ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ                                                  ZW/Z^ΘD/EdEE                                         ϮϮϯ͘ϵϭ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϰͬϮϬϮϬ   ϬͲϯϬ                                                  WK^d'                                                       ϱϲ͘ϰϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ    >Kh/^/ED/>/E'ΘKWz/E'^z^dD^           WK^d'                                                       ϭϮϮ͘ϱϴ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϱͬϮϬϮϬ   ϬͲϯϬ    >Kh/^/EWh>/ZK^d/E'                 Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          Ϯϭ͕ϲϵϭ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϲͬϮϬϮϬ   ϬͲϯϬ    D͘<ĂƌƐƚĞĚƚΘƐƐŽĐŝĂƚĞƐ/ŶǀĞƐƚŝŐĂƚŝŽŶƐ       KE^h>dEd&^                                              ϯ͕ϮϮϮ͘ϱϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ    DĂƌŝůůĂĐŽŵŵƵŶŝƚǇ,ĞĂůƚŚĞŶƚĞƌƐ             'ZEdyWE^^Ͳ&                                          ϴϰϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϴϲ͘Ϯϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    DĂƌƚǌ/ŶĐ                                     ZW/Z^ΘD/EdEE                                        ϭϱ͕ϲϱϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲKd,Z                                     ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϲϳϬ͘ϰϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    DD'WZKWZd/^                                ZW/Z^ΘD/EdEE                                        ϭ͕ϬϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    DD'WZKWZd/^                                ZW/Z^ΘD/EdEE                                        Ϯ͕ϭϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    DD'WZKWZd/^                                ZW/Z^ΘD/EdEE                                         ϳϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϴͬϮϬϮϬ    ϬͲϯϬ    DKzDy>>                                  Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          ϯ͕ϰϵϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϴͬϮϬϮϬ    ϬͲϯϬ    DKzDy>>                                  Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          ϯϭ͕ϰϱϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϴͬϮϬϮϬ    ϬͲϯϬ    DKzDy>>                                  Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          ϯ͕ϰϵϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    DKhEdZD>Dz                          K^ZYh/Z^Zs/^                                        ϳϱ͕ϴϴϮ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ    Ed/KE>^^EK&W^dKZ>Dh^//E^           h^Θ^^^^DEd^                                            ϭϳϮ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    Ed/KE>d,K>//Kd,/^EdZ            h^Θ^^^^DEd^                                           ϭ͕ϱϬϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ    EĞĂƌƉŽĚ͕/ŶĐ͘                                 Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          Ϯϴ͕ϬϮϭ͘ϳϲ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ    EtKZ>E^Z,/K^E                      Kd,Z&hE^KEW                                            ϰϴϴ͘ϱϬ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϯϯ͘ϯϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϱϰ͘ϲϯ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϵͬϮϬϮϬ    ϬͲϯϬ    Et                                          Kd,ZWhZ,^^Zs/^Ͳϴ''ZEd                          ϰ͕ϰϮϰ͘ϱϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϲͬϮϬϮϬ   ϬͲϯϬ    K,^EZ,>d,^z^dD                         ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               ϳϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϴͬϮϬϮϬ    ϬͲϯϬ    KhZ>zK&>KhZ^,hZ,;^>/>>Ϳ          ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲ,ĞĂůƚŚ/ŶƐƵƌĂŶĐĞWƌĞŵŝƵŵƐ    ϯ͕ϯϬϲ͘ϱϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    KhZ>zK&>KhZ^^,KK>;^>/>>Ϳ          K^ZYh/Z^Zs/^                                        Ϯϴ͕ϲϬϮ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    KhZ>zK&WZWdh>,>W^,KK>             K^ZYh/Z^Zs/^                                        Ϯϰ͕ϳϴϮ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    KhZ>zK&WZWdh>,>W^,KK>;<EEZͿ    K^ZYh/Z^Zs/^                                        ϭϯ͕ϮϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    KhZ>zK&WZKDWd^hKZ^,KK>;t^dt'KͿ   K^ZYh/Z^Zs/^                                        ϯϯ͕ϴϭϯ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    KhZ>zK&d,><^,KK>                   K^ZYh/Z^Zs/^                                        ϱϲ͕ϳϳϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ    WΘD/E/^dZd/s^Zs//E              &>yKhEd                                                  ϮϬϴ͘ϲϴ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    Wh>͘>Z<^                             WZ/^dD/>yW                                           ϭϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮͬϮϬϮϬ    ϬͲϯϬ    Wh>:>EW,                               &/EE/>^^/^dEdKs/d/D^                               ϳϱϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    WKW:K,EWh>//,/',^,KK>                 K^ZYh/Z^Zs/^                                        ϮϬ͕ϵϳϭ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϮͬϮϬϮϬ   ϬͲϯϬ    Yh/>>KZWKZd/KE                             K&&/^hWW>/^                                               ϭϵϯ͘ϳϮ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϲͬϮϬϮϬ   ϬͲϯϬ    ZWh>/^Zs/^ηϴϰϮ                        KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>                      ϭϭϬ͘Ϭϵ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    Z^hZZd/KEK&KhZ>KZ^,KK>               K^ZYh/Z^Zs/^                                        ϳϭ͕ϳϳϵ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  ,Kh^/E'K^d^ͲWZ/                                          Ϯϰϲ͘ϭϲ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  ,Kh^/E'K^d^ͲWZ/                                          ϭϱ͘ϳϯ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϴͬϮϬϮϬ   ϬͲϯϬ                                                  dZs>͕D>^ΘEdZd/EDEd                                 ϯϰ͘ϲϴ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϬͬϮϬϮϬ   ϬͲϯϬ                                                  >/dhZ'/>^hWW>/^                                           ϯϮ͘ϲϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϬͬϮϬϮϬ   ϬͲϯϬ                                                  K&&/^hWW>/^                                               Ϯϳ͘Ϯϳ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϬͬϮϬϮϬ   ϬͲϯϬ                                                  ,Kh^/E'K^d^ͲWZ/^d^                                       ϮϬϳ͘ϵϮ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               Ϯϵϴ͘ϬϬ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                 ϭϰϯ͘ϳϳ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϲͬϮϬϮϬ   ϬͲϯϬ                                                  ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               ϮϬϱ͘ϬϬ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ                 ϭϲϴ͘ϳϭ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               ϱϴ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               ϯϱϬ͘ϬϬ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϳͬϮϬϮϬ   ϬͲϯϬ    Z/K,h^/E                                 yZKyKW/^                                                  ϭϭϴ͘ϵϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϲͬϮϬϮϬ   ϬͲϯϬ    Z/K,h^/E                                 yZKyKW/^                                                  ϮϵϬ͘ϵϲ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ                                                  ^d:K^W,^D/EZz                                            ϭϲϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ                                                  hdKDK/>yWE^                                            ϰϵ͘ϰϱ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ    ^Θ^>tE^Zs/                            ZW/Z^ΘD/EdEE                                         ϮϰϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ    ^Θ^>tE^Zs/                            ZW/Z^ΘD/EdEE                                         ϴϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϬͬϮϬϮϬ   ϬͲϯϬ    ^Θ^>tE^Zs/                            D/^>>EKh^Z/s>^                                     ϴϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^Z,ZdK&:^h^^,KK>;EKZKͿ          K^ZYh/Z^Zs/^                                        ϱ͕ϴϱϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϮϵͬϮϬϮϬ   ϬͲϯϬ                                                  ^D/EZ/E^^/^dͲhd/KE                                 ϯϯϯ͘ϵϮ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϭϯͬϮϬϮϬ   ϬͲϯϬ    ^dKE&D/>zK&KdKZ^                       ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ               ϯϵϮ͘ϯϮ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯͬϮϬϮϬ    ϬͲϯϬ    ^tZ'ΘtdZKZK&E͘K͘                ,Kh^,K>hd/>/d/^                                           ϴϭ͘Ϭϯ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^dEZtd,WK^d>^,KK>                  K^ZYh/Z^Zs/^                                        ϯϮ͕ϰϭϯ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^dE'>DZ//^,KK>                       K^ZYh/Z^Zs/^                                        Ϯϰ͕ϭϵϬ͘ϬϬ
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EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^dE/>^,KK>                             K^ZYh/Z^Zs/^                                        ϭϳ͕ϲϮϬ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^dd,Z/EK&^/E^,KK>                  K^ZYh/Z^Zs/^                                        ϳϵ͕ϬϬϰ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^d,Z>^KZZKDK^,KK>                    K^ZYh/Z^Zs/^                                        Ϯϲ͕ϵϬϳ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^d,Z>^d,K>/,/',^,KK>               K^ZYh/Z^Zs/^                                        Ϯϴ͕ϱϮϲ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^d,Z/^dKW,Zd,DZdzZ^,KK>              K^ZYh/Z^Zs/^                                        ϱϯ͕ϯϴϱ͘ϬϬ
EK   dƌĂĚĞƉĂǇĂďůĞƐ   ϳͬϯϭͬϮϬϮϬ   ϬͲϯϬ    ^d>DEdK&ZKD^,KK>                     K^ZYh/Z^Zs/^                                        ϯϭ͕ϮϬϱ͘ϬϬ
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EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d>dh^^,KK>                                                      K^ZYh/Z^Zs/^                             ϯϮ͕ϴϰϳ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dKD/E/^,KK>                                                     K^ZYh/Z^Zs/^                             ϳϬ͕ϰϴϯ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dtZd,KE&^^KZ^,KK>                                        K^ZYh/Z^Zs/^                             ϮϬ͕ϯϰϱ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d&ZE/^ys/Z^,KK>                                              K^ZYh/Z^Zs/^                             ϯϳ͕ϮϮϮ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d:KEK&Z^,KK>                                                 K^ZYh/Z^Zs/^                             Ϯϯ͕ϵϲϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d:KEK&Z^,KK>                                                 K^ZYh/Z^Zs/^                             ϭϴ͕Ϭϳϵ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d>Kd,'Zd^,KK>                                               K^ZYh/Z^Zs/^                             ϰϴ͕ϭϯϱ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d>Kh/^</E'K&&ZE^,KK>                                        K^ZYh/Z^Zs/^                             ϳϰ͕ϯϰϰ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dDZ'ZdDZz^,KK>                                               K^ZYh/Z^Zs/^                             ϭϵ͕ϴϯϮ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dDZzD'>E^,KK>                                               K^ZYh/Z^Zs/^                             ϭϳ͕Ϭϴϵ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dDZz^KD/E/E,/',^,KK>                                       K^ZYh/Z^Zs/^                             ϰϮ͕ϯϳϲ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dDdd,td,WK^d>^,KK>                                         K^ZYh/Z^Zs/^                             Ϯϰ͕ϱϱϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dD/,>^W/>^,KK>                                             K^ZYh/Z^Zs/^                             Ϯϱ͕ϳϭϰ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dWh>^,/',^,KK>                                                 K^ZYh/Z^Zs/^                             ϭϭϬ͕ϳϮϰ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dWdZ^,KK>;Ks/E'dKEͿ                                           K^ZYh/Z^Zs/^                             ϱϴ͕ϰϮϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϲͬϯϬͬϮϬϮϬ                  ϯϭͲϲϬ        ^dW,/>/WEZ/^,KK>                                                 >sdKZZ/s>^                               ϮϯϬ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dW/h^y^,KK>;EtKZ>E^Ϳ                                        K^ZYh/Z^Zs/^                             ϰϱ͕ϰϬϴ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dZ/d^,KK>;,Z,EͿ                                              K^ZYh/Z^Zs/^                             Ϯϲ͕ϯϮϱ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dZ/d^,KK>;EtKZ>E^Ϳ                                          K^ZYh/Z^Zs/^                             ϭϱ͕Ϭϳϵ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dZK^>/^,KK>                                                     K^ZYh/Z^Zs/^                             ϯϬ͕ϱϬϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d^,K>^d/Dz                                                K^ZYh/Z^Zs/^                             ϲϮ͕ϲϯϲ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dhZd,>>^,KK>&KZKz^                                           K^ZYh/Z^Zs/^                             ϱϰ͕ϭϬϱ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϯͬϮϬϮϬ                  ϬͲϯϬ         ^tz&dKEEd                                                         /dYh/WDEd                                       ϭϱϭ͘Ϯϱ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϲͬϭϳͬϮϬϮϬ                  ϯϭͲϲϬ        d,,K>zZKK'h/>                                                   ,Kh^,K>yWE^^                                 ϮϱϬ͘ϬϬ zĞƐͲǇŵŽŶĚ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϴͬϮϬϮϬ                  ϬͲϯϬ                                                                               KEdZd^Zs/                                 ϲϱϬ͘ϲϮ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         dZhKE'W,D                                                           ^D/EZ/E^^/^dͲKd,Z                          ϭϲϬ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϭϳͬϮϬϮϬ                  ϬͲϯϬ         dtKtzKDDhE/d/KE^/E                                            ZW/Z^ΘD/EdEE                              ϮϬϭ͘ϯϵ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         hZ^h>/EDz                                                      K^ZYh/Z^Zs/^                             ϭϴ͕Ϭϳϳ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         hZ^h>/EDz>DEdZz                                           K^ZYh/Z^Zs/^                             Ϯϯ͕ϵϮϳ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϯͬϮϬϮϬ                  ϬͲϯϬ         hd/>/d/^/E͘K&>Kh/^/E                                           ZW/Z^ΘD/EdEE                              ϭϬϳ͘ϵϮ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϯͬϮϬϮϬ                  ϬͲϯϬ         hd/>/d/^/E͘K&>Kh/^/E                                           ZW/Z^ΘD/EdEE                              ϯϱ͘ϵϳ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϯͬϮϬϮϬ                  ϬͲϯϬ         hd/>/d/^/E͘K&>Kh/^/E                                           D/^>>EKh^Z/s>^                          ϯϱ͘ϵϳ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϯͬϮϬϮϬ                  ϬͲϯϬ         sZzZsW,/>/W'>EZz                                              ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ    Ϯϰϵ͘ϵϭ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         s/^/dd/KEK&KhZ>z^,KK>                                         K^ZYh/Z^Zs/^                             Ϯϳ͕ϱϱϴ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϰͬϮϬϮϬ                  ϬͲϯϬ         t^dDE'DEdK&^ddDDEz                                        ,Kh^,K>hd/>/d/^                                ϴϮϴ͘ϳϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϵͬϮϬϮϬ                  ϬͲϯϬ                                                                               hdKDK/>yWE^                                 ϲϬ͘ϵϱ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ                                                                               ^D/EZ/E^^/^dͲKd,Z                          ϭϲϬ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϭϵͬϮϬϮϬ                  ϬͲϯϬ         tZ/',dEd/KE>&>KK/E^K                                          WZW//E^hZE                                 ϱ͕Ϯϲϰ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϭͬϮϬϮϬ                  ϬͲϯϬ         tZ/',dEd/KE>&>KK/E^K                                          WZW//E^hZE                                 ϯ͕ϴϬϲ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϮϬͬϮϬϮϬ                  ϬͲϯϬ         tZ/',dEd/KE>&>KK/E^K                                          WZW//E^hZE                                 Ϯ͕ϬϰϮ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϭϴͬϮϬϮϬ                  ϬͲϯϬ         tZ/',dEd/KE>&>KK/E^K                                          WZW//E^hZE                                  ϳϰϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         Z,/^,KW,W>>,/',^,KK>                                       K^ZYh/Z^Zs/^                             ϰϵ͕ϴϯϮ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         >^>>,/',^,KK>                                               K^ZYh/Z^Zs/^                             ϯϱ͕ϭϭϬ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         /DDh>dKEWd/KE^,KK>                                          K^ZYh/Z^Zs/^                             ϲϭ͕ϲϰϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         DZzYhEK&W^,KK>                                            K^ZYh/Z^Zs/^                             ϱϰ͕ϱϱϴ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         KhZ>zK&WZKDWd^hKZ^,KK>;,>DddͿ                          K^ZYh/Z^Zs/^                             Ϯϲ͕ϰϳϯ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d>W,KE^h^^,KK>                                                   K^ZYh/Z^Zs/^                             Ϯϰ͕ϰϱϯ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dEE^,KK>                                                         K^ZYh/Z^Zs/^                             Ϯϯ͕Ϯϴϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d>/d,EE^dKE^,KK>                                         K^ZYh/Z^Zs/^                             ϰϵ͕ϰϵϱ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d<d,Z/EZy>WZW                                              K^ZYh/Z^Zs/^                             ϯϰ͕ϱϴϬ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dDZz^Dz                                                     K^ZYh/Z^Zs/^                             ϮϬ͕ϱϰϭ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dWdZ^,KK>;Z^ZsͿ                                             K^ZYh/Z^Zs/^                             ϴ͕ϰϴϴ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^dW,/>/WEZ/^,KK>                                                 K^ZYh/Z^Zs/^                             ϱ͕ϮϮϮ͘ϬϬ
EK    dƌĂĚĞƉĂǇĂďůĞƐ                     ϳͬϯϭͬϮϬϮϬ                  ϬͲϯϬ         ^d^dW,E^,KK>                                                     K^ZYh/Z^Zs/^                             ϯϯ͕ϲϲϯ͘ϬϬ

       dŽƚĂůŵŽƵŶƚ                                                                                                                                                                                        Ψ ϰ͕Ϭϲϵ͕Ϭϱϭ
       /ŶƚĞƌͲĚĞďƚŽƌĞůŝŵŝŶĂƚŝŽŶƐ                                                                                                                                                                          ;ϭϱϲ͕ϲϵϵ͘ϬϬͿ
       dŽƚĂůĂĚũƵƐƚĞĚĂŵŽƵŶƚ                                                                                                                                                                               Ψ ϯ͕ϵϭϮ͕ϯϱϮ

                                                                                       WƌĞͲWĞƚŝƚŝŽŶ>ŝĂďŝůŝƚŝĞƐEKdŝĚĞŶƚŝĨŝĞĚĂƚWĞƚŝƚŝŽŶĂƚĞŽĨϰͬϯϬͬϮϬϮϬ

                            DŽŶƚŚĚĚĞĚ                    dǇƉĞ   ĂƚĞ/ŶĐƵƌƌĞĚ                           ĂǇƐKƵƚƐƚĂŶĚŝŶŐ                                                               sĞŶĚŽƌ                                    ĞƐĐƌŝƉƚŝŽŶ                                                                         ŵŽƵŶƚ
^>    DĂǇϮϬϮϬ                           :ŽƵƌŶĂůŶƚƌǇ             ϰͬϮϰͬϮϬϮϬ                                   ϵϬн                                     'ƵůĨŽĂƐƚKĨĨŝĐĞWƌŽĚƵĐƚƐ                        /ŶǀŽŝĐĞηϲϬϳϯϴϲ                                                                                   ΨϭϬϴ͘ϳϴ
^>    DĂǇϮϬϮϬ                           :ŽƵƌŶĂůŶƚƌǇ             ϰͬϮϰͬϮϬϮϬ                                   ϵϬн                                     :ŽƐĞƉŚ^ƉŝŶŽ                                      ^ĞĐƵƌŝƚǇĞƚĂŝůͲ'ŽŽĚ&ƌŝĚĂǇ                                                                     ϮϰϬ͘ϬϬ
^>    DĂǇϮϬϮϬ                           :ŽƵƌŶĂůŶƚƌǇ             ϰͬϮϰͬϮϬϮϬ                                   ϵϬн                                     WĂƚƌŝĐŬ'ƌĞĞŶ                                     ^ĞĐƵƌŝƚǇĞƚĂŝůͲ'ŽŽĚ&ƌŝĚĂǇ                                                                     ϮϰϬ͘ϬϬ
^>    DĂǇϮϬϮϬ                           :ŽƵƌŶĂůŶƚƌǇ             ϰͬϭϰͬϮϬϮϬ                                   ϵϬн                                     ŽŚŶĞŶƐƚŝĞŚůůĞĐƚƌŝĐ͕/ŶĐ͘                       /ŶǀŽŝĐĞηϭϭϮϳϮͲ                                                                                 ϭϵϵ͘ϱϬ
^>    DĂǇϮϬϮϬ                           :ŽƵƌŶĂůŶƚƌǇ             ϯͬϮϰͬϮϬϮϬ                                   ϵϬн                                     :͘WƌĞƐƚĞƐΘŽ͕͘/ŶĐ͘                            /ŶǀŽŝĐĞηϭϳϳϵϱϴͲ>ĂƌŐĞĂůƚĂƌďƌĞĂĚ                                                               ϰϳϳ͘ϳϯ
^>    DĂǇϮϬϮϬ                           :ŽƵƌŶĂůŶƚƌǇ             ϰͬϮϮͬϮϬϮϬ                                  ϲϬͲϵϬ                                    'ƵŝůůŽƌǇ^ŚĞĞƚDĞƚĂůtŽƌŬƐ                        /ŶǀŽŝĐĞηϭϮϯϬϵϰͬϮϮͬϮϬϮϬ                                                                          ϱϵϰ͘ϬϬ
K>    :ƵůǇϮϬϮϬ                          KƚŚĞƌ&ĞĞƐZĞĨƵŶĚ         ϰͬϭϭͬϮϬϮϬ                                   ϵϬн                                     WĂƌĞŶƚ                                            ŽǀĞƌƉĂǇŵĞŶƚŽĨƚƵŝƚŝŽŶďĞĐĂƵƐĞŽĨ^ĐŚŽůĂƌƐŚŝƉ͕ĂŝĚŐƌĂŶƚĞĚ                                       ϱϬϱ͘ϬϬ
K>    :ƵůǇϮϬϮϬ                          dƵŝƚŝŽŶZĞĨƵŶĚ            ϰͬϭϭͬϮϬϮϬ                                   ϵϬн                                     WĂƌĞŶƚ                                            ŽǀĞƌƉĂǇŵĞŶƚŽĨƚƵŝƚŝŽŶďĞĐĂƵƐĞŽĨ^ĐŚŽůĂƌƐŚŝƉ͕ĂŝĚŐƌĂŶƚĞĚ                                       Ϯ͕ϰϮϱ͘ϬϬ
K>    :ƵůǇϮϬϮϬ                          dƵŝƚŝŽŶZĞĨƵŶĚ            ϰͬϭϭͬϮϬϮϬ                                   ϵϬн                                     WĂƌĞŶƚ                                            ŽǀĞƌƉĂǇŵĞŶƚŽĨƚƵŝƚŝŽŶďĞĐĂƵƐĞŽĨ^ĐŚŽůĂƌƐŚŝƉ͕ĂŝĚŐƌĂŶƚĞĚ                                       ϰϯϱ͘ϬϬ
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,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞ                    ϬϲͬϯϬͬϮϬϮϬ                                   ϵϬн                                     <>>/Z'/^dZ                                   Z&hEZ'/^dZd/KEϮϬϮϬͲϮϭ                                                                       ϳϬϬ͘ϬϬ
,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞ                    ϲͬϯϬͬϮϬϮϬ                                    ϵϬн                                     sZ/Kh^WZEd^                                   Z&hE^&KZ&d,Zͬh',dZ                                                                     Ϯϭ͕ϲϬϯ͘ϲϱ
,^   DĂǇϮϬϮϬ                           dƌĂĚĞ                      ϮͬϭͬϮϬϮϬ                                   ϵϬн                                     Kt:KE^ΘKDWEz/E                           ^ƵŶƐĐƌŝƉƚŝŽŶ                                                                                      ϲϭ͘ϭϴ
,^   DĂǇϮϬϮϬ                           dƌĂĚĞ                     ϯͬϮϳͬϮϬϮϬ                                  ϲϬͲϵϬ                                    ^ddK&>Y                                   ,t'ĞŶĞƌĂƚŽƌ&ĞĞ                                                                                  ϴϯ͘ϬϬ
,^   DĂǇϮϬϮϬ                           dƌĂĚĞ                     ϰͬϯϬͬϮϬϮϬ                                   ϬͲϯϬ                                    :^h/d,/',^,KK>                                ƚŚĞƚŝĐŝƌĞĐƚŽƌƐŵĞĞƚŝŶŐƐ                                                                        ϭϴϰ͘ϲϲ
,,^   :ƵůǇϮϬϮϬ                          /ŶǀŽŝĐĞ                  ϭϬͬϮϰͬϮϬϭϵ                                   ϵϬн                                     ŝŐ'ĂŵĞ&ŽŽƚďĂůů&ĂĐƚŽƌǇ                         ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                                  ϴϯ͘ϰϬ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                   ϭͬϮϰͬϮϬϮϬ                                   ϵϬн                                     'ůĞŶŶΖƐdŽǁŝŶŐΘZĞĐŽǀĞƌǇ                         KƉĞƌĂƚŝŽŶƐ                                                                                          ϮϲϬ͘ϬϬ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                   ϯͬϭϭͬϮϬϮϬ                                   ϵϬн                                     ŚŝĐŬ&ŝů                                       ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                                  ϭϳϮ͘ϵϰ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                   ϮͬϭϵͬϮϬϮϬ                                   ϵϬн                                     dŚŝƌĚŽĂƐƚ^ŽĐĐĞƌ                                ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                                  ϰϲ͘ϵϵ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                   ϮͬϭϮͬϮϬϮϬ                                   ϵϬн                                     ƌĞŶĚĂŶ:ŽƐĞƉŚĂǀŝĚ^ƉĞĐŝĂůEĞĞĚƐdƌƵƐƚ          ŽŶĂƚŝŽŶ                                                                                            ϮϬϱ͘ϬϬ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                    ϮͬϰͬϮϬϮϬ                                   ϵϬн                                     WĞƚĞƌsĞƌƌĞƚ:ƵŵƉ^ƚĂƌƚdĞĂŵĂŵƉ                 ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                                  ϮϮϬ͘ϬϬ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                   ϭͬϮϮͬϮϬϮϬ                                   ϵϬн                                     ^ŝŐŶ'ǇƉƐŝĞƐEŽƌƚŚƐŚŽƌĞ                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                                  ϱϯ͘Ϯϲ
,,^   :ƵŶĞϮϬϮϬ                          ZĞŝŵ                     ϭϬͬϮϬͬϮϬϭϵ                                   ϵϬн                                     ƌǇŶ'ĂďƌŝĞů                                      ĚŵŝŶŝƐƚƌĂƚŝǀĞ                                                                                     ϭ͕ϲϱϴ͘ϭϳ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                   ϮͬϭϬͬϮϬϮϬ                                   ϵϬн                                     WƌĞƉ&ĂŶ^ƉŽƌƚƐ                                   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                                                                  ϱϱϱ͘ϬϬ
,,^   :ƵŶĞϮϬϮϬ                          /ŶǀŽŝĐĞ                   ϰͬϯϬͬϮϬϮϬ                                  ϲϬͲϵϬ                                    ,ŽŵĞĞƉŽƚƌĞĚŝƚ^ĞƌǀŝĐĞƐ                        KƉĞƌĂƚŝŽŶƐ                                                                                          ϭϭϲ͘ϯϵ
,,^   DĂǇϮϬϮϬ                           /ŶǀŽŝĐĞ                   ϰͬϮϵͬϮϬϮϬ                                  ϯϬͲϲϬ                                    ĂǀŝƐWƌŽĚƵĐƚƐŽǀŝŶŐƚŽŶ                          KƉĞƌĂƚŝŽŶƐͲĐƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                                                                      ϱϲϱ͘ϰϲ
,,^   DĂǇϮϬϮϬ                           /ŶǀŽŝĐĞ                   ϯͬϮϳͬϮϬϮϬ                                  ϲϬͲϵϬ                                    ^ƚĂƚĞŽĨ>ĞƉƚŽĨŶǀŝƌŽŶŵĞŶƚĂůYƵĂůŝƚǇ         /ŶƐƚƌƵĐƚŝŽŶĂůͲŚĂǌĂƌĚŽƵƐŵĂƚĞƌŝĂůƐůŝĐĞŶƐĞ                                                         ϴϯ͘ϬϬ
,,^   DĂǇϮϬϮϬ                           /ŶǀŽŝĐĞ                   ϰͬϮϱͬϮϬϮϬ                                  ϯϬͲϲϬ                                    ĞĞƌĞƌĞĚŝƚ͕/ŶĐ                                 KƉĞƌĂƚŝŽŶƐͲĞƋƵŝƉŵĞŶƚůĞĂƐĞ                                                                        ϯϲϲ͘Ϯϰ
,,^   DĂǇϮϬϮϬ                           /ŶǀŽŝĐĞ                   ϰͬϯϬͬϮϬϮϬ                                  ϯϬͲϲϬ                                    ^ĐĂŶƚƌŽŶ                                          /ŶƐƚƌƵĐƚŝŽŶĂůͲƚĞƐƚŝŶŐƐƵƉƉůŝĞƐ                                                                    ϵϰϯ͘Ϯϭ
,,^   DĂǇϮϬϮϬ                           /ŶǀŽŝĐĞ                   ϯͬϮϬͬϮϬϮϬ                                  ϲϬͲϵϬ                                    ^ƚĂƌ^ĞƌǀŝĐĞƐ                                     KƉĞƌĂƚŝŽŶƐͲ,sŵĂŝŶƚĞŶĂŶĐĞ                                                                      Ϯ͕ϮϭϬ͘ϬϬ
,,^   DĂǇϮϬϮϬ                           /ŶǀŽŝĐĞ                   ϯͬϮϬͬϮϬϮϬ                                  ϲϬͲϵϬ                                    ^ƚĂƌ^ĞƌǀŝĐĞƐ                                     KƉĞƌĂƚŝŽŶƐͲ,sŵĂŝŶƚĞŶĂŶĐĞ                                                                      ϭ͕ϴϳϯ͘ϯϯ
,,^   DĂǇϮϬϮϬ                           ƌĞĚŝƚĂƌĚ^ƚŵƚ          ϰͬϯϬͬϮϬϮϬ                                  ϯϬͲϲϬ                                    &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ;'ĞŶĞƌĂůhƐĞͿ                /ŶƐƚƌƵĐƚŝŽŶĂů͕ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƉĞƌĂƚŝŽŶƐ                                                          ϵ͕ϵϬϵ͘Ϭϰ
,,^   DĂǇϮϬϮϬ                           ƌĞĚŝƚĂƌĚ^ƚŵƚ          ϰͬϯϬͬϮϬϮϬ                                  ϯϬͲϲϬ                                    &ŝƌƐƚĂŶŬĂŶĚdƌƵƐƚ;'ĂƐĂƌĚͿ                   /ŶƐƚƌƵĐƚŝŽŶĂů͕ĚŵŝŶŝƐƚƌĂƚŝǀĞ͕KƉĞƌĂƚŝŽŶƐ                                                          ϭ͕Ϭϰϲ͘ϲϴ
Z,^   :ƵůǇϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϭϲͬϮϬϮϬ                                   ϵϬн                                     WĂƌĞŶƚƐŽĨZ,^^ƚƵĚĞŶƚƐ                          &ŽŽĚ^ĞƌǀŝĐĞZĞĨƵŵĚƐ                                                                              ϰ͕Ϭϴϭ͘ϭϬ
Z,^   :ƵůǇϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϭϲͬϮϬϮϬ                                   ϵϬн                                     WĂƌĞŶƚƐŽĨZ,^^ƚƵĚĞŶƚƐ                          ŽŽŬƐƚŽƌĞZĞĨƵŶĚƐ                                                                                  ϮϯϬ͘ϬϬ
Z,^   :ƵůǇϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϭϲͬϮϬϮϬ                                   ϵϬн                                     Dƌ͘DŝĐŚĂĞůZĂĨĞĞĚŝĞ                              ZĞŐŝƐƚƌĂƚŝŽŶƌĞĨƵŶĚ                                                                                ϰϬϬ͘ϬϬ
Z,^   :ƵůǇϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϭϲͬϮϬϮϬ                                   ϵϬн                                     DƐ͘^ŚĂŶĚĞůůĞDŽƌŐĂŶ                              ZĞŐŝƐƚƌĂƚŝŶƌĞĨƵŶĚ                                                                                 ϯϱϬ͘ϬϬ
Z,^   :ƵůǇϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϭϲͬϮϬϮϬ                                   ϵϬн                                     DͬD^ƚĞƉŚĞŶ'ƌĞŐŽƌǇ                               ZĞŐŝƐƚƌĂƚŝŽŶƌĞĨƵŶĚ                                                                                ϰϬϬ͘ϬϬ
Z,^   :ƵůǇϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϭϲͬϮϬϮϬ                                   ϵϬн                                     Dƌ͘:ĞƌƌǇdĂǇůŽƌ                                  dƵŝƚŝŽŶŽǀĞƌƉĂǇƌĞĨƵŶĚ                                                                             ϯϬϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϭϮͬϮϬϮϬ                                   ϵϬн                                     ^ĐŽƚĂƌŶĞǁŽůĚ                                    ZĞŝŵďƵƌƐĞĨŝƐŚŝŶŐĐůƵďƐƵƉƉůŝĞƐ                                                                    ϯϲϲ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϰͬϮϭͬϮϬϮϬ                                  ϲϬͲϵϬ                                    Θ>^ĂůĞƐ                                       ,ŽƐƉŝƚĂůŝƐŝŶĨĞĐƚĂŶƚ                                                                              ϭϱϰ͘ϱϴ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϯͬϭϯͬϮϬϮϬ                                    ϵϬн                                     ůůƐƚĂƚĞ^ƵŐĂƌŽǁů                               ^ƵŐĂƌŽǁů^ĐŚŽůĂƌƚŚůĞƚĞĂŶƋƵĞƚͲŽŶĞƚĂďůĞ                                                      ϯϬϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭͬϯϬͬϮϬϮϬ                                    ϵϬн                                     ƌĐŚĚŝŽĐĞƐĞŽĨEK                                 EĞǁĞŵƉůŽǇĞĞĨŝŶŐĞƌƉƌŝŶƚŝŶŐ                                                                       ϰϴ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭͬϯϬͬϮϬϮϬ                                    ϵϬн                                     ƌĐŚĚŝŽĐĞƐĞŽĨEK                                 EĞǁĞŵƉůŽǇĞĞĨŝŶŐĞƌƉƌŝŶƚŝŶŐ                                                                       ϰϴ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϲͬϮϬϮϬ                                    ϵϬн                                     ŚĂĚWŝƚĨŝĞůĚ                                     WĂƌĂĚĞƐĞĐƵƌŝƚǇĚĞƚĂŝůĨŽƌĂŶĚ                                                                   ϲϯϮ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϮͬϮϴͬϮϬϭϵ                                    ϵϬн                                     ŚƌŝƐƚŝĂŶĂƵƚŝƐƚĂ                                ZĞĨƵŶĚĨŽƌƉƵƌĐŚĂƐĞŽĨƚǁŽŵŽƵƚŚƉŝĞĐĞƐ                                                            ϯϴϴ͘ϴϰ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭϮͬϮϰͬϮϬϭϵ                                   ϵϬн                                     ĞƉƚŽĨŚŝůĚƌĞŶ^ĞƌǀŝĐĞƐ                         'ĂƌŶŝƐŚŵĞŶƚŽĨĨŽƌŵĞƌĞŵƉůŽǇĞĞ                                                                    ϱϮ͘ϱϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϰͬϮϱͬϮϬϮϬ                                  ϲϬͲϵϬ                                    ŝƐŝŶ&y                                           ŶƚŝŵŝĐƌŽďŝĂůĂŶĚŝƐŝŶĨĞĐƚŝŽŶ^Ğƌǀ͘                                                               ϳϬϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϱͬϭϲͬϮϬϭϵ                                    ϵϬн                                     ĚĚŝĞ>ĂŐĂƌĚĞ                                     ZĞŝŵďƵƌƐĞŵĞŶƚĨŽƌƐĐŚŽŽůůƵŶĐŚŽǀĞƌƉĂǇ                                                            ϲϱ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϭͬϭϳͬϮϬϮϬ                                   ϵϬн                                     &ĂƚŚĞƌ:ĂĐŽďƵŵŽŶƚĞ                              ŽŶĂƚŝŽŶĨŽƌŵŝŶŝƐƚƌǇƚŽƐƚƵĚĞŶƚƐŝŶϭϮƚŚŐƌĂĚĞ                                                  ϱϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϯͬϲͬϮϬϮϬ                                    ϵϬн                                     'ĂďƌŝĞů&ƵƐĞůŝĞƌ                                  ^ƉĞĂŬĞƌĨŽƌĂŵƉƵƐDŝŶŝƐƚƌǇEŝŐŚƚ                                                                 ϭϱϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϮͬϳͬϮϬϮϬ                                    ϵϬн                                     ,ĂƌƌǇdŚŽŵƉƐŽŶĞŶƚĞƌ                             ŽŶĂƚŝŽŶĨƌŽŵ^ĂůƚůƵď                                                                           ϮϱϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϯͬϭϵͬϮϬϮϬ                                    ϵϬн                                     :ĂǇ,ŽĚŐĞƐ                                        ZĞŝŵďƵƌƐĞŵĞŶƚĨŽƌ>ǆƉĞŶƐĞƐ                                                                    ϭϱ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭϮͬϱͬϮϬϭϵ                                    ϵϬн                                     :ĞĨĨĞƌƐŽŶWĂƌŝƐŚ^ŚĞƌŝĨĨΖƐKĨĨŝĐĞ                 &ŝŶŐĞƌƉƌŝŶƚŝŶŐĨŽƌŶĞǁĞŵƉůŽǇĞĞ                                                                   ϱϰ͘Ϯϱ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϯͬϭϱͬϮϬϭϵ                                    ϵϬн                                     >,^W>                                            WŽǁĞƌůŝĨƚŝŶŐdĞĂŵĞŶƚƌǇĨĞĞƐ                                                                      ϰϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭϭͬϮϬͬϮϬϭϵ                                   ϵϬн                                     Dƌ͘ŽƌDƌƐ͘ĂƌƌǇZŽƐ                             ZĞŝŵďƵƌƐĞĨŽƌƌĚWĂǇŵĞŶƚ                                                                        ϰϭϱ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ              ϯͬϮͬϮϬϮϬ                                   ϵϬн                                     EĞůŶĞƚƵƐŝŶĞƐƐ                                   dĞĐŚŶŽůŽŐǇĨŽƌƐĐŚŽŽůĚĂƚĂďĂƐĞͲDĂƌĐŚ                                                              ϭ͕Ϭϳϯ͘ϱϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ              ϰͬϮͬϮϬϮϬ                                   ϵϬн                                     EĞůŶĞƚƵƐŝŶĞƐƐ                                   dĞĐŚŶŽůŽŐǇĨŽƌƐĐŚŽŽůĚĂƚĂďĂƐĞͲƉƌŝů                                                              ϭ͕Ϭϳϲ͘ϰϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭϮͬϭϮͬϮϬϭϵ                                   ϵϬн                                     KƌĚĞƌŽĨKW^                                     KƌůĞĂŶƐWĂƌŝƐŚ^ĞĐƵƌŝƚǇĨŽƌZĂŝĚĞƌůƵď&ƵŶĐƚŝŽŶ                                                  ϭϲϮ͘ϳϵ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϯͬϭϯͬϮϬϮϬ                                    ϵϬн                                     ZŽĐŬǇĂŶĚĂƌůŽƐΖ                                 ŝŶǀŽŝĐĞĨŽƌϯƉĂŶƐďĂŬĞĚŵĂĐĂŶĚĐŚĞĞƐĞĨŽƌ>ĞŶƚ                                                  ϵϭϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ             ϮͬϮϲͬϮϬϮϬ                                   ϵϬн                                     ZǇĂŶtĞďƌĞ                                        WĂƌĂĚĞ^ĞĐƵƌŝƚǇĞƚĂŝůĨŽƌĂŶĚ                                                                    Ϯϱϲ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭϮͬϱͬϮϬϭϵ                                    ϵϬн                                     ^ŚĞƌǁŝŶtŝůůŝĂŵƐ                                  WĂŝŶƚĨŽƌĂŶĚZŽŽŵ                                                                               ϴϱ͘ϯϳ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϴͬϮϵͬϮϬϭϵ                                    ϵϬн                                     ^ƚĞǀĞZŽƋƵĞƐ                                      ZĞŝŵďƵƌƐĞŵĞŶƚĨŽƌďĂŶĚƐƵƉƉůŝĞƐͲƉĂŝŶƚ                                                             ϯϲ͘ϭϵ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ              ϯͬϮͬϮϬϮϬ                                   ϵϬн                                     ^ǇŶĞƌŐǇůĚŐ͘                                    dĞĐŚŶŝĐŝĂŶƐĞƌǀŝĐĞĨŽƌƐĐŚĞĚƵůĞĐŚĂŶŐĞ                                                             ϮϰϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ              ϯͬϮͬϮϬϮϬ                                   ϵϬн                                     ^ǇŶĞƌŐǇůĚŐ͘                                    dĞĐŚŶŝĐŝĂůƐĞƌǀŝĐĞĚƵĞƚŽdƐƚĂƚůŽĐŬŽƵƚ                                                            ϮϰϬ͘ϬϬ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϵͬϭϮͬϮϬϭϵ                                    ϵϬн                                     dŝŵŽƚŚǇWƌŝŵĞƐ                                    ZĞŝŵďƵƌƐĞŵĞŶƚĨŽƌƐƵƉƉůŝĞƐͲĂŶĚZŽŽŵ                                                              ϭϴ͘Ϭϲ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϱͬϭϲͬϮϬϭϵ                                    ϵϬн                                     tĞŶĚǇ^ŽƐĂ                                        ZĞĨƵŶĚŽĨŽǀĞƌƉĂǇŽŶůƵŶĐŚĂĐĐŽƵŶƚ                                                                ϰϭ͘ϰϱ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϵͬϮϳͬϮϬϭϵ                                    ϵϬн                                     tŝůůŝĂŵ,ƵĚƐŽŶ                                    ŝƉĚƌŝǀĞƌĞŝŵďƵƌƐĞĨŽƌŶŐůŝƐŚ                                                                    ϲ͘ϵϵ
Z,^   :ƵŶĞϮϬϮϬ                          dƌĂĚĞWĂǇĂďůĞ            ϭϬͬϭϭͬϮϬϭϵ                                   ϵϬн                                     ĂĐŚĂƌǇ'ŽƌƌĞƐ                                    tŽƌŬŝŶŐ'ĂŵĞůŽĐŬĂƚZƵŵŵĞůƌDĂƌƚŝŶ'ĂŵĞ                                                        ϱϬ͘ϬϬ
Z,^   DĂǇϮϬϮϬ                           dƌĂĚĞWĂǇĂďůĞ             ϯͬϯϭͬϮϬϮϬ                                  ϲϬͲϵϬ                                    ,ĂŚŶŶƚĞƌƉƌŝƐĞƐ͕/ŶĐ͘                             ϯͬϯϭͬϮϬ/Ŷǀ͘ϲϳϮϭͲϲϱϵϰϮŶĞǁŵĂŝŶĐŽƵƌƚďĂƐŬĞƚďĂůůƵŶŝƚƐ͕                                        ϭϯ͕ϲϬϭ͘ϰϰ
Z,^   DĂǇϮϬϮϬ                           dƌĂĚĞWĂǇĂďůĞ             ϮͬϮϳͬϮϬϮϬ                                   ϵϬн                                     Θ<>^ĂůĞƐ͕/ŶĐ͘                                &ĞďϮϳ͕ϮϬϮϬ/Ŷǀ͘ϳϬϴϵϲϴϴƵƐƚŽĚŝĂů^ƵƉƉůŝĞƐ                                                         ϭϭϵ͘ϲϴ
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Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                     ϮͬϮϲͬϮϬϮϬ                 ϵϬн     ĞŶŐĂŐĞůĞĂƌŶŝŶŐ                                 ϮͬϮϲͬϮϬ/Ŷǀ͘ϳϬϬϯϵϯϵϵĨŽƌ>ŝďƌĂƌǇDĞĚŝĂ^ƵƉƉůŝĞƐ             ϭ͕ϬϬϱ͘ϰϴ
Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                     ϯͬϯϭͬϮϬϮϬ                ϲϬͲϵϬ    'ƌĞĞŶĐƌĞƐŶƚƌǇůď                            ϬϯͬϯϭͬϮϬ/Ŷǀ͘ϮϬϯϵϭdĞŶŶŝƐŽƵƌƚZĞŶƚĂů                       ϯϬϬ͘ϬϬ
Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                     ϮͬϮϬͬϮϬϮϬ                 ϵϬн     'ƌƵŶĚŵĂŶŶΖƐƚŚŽ                               ϮͬϮϬͬϮϬ/Ŷǀ͘ϳϴϳϳϱͲϬϬĨŽƌĂƐĞďĂůůWƌĂĐƚŝĐĞ:ĞƌƐĞǇƐĨŽƌsĂƌ  ϴϴϮ͘ϴϮ
Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                     ϰͬϮϰͬϮϬϮϬ                ϯϬͲϲϬ    'ƌƵŶĚŵĂŶŶΖƐƚŚŽ                               ϰͬϮϰͬϮϬ/Ŷǀ͘ϳϴϴϵϱͲϬϬƵƐƚŽŵǆƉƌĞƐƐĂƐĞďĂůůĂƉƐ           ϭ͕ϲϵϬ͘ϰϳ
Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                      ϮͬϭͬϮϬϮϬ                 ϵϬн     KƌƚŚŽƉĞĚŝĐΘ^ƉŽƌƚƐ                              &ĞďƌƵĂƌǇϮϬϮϬ/ŶǀŽŝĐĞĨŽƌdƌĂŝŶĞƌǆƉĞŶƐĞƐ͖/                 ϱϰϯ͘Ϭϳ
Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                     ϮͬϮϬͬϮϬϮϬ                 ϵϬн     WĞƌƌĞƚΖƐ                                         ϮͬϮϬͬϮϬ/Ŷǀ͘ϴϰϴϵϱĨŽƌdĞŶŶŝƐdĞĂŵ^ŚŝƌƚƐ                      ϭϮϱ͘ϱϴ
Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                     ϯͬϮϳͬϮϬϮϬ                ϲϬͲϵϬ    ^ƚĂƚĞŽĨ>Y                                  ϯͬϮϳͬϮϬ/Ŷǀ͘ϲϵϴϯϯϳŶŶƵĂů&ĞĞ,ĂǌtĂƐƚĞ,t'ĞŶĞƌĂƚŽƌ  ϴϯ͘ϬϬ
Z,^    DĂǇϮϬϮϬ      dƌĂĚĞWĂǇĂďůĞ                                     ϰͬϮϴͬϮϬϮϬ                ϯϬͲϲϬ    tĞƐͲWĞƚ͕ŝŶĐ͘                                    ϬϰͬϮϴͬϮϬ/Ŷǀ͘ϮϬϮϬϬϮϭϳϴĨŽƌϮϳŐĂůůŽŶƐEŽŶͲƚƚŚĂŶŽů          ϰϯ͘ϮϬ
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϯͬϱͬϮϬϮϬ                 ϵϬн     ^^ǇƐƚĞŵƐ                                      ZĞƉůĂĐĞŵĞŶƚĂƚƚĞƌŝĞƐ                                           ϯϳϭ͘Ϭϰ
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϯͬϱͬϮϬϮϬ                 ϵϬн     ƵďďĂ'ƵŵƉ^ŚƌŝŵƉŽŵƉĂŶǇ                        ĂŶĚdƌŝƉ                                                     ϭ͕ϬϮϰ͘ϴϬ
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϮͬϰͬϮϬϮϬ                 ϵϬн     ŚĂƌůĂĂůƚŽŶ                                    ^ƵƉƉůŝĞƐĨŽƌ:ĂŵďĂůĂǇĂŝŶŶĞƌ                                   Ϯϭ͘ϱϱ
                                                                                                                                                                                                                                                     
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϮͬϯͬϮϬϮϬ                 ϵϬн     Ăƌů>ĞŶŶŝĞ                                      KĨĨŝĐŝĂůĨŽƌĂƐŬĞƚďĂůů'ĂŵĞ                                    ϭϬϬ͘ϬϬ
                                                                                                                                                                                                                                                   
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                     ϮͬϮϭͬϮϬϮϬ                 ϵϬн     &ŝƌƐƚ>ŽƵŝƐŝĂŶĂͲDŝƐƐŝƐƐŝƉƉŝ͕/ŶĐ͘                ZŽďŽƚŝĐƐŚĂŵƉŝŽŶƐŚŝƉZĞŐŝƐƚƌĂƚŝŽŶ                              ϮϱϬ͘ϬϬ
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϯͬϵͬϮϬϮϬ                 ϵϬн     ,ĂƌĚZŽĐŬĂĨĞKƌůĂŶĚŽ                           ĂŶĚdƌŝƉ                                                     ϭ͕ϳϳϳ͘ϬϮ
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϭͬϭͬϮϬϮϬ                 ϵϬн     >ŽŐŽǆƉƌĞƐƐ                                     DƵƐŝĐDŝŶŝƐƚƌǇ>ŽŐŽ͕ĂƌĚŝŐĂŶ                                  ϮϮϰ͘ϵϬ
                                                                                                                                                                                                                                                   
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                     ϵͬϭϰͬϮϬϭϵ                 ϵϬн     ^ŵĂƌƚƉƉůĞDĞĚŝĂ                                ŽŽŬƐĨŽƌ>ŝďƌĂƌǇ                                               ϭϳϵ͘ϳϬ
^,^    :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϯͬϱͬϮϬϮϬ                 ϵϬн     hŶŝǀĞƌƐĂůŝƚǇĞǀĞůŽƉŵĞŶƚWĂƌƚŶĞƌƐ              ĂŶĚdƌŝƉ                                                     ϭ͕ϭϬϱ͘ϵϰ
^,^    DĂǇϮϬϮϬ      ŝůů                                             ϭͬϭϱͬϮϬϮϬ                  ϵϬн     ǀĞDĂƌŝĂWƌĞƐƐ                                  ŝďůĞƐ                                                      ϲϴ͘ϳϳ
^,^    DĂǇϮϬϮϬ      ŝůů                                             ϯͬϭϰͬϮϬϮϬ                 ϯϬͲϲϬ    ŚƵĐŬǁĂŐŽŶŚĂƌƚĞƌƐ͕/ŶĐ͘                        dƌĂŶƐƉŽƌƚĂƚŝŽŶ                                              ϵϯϬ͘ϬϬ
^,^    DĂǇϮϬϮϬ      ŝůů                                             ϯͬϭϰͬϮϬϮϬ                 ϯϬͲϲϬ    ŚƵĐŬǁĂŐŽŶŚĂƌƚĞƌƐ͕/ŶĐ͘                        dƌĂŶƐƉŽƌƚĂƚŝŽŶ                                              ϭϴϬ͘ϬϬ
^,^    DĂǇϮϬϮϬ      ŝůů                                             ϰͬϮϵͬϮϬϮϬ                 ϯϬͲϲϬ    <d'ƌĂƉŚŝĐƐ                                      ĂŶŶĞƌƐĨŽƌ^ŚƌŝŵƉ&ĞƐƚ                                     ϯϬϱ͘ϳϲ
^,^    DĂǇϮϬϮϬ      ŝůů                                             ϰͬϮϵͬϮϬϮϬ                 ϯϬͲϲϬ    <d'ƌĂƉŚŝĐƐ                                      ĂŶŶĞƌƐĨŽƌ^ŚƌŝŵƉ&ĞƐƚ                                     ϭ͕Ϯϲϯ͘ϵϵ
^,^    DĂǇϮϬϮϬ      ŝůů                                             ϰͬϮϴͬϮϬϮϬ                 ϯϬͲϲϬ    >ŽďďΖƐ,ŽƌƚŝĐƵůƚƵƌĂů^ƉƌĂǇĂƐƚ͕/ŶĐ͘            &ŝĞůĚ^ƉƌĂǇ                                                 ϳϲϬ͘ϬϬ
W:W,^   :ƵůǇϮϬϮϬ     dƵƚŝŽŶZĞĨƵŶĚ                                      ϯͬϮͬϮϬϮϬ                ϬͲϯϬ     >ĞƚĂ^ůƵƉŝŬ                                      ^ƚƵĚĞŶƚǁͬĚƉƌŝŽƌƚŽƐƚĂƌƚŽĨƐĐŚŽŽů                         ϵ͕ϲϬϬ͘ϬϬ
W:W,^   :ƵůǇϮϬϮϬ     ZĞŐŝƐƚƌĂƚŝŽŶZĞĨƵŶĚ                                ϯͬϮͬϮϬϮϬ                ϬͲϯϬ     :ĞŶŶǇ^ŵŝƚŚ                                      ^ƚƵĚĞŶƚǁͬĚƉƌŝŽƌƚŽƐƚĂƌƚŽĨƐĐŚŽŽů                          ϯϱϬ͘ϬϬ
W:W,^   :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                     ϭͬϭϵͬϮϬϮϬ                 ϵϬн     ^^ƵŵŵĞƌĂŵƉƐ                                 ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϵϳϱ͘ϬϬ
W:W,^   :ƵŶĞϮϬϮϬ     ǆƉĞŶƐĞZĞŝŵď                                     ϰͬϯͬϮϬϭϵ                 ϵϬн     ƵƚƵƌĂ͕'ŝŶĂ                                     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲZĞŝŵďƵƌƐĞŵĞŶƚdŽƵĐŚŽĨůĂƐƐƐƚƵĚĞŶƚ  ϭϴ͘ϲϯ
W:W,^   :ƵŶĞϮϬϮϬ     ǆƉĞŶƐĞZĞŝŵď                                    ϵͬϭϵͬϮϬϭϵ                 ϵϬн     ĞƌŐĞƌŽŶ͕:ŽŚŶ                                   ĚŵŝŶŝƐƚƌĂƚŝǀĞͲDĞĂůZĞŝŵďƵƌƐĞŵĞŶƚͲďĞƚǁĞĞŶƚǁŽĞǀĞŶƚƐ  ϭϴ͘ϰϯ
W:W,^   :ƵŶĞϮϬϮϬ     ^ĞƌǀŝĐĞWĂǇĂďůĞ                                  ϭϭͬϭϱͬϮϬϭϵ                 ϵϬн     ĂƐďŽƌŶ͕dƌĂĐǇ                                   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϮϬϬ͘ϬϬ
W:W,^   :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                     ϮͬϭϮͬϮϬϮϬ                 ϵϬн     ^ŽƵƚŚĞĂƐƚ>ŽƵŝƐŝĂŶĂŝƐƚƌŝĐƚ>ŝƚĞƌĂƌǇZĂůůǇ      ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϲϲ͘ϬϬ
W:W,^   :ƵŶĞϮϬϮϬ     ^ƚŝƉĞŶĚ                                           ϮͬϮϰͬϮϬϮϬ                 ϵϬн     >^hWŽǁĞƌůŝĨƚŝŶŐůƵďͬdĞĂŵ                     ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϯϬϬ͘ϬϬ
W:W,^   :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϯͬϰͬϮϬϮϬ                 ϵϬн     ^>hͲ>ĂŶŐƵĂŐĞƐĂŶĚƵůƚƵƌĞ                        ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϰϱ͘ϬϬ
W:W,^   :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϯͬϭͬϮϬϮϬ                 ϵϬн     ^ĂůĂĚŝŶŽ͕ZĂŶĚǇ                                  ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐͲZĞŝŵďƵƌƐĞŵĞŶƚ                            ϲϲ͘ϳϵ
W:W,^   :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                      ϮͬϲͬϮϬϮϬ                 ϵϬн     ĂůǀĂƌǇĂƉƚŝƐƚŚƵƌĐŚŽĨ^ŚƌĞǀĞƉŽƌƚ>ŽƵŝƐŝĂŶĂ   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϭϳ͘ϲϬ
W:W,^   :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                     ϮͬϮϴͬϮϬϮϬ                 ϵϬн     >,^W>                                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                           ϭ͕Ϯϲϱ͘ϬϬ
W:W,^   :ƵŶĞϮϬϮϬ     dƌĂĚĞWĂǇĂďůĞ                                     ϮͬϮϴͬϮϬϮϬ                 ϵϬн     >,^W>                                           ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                           ϭ͕ϲϴϵ͘ϱϬ
W:W,^   DĂǇϮϬϮϬ      KƉĞƌĂƚŝŽŶƐĂŶĚDĂŝŶƚĞŶĂŶĐĞŽĨWůĂŶƚ               ϮͬϮϴͬϮϬϮϬ                 ϵϬн     ^ĞƌƵŶƚŝŶĞZĞĨƌŝŐĞƌĂƚŝŽŶ                          ,s^ĞƌǀŝĐĞ                                                 ϯ͕ϱϱϴ͘ϵϵ
W:W,^   DĂǇϮϬϮϬ      KƚŚĞƌŽƐƚƐ                         ƚĐůŽƐĞĚĂƚĞϱͬϮϯͬϮϬ͖ƉƌĞDĂǇϭĐŚĂ   ϯϬͲϲϬ     ŚĂƐĞĂƌĚŵĞŵďĞƌ^ĞƌǀŝĐĞƐ                        ƉƌĞDĂǇϭĐŚƌŐƐ                                               ϱϬϵ͘ϳϰ
W:W,^   DĂǇϮϬϮϬ      ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ                                  ϰͬϮϴͬϮϬϮϬ                ϬͲϯϬ     WĂŵĞůĂ>ŝƐŽƚƚĂ                                   ƐƚƵĚĞŶƚƐĞƌǀŝĐĞƐƌĞŝŵď                                        ϭϰϵ͘ϱϬ
W:W,^   DĂǇϮϬϮϬ      KƚŚĞƌŽƐƚƐ                                       ϭϭͬϴͬϮϬϭϵ                 ϵϬн     ŝůůDĂƌƚŝŶĞǌ                                   tŝŶŶĞƌ^ŽĐĐĞƌZĂĨĨůĞͲƐƉůŝƚƚǁŽƉĞŽƉůĞͲKs/ϭϵ           ϰ͕ϱϲϱ͘ϬϬ
W:W,^   DĂǇϮϬϮϬ      KƚŚĞƌŽƐƚƐ                                       ϭϭͬϴͬϮϬϭϵ                 ϵϬн     >ĞƐƚĞƌ^ĐŚĞůŝŶŐĞƌ                              tŝŶŶĞƌ^ŽĐĐĞƌZĂĨĨůĞͲƐƉůŝƚƚǁŽƉĞŽƉůĞͲKs/ϭϵ           ϰ͕ϱϲϱ͘ϬϬ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                             ϵͬϭϬͬϮϬϭϵ                 ϵϬн     ΘDŶƚĞƌƉƌŝƐĞƐ                                dŽsŽŝĚŬηϮϯϭϲϳƚŽΘDŶƚĞƌƉƌŝƐĞƐϵͬϭϬͬϭϵ                  ϴϯ͘ϵϵ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                            ϭϬͬϮϯͬϮϬϭϵ                 ϵϬн     ĂƐƚ^ƚ͘:ŽŚŶ,ŝŐŚ^ĐŚŽŽů                        dŽsŽŝĚŬηϮϯϯϱϭƚŽĂƐƚ^ƚ͘:ŽŚŶ,ŝŐŚ^ĐŚŽŽůϭϬͬϮϯͬϭϵ         ϱϬ͘ϬϬ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                             ϭϬͬϯͬϮϬϭϵ                 ϵϬн     ,ĂŚŶŶƚĞƌƉƌŝƐĞƐ͕/ŶĐ͘                           dŽsŽŝĚŬηϮϯϮϮϳƚŽ,ĂŚŶŶƚĞƌƉƌŝƐĞƐϭϬͬϬϯͬϭϵ                  ϭϮϬ͘ϳϯ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                            ϭϭͬϮϮͬϮϬϭϵ                 ϵϬн     /ƌŝƐ,ĞŶƌǇ                                       dŽsŽŝĚŬηϮϯϱϭϭƚŽϭϭͬϮϮͬϭϵ                                  ϵ͘ϳϱ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                            ϭϭͬϮϵͬϮϬϭϵ                 ϵϬн     :ŽƐŚƵĂDĂƐƚĞƌƐ                                   dŽsŽŝĚŬηϮϯϱϯϬƚŽϭϭͬϮϵͬϭϵ                                  ϭϰϬ͘ϬϬ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                              ϮͬϳͬϮϬϮϬ                 ϵϬн     >ƵƚĐŚĞƌ,ŝŐŚ^ĐŚŽŽů                              dŽsŽŝĚŬηϮϯϳϵϭƚŽ>ƵƚĐŚĞƌ,ŝŐŚ^ĐŚŽŽůϮͬϬϳͬϮϬ                ϭϬϬ͘ϬϬ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                            ϭϭͬϭϱͬϮϬϭϵ                 ϵϬн     DŝĐŚĞůůĞ:ĞŶƐĞŶ                                  dŽsŽŝĚŬηϮϯϰϲϮƚŽϭϭͬϭϱͬϭϵ                                  ϮϯϮ͘ϬϬ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                              ϰͬϳͬϮϬϭϵ                 ϵϬн     WĞŐŐǇŽƵĐĞƚ                                     dŽsŽŝĚŬηϮϮϴϬϵƚŽϰͬϭϳͬϭϵ                                   ϳϮ͘ϯϲ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                              ϮͬϳͬϮϬϮϬ                 ϵϬн     ^ƚ͘:ŽŚŶWĂƌŝƐŚ^ĐŚŽŽůŽĂƌĚ                     dŽsŽŝĚŬηϮϯϵϬϵƚŽ^ƚ͘:ŽŚŶWĂƌŝƐŚ^ĐŚŽŽůŽĂƌĚ              ϮϬϳ͘ϮϬ
^^    :ƵŶĞϮϬϮϬ     dƌĂĚĞ                                              ϮͬϳͬϮϬϮϬ                 ϵϬн     ^ƚ͘:ŽŚŶdŚĞĂƚƌĞ                                 dŽsŽŝĚŬηϮϯϵϬϲƚŽ^ƚ͘:ŽŚŶdŚĞĂƚƌĞϮͬϬϳͬϮϬ                 Ϯ͕ϰϬϬ͘ϬϬ
^^    DĂǇϮϬϮϬ      dƌĂĚĞ                                             ϯͬϭϭͬϮϬϮϬ               ϲϬͲϵϬ   dƌŝͲWĂƌŝƐŚdƌŽƉŚŝĞƐ                              /Ŷǀ͘ηϰϲϴϮϮ^ƚƵĚĞŶƚƚĂŐƐ͕ƉŝŶďĂĐŬƐĚƚĚϯͬϭϭͬϮϬ               ϯϭ͘ϵϲ
^^    DĂǇϮϬϮϬ      dƌĂĚĞ                                             ϯͬϭϯͬϮϬϮϬ               ϲϬͲϵϬ   ƌƚŚƵƌΖƐƵƐ^ĞƌǀŝĐĞ͕>>                        /ŶǀηϭϵϰϯϴϰƵƐĨŽƌďĂƐĞďĂůůĚƚĚϯͬϭϯͬϮϬ                     ϰϳϱ͘ϬϬ
^D^^    :ƵŶĞϮϬϮϬ     ŵƉůŽǇĞĞZĞŝŵď                                      ƵŐͲϭϵ                 ϬͲϯϬ     ŽƵƌƚŶĞǇDĂŚĞƵ                                   ůĂƐƐƌŽŽŵ^ƵƉƉůŝĞƐ                                              ϭϯϬ͘ϰϰ
                                                                                                                                                                                                                                                   
^D^^    :ƵŶĞϮϬϮϬ     KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                    :ƵŶͲϭϵ                 ϬͲϯϬ     :ŽƐĞƉŚ,ĂƵƚŚ                                     KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                              Ϯ͕Ϭϰϳ͘ϴϳ
^D^^    :ƵŶĞϮϬϮϬ     KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                    :ƵŶͲϭϵ                 ϬͲϯϬ     :ĞƌŽŵĞ'ƌĂŶĂƚŽ                                   KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                              Ϯ͕ϱϰϳ͘ϱϬ
^D^^    :ƵŶĞϮϬϮϬ     KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                    :ƵŶͲϭϵ                 ϬͲϯϬ     /ƌĞŶĞĞůůĨůŽǁĞƌ                                 KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                               ϮϱϬ͘ϬϬ
^D^^    :ƵŶĞϮϬϮϬ     KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                    :ƵŶͲϭϵ                 ϬͲϯϬ     dŝŵŽƚŚǇŚĂƌůĞƐ                                  KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                              Ϯ͕ϳϮϰ͘ϱϬ
^D^^    DĂǇϮϬϮϬ      ĞŵƉůŽǇĞĞƌĞŝŵď                                     ϳͬϭͬϮϬϭϵ                ϬͲϯϬ     <ĞůůǇKƐĞƌ                                       ůĂƐƐƌŽŽŵ^ƵƉƉůŝĞƐ                                            ϭϬϬ͘ϭϵ
^D^^    :ƵůǇϮϬϮϬ     KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                    :ƵŶͲϭϵ                ϯϬͲϲϬ     dŝŵŽƚŚǇŚĂƌůĞƐ                                  KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                               ϮϭϬ͘ϬϬ
^D^^    :ƵůǇϮϬϮϬ     KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                    :ƵŶͲϭϵ                 ϬͲϯϬ     DĂƌŝĂŶsŝŐŽ                                      KǀĞƌƉĂŝĚdƵŝƚŝŽŶ                                               ϯϰϴ͘ϳϱ
^D^^    :ƵůǇϮϬϮϬ     ŵƉůŽǇĞĞZĞŝŵďƵƌƐĞŵĞŶƚ                              &ĞďͲϮϬ                 ϬͲϯϬ     ĂƐƐĂŶĚƌĂWƌƵĚŚŽŵŵĞ                              ƵƐƚŽĚŝĂůƐƵƉƉůŝĞƐ                                             ϭϰϱ͘ϰϰ
^D^^    :ƵůǇϮϬϮϬ     sĞŶĚŽƌ                                              DĂƌͲϮϬ                 ϬͲϯϬ     zĞĂƌZŽƵŶĚ,ĞĂƚŝŶŐΘ                          DŝŶŽƌDĂŝŶƚWůĂŶƚ                                              ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ^ǇĚŶĞǇ^ŝŵŽŶƚŽŶ                                  ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ƌŝĐŚ^ŚŽĨƐƚĂŚ                                   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     :ŽŚŶŶǇWĂůŵĞƌ                                    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     KǁĞŶDĞŶĚĞƐ                                      ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ŵŝůǇDĐZĂĞ                                      ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ŵĂŶĚĂ>ŽƌŝŽ                                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     EŝŶĂ>ŽŵďĂƌĚ                                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ůůŝĞ:ƵƵ                                        ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ::ĞĂŶĨƌĞĂƵ                                      ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     :ĂĐůǇŶ,ŽĚŐĞƐ                                    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     :ĂĐŬƐŽŶ,ĂĚƐŬǇ                                   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     <'ĂƌĐŝĂ                                         ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     &ĂůŬĞŶƐƚĞŝŶ                                    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ^ǀĞƌƐŐĞƌĚ                                      ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ĂůůŝĞŽǆ                                       ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ŚƌŝƐƚŝŶĂŚŝŵĂ                                  ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ŽůĞĂƌƚŝĞƌ                                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     >ŝůĂƌŽǁŶ                                       ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ĞĂƵŵŽŶƚ                                         ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ĂǇĚĞŶƌŶŽůĚ                                    ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ƚŚĂŶtŝůůŝĂŵƐ                                   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     DĂƌŝŽŶ^ĐŽƚƚ                                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     :ĞŶŶŝŶŐƐ^ĐŽƚƚ                                   ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     /ĂŶ>ǇŽŶƐ                                        ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     >ŝďďǇ>ǇŽŶƐ                                      ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     :ŝĐŬĞŶƐ                                        ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ĞůůĂƌŶŽůĚ                                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     DĂůůŽƌǇƌůƚ                                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     >ĞǇƚŽŶ^ŵŝƚŚ                                     ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     dƌŝƐƚĂŶdƌĞƉĂŐŶŝĞƌ                               ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ^ĂŶƚŝĂŐŽsŝůůĞŐĂƐ                                ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϭϮ͘ϱϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     ůůĂ,ĂŵŵĞƌ                                      ^ƚƵĚĞŶƚ^ĞƌǀŝĐĞƐ/ŶĐŽŵĞdƌĂŶƐƉŽƌƚĂƚŝŽŶ͕ZĞĨƵŶĚϰƚŚYƚƌƵƐ& ϮϬϬ͘ϬϬ
^^     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϲͬϮϬϮϬ                 ϵϬн     DŝŬĂĞůĂ&ŽƌĚ                                     ŐĞŶĐǇͲůƵŵŶĂĞ͕ZĞĨƵŶĚůƵŵ>ƵŶĐŚŽƵŐŚƚϮdŝĐŬĞƚƐůƌĞĂĚǇ Ϯϱ͘ϳϳ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϯϬͬϮϬ                ϯϬͲϲϬ     ,ŽŵĞĂŶŬ͕E                                    KƉĞƌĂƚŝŽŶƐΘDĂŝŶƚĞŶĂŶĐĞWůĂŶƚ                               ϭϬϯ͘Ϯϳ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                      ϮͬϱͬϮϬ                  ϵϬн     Θ>^ĂůĞƐ͕/ŶĐ                                   ŐĞŶĐǇůƵďƌĞŝŵďƵƌƐĞŵĞŶƚ                                    ϭϳϭ͘ϱϭ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                   ϬϰͬϭϳͬϮϬϭϴ                 ϵϬн     ůĞǆĂŶĚƌĂŽŶĚĞsŝůůĞ                           dƵŝƚŝŽŶKǀĞƌƉĂǇŵĞŶƚZĞĨƵŶĚ                                     ϯϬϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϮϯͬϮϬ                ϯϬͲϲϬ     ŶŶŝĞtŚŝƚĂŬĞƌ                                   ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϰϭ͘ϭϴ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                   ϬϯͬϬϭͬϮϬϮϬ                 ϵϬн     ĞƌƚƵĐĐŝ͕WĞƚĞƌ                                ZĞŝŵ>WŚǇƐKƵƚƐƚĂŶĚŝŶŐŚηϭϲϰϯϱ^ƚŽƉWŵƚ                         ϯϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϲͬϭͬϮϬϭϴ                 ϵϬн     ĞƐŝƌĞĞ,ŽůƚŽŶ                                   dƵŝƚŝŽŶKǀĞƌƉĂǇŵĞŶƚZĞĨƵŶĚ                                     ϳϬϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                   ϬϮͬϬϭͬϮϬϮϬ                 ϵϬн     &ŽŶƚĂŝŶĞďůĞĂƵ,ŝŐŚ^ĐŚŽŽů                        KƵƚƐƚĂŶĚŝŶŐŚηϭϲϯϮϳ^ƚŽƉWŵƚ^dŽƵƌŶ                            ϭϮϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                      ϰͬϳͬϮϬ                ϯϬͲϲϬ     ,ŽŵĞĂŶŬ͕E                                    ƌĞŝŵďƵƌƐĞŵĞŶƚ                                             ϭϬϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                      ϰͬϰͬϮϬ                ϯϬͲϲϬ     ,ŽŵĞĂŶŬ͕E                                    /ŶƐƚƌƵĐƚŝŽŶĂůǆƉ                                             ϴϭ͘ϰϵ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϭϰͬϮϬ                ϯϬͲϲϬ     :ĂͲZŽǇǆƚĞƌŵŝŶĂƚŝŶŐ                             ƌĞŝŵďƵƌƐĞŵĞŶƚ                                             ϭϴϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                   ϬϮͬϬϭͬϮϬϮϬ                 ϵϬн     <ĞŶŶǇ,ƵƐƐĞƌ                                     KƵƚƐƚĂŶĚŝŶŐŚηϭϲϯϬϱ^ƚŽƉWŵƚZĞĨ                                ϭϮϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϬϰͬϯϬͬϮϬ                ϲϬͲϵϬ    DĞƐĂůĂŝŶŽŶƐƵůƚŝŶŐ'ƌŽƵƉ͕>>                   KƉĞƌĂƚŝŽŶƐĂŶĚWůĂŶƚ͕ƉƌŽŶƚƌĂĐƚĞĚ                         ϰ͕ϯϴϳ͘ϱϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϯͬϬϭͬϮϬ                  ϵϬн     DŝƌŝĂŵ^tǇďůĞ                                   ƵĞƚŽ^ĐŚŽŽůĂĨĞƚĞƌŝĂ^ĞƌǀŝĐĞƐ                             ϭϵϰ͘ϳϵ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϲͬϭͬϮϬϭϳ                 ϵϬн     KůŝǀŝĞƌ:ĂĐŽďƐ                                   dƵŝƚŝŽŶKǀĞƌƉĂǇŵĞŶƚZĞĨƵŶĚ                                     ϳϬϬ͘ϬϬ
^^     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                               ƵŐϮϬϭϵͲDĂƌϮϬϮϬ              ϵϬн     ^ĐŚŽŽů&ŽŽĚĂŶĚEƵƚƌŝƚŝŽŶ                        ^ƚƵĚĞŶƚ>ƵŶĐŚWǇŵƚƐĚƵĞ                                      ϭ͕ϱϮϬ͘ϴϬ
^^     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϯϬͬϮϬ                ϯϬͲϲϬ     tĂŐŶĞƌΖƐ>ĂŶĚƐĐĂƉŝŶŐ>>                         KƉĞƌĂƚŝŽŶƐΘDĂŝŶƚĞŶĂŶĐĞWůĂŶƚ                                ϲϬϬ͘ϬϬ
^^     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                      ϰͬϰͬϮϬ                ϯϬͲϲϬ     'ƵůĨŽĂƐƚKĨĨŝĐĞWƌŽĚƵĐƚƐ                       /ŶƐƚƌƵĐƚŝŽŶĂůǆƉ                                             ϮϬ͘ϬϮ
^^     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϮϯͬϮϬ                ϯϬͲϲϬ     ,ĞƌĨĨ:ŽŶĞƐ/ŶĐ                                  ^ƚƵĚĞŶƚĐƚŝǀŝƚŝĞƐ                                            ϲϭ͘ϲϴ
^^     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                      ϮͬϱͬϮϬ                  ϵϬн     :ĞŶŶŝĨĞƌdŚŝďŽĚĞĂƵǆ                              ŐĞŶĐǇůƵďƌĞŝŵďƵƌƐĞŵĞŶƚ                                     ϱϳ͘Ϭϳ
^^     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϯͬϬϭͬϮϬ                  ϵϬн     ^ĐŚŽŽů&ŽŽĚĂŶĚEƵƚƌŝƚŝŽŶ                        ƵĞƚŽ^ĐŚŽŽůĂĨĞƚĞƌŝĂ^ĞƌǀŝĐĞƐ                              ϵϲ͘ϳϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϮϭͬϮϬϮϬ                 ϵϬн     /                                              /dYh/WDEd                                                  ϰϱϰ͘Ϯϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     <dEs/ZKEDEd>^Zs/^/E͘                  ZW/Z^ΘD/EdEE                                         Ϯϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     >W,d,                                       sZd/^/E'                                                   ϳϭϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϭϲͬϮϬϮϬ                 ϵϬн     DZ/Ζ^^t/DD/E'WKK>K                       KEdZd^Zs/                                           ϭ͕ϵϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϭϰͬϮϬϮϬ                 ϵϬн     WW>/E͘                                       /dYh/WDEd                                                 ϭ͕ϳϳϵ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϲͬϮϬϮϬ                 ϵϬн     WW>/E͘                                       /dYh/WDEd                                                  ϭϵ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϮͬϮϬϮϬ                 ϵϬн     WW>/E͘                                       /dYh/WDEd                                                  Ϯϭϭ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      d,>d/>'h                                               ϯϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϮͬϮϬϮϬ                 ϵϬн     E</d,K                                   </d,E&KKͲZdZd^                                      ϭ͕ϰϱϰ͘ϴϵ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϮͬϮϬϮϬ                 ϵϬн     E</d,K                                   </d,E&KKͲZdZd^                                       ϰϳ͘ϳϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     E</d,K                                   </d,E&KKͲZdZd^                                       ϯϲϴ͘ϭϴ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      d,>d/>'h                                               ϳϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϯͬϵͬϮϬϮϬ                 ϵϬн                                                      d,>d/>'h                                               ϵϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     ZKtEZ/DZ<d/E'                             sZd/^/E'                                                   ϰϯϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϯͬϭͬϮϬϮϬ                 ϵϬн     &/''^KDWEz/E                            >dZKE/ZKZ^                                            ϵϱϵ͘ϱϰ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϰͬϮϬϮϬ                 ϵϬн     >hΖ^Kdd'dZ/E'                        DZZ/'WZWZd/KE                                          ϱϱϴ͘ϯϯ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϰͬϮϬϮϬ                 ϵϬн     >hΖ^Kdd'dZ/E'                        DZZ/'WZWZd/KE                                          ϲϬϴ͘ϯϯ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     ĂŵďĂƐůĞĐƚƌŝĐ/ŶĐ͘                             ZW/Z^ΘD/EdEE                                         Ϯϱϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϯϭͬϮϬϮϬ                 ϵϬн     W/d>/dzWZ^^>>                           sZd/^/E'                                                   ϯϭϱ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                   ϭϭͬϮϭͬϮϬϭϵ                 ϵϬн     d,K>/,Z/d/^                               KE^h>dEd&^                                               ϳϲ͘ϯϴ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϮϴͬϮϬϮϬ                 ϵϬн     t'KsZEDEd/E                               /dYh/WDEd                                                  ϲϰϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϮϵͬϮϬϮϬ                 ϵϬн     t'KsZEDEd/E                               /dYh/WDEd                                                 ϭ͕ϮϵϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϮϵͬϮϬϮϬ                 ϵϬн     t'KsZEDEd/E                               /dYh/WDEd                                                 ϭ͕ϵϯϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϮϳͬϮϬϮϬ                 ϵϬн     ,D^Z,                                       ZW/Z^ΘD/EdEE                                         ϯϯϰ͘Ϯϲ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      d,>d/>'h                                               Ϯϰϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϮͬϮϬϮϬ                 ϵϬн                                                      d,>d/>'h                                               ϲϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϭͬϮϬϮϬ                 ϵϬн     ,hZ,^hWW>z,Kh^                              K&&/^hWW>/^                                               ϮϬ͘ϴϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϭͬϮϬϮϬ                 ϵϬн     ,hZ,^hWW>z,Kh^                              ^hWW>/^ͲZdZd^                                           ϭϴϰ͘Ϯϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     /Zh/dZ>>                                   KEdZd^Zs/                                           ϲ͕ϳϰϱ͘Ϭϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     /Zh/dZ>>                                   KEdZd^Zs/                                            ϯϯϯ͘ϰϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     /Zh/dZ>>                                   KEdZd^Zs/                                            ϭϭ͘ϳϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϰͬϮϬϮϬ                 ϵϬн     >Z/KE,Z>                                   sZd/^/E'                                                   ϵϳϱ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϭͬϮϬϮϬ                 ϵϬн     KZsh^K&EtKZ>E^͕>>                       KEdZd^Zs/                                            ϭϲϭ͘ϲϳ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     Z^EddZE^WKZd/E                           D/^^,KK>^hWWKZd                                           ϲϴ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϭͬϮϬϮϬ                 ϵϬн     hZd/^Es/ZKEDEd>^Zs/^/E                ,Kh^,K>hd/>/d/^                                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                     ϰͬϳͬϮϬϮϬ                 ϵϬн     hZd/^Es/ZKEDEd>^Zs/^/E                ,Kh^,K>hd/>/d/^                                           ϳϬϬ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     hZd/^Es/ZKEDEd>^Zs/^/E                ,Kh^,K>hd/>/d/^                                           ϳϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     ydZD/Ed/E'                                 KEdZd^Zs/                                            ϭϱϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      d,>d/>'h                                               ϭϰϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϰͬϮϬϮϬ                 ϵϬн     Z>/E'/E'Z/Ed^/E                          KEdZd^Zs/                                            Ϯϯϭ͘ϵϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϭϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϯͬϭϬͬϮϬϮϬ                 ϵϬн                                                      d,>d/>'h                                               ϰϵϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     WZdDEdK&Wh>/^&dz                      &/E'ZWZ/Ed/E'yWE^                                        ϯϵ͘Ϯϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн                                                      ZdZd/EKDͲ^,h>ZdZd^                           ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ                                    ϰͬϯϬͬϮϬϮϬ                 ϵϬн     KhDZd                                         ^dd/KEZzΘWZ/Ed/E'                                         ϴϵϯ͘ϵϬ
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EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϮͬϮϳͬϮϬϮϬ    ϵϬн   KhDZd                                                      ^dd/KEZzΘWZ/Ed/                                ϯϯϱ͘ϳϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϴͬϮϬϮϬ    ϵϬн                                                                 KE^h>dEd&^                                    ϰϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 &/EE/>^^/^dEdKs/d/D^                    ϰϴϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   sZ'ZE>tE^Zs/>>                                    KEdZd^Zs/                                 ϴϯϬ͘ϵϮ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϭͬϯϭͬϮϬϮϬ    ϵϬн   sZ'ZE>tE^Zs/>>                                    KEdZd^Zs/                                 ϴϮϴ͘ϴϯ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϯϭͬϮϬϮϬ    ϵϬн   sZ'ZE>tE^Zs/>>                                    KEdZd^Zs/                                 ϴϯϬ͘ϵϮ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            ϴϱ͘Ϯϰ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            ϭϲϵ͘ϯϳ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            ϭϮϬ͘ϳϵ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            ϲϮ͘ϭϳ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            ϳϵ͘ϯϮ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            Ϯϳ͘Ϭϰ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            Ϯϭ͘ϰϲ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн   &y                                                         WK^d'                                            ϭϬϭ͘Ϭϵ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϮϴϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϲͬϮϬϮϬ    ϵϬн                                                                 ZW/Z^ΘD/EdEE                             ϭ͕ϭϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϲͬϮϬϮϬ    ϵϬн                                                                 ZW/Z^ΘD/EdEE                             ϭ͕ϭϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϮϰͬϮϬϮϬ    ϵϬн   '>>KD,E/>^Zs/^>>                                 ZW/Z^ΘD/EdEE                              ϲϰϭ͘ϭϴ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   'D>Wh>/^,/E'>>                                         sZd/^/E'                                       ϭ͕ϬϬϵ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϮͬϮϬϮϬ    ϵϬн                                                                 DEΖ^D/E/^dZzyWE^^                            ϵϭϲ͘ϱϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 DEΖ^D/E/^dZzyWE^^                            ϵϭϲ͘ϱϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϴͬϮϬϮϬ    ϵϬн   'EKs^dZdKZ^Zs/>>                                  KEdZd^Zs/                                 ϭϮϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϳϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϳϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϳͬϮϬϮϬ    ϵϬн   'K>^dZ>dZ/͕/E                                        ZW/Z^ΘD/EdEEͲZdZd^                   ϴϮϰ͘ϴϰ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   'ZzZ>dZ/KDWEz/E                                  d>W,KEyWE^                                  ϯϯ͘ϭϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   'ZzZ>dZ/KDWEz/E                                  d>W,KEyWE^                                  ϰϮ͘Ϯϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϮͬϮϬϮϬ    ϵϬн   'ZzZ>dZ/KDWEz/E                                  ZW/Z^ΘD/EdEE                              ϭϬ͘ϵϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ    ϯͬϱͬϮϬϮϬ    ϵϬн                                                                 KE^h>dEd&^                                    ϳϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϵͬϮϬϮϬ    ϵϬн                                                                 KE^h>dEd&^                                    ϳϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   'Z'Ζ^>tE^Zs/͕>>                                      KEdZd^Zs/                                ϭ͕ϭϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϬͬϮϬϮϬ    ϵϬн   'h>&K^dK&&/WZKhd^                                    yZKyKW/^                                       ϭϬϯ͘ϵϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϬͬϮϬϮϬ    ϵϬн   'h>&K^dK&&/WZKhd^                                    yZKyKW/^                                       ϭϳ͘ϳϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   ,KDWKdZ/d^Zs/^                                    ZW/Z^ΘD/EdEE                              ϭϭϲ͘ϴϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϭͬϮϬϮϬ    ϵϬн   ,KDWKdZ/d^Zs/^                                    ZW/Z^ΘD/EdEE                              ϳϱ͘ϳϲ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   ,KDWKdZ/d^Zs/^                                    ZW/Z^ΘD/EdEE                              ϭϲϲ͘ϲϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   ,KDWKdZ/d^Zs/^                                    ZW/Z^ΘD/EdEE                              ϮϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϭͬϮϬϮϬ    ϵϬн   ,KDWKdZ/d^Zs/^                                    d>W,KEyWE^                                  ϭϮϱ͘ϰϱ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   ,KDWKdZ/d^Zs/^                                    d>W,KEyWE^                                  ϭϯϬ͘ϱϯ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   /EdZEd/KE>/E^d/dhd&KZh>dhZ                           D/^>>EKh^yW                                 ϲϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϯͬϮϬϮϬ    ϵϬн   :<WddzDZ<d/E'ΘWZKDKd/KE^                             >Z^,/WtZ^                                 ϭ͕ϵϲϬ͘ϵϰ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϯͬϮϬϮϬ    ϵϬн   :<WddzDZ<d/E'ΘWZKDKd/KE^                             >Z^,/WtZ^                                  ϲϮϴ͘Ϯϯ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 dĞŵƉŽƌĂƌǇ,ĞůƉ                                     ϮϮϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ^D/EZ/E^^/^d                                  ϯϰϬ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ^D/EZ/E^^/^d                                  ϱϵϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϴͬϮϬϮϬ    ϵϬн                                                                 ^D/EZ/E^^/^d                                  ϭϮϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 D/^>>EKh^yW                                 ϮϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϮͬϮϬϮϬ    ϵϬн                                                                 &/EE/>^^/^dEdKs/d/D^                    ϭϮϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϰͬϮϬϮϬ    ϵϬн   </^Z^hWW>z                                                 ZW/Z^ΘD/EdEE                              ϭϮϳ͘ϱϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϳϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   <EdtKK^WZ/E'^                                              K&&Θ^K&dZ/E<                                Ϯϯ͘ϭϰ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ    ϰͬϯͬϮϬϮϬ    ϵϬн   <EdtKK^WZ/E'^                                              K&&Θ^K&dZ/E<                                Ϯϯϯ͘ϳϯ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   <EdtKK^WZ/E'^                                              K&&Θ^K&dZ/E<                                ϭϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϭϳͬϮϬϮϬ    ϵϬн   <ZE/EdZEd/KE>>>                                        ^d>Kh/^D>K^d^                              Ϯ͕ϭϴϱ͘ϲϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϮϭϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   <'>Z/KdZKW/>                                           KDDhE/d/KE^                                    Ϯ͕ϰϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   <'>Z/KdZKW/>                                           KDDhE/d/KE^                                     ϴϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   <'>Z/KdZKW/>                                           KDDhE/d/KE^                                     ϴϰϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϴͬϮϬϮϬ    ϵϬн                                                                 KE^h>dEd&^                                   ϭ͕ϬϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϯϭͬϮϬϮϬ    ϵϬн   >ZZz^,ZtZ/E                                          ZW/Z^ΘD/EdEEͲZdZd^                   ϰϮ͘ϯϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϭϰͬϮϬϮϬ    ϵϬн   >&                                                          KEdZd^Zs/                                 ϳϮϴ͘ϲϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϮͬϮϵͬϮϬϮϬ    ϵϬн   >/Yh/Es/ZKEDEd>^K>hd/KE^                                KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>           ϯϲϰ͘ϰϳ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ    ϰͬϲͬϮϬϮϬ    ϵϬн                                                                 ^D/EZ/E^^/^d                                 ϭ͕ϮϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   DE/yKDWhd/E'^Zs/^/E                                  /dYh/WDEd                                       ϭϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   D>WZ/Ed/E'                                                 ^dd/KEZzΘWZ/Ed/E'                             Ϯ͕ϲϯϬ͘ϵϵ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   D>WZ/Ed/E'                                                 ^D/EZ/E^^/^d                                 ϭ͕ϭϴϬ͘Ϭϵ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϯϬͬϮϬϮϬ    ϵϬн                                                                 D/^^,KK>^hWWKZd                               Ϯ͕ϯϴϭ͘ϱϮ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϯϬͬϮϬϮϬ    ϵϬн                                                                 D/^^,KK>^hWWKZd                                ϳϰϲ͘ϭϲ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϯϭϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    Ϯϰϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   DD'WZKWZd/^                                                ZW/Z^ΘD/EdEE                             ϭ͕ϬϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   DD'WZKWZd/^                                                ZW/Z^ΘD/EdEE                              ϳϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   DD'WZKWZd/^                                                ZW/Z^ΘD/EdEE                             Ϯ͕ϭϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   E/d'hd,/Z/EdZ/KZ^/'E/E                             ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   EddůŽƵĚŽŵŵƵŶŝĐĂƚŝŽŶƐh^/ŶĐ͘                              d>W,KEyWE^                                  ϭϯϱ͘Ϯϲ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   K<tKKZKKd^                                                 ^D/EZ/E^^/^d                                  Ϯϱϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϮͬϮϬϮϬ    ϵϬн   K&&/WKd                                                  K&&/^hWW>/^                                    ϴϱ͘ϭϱ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϳͬϮϬϮϬ    ϵϬн   Wh>:>EW,                                               &/EE/>^^/^dEdKs/d/D^                    ϳϱϬ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϳͬϮϬϮϬ    ϵϬн   Wh>:>EW,                                               &/EE/>^^/^dEdKs/d/D^                    ϳϱϬ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϵͬϮϬϮϬ    ϵϬн   Wh>^,hZd͕W,͕>^t                                        &/EE/>^^/^dEdKs/d/D^                    ϯϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϮϭϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ    ϯͬϵͬϮϬϮϬ    ϵϬн   WDD/EdEE/E                                            KEdZd^Zs/                                 ϱϮϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϯϬͬϮϬϮϬ    ϵϬн   ZĞŶĂŝƐƐĂŶĐĞDŽŶƚŐŽŵĞƌǇ,ŽƚĞůΘ^ƉĂĂƚƚŚĞŽŶǀĞŶƚŝŽŶĞŶƚĞƌ   ^W/>&hEd/KE^ͲWŝůŐƌŝŵĂŐĞƐ                   ϲ͕ϳϮϲ͘ϵϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   ZWh>/^Zs/^ηϴϰϮ                                        KEdZd^Zs/Ͳh/>/E'ͬ:E/dKZ/>           ϭϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϬͬϮϬϮϬ    ϵϬн                                                                 dDWKZZz,>WͲZ/DhZ^DEd^                    ϰϭ͘ϲϭ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϳͬϮϬϮϬ    ϵϬн   Z/K,h^/E                                                 yZKyKW/^                                       ϯϯ͘ϭϵ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϲͬϮϬϮϬ    ϵϬн   Z/K,h^/E                                                 yZKyKW/^                                       ϰϰ͘ϱϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϯͬϮϬϮϬ    ϵϬн   Z/sZWZ/^,/^WK^>>>                                     KEdZd^Zs/                                 ϭϯϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϴͬϮϬϮϬ    ϵϬн   ^Θ^>tE^Zs/                                            D/^>>EKh^Z/s>^                          ϴϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϴͬϮϬϮϬ    ϵϬн   ^Θ^>tE^Zs/                                            ZW/Z^ΘD/EdEE                              ϴϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϴͬϮϬϮϬ    ϵϬн   ^Θ^>tE^Zs/                                            ZW/Z^ΘD/EdEE                              ϮϰϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   ^^KhE^>/E'^Zs/^>>                                ^D/EZ/E^^/^d                                  ϯϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϳͬϮϬϮϬ    ϵϬн                                                                 D/^>>EKh^yW                                 ϮϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϭϱϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϮϴϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϳϬ͘ϬϬ
EK     :ƵŶĞϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϭϭͬϭϯͬϮϬϭϵ   ϵϬн   d,z^^E<ZhWW>sdKZKZW                                    ZW/Z^ΘD/EdEE                              ϱϰϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 d,>d/>'h                                    ϳϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϮϴͬϮϬϮϬ    ϵϬн                                                                 KEdZd^Zs/                                ϭ͕ϬϬϵ͘ϰϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   hE/d^dd^KE&ZEK&                                   dZs>͕D>^ΘEdZd/EDEd                     ϭ͕ϭϮϱ͘ϭϮ zĞƐͲǇŵŽŶĚ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   hE/d^dd^KE&ZEK&                                   dZs>͕D>^ΘEdZd/EDEd                     ϭ͕ϭϮϱ͘ϭϮ zĞƐͲŚĞƌŝ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϯͬϮϬϮϬ    ϵϬн   t^dDE'DEdK&^ddDDEz                                KEdZd^Zs/                                 ϲϯϱ͘ϵϲ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   t&EKD                                                       KDDhE/d/KE^                                     ϰϮϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϴͬϮϬϮϬ    ϵϬн   t&EKD                                                       KDDhE/d/KE^                                     ϳϮϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϯͬϮϬϮϬ    ϵϬн   t:^EdZWZ/^^/E                                           yZKyKW/^                                       ϭϯϮ͘ϯϳ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϮϴͬϮϬϮϬ    ϵϬн   t>ds                                                       sZd/^/E'                                       ϭ͕ϱϬϬ͘ϬϬ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   zKhE'Ζ^Zz>E/E'                                           ,Kh^,K>yWE^^                                 Ϯϭ͘Ϯϴ zĞƐͲǇŵŽŶĚ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   hWWZK&D/>z^hWZDZ<d^/E͘                            </d,E&KK                                       ϰϬϰ͘ϳϴ
EK     DĂǇϮϬϮϬ      dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   hWWZK&D/>z^hWZDZ<d^/E͘                            </d,EͲKDDhE/dz&KK                           ϯϱ͘ϳϵ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϮͬϮϬϮϬ    ϵϬн   ^^z^dD^>>                                               ZW/Z^ΘD/EdEEͲh/>/E'                   ϰϱϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   >W,d,                                                    sZd/^/E'                                        ϮϲϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϮͬϭϬͬϮϬϮϬ    ϵϬн                                                                 WZ/^,&D/>zD/E/^dZz                             ϱϬϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZdZd/EKDͲ^,h>ZdZd^                ϳϱ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   Z'EK                                                        ZĞƉĂŝƌƐΘDĂŝŶƚĞŶĂŶĐĞͲ'ƌŽƵŶĚƐ                    ϰϬϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн   Z'EK                                                        ZĞƉĂŝƌƐΘDĂŝŶƚĞŶĂŶĐĞͲ'ƌŽƵŶĚƐ                    ϰϬϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϰͬϮϬϮϬ    ϵϬн   ,K>zEDK&:^h^^,KK>                                     >sdKZZ/s>^                               ϭϭϱ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ    ϯͬϴͬϮϬϮϬ    ϵϬн   >W^dKZ>^Zs/^                                          EKZd,^,KZ,W>yWE^                         ϰϬϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϮͬϮϴͬϮϬϮϬ    ϵϬн   >DͲ^K                                                    ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ     ϭ͕ϬϵϮ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϵͬϮϬϮϬ    ϵϬн   >KhW/Θ^^K/d^>>                                   ,>d,z&D/>z                                     ϯϬϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϭͬϮϬϮϬ    ϵϬн   D>WZ/Ed/E'                                                 ^dd/KEZzΘWZ/Ed/E'                              ϯϳϲ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϭͬϮϬϮϬ    ϵϬн   D>WZ/Ed/E'                                                 WK^d'                                            Ϯϴϴ͘ϲϴ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϭͬϮϬϮϬ    ϵϬн   D>WZ/Ed/E'                                                 ^dd/KEZzΘWZ/Ed/E'                              ϯϯϲ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϮϭͬϮϬϮϬ    ϵϬн   D>WZ/Ed/E'                                                 WK^d'                                            Ϯϯϱ͘ϵϴ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϯͬϭϯͬϮϬϮϬ    ϵϬн                                                                 hdKDK/>yWE^                                 ϭϯϭ͘ϭϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϵͬϮϰͬϮϬϭϵ    ϵϬн   KZd,KW/^W/>/^d^                                       ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ      ϭϴϬ͘ϬϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ    ϰͬϲͬϮϬϮϬ    ϵϬн   WZ/EKΖ^'ZEEdZ                                        ZW/Z^ΘD/EdEE                              ϭϭϳ͘ϴϬ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ    ϭͬϴͬϮϬϮϬ    ϵϬн   Yh^d/'EK^d/^/E                                         WZ/^dD/>yW                               ϭ͕ϵϵϮ͘Ϯϵ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ    ϲϳϲ͘ϯϲ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ZĞƚŝƌĞĚWƌŝĞƐƚWůƵƐǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ      ϯϵϭ͘Ϯϱ
EK     :ƵůǇϮϬϮϬ     dƌĂĚĞƉĂǇĂďůĞƐ   ϰͬϯϬͬϮϬϮϬ    ϵϬн                                                                 ĐƚŝǀĞWƌŝĞƐƚDĞĚŝĐĂůǆƉĞŶƐĞͲDĞĚŝĐĂůŽͲWĂǇƐ    ϱϳϱ͘ϵϴ


dŽƚĂů                                                                                                                                                                     ΨϮϵϮ͕ϲϮϱ͘ϲϯ
         Case 20-10846 Doc 375 Filed 08/31/20 Entered 08/31/20 16:26:47 Part 1 Page 55 of 222


        ZŐŝŶŐ
        ĂƐĞŶĂŵĞ                                   dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
        ĂƐĞŶƵŵďĞƌ                                 ϮϬͲϭϬϴϰϲ

        &ŽƌWĞƌŝŽĚ:ƵůǇϭƚŽ:ƵůǇϯϭ͕ϮϬϮϬ

                                                                                                                                     ĐĐŽƵŶƚƐZĞĐĞŝǀĂďůĞŐŝŶŐZĞƉŽƌƚ



                               ƵƐƚŽŵĞƌ                         /ŶĐƵƌƌĞĚ                                    ƵĞĂƚĞ                      ϬͲϯϬ                                     ϯϭͲϲϬ                                  ϲϭͲϵϬ                                  KǀĞƌϵϬ                                     dŽƚĂů                              ŽůůĞĐƚŝŽŶ^ƚĂƚƵƐ;ϵϬнͿ;ĨŽƌEKŽŶůǇ͕ƐĞĞŽƚŚĞƌĞŶƚŝƚŝĞƐďĞůŽǁͿ
K>     WĂƌĞŶƚ                                      ϲͬϮϲͬϮϬϮϬ                                              ϲͬϮϲͬϮϬϮϬ    Ψ Ͳ     Ψ ϰϬϬ͘ϬϬ      Ψ Ͳ    Ψ Ͳ     Ψ ϰϬϬ͘ϬϬ
,^    ĂůĨŽƵƌ                                     ϴͬϮϵͬϮϬϭϵ                                              ϴͬϯϬͬϮϬϮϬ     Ͳ     Ͳ    Ͳ    ϰϮϱ͘ϵϬ      ϰϮϱ͘ϵϬ
,^    WŽŶĐŚĂƌƚƌĂŝŶĞŶƚĞƌ                         ϲͬϯϬͬϮϬϮϬ                                              ϳͬϯϭͬϮϬϮϬ     Ͳ     ϴ͕ϲϱϲ͘ϳϬ       Ͳ    Ͳ     ϴ͕ϲϱϲ͘ϳϬ
,,^    dƌŝƉƐhŶůŝŵŝƚĞĚ͕/ŶĐ                        ϰͬϮϬͬϮϬϮϬ                                              ϲͬϯϬͬϮϬϮϬ     Ͳ     Ϯ͕ϴϴϬ͘ϬϬ       Ͳ    Ͳ     Ϯ͕ϴϴϬ͘ϬϬ
,,^    ŽŶŽƌηϭ                                    ϭϮͬϭͬϮϬϭϵ                                               ϲͬϭͬϮϬϮϬ     Ͳ     ϭ͕ϲϲϲ͘ϳϱ       Ͳ    Ͳ     ϭ͕ϲϲϲ͘ϳϱ
,,^    ŽŶŽƌηϮ                                    ϳͬϮϯͬϮϬϮϬ                                               ϴͬϳͬϮϬϮϬ     ϯϯ͘ϯϰ     Ͳ    Ͳ    Ͳ     ϯϯ͘ϯϰ
                                                                                                                                                                                                                                                                                                                            
,,^    ŵƉůŽǇĞĞͲDĂĐŽŽŬWƵƌĐŚĂƐĞ                 ϭϬͬϭͬϮϬϭϵ                                              ϲͬϯϬͬϮϬϮϬ     Ͳ     ϳϬϬ͘ϬϬ      Ͳ    Ͳ     ϳϬϬ͘ϬϬ
,,^    ŚĞĞƌWĂǇŵĞŶƚƐ                              ϱͬϭͬϮϬϮϬ                                               ϵͬϯϬͬϮϬϮϬ     ϮϬ͕ϴϬϵ͘ϱϬ         Ͳ    Ͳ    Ͳ     ϮϬ͕ϴϬϵ͘ϱϬ
Z,^    &D                                                                                                hŶŬŶŽǁŶ      Ͳ     Ͳ    Ͳ    ϭϬϴ͕ϰϱϳ͘ϲϲ
                                                                                                                                                                                                                                                                                            ϭϬϴ͕ϰϱϳ͘ϲϲ
W:W,^   ŵƉůŽǇĞĞĚǀĂŶĐĞƐ                           ƉƌŝůϮϬϮϬ                                             ϳͬϯϭͬϮϬϮϭ     ϭ͕ϰϮϲ͘ϬϬ        ϯ͕ϴϴϬ͘ϬϬ       ϯ͕ϴϯϬ͘ϬϬ      Ϯϲ͕ϱϯϭ͘ϭϬ        ϯϱ͕ϲϲϳ͘ϭϬ
^^    WůĞĚŐĞƐΨϭ͕ϬϬϬΘƵŶĚĞƌͲĂƉ͘ĂŵƉĂŝŐŶ      sĂƌŝŽƵƐϮϬϭϱͲϮϬϭϴ                                    ϲͬϯϬͬϮϬϭϵ     Ͳ     Ͳ    Ͳ    Ϯ͕ϴϯϮ͘ϱϬ       Ϯ͕ϴϯϮ͘ϱϬ
^^    WůĞĚŐĞƐΨϭ͕ϬϬϭƚŽΨϭϬ͕ϬϬϬͲĂƉ͘ĂŵƉĂŝŐŶ   sĂƌŝŽƵƐϮϬϭϱͲϮϬϭϴ                                    ϲͬϯϬͬϮϬϭϵ     Ͳ     Ͳ    Ͳ    ϭϴ͕ϰϱϬ͘ϬϬ        ϭϴ͕ϰϱϬ͘ϬϬ
^^    WůĞĚŐĞƐхΨϭϬ͕ϬϬϬ͗WůĞĚŐĞηϰ             sĂƌŝŽƵƐϮϬϭϱͲϮϬϭϴ                                    ϲͬϯϬͬϮϬϭϵ     Ͳ     Ͳ    Ͳ    ϮϬ͕ϬϬϬ͘ϬϬ        ϮϬ͕ϬϬϬ͘ϬϬ
^^    ^ƚĂĚŝƵŵWůĞĚŐĞƐΨϭ͕ϬϬϬΘƵŶĚĞƌ              DĂƌĐŚͬƉƌŝůϮϬϮϬͲϮŶĚWĂǇŵĞŶƚ                         ǀĂƌŝŽƵƐ     ϱϵ͕ϬϮϬ͘ϬϬ         ϯϯ͕ϳϭϱ͘ϬϬ        Ͳ    ϱ͕ϬϬϬ͘ϬϬ       ϵϳ͕ϳϯϱ͘ϬϬ
^^    ^ƚĂĚŝƵŵWůĞĚŐĞƐΨϭ͕ϬϬϭƚŽΨϭϬ͕ϬϬϬ           DĂƌĐŚͬƉƌŝůϮϬϮϬͲϮŶĚWĂǇŵĞŶƚ                         ǀĂƌŝŽƵƐ     ϭϴ͕ϲϬϬ͘ϬϬ         ϱϭϱ͘ϬϬ      Ͳ    Ͳ     ϭϵ͕ϭϭϱ͘ϬϬ
^^    ^ƚĂĚŝƵŵWůĞĚŐĞƐхΨϭϬ͕ϬϬϬ͗WůĞĚŐĞηϭ        DĂƌĐŚϮϬϮϬͲϮŶĚWĂǇŵĞŶƚ                                 ǀĂƌŝŽƵƐ     Ͳ     ϮϬ͕ϬϬϬ͘ϬϬ        Ͳ    Ͳ     ϮϬ͕ϬϬϬ͘ϬϬ
^^    ^ƚĂĚŝƵŵWůĞĚŐĞƐхΨϭϬ͕ϬϬϬ͗WůĞĚŐĞηϮ        ƉƌŝůϮϬϮϬͲϮŶĚWĂǇŵĞŶƚ                                 ǀĂƌŝŽƵƐ     Ϯϰ͕ϬϬϬ͘ϬϬ         Ͳ    Ͳ    Ͳ     Ϯϰ͕ϬϬϬ͘ϬϬ
^^    &DZĞĐĞŝǀĂďůĞ                                                                                                  Ͳ     Ͳ    Ͳ    ϮϬϮ͕ϲϱϵ͘ϰϵ
                                                                                                                                                                                                                                                                                            ϮϬϮ͕ϲϱϵ͘ϰϵ
^D^^    WůĞĚŐĞηϭ                                   ϴͬϭϱͬϮϬϭϴ                                              ϭϮͬϯϭͬϮϬϮϮ    ϮϬϬ͕ϬϬϬ͘ϬϬ          Ͳ    Ͳ    Ͳ     ϮϬϬ͕ϬϬϬ͘ϬϬ
^^     WůĞĚŐĞηϭ                                    &ĞďϮϬϭϵ                                               &ĞďϮϬϮϰ     Ͳ     Ͳ    Ͳ    ϳ͕ϬϬϬ͘ϬϬ
                                                                                                                                                                                                                                                                                            ϳ͕ϬϬϬ͘ϬϬ
^^     WůĞĚŐĞηϮ                                    &ĞďϮϬϭϵ                                               &ĞďϮϬϮϰ     Ͳ     Ͳ    Ͳ    ϰ͕ϬϬϬ͘ϬϬ
                                                                                                                                                                                                                                                                                            ϰ͕ϬϬϬ͘ϬϬ
EK     ^ĞŵŝŶĂƌŝĂŶ                                                                                                       Ͳ     Ͳ    Ͳ     ϳϱ͘ϬϬ    ϳϱ͘ϬϬ
                                                                                                                                                                                                                                                                                                                                     ĚĞĞŵĞĚƵŶĐŽůůĞĐƚŝďůĞ͖ƚŽďĞǁƌŝƚƚĞŶŽĨĨŝŶƐƵďƐĞƋƵĞŶƚŵŽŶƚŚ
EK     ƌĐŚĚŝŽĐĞƐĞŽĨ'ĂůǀĞƐƚŽŶͲ,ŽƵƐƚŽŶ                                                                                 Ͳ     ;ϱϬϬ͘ϬϬͿ     Ͳ     Ͳ    ;ϱϬϬ͘ϬϬͿ
EK     ^ƚ͘>ŽƵŝƐĂƚŚĞĚƌĂůŚƵƌĐŚ                                                                                       Ͳ     ;ϵϱϱ͘ϬϬͿ     Ͳ     Ͳ    ;ϵϱϱ͘ϬϬͿ
EK     ƵƐƚŝŶŶĞƌŐǇ                                                                                                    Ͳ     ;ϴϲ͘ϭϬͿ    Ͳ     Ͳ    ;ϴϲ͘ϭϬͿ
EK     ƵŵďKǆDŝŶŝƐƚƌŝĞƐ                                                                                               Ͳ     ;ϯϬϬ͘ϬϬͿ     Ͳ     Ͳ    ;ϯϬϬ͘ϬϬͿ
EK     7UDQVILJXUDWLRQ2I7KH/RUG                                                                                      ;ϭ͕ϱϲϱ͘ϲϲͿ       Ͳ    Ͳ     Ͳ    ;ϭ͕ϱϲϱ͘ϲϲͿ
EK                                                                                                                      ;ϭϯϬ͘ϴϲͿ      Ͳ    Ͳ     Ͳ    ;ϭϯϬ͘ϴϲͿ
EK     &DWKROLF&KDULWLHV$UFK2I1HZ2UOHDQV                                                                         ;ϭϮϳ͘ϬϬͿ      Ͳ    Ͳ     Ͳ    ;ϭϮϳ͘ϬϬͿ
EK     &DWKROLF&KDULWLHV$UFK2I1HZ2UOHDQV                                                                         ;ϲϵϱ͘ϬϬͿ      Ͳ    Ͳ     Ͳ    ;ϲϵϱ͘ϬϬͿ
EK     6W%HUQDUG0DQRU                                                                                                ;ϴϯϬ͘ϬϬͿ      Ͳ    Ͳ     Ͳ    ;ϴϯϬ͘ϬϬͿ
EK     6W-RKQ7KH%DSWLVW&KXUFK )ROVRP                                                                              ϳϬϬ͘ϬϬ       Ͳ    Ͳ     Ͳ    ϳϬϬ͘ϬϬ
EK     ŽŶĨŝĚĞŶƚŝĂů                                                                                                     Ͳ     ϲϮϱ͕ϬϬϬ͘ϬϬ         Ͳ     ϭ͕ϴϳϱ͕ϬϬϬ͘ϬϬ          Ϯ͕ϱϬϬ͕ϬϬϬ͘ϬϬ          ZĞĐĞŝǀĂďůĞŝƐƚŽďĞƉĂŝĚŽƵƚƚŚƌŽƵŐŚ&zϮϬϮϮ
EK     EKĂƉƚŝǀĞ                                                                                                      ϯϯϴ͕ϰϮϯ͘ϳϳ          Ͳ    Ͳ     Ͳ    ϯϯϴ͕ϰϮϯ͘ϳϳ
EK     tŚŝƚŶĞǇ                                                                                                          Ͳ     Ͳ    Ͳ    ϯϳϯ͕ϱϳϳ͘ϱϯ
                                                                                                                                                                                                                                                                                            ϯϳϯ͕ϱϳϳ͘ϱϯ         ĐĐƌƵĞĚĨŝǆĞĚŝŶĐŽŵĞŝŶƚĞƌĞƐƚƚŽďĞƌĞĂůŝǌĞĚƵƉŽŶŵĂƚƵƌŝƚǇ
EK     sĂƌŝŽƵƐ                                                                                                          ϰ͕ϱϳϮ͘ϲϬ        Ͳ    ϱϭϬ͘ϱϰ      Ͳ    ϱ͕Ϭϴϯ͘ϭϰ
EK     'ĂůůĂŐŚĞƌ͕sĂƌŝŽƵƐ                                                                                               ϭϴ͕ϴϵϰ͘ϱϮ         ϱϳϵ͘ϴϳ      ϯ͕ϯϯϲ͘ϱϳ      ϰ͕ϱϯϭ͘ϯϴ       Ϯϳ͕ϯϰϮ͘ϯϰ        WĂǇŵĞŶƚƐďĞŝŶŐŵĂĚĞĂŐĂŝŶƐƚďĂůĂŶĐĞ
EK     sĂƌŝŽƵƐ/ŶĚŝǀŝĚƵĂůƐ                                                                                              Ϯ͕ϳϯϰ͘ϲϬ        ϰ͕Ϭϱϯ͘ϯϴ       Ͳ     Ͳ    ϲ͕ϳϴϳ͘ϵϴ
EK     /K/                                                                                                              Ͳ     Ͳ    Ͳ    ϲϯϮ͕ϯϯϭ͘ϱϭ
                                                                                                                                                                                                                                                                                            ϲϯϮ͕ϯϯϭ͘ϱϭ         WĞŶĚŝŶŐůĂǁƐƵŝƚͲƉĂǇŵĞŶƚŝŶĨƵůůĞǆƉĞĐƚĞĚ
EK     EKŵƉůŽǇĞĞĞŶĞĨŝƚdƌƵƐƚ                                                                                       Ϯϳ͕ϰϴϵ͘ϵϴ         Ͳ    Ͳ     Ͳ    Ϯϳ͕ϰϴϵ͘ϵϴ
EK     ^ƚĂƚĞŽĨ>                                                                                                      ϭϲϰ͕ϴϰϭ͘Ϭϭ          Ͳ    Ͳ     Ͳ    ϭϲϰ͕ϴϰϭ͘Ϭϭ
EK     EͬͲůůŽǁĂŶĐĞ                                                                                                  Ͳ     Ͳ    Ͳ    ;Ϯ͕ϬϬϬ͕ϬϬϬ͘ϬϬͿ          ;Ϯ͕ϬϬϬ͕ϬϬϬ͘ϬϬͿ          EͬͲůůŽǁĂŶĐĞƚŽŽĨĨƐĞƚ/ŶƐƵƌĂŶĐĞĂŶĚƐƐĞƐƐŵĞŶƚZĞĐĞŝǀĂďůĞƐĂďŽǀĞ
EK     EͬͲůůŽǁĂŶĐĞ                                                                                                  Ͳ     Ͳ    Ͳ     ;ϭϬϬ͕ϬϬϬ͘ϬϬͿ        ;ϭϬϬ͕ϬϬϬ͘ϬϬͿ        EͬͲůůŽǁĂŶĐĞƚŽŽĨĨƐĞƚ/dZĞĐĞŝǀĂďůĞƐĂďŽǀĞ
EK     sĂƌŝŽƵƐ                                                                                                          ϴϲ͕ϵϰϴ͘ϯϬ         Ͳ    Ͳ     Ͳ    ϴϲ͕ϵϰϴ͘ϯϬ
EK     EKĂƉƚŝǀĞ                                                                                                      ϲϰϲ͕ϰϬϴ͘ϲϬ          Ͳ    Ͳ     Ͳ    ϲϰϲ͕ϰϬϴ͘ϲϬ
EK     sĂƌŝŽƵƐ                                                                                                          ϭ͕ϯϳϬ͕ϯϵϱ͘ϭϳ           ϰϲ͕ϵϰϮ͘ϮϬ        ϵ͕ϲϴϵ͘ϭϵ       Ͳ    ϭ͕ϰϮϳ͕ϬϮϲ͘ϱϲ
                                                                                                                                                                                                                                                                                                                                     WĂǇŵĞŶƚŵĂĚĞŽŶĂƌĞĐƵƌƌŝŶŐďĂƐŝƐ͘
EK     KƉƚƵŵZy                                                                                                         Ͳ     Ͳ    Ͳ     ϭ͕ϭϮϬ͕ϬϬϬ͘ϬϬ          ϭ͕ϭϮϬ͕ϬϬϬ͘ϬϬ          WĂǇŵĞŶƚƐƚŽďĞƌĞĐĞŝǀĞĚƋƵĂƌƚĞƌůǇ
EK     $FDGHP\RI2XU/DG\                                                                                              ϭ͕ϭϯϱ͘ϬϬ        Ͳ    Ͳ     Ͳ    ϭ͕ϭϯϱ͘ϬϬ
EK     $OO6DLQWV&KXUFK                                                                                                ϳϴϬ͘ϲϯ       Ͳ    Ͳ     Ͳ    ϳϴϬ͘ϲϯ
EK     $OO6DLQWV&KXUFK                                                                                                ϭ͕ϬϮϵ͘ϵϳ        Ͳ    Ͳ     Ͳ    ϭ͕ϬϮϵ͘ϵϳ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϭ͕ϱϴϳ͘ϱϵ        Ͳ    Ͳ     Ͳ    ϭ͕ϱϴϳ͘ϱϵ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϭϲϭ͘ϰϴ       Ͳ    Ͳ     Ͳ    ϭϲϭ͘ϰϴ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϭϴϵ͘ϲϳ       Ͳ    Ͳ     Ͳ    ϭϴϵ͘ϲϳ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϭ͕Ϭϰϴ͘ϲϯ        Ͳ    Ͳ     Ͳ    ϭ͕Ϭϰϴ͘ϲϯ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϵϳϬ͘Ϭϴ       Ͳ    Ͳ     Ͳ    ϵϳϬ͘Ϭϴ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϭ͕ϭϯϵ͘ϰϴ        Ͳ    Ͳ     Ͳ    ϭ͕ϭϯϵ͘ϰϴ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϭϴ͘Ϯϭ     Ͳ    Ͳ     Ͳ    ϭϴ͘Ϯϭ
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EK     $QQXQFLDWLRQ&KXUFK                                                                                              Ϯ͕Ϭϯϳ͘Ϯϲ        ϮϮϳ͘ϰϭ      ϮϮϳ͘ϰϭ      Ͳ    Ϯ͕ϰϵϮ͘Ϭϴ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              Ϯ͕ϭϳϴ͘ϱϬ        Ͳ    Ͳ     Ͳ    Ϯ͕ϭϳϴ͘ϱϬ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϲϮ͘ϱϬ     Ͳ    Ͳ     Ͳ    ϲϮ͘ϱϬ
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EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϭ͕ϯϮϬ͘ϭϳ        Ͳ    Ͳ     Ͳ    ϭ͕ϯϮϬ͘ϭϳ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϯϭϵ͘ϬϬ       Ͳ    Ͳ     Ͳ    ϯϭϵ͘ϬϬ
EK     $QQXQFLDWLRQ&KXUFK                                                                                              ϱϵϭ͘ϲϳ       Ͳ    Ͳ     Ͳ    ϱϵϭ͘ϲϳ
EK     &+,$QQXQFLDWLRQ,QQ                                                                                             Ϯ͕ϲϬϭ͘ϯϮ        Ͳ    Ͳ     Ͳ    Ϯ͕ϲϬϭ͘ϯϮ
EK     &+,$QQXQFLDWLRQ,QQ                                                                                             ϯ͕Ϭϭϭ͘ϲϴ        Ͳ    Ͳ     Ͳ    ϯ͕Ϭϭϭ͘ϲϴ
EK     &+,$QQXQFLDWLRQ,QQ                                                                                             ϯϱϳ͘ϬϬ       Ͳ    Ͳ     Ͳ    ϯϱϳ͘ϬϬ
EK     $UFKELVKRS&KDSHOOH+LJK6FKRRO                                                                                  ϵ͕ϳϮϴ͘ϳϴ        Ͳ    Ͳ     Ͳ    ϵ͕ϳϮϴ͘ϳϴ
EK     $UFKELVKRS&KDSHOOH+LJK6FKRRO                                                                                  ϱ͕ϬϮϰ͘ϬϬ        Ͳ    Ͳ     Ͳ    ϱ͕ϬϮϰ͘ϬϬ
EK     $UFKELVKRS&KDSHOOH+LJK6FKRRO                                                                                  ϱ͕ϴϰϵ͘ϱϮ        Ͳ    Ͳ     Ͳ    ϱ͕ϴϰϵ͘ϱϮ
EK     $UFKELVKRS&KDSHOOH+LJK6FKRRO                                                                                  ϱϴϳ͘ϱϬ       Ͳ    Ͳ     Ͳ    ϱϴϳ͘ϱϬ
EK     $UFKELVKRS&KDSHOOH+LJK6FKRRO                                                                                  ϰϭ͘ϱϭ     Ͳ    Ͳ     Ͳ    ϰϭ͘ϱϭ
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EK     $UFKELVKRS+DQQDQ+LJK6FKRRO                                                                                    ϯϵϬ͘ϭϵ       Ͳ    Ͳ     Ͳ    ϯϵϬ͘ϭϵ
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EK   &KULVW7KH.LQJ&KXUFK                   Ͳ    Ͳ    Ͳ    ϭϱ͕ϱϮϭ͘ϬϬ
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EK   $UFKELVKRS&KDSHOOH+LJK6FKRRO             ϭϮ͕ϳϳϮ͘ϳϱ        ϰ͕ϯϯϬ͘ϱϬ       ϭϲϰ͘ϴϯ     Ͳ     ϭϳ͕Ϯϲϴ͘Ϭϴ
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EK   %OHVVHG7ULQLW\3DULVK                      Ͳ    Ϯϰ͘ϬϬ     Ͳ    ϳϭ͘Ϯϱ     ϵϱ͘Ϯϱ
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EK   +RXPD7KLERGDX['LRFHVH                             Ͳ     ϭϯ͕ϴϰϮ͘ϬϬ        Ͳ      ϭϭ͕ϲϭϮ͘ϱϰ
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EK   ,PPDFXODWH&RQFHSWLRQ6FKRRO                        ϱ͕ϯϲϴ͘ϳϱ        ϭ͕ϱϭϴ͘ϳϱ       Ͳ      ϯϬ͘ϬϬ     ϲ͕ϵϭϳ͘ϱϬ       ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
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EK   0RVW+RO\7ULQLW\3DULVK                            ϭϰϬ͘ϬϬ       Ͳ    Ͳ       Ͳ    ϭϰϬ͘ϬϬ
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EK   1RWUH'DPH6HPLQDU\                                 Ϯ͕ϵϵϲ͘ϬϬ        Ͳ    Ͳ       Ͳ    Ϯ͕ϵϵϲ͘ϬϬ
EK   2OG8UVXOLQH&RQYHQW                                ϭϬϱ͘ϬϬ       Ͳ    ϮϬϬ͘ϬϬ        Ͳ    ϯϬϱ͘ϬϬ
EK   2XU/DG\2I'LYLQH3URYLGHQFH&KXUFK                                                 
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EK   2XU/DG\2I*UDFH&KXUFK                            Ͳ     ϯϯ͘ϬϬ     Ͳ       Ͳ    ϯϯ͘ϬϬ
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EK   2XU/DG\RI*XDGDOXSH&KXUFK                        Ͳ     Ϯ͘Ϯϱ
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EK   2XU/DG\2I/RXUGHV&KXUFK 9LROHW                  Ͳ     ϭϱ͘ϳϱ     Ͳ       Ͳ    ϭϱ͘ϳϱ
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EK   2XU/DG\2I/RXUGHV&KXUFK 6OLGHOO                 ϭ͕ϱϴϲ͘ϭϬ        ϮϬ͘Ϯϱ     Ͳ       Ͳ    ϭ͕ϲϬϲ͘ϯϱ
EK   2XU/DG\RI/RXUGHV6FKRRO6OLGHOO                 Ϯ͕ϳϯϲ͘ϳϱ        ϱ͕ϭϯϲ͘ϵϵ       Ͳ       Ͳ    ϳ͕ϴϳϯ͘ϳϰ
EK   2XU/DG\RI3HUSHWXDO+HOS6FKRRO%HOOH&KDVVH    ϳϬ͘ϬϬ     ϭ͕ϳϴϱ͘ϳϱ       Ͳ       Ͳ    ϭ͕ϴϱϱ͘ϳϱ
EK   2XU/DG\RI3HUSHWXDO+HOS6FKRRO.HQQHU            Ϯϭϱ͘ϬϬ       Ͳ    Ͳ       Ͳ    Ϯϭϱ͘ϬϬ
EK   2XU/DG\2I3URPSW6XFFRU&KXUFK &KDOPHWWH         ϭ͕ϯϲϭ͘ϯϮ        Ͳ    Ͳ       Ͳ    ϭ͕ϯϲϭ͘ϯϮ
EK   2XU/DG\2I3URPSW6XFFRU&KXUFK :HVWZHJR          ϳϬ͘ϬϬ     Ͳ    Ͳ      ϱ͕ϳϳϱ͘ϱϴ
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EK   2XU/DG\RI3URPSW6XFFRU6FKRRO&KDOPHWWH        ϭ͕ϬϲϬ͘ϬϬ        ϯ͕Ϭϲϰ͘ϱϬ       Ͳ      Ϯϯ͕ϲϳϲ͘ϴϯ
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EK   2XU/DG\RI3URPSW6XFFRU6FKRRO:HVWZHJR          Ͳ     ϭ͕ϱϯϬ͘ϬϬ       Ͳ       Ͳ    ϭ͕ϱϯϬ͘ϬϬ
EK   2XU/DG\2I7KH+RO\5RVDU\&KXUFK                  ;ϵ͘ϬϬͿ
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EK   2XU/DG\RI:LVGRP                                  ϭ͕ϲϴϴ͘ϳϴ        ϳ͕Ϯϴϲ͘Ϯϱ       Ͳ       Ͳ    ϴ͕ϵϳϱ͘Ϭϯ
EK   2XU/DG\6WDU2I7KH6HD&KXUFK                     Ͳ     Ͳ    Ͳ      ϳϱ͘ϱϬ     ϳϱ͘ϱϬ
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EK   3RSH-RKQ3DXO,,+LJK6FKRRO                       ϭ͕Ϯϲϱ͘ϳϱ        Ͳ    Ͳ       Ͳ    ϭ͕Ϯϲϱ͘ϳϱ
EK   3URMHFW/D]DUXV                                     Ͳ     Ͳ    Ͳ       Ͳ    Ͳ
EK   5HVXUUHFWLRQRI2XU/RUG6FKRRO                     ϭϬϱ͘ϬϬ       ϭ͕ϵϲϱ͘ϬϬ       Ͳ       Ͳ    Ϯ͕ϬϳϬ͘ϬϬ
EK   6DFUHG+HDUW&KXUFK                                 Ͳ     ϰ͘ϱϬ
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EK   6FKRRO)RRG6HUYLFHV                                ϳ͕Ϭϲϰ͘ϳϱ        ϵ͕ϴϵϴ͘Ϯϱ       Ͳ       Ͳ    ϭϲ͕ϵϲϯ͘ϬϬ
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EK   6W$QWKRQ\2I3DGXD&KXUFK 1HZ2UOHDQV            Ͳ     Ͳ    Ͳ      ;ϭϱ͘ϳϱͿ    ;ϭϱ͘ϳϱͿ    EͬͲƌĞĚŝƚĂůĂŶĐĞ
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EK   6W)UDQFLVRI$VVLVL3DULVK                        ϯ͕ϱϮϲ͘ϬϬ        Ͳ    Ͳ       Ͳ    ϯ͕ϱϮϲ͘ϬϬ
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EK   6W0DU\0DJGDOHQ6FKRRO                            ϱϵϵ͘ϬϬ       ϭ͕ϰϱϱ͘Ϯϱ       Ͳ       Ͳ    Ϯ͕Ϭϱϰ͘Ϯϱ
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EK   6W0LFKDHO6SHFLDO6FKRRO                          ϭ͕ϭϰϳ͘ϳϱ        ϯ͕ϯϱϬ͘ϱϬ       Ͳ       Ͳ    ϰ͕ϰϵϴ͘Ϯϱ
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EK   6W3HWHU&KXUFK 5HVHUYH                           Ͳ     Ͳ    Ͳ      Ϯ͕ϳϮϱ͘ϱϬ
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EK   6W3KLOLS1HUL6FKRRO                              ϭ͕ϰϰϬ͘ϬϬ        ϲ͕ϮϮϰ͘ϲϮ       ϰϳϱ͘ϬϬ       ϱ͕ϲϲϴ͘Ϯϱ       ϭϯ͕ϴϬϳ͘ϴϳ        ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK   6W3LXV;&KXUFK                                   ϭϴϬ͘ϬϬ       ϭϭ͘Ϯϱ     ;ϭϭ͘ϮϱͿ     ϭϭ͘Ϯϱ     ϭϵϭ͘Ϯϱ      ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
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EK   6W5LWD&KXUFK +DUDKDQ                            ϭϮϰ͘ϳϱ       ϭϳϰ͘Ϯϱ      Ͳ       Ͳ    Ϯϵϵ͘ϬϬ
EK   6W5LWD6FKRRO+DUDKDQ                             ;ϯ͕ϴϳϳ͘ϬϬͿ       Ͳ    Ͳ       Ͳ    ;ϯ͕ϴϳϳ͘ϬϬͿ
EK   6W5LWD6FKRRO1HZ2UOHDQV                         ϭϬϱ͘ϬϬ       ϵϲϰ͘Ϯϱ      Ͳ       Ͳ    ϭ͕Ϭϲϵ͘Ϯϱ
EK   6W5RVDOLH6FKRRO                                  Ͳ     Ϯ͕ϬϬϵ͘Ϯϱ       Ͳ       Ͳ    Ϯ͕ϬϬϵ͘Ϯϱ
EK   6W6FKRODVWLFD+LJK6FKRRO                         ϭ͕ϯϱϱ͘ϬϬ        Ͳ    Ͳ       Ͳ    ϭ͕ϯϱϱ͘ϬϬ
EK   6W6WHSKHQ6FKRRO                                  Ϯϯϱ͘ϬϬ       ϭ͕ϱϲϮ͘Ϯϱ       ϯϱϬ͘ϬϬ       ϭϮ͕ϭϬϳ͘ϱϬ
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EK   6W7KHUHVH$FDGHP\IRU([HSWLRQDO/HDUQL           ϯ͕ϯϰϭ͘ϬϬ        Ͳ    Ͳ       Ͳ    ϯ͕ϯϰϭ͘ϬϬ
EK   6W7KRPDV&KXUFK                                   Ͳ     Ϯ͘Ϯϱ
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EK   7UDQVILJXUDWLRQRI7KH/RUG                         Ͳ     ϭϱ͘ϬϬ     Ͳ       Ͳ    ϭϱ͘ϬϬ
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EK   8UVXOLQH$FDGHP\                                    Ͳ     ϱ͕ϳϮϱ͘Ϯϱ       Ͳ      Ϭ͘ϱϬ
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EK   $QQXQFLDWLRQ&DWKROLF6FKRRO                        ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   $VFHQVLRQ2I2XU/RUG&KXUFK                        ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   $VFHQVLRQRI2XU/RUG6FKRRO                        ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   %OHVVHG6DFUDPHQW6W-RDQRI$UF                 ;ϮϬϬ͘ϬϬͿ      Ͳ    Ͳ       Ͳ    ;ϮϬϬ͘ϬϬͿ
EK   %OHVVHG7ULQLW\3DULVK                              Ϯϯϱ͘ϬϬ       ϮϬϬ͘ϬϬ      ϰϬϬ͘ϬϬ       ϭ͕ϴϮϬ͘ϬϬ       Ϯ͕ϲϱϱ͘ϬϬ       ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK   &DWKROLF&XOWXUDO+HULWDJH&HQWHU                   ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   &HQWHU2I-HVXV7KH/RUG&KXUFK                     ϯϱ͘ϬϬ     Ͳ    Ͳ      ϮϬϬ͘ϬϬ      Ϯϯϱ͘ϬϬ      ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK   &KULVWWKH.LQJ6FKRRO                              ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   &ODULRQ+HUDOG                                      ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   'LYLQH0HUF\3DULVK                                 ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   +RO\)DPLO\&KXUFK )UDQNOLQWRQ                     Ϯϯϱ͘ϬϬ       Ͳ    Ͳ       Ͳ    Ϯϯϱ͘ϬϬ
EK   +RO\1DPHRI-HVXV6FKRRO                           ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   +RO\1DPH2I0DU\&KXUFK                            ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   ,PPDFXODWH&RQFHSWLRQ&KXUFK 0DUUHUR               ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   ,PPDFXODWH&RQFHSWLRQ6FKRRO                        ϯϱ͘ϬϬ     Ͳ    Ͳ      ϰϭϱ͘ϬϬ      ϰϱϬ͘ϬϬ      ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK   0DU\4XHHQRI3HDFH6FKRRO                          ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   0DWHU'RORURVD&KXUFK                               ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   1RWUH'DPH6HPLQDU\                                 ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2//%LQJR,, 2XU/DG\RI/RXUGHV                  ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\2I/RXUGHV&KXUFK 6OLGHOO                 ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\2I3HUSHWXDO+HOS&KXUFK %HOOH&KDVVH     ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\2I3HUSHWXDO+HOS&KXUFK .HQQHU           ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\RI3HUSHWXDO+HOS6FKRRO%HOOH&KDVVH    ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\RI3HUSHWXDO+HOS6FKRRO.HQQHU            Ϯϯϱ͘ϬϬ       Ͳ    Ͳ      ϰϬϬ͘ϬϬ      ϲϯϱ͘ϬϬ      ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK   2XU/DG\2I3URPSW6XFFRU&KXUFK &KDOPHWWH         ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\2I3URPSW6XFFRU&KXUFK :HVWZHJR          ϯϰ͘ϵϵ     Ͳ    Ͳ       Ͳ    ϯϰ͘ϵϵ
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EK   2XU/DG\RI3URPSW6XFFRU6FKRRO&KDOPHWWH        Ϯϯϱ͘ϬϬ       ϮϬϬ͘ϬϬ      Ͳ      ϲϬϬ͘ϬϬ      ϭ͕Ϭϯϱ͘ϬϬ       ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
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EK   2XU/DG\RIWKH$QJHOV                              ;ϭϲϱ͘ϬϬͿ      Ͳ    Ͳ       Ͳ    ;ϭϲϱ͘ϬϬͿ
EK   2XU/DG\2I7KH+RO\5RVDU\&KXUFK                  ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\RIWKH/DNH5RPDQ&DWKROLF6FKRRO          ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\RIWKH5RVDU\&KXUFK                       ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   2XU/DG\6WDU2I7KH6HD&KXUFK                     ;ϭϲϱ͘ϬϬͿ      Ͳ    Ͳ       Ͳ    ;ϭϲϱ͘ϬϬͿ
EK   3RQWLILFDO0LVVLRQ6RFLHWLHV                        ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   3URMHFW/D]DUXV                                     ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   5HVXUUHFWLRQ2I2XU/RUG&KXUFK                     ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   5HVXUUHFWLRQRI2XU/RUG6FKRRO                     ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK   6$&5('+($576&+22/                                 Ͳ     Ͳ    Ͳ      ϰϭϱ͘ϬϬ      ϰϭϱ͘ϬϬ      ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK   6W3KLOLS1HUL6FKRRO                              ϯϱ͘ϬϬ     Ͳ    Ͳ      ϮϬϬ͘ϬϬ      Ϯϯϱ͘ϬϬ      ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK   6W0DUJDUHW0DU\6FKRRO                            ϯϱ͘ϬϬ     Ͳ    Ͳ       Ͳ    ϯϱ͘ϬϬ
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EK        6W-RDQRI$UF6FKRRO/D3ODFH                                                                                                                                              ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W-RVHSK7KH:RUNHU&KXUFK                                                                                                                                                  ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W0DULD*RUHWWL&KXUFK                                                                                                                                                      ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W0DUWKD&KXUFK                                                                                                                                                             ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W0DU\0DJGDOHQ6FKRRO                                                                                                                                                      ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W0DU\2I7KH$QJHOV&KXUFK                                                                                                                                                 ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W0DWWKHZWKH$SRVWOH6FKRRO                                                                                                                                                ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W3DWULFN&KXUFK 1HZ2UOHDQV                                                                                                                                               ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W3DWULFN&KXUFK 3RUW6XOSKXU                                                                                                                                              ;ϮϬϬ͘ϬϬͿ     ;ϭϲϱ͘ϬϬͿ     Ͳ    Ͳ    ;ϯϲϱ͘ϬϬͿ
EK        6W3DXO7KH$SRVWOH&KXUFK                                                                                                                                                   ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W3HWHU&KXUFK &RYLQJWRQ                                                                                                                                                   ϭϱϬ͘ϬϬ      Ͳ    Ͳ    Ͳ    ϭϱϬ͘ϬϬ
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EK        6W3HWHU&KXUFK 5HVHUYH                                                                                                                                                     ϳϬ͘ϬϬ    Ͳ    Ͳ    ϴϯϬ͘ϬϬ     ϵϬϬ͘ϬϬ    ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        6W3LXV;6FKRRO                                                                                                                                                             ;ϭϲϱ͘ϬϬͿ     Ͳ    Ͳ    Ͳ    ;ϭϲϱ͘ϬϬͿ
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EK        6W5LWD6FKRRO1HZ2UOHDQV                                                                                                                                                   ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W5RVDOLH6FKRRO                                                                                                                                                            ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W6WHSKHQ6FKRRO                                                                                                                                                            ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W7KHUHVH$FDGHP\                                                                                                                                                           ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W7KRPDV&KXUFK                                                                                                                                                             ϯϱ͘ϬϬ    Ͳ    ϮϬϬ͘ϬϬ     ϮϬϬ͘ϬϬ     ϰϯϱ͘ϬϬ    ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        6WV3HWHU$QG3DXO&KXUFK                                                                                                                                                    Ͳ    Ͳ    Ͳ    ϰϬϬ͘ϬϬ     ϰϬϬ͘ϬϬ    ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        7KH9LVLWDWLRQ2I2XU/DG\&KXUFK                                                                                                                                             ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        9LVLWDWLRQRI2XU/DG\6FKRRO                                                                                                                                                 ϯϱ͘ϬϬ    Ͳ    Ͳ    Ͳ    ϯϱ͘ϬϬ
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EK        6W0DUWKD3DULVK                                                                                                                                                             Ͳ    Ͳ    Ͳ    ϰϬϬ͘ϬϬ     ϰϬϬ͘ϬϬ    ^ƚĂƚĞŵĞŶƚƚŽďĞƐĞŶƚŝŶƐƵďƐĞƋƵĞŶƚŵŽŶƚŚ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        6W$QQ<RXWK&HQWHU                                                                                                                                                          Ͳ    Ͳ    Ͳ    ϮϱϬ͘ϬϬ     ϮϱϬ͘ϬϬ    ^ƚĂƚĞŵĞŶƚƚŽďĞƐĞŶƚŝŶƐƵďƐĞƋƵĞŶƚŵŽŶƚŚ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        6W$QWKRQ\ V*DUGHQV                                                                                                                                                         Ͳ    ϰ͕ϲϵϬ͘ϬϬ       Ͳ    Ͳ    ϰ͕ϲϵϬ͘ϬϬ
EK        &KULVWRSKHU+RPHV,QF                                                                                                                                                       Ͳ    ϭ͕ϬϬϬ͘ϬϬ       Ͳ    Ͳ    ϭ͕ϬϬϬ͘ϬϬ
EK        1RWUH'DPH+HDOWK6\VWHP                                                                                                                                                      Ͳ    ϰ͕ϲϵϬ͘ϬϬ       Ͳ    Ͳ    ϰ͕ϲϵϬ͘ϬϬ
EK        &DWKROLF&KDULWLHV$UFK2I1HZ2UOHDQV                                                                                                                                      Ͳ    ϭ͕ϳϭϮ͘ϳϭ       Ͳ    Ͳ    ϭ͕ϳϭϮ͘ϳϭ
EK        &DWKROLF&KDULWLHV$UFK2I1HZ2UOHDQV                                                                                                                                      Ͳ    ϲϭϰ͘ϱϰ      ϰϬ͘ϲϳ    Ͳ    ϲϱϱ͘Ϯϭ
EK        6W5RVHRI/LPD                                                                                                                                                             ;ϰϭϵ͘ϮϮͿ     Ͳ    Ͳ    Ͳ    ;ϰϭϵ͘ϮϮͿ
EK        &KULVWRSKHU+RPHV,QF                                                                                                                                                       Ͳ    Ͳ    Ͳ    ϱ͕ϳϭϳ͘ϬϬ
                                                                                                                                                                                                                                                                                                                                                          ϱ͕ϳϭϳ͘ϬϬ     WĂǇŵĞŶƚĂŶƚŝĐŝƉĂƚĞĚƵƉŽŶƌĞĨŝŶĂŶĐĞ
EK        &DWKROLF&KDULWLHV$UFK2I1HZ2UOHDQV                                                                                                                                      Ͳ    ϱ͕ϳϳϲ͘ϲϱ       Ͳ    Ͳ    ϱ͕ϳϳϲ͘ϲϱ
EK        ĂƚŚŽůŝĐŚĂƌŝƚŝĞƐ                                                                                                                                                            Ͳ    Ͳ    Ͳ    ϭϬ͕ϲϳϵ͘ϭϲ
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EK        ĂƚŚŽůŝĐDƵƚƵĂů                                                                                                                                                               Ͳ    Ͳ    Ͳ    Ϯϳ͕ϯϯϲ͘ϭϲ
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EK        /ŶƐƵƌĞƌ;sĂƌŝŽƵƐͿ                                                                                                                                                             Ͳ    Ͳ    Ͳ    ϰϳϰ͕ϳϰϱ͘Ϭϰ
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EK        ƌĐŚďŝƐŚŽƉ,ĂŶŶĂŶ,ŝŐŚ^ĐŚŽŽů                                                                                                                                                 Ͳ    ϯϵϯ͘ϰϬ      Ͳ    Ͳ    ϯϵϯ͘ϰϬ
EK        %(51$5',,,52848(77(,9                                                                                                                                                      Ͳ    Ͳ    Ͳ    ;ϰϭϲ͘ϭϯͿ
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EK        &+5,67,11                                                                                                                                                                    Ͳ    Ͳ    ;ϯϬϲ͘ϮϴͿ    Ͳ    ;ϯϬϲ͘ϮϴͿ
EK        'HOLOOH,QQ3URYLGHQW                                                                                                                                                         Ͳ    Ͳ    Ͳ    ϰϵϬ͘ϬϬ     ϰϵϬ͘ϬϬ    ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        0(70$125                                                                                                                                                                     Ͳ    Ͳ    Ͳ    ϭ͕ϱϭϰ͘ϵϳ
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EK        1D]DUHWK3URY                                                                                                                                                                 Ͳ    Ͳ    Ͳ    ϭϰ͕ϮϬϬ͘ϴϲ
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EK        3/$&('8%285*                                                                                                                                                                 Ͳ    Ͳ    ;ϱϲϵ͘ϲϰͿ    Ͳ    ;ϱϲϵ͘ϲϰͿ
EK        5248(77(                                                                                                                                                                      Ͳ    Ͳ    Ͳ    ϭϭ͕ϰϰϮ͘ϲϵ
                                                                                                                                                                                                                                                                                                                                                          ϭϭ͕ϰϰϮ͘ϲϵ      ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        6W%HUQDUG,,GED0HWDLULH,9                                                                                                                                                Ͳ    Ͳ    Ͳ    ;ϰϴϬ͘ϬϬͿ
                                                                                                                                                                                                                                                                                                                                                          ;ϰϴϬ͘ϬϬͿ   EͬͲƌĞĚŝƚĂůĂŶĐĞ
EK        6W0DUWLQ0DQRU                                                                                                                                                               Ͳ    Ͳ    Ͳ    ϰ͕ϱϴϬ͘ϵϰ
                                                                                                                                                                                                                                                                                                                                                          ϰ͕ϱϴϬ͘ϵϰ     ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        6W%HUQDUG,,,                                                                                                                                                               Ͳ    Ͳ    Ͳ    ϯϬ͘ϴϭ    ϯϬ͘ϴϭ
                                                                                                                                                                                                                                                                                                                                                                                                 ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        6W-RKQ%HUFK3URYLGHQW                                                                                                                                                      Ͳ    Ͳ    Ͳ    ϱϬϬ͘ϬϬ     ϱϬϬ͘ϬϬ    ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        9LOOD$GGLWLRQV6W7HUHVD V9LOODV                                                                                                                                           Ͳ    Ͳ    Ͳ    ϰ͕ϮϬϰ͘ϬϬ
                                                                                                                                                                                                                                                                                                                                                          ϰ͕ϮϬϰ͘ϬϬ     ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ
EK        9LOOD6W0DXULFH                                                                                                                                                             Ͳ    Ͳ    Ͳ    ϱ͕Ϯϲϵ͘ϯϱ
                                                                                                                                                                                                                                                                                                                                                          ϱ͕Ϯϲϵ͘ϯϱ     ^ƚĂƚĞŵĞŶƚƐƐĞŶƚŵŽŶƚŚůǇ͖ŐĞŶĞƌĂůĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚ




           dŽƚĂů                                                                                                                                                                        Ψ ϱ͕ϵϱϴ͕ϱϵϬ͘ϭϳ           Ψ ϭ͕ϯϴϬ͕ϴϬϭ͘ϵϵ           Ψ ϯϭϲ͕ϳϬϮ͘Ϯϰ         Ψ ϰ͕ϴϱϬ͕ϬϵϬ͘ϴϲ          Ψ ϭϮ͕ϱϬϲ͕ϭϴϱ͘Ϯϱ

           >ĞƐƐ͗ĂůůŽǁĂŶĐĞƐĂŶĚĚŝƐĐŽƵŶƚƐŽŶƉůĞĚŐĞƐƌĞĐĞŝǀĂďůĞ                                                                                                                                                                                                                                                                                            ;Ϯϰ͕ϴϴϴ͘ϬϬͿ

           /ŶƚĞƌͲĚĞďƚŽƌĞůŝŵŝŶĂƚŝŽŶƐ                                                                                                                                                                                                                                                                                                                       ;ϭϱϲ͕ϵϵϵ͘ϬϬͿ

           dŽƚĂůͬZ͕EĞƚ;ǆĐůƵĚŝŶŐdƵŝƚŝŽŶͬZ͕EĞƚͿ                                                                                                                                                                                                                                                                                                    Ψ ϭϮ͕ϯϮϰ͕Ϯϵϴ͘Ϯϱ




&ŽƌĂŶǇƌĞĐĞŝǀĂďůĞƐŝŶƚŚĞΗKǀĞƌϵϬĂǇƐΗĐĂƚĞŐŽƌǇ͕ƉůĞĂƐĞƉƌŽǀŝĚĞƚŚĞĨŽůůŽǁŝŶŐ͗


           ƵƐƚŽŵĞƌ                                                ZĞĐĞŝǀĂďůĞĂƚĞ                                      ^ƚĂƚƵƐ;ŽůůĞĐƚŝŽŶĞĨĨŽƌƚƐƚĂŬĞŶ͕ĞƐƚŝŵĂƚĞŽĨĐŽůůĞĐƚŝďŝůŝƚǇ͕ǁƌŝƚĞͲŽĨĨ͕ĚŝƐƉƵƚĞĚĂĐĐŽƵŶƚ͕ĞƚĐ͘Ϳ


,^       ĂůĨŽƵƌ                                                 ϴͬϯϬͬϮϬϮϬ                                            ŚĂƉĞůůĞŽƌĚĞƌƐĞǆƚƌĂĐĂƉƐĂŶĚŐŽǁŶƐĂƚƚŚĞďĞŐŝŶŶŝŶŐŽĨƚŚĞƐĐŚŽŽůǇĞĂƌŝŶĐĂƐĞĂƐƚƵĚĞŶƚůŽƐĞƐƚŚĞŝƌƐ͘tĞƌĞƚƵƌŶƚŽĂůĨŽƵƌĂĨƚĞƌŐƌĂĚƵĂƚŝŽŶ͘dŚŝƐǇĞĂƌƐŐƌĂĚƵĂƚŝŽŶƐŝƐůĂƚĞƌƚŚĂŶŶŽƌŵĂů͘


Z,^       &D                                                                                                         hŶŬŶŽǁŶ͘ƌĐŚĚŝŽĐĞƐĞŚĂŶĚůĞĚ&DƉƌŽũĞĐƚƐ͘hŶĚĞƌƐƚŽŽĚǁĞǁĞƌĞƚŽďĞƌĞŝŵďƵƌƐĞĚƚŽƚĂůůǇ͘
                                                                   ĐĂůĞŶĚĂƌǇĞĂƌϮϬϮϬŝƐzƌϮŽĨĂϱ
^^        WůĞĚŐĞηϭ                                               ǇĞĂƌƉůĞĚŐĞ                        zƌϮWůĞĚŐĞZĞĐΖĚŝŶ:ƵŶϮϬϮϬΘŝŶĞǆĐĞƐƐŽĨƐĐŚĞĚƵůĞĚĂŵŽƵŶƚ
                                                                     ĐĂůĞŶĚĂƌǇĞĂƌϮϬϮϬŝƐzƌϮŽĨĂϱ
^^        WůĞĚŐĞηϮ                                                                     ǇĞĂƌƉůĞĚŐĞ zƌϮWůĞĚŐĞZĞĐΖĚŝŶ:ƵůϮϬϮϬΘŝŶĞǆĐĞƐƐŽĨƐĐŚĞĚƵůĞĚĂŵŽƵŶƚ



W:W,^      ŵƉůŽǇĞĞĚǀĂŶĐĞƐ                                                                                           ŵƉůŽǇĞĞĂĚǀĂŶĐĞƐĨŽƌĨŽƌƐĐŚŽŽůƚƵŝƚŝŽŶͲĚĞĚƵĐƚŝŽŶƐĂƌĞƚĂŬĞŶƚŚƌŽƵŐŚƚŚĞĨŝƐĐĂůǇĞĂƌ


W:W,^
           WůĞĚŐĞƐΨϭ͕ϬϬϬΘƵŶĚĞƌͲĂƉ͘ĂŵƉĂŝŐŶ
^^


^^       WůĞĚŐĞƐΨϭ͕ϬϬϭƚŽΨϭϬ͕ϬϬϬͲĂƉ͘ĂŵƉĂŝŐŶ


^^       WůĞĚŐĞƐхΨϭϬ͕ϬϬϬ͗WůĞĚŐĞηϭ


^^       WůĞĚŐĞƐхΨϭϬ͕ϬϬϬ͗WůĞĚŐĞηϮ

                                                                                                                        ůůƉůĞĚŐĞƐůŝƐƚĞĚŽŶƐĐŚĞĚƵůĞŚĂǀĞĂŶĂƉƉƌŽǆ͘ϱйĂůůŽǁĂŶĐĞƌĞĐŽƌĚĞĚĨŽƌƵŶĐŽůůĞĐƚĂďŝůŝƚǇ͘ŽŵŵƵŶŝĐĂƚŝŽŶǁŝƚŚĚŽŶŽƌƐĨŽƌĐŽůůĞĐƚĂďŝůŝƚǇŝƐŽŶŐŽŝŶŐ
^^       WůĞĚŐĞƐхΨϭϬ͕ϬϬϬ͗WůĞĚŐĞηϯ




^^       WůĞĚŐĞƐхΨϭϬ͕ϬϬϬ͗WůĞĚŐĞηϰ




^^       ^ƚĂĚŝƵŵWůĞĚŐĞƐΨϭ͕ϬϬϬΘƵŶĚĞƌ
                                                                                                                        ŵŽƵŶƚŽĨ&DƐƵďƐŝĚŝǌĞĚƌŽŽĨƉƌŽũĞĐƚƚŚĂƚŚĂƐďĞĞŶĂĚǀĂŶĐĞĚďǇƌĐŚĚŝŽĐĞƐĞƚŽďĞƌĞŝŵďƵƌƐĞĚďǇ&D͘ůŝĂďŝůŝƚǇŝŶƚŚĞƐĂŵĞĂŵŽƵŶƚĂƉƉĞĂƌƐŽŶƚŚĞďĂůĂŶĐĞƐŚĞĞƚ͘




^^       &DZĞŝŵďƵƌƐĞŵĞŶƚ


/ŶĐůƵĚĞďĞůŽǁĂůůƚƵŝƚŝŽŶĂŶĚĨĞĞƐƌĞĐĞŝǀĂďůĞĨŽƌƚŚĞϭϵͬϮϬƐĐŚŽŽůǇĞĂƌƚŚĂƚƌĞŵĂŝŶƵŶĐŽůůĞĐƚĞĚEƚƵŝƚŝŽŶĂŶĚĨĞĞƐƌĞĐĞŝǀĂďůĞĨŽƌƚŚĞϮϬͬϮϭƐĐŚŽŽůǇĞĂƌĂĨƚĞƌ:ƵůǇϭ;ĚĂƚĞŽĨƚƵŝƚŝŽŶƌĞǀĞŶƵĞƌĞĐŽŐŶŝƚŝŽŶͿ͘^ƵŵŵĂƌŝǌĞĞƐƚŝŵĂƚĞĚĐĂƐŚĐŽůůĞĐƚŝŽŶƐƵƐŝŶŐĚĂǇƐďƵĐŬĞƚƐďĞůŽǁ;ϬͲϯϬ͕ϯϭͲϲϬ͕ϲϭͲϵϬ͕ϵϬнͿ
ƚŽĚŝƐĐůŽƐĞyWdƚŝŵŝŶŐŽĨĐĂƐŚĐŽůůĞĐƚŝŽŶƐ͘/ĨǇŽƵĚŽŶŽƚĞǆƉĞĐƚƚŽĐŽůůĞĐƚĂŶǇƚƵŝƚŝŽŶĂŶĚĨĞĞƐͬZ͕ƚŚĞĞǆƉĞĐƚĞĚĐĂƐŚĐŽůůĞĐƚŝŽŶƐƐŚŽƵůĚďĞǌĞƌŽĂŶĚŶŽƚďĞŝŶĐůƵĚĞĚŝŶĂŶǇĚĂǇƐďƵĐŬĞƚƐďĞůŽǁ͘



                                                                                                                                                    dƵŝƚŝŽŶĂŶĚ&ĞĞƐZŐŝŶŐZĞƉŽƌƚ
                                                                                                                                                                                                                                                 ΎǆƉĞĐƚĞĚĂƐŚŽůůĞĐƚŝŽŶƐ
                        dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĐĞŝǀĂďůĞ                                   ŵŽƵŶƚ                                                      ƵĞĂƚĞ                                               ϬͲϯϬ                                   ϯϭͲϲϬ                  ϲϭͲϵϬ                                                  KǀĞƌϵϬ                                     dŽƚĂů

K>        dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬZͲϭϵͬϮϬ                             Ψ ϱ͕ϴϴϬ͘ϰϲ                             ϰͬϭϮͬϮϬϭϵ                             Ψ Ͳ    Ψ ϭ͕ϯϳϯ͘ϳϯ Ψ Ͳ          Ψ ϰ͕ϱϬϲ͘ϳϯ Ψ ϱ͕ϴϴϬ͘ϰϲ

K>        dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬZͲϮϬͬϮϭ                             Ψ ϯϳϬ͕ϲϲϰ͘Ϭϰ
                                                                                                                                                 ϰͬϭϭͬϮϬϮϬ                             Ψ ϴ͕ϯϵϬ͘ϬϬ Ψ ϰϱ͕ϳϬϱ͘ϲϮ Ψ ϲϰ͕ϲϯϱ͘ϲϬ Ψ ϭϱϰ͕ϴϰϯ͘ϯϱ Ψ Ϯϳϯ͕ϱϳϰ͘ϱϳ

,^       dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬZͲϮϬͬϮϭ                             Ψ ϭϭϵ͕ϰϯϲ͘ϰϵ                                                                     Ψ ϭϭϴ͕ϱϯϴ͘ϬϬ Ψ Ͳ             Ψ Ͳ    Ψ Ͳ    Ψ ϭϭϴ͕ϱϯϴ͘ϬϬ

,^       dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬZͲϭϵͬϮϭ                              Ψ ϮϬ͕ϲϰϬ͘ϴϮ                                                                    Ψ Ͳ    Ψ Ͳ     Ψ Ͳ    Ψ ϳϳϮ͘ϬϬ Ψ ϳϳϮ͘ϬϬ

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^D^^       dƵŝƚŝŽŶĂŶĚ&ĞĞƐͬZϭϴͬϭϵ                              Ψ ϭ͕Ϯϰϯ͘ϯϵ                      Ψ Ͳ   Ψ ϭ͕Ϯϰϯ͘ϯϵ Ψ Ͳ       Ψ Ͳ   Ψ ϭ͕Ϯϰϯ͘ϯϵ

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dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĐĞŝǀĂďůĞͲĞƐƚŝŵĂƚĞĚƚŽĐŽůůĞĐƚ                                                                                                                                                                                                                                                      Ψ ϱ͕Ϯϭϴ͕ϮϮϵ͘ϴϮ



dƵŝƚŝŽŶĂŶĚ&ĞĞƐZĞĐĞŝǀĂďůĞƉĞƌĂůĂŶĐĞ^ŚĞĞƚ                                                                                                                                                                                                                                                          Ψ ϱ͕ϰϰϴ͕ϭϴϳ͘Ϯϲ



ůůŽǁĂŶĐĞĨŽƌŽƵďƚĨƵůĐĐŽƵŶƚƐ;dƵŝƚŝŽŶͬZŽŶĂůĂŶĐĞ^ŚĞĞƚůĞƐƐ͗dƵŝƚŝŽŶĞƐƚŝŵĂƚĞĚƚŽĐŽůůĞĐƚͿ                                                                                                                                                                                                      Ψ ϮϮϵ͕ϵϱϳ͘ϰϰ
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^ƵƉƉŽƌƚŝŶŐ^ĐŚĞĚƵůĞƐͲ/ŶƐƵƌĂŶĐĞ

ĂƐĞŶĂŵĞ                                                        dŚĞZŽŵĂŶĂƚŚŽůŝĐŚƵƌĐŚŽĨƚŚĞƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ
ĂƐĞŶƵŵďĞƌ                                                      ϮϬͲϭϬϴϰϲ

&ŽƌWĞƌŝŽĚ:ƵůǇϭƚŽ:ƵůǇϯϭ͕ϮϬϮϬ

                                                                                                              /ŶƐƵƌĂŶĐĞ^ĐŚĞĚƵůĞ

dǇƉĞ                                                            ĂƌƌŝĞƌͬŐĞŶƚ                                                  ŽǀĞƌĂŐĞ;ΨͿ                                                      ĂƚĞŽĨǆƉŝƌĂƚŝŽŶ       WƌĞŵŝƵŵWĂŝĚ
^ĞůĨ/ŶƐƵƌĂŶĐĞƚŚƌŽƵŐŚĂƉƚŝǀĞ/ŶƐƵƌĂŶĐĞ͗ĞĚƵĐƚŝďůĞ           ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ/ŶĚĞŵŶŝƚǇŽŵƉĂŶǇ͕/ŶĐ͘             ^ĞůĨͲŝŶƐƵƌĞĚƚŚƌŽƵŐŚĂƉƚŝǀĞͲΨϯϬϬ͕ϬϬϬƉĞƌŽĐĐƵƌƌĞŶĐĞĂŶĚ
ƌĞŝŵďƵƌƐĞŵĞŶƚƉƌŽƉĞƌƚǇ͕ĂƵƚŽŵŽďŝůĞůŝĂďŝůŝƚǇ͕ƉŚǇƐŝĐĂůĚĂŵĂŐĞ͕                                                                ĂĐŽŵďŝŶĞĚĂŶŶƵĂůĂŐŐƌĞŐĂƚĞŽĨΨϯ͕ϱϬϬ͕ϬϬϬ͘tŽƌŬĞƌƐ
ǁŽƌŬĞƌƐΖĐŽŵƉĞŶƐĂƚŝŽŶ͕ƐĞǆƵĂůŵŝƐĐŽŶĚƵĐƚĂŶĚŐĞŶĞƌĂůůŝĂďŝůŝƚǇ͘                                                                ŽŵƉĞŶƐĂƚŝŽŶŽŶĂŶŽĐĐƵƌƌĞŶĐĞďĂƐŝƐĂŶĚƐĞǆƵĂů
                                                                                                                               ŵŝƐĐŽŶĚƵĐƚŽŶĂĐůĂŝŵƐͲŵĂĚĞďĂƐŝƐ͘tŽƌŬĞƌƐΖŽŵƉĞŶƐĂƚŝŽŶ
                                                                                                                               ŚĂƐůŝŵŝƚƐŽĨΨϴϬϬ͕ϬϬϬƉĞƌĂĐĐŝĚĞŶƚĂŶĚŶŽĂŶŶƵĂůĂŐŐƌĞŐĂƚĞ͘ ϳͬϭͬϮϬϮϭ                      zĞƐ
DĞĚŝĐĂů^ƚŽƉͲ>ŽƐƐŽǀĞƌĂŐĞ͗                                      ƌĐŚĚŝŽĐĞƐĞŽĨEĞǁKƌůĞĂŶƐ/ŶĚĞŵŶŝƚǇŽŵƉĂŶǇ͕/ŶĐ͘            /ŶĞǆĐĞƐƐŽĨΨϭϬ͕ϬϬϬĚĞĚƵĐƚŝďůĞůĂǇĞƌƵƉƚŽΨϯϬϬ͕ϬϬϬƉĞƌ
                                                                                                                               ŝŶĚŝǀŝĚƵĂůƉĞƌǇĞĂƌ͘                                         ϲͬϯϬͬϮϬϮϭ                     zĞƐ
                                                                 hŶŝƚĞĚ,ĞĂůƚŚĐĂƌĞ                                             /ŶĞǆĐĞƐƐŽĨΨϯϬϬ͕ϬϬϬŽĨĐůĂŝŵƐƉĞƌŝŶĚŝǀŝĚƵĂůƉĞƌǇĞĂƌ͘     ϲͬϯϬͬϮϬϮϭ                     zĞƐ
ŽǀĞƌĂŐĞƐdŚƌŽƵŐŚĂƚŚŽůŝĐDƵƚƵĂů͗
                                                                                                                               ΨϮ͕ϭϳϱ͕ϱϳϯ͕ϬϬϬŐŐƌĞŐĂƚĞ;ĐŽŵďŝŶĞĚƉŽůŝĐǇǁŝƚŚĂĨĨŝůŝĂƚĞĚ
ƵŝůĚŝŶŐĂŶĚƵŝůĚŝŶŐWĞƌƐŽŶĂůWƌŽƉĞƌƚǇ                          dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ĞŶƚŝƚŝĞƐͿ                                                    ϳͬϭͬϮϬϮϭ                      zĞƐ
EĂŵĞĚ^ƚŽƌŵ                                                      dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϳϬ͕ϬϬϬ͕ϬϬϬƉĞƌKĐĐƵƌƌĞŶĐĞ͕ϯйĚĞĚƵĐƚŝďůĞƉĞƌďƵŝůĚŝŶŐ       ϳͬϭͬϮϬϮϭ
WĞƌŽŶĂů/ŶũƵƌǇ͕ŽĚŝůǇ/ŶũƵƌǇŝŶĐůƵĚŝŶŐĐŽƌƉŽƌĂůƉƵŶŝƐŚŵĞŶƚ͕
ĂĚǀĞƌƚŝƐŝŶŐŝŶũƵƌǇΘƉƌŽƉĞƌƚǇĚĂŵĂŐĞ                             dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
ŝƌĞĐƚŽƌƐΘKĨĨŝĐĞƌƐΘ^ĐŚŽŽůŽĂƌĚ>ĞŐĂů>ŝĂďŝůŝƚǇ              dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
&ŝƌĞ>ĞŐĂů>ŝĂďŝůŝƚǇ                                             dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
>ŝƋƵŽƌ>ŝĂďŝůŝƚǇ                                                 dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
ŽƵŶƐĞůŝŶŐƌƌŽƌƐΘKŵŝƐƐŝŽŶƐ                                    dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
ŵƉůŽǇĞĞĞŶĞĨŝƚƐƌƌŽƌƐΘKŵŝƐƐŝŽŶƐ                             dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
ĞŵĞƚĞƌǇƌƌŽƌƐΘKŵŝƐƐŝŽŶƐ                                      dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ
dĞĂĐŚĞƌΖƐ>ŝĂďŝůŝƚǇ                                              dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
ƚŚůĞƚŝĐWĂƌƚŝĐŝƉĂŶƚƐ                                            dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
/ŶĐŝĚĞŶƚĂůDĞĚŝĐĂůDĂůƉƌĂĐƚŝĐĞ                                   dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϱϬϬ͕ϬϬϬ^ŝŶŐůĞ>ŝŵŝƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
>ŝŵŝƚĞĚDŽůĚŽǀĞƌĂŐĞ                                            dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϮϱϬ͕ϬϬϬƉĞƌĐůĂŝŵĂŶƚ                                        ϳͬϭͬϮϬϮϭ                      zĞƐ
ǆĐĞƐƐƵƚŽ>ŝĂďŝůŝƚǇ                                            dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϮϬϬ͕ϬϬϬ^>ǆĐĞƐƐŽĨΨϯϬϬ͕ϬϬϬ^>                          ϳͬϭͬϮϬϮϭ                      zĞƐ
ŵƉůŽǇĞƌΖƐ>ŝĂďŝůŝƚǇ                                             dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϴϬϬ͕ϬϬϬ                                                     ϳͬϭͬϮϬϮϭ                      zĞƐ

^ĞǆƵĂůDŝƐĐŽŶĚƵĐƚŽǀĞƌĂŐĞ͗
>ŝŵŝƚĞĚ^ĞǆƵĂůDŝƐĐŽŶĚƵĐƚͲůĂŝŵƐDĂĚĞ                            dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 Ψϯ͕ϬϬϬ͕ϬϬϬŶŶƵĂůŐŐƌĞŐĂƚĞͲϳͬϭͬϮϬϬϵͲƉƌĞƐĞŶƚ               ϳͬϭͬϮϬϮϭ
                                                                 dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 Ψϭ͕ϬϬϬ͕ϬϬϬŶŶƵĂůŐŐƌĞŐĂƚĞͲϳͬϭͬϭϵϵϴͲϳͬϭͬϮϬϬϵ
                                                                 dŚĞĂƚŚŽůŝĐDƵƚƵĂůZĞůŝĞĨ^ŽĐŝĞƚǇŽĨŵĞƌŝĐĂ                 ΨϲϱϬ͕ϬϬϬŶŶƵĂůŐŐƌĞŐĂƚĞͲϳͬϭͬϭϵϵϯͲϳͬϭͬϭϵϵϴ
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ǆĐĞƐƐŵƉůŽǇĞƌΖƐ>ŝĂďŝůŝƚǇͲǁŽƌŬĞƌƐΖĐŽŵƉĞŶƐĂƚŝŽŶ              ^ĂĨĞƚǇEĂƚŝŽŶĂůĂƐƵĂůƚǇŽŵƉĂŶǇ                              Ψϭ͕ϬϬϬ͕ϬϬϬǆĐĞƐƐŽĨΨϴϬϬ͕ϬϬϬ                                ϳͬϭͬϮϬϮϭ                      zĞƐ

&ůŽŽĚ/ŶƐƵƌĂŶĐĞŽŶWƌŽƉĞƌƚǇ                                         tƌŝŐŚƚEĂƚŝŽŶĂů&ůŽŽĚ/ŶƐƵƌĂŶĐĞŽŵƉĂŶǇ                    &ůŽŽĚWŽůŝĐŝĞƐĞƚĂŝůĞĚĞůŽǁ                                ^ĞĞďĞůŽǁ                     zĞƐ
EŽƚĞ͗WĞƌĚŝƐĐƵƐƐŝŽŶǁŝƚŚh^dƌƵƐƚĞĞ͕ƚŚĞƌĞĂƌĞŶŽĐĞƌƚŝĨŝĐĂƚĞƐ
ĨŽƌ&ůŽŽĚ/ŶƐƵƌĂŶĐĞ͘


KƚŚĞƌ;ŽƉƚŝŽŶĂůĞŵƉůŽǇĞĞĐŽǀĞƌĂŐĞƐƚŚĂƚĂƌĞŶŽƚƉĂŝĚďǇĞŵƉůŽǇĞƌͿ
KƉƚŝŽŶĂů>ŝĨĞ͕ĞŶƚĂů͕sŝƐŝŽŶ͕ƌŝƚŝĐĂů/ůůŶĞƐƐ͕sŽůƵŶƚĂƌǇΘ͕ 'ƵĂƌĚŝĂŶ>ŝĨĞ/ŶƐƵƌĂŶĐĞŽŵƉĂŶǇ
ĐĐŝĚĞŶƚĞŶĞĨŝƚƐ͘
                                                                                                                               sĂƌŝĞƐͬŵƉůŽǇĞĞWĂŝĚKŶůǇ                                    ϳͬϭͬϮϬϮϭ                      zĞƐ


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       $UFKGLRFHVHRI1HZ2UOHDQV'HEWRU(QWLW\1DPH                                     )ORRG$JHQW                           )ORRG&DUULHU                                                                                                  )ORRG3ROLF\
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$'0$UFKELVKRS V5HVLGHQFH                                     &DWKROLF0XWXDO5HOLHI6RFLHW\RI$PHULFD                     :ULJKW1DWLRQDO)ORRG,QVXUDQFH&RPSDQ\                      *DUDJH %XLOGLQJ2QO\                   




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         *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
         7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
         7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
         7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

         ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
         ZKLFK LV LWV GDWH RI LVVXH




                                                   7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD




                                                 6HQLRU 9LFH 3UHVLGHQW *URXS DQG :RUNVLWH 0DUNHWV




                                       1RQ3DUWLFLSDWLQJ  1R 'LYLGHQGV 3D\DEOH

                                           3OHDVH UHDG WKLV 3ROLF\ FDUHIXOO\




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                                7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                           $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
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   ,PSRUWDQW 1RWLFH 7KLV LV D OLPLWHG SODQ RI &ULWLFDO ,OOQHVV LQVXUDQFH ,W LV D
   VXSSOHPHQW WR KHDOWK LQVXUDQFH ,W LV QRW D VXEVWLWXWH IRU KRVSLWDO RU PHGLFDO
   H[SHQVH LQVXUDQFH D KHDOWK PDLQWHQDQFH RUJDQL]DWLRQ +02 FRQWUDFW RU PDMRU
   PHGLFDO H[SHQVH LQVXUDQFH 3OHDVH UHDG WKLV 3ROLF\ FDUHIXOO\ WR IXOO\ XQGHUVWDQG
   ZKDW LW FRYHUV OLPLWV DQG H[FOXGHV

         *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
         7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V $SSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
         7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
         7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

         ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
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                                                       3URYLGLQJ
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                                            'LYLGHQGV $SSRUWLRQHG $QQXDOO\

         3OHDVH UHDG WKLV 3ROLF\ FDUHIXOO\ ,I DQ\ HUURU RU RPLVVLRQ LV IRXQG VHQG IXOO GHWDLOV ZLWK WKH QXPEHU
         RI WKH 3ROLF\ WR *XDUGLDQ




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                               7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                          $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
                                    +XGVRQ <DUGV 1HZ <RUN 1HZ <RUN 
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                                $FFLGHQWDO 'HDWK DQG 'LVPHPEHUPHQW &RYHUDJH


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        7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
        7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
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                         7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                          $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
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                                        *URXS 'HQWDO ,QVXUDQFH &RYHUDJH


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        *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
        7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
        7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
        7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

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        ZKLFK LV LWV GDWH RI LVVXH




                                  5D\PRQG 0DUUD 6HQLRU 9LFH 3UHVLGHQW *URXS 3URGXFWV DQG 0DUNHWLQJ



                                      1RQSDUWLFLSDWLQJ  1R 'LYLGHQGV 3D\DEOH

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                            7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                             $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
                                       +XGVRQ <DUGV 1HZ <RUN 1HZ <RUN 
                                              ZZZ*XDUGLDQ$Q\WLPHFRP


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                                                    $FFLGHQW &RYHUDJH


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        *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
        7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
        7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
        7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

        ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
        ZKLFK LV LWV GDWH RI LVVXH




                 +DUULV 2OLQHU 6HQLRU 9LFH 3UHVLGHQW               5D\PRQG 0DUUD 6HQLRU 9LFH 3UHVLGHQW
                 &RUSRUDWH 6HFUHWDU\                                 *URXS DQG :RUNVLWH 0DUNHWV




                                         1RQ3DUWLFLSDWLQJ  1R 'LYLGHQGV 3D\DEOH


                                              3OHDVH UHDG WKLV 3ROLF\ FDUHIXOO\
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                         7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                          $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
                                    +XGVRQ <DUGV 1HZ <RUN 1HZ <RUN 


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                                        *URXS 9LVLRQ ,QVXUDQFH &RYHUDJH


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        *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
        7KLV SURPLVH LV EDVHG RQ WKH (PSOR\HU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
        7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
        7KLV 3ROLF\ WDNHV HIIHFW DW  $0 PLGQLJKW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

        ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
        ZKLFK LV LWV GDWH RI LVVXH




                                  5D\PRQG 0DUUD 6HQLRU 9LFH 3UHVLGHQW *URXS 3URGXFWV DQG 0DUNHWLQJ



                                      1RQ3DUWLFLSDWLQJ  1R 'LYLGHQGV 3D\DEOH

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                                 7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                            $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
                                      +XGVRQ <DUGV 1HZ <RUN 1HZ <RUN 
                                            *5283 ,1685$1&( 32/,&<
                                                 7HUP /LIH &RYHUDJH


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         *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
         7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
         7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
         7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

         ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
         ZKLFK LV LWV GDWH RI LVVXH




                                                   7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD




                                                 6HQLRU 9LFH 3UHVLGHQW *URXS DQG :RUNVLWH 0DUNHWV




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                               7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                          $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
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                                           *5283 ,1685$1&( 32/,&<
                                $FFLGHQWDO 'HDWK DQG 'LVPHPEHUPHQW &RYHUDJH


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        *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
        7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
        7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
        7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

        ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
        ZKLFK LV LWV GDWH RI LVVXH




                                                  7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD




                                                6HQLRU 9LFH 3UHVLGHQW *URXS DQG :RUNVLWH 0DUNHWV




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                          7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                           $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
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                                  6KRUW 7HUP 'LVDELOLW\ ,QFRPH &RYHUDJH


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         *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
         7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
         7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
         7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

         ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
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                                                   7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD




                                                 6HQLRU 9LFH 3UHVLGHQW *URXS DQG :RUNVLWH 0DUNHWV



                                        1RQ3DUWLFLSDWLQJ 1R 'LYLGHQGV 3D\DEOH


                                           3OHDVH UHDG WKLV 3ROLF\ FDUHIXOO\




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                          7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD
                           $ 0XWXDO &RPSDQ\  ,QFRUSRUDWHG  E\ WKH 6WDWH RI 1HZ <RUN
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         *8$5',$1 $*5((6 WR SD\ EHQHILWV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV RI WKLV 3ROLF\
         7KLV SURPLVH LV EDVHG RQ WKH 3ROLF\KROGHU¶V DSSOLFDWLRQ DQG SD\PHQW RI WKH UHTXLUHG SUHPLXPV
         7KLV 3ROLF\ LV GHOLYHUHG LQ WKH MXULVGLFWLRQ VKRZQ DERYH DQG LV JRYHUQHG E\ LWV ODZV
         7KLV 3ROLF\ WDNHV HIIHFW RQ WKH 3ROLF\ 'DWH VKRZQ DERYH

         ,1 :,71(66 2) :+,&+ *8$5',$1 KDV FDXVHG WKLV 3ROLF\ WR EH H[HFXWHG DV RI -XQH  
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                                                   7KH *XDUGLDQ /LIH ,QVXUDQFH &RPSDQ\ RI $PHULFD




                                                 6HQLRU 9LFH 3UHVLGHQW *URXS DQG :RUNVLWH 0DUNHWV



                                       1RQ3DUWLFLSDWLQJ  1R 'LYLGHQGV 3D\DEOH


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                                     )RU 1RWLFH 3XUSRVHV 2QO\
                                2IILFH RI WKH 8QLWHG 6WDWHV 7UXVWHH
                                        5H &DVH 
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    United HealthCare Insurance Company
    185 Asylum Street Hartford, CT 06103-3408

                                                   AMENDMENT NO:


    Amendment to be attached to and made a part of Group Policy No. UHIC-600737, issued by United HealthCare Insurance
    Company (herein called Company) to The Roman Catholic Church of the Archdiocese of New Orleans (herein called
    Policyholder).



    It is agreed by and between the Company and the Policyholder that

    1.      The page entitled "Schedule Of Benefits" as contained in the Policy is hereby replaced with the attached page
            entitled "Schedule Of Benefits".

    2.      This Amendment will hereby be effective as of July 1, 2020.




    UHIC AMEND (07/06)
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                                        United HealthCare Insurance Company
                                                       A Stock Company
                                           185 Asylum Street Hartford, CT 06103-3408
                                                    Phone: 1-800-424-0233

                                                  SCHEDULE OF BENEFITS

    This Schedule of Benefits is only applicable to Excess Loss Insurance provided by the Company during the Policy Period
    shown below.

    Policyholder:       The Roman Catholic Church of the Archdiocese of New Orleans
    Policy Number:      UHIC-600737
    Effective Date:     07/01/2020
    Administrator:      UMR
    Coverage specified herein is applicable only during the Policy Period from 07/01/2019 to 06/30/2020, and is further subject
    to all terms and conditions of this Policy.

    SPECIFIC EXCESS LOSS INSURANCE:                              X    YES          NO

    Benefit Period: Covered Expenses Incurred from 01/01/2019 through 06/30/2021 and Paid from 07/01/2020 through
    06/30/2021.

    Specific Deductible per Covered Person: $300,000
    Specific Percentage Reimbursable: 100%
    Maximum Specific Benefit per Covered Person: Unlimited

    Specific Excess Loss Insurance includes:
    X Medical        X Stand Alone Prescription Drug Program

    Common Accident Provision:                      X Yes                 No
    Common Accident means if more than one Covered Person in the same immediate family incurs Covered Expenses as a
    result of the same accident, the Specific Deductible will be applied only once to all Covered Expenses Paid because of that
    accident for all Covered Persons in the family during the same Benefit Period.

    Description                                             Rates
    Single                                                             $18.76
    Family                                                             $46.89


    Specific Accommodation Reimbursement Endorsement:            X    Yes       Not applicable
    Specific Terminal Liability Endorsement:                          Yes     X Not applicable
    Aggregating Specific Deductible Endorsement:                      Yes     X Not applicable
    Specific Step-Down Deductible Endorsement                    X    Yes       Not applicable


    AGGREGATE EXCESS LOSS INSURANCE:                           YES      X    NO

    SPECIAL CONDITIONS:
    For Notice Purposes Only:
    Office of the United States Trustee
    Re: Case # 20-10846
    400 Poydras Street
    Suite 2110
    New Orleans, LA 70130



    UHIELP-LA (07/06)                                  SCHED
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                                                                             84 of 222
                                                                                                                          Certificate Number



              The Catholic Mutual Relief Society of America
                                                                             Declarations
Certificate Holder:                Archdiocese of New Orleans
Address:                           7887 Walmsley Avenue                         Charges Due at Inception:                  $5,813,836.00
                                   New Orleans, LA 70125                        Business of Certificate Holder
                                                                                                      Catholic Archdiocese
Certificate Period From:                      July 1, 2020                      To:                         July 1, 2021
                                         Noon Standard Time                                      Noon Standard Time
Coverage is provided in accordance with the following schedule of coverages. No coverage is provided for any part
of this certificate unless a limit of liability or the word "Included" is shown for such coverage section or part.

Section I-Property                                                                  Limit of Coverage/Liability             Deductible

A. Building and B. Personal Property*...................................                 $ 2,175,573,000               See PKS-113-21

Supplementary Declarations - PKS-101A

Named Storm - See PKS-192A(7-08)………………………….                                                70,000,000 Per Occurrence   3% Per Building
                                                                                           Annual Aggregate

*Coverage is limited per building/contents to the
 amount shown on the attached ledger page(s).

Section II-Liability                                                                     $ 500,000
Certificate Limit of Liability                                                             except as indicated below
Limit(s) shown for the following is the maximum we will pay
per occurrence/aggregate under the coverage part:
D. Bodily Injury, Property Damage, Personal Injury,
    Advertising Injury, Corporal Punishment...........................                     500,000                     See PKS-113-21
E. Fire Legal Liability..........................................................          500,000                     See PKS-113-21
F. Medical Payments to Others...........................................                   Nil
G. Cemetery Errors & Omissions........................................                     500,000                     See PKS-113-21
H. Counseling Errors & Omissions......................................                     500,000                     See PKS-113-21
J. Employee Benefits Errors & Omissions...........................                         500,000                     See PKS-113-21
K. Employment Practices Liability-See Form PKS-113-10…                                     500,000 Annual Aggregate    See PKS-113-21




Optional:

Incidental Medical Malpractice…………………………………                                                500,000                     See PKS-113-21
Liquor Liability (Limited)......................................................           500,000                     See PKS-113-21
Excess Auto Liability - Form PKS-104-1(7-08)......................                         200,000                     See PKS-113-21
Limited Mold Coverage - PKS-190(7-08)……………………….                                            250,000                     See PKS-113-21
Unmanned Aircraft (Drone) Coverage PKS-200(1-16r2)………                                      500,000                     $10,000




Section III-Crime Coverage                                                               $ 600,000
Certificate Limit of Liability                                                      See PKS-113-11, 12, 13 & 14


Employee Dishonesty-Agreement I (Blanket)..........................                        125,000                     See PKS-113-21
Theft-Agreement II-Money & Securities.................................                     125,000                     See PKS-113-21
Depositors Forgery-Agreement III..........................................                 125,000                     See PKS-113-21
(Including Counterfeit Money)
Computer Fraud & Funds Transfer PKS-154(1-17)                                              250,000                     See PKS-113-21



PKS-101(7-19)                                                                                                                            Page 1
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   7-1-20 to 7-1-21
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      Certificate Period                                                                                               Certificate Number



Section IV-Marine Forms                                                               Limit of Coverage/Liability    Deductible
Specific Coverage
Builders Risk Form PKS-102(1-08)…………                                                       $ 10,000,000              See PKS-113-21
Builders Risk Earthquake….................................................                   1,000,000               $50,000



Demolition Cost Coverage PKS-173(7-08)                                                      See PKS 113-16           See PKS-113-21



Section V-Directors & Officers
Per Coverage Form                   Retroactive
PKS-128(7-19)                       Date                        7-1-89                      500,000                  See PKS-113-21

Section VI-Priests/Religious
Persons Covered - Priests & Religious on assignment
                        at covered locations
Personal Property Coverage PKS-106(7-08) & PKS-113-17….                                     25,000                   $100 All Peril
Personal Liability - Each Priest on assignment at covered
                     location PKS-107(7-08)……………………….                                       300,000
Personal Medical Payments - Per Person...............................                       500
Section VII-Excess Liability
Per Coverage Form(s)
See PKS-117(10-15)
A. (1) Each Occurrence, except Directors & Officers Liability…                              25,000,000
   (2) Each Claim - Directors & Officers Liability…………                                      20,000,000
B. (1) Annual Aggregate ………………………….                                                         50,000,000
   (2) Annual Aggregate ……………………….                                                          40,000,000
C. Retained Limit.................................................................…         N/A

Section VIII-Equipment Breakdown
Per Coverage Form EB T001 (1-19)                                                            150,000,000 Maximum      $5,000



Section X-Long Term Care Professional
Liability, General Liability and
Directors & Officers
See PKS-LTC DEC(7-08)
                            Retroactive Date: 7-1-89
A. Each Occurrence ………………………..                                                              2,000,000
B. Annual Aggregate …………………………                                                              5,000,000
C. Medical Payments…………………………………………                                                         5,000
D. Retained Limit……………………………………………….                                                        300,000 per occurrence   See PKS-113-21
Optional:
Excess Auto Liability - Form PKS-LTC 104-1(7-08).....................                       200,000                  See PKS-113-21
Limited Mold Coverage - PKS-LTC 190(7-08)…………………..                                          250,000                  See PKS-113-21

Section XI-Sexual Misconduct
Per Coverage Form PKS-SM100(6-20)

Sexual Misconduct - Retroactive Dates -                                                     3,000,000 Aggregate      See PKS-113-21
  See PKS-SM100S(6-20)
Conditional Defense Coverage for Innocent Clergymen -
 Form PKS-182(7-19) Coverage Effective 7-1-99 to 1-1-2012                                   150,000 Aggregate        See PKS-113-21
Conditional Defense Coverage for Innocent Person -
 Form PKS-182(B) (7-19) Coverage Effective 1-1-2012                                         150,000 Aggregate        See PKS-113-21
PKS-101(7-19)                                                                                                                         Page 2
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                                            NARRATIVE

                               For the Period Ending: July 31, 2020

 Please provide a brief description of any significant business and legal actions taken by the debtor,
 the creditors, or the court during the reporting period, any unusual or non-recurring accounting
 transactions that are reported in the financial statements, and any significant change in the financial
 condition of the debtor which have occurred subsequent to the report date.


  At July 31, 2020, June 30, 2020 and May 31, 2020, cash and cash equivalents per the
  consolidated balance sheets also include $24.3 million, $26.4 million and $7.3 million,
  respectively, of restricted cash related to 1) funds on deposit related to tuition loans outstanding,
  2) custodial funds on deposit, and 3) amounts received post-petition filing date relating to funds
  on deposit in the Deposit and Loan fund that were deposited into the operating account and have
  not yet been transferred to the Portfolio B investment account.

  The July 31, 2020 consolidated balance sheet includes a reclassification of net assets previously
  reported as “net assets without donor restrictions” which were reclassified to “net assets with
  donor restrictions” that was not reflected in the previously reported monthly periods totaling
  $6.6 million primarily due to the fact that the nine schools had not reconciled and updated their
  net assets with donor restrictions for the prior monthly operating reporting as they customarily
  do this on an annual basis at year-end. There was no change to the prior monthly operating
  reported amounts and no change to total net assets as a result of this reclassification.

  The following is a summary of the motions filed, or orders entered, during the reporting
  period (July 1, 2020 through July 31, 2020):

  On July, 1, 2020, the Debtor’s filed an Ex Parte Motion for an Order Establishing Deadlines
  for Filing Proofs of Claims; Approving Proof of Claim Forms; and Approving Form and
  Manner of Notice Thereof (the “Bar Date Motion”) [ECF No. 200]. On July 3, 2020, the
  Official Committee of Unsecured Creditors (the “Creditors’ Committee”) filed an Objection
  to the Bar Date Motion [ECF No. 202]. A hearing on the Bar Date Motion was scheduled, but
  has been continued from time to time.

  On July 3, 2020, the Creditors’ Committee filed a Motion to Dismiss Chapter 11 Case [ECF No.
  203], scheduled for hearing on August 20, 2020 [ECF No. 310].

  On July 7, 2020, a Motion to Extend Time for filing Complaint to Determine Dischargeability
  of Debt [ECF No. 231] was filed by the U.S. Attorney's Office on behalf of United States of
  America/Dept. of Justice, with regard to the Complaint filed in United States ex rel. Robert Romero
  v. AECOM, Xavier University of Louisiana, Dillard University, the Roman Catholic Church of the
  Archdiocese of New Orleans, and Randall Krause, Case No. 16-15092 on the docket of the United States
  District Court for the Eastern District of Louisiana (the “Complaint”), which Motion was granted
  by Order entered on July 15, 2020 [ECF No. 245].



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  On July 17, 2020, Couhig Partners, LLC filed a Motion for Order Authorizing Debtor to Pay
  Secured Claim With Incorporated Memorandum [ECF No. 259], an on July 20, 2020, an First
  Amended Motion For Order Authorizing Debtor to Pay Secured Claim With Incorporated
  Memorandum filed on July 20, 2020 [ECF No. 265], which Motion was scheduled for hearing
  on August 20, 2020.

  On July 20, 2020, an Order [ECF No. 268] was entered granting the Debtor’s Motion for
  Authority to Pay Insiders [ECF No. 190],

  On July 22, 2020, an Unopposed Motion to Extend Time for Filing Complaint to Determine
  Dischargeability of Debt [ECF No. 272] filed by Robert Romero, as plaintiff/relator in the
  Complaint, which Motion was granted by Order entered on July 23, 2020 [ECF No. 274].

  On July 30, 2020, the Debtor filed a Motion for Entry of an Order to Extend its Exclusivity
  Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof [ECF No. 300], which
  Motion was scheduled for hearing on August 20, 2020.

  The following is a summary of the retention applications filed or granted during the
  reporting period (July 1, 2020 through July 31, 2020):

  On July 20, 2020, an Order [ECF No. 269] was entered that granted the Debtor’s Application
  To Employ Professionals Used in the Ordinary Course of Business Effective as of the Petition
  Date [ECF No. 191], notwithstanding the Opposition [ECF No. 234] filed by Certain Abuse
  Claimants.

  On July 20, 2020, an Order [ECF No. 256] was entered that granted the Application to Retain
  Lock Lord, LLC as co-counsel to the Creditors’ Committee [ECF No. 179], and an Order [ECF
  No. 257] was entered that granted the Application to Retain Pachulski Stang Ziehl & Jones LLP
  as Co-Counsel to the Creditors’ Committee [ECF No. 181].

  On July 6, 2020, the Creditors’ Committee filed an Application to Employ Berkeley Research
  Group, LLC as Financial Advisor [ECF No. 205], which Application was scheduled for hearing
  on August 20, 2020.




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